    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 1 of 165
                                                                         tA'#
                                                                            'q- '/.
                                                                                  (.
                                                                                   ,
                                                                                           3)
                                                                                           .


     action.'Calloway v.Ford M otorCo.,281 N .C.496,501,189 S.E.2d 484,488

     (1972).tçstatev.W oodridge,357'N.C.544,549 (2003).Andwehaveagreatand

     goodJudgeJoseRodrijuezonvideoincourtsayinghecan'tchangeanother
      JudgesOrderSeeExh .(D 1.2.3.)butJudgeValerieM annoSchurrChangedJudge

      Zabel'sOrder9om DismissedwithPrejudicedtoDismissedwithoutPrejudice
      usingtrickery andFravd byjudgeerasingJudgeZabel'ssignatureandprinted
      nameoffthejudgementweprepared forZabeland signing theOrderoveragain
      w ith her signature thatw e prepared forJudge Zabelto sign and w e saw Zabelsign

      thatDismissalwithPrejudicethatM ack W ellsprepared seeAffidavitsofM aurice,
      M ack W ells,JamesBuckman Exh.(E1.2.3)byerasingJudgeZabel'sSignattlreand

      nameandputtingJudge ValerieM anno Schurr'snameon it,ajudgewehavenever
      m et,never w as assigned w hich w as puton the D ocketin 2009t0 us,and a Judge

      wehad neverhadahearing PrejudiceJudgementwhich wasputontheDocketin
      2009 forheryetshe had the exactsame Judgem entw ith the same letterfontsthat
                           %>
      w etzsed and the sam e m issed capitalized letterswe did on JudgeZabel'sOrderand

      Judge V alerie m ade itherbusiness to have her O rder puton the D ocketexactly one

      yearto the M onth and day ofJudgeZabel'sOrderthatwe prepared butinstead of

      ouryear 2009 Judge V alarie putheryear as 2010 then they took offthe w ay to

      view theD OCUM ENT on theDocketso thatonly Judge Valerie'sfake Docum ent

       c8û1dbeviewed sothatwewouldn'tnoticethechangeintheDatesRule60(c)



*
                           :4
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page
                                                                        '' 2 of 165
                                                                             .         . .. .
                                                                                            ,   #.
                                                                                 .               )

                                                                                      . 1' j
     (1)(2)43)60D (lanx /wehadtobepersonallyNotifiedforthem tovantrelief
     9om thefinalJudgementofDismissalwithPrejudiceunderFederalRule28
      U.S.C.subsection 1653Rule60 C (1)(2)(3)saysA 60B motionmustbedone
      within oneyearofthejudgementwhich is whyJudgeValerieM anno Schttrrhad

      to'doanotherDismissalwithPrejudicein2010becauseJudgeZabel'sOrderwas
      for2009which meantU.S.Bank hadto do aRule60.8 to getajudgementchanged
      so'ludgeValeriehadtoputinhefdismissalwithPrejudicesothattheywouldbe
         time fortheir60.8 attempttochangeJudgeZabel'sDismissalwithPrejudice
      on .

      butRule60.C (1X2)Q)saidthattheDefendantsneedtobenotitiedofa1lhearings
      which they deliberately did notdo forthissecretEx Parte hearing m otion they had

@     todoto dismisstheC+ ebutwithoutPrejudice(Note) accordingtoF1.Stat.
      Plaintifsonly realrem edy isto Appeal.YetJudgeV alerie M anno Schurrallowed

       an lllegalEx Parted hearing so thatshe could D ism iss the C ase butw ithout

       PrejudicesothatUSBank couldwithoutnoticetousastheydid,seethebegilming
       ofthe 2010 D ocketto Foreclose on us again Fraudulently.

       A nd Judge V alarie M apno Shurris a Judge w e had N ever m etorhad a hearing

       before butbecause JudgeV alerie got$995,000 plus $91,000 Etc.to do a
                            1
       JudgementofDismissalwith PrejudicetochangeittoaDismissalwithout
       PrejudicetocircumventtheRulethatsaysaCircuitJudgecan'tchangeanother
       CircuitJudge'sOrderand to putU .S.Bank back within the time lim itofJudge
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page$3.of&jj
                                                                                ''
                                                                                 %.
                                                                                  ..'
                                                                                165 j.    h Tv i
                                                                                         s j/ ,
     Zabel'sOrderusing herown N ew Oderovera yearlaterto putback in thetime

      lim itrange and then 3 m onthslaterdid and illegalEx Partehearing to change

      JudgeZabeland herown (JudgeValerie's)Orderfrom DismissalwithPrejudiceto
      DismissalwithoutPrejudicewhatagreatmaneuver!andUSBank neverAppealed
                           1
      bot'
         htheJudge'sOrderswithin30 daysasrequiredby Fl.Stat.(9.l10(c),But
      Judge Valariespecitk ally said in herJU'
                                             N E 2010 Orderto Dism isswithout

      PrejudicettSo that US Bank willhavetherighttoFORCLOSE''Exh.F.which
#
                           %
      they did in Decem ber2010 six m onthslatera1lin secretfrom usasDefendants,

      using an illegalExparte Hearing w ith US Brmk'sAttorneyswithoutusthe

      D efendants there in violation of F1.Stat.702.07,w hich saysonly D efendants can

       haveExParteHEARING and Fl.Stat.60C.(1)(2/3)which saysthatDefendants
       m ïzstnotified ofany Hearing.ButJudge Valarie broketheLaw secretly to save

       JudgeZabel,theAtttW eysand US Bank.Givingthenew 2010 CasetoJudge
       Schlesingerw ho hasthe worstofa1lthe ConflictsofthatIhave found outabout.

       Because in his 2016 and 2017 Form 6 FinancialStatementAftidavitsofthe m onths

       ofourTrialagainstU 3 Bank gotover 16,m illion twice from U S Bank,GM AC

       ownerandServicertoU S BankjExh.(11.2.3.),M organ Stanly whichUS Bank
       Exh.(J1.2.3.),FirstCitizensBank,Exh.(K 1.2.3.)and Evenskyand Katzwho work
       forand adviseforUS Bank seeExhs.(L1.2.3.).JudgeSchlesingera11while
       presiding overourCase hasm ade m illionsand m illionsofdollars9om U S Bank
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 4 of z'
                                                                                165
                                                                                 + #*
                                                                                       .   r
                                                                                                    L ..
                                                                                               1-
                                                                                               .      -'



      and it's Partners there w as and is no hope to w in agairlstthe M O R TG A G E

      B AN K STER S w hen these JU D GE S are theirM ON EY M AK IN G PA R TN ER S.

      Ourhope isactually LO ST especially when you proveyou were making a1l
*
      paymentsontimeEA (M 1.2.3)andcanactuallyshow thatU.S.Bankisowed
      nothing by tlsand can actually show thatthe EdgarReportfrom the S.E.C.actually

      show s thatU .S.B ank has no A xiom N otes in its PoolofN otes on the M arketand

      thatthe Cupisone ExpertLicensed by the S.E.C its selfreportsays thatFidelity

      Strategic M utualFunds bought0U R Leroy W illiam s A xiom FinancialServices
                                        .




      N ote 9om A xiom B ank in 2005 and itow nsthe N ote on the M arketuntilthis day!

      And whenyou can actually show they started thiswholeForeclosurewithjusta
      Lis Pendence in the D ocket2007 case 12407-CA 01 and w ith no w ritten Com plaint

      butjustaLisPendenceW HICH IS ONLY A ONE PAGE ANNOUNCEMENT to
                             1
      the Com plaintand w ithouta Certified Copy ofthe Prom issory N ote,no A llonge,

    ' no'certified Copy ofa M ortgage,and no Certified Copy ofan A ssignm entofthe

      M ortgage in violation ofF1.Stat.(702.015 (2)) JudgeZabelactuallysigned a
      Foreclosure Judgem entand Sellw ithoutthe O riginalN ote and A llonge asrequired

      andbywhich isan acAlnlFelony accordingto Fl.Stat.(702.015(4)) yetthey are
      jtlsftakingthehousewith M llmbo Jumbo anduntilthisdayhaveneverbroughtin
      the O riginalN ote,A llonge and Certified copies ofthe M ortgage and A ssignm ents

      from 2007 and 2010 and untilthis case in 202 1 they have neverproduce the
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 5 of 165
                                                                            ! t , ..k'
                                                                                     $1 - .---y.
                                                                                     - .   *.
                                                                                               v
                                                                                               *
                                                                                               !
                                                                                               ;
                                                                                                 -
                                                                                                 .    .- .

                                                                                   7       @.'
                                                                                            .vo-, .'
                                                                                             . .- - ..
                                                                                                       .''
                                                                                                         wz
                                                                                                /'
                                                                                                              u.

@

      originalNoteandAllznge andtheirseeungto talk thisJudgeintoallowingthem
      to DismissthisQuiteTitleCasewithouthavingto show extrinsicevidenceand full
      chainoftitlethatthey owntheNoteAccordingtoF1.Stat.65.021 65.061(1)(2)
      (3)(4) and insteadV alltheB.S.andtechnicalitiesbysayingthatthisiscaseis
      ResJudicataknowingthatanonjartyto aCaseisnotboundbytheJudgementsof
       Caëe so because lwashota party to the 2007 and the 2010 Case,Exh.N and 0 .l

       havetherighttobring my ownQuiteTitle CaseagainstUS Bank,F1.Stat.65.041
       they don'twantto bring in the Originalsbecause Allonge to the Notebecause the

       A llonge issigned by tkeAssistantSecretaryandinviolationofFl.Stat.692.(3)(4)
                            a




       and Fl.Stat.695 which saysonly a President,V ice PresidentoraExecutive

       D irectorcan sign an A llonge or an A ssignm entto Convery Property W hich could

       leadtoLitigationFl.Stat.692.(01)asecretary canonly signanAssignmentfora
       Church butcannotsign foraBank oraCop ortation to convey property which

       mightend up in litigatipn,Fl.Stat.692.(3)(4).Thesad thing isthisfakeAllongeis
       signedbytheAssistantsecretarywho wasno standingatalltosignExh.(F1.2.3.)
       the Allong also hasno printed nam e tmderthe Endorserorsignerofthe Allonge in

       violationofFl.Stat.FANNIM AE RULE (B8-3-04)andthisisaFannieM aeLoan
                                %
       ajstated atthebottom oftheM ortgage and Note.The Allongehasno Loan

     ' Num ber,no date and istotally tmattached 9om theNote in violation ofF1.Stat.

       (702.015(4)and4thDCA inPuritkaficato Vs N ation StarM ortgage LLC .
                           1
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 6 of 165

                                                                                        -   -
                                                                                                f,
                                                                                                 /y
                                                                                                  ,
      Parav aph 1and 2.The AssignmentofM ortgage to U .S.bank wasdone Feb.14

      2008 butthe Foreclosure w as started in 2007 in case ntlm ber2007-12407-ca01

       alMosta yearbeforethe A ssignm entand M clean v.Jp M organ saysyou cannot

       Foreclose,Sale orA ssign a Note before you own itand thatProblem carmotbe

       fiyed in abnitio w hich m eans itcannotbe fixed orback dated and also notethis

       AssignmentwasdoneuithoutaPreparerinthele:uppercornerinviolationofF1.
       Stat.695.01(1)AND FL Stat.695.26(1)(a)andFl.Stat.494.007(5)and F.Stat.
       701.02 91)(2)(3)( )gndthe AssignmenthasnoNotary SealandCommission
       Numberin violationof(F1.Stat.117.05)(b)1.a.b.c.d.e. and the2008Assignment
       is9om H om ecom ingsBank and ihey adm itted in a Corrective Assignmentway up

       in 2012 thatHom ecom ings isthe incorrectBank and Erroneous.And the fake

       Corrective Assignm entthatCnljhesHom ecom ingsalso crushed the Axiom Bank

       Assignmentbecauseithadno witnessesinviolation of(Fl.Stat.117.05)(b)
*
       1.a.b.c.d.e. and no Nvtary,no sealand no Comm ission n'lm berasrequired by F1.

       Stat117.0593)(A)andF1.5tat.695.26 (1)and nopreparerin theupperleftcorner
       as w as done in 2012 for the Com plaintthatw as started in 2012 as com plaintfor
                           %
       Jp.M organ and a11pushed by Judge V alerie M arm o Schurr,Judge Schlesinger,

       Judge V eronica D iaz,Judge D e la O and w hom al1these Judgeshad the exactsam e
         .




       honible Conflictsoflnjerestm aking m oney w ith the banksterswho are stealing

       ourPropertyExh.(G 1.2.3.)seeRico andalltheJudgesgetting paidto stealour


*
                                                                                 :    I   .-.. a -.e' 2
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 7 of
                                                                             .
                                                                                165a - , /

                                                                                                    /'J
     property and in the end to clean itallup 1finally metJudge Valerie M anno Schurr

     the ghostJudgew ho w ehaveneverm etwho started thism essnow show sup for
                          1
     my quietTitle lawsuitto finish me offten yearslaterbutwhen lpointed outthat

     shefornoreasondid a%dismissalwith Prejudiceto help Judge Zabelayearafler

      JudgeZabels DismissalwithPrejudicetochangeJudgeZabel'sDismissalwi
                                                                      th
      Prejudiceto ourFAKE DismissalwithoutPrejudiceto givethebanktherightto
      Foreclose and thatsheReceived $995,000 plus$91,000 plusa M ortgageplus$2.4

      ViilionMortgageplus$1millplu's$400,000Ex'tbetween2008and2010
      according to herForm 6 Financialstatem ents9om the stateofFlorida seeExh.

      (DD)12345and sheexclaimed loudly ontheZoom Camerathatshedidnotdo
                              1
      thoseOrdersand did notReceive thatm oney and then lshowed herthe two Orders

       and the threeForm 6 A ffidavitsstarting with the $995,000 dollaroneand she

       sighed And said oh m y ad said 1'11give you 10 daysto figure outwhatyou w antto

       do mrsym onette Ipaid forthisto go on severalNew spapersand radio stationsand
                                       '

       im getting thousandsand thousandsofcallsâom people who see me atthe Rallies
         .




       with BlacksForTnzm p T-shirts.w ith godsz.com on the bottom and one ofthe first

       thingsthey seeisthat.article and hervideo 2 dayslateron aSunday Judge Valerie

       M qnno Schurr the haughty one im m ediately recused herselfin sham e thereby
4
       adm itting she isguilty%ofhelping the Bank form oney which isadrastic Conflictof

       lnterestand so thereforeherOrdertodismisswithoutPrejudicemustbevoided
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 8. of 165
                          %                                                   -
                                                                                   cjL).
                                                                                       /w
                                                                                        .:j
                                                                                      t ,.z'
                                                                                             -
                                                                                             n(
                                                                                              z..(,.
                                                                                            47 (;
     andJudgeZabel'sOrdermuststandwho dismissedthecasewith Prejudice
     especially aherseeing the Teaparty and alloftheRepublicanscom eto Protestthe

     lllbgalForeclosm e a11becausew ewere Black Republicansand waspointed outto

      henby a Tea Party LaNkyerthatshe signed a Judgem entor Foreclose w ithouta

      Com plaintoran OriginalProm issory Note,And Because Judge ValerieM anno

      SchurrRectlsed herself Rule 1.540 (b)says(2)NewlydiscoveredEvidence(3)
      Fraud and M isconducht4)JudgmentOrderisvoid;(5)Takethecaseback tothe
                          1
      PriorJudgment(JudgeZabel'slastJudgmentof DismissalwithPrejudicedecree,
      order,OF proceeding forthe following reasons:



      (2)Newly discovered evidence (wediscoveredherForm 6Fulland Public
      Disclosure ofFinanciallnterestand the Partnershipsand ownershipsofthe Banks

      involved to w ork theConspiracy by giving Judge ValerieM anno Schurrgiftsof

      M oniestotakethe property 9om the Hom eownerswhich by due diligencecould

4
      nothave been discovered in tim e to m ove fora new trialorrehearing'
                                                                         ,becausew e
                              %

      justgottherecords96m theState.
       (3)ThisshowsM isconductand Fraudby showingthatin2008 ontheDocket
       M ackW ellsfinally putinaM otiontoDismisswithPrejudicebecauseLawyers
       wouldn'tfollow theJudgesOrdersto bringintheNoteExh.(C)wealso saw that
       JudgeZabeldid aDismissalwithPrejudicein2008 andthreewitnesseswith
                                                                               '

Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023Y
                                                                 FYI.., 9(/A
                                                                           1-...i.
                                                                                 .:',j.i ,z)
                                                                                .
                                                                   Page    of
                                                                          .r
                                                                           ,  165  ; '
                                                                           j j uy.       ..




    A ffidavits have sw orn to have seen this and itw as on the record w ith Judge

    Zabel'ssignaturethatwetyped up sayingthecaseisdismissed with Prejudice
    04/07/2009 asindicated on the Docketofwhich lnow have theRed stamp
                           l
    Certifed Copy oftheDocketseeExh.(C)linenumber(10)and wenow found
    Fraud and M isconductusing Horrible Conflictoflnterestin violation ofF1.Rules

    2.160 Thatin 2008 Judge ValerieM anno Schurrreceived $995,000 on herForm 6
    '

        FullPublicD isclostlre ofFinancialInterest$91,000 from GM AC and $129,000
                                      '
         v
                                       @

        from W ellFargo That'sPartnerswith GM AC and U.S.Bank Exh.(DD)onher
          p




        Form 6Fulland PublicDisclosureOfFinancialInterestlinenumber(5,6,and7)B.
        Judgm entOrderisV oid because in 2010 on the DocketJudgeV alerie M anno

        Schurrw hom w e have neverseen put (ChangingPriorJudgment)i
                                                                  nthesame
                            %
        DismissalwithPrejudYewith ourtypingbutwithhernameandsignatureandthe

.
        JudgethatDismissedtheCasewithPrejudiceExh.(F3)asseen ontheDocketline
        (11)thiswasdonebecausetheLaw saysthatno JudgeofthesameCircuitCourt
        canchangetheOrderoftheJudgeinthesameCircuitCourt(FordM otorCo.V,

        ca
         'lloway).so shemndeherown'orderthatdidnotchangeJudgezabelsOrder
        exactly oneyearaherl'
                            udgeZabelssameDismissalwith Prejudicehopingwe
        would notcheck this,so thatshe can then therefore only herOrderand getpaid to

        change herown Orderso thatitw ouldn'tbe Crim inal.Thiswasdoneto Save

        Judge Zabel,the Lawqersand U.S.BaA GM AC BANK from being caughtand
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 10 of 165
                                                                                             'f,

                           1                                                                 îl1!
                                                                                              ..


 theConspiracy to stealthe property concerning Judge Zabeldoing aJudgem ent

  againstH om eow ners w ithoutan actualCom plaintorC ertified C opies ofthe N ote,

  Allonge,M ortgage and Assignm entorasFlorida Statuesstates:No Judgments

  shpuld be rendered untilaherthe'
                                 o riginalCopy oftheNoteAllonge,M ortgage
  and Assignm entand otherD ocson the record yetthey did thatwhile the

      H om eow ners w here m aking paym entsto A xiom Bank on tim e this is a Felony and

      aConspkacy.BecausjatthetimedtlringJudgeValerieMarmoSchurrDismissal
      withPrejudiceJudgeValerie Schurrreceived 9om W achovia,Bank ofAmerica
      $650,000 line(9)asseenonherform 6 Fulland PublicDisclosureofFinancial
      lnterestthoseBanksarePartnerswith U.S.Bankand GM AC seeExhs.(EE)and
      shereceived $128,000 from W ellsFargo and $410,000 from GM A C the Fake

      Servicerofthe Hom eowner'sN ote.ltisin no w ise overbroad tmduly burdensom e
                                        *
         .


      orambiguousconsidering the factthatU.S.Bank doesnothave theN ote so how

       could they possibly Foreclose on the Property,and with thatifitiswhy istherea

       Rule(1.540(b))thatsaysthatifTheJudgerecusedherselfanyJudgementsor
       O rders thatthey puti%n are void? Then w ithoutnotice to the H om eow ners know ing
                             1
       thatbecauseweknew thecasewasDismissed with Prejudiceand thatwewould no

  '
       longercheck on CourtRecordsto find outthatJudge ValerieM anno Schurrhad a

       privatesecretExParteHearingwith U.S.Bank'sLawyersand changedher(Judge
       k alerieM anno Schurr's) Order'which illegally andeffectively changedJudge
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 11 of 165
                                                                          'o
                                                                           -Y,XY '
                                                                              q          (>
                                                                                          7r
                                                                                           $/
                                                                                            vL
                                                                                         J '
                                                                                           /
   Zabel'sOrderâom Dismissalwith PrejudicetoDismissalwithoutPrejudiceto
   givkseeDocketCasenumber07-12407-CA-01line(14)oftheDocketand Exh.(F
   andF2)08/25/2010 W.S.Bank therighttotileanotherForeclosureLawsuitagainst
   the Hom eow nersallw ithouttheirknowledge asseen on a2010 61928-CA-01
                         $
   prosecutingthesamecasethatwasDismissedwithPrejudiceofwhich wefound
   outby m istake thatthere w as another Foreclosure Suitagainstthe property. A nd

   after2010 Judge Valerie M nnno Schurrdid this shesuddenly has $1,000,000 âom
   City N ationalBank,W achovia,Bank OfAm ericawhich areal1BusinessPartners

   ofU.S Bank and GM AC Bank seeExh.(FF)line(7)sheindicatesanother
   $400,000 9om GM AC'the Fake Servicerofthe loan and partofthe Conspiracy to

   stealthe property and getoutoftrouble from FederalS.E.C Fraud and crim es

   againstthe Courtand the property ownerto hidethe M ERS Fraud oflying about

   selling N otes on the W rketasproven by the Cusipone Expert's A ftidavitshow ing

   thatU.S.Bank NationalAssociation As Trustee neverhad any ownership ofthe

   Leroy W illiam s M ortgage because A xiom Bank sold the N ote to Fidelity Strategic
                                   *
    .




   Fund which isontheM arketuntiltoday,Exh.(A)andwhenyoudotheSEC Edgar
   Sqarch underU S Bank N ationalA ssociation as Trustee there is no A xiom N ote in

   theirPoolofNotesExh.(ZC andJ).
   (4)M D (5)ALL OF JUDGE VALARIE SHURRSARE VOID ANlnM UST
   REVERTTO Tlv OY GINALDISMISSALW ITH PREJUDICE
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 12 of 165
                                                                                   Fj
                                                                                    -
                                                                                    .
                                                                                    ,.
                                                                                     j
                                                                                     'j
                                                                                      r
                                                                                      ,
                                                                                      /
                                                                                      g
                                                                                      j
                                                                                      y
                                                                                      j
                                                                                      ,
                                                                                      ;
                                                                                      -
                                                                                      qy
                                                                                       )
                                                                                       :
                                                                                       k
                                                                                       ,
                                                                                       -j
                                                                                       j
                                                                                       (-
                                                                                        r;
                                                                                         y,
                                                                                          j
                                                                                          4
                                                                                          ,r
                                                                                          yjr
                                                                                           :
                                                                                           ,jg
                                                                                            yj
                                                                                             ;
                                                                                             y
                                                                                             --
                                                                                             ,

  Judge V alerie M anno Schurr adm its to these crim es by R ecusing herself9 om
                        %
  M aurice Sym onette'scase who asked herto Recuse forCrim esm isconductand

  ConflictsofInterestseeExh.(FFF).Accordingto Rule 1.540(b)(c)(d)(e)That
  thejudgment,ororderhasapriorjudgmentofDismissalwithPrejudiceonthe
  DocketofCaseNumber07-12407-CA-07line(10 and 11)and thatJudgmentof
  DismissalwithPrejudicemustbereturnedtoDismissalwith Prejudiceandvoid
                        1.
  and* orstrike the 2007-12407-CA-01 and 2010-61928-CA-01case because Judge

   Valerie M anno Schurrrecused herselfbecatzse lbroughtthisto herattention that

   she did thisCrim e and Schem e.thistitle m ustbecleared and also because she did

   notdefaultthem w hen ittook them 6 monthsto answermy Lawsuitthatm ustbe

   befaultedbutwasn'tDefaultedàecauseJudgeValerieM armoSchurrhelpedthem
   because City NationalBank gave her$400,000 which isbusinesspartnersw ith

   U .S.Bank,GM AC,RoyalBank ofCanada,W achovia and W ellsFargo areall

   BusinessPartnersand one big happy Family this isaH orribleConspiracy and

   Confictoflnterestto stealProperty 9om helplessBlack PeoplethisisRacism and

   Discrim ination in the utm ost.So 1say to a11righteousJudgesleft COM E OUT

   OF HER M Y PEOPLE AND BE NOT PARTKERS IN HER SIN (SIN IS THE
   TRANSGRESION OPTHE LAW )Ar SAVE YOURSELF BECAUSE KING
    CYRUS ITRUM PIIS HERE TO DESTROY THE M ORTGAGE BANKSTERS,
                                                                                                                                                          *
                                                                                                                                                          '
                                                                                                                                                                  c-..               .     hs.,
        Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 13 of 165;,!,;''Ii'                                                                -
                                                                                                                                                                         .'' .
                                                                                                                                                                          .,     .       - ''
                                                                                                                                                              2            '               w.


                                                                                                                                                                                 f 1:
            W.,
              kusqj:
                   m:%                        .rlsuw
                                                  ):()
                                                     p;
                                                     .E m PD TROY THEMORO AGEBANKSTERS.
                                                      g
                                                                                                                     2
            ANm y'rjmstw jjaka: lx Ajw Nsw s Rsv.j&1r8.jsA.45.Alo N/HJM IAH
                                                      %

            5:1r1.
                 6.SG
                    r' .
                       GODSZJ (4M



#




             % !h+ fe j,jl
                         jo p.
                             #jjjxt+j,çpx.y
                                          ry Rece jdeed from thebegilmingY lhis
                              i                       .


             o r
               g
               e je yo w jyfmm tl Ge stJjkg,
                                           ewhow atth4ti'
                                                        lh:> e 2* 7
             we èe è:- kvy?
                          # - 'a1* # u.
                                      e :429w:1 4nevzrmetorhadaCASE OR
             $
             :1E
               :k
                7Azkl:ING )?.,.ïy yAjs,y
                 ,
                                  :    ,g.jg, 1: jj.o y
                                              . ;
                                              .
                                                      gjjuc
                                                         ..
                                                           , 4gjjyx pj
                                                                     .
                                                                       yjyjjoutW jjjyjmy
                                                      I
                                                          *
             N je' 1 < )#to J* g4H ;
                     ,.   .
                              '
                                   l+I,#;> DismivsalWl?
                                  ; '.''. ,       .
                                                      thN judi
                                                            .ce t'
                                                                 h'
                                                                  ixcase.mus
                                                              . . ..   .
                                                                       .
                                                                           ,tlx
             '




              W!, A11uq- ;t
                          xpaketpme to oise sxdwi1 Pxjuiqe                                                                                                                                    4
                                                                            q'
                                                                             ..'
                                                                                  .
                                                                                      .   '   ..'
                                                                                              .
                                                                                                         '
                                                                                                         .
                                                                                                          .                              '
                                                                                                                                       .. '
                                                                                                                                       :
                                                                                                                                                    .
                                                                                                                                                    '                 ''
                                                                                                                                                                      '                  ''     '
                                                                               .. .                 .'          . .. . .
                                                                                                                       .
                                                                                                                           '
                                                                                                                                     .' ..         .          .. '
                                                                                                              '
                                                                                                              .. 1.'' ''.'.'..'
                                                                                                                              .'
                                                                                                                               ''.      '.-.'' ''       ' .' '
                                                                                                  ..          ' .
                                                                           .                                  1''' .                    ' '''' '
*                                                         %                :.i
                                                                           ,                        .
                                                                                                    '                                                   .'




                                                                                                        M aqrit'e S#mbëem

                                                                                                          15Q20 5.E
                                                                                                                  RihELtivvt
                                                                                                                        L,
                                                                                                                        'k
                                                                                                                         y
                                                                                                                         .
                                                                                                                         (.
                                                                                                                            Dr.'




                                                                                                               M ipm,iF1.331


                                                      1




    e
     Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 14 of 165
Filing#146750392E-Filed03/30/202205:08:36PM                                                       U*z


                                                                                                  y,
                                                                                                   -..
                    IN X      CIRCW FCOURT OF H W ELW ENRW D ICX           CR CUIT
                               W V DFORW AMI.DADECOUNTK FLORD A
       U.S.R*n*:Na*nnAlAxqneivuon,JsTnkee-for              GM    RAI,JURISDICTION DM SION
       RAK 2005AW ,3
                                                           F>meNô.201* 1928+ A-01
                   Pln1
                      fntlë
       vs.

       Ixroy w lll1sm
                   ' m;etaL,

                    m fende .
                                                       /

                       eu xxvxe sMon oxToR- Tm - Los- sm
            Plllntlë U.S.BG Ne onalA- e ow asTnle- forRA9C 2005AH1.3,byM d
       te ul il = dee u counRl,hemby51% Y sMouono ResdForeclosA SieaM in
        mlpport*= fm1.1- % follow s:
                  œ n- e e 19, 2017,this CoH A                  H a FY   Judm = t of Fov losure
        px'-
           ' mnto wMchafov los= Y ewl sc> uledforJanuav 30,2018.
               2. n eJ= uc 30,201#W e- M no>1M andpl- mntY * Orderon Defene t's
        Moeon for Emerg= cy H<           to Mnpmk- Sale Md Defodant'sMotion to V- 1* Sale ie
        *       1x > Y e was= heduled forM = h 19,2018.
                  3. n e M vc: 19.201: sie was cx celu as m fen- tK- M .in R d sm oneue
        Llmi1 P* = SIH be
            .
                                  > .Theautomaucstaynolongerappiesh- ..- lehnkmp>
        w Aa lsx d*          %
               4. On Se tem% r 11,2018 * Cou entee an 0* C- ting M oion to RM
        Forx l- - Salepxx xM tto which afov los= salew sche ulH forNoveme 13.2018.
              5.       n o œ e was hold on Novem> 13,2018 butwas 1* v.e- M % Defend= t
        M K k W ells fIIH b          on tlle m oe g ofN ovembc 13,2018.'l'
                                                                         he au*m a;c m y no
        l- œ e ëesN c.
                     *n- ie                yw asdlsmisx d.
                  6.   OnFebre 25,2019*isCoM ene                anOrderonthePle e sModoa o
        Q- F- lo-             S2e p= = tto which afo- losr O ewu RM UIH forApnl
                                                                              ' 16,2019.



        œ k xo 201w61A 8-cA*l
        1:1111111111                                                 1
                                                                     .1111F1
                                                                           il
                                                                            e1
                                                                             #13F
                                                                                1*186
                                                                                    1*
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 15 of 165
                                                                                         6suL
                                                                                            ,p
                                                                                         f$.,
                                                                                            -L
         7.    n eAN 'l16,2019fov los= W ewase celed asDmfwnaxn:*          WG SIH
  >      .'1% e omnh'cm ynolonge * Ea O n- Plaine obe e xEefA m * se
  Odte B*        COM %found* ieDefende ,sbe      + . onwu - ofae e
  * delay.ble ,œ deM tce tore e - e ierdld fmm them- ndc* 1 in fo=

  foràe e of- y= .
         8.    On Octoe 30,2019 % & ux -          an Oe rOranting M ouon to D- 5.M '2e
  Foxolos> Sie-    to whichabv 1o- * ew scheduld forn- mW 11,2019.
        9. n e lw e.
                   m e 11. 2019 fov ln- œ e w canceld u TY FM H- Ce s

  McNe G Hok W'111i=% RH *                .1XemAqme'csty no longœ applio *     .- ie

  be    waedlm i* Z.
         10.   œ Feb-          6,2X 0 *   Cov =   -a = Od er r- ndnF M e oa * RM
  Fo= lo- Salop-           o whichafov lo- e w scheuledforAe'6,2020.
         11.    'Y Apnl
                      ' 6,2020 e e was rx - le attk zeque ûfth* Plnlndl due to O
   COVm -19 m- nn'o fov los= O ewasx sohe ule forlune24,2020.
        12. N J= e 24.2020 sale was œ cdH atO regpest of ie P1m'm111 due * O
                    .     :
   CO*    19 m a- nn= .
          13. Plxlndeise         o pw-    e O * 16- saleattbistimeœ? >             *
   O 'œ e% -
          O     M R pe e - yse e G M e O œ R oMœ e                     ngO fov l-
   Y e,e e e œ udfue             e ef> e cou e        ju edpm- .
          1-   KRY œ      N     * a% e x -        m   %   fw > e e1e-       'œ y œ e
                                                                            .
   U.S.M * H            30,2= * O m> > * u = * fo2o<         e =M
                           %
                                           BRfr !K & scorr.PI,Lc
                                                   forP1e *'
                                           2* 1NW * * St,Suite 130
                                           FK T.
                                               oua- ale,Fja333*
                                           P%M e:(954)618-6955x6133
                                           F= (954)61:-6954
                                           MelM skYoupK#h- kanaAeac Om

                          %                By lt M ehwuh ro-
                                             G wishYo< F- .
                                             FloridaB< No.92171


                                                                         File# 13-F* 868
    O.- N O.2ê10d 1G          A2 1
                                                                              6+ 1l-IV
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 16 of 165

                                                                                       çt
                                                                                        y
                                      SERW G LIST

 'lx.following        wœ e         by e-mA1l:

 M iY -DA G unty.H oqda
                     '
  JoA1-- Pe         us,R .
  111> IX S-
  M lam1
       *7FL 33128
.
  yvo        . ..    *gov

  C11 ofNo% Mlnmi(C#
                   ')
  J- nlY L.w = n
  776 N.B 125* K1-
  N* M ie ,R 33161
  or
   'tye mey+ oehml- lq.gov
  U.S.B< Nauoe Axqociauoa % Tot- forRASC 2005A1K 3
  % M icY lL.Rl- hAoazEG .& Nlcole R.To- ,EK .
  500 E.Bm wad B1vd.,Suiœ 21*
  FM IA e * FL 33394
  BQW M     e       lAnkkœ e.m      ME'         1G qm*.*> N'ropmre lAnkoome.com

  n efollom 'nc -    > w- m e bvU .S.m m'1:
                            11$
                            -



   Hol c lla
   15* 0SRW ER DR
   U IAM I,>q,33167-1:35
   Unlema CCR PA - ,G2 .
   do W Co> raion Sy- ,RegisteM AgO t
   12K SouthPinehle >
   Ple onyFL 33324
                                        '

   Dm/MhnBe N adonalTM
     .
                                  Com - y,msa 'e- forFre in Ce tTM Se   1
   Jote -            et
   176.
      1E.St An*       Place '
   SA    AA CA 92705
   U* - Sm e ofHokeW '  llllnm s
   15* 0 Soul River> ve
   u lxml,FL 33167
   UnH nu Sm ux ofJ> * LitoeloM AKA Jxm- L.Jolin
    8152W 151 M u or,AptFca
    PlAe on.FL 33322
    &.*- No.20lG.
                6192#-CA-01                                          File# 13-102868



                            %
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 17 of 165
                                                                                 L-/v,.qt'
                                                                                         @CJ
                                                                                           'bt

      Lld#ohnW a7= œ L.polK JAmG*
      X A 15020 % u1 Rlvœ Ddve
       u lxml,FL 33167

       svm- tqfBe
       do A11Au 8m11 K A.
       40Te lor Pe        O G suite3*
       Nn-    s GA 30+

       S* ofFlG        D-   œte -    x
       C/oAv- .dvenlee r,a> '       age or- o- - lautMriM o e           m iceof
       2450 Rhxtmled M % < e
       Tpllxhnq- ,W ,323*

       LBROY G LIAM S
       3152W 15= *
       G FCZR
       PLANTAK ON ,FL 33322-5422

       Ue ou Sm ux ofM nlk W ells
       15020 Soe Rivœ M ve
       u lxm lzFL 33167
       n e Ue wn Sm useof1-      W'
                                  1K = s
       X A 15020 O ui W vœ H    e
        MiG R 33167
        Y unknou S> - ofn * 'mM cNd1
        IJW A 15020 Soe m vœ M ve
        u lAml;FL 33167
        u snv w ells
        O A 15020% #N Rivœ M ve
        M iamkH .33167    %
        c- 'xM CNG
        X A 15020 M xih Rivœ Ddve
        u umi,FL 33167
*

        Symone Lim ie W     hl
                             'p
        X A 15020 Soe m vœ Drive
        u lsml,FL 33167



        ru- No.2010-6192:œ :*1                                         File# 13-F02868
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 18
                                                                        f of 165
                                                                                                                                                                                               ,
                                                                                                                                                                                               .
                                                                                                                                                                                               1
                                                                                                                                                                                               é
                                                                                                                                                                                               !
                                                                                                                                                                                               .
                                                                                                                                                                                               ,
                                                                                                                                                                                               E
                                                                                                                                                                                               iii
                                                                                                                                                                                               . q
                                                                                                                                                                                                 7
                                                                                                                                                                                                 )
                                                                                                                                                                                                 -
                                                                                                                                                                                                 :
                                                                                                                                                                                                 j-
                                                                                                                                                                                                  l
                                                                                                                                                                                                  j
                                                                                                                                                                                                  i
                                                                                                                                                                                                  t.
                                                                                                                                                                                                   t
                                                                                                                                                                                                   r
                                                                                                                                                                                                   -
                                                                                                                                                                                                   k
                                                                                                                                                                                                   .;
                                                                                                                                                                                                    !
                                                                                                                                                                                                    )
                                                                                                                                                                                                    '
                                                                                                                                                                                                    .,-
                                                                                                                                                                                                      ,
                                                                                                                                                                                                      -k,
                                                                                                                                                                                                        ..
                                                                                                                                                                                                         -L
                                                                                                                                                                                                          jj
                                                                                                                                                                                                           )
                                                                                                                                                                                                           ,'g
                                                                                                                                                                                                             :
                                                                                                                                                                                                             y
                                                                                                                                                                                                             ;
                                                                                                                                                                                                             r
                                                                                                                                                                                                             (j
                                                                                                                                                                                                              !
                                                                                                                                                                                                              q
                                                                                                                                                                                                              -
                                                                                                                                                                                                              ;
                                                                                                                                                                                                              ,
                                                                                                                                                                                                              .--
                                                                                                                                                                                                                .
                                                                                                                                                                                                                -.-..
                                                                                                                                                                                                                        .




                                                                                                         r- u .
                                                                                                                      'lu
                                                                                                                        'ly
                                                                                                                          pyyvpwyr ;                 = *
                                                                                                                                                                                     # ,




                                    y'(g#y Vï
                                            tlertzzJ97e/'
                                                        #V/V X/
 (L /hL X. :+.#',(LV 'e S:/..#z (:, j                      .




  wf W>7e (m, #i;i    y/a Xk W w w oc - p#T/sw/'z&wz.      /.'                                                                                                                             t                                   .


                                                                                                                                 , ,. E,   JV ryypD mw y
                                                                                                                                           b.          vW                                      Q W z)#kg
      +.) t
  *
  d
  '


                                                                       ,
                                                                           %       #&?cA//eygatw 7W st
                                                                                                     zv A;W P efW F:
  2> -gw ,pç , -l         yy,  c.;# vyzukg y,-su p ysjy                                                  ,w y. yjgg s. yyvw zt
                                                                                                                                                                                                                                   .


                                       '

   &
   .  j
      '
      ,
       ..


       '
       ,
       -
       d
       y
       :
       '
       .
       -
       (
       j
       ;;
        j
        !;
         j
         q
         !
         ,
         ij
          y
          jj
          !F
           ;
           :
           ,
           1
           p
           (
                  ..

           -;j!r:y:!--.)
                       ;
                       ,
                       à
                       j
                       ,
                       y3
                        ?
                        q
                        )
                        j
                        (
                         L
                         ;
                         jL
                          )
                          3
                          f
                          ô
                          .
                          -
                          ,
                          -
                          j
                          jj;
                            jj
                             r
                             j
                             4
                             ;j
                             j
                             y
                             );
                              :
                              !
                              :y
                               j
                               r
                               .
                               ,
                               j
                               ;
                               .,
                                3
                                ,
                                b
                                4
                                ' .. .

                                 6t
                                 3f
                                  -
                                  ï
                                  'j
                                            .
                                     k.. .. . .--
                                                jjjjl
                                                    q
                                                    '
                                                    .
                                                             :..
                                                          ,. -
                                                             2.
                                                                       '

                                                                    ,. ,-..
                                                                    ;                                     --.
        y                    -
                              j
                              y
                              .
                              :
                              y
                              -     )
                                    L
                                    qjk
                                    j ;k
                                       ;
                                       (
                                       L
                                       .
                                       ,

                                       g
                                       i
                                       r
                                       g
                                       iyj
                                        kiy
                                          r..
                                           j
                                          jjr
                                            j
                                            g
                                            j
                                            i
                                            r
                                            jj
                                            -
                                           .,
                                             p
                                             - y
                                                    ,
                                                        ,,à
                                                               ..
                                                          ,, y -,;,.,.,...,.
                                                                 ,:
                                                                                    ..         .



                                                        l
                                                        j
                                                        à
                                                        q
                                                        ,jj
                                                         ..
                                                          l
                                                          ,
                                                          f
                                                          t
                                                          .
                                                          y
                                                          j-,-.,j(j;kjy,j.jgyy,-jjy.rgyjgjjy,4,qfj.j,4à,)jq:j),k.,jyg,ggy(.
                                                           y
                                                           g
                                                           j
                                                           ;
                                                                                                                 .
                                  ,                  -, ..       , .                          ,,à
                                                                                                ,,,,,
                                        y          jg
                                                    ,,
                                                    jr
                                                     j
                                                     ,
                                                     ,
                                                      jj
                                                       yg
                                                        .                                                g
                                                                                                          .. .
                                                                                                             ....         jy
                                                                                                                          rjy
                                                                                                                            --              .   j;
                                                                                                                                                 ,   .
                                                                                                                                                         .
                                                                                                                                                             .
                                                                                                                                                                 .. .
                                                                                                                                                                        ,,
                                                                                                                                                                         jy
                       . ' t.
                            '''1 .                                    '
                                                                                         .   l:
                                                                                              '
                       .     ''

          ' . ..6y
                 ?.jj,4).
                        );... t... ..7 .. . .. ''. ...
                       .

      q.
        ' .      k      .: ' s               t                                           j.,.t
             . . .... .    1' .        '' . .. ;.p ....ç... ... .                       '
                                                                                   .. .'. .
             ',   /
                  '
                  ,'.( :
                       :
                       , wj.,
                            j,
                            /:
                             j. ..                         t....'
                                                                               .              .
                                                                                                   . u - ''
                                                                                                                .
                                                                                                                     ''



         : ...v'',
                 ..,
                   r3b.v S..),p,w , .,.,v
            ,                                                                                           ,..
                       ,,,
        .,
        :     .
              v
              .
              ,
              .'                                                ,

      /
      .#>
        Li: Q 5.N'(y.
             .      )
                    ))
                     )
                     ,
                     vx & k
                     e                          . pT
                                                   :...

      m ,s-4# p'/s,g)a,vK
                        ,z                          :
                                                                                                                                                     / .
                                                                                                                                                       '
                                                                                                                                                       t WWW Wj
                                                                                                                                                              '
                                                                                                                                                              ,Q.
                                                                                                                                                                ;
                                                                                                                                                                ,e'
                                                                                                                                                                  ùt'                                                                  h
                                                                                                                                                                                                                                       '
                                                                                                                                                                              '% b fjy 2o m r
                                                                                                                                                                               #eY . h.:+%               ma  , r. .
                                                                                                                                                                                                             .     j,      '
                                                                                                                                                                               r.u        x*'      %'  ,'m ,% gw
                                                                                                                                                                                 i
                                                                                                                                                                              6l'l
                                                                                                                                                                                 p
                                                                                                                                                                                 jp,q.Kv
                                                                                                                                                                                       ,7
                                                                                                                                                                                       .
                                                                                                                                                                                         '   %
                                                                                                                                                                                             .  i
                                                                                                                                                                                         .. ,,p.*
                                                                                                                                                                                        ;r
                                                                                                                                                                                                 .
                                                                                                                                                                                                 ,  -
                                                                                                                                                                                                    k  x
                                                                                                                                                                                                       '
                                                                                                                                                                                                       ,
                                                                                                                                                                                                      Ar
                                                                                                                                                                                                       . -  .
                                                                                                                                                                                                            -'
                                                                                                                                                                                                             < '
                                                                                                                                                                                                               - >
                                                                                                                                                                                                               ...   >
                                                                                                                                                                                    a..>v. lvt> .e o xt>.*z            .
                                                                                                                                                                                                                         )
                                                                                                                                                                                             #,tev:t+ +++.w- #- -



                                                                               %
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 19 of 165                                     d
                                                                                                                         '

                                                                                                                                                                                                                                                                            ''
                                                                                                                                                                                                                                                                             . .
                                                                                                                                                                                                                                                                        .            , .                           ..
                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                              kjjy
                                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                                 g    ,. gy y;jyy .y.y,j, j)j....,jgjyg.
                                                                                                                                                                                                                                                                                                 jyy...            .,
                                                                                                                                                                                                                                                                                                                  ,y.,


#                                                                                                                                       .
                                                                                                                                               '            .
                                                                                                                                                                ,.
                                                                                                                                                                     . ....'..
                                                                                                                                                                             --
                                                                                                                                                                              '!-
                                                                                                                                                                                !.
                                                                                                                                                                                 '!
                                                                                                                                                                                 !'''!
                                                                                                                                                                                     ''!-.
                                                                                                                                                                                                       ..         ( ..
                                                                                                                                                                                                                                                                                                              #
                                                                                                                                                                                                  ... ,,



                                                                                                                             .
                                                                                                                                  .  '' .
                                                                                                                                  ., ,l
                                                                                                                                 ''     ..',.. .::h,..
                                                                                                                                      . .':,,'
                                                                                                                                           ' , .' I
                                                                                                                                                  .:
                                                                                                                                                   .
                                                                                                                                                   ,i
                                                                                                                                                   .
                                                                                                                                                       ,
                                                                                                                                                       .


                                                                                                                                                    (., .
                                                                                                                                                    '
                                                                                                                                                                      J 9,4U -.
                                                                                                                                                                             ,

                                                                                                                                                                                        '''
                                                                                                                                                                                          .
                                                                                                                                                                                                      ,
                                                                                                                                                                                                            .

                                                                                                                                                                                                            '
                                                                                                                                                                                                                           .



                                                                                                                                                                                                                      .,....
                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                .. '
                                                                                                                                                                                                                                   .. .
                                                                                                                                                                                                                                                     (',                                    . ,, ... . ,..,                  , ,

                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                               ..             )          '         ..
                                                                       X1
                                                                        ,; A yL:)
                                                                                     , kj w ,;g,gy #/+ '+:
                                                                                     B,                 / zezw W/ #'#?/t>
                                                                                                         ,
                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                              e W
           :.E
             , j.
                s
                .
                -
                .'-:   .j,, rv
                   ,...q               4
                                       j
                                       .4
                                        ,
                                        .
                                        f
                                        )à4
                                          )4
                                          .,
                                           .
                                           f
                                           -
                                           ..
                                            y.
                                            -
                                             j
                                             :
                                             j
                                             !
                                             ;
                                             .,.'y.')
                                              '.
                                               '
                                               -
                                               .. ... ...
                                                                                                                 '' 'ï
                                                                                                        . . i : ...' '
                                                                                                                         T..
                                                                                                                           y
                                                                                                                           :
                                                                                                                           .)
                                                                                                                            4
                                                                                                                           ;;
                                                                                                                            p
                                                                                                                            !
                                                                                                                            j
                                                                                                                            tjjj
                                                                                                                             l
                                                                                                                             ï
                                                                                                                             j
                                                                                                                             t
                                                                                                                             f
                                                                                                                             7 ;
                                                                                                                               )jj;t
                                                                                                                                   g
                                                                                                                                   jp
                                                                                                                                    4
                                                                                                                                    l
                                                                                                                                    t
                                                                                                                                    .
                                                                                                                                    '
                                                                                                                                    ,!
                                                                                                                                     7
                                                                                                                                     '.
                                                                                                                                      à;
                                                                                                                                       4&
                                                                                                                                        b
                                                                                                                                        f,
                                                                                                                                           '
                                                                                                                                         . j-
                                                                                                                                            ;jj
                                                                                                                                            .
                                                                                                                                      :., . ,  .

                                                                                                                                              ;j$
                                                                                                                                                r
                                                                                                                                                jj;4t
                                                                                                                                                    ;
                                                                                                                                                    ,
                                                                                                                                                    ;
                                                                                                                                                    jj
                                                                                                                                                     ;
                                                                                                                                                     rjI,ky.,' ..
                                                                                                                                                        ;
                                                                                                                                                       ;j
                                                                                                                                                                                        r
                                                                                                                                                                                        .,.   ..
                                                                                                                                                                                                   .. ' .''
                                                                                                                                                                                                    ..  ..                       .'            3,.3,',    6,p
                                                                                                                                                                                                                                                    .',.4,'
                                                                                                                                                                                                                                                          . p .(
                                                                                                                                                                                                                                                               ;
                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                               4
                                                                                                                                                                                                                                                               .1
                                                                                                                                                                                                                                                                7               W.jjdpçt.
                                                                                                                                                                                                                                                                                        i
                                                                                                                                                                                                                                                                                        l
                                                                                                                                                                                                                                                                                        si
                                                                                                                                                                                                                                                                                         l'
                                                                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                                                                          :i'/
                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                             i'
                                                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                                                              '
                                 .: g
                                    -
                                    jj
                                    ..
                                     j)j                                                                                                                                                 , ,,    , . .,                         . .
                                                               .,      .                           .., -., ... . ,                 ,. . , ,,                                              . . . ,,
                                                                                                                                                                                                                                                                                .       .
                                               . .,j
                                            ,                   .                                                    ,                       r                                        .....
                 r (
                   ..5.
                      :' uj
                          a',,.
                              y,,,                                                                                                 .
                                                                                                                                   ,

            )'''.. t L-.; ,r ;y.
                               ,
                               ., A
                                  .L
                                   &,,
                                   j t.;
                                       .) y
                                          ..
                                           g..,w                                                                                                                               E'
                                                                                                                                                                                rf/.
                                                                                                                                                                                   .a,wg
                                                                                                                                                                                       w;,'
                                                                                                                                                                                          z
                                                                                                                                                                                          e-
                                                                                                                                                                                           P/TkJ;
                                                                                                                                                                                                ,/zvky
                                                                                                                                                                                                     . wm
                                                                                                                                                                                                        @,
                             (
                             ,,.#,                         :k . '
       ,X''.'                .
                                        ;,
                                        .,
                                           .   y
        'j'L
           ?'ï ' .                      .:'                        .

                       ,,,W
                          ;..
                            '
                            .
                            '.
                             f
                             '
                             y.'.
                                @.',
                                   ', W141!F                                         yyy t:t:.,(.(.: .jvz w   '.r
                                                                                                                . .z
                                                                                                                   z Ws#.:N...se At
                                                                                                                                  o+ .y'
           E... . :')
                   . ,'
           :y
               .
                , .   ;
                       ;                   .
                                           L
                                           8
                                           '.444
                                               '&.
                                               14jjj.
                                                    jj
                                                     r,.:j.
                                                          j.
                                                           jjjj$
                                                               jy
                                                                  y
                                                                jjj.
                                                                .
                                                                      so
                                                                   j..y
                                                                      jjjjyr
                                                                           ..,j
                                                                                     .
                                                                              ,.rjjyj.
                                                                                           . .
                                                                                            .
                                                                                              .:       jj
                                                                                                        J
                                                                                                        'l
                                                                                                         y
                                                                                                         j
                                                                                                         l
                                                                                                         .p
                                                                                                          '
                                                                                                          r
                                                                                                          .4
                                                                                                           ,
                                                                                                           p
                                                                                                           rj
                                                                                                            '
                                                                                                            j
                                                                                                            !
                                                                                                            .
                                                                                                            .k
                                                                                                             '
                                                                                                             j
                                                                                                             i
                                                                                                             .j
                                                                                                              I
                                                                                                              r
                                                                                                              p ,
                                                                                                                4
                                                                                                                !
                                                                                                                ,                              .
                                                                                                                                                       ''
                                                                                                                                                            .        . :
                                                                                                                                                                     ;.
           d
           '                                                                                                y



                                                     ;qEE :.
                                                                                                            'F' x
                                                                                                              ,,)
                                                                                                                K'
                                                                                                                 e'
                                                                                                                1.
                                                                                                                 '
                                                                                                                   >
                                                                                                                  <<
                                                                                                                                      r zz
                                                                                                                                         /z WQ
                                                                                                                                             ,
                                                                                                                                             :        1 tr yy y
                                                                                                                                             ,ye wv + ,
               tl1'.E(.'?. .                     ,à63?
                                                .. .. ..                         .   (...            .
                                                                                                        i
                                                                                                             .
                                                                                                                                       '
                                                                                                                                                                                                                          .'          ..       .
                                                                                                                                                                                                                                                               ..-,,.
                                                                                                                                                                                                                                                                    ,j,,,!:j.
                                                                                                                                                                                                                                                                            jjj,,.
                                                                                                                                                                                                                                                                                 - ,jj,             à
                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                    ;
                                                                                                                                                                                                                                                                                                    3
                                                                                                                                                                                                                                                                                                    f
                                                                                                                                                                                                                                                                                                    ,
                          y
                 .. ' .qj..
                          'j,  (;/C
                                  '
                                  ï
                                  '.
                                   ;,L
                                     W
                                     ï
                                     ,
                                     :
                                     'y;';,:
                            . '''' ..'-.. .
                                          ,(ï,,.,
                                          );..
                                          (  ,
                                             ..   ;;'kj,'i y .y.,.
                                                '(,
                                              ,.y.a(.
                                                    j
                                                    . :
                                                      .,
                                                       ... t...                                     .                        .
                                                                                                                                                                ., .
                                                                                                                                                                       ,          .
                                                                                                                                                                                             ,y        g.r. .;.       .         y
                                                                                                                                                                                                                                 . ,.:..
                                                                                                                                                                                                                                           ,

                                                                                                                                                                                                                                                   e z ..
                                                                                                                                                                                                                                                        ..
                                                                                                                                                                                                                                                         ..j
                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                           ,e+
                            .,. .'
                          ...'r' .
                              .
                            . .. .. . . .
                                        '         ;.
                                                  q '               72.
                                                                      ..                  yl
                                                                                           q.                                                                                                               .,.
                                                                                                                                                                                                                                           .


                          :r , ,Eg
                                 .. . r
                                  ,                            j       :,j               /' .y,.
                   q.
                  ,j...
                      ,qy
                      ' '.,
                          j.,
                          ' '...).'
                             .'
                              .
                              i
                              :     .
                                    '
                                    ;
                                    .
                                    '  '. .
                                     . '  y
                                          J      .':
                                          gj. y,:'                                   .
                                                                                                    '.'
                                                                                                   , ,, . . .
                 , r,; l.'''.: , r:(.
                 .'' ' , ,. ..
                  . .. . .             j : ,, . ',....
                                       :         ' ..                      .
                                                                                     .
                                                                               j ... y .r7
                                                                                         , ; ..
                         :!E ' -..!F....'                  ): '
                                                           .
                                                         ''- '
                                                                                                 '''.)' '..'5
                            ,( )
                         ,.. .,:
                                  .
                                   ., F,,
                        ê r jà ( ,èk
                                         ..-. .,(
                                         ;
                                         )
                                          ,,,
                                            j4q
                                            , ,4(
                                               ,,;
                                                 t
                                                 .y
                                                  jjjg
                                                   .7
                                                   ; k
                                                     jr
                                                      iy
                                                       ij
                                                       )
                                                    ,...
                                                  , .y
                                                à,,
                                                  3,,
                                                    ç,j l
                                                        d
                                                        i
                                                        l
                                                        p
                                                        ?
                                                        i'
                                                         .
                                                        . ...
                                                                               ...
                                                                               -.
                                                                                            '
                                                                                          .-..
                                                                                            . .. .
                                                                                                   ...


                                           jr.y-jyrgjjjj
                                ,,,,
                                                        lr
                                                         j
                                                         .                               .. ,

                        J :):.
                             '.:
                               ....1
                   . ... .,..u.'
                                   ..
                                     j
                                     y
                                     ,
                                     jj
                                     y
                                   . .
                                     yr
                                      g
                                      j
                                      .j
                                       y
                                       j
                                       g
                                       j
                                       'j
                                        j
                                        j
                                        y
                                        .
                                        F
                                       :.
                                         j
                                         p
                                         l
                                         ,
                                         'y
                                         '.      s
                                                .: o.. .jj
                                                         q
                                                         à
                                                         ,
                                                         )b
                                                          à
                                                          -
                                                          ,
                                                          b
                                                           ,

                                                           ,
                                                           -
                                                           ,,
                                                            -                    .;, ,g, .., ..y
                                                                                .y             .. .. , .. .
                                                                               '''' ''C ..'''' ' :g.:,,,j
                                                                                                    ,s  ,
               z
             ''i
               1!
                 k
                 (
                 WL
                .'
                '
                    t,
                 ;.'..:
                      '(-
                        .7
                         '--
                          .
                            .'.
                                s
                                L
                                  z
                                 ?.
                                 . '.
                                    '
                                    j
                                    .
                                    :b
                                       v
                                       ,,).
                                     (-.qj
                                          ' n., .       xu,,                                                                                                                                        jj
               (
               . j
                 .*  ' '--'-
                                   '    . 4
                                          ,
                                          r:.
                                            à
                                            6
                                            '
                                            .
                                        (ï: .b
                                             à
                                             .q
                                              .
                                              3
                                              ki
                                               àk
                                                q
                                                b
                                                ,
                                              ç..jà
                                                  ,
                                                  l
                                                  f
                                                  jà
                                                   j
                                                   j
                                                  ..
                                                    l
                                                    f
                                                    a
                                                ,t. 2;
                                                     tj
                                                      j
                                                      .r
                                                       .
                                                       d
                                                       q,
                                                        .
                                                        .
                                                        >.
                                                         .. k-                                                                                                                                . j..w c                                         '
                                                                                                                                                                                                                                                    ..u
                                                                                                                                                                                                                                                    j
                                                                                                                                                                                                                                                    l
                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                    v
                                                                                                                                                                                                                                                    j
                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                    lf
                                                                                                                                                                                                                                                      .. j
                                                                                                                                                                                                                                                     jj
                                                                                                                                                                                                                                                     z
                                                                                                                                                                                                                                                     - l
                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                       4
                                                                                                                                                                                                                                                       l
                                                                                                                                                                                                                                                       jj
                                                                                                                                                                                                                                                        q
                                                                                                                                                                                                                                                        jl
                                                                                                                                                                                                                                                         4
                                                                                                                                                                                                                                                         f
                                                                                                                                                                                                                                                         ,...,
                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                              ,.g .
           '':
             k!4
               !
               ,
               lt
               ( '
                 11
                  k
                  i
                  Ii
                   (
                   !!
                    1?
                     !;)Ip!Ii!jk)l;(W
                     . .,
                            . .
                                '
                                .
                                .
                                    '-.':k
                                         1,
                                          j
                                          1
                                          jj
                                           ..
                                           ,-
                                            L
                                            :
                                            .
                                            '
                                            y,
                                             :
                                             ;
                                             ?
                                             ,
                                             j3
                                              '
                                              t
                                              .:
                                               3
                                               '
                                               ç
                                               .'
                                                ?
                                                b
                                                3)
                                                 :é
                                                  4
                                                  b
                                                  '
                                                  3
                                                  .
                                                  ,
                                                  L-
                                                   .
                                                   3
                                                   6;.1
                                                   ;,,9
                                                      .
                                                      t
                                                      :
                                                      7
                                                      1
                                                      .
                                                      y,
                                                       .,
                                                        -
                                                        .           '   '
                                                                        '
                                                                       ..
                                                                    .. . ,
                                                                                                                                                                                        ,
                                                                                                                                                                                        .
                                                                                                                                                                                        3
                                                                                                                                                                                        '
                                                                                                                                                                                        3
                                                                                                                                                                                        .
                                                                                                                                                                                        63
                                                                                                                                                                                         '
                                                                                                                                                                                         .
                                                                                                                                                                                         '
                                                                                                                                                                                         - ''
                                                                                                                                                                                            ..'' '.                             .
                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                      ,.
                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                          .-
                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                             ' ' '' '
                                                                                                                                                                                                                                                             '  '           '       '




                                                           vvv
                                                             .xv ,                                                                                                                                                         '..
                                                                                                                                                                                                                              uyV gJ.,s .
                                                                                                                                                                                                                            Yvs         -
                                                                                                                                                                                                                                        g
                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                        r
                                                                                                                                                                                                                                       '.
                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                         ,.         . .                         à.
                                                                                                                                                                                                                                                                                t
                                                                                                                                                                                                                                                                            . .'.
                                                                                                                                                                                                                                                                                :.
                                                                                                                                                                                                                                                                                     .



                                                                                                                                                                                                                  .      .. .              . .. .    ''' . .
                                                                                                                                                                                                                                                               !
                                                                                                                                                                                                                  .    1t   '                          '' ''
                                                                                                                                                                                                                      î>. '. .#. R.
                                                                                                                                                                                                                                 .''...A
                                                                                                                                                                                                                                       ..'
                                                                                                                                                                                                                                         *#;'.*-..*é *'
                                                                                                                                                                                                                                                     .''. #..<..=.-.x..
                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                ..          . <y*-*. vNvr.       ' 1.
                                                                                                                                                                                                                                                                 +
                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                 k<     ,           .   .
                                                                                                                                                                                                                                           . .j yswe.. v
                                                                                                                                                                                                                                                       .. .w z,x.xo. w.
                                                                                                                                                                                                                                                                      ..
*   Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 20 of 165




                                                                                                                 8
                                                                                                                 ;;'
                                                                                                                   ;/
                                                                                                                    'v'œ
                                                                                                                       , 41;c..                                                                    r'
               '
               '
               *
               '                      -
                                      j
                                      (
                                      :1 (
                                                        - zy
                                                           ;AL z'
                                                                W eV X
                                         '      '
                                              . '. .
                          ' ...
                          ::
                          -;;
                           1i
                            !
                            L!
                            . :
                              r
                              '
                             ()
                             ..
                              -
                              -
                              ''' -
                                  .
                                  ;
                                7-j
                                  ,
                                  .
                                  -è
                                   k
                                   .
                                   ;
                                   -
                                   'ëi
                                     '
                                     -
                                     .
                                     I
                                     j
                                     '.y
                                     ;k
                                     .(
                                      .
                                      r
                                      :
                                      k
                                      ;
                                      ,
                                      .
                                      kï
                                       -
                                       t
                                       r
                                       ,
                                       p
                                       j- ),.j,4,)jk,,-p.!,jtà:,;j:i;j,.;l3l,;-g$lyj1-,)'46,k:,?-;j;i
                                        ,
                                        .
                                        y
                                               . .;

                                                 ,
                                                 -
                                                 j
                                                 ;
                                                 4
                                                 jr
                                                  ,
                                                  ;
                                                  j
                                                  ,!
                                                   ,
                                                   .
                                                   '
                                                   -j
                                                    :
                                                    ;;
                                                    .'
                                                     .
                                                     ''''                            '
                                                                                         -
                                                                                                                                            ...


                            +
                            -.
                             l
                             .
                             ;
                             t
                             .
                      ...-.- .
                      .

                            .
                          ; ..
                              -.
                              j,
                               -
                               .
                               ,
                               j
                               .,
                                y.
                                 j..
                                  -
                                   j....;
                                  -,
                                        ,L
                                         .
                                         :
                                         -
                                         ;
                                         ,
                                         .
                                         -'
                                          b
                                          j
                                          3
                                          f
                                          -
                                          4
                                          .
                                          r
                                          jjr
                                          .
                                            q
                                            ,
                                            i
                                            y
                                            .jj
                                              j
                                              r
                                              ;
                                              j
                                              :r
                                               !
                                               y
                                               r
                                               ,
                                               . .. ..           b
                                                                 4
                                                                 q
                                                                 j
                                                                 ,,
                                                                 .$
                                                                  ,
                                                                  -
                                                                  ;j
                                                                   t
                                                                   i
                                                                   3
                                                                   t'
                                                                    .
                                                                    '..            -'.
                                                                                  .,
                                                                                         ,.

                                                                                        ,.
                                                                                    . ...
                                                                                           ,-. . . .
                                                                                              . .. ..
                                                                                                                                            -
                                                                                                                                               (
                                                                                                                                             .. . . .

                                                                                                                                             y- ).
                                                                                                                                            . .
                                                                                                                                                ..
                                                                                                                                                   .., ,
                                                                                                                                                        ,   ,,,,!,'.
                                                                                                                                                            .                  ..



                                        yx?L6 wLAw .Wssm,, ,r '
                          :

               #>
               'è e o,w Fè.
                          (.
                           '( g ;
                                )t.,
                                   A .,                                                             C.
                                                                                             J -.''-)            '-''       ''
                                                                                                                                                                                                   '
                                       '                                                                                                                                                                                                                                    ''
                                   .. .
                                                                                                                                                     .- .g ;p.jt
                                                                                                                                                               ,:):
                                                                                                                                                                  .
                                                                                                                                                                  ,-. ,
                                                                                                                                                                      -;
                                                                                                                                                                       j
                                                                                                                                                                       ;
                                                                                                                                                                       .y'
                                                                                                                                                                         j
                                                                                                                                                                         4j
                                                                                                                                                                          ','j                .'       t..                                                      '

               L
               î
            . --
             .j
             t
                  ' ..
               - .r..'')
                      .'?
                        .t
                        ')',
                           ?t'.'
                               -
                              ..-.
                                 r.,
                                   .'.
                                   ' -
                                     T
                                     E
                                      . ..

                                      ':'.
                                         '-
                                          .
                                          '...'y.)- t
                                               .
                                               )         -
                                                            )-;,.-
                                                          ...  -
                                                               i
                                                               6:
                                                                6
                                                                 ,. ..--
                                                                 â
                                                                 6:
                                                                  .
                                                                  -
                                                                  ï-
                                                                   i
                                                                   L
                                                                   ?,9
                                                                     t
                                                                     -
                                                                     j
                                                                     .,
                                                                      j
                                                                      t
                                                                      ;
                                                                      j
                                                                      t
                                                                      .y
                                                                       j1
                                                                        y
                                                                        ,
                                                                        l
                                                                        '
                                                                        .
                                                                        ,
                                                                        y
                                                                        '
                                                                        .
                                                                        ,.
                                                                         ;
                                                                         '
                                                                         j
                                                                         ,
                                                                         .
                                                                         j
                                                                         ;
                                                                         .
                                                                         'j
                                                                          !'
                                                                           .
                                                                           -.''/
                                                                               ''''
                                                                           ' ' ''
                                                                                (.
                                                                                 '  Li ;6
                                                                                        .
                                                                                        i ï36kib
                                                                                               3
                                                                                               63
                                                                                                t
                                                                                                :
                                                                                                t
                                                                                                ï'   /
                                                                                                     )'. ' ..ë   . .   .
                                                                                                                       '
                                                                                                                       .. )
                                                                                                                          ''Er.
                                                                                                                           ,
                                                                                                                           .
                                                                                                                           '
                                                                                                                              ,':' -(..;... .
                                                                                                                              .
                                                                                                                          . '..'
                                                                                                                                 '.
                                                                                                                                  '
                                                                                                                        . . . -, ..  .
                                                                                                                                       ..

                                                                                                                                         ' .
                                                                                                                                           -
                                                                                                                                           -
                                                                                                                                           '   '
                                                                                                                                                        .

                                                                                                                                                          ' .. ..
                                                                                                                                                             . .
                                                                                                                                                               1
                                                                                                                                                               k,-'
                                                                                                                                                                  - t
                                                                                                                                                                       .

                                                                                                                                                                       .
                                                                                                                                                                       '  f.'1
                                                                                                                                                                             .W   j
                                                                                                                                                                                  ,
                                                                                                                                                                                  y.
                                                                                                                                                                                   j
                                                                                                                                                                                   #
                                                                                                                                                                                   ,
                                                                                                                                                                                   ;
                                                                                                                                                                                   y
                                                                                                                                                                                   j:
                                                                                                                                                                                    ,
                                                                                                                                                                                    :
                                                                                                                                                                                    ,;
                                                                                                                                                                                     -
                                                                                                                                                                                     j
                                                                                                                                                                                     ,,j
                                                                                                                                                                                       rk
                                                                                                                                                                                        t
                                                                                                                                                                                        :
                                                                                                                                                                                        #,
                                                                                                                                                                                         ;
                                                                                                                                                                                         .
                                                                                                                                                                                         ,
                                                                                                                                                                                         jr
                                                                                                                                                                                          /
                                                                                                                                                                                          i
                                                                                                                                                                                          r
                                                                                                                                                                                          j
                                                                                                                                                                                          -
                                                                                                                                                                                          pj
                                                                                                                                                                                           ,
                                                                                                                                                                                           t
                                                                                                                                                                                           f
                                                                                                                                                                                           ,
                                                                                                                                                                                           .r
                                                                                                                                                                                            4
                                                                                                                                                                                            .
                                                                                                                                                                                            3.
                                                                                                                                                                                             6
                                                                                                                                                                                             .
                                                                                                                                                                                             :.
                                                                                                                                                                                              ,..
                                                                                                                                                                                                . -      7jjh
                                                                                                                                                                                                            y-                                             ,
                                                                                                                                                                                                                                                                . ..
                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                    .       .
                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                        '
             ,.                   ,                                           .

                                   .. ' t:
                  '                  ''                 '                   ..'.
                                                                          . ;
                             j.j; .j(.     ..'.'           j.g,
                                                              ...,..,..
                                                                      )
            * ' r(.
             ;,. ...

              '
                         ,
                         .jo
                           'y.  :t,r,
                                   ,
                                       ?y,
                                     y..,:.
                                                 ,

                                          .v...r.bq..r::.    :
                                                                       j.,
                                                                         .
                                                                         , uzus
                                                                           )
                                                                          ,;
                                                                                     ..
                                                                                            , r.
                                                        )r,... j.:y,..:, y....a:,..c,f(),f...... jjj
                                                             .
                                                            .'
                                                                                                     .. a
                                                                                                          a;jja
                                                                                                   r:jjk;,jjy
                                                                                                                       w.  !w
                                                                                                              pr....,r. R3fq
                                                                                                                                  .,   a.. z
                                                                                                                          .,f.y4,tta,66à);
                                                                                                                                                yv
                                                                                                                                                '
                                                                                                                                           qjj..;.4
                                                                                                                                                  ..,,...,4,,.re     m
                                                                                                                                                               jjjw c,     .
                                                                                                                                                                            r
                                                                                                                                                                            y
                                                                                                                                                                     ;....ajj
                                                                                                                                                                            r
                                                                                                                                                                             ,.ar
                                                                                                                                                                            .jjjy<
                                                                                                                                                                                  y.,. .. ..,..( ,,,,r
                                                                                                                                                                                        r/gy         ,,
                                                                                                                                                                                                      +
                                 .' :.                       '                                          '
             . ....            . .:           ;
                                              l
                                              q (:
                                                 .
                                                                                                             '
                                                                                                            ,.                                                                                               .    :                             .?         ,.                               .<J-
            W:>   .:
                    (
                    ïy
                     j,è sJ       '1 k
                                     ç.
                                  ' ' '
                                       ''
                                          '
                                                    ke w jr               .                                      e y yu r w. z/ wvv % ,
                                                                                                                                  ..  t yay
                                                                                                                                          g;F p.
                                                                                                                                     ..'+ x .
                                                                                                                                 An+w-t
                                                                                                                                                                                                            ..




                    :  ''
                         :            '                               '
                                                                     ''


            I
            i
            1
            t
            '
            .
            !
            1-
             '
             ij
              i
              p
             ,g4
               I
               !' ':-(-'k.k'L3b'3?3'6- jt;.:kik.qb'-jtï:1ëïLj6','qr?.bjrà34'.j;t,L:.;',-b.'33à,?,Lï-q.à,3'63q?.L-,
                ).'   .
                   . ..
                       .''

                          F-
                          .
                                   '
                                  . .- . -
                                   . ,
                                  ... -
                                           '
                                               .
                                                  ,'
                                                      '

                                       ,v...------.,. -. ,
                                                     :
                                                           .
                                                                     .
                                                                     ,
                                                                     .
                                                                     .                       .
                                                                                               ..
                                                                                               .




                                                                                                                                                                               %                                                 ,
                                                                                                                                                                                                                                 F)7
                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                 - .                        .       .
                                                                                                                                                                 . '. . .

                                                                                                                                                            K (
                                                                                                                                                              '
                                                                                                                                                              ?,r,w.> .
                                                                                                                                                                      ' Q,j
                                                                                                                                                                          ;
                                                                                                                                                                          j.,è
                                                                                                                                                                             . '' ,
                                                                                                                                                                           lx$0 y z,z.a
                                                                                                                                                                                '



                                                                                                                                                                                    '..
                                                                                                                                                                                      j
                                                                                                                                                                                      j%:
                                                                                                                                                                                       .
                                                                                                                                                                                               kw o
                                                                                                                                                                                      y.
                                                                                                                                                                                       : j. > l G :..
                                                                                                                                                                                                    0 #4. 2.                 .


                                                                                                                                                                                      , .s c%      '7* e > '
                                                                                                                                                                                           E-,
                                                                                                                                                                                             t* #* - :  >i?
                                                                                                                                                                                                        ' > ..
                                                                                                                                                                                    . .   .       '' '.. '''
                                                                                                                                                                                                           '' .'.'
                                                                                                                                                                                                                 .:
                                                                                                                                                                                                                  .''
                                                                                                                                                                                                                    *1
                                                                                                                                                                                                                     ::  '. *''.U..:
                                                                                                                                                                                                                      '.1.         ' .. .   .        ''*
                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                       .:
                                                                                                                                                                                                                                                        *:
                                                                                                                                                                                                                                                         '''
                                                                                                                                                                                                                                                           U'           .


                                                                                                                                                                                     *

                                                                               1




                                                                                                                                                                                                                                                                                                   /
                                                                                  N
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 21 of 165




                                                                                                                                                                  *
   M
   -          SL % l ljAKA
  j% ,,>;:j:%gy
              g y
                pAj
                , v: y
  * L<,
: . .
         e
  qE , i
 ''    *'t.. $. .                                        . t w,y t,g        'ag
                                                             &j ,j' rl
                                                                  j#.  l
                                                                       ---
                                                                      >'
                                                                       :
                                                                       , œt
                                                                         '
                                                                         .'
                                                                          .et
                                                                          ym
                                                                           . ..
                                                         .+ '



      Yxî      .            .      .
                                               ''
                                               . ,:
                                                       ' .
                                                         .       .2




                                                                                  >
                                                                                  4G ' <                                     %
              .'
                            y      '
                                                                                            .* 74
      -                 #                                                         -           .>
          '' .. ..
                        . .'
                        '  (.
                            p, !
                                                                                          :(' '                ;
                                                                                                  .

      = =                   * N
                              k
      .   h.. .s . .. .. .c . ;:...r)
                                    ......;...
                                             y.
                                              z.y..: .
 ''                             .. E . '
                                ë                     '.''                     >                      '4
      Y                 Y r>:                                ;:

      e
      .
                        > > )*                                            )
                                                                          e               /
                                                                                          - >                            * , y * *45A.1.#*:.* * .**
      Wj *.(. .'
               .>e e .r
                    '
                         >w... ..... . .              . . ..
                                                                          q
                                                                          -
                                                                          i
                                                                          '
                                                                 . . . .. '
                                                                          -*
                                                                          .
                                                                              . . ,h'         -
                                                                          ..:L= ...L*=... !irl.
                                                                                                  A gJ
                                                                                                  C        ;
                                                                                                           W
                                                                                              v - '< '- .*#-
                                                                                                           .
                                                                                                                                 #aœ<. Y.*+ %
                                                                                                                                 - <-'**A>
                                                                                                                                              > -
                                                                                                                                            - - -
                                                                                                                                                  =''''<'M
      e)L e E w o / è t
                      e èj
                         o
                         = -! .y
                               p e 4a
                                    ,e     tlV > re                                                                                                                            pe e jn
      & w iy   . ( VW S;W
                        y yya W w yyw yyw a jw yyw s
      'ïM':' q
      #
      .   .    :%   .
                 .....r . .
                   ..     y
                          .'
                          '..
                            ,
                            .:''
                              .'
                               .
                               ;y
                                ë
                                :
                                '
                                .)
                                 ;
                                 î
                                 .;
                                  !.
                                  ,.
                                  - e e jyme: y
                                    -
                                    :
                                   .-...
                                               o
                                               (.
                                                  j j mp N r
                                                           '         ..        ...
                                                                , . . . , , , ..      ,    .. .
                                                                                                     ''. '':
                                                                                                  . ..
                                                                                                        ,
                                                                                                           '         ..
                                                                                                                         -
                                                                                                                                 ' ' '''         L
                                                                                                                                                 * fe
                                                                                                                                           '' ' ' '.' ' 5'   ''           @%
                                                                                                                                                                           '      & >
                                                                                                                                                                               ;'''
      *., :.. !
              ;..( .   : ..
                          . , .:
                               :! '.     l  .'
      u o :z           & o ôl
                       J
                                 o't(
                                    ;
                                    ).aE
                                       q
                                       .
                                       ,
                                       ...,.             . .



                                                                               à.
                                                                               :.%ç
                                                                                  :..'. pj
                                                                                        E hj
                                                                                        . .1 hm
                                                                                              .                    Aj.Qglvj
                                                                                                                      4*. *1-'*<Y#M m
                                                                                                                                    :'
                                                                                                                                     -.
                                                                                      .           '
                                                                                                                     .   l
                                                                                  !:
                                                                                   é> A A                      Y             Xvpko l:35g
                                                                               A+ j:y+ è7#751 5% 7

                                                                              %


                                                                                      >''
                                                                                        - $> .,$*.> :
                                                                                                    rkm Y .* - 1.
                                                                                                               i
                                                                                                               j.            :pyyp. e jvw .



                                                                                                                                                                      *
                                                                          **
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 22 of 165


                                                                                                                                                                 *           Ex.hk    .   .   --   )t
                                                                                                                                                                                                        gg2
                                                                                                                                                                                                   .,
                                                                                                                                                                                  '

                                                                                                                                                                                  6X'4t
                                                                                                                                                                                      -/

         e ,
           ',
            M'#
              *#*> ; '()
                       >;q,.ICE'
                               S
         4' l
            m
         e,''
         '
                              k)
                              l
                  =. .. ... : J
                                                     ).
                                                      1AGSEc ,
                                                             V5 SUjT: $'
                                                                       5Q.
                              '.;.. . ;;, ..... ...,. .. .- <.,. lv v .<.v...
                                                                            v...'       a
                                                            .. . .
                                             . . , ,.
         .'
         eE sNkV.                  ,
                                             ..      #,
                                                      :
                                                      ' .,,y
                                                           .-...:,;.';
                                                          r.
                                                           ,
                                                                       4         1

             A .t>

#                .           . è:. .
                                   5.sr.                       .
                                                               '   .       ,.
                                                                                :j
                                                                                 .jr
                      . y      . . , ,. ,, ,,. .
                  .
                                Kt
                                 c r .;


                                                                                                                                                                     *
                                   fl'                         ' ::
                                                                                  %


                                                                                            *#u + N
             % i
               #>                                                                           % P C>
         '

             '
             >
             .,,.,
             '   .)..o..'
                        X
                        !
                        ..
                         '
                         ë                                                                     ... .. nk..:.. .,
                                                                                            ..ë.
                                                                                                                        . .. . . /       ..
                           .::f
                          .1                                                            .
             ' .
              .. .. .    '
                         i;             . .. '..        .. .

             -                     :
                                   e*
             i
             >                            -                     .
                                                                                  %                                 e
             *            ,:
                           kr
                            * , % 5t1
                                    :-                                 :
               t e
               o .l            '- y u ?'j
                                    y    pe yo  .' 'o e gpat
                                                           gi4pxvk% ' ai'm wl
             f
               >    e-             .> , r > (
             * e ( -. )*
                 .
                       ).: r.''
                              ..)r
                              j: (- *-
                                 p
                             . . .
                                      .. ..,
                                           ..**
                                            -,r  * -:- 1.* :* r** .1*..*.. *
                                                        .
             * f2
                - ..
                '                                  è''''''''.
                                                            ('
                                                           -:
                                                            ,
                                                            * *;(..t '
                                                                     (
                                                                     ...'.'
                                                                     #
                                                                     >    .)(
                                                                            1.e ',:
                                                                                  *J e. +..àe #àt,h-,qrz.
     '


         v#> T
             - ,
               e-
               (                                                   :w è
                                                                      e                 o,
                                                                                         -                  <- , .
                                                                                                                 ,' 4.,- in-                           tjon 1-           -   ,-
                 ''                                                                                                 + '*- t
                                                                 ..ri........: ...,'.                                     '- l                                                    .
                                   '- -
                                       ïï--ï.ï.-...-ï s...--                                .. .. *
                                                                                            -       -...
                 . . ,.
                      .       ..
                                          :T
                                           E       . ..
                                                   ,  ,   :;h....
                                                               q.. y
                                                               (     E' . .                       ..
                                                                   rè
                                                                                            A>              #* AG SERVICB
                                                                                            >,              œ (:Y XVD& lE$5:




                                                                                                   %% s
                                                                                                      ko ,
                                                                                                         syjyj8 p.j. .. .a aj. .
                                                                                                       . ..              .
                                                                                                           j
                                                                                                           rj
                                                                                                            '
                                                                                                            j:
                                                                                                             j
                                                                                                             '
                                                                                                             jjjj*
                                                                                                                 jjj.
                                                                                                                    jjjjjj;jjjjj,jyyj7
                                                                                                                                     4,,-)4j)j.
                                                                                                                                              ;jr.
                                                                                                                                                 j,1j:
                                                                                                                                                     j)j!4$j;.
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 23 of 165



                                                                                     %                                                                              E xh'
                                                                                                                                                                        .
                                                                                                                                                                        '
                                                                                                                                                                        i
                                                                                                                                                                        ).:; .
                                                                                                                                                                            ..   .   .
                                                                                                                                                                                         g
                                                                                                                                                                                         ..y
                                                                                                                                                                                               nn
                                                                                                                                                                                               jj
                                                                                                                                                                                                r
                                                                                                                                                                                                I
                                                                                                                                                                                                 .
                                                                                                                                                                                                d1
                                                                                                                                                                                                1
                                                                                                                                                                                                .!'
                                                                                                                                                                                                  !(
                                                                                                                                                                                                    .
                                                                                                                                                                                                   II
                                                                                                                                                                                                   .:
                                                                                                                                                                                                     (
                                                                                                                                                                                                    jj
                                                                                                                                                                                                      3
                                                                                                                                                                                                     ,!
                                                                                                                                                                                                      r
                                                                                                                                                                            .



                                                                                                                                                                                 <*
                                                                                                                                                                                  ,,
                                                                                                                                                                                   .''%
                                                                                                                                                                                      nj
                                                                                                                                                                                      .
                                                                                                                                                                                      ,
                                                                                                                                                                                      'j
                                                                                                                                                                                       .
                               .             ;.           ''.        '. '
                                                                     :            .. '

             ;
             i.,s7ij
                   y.l,(J-,.;  :
                            .'..
                  . . ' . J..
                           .#
                                  :.2.:j
                               .rq'
                            ! ' ..
                             .; t
                                       y
                                       g:o.J1E.g
                                       :.
                                   . .. .., ..
                                             ,
                                               p..... J
                                                      :
                                                      (
                                                      g),
                                                      j
                                                    .. ,
                                                     .
                                                        '.
                                                         yj
                                                         ...:.W..y.y(j
                                                        . .. y .:.
                                                                     g.(
                                                                  ,.....:
                                                                        .q..;
                                                                            ...
                                                                                                                                   ,
             :;
             :
              ':'
              %
              ....
                . y
                    ::r, ;      t
                         yyygj. r
                                 J(a Kq% 10
                                jyyr.
                                           , ,i>
                                               ( jTT g0
                                               ..
               J
         .
             e. *.,.
                   i,éV:?E'F
                      .
                       .
                              . ,g    E
                                      .
                                      '. ,:'.        '
                                                                                                                                                                *
                                                                                         1
         Fe .t,S ê                                                                       '
     I;
      #                        * 4Y ï
     *> ,;
         ' , è-
         >                                                              :* '
     '
     ue j%: . ;&
              ''
               e..
                     (
                     %
                 '* '.-
                                       N ,,, ..

     la.t
        s,xA ...
               #à
                A.x,
                   l.s
                     xjswv :..xjjyay
                                   yjjjojgyjy


                                                                                              N y , '
                                                                                                    t
                                                                                                    <                                             %
                                                                                                - C?E?f
                                                                                                      ;4.



                                                                                             e                        wjy('

                                                                                             . .. ..                           ''
                                                                                                            ...
                                                                                                              p . , ..

     '

             ' .....       ...     .             '   .             ..                              ''' '
         .                             %                                                     o                  ' '      '
                                                                                                                              y
              .                    .   ..                .'
         -                 W                > /1)'
                                            @    . .;                   .
                                                                                         :
         .        @
                                                              .

         e (E, >.                      ,        ',L,;,)- -
                                                -    :,:( ,, , - . , ne                  '

         - J);..J.....''uz.. Jr.    > >
                               -' ;( : (t
                                        :.:
                                          .;r.:
                                              ..;
                                                <       ;
                                                        >
                                                       ' ' r
                                                           & ;
                                                             )>
                                                              y   w wyo wa o - o
                           .        t
                                    - ler- , o - ) t- -
                                                     .      ,
                                                            t- :> -                                                                                                  .t- '- 'M
         * -,,           *. .r.,.
                                yj
                                 .j >.. '- .e '
                                 **
                                                              .

                                                the - àe kuthpdze .                                                                                                    >

         #l
          - l
            - o                                                          e e pk-                                    w o                       w t- jne o o e - ae     -
         *                     - +: > +-
                                                                                             H.. lY J'j#j'eA<
                                                                                                 . ..'.r':. è
                                                                                                              A1c vjc s             '     '   '
                                                                                             ........ .....
                                                                                                          ... ...          .., )' ....
                                                                                                                               y
                                                                                                                             ...
                                                                                             Y                      A NT (tAG G VW W ITE l59
                                                                                             **                       + a 7.
                                                                                                                           + - 7


                                                                                                                    .
                                                                                                                    -                    ++ m<x'
                                                                                                                                               z
 '                                                                                                     -. . ....:!q..r'w
                                                                                                            ef 7gh
                                                                                                            ;    l
                                                                                                                 q
                                                                                                                 r.,!
                                                                                                                    r
                                                                                                                    ,
                                                                                                                    p;
                                                                                                                    +sq
                                                                                                                      !
                                                                                                                      '-.
                                                                                                                        % *.'.Vn'w
                                                                                                                                 '
                                                                                                                                 -
                                                                                                                                 '2
                                                                                                                                  0.
                                                                                                                                   r:
                                                                                                                                    !
                                                                                                                                    6
                                                                                                                                    4
                                                                                                                                    y,1vu,,
                                                                                                                                      jj  r. %
                                                                                                                                                            *
        Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 24 of 165

                                                                                                                                                                       Exh. kz-..y> a. .:. pg4
                                                                                                                                                                                       -.:
                                                                                                                                                                                         -...                 ' - -. -
                                                                                                                                                                                           ,.
                                                                                                                                                                                                      .        .   kq , ,:,
                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                    !
                                                                                                                                                                          :                 J.E 'J k:14k' . ,
            '( '. :'                                               ).               .                                                                                      .                E . .. ': j
                                                                                                                                                                                                      :'2 .,r' :ti,, (. j.y!:.àt
                                                                                                                                                                                                           g 't. ..)..,:''.:
                                                                  .
           ;ë .     q                   ..j                  .
                                                             ,,i ,
                                                                 :l
                                                                  c uœb:
                                                                       ,$
                                                                        ..ujT
                                                                            i
                                                                            ,E',
                                                                               3V'.                                                                                            .   . .' .:
                                                                                                                                                                                    '
                                                                                                                                                                                         :.. 1.     ' .(.
                                                                                                                                                                                                   '.
                                                                                                                                                                                                        ..
                                                                                                                                                                                                               '   ', .-    ; ...

               ï:. ,                       'H . ' .! . ' X .''.
                   .                  y' . ':
                                            ' ' .':                            E



          Mv .1e,
                m''',
          I.E
            O, , M
                 : EE
                    4lAG (
                       '
                                                                                        &
               '
              . .       .                E..        ...! '
         rjt
           a                       q
                                   m g %                                      Ay v:
           @ '*j#,#t1 W:7
        .jyy
           .).%j.-Cx%.yj.,.ja
                           .:,                                                 rjjjxjyj,ju yjjjm jjjs.
                                                                               .    ,                                             .

                                                                         +


              #%*

              e t                                                                                      @kwo lk y'#'@A< j
                                                                                                             .
                                                                                                              '
                                                                                                                       '
                                                                                                                        NA
                                                                                                                         . .,.
                                                                                                                             .


              - )'
              '
                 -L'''E'.,','.,,.;
                                 -77.*.:;...,, .
                                                                                                             z
                                                                                                              kkk.
                                                                                                                 +.,i4
                                                  .... . .
               . gq   j
                       ... . ....
                                             #
                                                                        . .
                                                                                                       /1 + +
                                                                                                       ,
                                                                                                       )   >,               -
               r                             Vb                                                    $'
                                                                                                    #
                                                                                                    ,.,
                                                                                                      C.
                                                                                                       M .4,
                                                                                                           :
    @
          *            .                  . .                ..
                                                                                                       + )*+ :4
               :
               >'e.
                  ''
                   <$c
                   .;' .
                       ;
                       . ..,
                           .( .....
                                  $,
               '

                                         '
                                          M . .'                              '.'
                                                                                ...
                                                                                w *             .' ' '
                                                                                                     .               ''' jx4'1.
                                                                                                                              wxs'.
                                                                                                                                  :j.t.y.
                                                                                                                                        :4t4.,..
                                                                                                                                               j.t'pk
                                                                                                                                                    j.$,.
                                                                                                                                                        y6,
                                                                                                                                                          ..ejl#.
                                                                                                                                                                $sfj .
                                                                                                                                                                     s :
                                                                                                                                                                       , k.%q x.'.k'              . '.
                                                                                                                                                                                                     '..''.* :' ,.
                                                                                                                                                                                                                 //K:
                       ' '                                    :                     ' '                       .,.,               #v'.q'- .y'
                                                                                                                                           t*'v-'   v:   '
                                      ,. '
                                         v.,@F     ... ...... , . ,.. .... 4z. ,.
                                             ... ' .                                                         ,
                               .
                                       %      .
                                                      '                .' '      4              l. . '     &
                                                                                                           .'.
                                                                                                             y' ,. .
                                                                                                                   'yj<
                                                                                                                      .
                                                                                                                      '...j4y;
                                                                                                                             j.
                                                                                                                              ,y.
                                                                                                                                j.
                                                                                                                                h4.
                                                                                                                                  j.
                                                                                                                                   j'
                                                                                                                                    j.
                                                                                                                                     yjjy.
                                                                                                                                         jj#.o.@.jjjjjs
                                                                                                                                                      jj j:
                                                                                                                                                          zy.'
                                                                                                                                                             !$0.j  r
                                                                                                                                                                    j,
                                                                                                                                                                    .#j:
                                                                                                                                                                       jj.:jy<
                                                                                                                                                                             F.4 jj.
                                                                                                                                                                                   4y<sJ
                                                                                                                                                                                       '.
                                                                                                                                                                                        &è8l
                                                                                                           ,

                                                             ' '               ''         ' '
                                                                                                            e,T'
                                                                                                              '.
                                                                                                               è
                                                                                                               ''' '. Tz.
                                                                                                                      '  :.
                                                                                                                          t,.
                                                                                                                            a:.'*'f'
                                                                                                                                   p*zr zdp'f3.f.
                                                                                                                                                -f
                                                                                                                                                 'i!1t;.#!. #.
                                                                                                                                                             '
                                                                                                                                                             ù.
                                                                                                                                                              'à#.$..
                                                                                                                                                                    -4.
                                                                                                                                                                      1:..' li.'fi
                                                                                                                                                                                 .lj
                                                                                                                                                                                   'M Se''*'t
                                                                                                                                                                                            .
                                                                                                                                                                                            1'
                   '           '' '           .       '.              . '


                        .          -'         r. -....' :.,. ... .-... .-...-*
                                                                             -.. ...... .  '
                                                                                                   .
                                                                                                       .    '.,   *,
                                                                                                                   G..'
                                                                                                                      .
                                                                                                                      t
                                                                                                                      l
                                                                                                                      47
                                                                                                                       ?
                                                                                                                       -d
                                                                                                                        e.I
                                                                                                                          .
                                                                                                                          . ..I'. ...11s
                                                                                                                           I'
                                                                                                                            '          '4iI,..''id'. .         .     --
                                   .! -.


                                                                                                                                                             y yyyjjy.
                                                                                                                                                                     jyj jjxjj..yjyyjyj
                                                                                                                                                                                      yNs.
                                                                                                                                                                                         #. yyj.
                                                                                                                                                                                               j.ya
                   11:                       .s.. t.. . .r.. ' W
                                             f
                                             ..               .                             .
                                                                                               . V.'
                                                                                                   Xè ',. $W fG'SC1I$51,1?$11'. i!ii?f *
                                                                                                                 X'
                                           k.  '.
                                               C1                        '.
                                                                          E.            ;y,' k#
                                                                                              .yj> .:AJ t4#.
                                                                                                           pjt
                                                                                                           '
                                                                                                             .
                                                                                                                     .
                                                                                                                                 y'j. . q.xtAj
                                                                                                                                             .'k4jrj4kjjj'.
                                                                                                                                                          y
                                                                                                           j ' $j.   jyN'j,jy
                                                                                                                            lyqj jjjkjjNj.jjjt
                                                                                                           At..
                                                                                                              )S7T+ !: + 7+ hAkr ittk'
                                                                                                                                                                                                          *




          A'
#




                                                                                                                                                                                                                                    *
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 25 of 165


                                                                                                                                                             Ex'
                                                                                                                                                               h                                . ,
                                                                                                                                                                                                  .pg5
                                                                                                                                                             .

                                                                                                                                                                 !l.) '
                                                                                                                                                                              --u .
                                                                                                                                                                                        ,        .
                                                                                                                                                                                                         -
                                                                                                                                                                                                             ..
                                                                                                                                                                                                             ,.. .
                                                                                                                                                                                                                  Q.(-.
                                                                                                                                                                                                                      j
                                       ;-
                                        a               -N                      O                                                                                             ';q 7:y 2
                                                                                                                                                                                      ::.c
                                                                                                                                                                                      j  #. :
                                                                                                                                                                                         '   .;                      '
                                                                                                                                                    J
                                                                                                                                                                          ,
                                                                                                                                                                                            j:(yj
                                                                                                                                                                                               :
                                                                                                                                                                     .''
                                                                                                                                                                       '.!!    ';. ''                d

                                       e            :% W
                                                       (
                                                       i)T:
                                                          Wcr                                                                                                .
                                                                                                                                                             t E;.
                                                                                                                                                                        '.. r.i'j:.,.(,
                                                                                                                                                                      ...
                                                                                                                                                                        è
                                                                                                                                                                        .      .
                                                                                                                                                                                      jj.
                                                                                                                                                                                       .
                                                                                                                                                                                        )..
                                                                                                                                                                                          y
                                                                                                                                                                                          g
                                                                                                                                                                                          .
                                                                                                                                                                                          (                          .
                                                                                                                                                                                :.:,'   ' ' ,' .'' '
                                                                                                                                                        ..       j
                                                                                                                                                                 .        .;
                                                                                                                                                                           '.                      .
                                                                                                                                                                                                         .
                                         l t. ep ''
                                  1'
                                  < * m .'                                 'x

                          '
                          *




                                  èe
                                  1:              g
                                                  * -,'l>                           >
                               w..
                                 :1;xu yy 2gw y
                                         '         '
                                       .. ....... . '       '              .



                              yjjyrjjww#ajkxvljjjjj
                                             .    ujc':.'.j'.j
                                                    .       . yjjyyjjjjjmjgxj
                                                             '.
                                                                    . .'
                                                                                                           ... .. ' ' .




                                                                                                                                                *




                                                                                                                               *        4
                                                                                                                               e       A>
                               *                        +
                                                        '
                                                                #
                                '
                               . ' .. ' . ... ..... .' , . ... ..
                                                                                , .

                                                                                                                               e -          4

           v*'4.4.:4.#.t.                                                  '
                              e. Y -
                                   t r
                                     -..     ,                                  .       . .
                                                                                                 -                xr>                      v v-                                             '
                                                                                                                                                                                                ''


                               .
                                                                                                                                               :y ,l UIAA.< -                               >                 .<
                          .
                              +2t.:.;%y
                                   .
                                      .''f>.:'g
                                              >     .. ';'<('re j
                                              (t,., : ..  '
                                       . .. ..... ,... . , .
                                                                l4*-
                                                                  : *>
                                                                     .
                                                                                                                                                    - > -
                                                                                                                                                    )                                   -                >
                                        )                       e è t
                                                                    *- :
                                                                       i
                                                                       %4.j
                                                                          yr.,.
                                                                              :j
                                                                               -            .
                                                                                                                               .
                                                                                                                               , -. > .- -*.
                                                                                                                               -           h- ;
                                                        *
                                              :

                              :
                          * è
                            +: .V:;
                                  y
                                  .
                                  >.,G
                                     '
                                     KM
                                      t .. .:
                                   = ,.,..
                                            A*                                                                                     M .          .
                                                    1                                                       -             *            -
                                                                                                            1+ (
                                                                                                               >
                                                                                                               y ?
                                                                                                                 W2:
                                                                                                                  .. .G  .N
                                                                                                                       . .

                                                                                                            w wy>      7                    ,




                                                    %




                                                                                                       *                    -- - '''
              *
              ',
              .
               ..
                z;
                 '
                 .,,,.,., - +>
                             ., - -
                           : ,:
                                ,
                                .                                               -
                                                                                        .
                                                                                                       -               -.       :
                                                                                                                                -      ,
                                                                                                                                       w .-, :- -                - ...             e.
                                                                                                                                                                                    > >
                  .. ..       .:.... .                      .
                                                                                              . , 'e   >'
                                                                                                       .     '<    ,   .4.''
                                                                                            1w 1 = *<: > = <
                                                                                                           . (>                r
                                                                                                                               .

                     ,                                                                        Vf * >- *
                                                                                                      - .
                                                                                                        * w.-
                                         y%                                                                                            F
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 26 of 165

                                                                                                  )
                                                                                                  ''
                                                                                                   y,h+
                                                                                                      ,
                                                                                                      s
                                                                                                      . .                                 ,,g6,
                                                                                                                 r A.y-l - z - .            <'
                                                                                                      c... . 'W '< -
                                                                                                             ..a
                                                                                                             r    - ... y. *
                                                                                                                           >. -  W v=.2 -...J.
                                                                                                                              -y v.
                                                                                                         .



                                                                                                                      : ..   .

                     -                *                  -    7                                                       #.
                                                                                                                       .,...
                          %E'
                            q '' :'                                                                       ,
                                                                                                          ,., ,   .
                     )
                     *
                     A
                     6
                     '
                     b8
                      ''
                       2bb
                         'T T
                            ''Di
                               G W.p-
                      , :. v. . y.. :'...,:
                                               i
                                               - >
                                          tu.<n y :
                                                                  :K
                                                                  ;
*
                        #j.. vyyo
                     ' :: .,y   g , y.
                                    #.'!!t'X

                                    t4 ,
                     y.
                      :)'.
                     ..          : . w at
                         '2(..;(..      'j
                                         .oy .
                                             .
                     #
                     >- * * * (:A Ve
                            '
                     *%
                      ((...X
                           ;*..!è
                                *7'                  .
                             L
                     1A xiw.,#&
                        .
                                )!.t4#n&,,,jjjpjjjjjjgjjyjjjjjyj
                                               , ;




                                                                             wo          e   %
                                                                             - %                 xv
                                                                             e > >
                          *)                   4>
                          e                    #*
          '
          @                                                                  -           4


                     A                   E
                                         @ 7#* ;
                                               e             y yG          - - > u y. xa pg m w xxyyo jy+; g.
                            a % . .( y
                                     c m o pxao o                                            pgjo y
                                                                                                  .                   o               z
                            Y -   e                          yt
                                                              - > l- - - wqze w- e .
                            'o e e                            ee o - e-  me -;     > <                                 >
                             u ,
                               - .ye
                                -   '-    .xt. . .j. .
                            - >yCE
                                 !, . . ,
                                                                       e m*         4-
                                                                       W     W ?W G




                                                                       W      W O
                    e                                e >      k
                                                              <.' V- > G W + 0.. .                    .,, t
                                                                                                          o>
                    -:,;. F .
                            M *e
                              -
                                                                  't> 1- :*3gl.X > - 3.o u
                                                                    e % o e ye re .
                    >'A
                      ,,
                       ..'
                         :,.
                           j4:.x



                                                                                                                                 #$
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 27 of 165
                                                                                                                                              '
                                                                     l                                                                                            .                .        .
                                                                                                                                                                                            .   . .
                                                                                                                                                                                                          .   .

                                                                                                                                                            ,;                                                    ..,
                                                                                                                                                                                                                    .

                                                                                                                                                            Exh ;             #                                         .
                                                                                                                                                                       .. . --

                                                                                                                                                                        . .
                                                                                                                                                                             .,.  j
                                                                                                                                                                                  4
                                                                                                                                                                                  :
                                                                                                                                                                                  44
                                                                                                                                                                                   j
                                                                                                                                                                                   .
                                                                                                                                                                                   jjk
                                                                                                                                                                                     t
                                                                                                                                                                                     '
                                                                                                                                                                                     :
                                                                                                                                                                                     )
                                                                                                                                                                                     -
                                                                                                                                                                                     j
                                                                                                                                                                                     1,
                                                                                                                                                                                     ,.
                                                                                                                                                                                      ,
                                                                                                                                                                                      j.;
                                                                                                                                                                                        .
                                                                                                                                                                                        j j,
                                                                                                                                                                                           j:;
                                                                                                                                                                                           . kf
                                                                                                                                                                                             .,
                                                                                                                                                                                              j
                                                                                                                                                                                              y
                                                                                                                                                                                              .
                                                                                                                                                                                              ,
                                                                                                                                                                                              j,
                                                                                                                                                                                              .f.
                                                                                                                                                                                                'k
                                                                                                                                                                                                 r
                                                                                                                                                                                                 --
                                                                                                                                                                                                  jj
                                                                                                                                                                                                   ;;,
                                                                                                                                                                                                     '.
                                                                                                                                                                                                      ,,)
                    '
                                                                                                                                                       :..
                                                                                                                                                      ...
                                                                                                                                                         t j
                                                                                                                                                           ;.
                                                                                                                                                            .
                                                                                                                                                              f.
                                                                                                                                                               yj
                                                                                                                                                                ,
                                                                                                                                                                . g.
                                                                                                                                                                 ,
                                                                                                                                                                  .
                                                                                                                                                                   j.L
                                                                                                                                                                     .
                                                                                                                                                                     '.
                                                                                                                                                                      ,.y.
                                                                                                                                                                         !j, . .
                    e                       ï=E M EèLy
                                                  .  ïN # .
                                                          -                                                                                       '
                         ..                                                               ..      .. :
                                                                                                     .
                                                                                                                                                                 1:
                                                                                                                                                                  '2
                                                                                                                                                                   :y 5
                                                                                                                                                                      'q
                                                                                                                                                                       .
                                                                                                                                                                       y it
                                                                                                                                                                          ''..(
                                                                                                                                                                              fI11!i:
                                                                                                                                                                                    .' iz
                                                                                                                                                                                        kE'.'
                                                                                                                                                                                        r         .
                                ...' .                '                    :5
                                     p:.
                                     .                                                                                                                (     (.   , .     J
                        *J..,t
                             >jykt.'
                                   è
                                   >,'' - ,
                                .' .
                                              .                                  .



                    W XiW
                        ? :
#
                    1:                         w lf-a' : l                              .           .
                        ..                                      ,
                    #*                  ;
                                        >                       :
                                                                q
                                                                .                    :N,,F
                    n q,
                       y?y
                         o w
                    jùjjuz
                         .%
                          . yyjg,
                                jW j
                                   .xjjjyrœjy.yjjjpjyjjyyjyj
                                                           .i
                                                            jjyjkjjjjyj



                                                                                                                         wo              u    e
                    W *                                                                            .                     ,+>             4
                    - #-
                        o                         w
                    -                                     :
                                                          -
                    W                                     y .                              j                             >               #
                    + +
                      : ;:
                         w .jj> z
               TA                                                           .


    %               *: q* t; :<
                              j *>
                                (                                                                         .t
                                                                                                           :
                                                                                                           -..'
                                                                                                              : ' - (e )- .Y ''''' t- r-                                      * e-
                    e è  e 7> roE                                                                        r
                                                                                                         e e       wo o o      a 'o' -                                           y     o   (z
                    W e                                       e                           gg
                                                                                           t
                                                                                           % % m % v% w o yw a w % e .
                    St
                     zl
                      .;o
                        .     .'c       io
                           ;t'=:yst:qy.' y
                        'â:;            .
                                         7.:q;s!.Lr. ..7:LI    1e
                                                                . wo
                                                                  t'..:.'.l
                                                               . . ., . ,
                                                          LL:(,:  .       u e.''!..;.;.o.... .ï.
                                                                                           '
                                                                                               '';.v
                                                                                                   .w
                                                                                                    2.. w j
                                                                                                          .a j
                                                                                                             auy
                                                                                                               '.maj
                                                                                                                   e xo ja.a   . .. ,                                            y .
                        . ..p    4: , :: . .. ... .                                         ;;. . ..                                                              .
                        '
                        L
                        '
                        El
                         t
                         .,'
                           .''N
                              j
                              ;
                              .
                              =j
                               ;
                               'y
                                ë
                                .
                                :,
                                 .
                                 l
                                 ,:'z,...''.' ..'.' . '..':
                                            ;,, . '
                                          , q
                                  .... .. .                'j,:
                                                              ..
                                                               :.
                                                                'yp.,:.j.'
                                                                         .
                                                                          y'....:.'.''.''.-.. '... .. .... ''..''-                 .p'

                    'e't.'.'k
                            Nr
                             '.
                              'r
                               ..
                                w.
                                 t.
                                  8.
                                   ''
                                    '.
                                     M.
                                      'M''At
                                           ''
                                            .'j4r
                                                ';?'.
                                                    F.
                                                     >;
                                                     ;'.
                                                       F. !.:..'77.1:..>4.:1'/: liq:ll'ppq.
                                                        !r.                               qltrx .......... ., ,,..
                                                                                                            ...
                                                                                                         .

                                                                                                                     e mFmO       >
                                                                                                                     1- ,
                                                                                                                        -     .
                                                                                                                              * *            t*-
                                                                                                                     c   wa        oy             *
                                                                 1
                                                                $




                                                                                                           n %% '
                                                                                                                - *YR.t* > m*W.* #*K
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 28 of 165

                                                                                                                                                                                                                              ...
                                                                                                                                                                                                                              .

                                                                                                                                                                                                +                             *
                                                                                                                                                                                                                              è
                                                                                                                                                                                                                              ;
                                                                                                                                                                                                                              ï
                                                                                                                                                                                                                              t
                                                                                                                                                                                                                              é
                                                                                                                                                                                                                              ?
                                                                                                                                                                                                                              '
                                                                                                                                                                                                                              A,
                                                                                                                                                                                                                               1
                                                                                                                                                                                                        :              i
                                                                                                                                                                                                                     ...
                                                                                                                                                                                                               '. 5'
                                                                                                                                                                                                                ,. i
                                                                                                                                                                                                                   j;
                                                                                                                                                                                                                    ;.
                                                                                                                                                                                                                     l 'iji
                                                                                                                                                                                                                          ;
                                                                                                                                                                                                                .
                                                                                                                                                                                                        '!.V
                                                                                                                                                                                                           '' .2
                                                                                                                                                                                                            iiV
                                                                                                                                                                                                              '     *    lf
                                                                                                                                                                                                                         ''
                                                                                                                                                                                                                 .                  < .
                                                                                                                                                                                            #

       *
       '
       '             -' ... .-                    ,
                                                  -
                                                  .
                                                  '
                                                  -
                                                  1
                                                  i
                                                 --'
                                                   .
                                                   I
                                                   '
                                                   1
                                                   q
                                                   i
                                                   41
                                                    !
                                                    r
                                                    '
                                                    11
                                                    !I
                                                     'I
                                                    '(
                                                       è
                                                      lI
                                                       '
                                                       q
                                                       '!
                                                        -
                                                        1
                                                        :
                                                        !
                                                        I
                                                        '!
                                                         '
                                                         è
                                                         ?
                                                         :
                                                         -:t
                                                          !
                                                          '
                                                          1
                                                          .
                                                          ' '
                                                            ,
                                                            !
                                                            1
                                                            I
                                                            i
                                                        '. .-
                                                             '
                                                             1
                                                             .
                                                             @
                                                             !
                                                             '
                                                             .I
                                                              l
                                                              i
                                                              è
                                                             ii
                                                             -11
                                                               Il -. u. : .- -'..- r
                                                                .ii                                .jjw j.g
                                                                                                     '
                                                                                                               ygy.o       .'. .g
                                                                                                                                r'.r.. gWj.jN jyjj
           --
           '
           '.   E
                !
                .1
                 '1
                  .
                  ':
                   !
                   '
                   ;..
                     6..             :. -.l7. ;.
                       'L' .(:.--.. :!         ;
                                                   .
                                               !t.E.j
                                                    q..).y.. i)..
                                                                                                                    . .. ' -
                                                                 ::'?q.''.t'-.-. '--J5...'. '-...2- . ..... . . . . ..(
                                                                                                                                                 .


            'E !
                .
                ,     .:.  i
                           ,
                           ..
                            '  ; .,
                                  é
                                  :j?q
                                     ..
                                      !
                                      .  .  .
                                            ;(    .,    :  .j
                                                            .        '  .  .
                                                                              .;'
                                                                                .(...     $
                                                                                          - .'  .
                                                                                              e '
                                                                                              '   .
                                                                                                  :
                                                                                                  ....   E
                                                                                                         *   .
                                                                                                             .'
                                                                                                              ;
                                                                                                             *'...
                                                                                                                 .. .ï
                                                                                                               *''.' ..:
                                                                                                                       .1
                                                                                                                        :,
                                                                                                                         .
                                                                                                                         1
                                                                                                                         j 4
                                                                                                                           j y
                                                                                                                             .
                                                                                                                             j1
                                                                                                                              I l
                                                                                                                                ;
                                                                                                                                j
                                                                                                                                .1
                                                                                                                                 jq
               ,(
                .&   s .(:...:',
                      ..   ( T
                                  .
                                  .                                                                       .
                                                                                                          '
                                                                                                          :
                                                                                                      s;')'
                                                                                                          J.
                                                                                                            .. k9
                                                                                                           .t
                                                                                                           :.:..
                                                                                                               2k  2
                                                                                                                ''..
                                                                                                                   a':1
                                                                                                                      L:
                                                                                                                       ',.'
                                                                                                                          ..j:
                                                                                                                             ( ' ''
                  Cuy
                    o s                                                                                                    yg
   '

                                                   i,V      s                                        9/7.
                                                                                                        2*
                                        k
                  .        .            .            ..
                                                     x      .
                      .. '..'.
                  G
                             ': .
                                %2          .      .    .
                                                       :#                                                 624k(X*
                                                                                                          q    ,' z(.
                                                                                                                    * e .ùf
                                                                                                     j1j
                                                                                                       sQ.A. j
                                                  7e            '                                     , ,;. .
                                                                                                             jj.( ;w a,otw
                                                                                                     jcgr
                                                                                                        jyjzj
                                                                                                                                                                          @




                    Ai
                     ,                          )
                                                ,            * ,
                                                             . y
                                                               F ,*
                            pE...
                                .kv
                               ,.        .k
                                          ...;
                                             <;(
                                               :..  .k
                                                      .:         .,
                                                                  ..     .ù  ék.k..:..
                 .(
                  ,...:
                      t@.
                        ,.
                         y;..     ..ë.y:,6
                                       .. > ..j  t
                                                 .
                                                 j
                                                 .
                                                 rj
                                                  i;
                                                   l
                                                   k
                                                   rg.(
                                                      r
                                                      .p(.,
                                                       ,  j;,3
                                                             ;Ir,
                                                                L...à,:
                                                                      .y..);
                                                                           .:
                                                                            .
                                                                            .:       ,.,j....                     , . ,0        ,, . y  ji ,                    ,.,j,.
                                                                                                                                                            ,,...,....,,j
                                                                                                                                                                        . j.,
                  .$rkt:ë;a.,...j
                                !<'z.ij.xr9'
                                           .jt!::.j;.r,
                                                      j;'ys..;  .;.j:rr;
                                                                       h.'
                                                                         )'E
                                                                           y).?éj(k
                                                                                  .ri
                                                                                    Jyrr.)yç.
                                                                                            t;j.i,
                                                                                                 ($k,
                                                                                                    .:
                                                                                                             g L
                                                                                                     .)....;...'
                                                                                                                   F.              .k   j
                                                                                                               x(.. . .; , . xs.. .. , ,. , .:, .a..
                                                                                                                                                       g
                                                                                                                                                       xq
                                                                                                                                                         e lwm          )F
                                                                                                                                                                          w .p
                                                                                                                                                                             z.
                                                                                                                                                                             s,.
                                                                                                                                                                               j;;jjj,,
                                                                                                                                                                                 aj,,           .
                                                                                                                                                                                                .
                                                                                                                                                                                                    4j44.u.
                                                                                                                                                                                                    wv    ,44.,4j;
                                                                                                                                                                                                                      x.
                                                                                                                                                            .    .       z ,            .   .

                    ..:
                      .... .. .:
                  )t...
                    . r
                     .. .  j;' t ;.
                               '
                             :j. .
                                    %
                                    j tj
                                    ,:
                                       ,
                                       a'#J
                                          .j:g...
                                                J:..i
                                                      ..àl:.
                                                       .,  jh.;        p
                                                              .'.:.,:: :.
                                                       . .: ;, . s( . # .
                                                                         .
                                                                         :  (   .
                                                                                .. :.r
                                                                          ) . s :.:.(f
                                                                          j           . .
                                                                                        ;
                                                                                        : .ra y
                                                                                             :
                                                                                             .mo
                                                                                               < ...  . . .  .
                                                                                                             . :;.
                                                                                                            . . ..
                                                                                                             #.
                                                                                                                  ..
                                                                                                                          .
                                                                                                                           ae ;
                                                                                                                           .. % y. lvxkv x
                                                                                                                              .
                                                                                                                                   z
                                                                                                                                     .   : .:ao trajnm ol                  arjjj
                                                                                                                                                                               ;   .o               ,
                  7.
                   +....
                      .    ,.
                                  ''
                                    .
                                        ,
                                                .:.
                                                  .;r .r   >j.
                                                            ,
                                                             j.v*.f...:.,;.: .,ï. , k.y2.y
                                                                .
                                                                           .
                                                                                    ,.. .
                                                                                         ,.:- yg.y*jj:w .y
                                                                                                 .
                                                                                                     ,   -:$@.
                                                                                                             ,*j.a 1
                                                                                                                   T% .yw y Qya, av
                            .  1                       .,:e .:' '*  ., ,. :     m.
                                                                                 :,
                                                                                  e.& m>. . . .'


                                                                                                     e




                                                                                                                                                                                                                                              ..A
                                                                                                                                                                                                                                                '%.J
                                                                                                                                                                                                                                               .(
                                                                                                                                                                                                                                                :;4.
                                                                                                                                                                                                                                              ....wv
                                                                                                                                                                                                                                                  .>
                                                                                                                                                                                                                                                    >
                                                                                                                                                                                                                                               %J.7
                                                                                                                                                                                                                                          .V'...   /
                                                                                                                                                                                                                                             . '  4..
                                                                                                                                                                                                                                          >
                                                                                                                                                                                                                                          ;         <
                                                                                                                                                                                                                                          ' .qww.
                                                                                                                                                                                                                                                w
                                                                                                                                                                                                                                              ''*%,.
                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                          . . . a!
                                                                                                                                                                                                                                                 y0*
                           Case 0:23-cv-61345 Document
                                                %      1-4 Entered on FLSD Docket 07/14/2023 Page 29 of 165
                                                                                                                                                                                                                                                                                                                  e'
                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                                               D.
                                                                                                                                                                                                                                                                                                                                '<X 'w
                                                                                                                                                                                                                                                                                                                                     Y'Je -'

                                                                                                                                                                                 4v             .
                                                                                                                                                                                 yjy                      w




                               .W
                                :4
                                 ,IA:'
                                     V pk
                                        'rgE '
                                             ,'
                                     y
                                     t
                                     ': ;. :.u J .y)
                                                   j.u,
                                                     jj
                                                      l
                                                      ,
                                                      t
                                                      .)
                                                       x
                                                       ,
                                                       u
                                                       z
                                                       .
                                                       :
                                                       ;.,
                                                        .z.oxj
                                                         !
                                                         . a
                                                           .
                                                           m ,.vx
                                                           ... ..y..
                                                                   j
                                                                   :
                                                                   fo
                                                                    . .




                                 >    ' /*e - ë T- * œ S(> ET< > t>*< .* * f> t* * i:of
                                 + + e >    w - > e< W >   I(-  * % X *> f* e q.+ 4v1y
                                 % Vkwe < <    e    W #% # #V ë%+kMaVV fhK

                                 *
                                 d
                                 '

                                                               j                     T%
                                                                                     :J r
                                                                                        P:.
                                                                                          tl.
                                                                                            >
                                                                                            ' '     - v W #p#l.ft
                                                                                                    .             .P
                                                                                                                   ND.Y W ILLIAMS.fo.r% G omeO riwA14m*                                                                                                                          '
                                                                                                          '          '                               - -'
                                                               ' @                èJy.
                                                                                   ;tE.;:-...s: ..p,s.ï?:;:::,...,-7.;;-...-r ... '.. . . .'.
                                                                 ,.,
                                                                   C
                                                                   '
                                                                   ky;!k;q
                                                                         ï
                                                                         'l
                                                                          8'
                                                                          (
                                                                èj.... ...'.. '. j
                                                                           )
                                                                           é
                                                                           .:'   ',
                                                                                 .yj j.
                                                                                     !' ët                                                                     lp
                                                                                                                                                                ,.,
                                                                                                                                                                  .                                                                                                                  . ..     .. ,.

                                                                             *-''(,                                                                                  j..:..
                                                                                                                                                                          .r
                                                                                                                                                                           !     jjj!
                                                                                                                                                                                    jjj
                                                                                                                                                                                      k.
                                                                                                                                                                                       jjjj
                                                                                                                                                                                          g.   .j
                                                                                                                                                                                           yjjjj
                                                                                                                                                                                           j    jj
                                                                                                                                                                                                 ;,
                                                                                                                                                                                                  y,.j%                                                                                                       .

                                          '.*,,#j:r2:..fï.('.
                                                            ...
                                                              -
                                                              ,.
                                                            .. .
                                     l
                                     ,.
                                      *y:.t
                                          .        ,
                                                        . .
                                                              ..
                                                            ..S
                                                       ''. .'
                                                            .: ,'
                                                              E:
                                                             r'   ,'  :'
                                                                   .;''
                                                                   ;   k#
                                                                       .
                                                                       (.'*',    . .-
                                                                                   '' - ,
                                                                                      .    .,
                                                                                            :
                                                                                            > è
                                                                                            ;
                                                                                              ,.0 ,.
                                                                                                   .:
                                                                                                    .,... ,,1,. :,t, ,
                                                                                                     ;.
                                                                                                      ''
                                                                                                       ii)
                                                                                                       à .':'i      't;
                                                                                                                     .: t,#*h  .*- ç<' ljjy,.yj.,jjyjj;jjgr;jj+r
                                                                                                                           :. .,.
                                                                                                                           ;
                                                                                                                            r.;rqg:.,(,j,(, . . . ....
                                                                                                                           .j
                                                                                                                         :,:                              ... .gjyjjjg
                                                                                                                                                                  g          : :j, '
                                                                                                                                                                  ., ... . . . ,,, . . .
                                                                                                                                                                                       . .. . .. ..
                                                                                                                                                                                                   F.
                                                                                                                                                                                                  ..          ...             , .. .
                                                                                                                                                                                                                              ,                   ,.         .




                                     <              *' ;                          5
                                                                                  e ,      '' ,          i ,> :                      : E                     .
                                                                 r
                                                                 t
                                                                 k )'':
                                                                      j
                                                                      L 7         '
                                                                                  :  ' 7'
                                                                                        : '
                                                                                          ' . E
                                                                                              '
                                                                                              ::
                                                                                i: '., -kE.'- --        '
                                                    .i hé         .
                                                                              qt
                                                                                                                                           .
                                                                  J
                                                                  ;j
                                                                   '.
                                                                    )
                                                                    è
                                                                    /
                                                                    (
                                                                    r
                                                                    @t
                                                                     l
                                                                     y$
                                                                      jï
                                                                       :
                                                                       yy
                                                                       '
                                            )j?
                                              l.'
                                                    ,.Cà2).krt.
                                                ,';.r
                                                    k         ;
                                                              )y
                                                              't
                                                               2
                                                               '
                                                               .t;k  '@.q,l;al.
                                                                       :
                                                                       t       .'.r'j#..
                                                                                       ,<.'
                                                                                          :'''.
                                                                                              )#
                                                                                               ,.'
                                                                                                 ,     ...t.<.
                                                                                                            ,.i-,:...p'
                                                                                                                      ...
                                                                                                                        ,v,.#
                                                                                                                            ..<
                                                                                                                              F
                                                                                                                              ,, ,s)
                                                                                                                                   ,
                                                                                                                                   .of.
                                                                                                                                      t%
                                                                                                                                       . vx
                                                                                                                                          .tlA
                                                                                                                                             ,.qm,û
                                                                                                                                                  .of
                                                                                                                                                    .
                                                                                                                                                    .te
                                                                                                                                                      ,..fllt
                                                                                                                                                            .G..
                                                                                                                                                               ,:)m.
                                                                                                                                                                   v
                                                                                                                                                                   ,y ha:4A jj:
                                      7k'         ..         ..                            ...              .              . . .
                                      .  Jj
                                        t..
                                          r:
                                           t)
                                           ., (
                                              '
                                              .k
                                               . )
                                                 (yt
                                                   1          :
                                                              1
                                                              ..
                                                               f
                                                               f
                                                               p
                                                               i e
                                                                 .
                                                                 ..
                                                                  y
                                                                   .,
                                                                    ,              .    .  ,
                                                                                              u
                                                                                              ..
                                                                                               r
                                                                                               ?;p
                                                                                                 k
                                                                                                 .
                                                                                                 ;
                                                                                                 .yj
                                                                                                   ..
                                                                                                    );..
                                                                                                       :       ..
                                                                                                               ,              p
                                                                                                                              ,           ,                                 r
                                                                                                                                                                            !
                                                                                                                                                                            jy
                                                                                                                                                                             j
                                                                                                                                                                             rr
                                                              ,. ..,
                                                                      .                   q:
                                                                                           . ,k .
                                                                                                ,
                                                                                                e, ,j,.. ,
                                                                                                         .. ;                                                           .: ' ''' ''        ''       t'                      1
                                                                                                                                                                                                                            d
                                                                                                                                                                                                                            ;
                                                                                                                                                                                                                            14
                                                                                                                                                                                                                             1
                                                                                                                                                                                                                             l
                                                                                                                                                                                                                             F'Eh         111.1151.uu
                                                                                                                                                                                                                                11'- ( -..1   '     r ::yw !jx r
                                                                                                                                                                                                                                                               xm.
                                                                                                                                                                                                                                                                 w myof
                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                             . . . . . . .....              . '    ...       . . . .. .
                                                                                                                              ,...A
                                                                                                                                  ... .N1$
                                                                                                                                         I
                                                                                                                                         i
                                                                                                                                         !
                                                                                                                                         .I
                                                                                                                                          .p
                                              .                                                                                                                   .'                    .. ...,.....-....:....               .'     . ...
                                         es.'.i,?
                                                r
                                                ;
                                                :s
                                                 .
                                                 f
                                                 k
                                                 f$
                                                  :
                                                  %
                                                  't
                                                   -
                                                   * .''
                                                   '
                                                   .   ..
                                                        ..':<k.     '  7!:.                                                                           ..
                                                                                                                                                                                                                    ..:... ...
                                                                             è'':
                                                                                .
                                                                                '
                                                                                ..
                                                                                 ...
                                                                                   .,r':  ..- )T.....  -
                                                                                                       .:
                                                                                                        ...
                                                                                                          '.....
                                                                                                               '
                                                                                                               :
                                                                                                               ;.
                                                                                                                ,..:
                                                                                                                   .
                                                                                                                   ''
                                                                                                                    .,...
                                                                                                                        E
                                                                                                                        ,
                                                                                                                        .
'                                                                                                                                                                  ;              .
i!ip
   ;5$q
      j',
   . .t k.:
          -'  ..ï;:'''
           f'':      J;',...-.S.:s$'.)-
                       .'             .t.'
                                                              .'
                                                                   ).                                                     . ...             -s.... ... ...                                  .                                        .p.            '
                                          :'. 'E
                                               JE)
                                                              j
                                                              c1q2sà
                                                                   Ftj
                                                                    :
                                                                    .
                                                                   .jJ.k
                                                                       ,;/
                                                                       )
                                                                       . ;)i
                                                                      ':.,?
                                                                           .ië;3
                                                                              :.y  'i'
                                                                                     :;:)'
                                                                                         ...:.S
                                                                                            LT  ... ..:.
                                                                                                       :                ..PE''   .L.:''''
                                                                                                                             .F'r'                       ..                                                                 '.
                                      ..
                                       .
                                         .                                        . ' ' è
                                                                                        x            .

                                                                                                                     .7.)a:...                                                                                                             . .                                  '.   '.     ' '          .
                                                                  3
                                                                      -
                                                                                       .. ..
                                                                                        .,
                                                                                                   ... .''  .
                                                                                                      ', . ..
                                                                                                                     ..       '
                                                                                                                              :
                                                                                                                               '
                                                                                                            , ''... l.' .''.''. .
                                                                                                                             ,. '
                                                                                                                                           :'' .. . :                   '
                                                                                                                                                                  , ' . '.. . .
                                                                                                                                                                  hR**M,               ,
                                                                                                                                                                                               .:$'
                                                                                                                                                                                      * ' ....C'  *'. '.
                                                                                                                                                                                                  :
                                                                                                                                                                                                          th*''*M
                                                                                                                                                                                                         m.
                                                                                                                                                                                                         ''     '''z* , '
                                                                                                                                                                                                       . . .. . .
                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                            R.' ' W l:1.j,IAM
                                                                                                                                                                                                                        @f:l.
                                                                                                                                                                                                                            :.
                                                                                                                                                                                                                                           ' $.
                                                                                                                                                                                                                                          '.
                                                                                                                                                                                                                                           . .         .''       .
                                                                                                                                                                                                                                                                                                    ..
                                                                                                   .              .,, ..                     ... ,
                                                                                                                                                 .                .              .




                       '



                                                                                                                                 .         .                           .     '   . ..                                     !.g. :j
                                                                                                                                                                                                                             'E..;,.'..                              ..   ...                .:
                                                                                                                                                                                                                                                                                      ...... ' .... . ..'
                                                                                                                                                                                                                                                                                                        0:..:' ........ '. .

                                     . ,.
                                          ,....,
                                               ,
                                               .,
                                                .
                                                 .,
                                                  .
                                                  ï
                                                  y-.b
                                                     ï
                                                     ..,,:
                                                         Y
                                                         .
                                                         s',
                                                           .
                                                           '
                                                           :,
                                                           ,
                                                           .(..
                                                              '
                                                              :
                                                              '
                                                              e
                                                               2
                                                               :
                                                               ',
                                                                <
                                                                ,,        :
                                                                                                                                                                                      ',.,.'
                                                                                                                                                                                           ,'
                                                                                                                                                                                            q
                                                                                                                                                                                            ,
                                                                                                                                                                                            è
                                                                                                                                                                                            S:,'
                                                                                                                                                                                               mteY-''
                                                                                                                                                                                                     of* lm'l
                                                                                                                                                                                                            '
                                                                                                                                                                                                            Z*
                                      , . c. .h
                                              t: g
                                                .
                                                                      '                        y
                                                                                               .J:
                                                                                                ..
                                                                                                                    ':;2         '




    .                                                                                                                                                                                 S,jj L
                                                                                                                                                                                      .    *''
                                                                                                                                                                                             .7'é..'' '
                                                                                                                                                                                                      .
                                                                                                              .                                :                                                                                                                                                                           +   .
                                                                                                                                                                                      ForW,E%
                                                                                                                                                                                            , .Y J ,'V1h                                                                                                               œ'
                                                                                                                                                                                                                                                                                                                       ,-''
                                                                                                                                                                                                                                                                                                                       y
                                                                                                                                                                                                    ;           'r.                       .                                                       4.-
                                                                                                                                                                                           '    ,J
                                                                                                                                                                                           *$....
                                                                                                                                                                                           '
                                                                                                                                                                                           ,
                                                                                                                                                                                           .      i.. ..' Tr
                                                                                                                                                                                                 ..
                                                                                                                                                                                                  :       'w
                                                                                                                                                                                                           ' -.
                                                                                                                                                                                                                                                                      2J




                                                                                                                                                                                      P+ lhf2                                                                *
                   *                                                                                                             %
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 30 of 165
                                                                                                                                                                                           ' '
                                                                                                                                                                                             '
                                                                                                                                                                                  %,.'.
                                                                                                                                                                                   .
                                                                                                                                                                                      S
                                                                                                                                                                                      '.
                                                                                                                                                                                                                           .
                                                                                                1                                                                         * tM* F.A ,r x*
                                                                                                                                                                               .
                                                                                                                                                                                                                           ,-
                                                                                                                                                                                                            #



                                                                                                                                           >              ;                                  **
          % pf D 5.:
                   u
                   y
                   ry,
                     a                                                                                                          )
          G                     e             e iA>
                                                  &Vq'' ,           .                                                           )
              '    '
                                                       , mrf'j' j%
                                                      )? fy
                                                                  '
                  . ,
                            jj!
                              j
                              p
                              r,
                               4
                               .1
                                :
                                ,
                                g
                                4,j
                                ,
                                , 1
                                  7
                                  't
                                  ,
                                        . . '
                                         ,,.
                                                         ' .k.
                                                         ... '.       ,     y. E'
                                                                            ...
                                                                                x
                                                                                -.
                                                                                .!
                                                                                 k
                                                                                 )..                                            )
                                                                    ' @;
                                                                J
                                                                ,


                                  œ                   m;' ,;                                                     &                                               . j      y
           .. . .          .
                             , .. .. .
                             ;                t''.
                                                  ,                     ;              .:E,          ,. ï
                                                                                                        .        Oj ,2V,,.
                                                                                                                         <- ,
                                                                                                                            .. !x.
                                                                                                                                 !!t& .(.s.tk..j . y                                                               ,
          . ,.- . ... :.. .;.'... , z..       '
                                        a.. .. ,
                                                           .zs.ya.. . ...t,.',
                                                      gr...t                           .141l
                                                                                           1
                                                                                           l.'
                                                                                             .
                                                                                                r'' .:
                                                                                                         .
                                                                                                                     '
                                                                                                         .y;:, ..,., .
                                                                                                                          ). ..E ,... . '(... .......1
                                                                                                                                                     1
                                                                                                                                                     ,j
                                                                                                                                                      1
                                                                                                                                                      !
                                                                                                                                                      8 . ..
                                                                                                                                                      .        : .
                                                                                                                                                                                                                           ..          .
                                                                                            .

          G
                                              éw*                         .* e: e -
                                                                                .
                                                                                         '.>
                                                                                           , *( ig-                                                            w'e to> vae - -- 1+                                         o m.+<
                            -            *..K.. ...............
                                     . ..E                                 < xx   . 4 y
                                                                                      j                                    ..
      '   Y > - > le (-                                                     mM                           .                lv.o.,
                                                                                                                               .,
                                                                                                                                .u.
                                                                                                                                  ,
                                                                                                                                  uqy
                                                                                                                                   y
                                                                                                                                   wy
          1-                               '> ,,                                   ' :(                                  v ;
                                                                                                                           1to                      ,,
                                                                                                                                                     ',
                                                                                           ''
                                                                        t                                ;
                                                                                   .                                             .        u
                                                                                                                                                     jW.
                                                                                                                                                       ' .     tW )
                  ' '
                            ; .'.'..
                                    .'' '';'          , ''                                 lxu.                  -
                  ., ..
                  ,
                                              . . .
                                        .,,. . . .                    @f
                                                                       '...                ,..m
                                                                                              .'.jtyy...     .       ..                                               s'
                                                                                                                                                                       eat
                                                                                                                                                                       , jv
                                                                                                                                                                         ,r.
4
                   ,                      ., ,. ,               , ..               .
                                                                                           *'
                                                                                            m a/jtwa/.4j,
                                                                                                        z
                                                                                                        .
                                                 .    : .S.L
                                                           J:''J pk.I
                                                                    Jg.
                                                ':$.?!1L1ï'irClt
                                                               i.
                                                                r'
                                                                 ï/
                                                                  j7
                                                                   .k:i.
                                                                       r-.
                                            1EitI.j.pf:..'.'. L'.$.::,,.
                                    ..n.! ...
                                                                         '.'-')E
                                                                               r.
                                                                                ::
                                                                                 g:
                                                                                  ,,..'
                        .    i .j.:'1
                                    :'..!
                                        (:
                                         ''
                                          2r
                                           :!
                                            ..1:EEE::.'               .        '

                                                                                                                                                                                                 Q            ''' ''' '

                                                                                                                                                                                                 x                         F.
                                                                                                                                                                                                 er             .       ::                      :
                                                                                                                                                                                                 :.,
                                                                                                                                                                                                   8.s:
                                                                                                                                                                                                   .  .Lv.,'Ev#>;..'' .
                                                                                                                                                                                                               %*                 :. .
                                                                                                                                                                                                                                 '''
                                                                                                                                                                                                      '
                                                                                                                                                                                                      E ,!îT<'rE       '           '           ''
                                                                                                                                                                                                          . :. p 6'12,s
                                                                                                                                                                                                                 ...  ..
                                                                                                                                                                                                                       '..:..
                                                                                                                                                                                                             r>'.. . err ... .
                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                           .
                                                                                                                                                                                                           .J
                                                                                                                                                                                                                j !(.'. '               '.<
                                                                                                                                                                                                                X. .
                                                                                                                                                                                                                   zjjjyjyj        '.



                                                                              <...




                                                                                                                                          P+ 24:2
                                                                                          %
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 31 of 165




              M #$>                                        c y W NXN ANATjON yoR cusj#REN RT
        %(
         è
         t
         ...C
         C
            F
            :
            p
            ....,
            .:
             .p
              .
                '
                .,.
                  : ;.;-,:(t.EI*
                : L:
                               l
                               t
                               ,
                               i1
                                L%e
                                i)  : @g'
                                   '(
                                    j
                                    y
                                    ,
                                        4
                                        I
                                        iI
                                         ;
                                         PI
                                          S
                                          9
                                          ;-
                                           t
                                           '
                                           j1
                                             jx7.-xj
                                            .p
                                             1
                                             )
                                             i
                                             ,
                                        ..,.. .   . xx
                                                    ..1r.'r!.@ç
                                                    .. .. .
                                                            . jjjj
                                                                   %; (go... s;r.ytyw mp
                                                                                 '
                                                                                      . xs
                                                                                         e..a;g
                                                                                         w
                                                                         . . . . ...- . ....     gpgypuy%. gy
                                                                                              ;,j... ..
                                                                                                           ' a. qys
                                                                                                                  ... . ,,
                                                                                                                                                  , y
                            At.- ywjs% xjjt:aay
                                            ;jjz.,jj,;,jrjjjj.jj ijj:rjjrj.
                                                                 ;y. xo yo o ky
                                                                              r;, yj                                .,
                                                                                                                                                               ,
        Yi
         -xwxy
             j .a:
             W   1 ...
                     w.:
                       'at% c                    ;<àa                           ay
                                                                                ;
                                                                                ,j
                                                                                 :.
                                                                                  j
                                                                                  ,
                                                                                  :
                                                                                  .;
                                                                                   j
                                                                                   yjj
                                                                                   w y
                                                                                     k
                                                                                     jj
                                                                                      .am
                                                                                       jj
                                                                                        g
                                                                                        :
                                                                                        jjj
                                                                                          .
                                                                                          jj
                                                                                           ,
                                                                                           ym
                                                                                            g
                                                                                            jg
                                                                                             ;
                                                                                             g
                                                                                             .
                                                                                             jj
                                                                                             ug
                                                                                              j
                                                                                              ,
                                                                                              am.
                                                                                              j x
                                                                                                .sxjf;
        n ew'=,h-   a<.
                    v.*'>
                - .i'       F'e
                        v ('*        d
                                     t
                              *.. M 'M
                                     .*-M-
                                        . w.;
                                           :- . ..:                                      .                .   .         f *'
                                                                                                                          r'Ye-
                                                                                                                        . '.
                                                                                                                        .     *** e* t
                                                                                                                               . .   -hos
                                                                                                                                        Nmn-
                                                                                                                                           N * a/vmx   vl
                                                                                                                                               M*'J'M'M#'#*n
                                                                                                                                                           .*ak
                                                                                                                                                             -. .u%
                                                                                                                                                                  @- :ls= dt
                                                                                                                                                                 ='
                                                                                                                                                                 '         y.

        2s4Xtlv'JO yp e + JNk
                            .                                                                                                                         *
                                                                             >
        Ye > > (;
                pr?
                  -q( pffpçjpîW s
        .                                                                                        LA

        S% wo ofe y,
                   + % we N se jx jwmjy;
                                       jjywasfmmdjplw e .
        'NesymV i
                sge $#k< % e laftu fwW Fhjchpasfpuc
        W W S# R K S,
                    Ugjp yyyygosjyp$mg,
             .      ;                         '    . ,
                         )J:;. .. yr..:,..tt : ( .                                       .k                                          ,
       è.                                                                                             ..                                      ;                          .       '.
                      .
              . .,
                           .*                     $,
                                                   j.
                                                    jj!
                                                      rw x...

         W:t*- r< P* *1i/A'
                          .
                                          - :yipm:-11-.
                                                      v
                                                      ..3
                                                          a te -n* butœ 1* diferentT* àvean #                                                     .

                                                                                                                                                                                 -q-''
            . .    t,
                    '''
                      'E
                       ':
                        ,
                        '
                        t -.,,
                          .....      :             .....        ..   .                                .
                                                                                                                    .
                                                                                                                               .     ,    .
                                                                                                                                                                                     '

            .jky. y >/>  k*                                                                                   ..

                          h .,!
                              ..è:
                                 '* #8*4#   -* G' ,n g*-,;r*# 4+ e e u@l1    'y,* > e ' onl
       '*- '
          ,;                                                         .
        !0'j
        ;   71,
              'y're j
                    '
                    .v
                     :.
                        i#.(  * ('#!   *:,:w% 1% - )> jsw:itk    hjjao .
                                                                                                      '
   .

       ''(
        ..           .
                          rL* E'
                                        ;q
                                         otw%t.tk 44pade r
                                      . ,..              ja% mxrkpjyxx.jtajsouowy'w%;se rsh
        O :...: (Y
            ., .
                 .8 . ,

                    . .. ;
                    ,             .
                                                                                                 '                        '          .;

                                                                                                                                                      *
        W;.; ; ,jy)     )rr).. e
                                  ..à )j.jyyopgpe;.,o#!      k'. jn>Lmnrju'a wjdthqmjsjt   l
                                                                                           j
                                                                                           'opmm xsajhe
                             ...
             .     -...- . ... . . . ' .                   ,                 ..                                                                                          .   '
                        ,-,, qg;:
                                ..
                                 )
                                 :
                                 .
                                 -
                                 ,-
                  ... '                                                                                                                                                              .
        #      - - c.,
            . .,      ).
                       )'
                      .,...,              ....,
                                              q
                                              ,.
                                               y
                                 ,, ,, ., . .. .
                                                ,
                                                .j
                                                 ,,
                                                  j
                                                  jj
                                                   y
                                                   j
                                                   ,j
                                                    j
                                                    jy
                                                     j
                                                     .
                                                     jj
                                                      -
                                                      .
                                                      x..
                                                        r
                                                        -
                                                        qr
                                                         -
                                                         ..-
                                                           .
                                                           .
                                                           ,)
                                                            j
                                                            .
                                                           ..
                                                            .
                                                             .
                                                             , y
                                                               .j
                                                                j
                                                                .
                                                                (.
                                                                 ,.g
                                                                   j
                                                                   tj
                                                                    ,
                                                                    t
                                                                    j
                                                                    ,j
                                                                     g
                                                                     .
                                                                     jj
                                                                      ,
                                                                      .
                                                                      j
                                                                      jg
                                                                       y
                                                                       j
                                                                       .
                                                                       j.
                                                                        y
                                                                        yx
                                                                         ,
                                                                         ,
                                                                         .
                                                                          . g
                                                                            .
                                                                            j
                                                                            j
                                                                            y
                                                                            .;
                                                                             j
                                                                             .;
                                                                              j
                                                                              .
                                                                              r
                                                                              g
                                                                              jj
                                                                               y
                                                                               jj
                                                                                j
                                                                                jj
                                                                                 r   .
                                                                                          j
                                                                                          y
                                                                                          ly
                                                                                           jj
                                                                                            ..
                                                                                             ,                                                                .-.
          y    :(' ( j
               +            Gr :    I
                                    >%: je                                        , y
                                                                                    j
                                                                                    r
                                                                                    yj
                                                                                     y
                                                                                     -
                                                                                     y.
                                                                                      j
                                                                                      yj
                                                                                       g
                                                                                       yj
                                                                                        jj
                                                                                         s
                                                                                         y                                           ,
                                                                                                                                     ,
                                                                                                                                                      , ,
                                                                                                                                                        ,
                                                                                                                                                   . , ,.
                                                                                                                                                   .
                                                                                                                                                                .-
                                                                                                                                                              ...    .




                                                                         %




                                                                                                                                                          *
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 32 of 165
                                                                                                      fxln,'
                                                                                                           :./
                                                                                                                  /R
                                                                                                                   p/'
                                                                                                                     .4
                                                                                                                      -sxscvnoxvsasIox

                           $
                    xylxp tNyt
                             lAjial yysykcuRm Esm o                                                                     poN,
                                                                        Cp+ nyk
                               M &)
                                  t1>,;( .AI.FUXDW S X MFANK LLc,                                                                                          &A
                                                                                                                                                           1/
                                                                                                                                       <                 + 49)
                                                                      Mhq!e%
                                                                           .jee erj                                        #.               -           xo.ls's-
                                                                                  W
                                                                                                                                            19 l ''IJc;
                                                                                                                                                    -

                                                                                                                           c- - . > ;t,.gw jx
                                      uxskBANK NATD NALXSO CW TION,                                                                         cG tW e




                           $ PX LINGANP NtKW CINQ AGkEFMFNT

                                                 . '(
                                                                yggyg;
                                                                i                                 W yâp éW g
                                                        .   rk'''
                                                                1'
                                                                 E.
                                                                  k

                             %
                 1:1.'.   è'.. , k. .
                                       * :
                                         M
                                         '' : . ; :
                                                  '.9A-
                                      1''g1;.'1'''.
                                                       .'''!!'!''*:''*:'*5'NW'
                                                     '.'4
                                                  ''kb            '
                                                                ...
                                                                                    ,
                                                                                    '!'!'e
                                                                           Y ''''''-?
                                                                          . ..'   '''    ''''ked
                                                                                                . ''',X1 r
                                                                                             '''''''''-'''''''P
                                                                                                  .      '''       .gjjc 0.'r.
                                                                                                                             teltts
            .:                  .:.71 .y . a. .''           .
                                                                        '.                              .                            ' ..
                                                                 .
                 ..;.
                 .        ... .
                                  .
                                      ..    .
                                             :
                                             ï.
                                             .                     >.<:
                                                                 g.'
                                                                   .
                                                                   ,  .,.
                                                                      . :  .
                                                                        ..:.
                                                                           ?
                                                                           ,
                                                                           .-.,          -    '
                                                                                        . ... .
                                                                                                       '
                                                                                                       .,
                                                                                                      ..    ..
                                                                                                             j
                                                                                                         ... .




                           1


                                                                                                                  o> *
                                                                                                                  A
                                                                                                                      w ryp. y tw >
                                                                                                                  g#èY#
                                                                                                                      yr gYW W fNA $1
                                                                                                                                a.
                                                                                                                                    16          '

                                                                                                                              t''-
                                  %
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 33 of 165




                                                                                                                                                                                                                                                                                #
                                                                                                       %
                                      '
                II ':J'5
              AI'      (j.J!:-
                             :
                             .
                             :,
                              ..-.
                                 :
                                 .,..-.,. ;
                                    ' 'E(N'
                                      '
                                     :,
                                             .... jj   . .'. ; ...y G xxp % xvj
                                                   . ...jm o (.w
                                                                                   ' cm ; AGXE :y  .!> . gaj
                                                                                                           .d .
               ,.
               ErJ:?f
                    :ti
                    ' A
                      -ë,k,',    .               .     .j
                                                        k.;
                                                          y       y
                                                                  uj!  . : a .m E,N)u t.g    :g..K )y g
                                                                                                      .:g
                                                                                                        . . Ey;
                                                                    '                     ,
                               'k
      i
      t
      .
      i
      pd
      .

      cl.
        r..'l
        -
       pk   >..
              ).,+. >..-
                       1
                       '
                       1
                       :7
                        '
                        1:,
                        ' 4
                          7
                          .
                          :1
                           4.
                         ...
                             !
                             7
                             h
                             ,
                             #
                             :
                             .

                             j'
                              ,
                              )
                              .
                              ?
                              ,$
                               ;
                               .'
                                l1
                                 .
                                 t
                                 1
                                 #t
                                  )pt
                                    4
                                    .
                                    :
                                    1
                                    .
                                    '
                                    p7
                                     ;
                                     -,)
                                      .-.
                                        -
                                        (j,
                                     l ))
                                     >    *
                                          1.,
                                            -,,.-!
                                               .
                                                 ..
                                                  ,.-
                                                    ..-
                                                      .t r
                                                          .
                                                          t
                                                          -
                                                          y...
                                                             -
                                                             -.
                                                             ,-.
                                                               ,
                                                               xp j
                                                             ' .    ....
                                                                    ,
                                                                     x jjj .a.,ygity a.
                                                                                 ..
                                                                                          .
                                                                                                              ..
                                                                                      s dep%itor (j)x Y omN yejy                                                     .
                                                                                                                                                                      -. ....-.,.
                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                               .        ...          . ... ..




      RF
      t' k
         Wl.',
         u   n;'M.
                 ..''
                    f:1L
                       ),:
                       6  ,.:
                         /:
                          .
                          ' tt,'
                               .'
                                f,
                                 ;E;
                                   .
                                   ,'E
                                     :.,
                                       G'. C0
                                           1.r  ;.,. '#.
                                             ïMhANY'   '  . 4..l
                                                       Lt2i      (wAm' ),
                                                               )d#
                                                               r          w!,g :
                                                                        *-.    j'
                                                                                e
                                                                                z.,jgjj1 .vot- y,.9,
                                                                                '                  . jx                                                                                                                                                     .

                                 . ;> j      > :kt;: (w
                                      -. ) , r   ..M G e ikko ? aud u g. BANK. NAK ONAL
      Aé(,.j
           t
           2
           ;.Ey
              '.
              .r..;
                  .
                  *
                  A.:.ë.t:.
                          !7tr
                          '  .. (
                             l          -'--
                                . yj,j . (k    N
                                              4.        ,
                                                        t.,..e rtl .
                                                            ,       j- pf. Q* .
                                                                              Uàie. XtkG i
                                                                                         .n il
           ( é* 1*** Jk  l. tr
                             .
                              ((
                              ,X. t
                                  jxwq(s.
                                        yp ,r#j
                                            ,(as
                                               y ,.s
                                               .
                                               ,   jp
                                                    .B
                                                   ,;
                                                    , L
                                                      r
                                                      ,)#W; j% jujsyx gj.y.4u,yajj.. .
                                                        ,                                   .x.
      & 7. ;4   % 4y
                   '..
                   .
                         k
                         VJ;jW
                             '
                               ' j%)
                               .
                         . . .: ..
                                    Jy  t ; i( o ;   k yp rjy. jpjy gw jj
                                                                    .
                                                                        +a
                                                                         j yug .,.ys o y mcj
      O N .;>)Q ,j ... j,&p,y    .       :,
                                            a. & go yy& yauygpajayapg & yusja jty
      tTGï.,2. .:..;,.,...l:.l..<..'..xj.(
      r
                                         ,
                                         '
                                         ,)
                                          'k $
                                                                        .'.r
                                                                           ''. i'         e
                                                                                                                                                                       k    ''
                                                                                                                                                                                 '.
                                                                                                                                                                                  1
                                                                                                                                                         -
                                                                                                                                                         3'
                                                                                                                                                         'k'
                                                                                                                                                          6b
                                                                                                                                                           4
                                                                                                                                                           ï
                                                                                                                                                           b'
                                                                                                                                                            ï
                                                                                                                                                            L
                                                                                                                                                            ,
                                                                                                                                                            'k                    ,-1
                                                                                                                                                                                    -E
                                                                                                                                                                                     -1
                                                                                                                                                                                      -.
                                                                                                                                                                                       !
                                                                                                                                                                                       ,:
                                                                                                                                                                                        2
                                                                                                                                                                                        4,----,--;i
                                                                                                                                                                                                  1
                                                                                                                                                                                                  I
                                                                                                                                                                                                  é
                                                                                                                                                                                                  .
                                                                                                                                                                                                  i1
                                                                                                                                                                                                  t;
                                                                                                                                                                                                   )
                                                                                                                                                                                                   '
                                                                                                                                                                                                   .
                                                                                                                                                         '                       :         E'                         '
                                                                                                                                                             :
                                                                                                                                                             .
                                                                                                                                                             -!
                                                                                                                                                              1
                                                                                                                                                              t-.
                                                                                                                                                                :
                                                                                                                                                                .)
                                                                                                                                                                 -j
                                                                                                                                                                  (
                                                                                                                                                                  .
                                                                                                                                                                  :;lI
                                                                                                                                                                     :
                                                                                                                                                                     2
                                                                                                                                                                     q
                                                                                                                                                                     !.)
                                                                                                                                                                       (IE
                                                                                                                                                                        ;p
                                                                                                                                                                         )
                                                                                                                                                                         2
                                                                                                                                                                         -
                                                                                                                                                                         .
                                                                                                                                                                         !
                                                                                                                                                                         I'
                                                                                                                                                                         i).
                                                                                                                                                                          ;(
                                                                                                                                                                           I
                                                                                                                                                                           ;
                                                                                                                                                                           1
                                                                                                                                                                           k
                                                                                                                                                                           ij
                                                                                                                                                                            i
                                                                                                                                                                            ).j
                                                                                                                                                                              1
                                                                                                                                                                              '
                                                                                                                                                                              j
                                                                                                                                                                              .
                                                                                                                                                                              i
                                                                                                                                                                              F
                                                                                                                                                                              'i
                                                                                                                                                                               (
                                                                                                                                                                               @
                                                                                                                                                                               .
                                                                                                                                                                               :-
                                                                                                                                                                                :
                                                                                                                                                                                1
                                                                                                                                                                                ,
                                                                                                                                                                                l
                                                                                                                                                                                i
                                                                                                                                                                                ,
                                                                                                                                                                                -l
                                                                                                                                                                                 k
                                                                                                                                                                                 ,
                                                                                                                                                                                 -
                                                                                                                                                                                 .
                                                                                                                                                                                 j
                                                                                                                                                                                 r
                                                                                                                                                                  ..r.
                                                                                                                                                                  C         ï                     .'
                                                                                                                                                                                     . - ..                      ..        .
                                                                                                                                                                ,     )   , ..      .                   .                         .
                                                                                                                                                                         ''
                                                                           . ..                   .                .                                         r    #
                                                                                                                                                                  . :
                                                                                                                                                                    ' .                            '
                                    . q.  .r:..- :, L..-)      .i2
                                                               7   );  ç.:d!  '....:..'' ;.'...-.                                                                'q:... . ... .
                                                                                                                                                                 ;
            '*-':''L''''''''''''''-)i
                                    ''
                                     :
                                     ''.
                                       id
                                          ..

                                          li 'i.
                                               '-
                                                .
                                                q1p :
                                                    '
                                                    - ;#
                                                       /é)!
                                                          I
                                                          l
                                                                   ..
                                                                    - -
                                                                                      .

                                                                                        )-;
                                                                                          r
                                                                                          .,).
                                                                                               . ..
                                                                                              ..

                                                                                               T;
                                                                                               :,,
                                                                                                . .
                                                                                                  '
                                                                                                  bLL
                                                                                                    .
                                                                                                    -
                                                                                                    '
                                                                                                    ç
                                                                                                    .Lt
                                                                                                      b
                                                                                                      :
                                                                                                      é
                                                                                                      ;
                                                                                                      .
                                                                                                      L
                                                                                                      1
                                                                                                      -
                                                                                                      ':
                                                                                                       .
                                                                                                       3
                                                                                                       $'
                                                                                                        .
                                                                                                        -.
                                                                                                         -
                                                                                                         t:
                                                                                                          ;
                                                                                                          .
                                                                                                          '
                                                                                                          :
                                                                                                           .

                                                                                                           G..
                                                                                                             :
                                                                                                             .
                                                                                                             'r'
                                                                                                               a.
                                                                                                                ,..
                                                                                                                  W
                                                                                                                  ;y'
                                                                                                                    .t'
                                                                                                                      ,
                                                                                                                      .-
                                                                                                                       'j
                                                                                                                        .
                                                                                                                        -:
                                                                                                                         .
                                                                                                                         1.
                                                                                                                         g
                                                                                                                         -;@
                                                                                                                           q
                                                                                                                           '
                                                                                                                           !
                                                                                                                           1
                                                                                                                           q
                                                                                                                           .9
                                                                                                                            7
                                                                                                                            1:
                                                                                                                             .
                                                                                                                             t
                                                                                                                             7
                                                                                                                             î1'
                                                                                                                              .11
                                                                                                                                :
                                                                                                                                .
                                                                                                                                i-
                                                                                                                                 '-
                                                                                                                                  1.
                                                                                                                                  '2
                                                                                                                                   -
                                                                                                                                   1
                                                                                                                                   .
                                                                                                                                   71
                                                                                                                                    .
                                                                                                                                    ,'
                                                                                                                                     1
                                                                                                                                     I
                                                                                                                                     r1
                                                                                                                                      L
                                                                                                                                      r'
                                                                                                                                       .
                                                                                                                                       ,
                                                                                                                                       i;
                                                                                                                                        I
                                                                                                                                         .

                                                                                                                                         l
                                                                                                                                         'i
                                                                                                                                          4
                                                                                                                                          :
                                                                                                                                          '.
                                                                                                                                           E!
                                                                                                                                            .
                                                                                                                                            I
                                                                                                                                            t
                                                                                                                                            1,
                                                                                                                                            '1
                                                                                                                                             9k
                                                                                                                                              .1.
                                                                                                                                              ,
                                                                                                                                                 .

                                                                                                                                                 E
                                                                                                                                                 2
                                                                                                                                                 '
                                                                                                                                                 1
                                                                                                                                                 :
                                                                                                                                                 .,
                                                                                                                                                  -ltK
                                                                                                                                                     ...'!
                                                                                                                                                         t
                                                                                                                                                         :
                                                                                                                                                         '
                                                                                                                                                         .
                                                                                                                                                         E2
                                                                                                                                                          )  ,
                                                                                                                                                             $
                                                                                                                                                             ,
                                                                                                                                                             4
                                                                                                                                                            17;
                                                                                                                                                              t
                                                                                                                                                              16
                                                                                                                                                               '
                                                                                                                                                               ::
                                                                                                                                                                .;
                                                                                                                                                                 i.
                                                                                                                                                                  !
                                                                                                                                                                  1
                                                                                                                                                                  i-:
                                                                                                                                                                    H:'-
                                                                                                                                                                       !
                                                                                                                                                                       1
                                                                                                                                                                       .
                                                                                                                                                                       :
                                                                                                                                                                       '
                                                                                                                                                                       i
                                                                                                                                                                       :
                                                                                                                                                                       Ij
                                                                                                                                                                        ,
                                                                                                                                                                        7
                                                                                                                                                                        'p
                                                                                                                                                                         j
                                                                                                                                                                         y
                                                                                                                                                                         .
                                                                                                                                                                         ;
                                                                                                                                                                         :
                                                                                                                                                                         ).i
                                                                                                                                                                          ..i
                                                                                                                                                                            .i
                                                                                                                                                                             8
                                                                                                                                                                             $.
                                                                                                                                                                              :
                                                                                                                                                                              ;
                                                                                                                                                                              '
                                                                                                                                                                              !
                                                                                                                                                                              .1
                                                                                                                                                                               '
                                                                                                                                                                               !
                                                                                                                                                                               .
                                                                                                                                                                               1
                                                                                                                                                                               ;l
                                                                                                                                                                                k11
                                                                                                                                                                                  I
                                                                                                                                                                                  :b
                                                                                                                                                                                   '
                                                                                                                                                                                   1
                                                                                                                                                                                   8
                                                                                                                                                                                   .5
                                                                                                                                                                                    kt
                                                                                                                                                                                     iù
                                                                                                                                                                                      i
                                                                                                                                                                                      l'
                                                                                                                                                                                       lk
                                                                                                                                                                                        i
                                                                                                                                                                                        l1
                                                                                                                                                                                         i1
                                                                                                                                                                                          l
                                                                                                                                                                                          1
                                                                                                                                                                                          l
                                                                                                                                                                                          7
                                                                                                                                                                                          .:
                                                                                                                                                                                           !
                                                                                                                                                                                           i
                                                                                                                                                                                           4
                                                                                                                                                                                           '.d
                                                                                                                                                                                             :
                                                                                                                                                                                              .
                                                                                                                                                                                              y
                                                                                                                                                                                              jg
                                                                                                                                                                                              kk            .

                                                          ,.!
                                                            ..
                                                             f
                                                             ,I
                                                              q-p
                                                                r    '                                     '
                                          ..                  '                                       .'
                                                                -- ,          ..,-,     ...           . ..              .

      ' ''/
      X   .'' q'    ..))'''k'        1'il,!r'!h1!f!r'è-:.
                                                        ;li
                                                          l
                                                          1r 1                    .
                                                                                '''''''
                                                             i11')t.!.1!Lll)1l'lrt1J
                                                                                 ' l' ' ''
                                                                                               1t:!
                                                                                    !1!'!!i'111.
                                                                                      ' '.        1
                                                                                                  d.'
                                                                                                    1
                                                                                                    i
                                                                                                    1!1
                                                                                                      i
                                                                                                      'k
                                                                                                      118
                                                                                                        1.1
                                                                                                          !
                                                                                                          t
                                                                                                          d4   ' '' '
                                                                                                            -X ':
                                                                                                            7     11.
                                                                                                               . .'
                                                                                                               .     11t
                                                                                                                     ' 1
                                                                                                                       ''d
                                                                                                                         i1
                                                                                                                          .
                                                                                                                          -
                                                                                                                          7'
                                                                                                                          '-
                                                                                                                           f1!
                                                                                                                           1
                                                                                                                         ' ' 1.! ' '-'-
                                                                                                                                d1:l
                                                                                                                                1
                                                                                                                                .
                                                                                                                  .. ... '.. . ... 1
                                                                                                                                   !E
                                                                                                                                   è
                                                                                                                                     i
                                                                                                                                     l
                                                                                                                                     1i'
                                                                                                                                 . ... 1'J'
                                                                                                                                       2r @
                                                                                                                                          1'
                                                                                                                                           :'
                                                                                                                                            :
                                                                                                                                            1
                                                                                                                                            i.
                                                                                                                                             i
                                                                                                                                             q
                                                                                                                                             lr
                                                                                                                                              '
                                                                                                                                              lr
                                                                                                                                               t
                                                                                                                                               l
                                                                                                                                               ' G
                                                                                                                                                 1
                                                                                                                                                ll.  l
                                                                                                                                                     l
                                                                                                                                                     il
                                                                                                                                                      dt
                                                                                                                                                       l
                                                                                                                                                       i
                                                                                                                                                       êl
                                                                                                                                                        :l
                                                                                                                                                         !i
                                                                                                                                                          ts '
                                                                                                                                                               :  ' '
                                                                                                                                                                    '  1
                                                                                                                                                                       .
                                                                                                                                                                       71
                                                                                                                                                                        3 li
                                                                                                                                                                           l
                                                                                                                                                                           p
                                                                                                                                                                           li
                                                                                                                                                                            l
                                                                                                                                                                            il
                                                                                                                                                                             lrO    Cl
                                                                                                                                                                                   ':   W  '1
                                                                                                                                                                                            '
                                                                                                                                                                                            !1
                                                                                                                                                                                             IE
                                                                                                                                                                                              i
                                                                                                                                                                                              I
                                                                                                                                                                                              '
                                                                                                                                                                                               k  ' '- '
                                                                                                                                                                                         .. .. .....
                                                                                                                                                                                                            '
                                                                                                                                                                                                                .
                                                                                                                                                                                                                    '             .
                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                          .                      .
                                                                                                                                                                                                                                                                     '               ''
                                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                          . ..
                                                                           . .-. .. . .....

              :; ::'                                 )J                                                                                                                                                               '
           .   'E ' ..                              ..'J
  '                                                                                                                                                                                                                                                                                                   '   '                           * '
                                                                                                                                                                                                                                                                            ' '' ' ''.
                                                                                                                                                                                                                                                                                     .                    .'       '    ;

                           :
                           5F.
                            ,- :r         . .
                                             '                          ' ' .' . .

                                                               .m,',i,-, '.-
                                          '. ï.... . . ...' ..t,
                                                               .   .       .
                                                                                         k
                                                                                         ,'*
                                                                                           '
                                                                                              .q
                                                                                              ,
                                                                                              ,
                                                                                              >.., , .
                                                                                                     **.
                                                                                                   . '    .        .,:..
                                                                                                                     '   .      ..
                                                                                                                            . .. .
                                                                                                                                   0.-'..*qx of'
                                                                                                                                             ..     * ',   *
                                                                                                                                                           . '    * r,* - 'l
                                                                                                                                                                  .
                                                                                                                                                             . ....
                                                                                                                                                                  ,
                                                                                                                                                                                 '.. .                 .. .
                                                                                                                                                                                                                      .,
                                                                                                                                                                                                                          '.' .
                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                   .                                          .



                 r'è ?-:t9.: , <;
          ) L à. q              .% :
                                j  ,;.,                                         .       ..Cs. y
                                                                                          .
                                                                                                 gv RA;. .:
                                                                                                          Rj
                                                                                                           :
                                                                                                           (jwpk      ,.:. t 'o
                                                                                                                              ..jaku.:nN..x...%,;yg
                                                                                                                                                  . ppm
                                                                                                                                                     â.....,
                                                                                                                                                           .
                                                                                                                                                           ...
                                                                                                                                                           xj,..
                                                                                                                                                               ,.x.>.. ..
                                                                                                                                                               >        j.W
                                                                                                                                                                          , Y
                                                                                                                                                                            ..
                                                                                                                                                                             L. .
                                                                                                  k
                                                                                                  '
                                                                                                  )
                                                                                                  ' ;
                                                                                                    ;.
              .......... . .z.
                             ,
                                 .
                                     . y.'.'J r
                                         '.;*,
                                         8     k'':,;F(..u:....
                                                     ,',,,.
                                                   ...         '' .......... y....,..... ....r :
                                                               .
                                                                          #,
                                                                           #, , ,             0        t
                                                                                                       tTw..q.j,ijjrjjj,ky.,'.,.y.
                                                                                                                                 s-. .g,j;j.j.g-. ,,. ,:..-.-gjgj:.jy . ,
                                                                                                                                                     ,           ,
                                                                                                                                                                      .

               G
          '
          u  .
             :.A%      '('j     ..
                                 ':'?? '   .( )(
                                               .
                                               7:,
                                                 j
                                                 .
                                                 )., ,-
                                                      !'...        : -     . . a.4
          N..''''#
          ,
          .'     ***
                   .''.6î
                        '.
                         u'   .X
                          '*..:-W
                                .éK
                                  )..,...
                                   >    '.. t:...:.'
                                                   ..-.
                                                      , ....k.,..*
                                                                 . . 'ea
                                                                      :. . .-.,,:
                                                                                ,,,,,,.,.
                                                                                        ,m.,,.
                                                                                                                                                                                                                                                                                                              ''        '      ''
                                                                                                                                                                                                                                                                                     .p .'
                                                                                                                                                                                                                                                                                ).) :t   d
                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                         f
                                                                                                                                                                                                                                                                                         l
                                                                                                                                                                                                                                                                                         Id
                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                          :,
                                                                                                                                                                                                                                                                                           i
                                                                                                                                                                                                                                                                                           lt1
                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                             2,
                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                                                                              k8
                                                                                                                                                                                                                                                                                               11
                                                                                                                                                                                                                                                                                                $
                                                                                                                                                                                                                                                                                                4-t
                                                                                                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                  ;1
                                                                                                                                                                                                                                                                                                   k
                                                                                                                                                                                                                                                                                                   ''
                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                    i.
                                                                                                                                                                                                                                                                                                     .'
                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                      r
                                                                                                                                                                                                                                                                                                      ';'
                                                                                                                                                                                                                                                                                                       1
                                                                                                                                                                                                                                                                                                       t.r,..I.:IiC
                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                        '              ''                 .       '

                    . . . . '.            '-!-..r.t2                     -,
                                                                          )---
                                                                           j ,'..!ë
                                                                                  !
                                                                                  ,
                                                                                  .
                                                                                  ï
                                                                                  '
                                                                                  b
                                                                                  ïb
                                                                                   .
                                                                                   )
                                                                                   b
                                                                                   '
                                                                                   b
                                                                                   ,
                                                                                   .t
                                                                                    b
                                                                                    -
                                                                                    .
                                                                                    b
                                                                                    ..*
                                                                                     b
                                                                                     t
                                                                                     .
                                                                                     ,
                                                                                     t
                                                                                     -
                                                                                     '
                                                                                     yk    j
                                                                                           'ï
                                                                                         . .-
                                                                                         '   .'
                                                                                              ''
                                                                                                 ..?,...... ..-
                                                                                                            -..,'     '''   '-
                                                                                                                              .:
                                                                                                                              1
                                                                                                                         . . .. 1
                                                                                                                                :
                                                                                                                                ,
                                                                                                                                1-.
                                                                                                                                  !
                                                                                                                                  1
                                                                                                                                  .1
                                                                                                                                   .
                                                                                                                                   :4-..-.'
                                                                                                                                    1
                                                                                                                                                 '
                                                                                                                                                                                                        '.:.
                                                                                                                                                                                                           1
                                                                                                                                                                                                           .;
                                                                                                                                                                                                            1
                                                                                                                                                                                                            t..*.. .
                                                                                                                                                                                                               '
                                                                                                                                                                                                              .:   (
                                                                                                                                                                                                                   1
                                                                                                                                                                                                                   .
                                                                                                                                                                                                                   8
                                                                                                                                                                                                                   '
                                                                                                                                                                                                                   :.
                                                                                                                                                                                                                    *'i
                                                                                                                                                                                                                      I
                                                                                                                                                                                                                      L
                                                                                                                                                                                                                      7
                                                                                                                                                                                                                      :
                                                                                                                                                                                                                      '
                                                                                                                                                                                                                      I;
                                                                                                                                                                                                                       I
                                                                                                                                                                                                                       1
                                                                                                                                                                                                                       .2
                                                                                                                                                                                                                        l
                                                                                                                                                                                                                        1
                                                                                                                                                                                                                        (
                                                                                                                                                                                                                        !1;
                                                                                                                                                                                                                          E.''                                           .. .        .
                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                           .  . .         ...
                                                                                                                                                                                                                                                                                                               .       . .. . ' ...   ... .

                                                                 .:-;-.... -.k):-
                                                                                          ..  . ,                 ....             .
                                                                            -
                                                         .-,.-,..r                   ,..
                                                                                     .,,
          #
          'v
          *
          '
           '
           &..:j                                                   ! .::                          y;
                                                                                                   r
                                                                                                   :
                                                                                                   r:
                                                                                                    !
                                          +: :
                                           ' RF
                                              !Xi
                                                Fè
                                                 .*$1li!> t> ; yy> (
                                                   ' . .'..        M:yy-:( ...' '.                . .. '. ..                                     . ,
                                                                                                                                                   ::            ,. ....                           ..
                                                                                                                                                                                                                ' e % Tw Atm /-,1 tv -
                                                                                                                                                                                                                              .                    ..       ''                            .   . .             ..                      *
                                                                                                                                                                                                                                                                                                                                      .


           P-,t' E''. ,'
          ':
                       , ,,f*,;. dé)w
                                    , ?   -.,.E,r.
                                                 ,
                                    i :rc( ::; ?:.
                                      .
                                                  t  :,4,.
                                                         '
                                                         *' '  - RA'1m .' as.t#
                                                  .;'.;. '::.' ...
                                                          .
                                                                              '4 Cl- SB c>-'Wom#e - i
              > : xert ;w: qE yr. tl e yp)kw,.- e# tkel,,;
                                           t:J..:.
                                           j   .
                                                  '
                                                  :
                                                  p..
                                                 ..
                                                  k
                                                  . A
                                                    .
                                                    (L!
                                                    '.,
                                                      &
                                                      ..z
                                                      .
                                                    .. .
                                                        .
                                                        ,.t,..,'.'
                                                                 j
                                                                 .'
                                                                 '.:,
                                                                    'y. 1I4j
                                                                           .
                                                                           ,
                                                                           s
                                                                           .;.
                                                                            ,@
                                                                             .
                                                                             (
                                                                             :..,
                                                                                )
                                                                                '.o
                                                                                  ..f t
                                                                                      %;
                                                                                       . Pt
                                                                                          ; 1ùg;,;y.' ;tprov*
                                                                                          ml                1*..;*
                                                                                                             ''
                                                                                                              L
                                                                                                              :  .,.
                                                                                                                 ' ' .0
                                                                                                                      ,' ? .,' ?
                                                            ...?
                                                               ! ..i-
                                                                    .:                                j.);
                                                                                                         ..'q.7
                                                                                                              '''.''.. u
                                     ..
                   .,            .                 ...                                                                 . .
                                                                                                                         ..'.                                     ........a,
          .         '        ' .
                                      .            .. ,
                                                          fi
                                                           W. ,W   ..,
                                                                     '                        .....x..,
                                                                                                      '
                                                                                                      .>.NP
                                                                                                          .'
                                                                                                           .'MI ,u
                                                                                                                 '.-
                                                                                                                   .. '
                         .



               -                     .
                                           w xg
                                             y (..a
                                           t .'.. '   xg
                                                  . : ;.:
                                                        ...'..
                                                             L;
                                                             .k .'Ny
                                                               .à
                                                              ''
                                                              .   u).'...j
                                                                    .     .g .j
                                                                            . . (',! . ..
                                                                                    '.             h..g
                                                                                         );.:.(.....  ..j:.u.y
                                                                                                             y
                                                                                                             .y
                                                                                                              .ya a
                                                                                                               .. .
                                                                                                                   px'..-u,.,m g..N
                                                                                                                  . .             .. pgy
                                                                                                                                     L   j%. gm
                                                                                                                                              .. ..y
                                                                                                                                                   ..y
                                                                                                                                                     ....''...j
                                                                                                                                                     :.
                                                                                                                                                               pa j       yymj.....p..j
                                                                                                                                                                          7'. (
                                                                                                                                                              ..v.qk;...' .           .yg                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                              ,

               A
               >.z:....(,
                        . )?.j..
                                 .

                               ;jç;;
                                   ..
                                            ' )(  e
                                                  s....
                                                  '    ;
                                                       +
                                                       ;j
                                                        q. :..
                                                             :
                                                             ..t.j.>':.:'y
                                                              ..         ..'x
                                                                            >.y
                                                                           :. :..
                                                                                r'(..7'''.$'..er   .tkj   jje'
                                                                                                             .....%; Tfw to b# zxetut        :(itktpfYi.'A .''''''''nt1'8
                   (:.:::57'k E' ....                                        a        :
           L.                 .
                             .t F'
                                   .. . ..':
                                           . ....s e
                                            .
                                                      '
                                                   :... ..
                                                   .                             -7
                                                                                 .'
                                                                                  -)e.
                                                                                     ,                                                                                                                 '

                                           N> (Aï
                                           .    ,)l!
                                                   p:y
                                                     PF,pnF
                                                          i
                                                          è K)z!e p>
                                                                  ,, e                                                                                                              ï+ e x,follows:
                                                                       '.
                                            .                 ..:..1  ..:
                                                                   .q,. .            .

                                           V f.'
                                           ,
                                               ..
                                               W'
                                                :           '.,,..A....A,k...u'Q.
                                                )F.,xi'.;. .1
                                                .                  '
                                                                    .
                                                                   ..          2.
                                                                                      '
                                                                                    ...           .
                                                                                                   '.' -
                                                                                                               .
                                                                                                                   ' ' '

                                                                                                                        '       .
                                                                                                                                    .
                                                                                                                                     . .
                                                                                                                                         '   '

                                                                                                                                                                                                                                                        +
                                                                              .: .


                                           (*'E FM,gM
                                           '
                                                     :
                                                    ,.,!q.
                                                         N.
                                                         f,'! 1.q
                                                                , j@,ft      ..'w
                                                                        )* .P<
                                                                        .       >,EE(
                                                                          . 1 .r L i                       ' '7                 . I, : ;
                                                                                                                                                                                                        ; at
                                                                                                                                                                                                        '  .
                                                                                                                                                                                                             is
                                                                                                                                                                                                              >
                                                                                                                                                                                                               :Y ' :
                                                                                                                                                                                                                    W =*maaj m
                                                                                                                                                                                                                             * -.
                                                                                                                                                                                                                               ( .. uf %
                                           ?z. >i::.w c::
                                                        .
                                                          .:.
                                                          ,..
                                                             .'
                                                              !.IL... :@'
                                                              t.<.
                                                               #>ê!
                                                              .>..
                                                                 .
                                                                    ';'' ..,*.7'     .                             ..       .                        ,            . .. ..
                                                                                                                                                                           ''e ''M
                                                                                                                                                                                 ' vlltvoCE
                                                                                                                                                                                    .    ;                  ..                                 .        ,
                                                                                                                                                                                                                                                                 :(
                                                                                                                                                                                                                                                                  ,                       .t%..
                                                                                                                                                                                                                                                                                          7   'h'E.e.'.
                                                                                                                                                                                                                                                                                              ,       %...Y
                                                                                                                                                                                                                                                                                                          ..
                                           ,   4a u o-'
                                                      a

                                           (*) e q
                                                 j
                                                 h- rwy
                                                      % yyw jr
                                                             #,gx #kojjag.A-.                                                                                                                                                                 %e   j
                                                                                                                                                                                                                                                   %r'. r).94+ .
                                                                                                                                                                                                                                                               p4:
                                                                                                                                                                                                                                               A,* Y##
                                                                                                                                                                                                                                               a jyjy yya & % yr
                                                                                                                                                                                                                                               j%,
                                                                                                                                                                                                                                                 ,#% k#@
                                                                                                                                                                                                                                                      ' :1.
                                                                                                                                                                                                                                                          #j
                                                                                                                                                                                                                                                           ' r1j
                                                                                                                                                                                                                                                               kE#'<
               0 .7
                  1+                                     +                 ,-
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 34 of 165
                                                                                                                                                                                                                        Cjt
                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                          jfti
                                                                                                                                                                                                                             .
                                                                                                                                                                                                                             và-
                                                                                                                                                                                                                               f
                                                                                                                                                                                                                               '
                                                                                                                                                                                                                               .,
                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                y.
                                                                                                                                                                                                                                 t::;
                                                                                                                                                                                                                                    jt:
                                                                                                                                                                                                                                      jj
                                                                                                                                                                                                                                       p.
                                                                                                                                                                                                                                       m(-
                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                         (
                                                                                                                                                                                                                                            y
                                                                                                                                                                                                                                            j
                                                                                                                                                                                                                                         )trr
                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                             g-
                                                                                                                                                                                                                                              yi
                                                                                                                                                                                                                                              lj       y   --




                                    dj> .è
                                    <e
                                         7:' ,4jg3:f#)(xxh (ht,
                                                    '        .
                                                              O E1                                 '*' -. ''
                                                                                                  :.
                                                                                                  .
                                                                                                           '.
                                                                                                            '               ''' '''                                                     .
                                                                                                                                                                                                *
                                        ..


          (:) - ', !
                   ,
                   4ï* r
                       .,>E
                          p>ji+             '
                                                                                                                                                                 àx is1w + m ev
                                                                                                                                                                              ,-t > pll- t
                                                                                  .                                 .


              ffjM il ;+.W t(Rt- V (
          (dj A4Tï> m/-       yja te poo
                                       yrj;
                                          j
                                          'ne Ao juo jwij: y.                                                                                                                                             x x éoa 4,% a'
                                                                                                                                                                                                                       x
                                :
                                ;+
                                 4L
                                  ;7. u
                                      :k.J
                                         (
                                         (
           '
          ...: ... ',..7.7-.77
                 k..          7.:-7
                              '
                             .:     -:..-..
                                  ,..                            .


                >'L' #>. (#éj     ,:jyg
                                      E --.'
                                      y    ..--.,
                                                ';j '.;..,yz1;
                                                ) ..:
                                                               jx r> , ,pf0,bsett. j#)
                                                                                     ..
                                                                                        Wymgjama
                                                                                               'êg.suc:
          1
          4
          :
          7
          -
          è
          .
          1-
           4
           k
           1
           ,
           .
           l:1
             I
            --
              E
              h  .

          * 6* m< '
                            -,
                             j'.
                               -.,  .       . . . .....
                                                        .                             .
                                                                                      .
                                                                                            ...        ...
                                                                                                         -  -..-..
                                                                                                         ....


                       tl.y
                          ::..r', ?
                                  ,(.,.
                                      EVk')
                                          ,W; j      1..t
                                                        : '  y, ,
             .
             ,
                 .
                    X''        ,'
                                '
                                      C                 .                                                                                                                                                               .            a
                 (1) ' :..' Mr1fk)#     .
                                                '        ,''.z7# lp,S.<- 9.42,: *:r- kve *.llm ti-
                                                                                  . .
                                                                                                  .             .
                                                                                                                                                                           .                .

                                                )..'t    $)    ,.
                                                                v q'      '   . ,. i   . .. .   ., .,
                                    '
                                    e
                                    .
                                     .,
                                      JL f
                                         ,
                                         ,
                                         W.
                                          ;,
                                           ,
                                           g
                                           ,'
                                            ,
                                            *,*
                                    ''' . . . ,

                                    ,();;,
                                               O I  tie
                                                      l pf*
                                                          ! :
                                                        , py à
                                                              ,
                                                              y  ;,
                                                                  t
                                                                 ..#.*4 M<#   r.
                                                                               &
                                                                               :4 .
                                                                                  #
                                                                                  v,
                                                                                   1-:e   i
                                                                                      .. .yl
                                                                                           :
                                                                     jatw ,jw #..yo:. y. y,j
                                                                                            e '
                                                                                              r nAe- c-ted
                                                                                            g, jp yzs. .0,                                     . .. j,;
                                                                                                                                                      .,,r-.- .                                            .....
                                    '
                                    < 2)
                                    . . -.
                                           Ei
                                            ; j
                                              ':
                                               Jr
                                                ,
                                                r
                                                '
                                                y;
                                                 p
                                                 k
                                                 ,1r
                                                   p
                                                   l
                                                   ; L:
                                                      ;'
                                                       )
                                                       .-
                                                        ;
                                                        *
                                                        . .,     ,,'d.'
                                                         ........s     t
                                                                       l
                                                                       tl
                                                                        :l
                                                                         t f;, ,..a
                                                                         idp
                                                                           l
                                                                           i
                                                                           .
                                                                                  ...:.,..)....
                                                                                            a
                                                                                              g.-..; y F.,-.;.
                                                                                                uj    pu
                                                                                                       j.   jj .
                                                                                                               j
                                                                                                               y. .-
                                                                                                                .  x
                                                                                                                    .

                                                                                                                     w  j
                                                                                                                        y
                                                                                                                         :-.....:.-y. ,,y
                                                                                                                           j
                                                                                                                           t
                                                                                                                            . . .''

                                                                                                                            y   c .
                                                                                                                                  j    r
                                                                                                                                        -:
                                                                                                                                        x
                                                                                                                                         ,:
                                                                                                                                          ..
                                                                                                                                           -.
                                                                                                                                            :y .
                                                                                                                                          .. ..
                                                                                                                                            .   .   , m jjj-jyjjtjj
                                                                                                                                                                      ..   .   .
                                                                                                                                                                                   .    .
                                                                                                                                                                                                           ..               .                  .



                                    * 'EM,
                                      , .
                                        .,,
                                            -
                                               (,
                                               . ,,.'.--
                                                #'     5,
                                                        :
                                                        w,
                                                        .
                                                         ,
                                                          L,
                                                           ''#f*
                                                             r
                                                                     )
                                                                  ., ;         ./ .     .
                                                                                      . .   tp se eel)mn Y hçvg> ,ke i# :zr * '
                                                                                                       '
                                                                                                           .
                                                                                                                x
                                                                                                                ..y   *                                     jw j
                                    *81
                                    '
                                       ,. , 'y' ,,tt
                                              1
                                              .:
                                          '' '.'
                                        .. ,...s
                                                .'
                                                 . ,
                                                   .
                                                   J .. .r
                                                         7
                                                         . k
                                                           .
                                                           '.
                                                            .    > :*
                                                                 '    . ' ;1*t($
                                                                         f   '
                                                                             '
                                                                             .    '   > ê,).  ,
                                                                                              .
                                                                                              . .; k
                                                                                                   'e
                                                                                                   p'wl
                                                                                                     .,.
                                                                                                      J   tuee
                                                                                                            ,
                                                                                                            ; ./ *.hç tA#ep by *eTpI#> o:tk
                                                                                                                .
                                                                                                                '           .  .     .        . .                                                                                                  .


                                    L;:ï s. .                                                                                                               )r    (                                                                  .
                                    Fe i
                                       qe jpepp,'l
                                                 r
                                                 llti
                                                    lyo p- rlse Ao r
                                                                   lx foge ge eatte o:
                                                                                   . .:
                                                                                  ,,        .k.<. . y..

                                                '                                                                                                 '                                                             .
                                                                                                      y.                                              ' .         ..                                ..
                                                                                                                                                                                                     j ..9 j:       .. '            .... j,.
                                                                     (9 ? w,t
                                                                            i
                                                                            '
                                                                            l- ,
                                                                            /  mte q
                                                                                   - q
                                                                                     -                                                                                     O:pe âe a'
                                                                                                                                                                                    t?n,
                                                                                                                                                                                       nJg wy+;txç
                                                        '
                                                                  4%l.l 'y. (ife .     ' .(
                                                                                           ;jy
                                                                                             gjtja %.    g..j. v io
                                                                                                                 t
                                                                                                                    à o kqè jù jë y+                                                        .   .
                                                                                                                                                                                                           .
                                                                                                                                                                                                                                E     '.:

                                                                 Y
                                                                 '
                                                                   - .. .
                                                                         E.
                                                                          w
                                                                          ,    ww  '      , )
                                                                                            '
                                                                                     .. .,-.-.u
                                                                                              g
                                                                                                e r
                                                                                                  kn
                                                                                                   ,
                                                                                                     -     ,
                                                                                                           -   =   u uyltm foaql- 4re
                                                                                                                        .



                                                                   iAlte d'*e l- *p<FiN v4t* L* ,pr
                                                                   W7
                                                                    ') # A      r ppjj *. qfth.M> se ..ia pjwjjo u:xfjMow
                                                                  g!(t
                                                                     - è(ye f     4g #>           wquie ;1 rv        >êw                 1%:
                                                                                                                                         :
                                                                 (4G
                                                                   .;.7
                                                                   :  a.E
                                                                        t -(y...,
                                                                        ..(     .1 %
                                                                                :  .,.Thu F- .< :w$
                                                                                          ;y......       ..k.:tkji o 1.% y    :
                                                                                                                              r,
                                                                                                                               t
                                                                                                                               .
                                                                                                                               ,,
                                                                                                                               r ...t
                                                                                                                                o/  .
                                                                                                                                    jé..uape
                                                                      ,
                                                                           ?e)+ jV j. g e y qyggyyyW jwy44jyy& y. w W
                                                                            jy
                                                                            , j
                                                                              g
                                                                              ry
                                                                              è)yg
                                                                               t. j
                                                                                  (!'-j
                                                                                 :,
                                                                                  .   ,S
                                                                                       j
                                                                                       ,y'.'th hk opry
                                                                                                     tz'tvx,l- pftbèmuju yw
                                                                                                                          ?j yyw a sy
                                                                                                                                   js
                                                                          .
                                                                      #!
                                                                        ,e S.g
                                                                      > E             ,
                                                                             j+:+ LV' ke hjrpe elvale k 1- > 4uth uo..t
                                                                                                                      'd                                                                        '
                                                                          : )r )
                                                                      ; .t ... >
                                                                             , J  >j(< ifse vqtci- i:maœ b# * %.te $           f% eê
                                                                                                                                r ''
                                                                                                                                                                                                                    .


                                                                                 (
                                                                                 )     .        jyy  v.  .  ajy
                                                                                                              yjssjwsu w asp
                                                                                                                           j y
                                                                                                                             yyj
                                                                                                                               jyp yu
                                                               **    . W
                                                                       y
                                                                             ?
                                                                             '
                                                                             èf*
                                                              &* ,:@Lr r y.y,.pjp. '
                                                                                   m *'   !
                                                                                          Ir!!W
                                                                                          vy:r>:C  .
                                                                                                  ln!o:
                                                                                                      r- hei r.
                                                                                                              em àj,.V Nd M(y> >)
                                                                    u .
                                                                      '
                                                                        u
                                                                        ,   )
                                                                            1 e :
                                                                                N yt  2r  .    R.    j
                                                                                                     # ja  gaw   04 oy e ,e,, M jkja p
                                                               i.%,t!-x:w
                                                               le.         o6 uxkwa vg
                                                                                ; ' .i
                                                                                      :
                                                                                      G
                                                                                      w  iuj
                                                                                      k ..J
                                                                                          ,
                                                                                          k
                                                                                            .k.
                                                                                              w
                                                                                          q. '.
                                                                                               ,
                                                                                               r:x
                                                                                                 lj
                                                                                                  .
                                                                                                  e  % '
                                                                                                         ydw   of t
                                                                                                                  e  :
                                                                                                                     ;
                                                                                                                     e, è )a we : t.w' h
                                                                                                                ' ''
                                                                         l.              '
                                                                          ..k. ...:,:. ...: .. :...                         .
                                                                      ,:
                                                                            r':
                                                                              )
                                                                              >. 1,#!#*,!#< ;
                                                                              .

                                                             t( 4.             4% 1xs&yx sc j& > j          p ;W W gW t   Wmv*W W
                                         % ,w-'j,ot4
                                         ):
                                        '..
                                         .         p6.reM'
                                                        #-,r,
                                                        ,
                                                        . '

                                                            zr,y1.'.-#
                                                        ! :. .       ...w.
                                                                       . x.--.- ;+#pe.-..=.
                                                                                          qof.%. jxk+ yy,.œ <$
                                                                                                             ,.. .... . .
                                                                                                               w          ,W
                                  )#   :+ :.e
                                         y
                                                                 #w.1. e >.>a
                                                                            r a.ottu g.
                                                                                      e éwG jotç cape ofst.
                                     J>' jj              kve
                                                           4 pxgp au % tA prppi- prtkepv+(x4j. #ua> #% w
                     '
                      ,,
                               ë. èL:j
                                    .
                                     àey'..y:!.'j'-G8;)'( y.% (.wt''j. e ,asj:,
                                      T
                                      .                                        n.. ,. e, r   4.,. h +.
                                                                                                     # uy
                                                                                                        :
                                                                                                        ,xxarx
                           '
                                     e )k:;o > u4a,(. pyjjsry. pyxypw ycjwsie up- xojv . #ypW .
                                            j:@ jp;xwy
                                                     og)ty##jk4#+* yy% Mw eysejvjc.
                                                                                  x pj- p Swe :.gjtyyju
                                             jjao %
                                                  , 1   .( :
                                                           jjo o yamwj
                                                                    .mtsowo yyRw ,:...: . . ,).. jpV W
                                                                                                     )
                                            .'
                                                                                  A èt#1,tz#j+ or > #%
                                                                                       . . ..          . .                            .           .    .    .     .



                                                                                                                                                                                       1l
                                                                                                                                                                                        1*           L > : j:
                                                                                                                                                                                                            ?j clz%
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 35 of 165

                                                                                                                                                                                                 y/
                                                                                                                                                                                                  -o-qq(7q.
                                                                      $

                             d
                             '

                                                                                                                                                                        #                    .
                                        E;
                                         J.
                                         .
                                           :
                                           :,...l.hk: . .. .. . ; . r '.. '<.s
                                                                             fi
                                                                               #/Fr.>r (#ofte A*i#i- tAp4em- tn resp- qflnyIhbility.                            .
                                                                                                                                                                .   .

                                         e 7
                                          .... '
                                                   )s'j((.e' 4-
                                                         ''
                                                              r :r
                                                                     *>  t
                                                                         -èyyyp W .w p% gSuj% + ++. 4. ygdwa y.
                                          * J% u y
                                          r    ,..,      ,    )C(. jytug#çy  éxy:. r#y:ty xujsjgygjwgo jt:atmm jp
                                                 r k': , 'j...,.m.
                                                                .t
                                                                 t .y ,                    .
                                                   )
                                          Y E
                                          : .....-?.
                                         't q
                                         f           .   f*  '
                                                             t
                                                             V   $
                                                                 *.
                                                                    '
                                                                    # ?4v*   .
                                                                              ë.., .                  .. ..
                                                                                                                ..                       .



                                             W #W yf2
                                                    yg
                                                     j% yyjy Awj
                                                               .xyo puc . a;pfj% Mpyjyy. Lpausgm uot
                            ....'   Vt  j
                                        #.
                                         i
                                         J'.'-'
                                      qt. ,....-...
                                                  y
                                                  '
                                                  .'(
                                                   ,':'
                                                      x
                                                      kA
                                                      (jE y'.
                                                            &f.''-9     '
                                                                        -'
                                                                         .'I  -i.',,(...t-f,pypvtk - èfàe yvtv- o vningo,nr
                                                                   .#, T-r  ,,:,,E
                                                                                 (.'.* i.n
                                    ': 'iktr!
                                    * r(         '
                                                     t>
                                                      '
                                                      ;'
                                                       ,,
                                                         ,
                                                              '
                                                            y.j, .,,
                                                            .
                                                                                 *.:
                                                                                  ;,     ,.>' k
                                                                                     .,,y,
                                                                                         .
                                                                                   ... . .
                                                                                         ,
                                                                                                     , lf.#u1 rkhtis4x4rc+
                                                                                                                     ,
                                                                                                                     ,,,
                                                                                                                             . h# tlleM>
                                    > *  '
                                         .:
                                           '# (
                                    - ..it##*       L##M
                                                     .. . .  ;'
                                                             ,
                                                            $t
                                                               î
                                                               .'
                                                                )
                                                                +( ..
                                                                  .q
                                                                    'r
                                                                    .T
                                                                          .
                                                                          Gf.F;'
                                                                     ;rtym-
                                                                      . ..

                                                                     -l
                                                                                     ,


                                                                                  t,.(k
                                                                                         .,'j
                                                                                 .. = u '''2
                                                                                           '.

                                                                                         :Ahn
                                                                                           ,gt
                                                                                             or)y.Y
                                                                                                 ,,
                                                                                                     -'
                                                                                                      ...-
                                                                                                         ...,t
                                                                                                             obave-.. r- .1    -.#r:rthefil
                                  .
                                         ''.
                                             '
                                                                      <.
                                                                       1                         ..
                                                                                                  ,:
                                                                                                  r
                                                                                                  y .:A*.4- + ** $:itrlt       l r-pxttoihe
                                     ;t
                                      '(ï(.i
                                           'yj'':' . .
                                             .        v,;.m a. .kèw i-            ( s   ox
                                                                                         .,x( i     zw ..j-
                                                                                                          s,. oque
                                                                                                          ,       ..s. ...us-
                                                                                                                            , . e jpp
                                                                                                                           ,,         p w..

                                 r. t'            : ,),
                                                      .:.';t:'-=,=*.''            r'.
                                                                                    -'-t, uaj        .r: ssvjtjw yjs.s. jjjymmjj. e asy
                                                                        '
                                                                  .
                                             (
                                             VW
                                             .
                                             '
                                             t
                                             f
                                             c
                                             :
                                             i
                                             rrg
                                              q
                                              ,
                                              )
                                                 .
                                                 )tyVGC'
                                                    ,) ;#<(Q
                                                - ,,q :
                                               ,.
                                                y
                                                            *q
                                                            -t
                                                           ;,
                                                            , 'W'gW'j#
                                                                  :'y,
                                                                     t*
                                                                      #*
                                                                       (E
                                                                        ltù(
                                                                           C
                                                                           '
                                                                           M 'yya,
                                                                           wip   y-; tor> yurep.
                                                                                               .o>,cvk+teww tp&
                                 . , ..' J
                                                         rj:-y/                                                                      j              m       ....,
                                                                                                                                                                ..m                 . <.                 Y

                                                 jù&<2vir*                                            )
                                                                                                      % ç                     A                     pjxjj
                                                                                                                                                        y*
                                                                                                                                                         jyyuy)
                                                                                                                                                              z po % w aW y% W jj
                                                                                                                                                                                *opyj
                                          '
                                         'tT
                                           ,Es
                                             r
                                             -'E
                                               è:.:),q', ',j;
                                               .,           %                    .
                                                                                             Y')
                                                                                               ,
                                                                                               !
                                                                                               .:,f*PA.
                                                                                                   t:è M#i
                                                                                                         !
                                                                                                         :
                                                                                                         *4'
                                                                                                           tl>t'
                                                                                                               *wj
                                                                                                              se Y'.
                                                                                                                   ii,t.
                                                                                                                       sE
                                                                                                                        vt,1-*
                                                                                                                             h ve +, hm .p:it,pyto
                                                                                                                                                 ' *
                            ?6:.'. .'       r:%      ,
                                                     )Y-=+cr.-.A fv!>- *,  i'
                                                                            o- .v C1        '
                                                                                            -     M.Ce    e t4% e C:    % O CW >
                             #' :.(.' . '       m v''> .     ..: .      .... -....x
                                                                                  .,. ( -'J.
                                                                                           m'
                                                                                            vc'
                                                                                              =..
                                                                                                = v= - v'v'-
                                                                                                         ..                  &.                         .               .       '        .


                             W.   *             W,
                                   , :,.:. .,, rk:     Xd    j # M    à l  :  #   nf  *  W         t;  Zf  'Qm  X O  PIY  Y
                                                                                                                          1/ %)   0* **      . .-                               .    .



                                 E
                               ,...
                                    :    k.   .)
                                               -'*
                                                 .(,.,
                                                 '
                                                      .......  (jy,
                                                                  ç
                                                            ,.L..;..<  :
                                                                    ..' ... j
                                                                            t yv   jwo. o xt
                                                                                     ;.. ... x,    pxs    j
                                                                                                          u
                                                                                                  ).. jggk,   um  pr o.  .  , t At,Aovt. e.
                                                                                                                                          .
                             j
                             ç
                             ,'' *
                                 .,    . y;'l
                                            #,
                                             ,  .(  !,
                                                     #-.         e    ,      R    y   r
                                                                                      p,-     .     ly  N        y.
                                                                                                                  ymo
                                                                                                                   :, .
                                                                                                                      y %  ,
                                                                                                                           .   .    jujyo
                                   (j(                .ë                    y             ygjjpy yypux. ,      t jy.ujox j. ;a mu ,   . jp
                          - s
                            (2
                             W
                            ..
                             & 2     @1G     :
                                             '
                                             W
                                             è, .:
                                     :ke re , ! t 1 ).. 2r  !
                                                            :      r. )      *. è
                                                                           % 4- A pYx ,,:  è        r11s .zvve inf-;.(th-
                                                                                                      .
                                                                                                                                      M thz                 ,               .



                                 ) kp       ::    (                                   .g :       &     ga u  ogsxy  o
                                                                                                                    y  k  j%      y
                                                                                                                                  m
                                                                                                                                  ur
                                                                                                                                   xjy
                                                                                                                                     +xxg
                                  , ,,,, i ..
                                            ..  ,r - r    ,T) &  *, , ).
                                                                       -         '*mu
                                                                                   .  ,   .#    .    .                        .
                              iyl,' j, u'à  - ;.a 4y)e#> ' ,jj)u wp tto j y k( t:g puatzui                                  .
                                                                                                                                 xy cuaqA
                              t' ';:è
                                        ,:     .. .  .
                                                     .
                                                      L3e      .
                                                               ,.
                                                                M
                                                                  , C*     '
                                                                           * .èt   -. e 'Ce sS1           '  ct'
                                                                                                               rq'
                                                                                                                 ê*Atest+* M>       Y mer
                                QW q ls> 4. xw. jygme a %jjyuj. .yyo yjjj
                                    r               A
                                                     x
                                                                 ,,
                                                                  j                          ,
                                                                                                                                W . ag
                                                     e ,t'
                                                         )r,hr
                                                             :-       ...            .            s
                                                                                                              #g *''( M' :>
                                                                                                                         .
                                                                                                                            - 'ueto %; e t1G..
                                 ' ' '' '     '.
                      -
                        .         '.
                                   '
                                   a ., .. ., ,                   :
                                                                  2
                                                                  ,
                                                                  .t:
                                                                    . ...',' 'f
                                                                              '-'' ..' ''..,
                     uc & oouj(              :M of&* A:
                                             *                    wj
                                                                   je%. :y:.jvy % y%'ijgla jypp4#ajj% xan/% 4+           jp
        hk                                                d in :t- , t ,heree i e tlx r.         e.sp- < re w,1mx,4v!pm ,
          ! iq
             .
                 i(,
                  .
                    t
                    v,',
                       :,),.x, ..e
                                 '
                                 X.  1.,j    e
                                             , mee
                                             xt
                                            . .
                                               s)xj
                                                  .
                                                  ) y
                                                    jl
                                                     y
                                                  ..,,
                                                      ,
                                                      *;
                                                       .     %.   ..
                                                                   -   mt
                                                                        t
                                                                        *.#
                                                                          og pf .j
                                                                                 j
                                                                                 sy pats
                                                                                       e y jj
                                                                                            m yj
                                                                                               yy y. y.,:j a a.yor. .
        ''.
          '.
           '.
             !
            'ï
             t
              j..,rE
             '''6$
                 b
                   %
                 't3
                   t
                       '!r%j:7'!& .. . j           y yy  ax
                                                          q   ygjy gj
                                   .jyt....x..LL,.. k.:'k....... . .,
                                 l.;
                                                                     ymw u o sa o m
                                                                    ;.        ,y   . ..
                                                                                         gy
                                                                                         ...pjy
                                                                                              i
                                                                                              awt
                                                                                                .. myy
                                                                                                    . . w oymoy
                                                                                                          . .. .j oyag
                                                                                                                     ....V
                                                                                                                         j                                                                        .
            .    . :.
                    ,, . ..,.F v . ..:. k
                       ,..

        -: (:: ,*#  M Ti.;é'!*#.>.,.k..):,.t
                                           @***      A* : k',,.,.t.M G #- * % # < èf*:> e Y ili-
    .   .        :â     .       -.. .. .                                     .       .                 ..                  . .....

                 .E.,,. ! . :.)
        *7*4 f .             .
                              /!>,...,2
                                    .
                                             ..... ...... .à
                                              ytt  (-,,e,,.,(x
                                                  )è          'xh+lforRye 4:p- ' o . .Exc+ asmodiâede
           è ;q r:
                 )
                 q
                 y
                 ,:,,),,gE
                         ,.t
                          qyW, '
                               % A
                                 :
                                 ,-
                                  ' E tt
                                    e  e
                                       . **1
                                           %
                                           1,. y.
                                                , u u u, >      mtj. aw
        ;q;(y' t, t  % t
                    ;r 4
                       ;
                       Vg
                       :  tW yo j& AW & apala j
                                              a   $% % w g o: y y V j% .
            )(>
              )
                        .;;kj
                        &   ::
                             (ygg y. jw
                                      gg
                                       .jw.j
                                           wgy
                                             y:
                                              j
                                              gppuo
                                    %
                        w l ok jyjoaylfc sA*        4e 1N g
                                                          tNudtpgggpaandjpgm * #w Y                                                                                                                   toffhe
            e , t1- .,* ,t'G
                           è('t * .) ège >t%4f*dr>                                                                                                                  'èm*m'- *- e G
                                                                                                                                                                      à ê>;( X
                                                                                                                                                                      >t iè:rtm
                                                                                                                                                                              . 1 * A' #*
                                                                                                                                                                      gu
                                                                                                                                                                       r #AF > )1:## CkERK
            - *-                                         4                                                                                   ;
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 36 of 165




                                          .
                                                                  '                  .. .. .. . ;
                                                                                                *'                .   ,
                                                                                                                      ,
                                     .
                                          ,   .,r), y.
                                              t          ,
                                                     7., :
                                                         4 k C'
                                                              m#
                                                               .-,              Jk.-,.
                                   (L,(*p.. ...... . ''yr.     .(';',..
                                                                      ''
                                                                       .$.'..'      . ,r:
                                                                                        ....'
                                                                                            .....,
                                                                                                 .. ....,.v'w .    ?   ..
                                                                                                                        :'y4,: .   ..' . .. f.t. 2'     ..
                                                                                                                                                         '
                                 :
                                 .'
                                  1
                                  'w
                                   t
                                   ::.;,   ;
                                           ,
                                           #
                                          :.
                                           J
                                           4
                                           ,
                                            ,
                                            .
                                              '
                                            r. :
                                                :  ,
                                                   )
                                                   ;(-
                                                      J
                                                      .J,
                                                           ,
                                                           .
                                                           ,
                                                          ..
                                                            6
                                                            ,
                                                            a
                                                             :
                                                             .r
                                                              *
                                                            . .;
                                                                .
                                                                ) , ,
                                                                . .;..
                                                                       . 11  :
                                                                             a
                                                                             ,
                                                                             .;,
                                                                              :t
                                                                               k
                                                                               rL
                                                                                   ',
                                                                                  ..J
                                                                                    ;
                                                                                    ,
                                                                                      ';  ,
                                                                                     /.. .k
                                                                                               ,   E+
                                                                                                    E
                                                                                                    .   '.
                                                                                                         e
                                                                                                         :
                                                                                                   ; ''.' ' '
                                                                                                             .
                                                                                                             '  :4
                                                                                                                 .
                                                                                                                .'
                                                                                                                  à ke z
                                                                                                                       .
                                                                                                                        E
                                                                                                                        d
                                                                                                                       ,.
                                                                                                                          ëm  e  or'tq
                                                                                                                               .' ...'
                                                                                                                                      ne.
                                                                                                                                        e '
                                                                                                                                          *1' *  t
                                                                                                                                                 h  l
                                                                                                                                                    awsof
                                                                                                                                        .. t... ..... . '
                                                                                                                                                         ie
        p+
         'r & t>r2r''
                 ..
                  .-
                   .-
                    ..   :y
                          .k   % ge''(% ,' . , .:.. ''yadL
                            . . ..

                    r;'(:,?'i;:
                                          .. 4

                              p' .,.'y.... ' ....;:. .,::y..::,s .g;p.
                                                                       ame o ofjkq
                                                                                 .                                                                         .
                                                                                                                                                                hee-m.
                                                                                                                                                                .
                                                                                                                                                                     de #h11%
        S
        : . .' . :7
                  '..r.
        .
                  .              .:: .j  r :..y': E
                                      7W :
                                      .  0        wj.,g
                                                      w yy..r
                                                            jg
                                                             aws.
                                                                .
    '
                                 '
                                  %.y
                                  ,
                                    Fri
                                      t
                                      ::
                                       .
                                       j*
                                        4
                                        ;
                                        :fj
                                          :
                                          tN'
                                            ,5.
                                              :A                                                      ?. '':
                                                                                                           @, ae                  .#ox
                                  lf      '                                                      V%                       e       :.     ' jx i
                                                                                                                                              ypvkmi
                                                                                                                                                   sm urw mye pjyAmengyvxmj
                ':    e'.  ; r4- : .
                                   *'':
                                      '
                                      *. f.  .
                                          !N,'
                                             t
                                             ,(.,
                                                .g.4p.:
                                                 , .   ,;kk,;..
                                                              ;,',,. .     ) .           ,y.    .

        Y . w-'
            '
                .r'>:E'':(.
                   '
                           :
                           k
                           -
                           '
                           -
                           '
                          )*:
                           ', .!
                               .,
                                .   ..
                                 ,.. ..,
                                     '
                                        :
                                        .   .  .s
                                                .<
                                                 )
                                                 :,
                                                  '
                                         > re.' e'f ..
                                                    ..     m
                                                           ,  z
                                                              . , ..
                                                                   :a
                                                                    .
                                                                    '
                                                                    k . ,:     . '
                                                                                 ' . .
                                                                                     .
                                                                                     w
                                                     te * , .' - -,-,,.> . .. tk.p- , 4- * ferms
                                                     ,
                                                                                                                                                                    ..

        ê,.-' i
               '
                           ,,'
                                 ..           ' M' t)n ne - Y
                                      /. r ê Ce'
                                               .
                                              .g    ..
                                                          '
                                                            ;'ry.*'. 1
                                                                     '.
                                                                     .'.
                                                                      .4Et.1
                                                                         #4i1
                                                                            ;
                                                                            .
                                                                            *'ir ''* #.%
                                                                            1          .
                                                                                       #..6q
                                                                                          .
                                                                                           .
                                                                                           *.,....:
                                                                                                  -'
                                                                                                  ..'.k1
                                                                                                      .
                                                                                                       ,
                                                                                                       #.
                                                                                                        ;. '
                                                                                                           PTg''.the **.d
                                                                                                                  .
        pfr,t<?)
             ,j:kt #.
                    ê,
                    .t
                     .
                     %);.i k
                      .    .
                           ..
                           ,, ,.g,,(..ê:# ofth :t
                            ,                   .'
                                                 .
                                                 e vflz
                                                 l    .t
                                                       x-r k  :ez:i/atsoftrh,eC-
                                                           . 4.               . ..F
                                                                                  *,...c.f.1:*.=r
                                                                                               .e:7e e
          .            .
                                          '        ' ''       '
                                                                  . '
        f.,
        - )
          q
          .
          '
          ..
             (..'
                ..--.'.)
                       .'
                        !
                        ...,...-......-. y...                         ;k

                                  .
                                  S? J.j
                                       't'
                                         ,,:L
                                            6
                                            J. 2 .
                                                 # . t'                                                                   ''.
                                                                                                                            ;'k
                                               ',
                                              ..    i .t''..
                                                                  *                            '::.b
                                                                                                   f.
                                                                                                          *. :4
                                                                                                          '   ..
                                                                                                                = fo,
                                                                                                                    rcqnv- z-    ofmfkre- eO* ,,e..R
                                                                                                                            ' ''' '
                                                  '
                ï .              @..                  ''î;
                                                         J' '                       '                         '
                                                                                                        ....... . E
                                                                                                          '
                .. ..?
        ....'. ..    ' .i... .;),a.'...... ..                 là
                                                              ''a
                                                                b'sbb.'%.'.b'e.:..,...........(.,..

                                  ' '
                                    ''
                                      . y.
                                         ('
                                         '  '
                                          ;t.
                                            .             ty. . t         1
                                                                          .1.
                                                                            4
                                                                            (
                                                                            j;C:
                                                                               ..,
                                                                                 J.t                          ; ..
                                  m                    j y
                                                         j
                                                         rrjj )
                                                              !> b4 Axe- * > w< c- t-                                                                 :e       ofwM4h * 1be ax
        ,
        t,
         xw? j
             l jkirtk
                    't-) ,ge 1omrv,
                                  w wjpw asdl
                                            wewpejwm- ,
                                                                                     %                                    (5##:* 1/+ *$V ttW
                                                                                                                                           ')
                                                                                 %




                                                                                        %


                                                                                 %                                                                 e w vm l p w y 0+
                                                                                                                                                   MAG Y RP#1N. CLFW
            a w-                                              a                                                                          4
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 37 of 165

                                            %




                       :. ..''1;.tz ' '                   é.       .              .                        '                                   ' '
            +?y ( r(.i ly '+ >5, 4                            12
                                                               11
                                                                7z1k         (
                                                                             %' :CL,  ', ).EjW Me je %2        rvke e X Tp*j hkvt
                       .

                                                                /'....(,jë:)' :. ,: .:.. .;
                                                                                          ..
                                                                                           L
                                                                                           p
                                                                                           ....:,....,,. . .
                                                                                                           l
                                                                                                           ï
                                                                                                           .'
                                                                                                                  J to*.,l'4'#.. .k;'
                                                                                                                                    jj
                                                                                                                                     ,
                                                                                                                                     !
                                                                                                                                     j'
                                                                                                                                      jj
                                                                                                                                       ,
                                                                                                                                       y
                    '.
                     ',
                      'j
                       Y:
                        '?
                         .:                                          . .. '..
                   f,'
              )'syy'
                  ...
                     ,)
                      '.
                       :r)'fjzyyq;?..
                          ''''
                          .y
                           i
                           L        kt..'.r. .;.y .:.yç,;,,
                                     .
                                     ..
                                                *,.l
                                                   t ,,C,'.r..sj.
                                                                     - ,'
                                                                     .
                                                                   .. ..
                                                                       ..
                                                                            .   ...,
                                                                                ,b#    ..
                                                                                    ,*';.
                                                                                       .
                                                                                           , ' i#** ,       **%I*O                      45
      e'
       m'
        e'''-
            ,
            u)
             :h'
                   '  'r:
                        - .    ,. ..)
                               (i;t; (..,.
                                           * .;
                                          :.' ;'7
                                         i.l, .  ::1
                                                   .:
                                                    . ... :'          #
      4q';Ol:z?.E4@;*M -
            .. ., ..
                       i ê
                         *'M7** , wtdte .
                           .                                              .


                                                                                                                            *
                                                                                            V:g       At ASW 'SK URD
                                                                                            #%*y7jp. gp Ag
                                                                                                                                                     '
                                                                                                               ,
                                                                                                               j'                                    :
                                                                                                           '
                                                                                            SY1                         l' ; ..        ..          ' : .'.' *''''' ''
                                                                                                           1. .'',
                                                                                                                 '.T' '.''.'g y..
                                                                                             '
                                                                                            .'                                  .                       '     y
                                                                                                 :y.
                                                                                                  ,    .   i C 9,1-                    :J :..
                                                                                                                                           .4                 ,
                                                                                                 '
                                                                                                 ritlt: g .
                                                                                                 .&
                                                                                                          ,v.v t(ux ,,i).
                                                                                                                       ..




                                                                                            kE#ItyENItIALItO IXY .
                                                                                                                 COMM NY.LLC
                                            %
                                                                                                                   .                /1 î       '
                                                                                            $y:
                                                                                              ; .:,;    j.; ..       *'
                                                                                                                      *
                                                                                              Ni% )m ww 'tW t,
                                                                                                             aW.
                                                                                                               +>;.4
                                                                                                 Title: h'
                                                                                                         .$ 4c..(t
                                                                                            U.$tBANK NATIONAV AA.
                                                                                                                %IX IATIQN.
                                                                                            e $>
                                                                                                                            *




                                                                                            :y:
                                                                                              a        y
                                                                                                 Tjtj.;AuthdiW @I
                                                                                                                W




                                                                                                                                *

                                                  $                                                                         é. >,y X)
                                                                                                                                   X;.jo œ % xpx
                                                                                                                                              Pc
                                                                                                                             ë yr(y(r#W j# (;
                                                      ,        .                                                            .

                                            **             j
                                                           +,k#< e *                             #*                             ( 7 .
                                                                                                                                .           N            :p
                                                                                                                                                                    .
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 38 of 165

                                                                                                                                             &V .?q
                                                                                                                                                  (
                                                                                                                                               è-q7    -




                                                                                                                        2

            ,
                     )
                     '.''
                     :
                     'E
                    ;;  '4i
                          E... y ''
                                  <r
                                   .'.::
                      #,g ,,:.,:.,:WW  ê''';.t
                                    .è:EXO:F,*' '     ;* V*
                                                C4m- y.   e'r.
                                                             &*                                                                  *11de1hçTlmt1* IOY;
         w- u *Lv,wx.         -, s o ,j,.; w j,  u,sy te k so, sw ojju- jjjzy-:                                                         yzujpvioa:e
         '
         e   -ikr's*
         ': :t  ..
                         w
                   : :: :j
                   ,,. yt  y
                           :k
                            :(
                             âe y za
                               ,.,' ,y
                                     %!   yg
                                           w y
                                             jko
                                             , ,
                                                                                                                                             v
                                                                                                                    .   u


                                              1
                                                                                        G IW N7IALA% FT
                                                                                                     L :ECUG IES
                                                                                        coo                m ox


                                                                                        Bv:
                                                                                          N e- .
                                                                                               ;
                                                                                                1*
                                                                                                 :14
                                                                                                   :
                                                                                        #


                                                                                        M S* ENTIALFI/NM GCOMPANK LLC


                                                                                        By) .
                                                                                            .              *
                                                                                                       :
                                                                                                Titl
                                                                                                   œ:

                                                                                        U.S,@ANK NATIQNALA@SX ANGN,


                                                                                                                            '.           '
                                                                                                               .                     .
                                                                                        F#;                        .2 s .
                                                                                                No e: M o > i    M/ llw
                                                                                                Tiqt:Autborizl ài-



         yN p% . % %                                              ju yyyt
                                                                        s
                '
        .
        :y
         ..
          ;
          6q?
            q
            6
            q
            ?.
            ç
            s:
             ?,
              j
              .
              44i
                j
                ;I
                 j
                 ilk1
                    !
                    1;
                     11i
                     :
                       !
                       2'
                        1I
                         yiJ'''t.';jt
                             .. .. t)
                                        -.y.lj
                                             j jxy
                                                 .
                                                 t.*
                                             ,,,,.,oj
                                                    L.*!r... ., u .
                                                           -. .

                                       ':'wwjS      y
                       .                                            ,
                 ;.'1
                    .: .
         H Y *A-      f'
                       .
                       .     ,
                                  W. **CI
                                      ..
                                       )        'écm       ifkaws
                                                      %
         : .j
                    ..; .
                        ë.
                        l  ;...,k
                                ;,
             T'
              lte




                                               $                                                               A T> :
                                                                                                                    e
                                                      :-                )*.1**   ,
                                                                                 *- -           + *-             è '7Fr**
                                                                                                               ''E       *
                                                                                                                         W *
                                                                                                                       #A' W*R
                                                                                                                             G'
                                                                                                                             'AW* PW
                                                                                                                    ( y;     : .G 1#y CEx
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 39 of 165
                                                               %                                                                                                                                                                     t'
                                                                                                                                                                                                                                      .,-
                                                                                                                                                                                                                               .-jp J),
                                                                                                                                                                                                                                ..    -(


                                                                      )
      d
      X
      *
      '                                                               j>.:
                 r jr    g
                         yL1F;L
                            ;  Vy.       ) W       '. )
                      G       (
                              ' Er                                        , .               , a-m.-r yy                  ;yjojw sjjjjjyw     m.au w :wya sxs
                      ,
                             W. =,.W
                                   '
                                    '
                                     Z
                                     .
                                     J   -
                                         ' -
                                           '      :l
                                                   de     p.
                                      ? ..)'!)-i.;s: --::q-,r
                                      '                           f''  .
                                                                      7k  q
                                                                          :. ..   ,.     i)Q#       7 r1
                                                                                                       :1
                                                                                                        t
                                                                                                        4
                                                                                                        r
                                                                                                        14
                                                                                                         ,
                                                                                                         1
                                                                                                          .
                                                                                                          .
                                                                                                          !
                                                                                                          1
                                                                                                          ,
                                                                                                          7:
                                                                                                           .
                                                                                                           '
                                                                                                            '
                                                                                                            .
                                                                                                            '
                                                                                                            1
                                                                                                            1
                                                                                                            ;1
                                                                                                             1'
                                                                                                              -
                                                                                                              1
                                                                                                              ,
                                                                                                              .
                                                                                                              2
                                                                                                              ,1
                                                                                                               !
                                                                                                               .: ë
                                                                                                                   m
                                                                                                                   i
                                                                                                                   l
                                                                                                                   I
                                                                                                                   :i
                                                                                                                    1
                                                                                                                    2
                                                                                                                    I:
                                                                                                                     I
                                                                                                                     t
                                                                                                                      *
                                                                                                                      '
                                                                                                                      l
                                                                                                                       :
                                                                                                                      ?r1
                                                                                                                        I
                                                                                                                        !7
                                                                                                                         I
                                                                                                                         ;
                                                                                                                         l
                                                                                                                         !'
                                                                                                                          l
                                                                                                                          1
                                                                                                                          ,
                                                                                                                          I.
                                                                                                                           :
                                                                                                                           ,
                                                                                                                           l  à
                                                                                                                              6
                                                                                                                              ,
                                                                                                                              :
                                                                                                                              3
                                                                                                                              .
                                                                                                                             11
                                                                                                                              :
                                                                                                                              .6
                                                                                                                               ,
                                                                                                                               -
                                                                                                                               6.'.
                                                                                                                                  1
                                                                                                                                  i
                                                                                                                                  !
                                                                                                                                  I:
                                                                                                                                   t
                                                                                                                                   I
                                                                                                                                   1
                                                                                                                                   ,
                                                                                                                                   l.
                                                                                                                                    1
                                                                                                                                    I
                                                                                                                                    !
                                                                                                                                    t
                                                                                                                                    :
                                                                                                                                    ,)
                                                                                                                                     'iI5
                                                                                                                                        -'
                                                                                                                                        4
                                                                                                                                        I
                                                                                                                                        1
                                                                                                                                        ;
                                                                                                                                        '
                                                                                                                                        1r
                                                                                                                                         I
                                                                                                                                         -
                                                                                                                                         IE .
                                                                                                                                          2
                                                                                                                                          t  ;
                                                                                                                                             1
                                                                                                                                             4
                                                                                                                                             .
                                                                                                                                            -1!
                                                                                                                                              ,
                                                                                                                                              1
                                                                                                                                              r
                                                                                                                                              -.
                                                                                                                                               3
                                                                                                                                               j
                                                                                                                                               '
                                                                                                                                               6
                                                                                                                                               b
                                                                                                                                               ç
                                                                                                                                              ..
                                                                                                                                                ?
                                                                                                                                                t
                                                                                                                                                '
                                                                                                                                                -
                                                                                                                                                b'
                                                                                                                                                 6 ç
                                                                                                                                                   ?
                                                                                                                                                   --.
                                                                                                                                                     1'--
                                                                                                                                                      ,,  11
                                                                                                                                                          i:L
                                                                                                                                                            :.             '.
                                                                                                                                                                            '.
                                                                                                                                                                                V ,, -1:)1.-ç
                                                                                                                                                             .P,.'?-,--,.;-.1---.  .'
                                                                                                                                                                                 ..... ........ -.
                                                                                                                                                                                              ,..
                                                                                                                                                                                                .  .. .
                                                                                                                                                                                                  .-
                                                                                                                                                                                                  '
                                                                                                                                                                                                 .......
                                                                                                                                                                                                        '...  .            '


          '
          ':.E  -.?)...
             ' 2:
                    .
                       1.:
                    . '.
                        .
                         .
                         y
                         ..?: .t.-.
                                  5-
                         -.......- .
                        .-
                         .        ë-
                                     '..
                                         ..,
                                                '.,..
                                   ;j:..:y,,-.-.y.- '
                                       ' -
                                           ... ...
                                                 . .:.
                                                     -
                                                     :
                                                     '
                                                     -
                                                     7
                                                     !
                                                     17             :
                                                                    2
                                                                    -:
                                                                      1
                                                                      t
                                                                      :
                                                                      2
                                                                     ''
                                                                       .
                                                                       :
                                                                       1 .
                                                                         1
                                                             ' '- . . ...-
                                                        .... ...
                                                                    -     1
                                                                          .
                                                                          !
                                                                          1
                                                                          -
                                                                          ,
                                                                          .
                                                                          41
                                                                           ,
                                                                           k
                                                                           9
                                                                           ,
                                                                           1
                                                                           -.
                                                                            :E
                                                                             1
                                                                             -
                                                                             :;
                                                                              2
                                                                              j
                                                                - ' ....' . ' -
                                                      -..-,6'3,-,--.)...Er ,J',
                                                      '                  ..., .
                                                                      ... , .
                                                                  .. .,
                                                                              .1
                                                                               ,
                                                                               .
                                                                               -
                                                                               ,
                                                                               E
                                                                               .4
                                                                                :,
                                                                                 .
                                                                                 ;
                                                                                 (
                                                                                 :
                                                                               ys,
                                                                              .l  !
                                                                                  r
                                                                                  !
                                                                                  .
                                                                                  :
                                                                                  .
                                                                              ,.. .i
                                                                                   ,
                                                                                   i
                                                                                    ' '.- .
                                                                                    '
                                                                                    r
                                                                                    -
                                                                                    r
                                                                                    :;
                                                                                     .
                                                                                     ,,
                                                                                      E
                                                                                      .,
                                                                                       .
                                                                                       :
                                                                                       ,
                                                                                       '
                                                                                       ..
                                                                                        ,
                                                                                        -
                                                                                        i
                                                                                        i
                                                                                        .
                                                                                 r,'y.,.+
                                                                                  .......!
                                                                                         -
                                                                                         q
                                                                                                '. ' ''   ''    . '      . ' .
                                                                                                                         '
                                                                                                        . . . . .. . . . . ...
                                                                                        :..-t.bk'ï.#..s.k
                                                                                             .
                                                                                                        .
                                                                                        . . . .. .., . ..
                                                                                                        '
                                                                                                        q%. Et.,t-e
                                                                                                        t,
                                                                                                         .        ..;..,..l
                                                                                                                                 . .
                                                                                                                                   ..    .   ., . .
                                                                                                                                                  .

                                                                                                                          r*: G,;,.. . 7 . 14...,.Lr+M
                                                                                                                                                       . .
                                                                                                                                                       :... .:
                                                                                                                                                               ...... ..
                                                                                                                                                                          .t    -.,
                                                                                                                                                                                  .
                                                                                                                                                                                                       .. ...

                                                                                                                                                                                  L...,.*.jj,..y.j,k....,.1;:
                                                                                                                                                                                  -                         X:
                                                                                                                                                                                                                ... . ..


          i '' '':flljjr'J'(/j!
               ''
                q             :,s'r
                              '   '
                                  j
                                  .(
                                   ;.'    ';.
                                     y-).:. L
                                            t::
                                            '
                                            ( e
                                              j.'
                                                ::;
                                                  ''.
                                                    ;
                                                    : 'r'
                                                        ,'
                                                         ,y. .:... '.
                                                                    L:
                                                                     .)
                                                                      .
                                                                      5
                                                                      '.
                                                                       (,..
                                                                          '
                                                                          :'l...'..
                                                                          p       1)f
                                                                                    Jt.,s,, ;   .. .. ........ :' ' . . qE
                                                                                            ...... .::.,...              .., '. #
          '*'f
             + *'
             '
          . '.
             .  :.,
                  ' r ç...... c'4,,
                     '.;
                       *;S.
                       '
                 r; '.)2/    ,         t
                                       jt y.. .,',
                                          -        '
                                                   .!
                                                   #e
                                                    ..
                                                    :. ..7S., p   ; ;
                                                                    ,
                          -(:i.E.;.''........;.s.:-.r;.;....,.'(':. .
                                                                      ,
                                                                      .
                                                                      ,.,*,
                                                                          -
                                                                          .
                                                                            '
                                                                            E
                                                                            r
                                                                            ,
                                                                            * '
                                                                              t
                                                                              :
                                                                              e  ;
                                                                                 *,
                                                                                  y
                                                                                  .e
                                                                                   ,-
                                                                                    .   .
                                                                                            e
                                                                                            ...:.w >         '
                                                                                                             e   ;
                                                                                                                 E
                                                                                                                 à
                                                                                                                 '
                                                                               . . . ..... .1,. ....,........... .
                                                                                                                   *
                                                                                                                   ' *
                                                                                                                     t
                                                                                                                       , 1f*f* .
                                                                                                                         ,
           '        'L '' :.....                3
                                                ,
                                                '.
                                                e ';
                                                   '                              , :'
                                                                                     ï* #- '* '?
                                                                                               *                      1$-,1e Bàhst
                                                                                                                                'y :                              #r
                                                                                                                                                                   - '
                                                                                                                                                                     e II* wltMn
          :             ,.
      '
          laewe                    .        é
                                            *                                         5
                                                                                      j.                                                     *
                                                                                                    :
                                                                                                        l* 4* , M * myb*
                                                                                                                      . *Y O.' M '
                                                                                                                                 mypfkidle 1*
                                 W;r,..'
                                    .: :.??j
                                           .:.(j?
                                                y.t   j.
                                                  ::tr.,,
                                                        j!..'i'
                                                          A'  èlj.:r,,,
                                                                      ï
                                                                      ,.','
                                                                      :   .
                                                                          vr
                                                                           );
                                                                            .
                                                                            (:r,
                                                                               .C
                                                                                :-,
                                                                                  ':
                                                                                   .
                                                                                   '
                                                                                   ,
                                                                                   L?         .           j.   jr,,
          e *M ,
               #< '
              ...
               ,
                  ** !'          ..:
                                   .,.::

                                       ..         ...     ..
                                                               '           .
                                                                                  , fe f
                                                                                       -                   F
                                                                                                           *##em
                                            .

                                                                                                               Nà> pùblk
                                                                   1




                                                                                                               .      .

                                                                                                                                 D$


                                                                   %




                                                                                                                                                   1
                                                                                                                                                   :.':W
                                                                                                                                                      . . ..   . -...   XJ.'.:'Y.').
                                                                                                                                                                        ...

                                                                       A- ).',j; . 'G '4w-
                                                                                        '':;'''' '*!
                                                                                                    ie >' '' ...:
                                                                                                   F!
                                                                                                                -         (
                                                                                                                          :
                                                                                                                . '''..'. . ;j,(j:t..y.yj.w,,,
                                                                                                                                             ;.:,.r...7J.j...g1.
                                                                                                                                                               ;....
                                                                                                                                                                        y.X .W.'.','''' W. X Pe
                                                                                                                                                                   ,g.;.):                    .:.
                                                                                                                                                    g y)
                                                                                                                                                       4yj
                                                                                                                                                         yyr2j
                                                                                                                                                             jjjjy
                                                                                                                                                                 jg
                                                                                                                                                                  yj
                                                                                                                                                                   jj,
                                                                                                                                                                   . y
                                                                                                                                                                     yj
                                                                                                                                                                      y.
                                                                                                                                                                       j
                                                                                                                                                                       j.
                                                                                                                                                                        j
                                                                                                                                                                        j. j
                                                                                                                                                                           xj
                                                                                                                                                                            g
                                                                                                                                                                            mj
                                                                                                                                                                             j
                                                                                                                                                                             jxjj,
                                                                                                                                                                                 jgj,
                                                                                                                                                                                    j.
                                                                                                                                                                                     y.
                                                                                                                                                                                      jjy
                                                                   a1'J
                                                                      r.:.: '.
                                                                          ,..'.       '''                                                                ,
                                                                   x                                                                                         as  s     s.
                                                                                                                                                                        a    .m

                                                                                                                                               *

                                                                       %
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 40 of 165



                                              %                                                                                                           &''&.L..>
                                                                                                                                                                  />?  '
                                                                                                                                                                   ;


                                                                                                                                  2

           ST
          . .
             zZ;
               y
               3t
                1
                â
                .
                6
                :
                E!
                 '
                 9
                 ,
                 J
                 1
                 5
                 /.
                  1f
                   611:
                   .
                   .
                      +
                      :. 41111t
                       *11    .fV
                               L
                               '11:
                                  4.
                                   1E
                                    !!'
                                    1    .E
                                      11!1L.,
                                            :
                                            .'
                                             ;..r
                                                ..,
                                                  . .!'
                                                      ...: .
                                                      '    2:'.
                                                              .
                                                              .,t.
                                                                 'E 4A
                                                                   :.  E''11;. )
                                                                     .18
                                                                               ),* 2
           ':
           C.'k... ';.:'.'
                 .,    .              ..DF
                                         ': ?p.. ..:....'.,
                                                 ,         'V,'.Y.':
                                                                 :   ' )




                                                                                            Nj
                                                                                             'jj#@ ;
                                                                                                   hjbgc




                                          %




                                                                                                                             -
                                                                                                                   A-'
                                                                                                                    --
                                                                                                                     >
                                                                                                                     ..-- ;.-.....-:'
                                                                                                                         .          t
                                                                                                                                    1
                                                                                                                                    I
                                                                                                                                    1
                                                                                                                                    )
                                                                                                                                 .. .
                                                                                                                                    .
                                                                                                                                    -
                                                                                                                                 .. .:
                                                                                                                                     i
                                                                                                                                     -:
                                                                                                                                      1
                                                                                                                                      :
                                                                                                                                      2
                                                                                                                                      t
                                                                                                                                      -
                                                                                                                                      -1
                                                                                                                                       1
                                                                                                                                       I,
                                                                                                                                       ,
                                                                                                                                       .
                                                                                                                                       ;'
                                                                                                                                        !
                                                                                                                                        r
                                                                                                                                        -
                                                                                                                                        :!
                                                                                                                                         l
                                                                                                                                         1
                                                                                                                                         !
                                                                                                                                        ..'
                                                                                                                                          -
                                                                                                                                          '
                                                                                                                                          .
                                                                                                                                         ....
                                                                                                                                          -
                                                                                                                                       ... . .- -

                                       *;... #::;..y.r$:.7%
                                          '''
                                            . '- - . = '  ''v'Jr>
                                                                  j%v                  e%     y.                              j-,y
                                                                                                                         yygjy(
                                                                                                                              ,  j
                                                                                                                                 s,,(:s
                                                                                                                                      ,,
                                                                                                                               yS 'IG / qi)(j ::jlkqj :j
                                                                                                                                       g
                                                                                                                                       & & ,yy, m
                                                                                                                                                r
                                                                                                                                                :
                                                                                                                                                k
                                                                                                                                                ;,j
                                                                                                                                                  y
                                                                                                                                                  ,
                                                                                                                                                  ;yay-.
                                                            .. .   q.J''
                                                                       #.r.''v
                                                                             .r.NpT?p $1ra zr$:m.7T;.w'7v .> 'nv vrv zv m .... ;
                                                                             .          .     :
                                                                                              .                .                     t; ,g.yy ,W.g..'u
                                                                                                                                                     jq
                                                                                                                                                      Y:
                                                                                                                                                      j .
                                                                                                                                                        y .. .
                                                                                                                                                             y,.
Filing#Case
        14300:23-cv-61345
            58165E-Filed0 Document 1-4
                           2/01/2022 0t:Entered
                                        31:10PMon FLSD Docket 07/14/2023
                                                               prea,y,
                                                                     /u r-*/ Page 41 of 165
                                                                      zx'


                   IN THE CIRCUIT COURT 0FTHE ELEYENTH JUDICIAL CIRCUIT IN
                                                   AND F0R
                              M IAM IDADE COUNTY FLORIDA CIVIL A CTION

                               $
                                                                       *
                   MAURICESV ONEW E
                   Phztiff
                                                                           CM E N0:2021-
                                                         10826-CA01
                   V.

                   U.S.BANL NATIONAL ASSOCIATION,
                   AS TRUSTEE FOR R ASC
                   2005M 11L3,C RS,FRANR YN
                   CREDIT M ANAGEM ENT CORP and
                   AM O M FINANCIA L SERVICES

                   Defendants,



                               M OTION AND AFFIDAVIT FOR RELIEF.RECUSAL
                               NVACATION OF ORDERS AND M EM ORANDUM OF
                                                 M W            *
                                   1


                PursuanttoR oridaStat.112.131,FloridaRule2.160(H)andFederalRulesofCivil
                Procedure Rule 60,PlaintiffM AURICE SYM ONETTE hereby filesthis M otion for
                Relief & Recusal and Supporting M emorandum regarding tlle .
                                                                           11m M 2010 Valerie
                M anno SchurrFreview oftherecord and HnnlJudgementOrder,Exhibitllxcause it
                injuredus.basedonthefollowiùgfacts,new information,justterms,judicial
                misconduct,fraudulentgroundsaizd discovered conflictofpersonalinvestment
                interestson FinancialDisclosuresofJudgesand officersofthisCourt(E-xhibits# BJ
                Attached-U.S.BANK SpecialSituationPropertyFundsAccountPage42.IFRS 2018
                                                     -



                Tables9-13.SEC Filings-U.s.BANK Floridasubsidiaries,Judge Valerie M anno
                ShurrFinanciallnterests& PropertyDisclosures).

                               %
    @
        Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 42 of 165
                                                                    *




               Florida R ule 2.160 (H )Scm A Judze
               m ustVacate her ordersfor ConRictqf
               Interestzazu THE JD FA:JUDGE 74z,F#zF
               M ANN O :# &## DID IN TH E ILLE GAL EXPM TE
               H Em         N G 06/25/2010 W S FM          SH E CH A N GED TH E
                ORPFR OF D ISM ISSAL W ITH PREJUDICE TO
                DISMISSAL WITHOUTPREJUDICE AND #fF&##
*
    @           TRAH ACK T0 DISMISSED WITH S FTWTCF
                AND ALL H ER OTH ER O#D F#S SH E DID IN TR E
                N E W CA SE 2:22. TheodoreR.#azl#v M JudzeJohn A.
                R# .Fl.Rvle2.160 fD )(1j.Fl.CodeJ* .ConductCqnon
                3E f#)A Je ee shalldisqualih herselfwhere fvlpcrfllif#
                                   *        .

                m izhtreczoae l:be Jlzeze ae# Rule2.160 /D )(1)and
                 r/vzllx to disqualify is a pcr/y fears '/zcrthe Jz-ee i
                e--     -      -                                       -s#1- sed.
                Fl.s'/l/ve112.312 f& aW Judze can'thave a contli
                                                               -cto
                                                                  -f
                Interest.
                        l

#               JudgeValerieSchv rmustRecuseherselfforanopen obgiousConflid of
                Interest because she's and w as doing business w ith US Bank,GMAC and
                OCW EN and helping them to make money so thatshecan make money
                byforeclosingandtaking(stealing)ourpropertywhileactingastheJudge
                on the case on ourproperty,noton case'sMeritsbutforto makeherand
                them m oney Illegally.Here'sproof.
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 43 of 165



                                      *

      NOW I#M REPORTING JUDGE SHURR TO THE
      ADM INISTRATIVE JUDGE W H0 APPOINTS JUDGEST0 CASES.
       GOVERNOR DE SANTIS.THE JQC.THE BAR,THE US DOJ.THE
       FBI.THEFLORJDA STATEATTONEY AND MEDIA F0R
       OBV IOU S RA CIST M ISCO ND UCT.BY TO TA LLY IGNO RING
       FLO RIDA STA TU TES-RU LES A N D F0R CRA ZY O BVIOUS
*      CON FLICT O F NT RE T                 '

           Becausesom ething strangehasHappened outofnowhere!JudgeValerie

       '
           M annoschurr's SIGNATURE and NAM E show s up on the DISM ISSAL W ITH

           PREJUDICEthatwasdoneby JudgeZABEL'SOrderofDismissalGiêllPREJUDICE

           04/07/2010 THEYEARAFTER JudgeValerieMannoShurrBECOMESJUDGE
           RIGHT BEFORESHEm istereoulydoseanotherDismissalwith Prejudice
            @


           04/07/2010exaaly oneyearafterludgeZabel's04/07/2010 Orderof
                            $
           Dism issalW ith Prejudice to take overourcasetosave U.S.BANK FROM USand

           saveJUDGE ZABEL,THEIR LAW YERSFROM THE W M TH 0FTHEIR BOSS
                                1

           G M A C /@ # BA N K Iw bLU HAD ALREADYPAID THEM T0 SAVEU.S.BANK

           FROM US.JUDGE VALERIE MA##@ SHURR iswhowe'rejustnowpnding outthat
           THE BANKS PAID HER TO TRICK US INTO BELIEVING THAT W E W ERE SAFE

           FROM US BANKW ITH THE DISMISSALW ITH PREJUDICE AND THEN THREE
           M ONTHS IATER JUDGE VALERIE MANNO SHURR CHANGES IT T0 DISM ISSAL
            W ITHOUT PREJUDICE IN AN ILLEGAL EXPARTE HEARING W ITHOUT US
            KNOW ING S0 THAY US BANK COULD AND START THE SAME CASE OVER


                                A
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 44 of 165




      W ITHOUT NOTICET0 US!W HYDID G M A C /J # RA N K IPM JUDGE

       VALARIE MANNO SHURR TO AKE OVER OUR CASEW AS BECAIJSE JUDGE ZABEL

       DISMISSED WIYH PREJUDICE USBANK'
                                      SC.AJâ'04/07/2009A#SEEN ON THE
       DOCKET CASE NUM BER 2007-12407-CA-01 LINE 10,Exh.C.And FORD M OTOR

       CO.E CALLOWAYSAYSAJUDGE CAN'T CHANGEANOTHERJUDGE'
                                                       S ORDER S%

       JUDGE VAM RIE MANNO SHURR FILED HER DUPLICATE DISMISSALW ITH

       PkEIUDICESAMPLLM #FI'SORDERFILED04/07/2009AND.çll&#Atç
        DUPLICATEORDER FILED 04/07/2010ASSEEN ON THEDOCKET CASENUMBER
        2007-12407-CA-01 LINE 10 AND 11,Exh.C.ALL DONE S0 THAT SHE COULD IN
                                                          *

        AN ILLEGALEXPAR'E HEARING IN VIOLATION 0F FLORIDA STAT.702.07 W ITH
        THE PLAINTIFF US BA NK CHANGE HER OW N ORDER TO DISM ISSALW ITHOUT

        PREJUDICE,Exh.F.T0 HELP GMA C 4&' BANK).'reAi so THEYJAN
        ALL M AK E N /N' F *FF DF HELPLESS #M JX #.MS'N G ##5 BAD J@> X #

        àND M e f#liTheProofthatJUDGEVALARIE MANNO SHURR m adeMONEYto
        help them is on hex Form 6 FULL AND PUBLIC DISCLOSURE 0F FINANCIAL

        INTEREST SW ORN AFFIDAVIT OATH of2008 thatshow s on Part C.Liabilities

        section thatalshehas$995,000.00 and $91,498.00 from GMAC which isthe

@       ServicerandOwIZeI-RESIDENTIALFUNDINGCORPOG TIONintheirnoticeof
        transfersaid theyw ere controlling our paym ents as Servicer from atleast

        1/1/2007 ontheMortgagePaym entCouponatthebottom oftheTransfer
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 45 of 165



       Letter,EA .S.and $129,000,00 from W ellsFargo which isUS BANK NATIONAL

       ASSOCIATION ASTRUSTEEF0R RASC2005AHL3,Exh.(DD).AndJudgeShurrhas

       $129,000,00from W ellsFargowhichistlsBANK NATIOSALASSOCIATIONAS
       TRUSTEE F0R RASC2005AHL3,Exh.(DD )then in 2009form 6itshowsGMAC
       MORTGAGE of$410,000.00 and Creditlinew ith GMAC,and $128,000 W achovia

       whichisW ellsFargowhichisUSBANK,Exh.(EE)an4then sheallowsan lllegal
       .
           Ex parte Hearing w ith US Bank NationalAttorneys to change herorder w hich is

           realy ludgezabel'
                           sOrderfrom DISMISSED W ITH PREJUDICE inApril6th,2010
           Exh.(F3)tochangetheDismissed with Prejudice3m onthslaterinJune27th
           2010intpDISMISSED W ITHOUT PREJUDICEInthisExPartehearing Exh.(F).
           W hich isonly supposed to be donewith onlytheDefendantsthatareaboutto
                             #
           lose theirhom e to the Foreclosure Sale and thism ustbe done before the sale of

           theHouseaccording to Fl.Statute 107.07,(duringtheinterim GMACalsohada
           Florida DefaultLetterastheServicer)andafterthatwonderfulgiftJudgement
           toUSBankNationakM sociation and helping JudgeZabeloutofthemessfor
       'doinga Judgmentwithouta bocketed Complaint,Note,Allonge,Mortgageoran
           Assignm entfrom the Recordsw hich w as literally Crim inal,Thievery ofour

           house.Then suddenly In her 2010 Form 6 Disclosure ofFinancialInterest,

           Exh.(FF),itshowsa $400,000.00 giftfrom GMAC and shows$1,000.000.00 from
           W ellsFargowhich isUSBank,Exh.(EEE).A11ofthisispaytoPlayRICO
           Conspiracy to StealBlack Peoples Houses which theyke also doing to W hite




#
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 46 of 165




        European Gentiles!US BANIB only law fulRem edy wasto Appealthe Dism ism lw ith

        Prejudicewithin30daysaccordingtoFloridaAppelateRul
                                     .                 *
                                                         e4 (a)(1)(A).Butnow a
        casethatwasDismissedwithPrejudicewasgivenlifeagainbyludgeValerieManno
        j'churr'
               sillegalExpartehearing andchanging theDismissalwithPrejudiceto
        Dismism lwithoutPrejudicewhichallowedUSBM Ktosecretlyhleanother
        Foreclosure Case againstthe House at15020 South River Drive M iam iFlorida 33167

        and US Bank did :le1anothercasè w hich wasa continuance ofthe sam e Case from

        2007 w hich iscalled Case Num ber 2007-12407-CA01thatw asDism issed w ith

        Prejudiceand Secretlychangedto Dismissed withoutPrejudiceand withoutany
        noticeto usin 2010 called Case num ber 2010-61928-G 01 this2010 wasalso done

        withouttheOriginalM ortgagw M signm entand Docs.Originalofthe Note,Allongeto
*


        the Note,and the seqond Allonge from Fannie M ae orindem ni:cation info that

        indem ni:esFannie M ae and there m ustbe the Loan Num ber,Dateand the printed

        nam e ofthe Signerasrequired by FederalFannie M ae Rules88-3-04 for Fannie Mae

        ofw hich none ofthisison the copy oftheAllonge recorded on the Docket,Exh.LL.And
         .                 %             -
        JUDGE VALERIE M ANNO SHURR hastaken mynew Caseagain tosnish whatshe
        srarted by Ruling in favorofUS BANK and GMAC w ith wors'tConflicts ofIntereststhat

        she'  r-yïng tohidesothatshecanRuleintheBank'
           s t'                                     sFavortoillegalk.Becauseinher
        FORM 6 -2019 and 2020 FinancialDisclosure Afsdavitshe hasover 11,192,000.00
                                                              *
@      'million,pluson line5?heKtateàthatshehasa $400,000.00 Mortgagewith City
        NationalBank thatisRoyalBank ofCanada w hich isW ellsFargo,Exh.SS.and W ells
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 47 of 165




       FargoisUS Bank theBankJudgeValerieMannoShurrishelping toillegally Foreclose
       onus,Exh.TT TheotherconjlictisShurr'
                                          s$400.000.00MortgageHolderf'
                                                                     ïl.y
       NationalBankthatisRoyalBankofCanadaW hichisMorganStanly/IPMORGAN,
           Exh.V77,which isUSBANCORP/USBANK,Exh.W .andExh.X.a1lthisisClW
       NATIONAL BANK Exh.SS,W ho M erged with W achovia Bank who adm itted the were

       SLAVE MASTERS 0F BLACK PEQPLE,EA .UU.tojusttakeCRIPLE HELPLESSBLACK
@      PEOPLE'S HOM ES.Iwillinvestigathow thisludgeaccumulated 11 milliondollarson a
                              ':
       JUDGE'SSALU RY,IDemandtoseewhereallthatm oneyThisistheBANK thatwas
           selved m y law suite byan oë cialServiceracknowledge by US BM K w hich by Florida

           Statutethey hod only 20 daysto answ erbutthey never answered for six m onthsw hile
                              %
           wetrying toDefaultthem thewholetim e,yetJUDGE VALEK E MANNO SHURRM tIA

           V rmillionsofdollarsofConflictsofinteresthelpedUSBankbynoteverDefaulting
           them nolzlllterwhatthelawsandrulessay lRealk don'tstandachanceinthishght
           becausethereferee(JUDGESHURR)isbeingpaidbymyOpponentstoRuleonlyin
       .
           their(USBANK'
                       S-GOLIATH'
                                SIfUVOrIAM DetroyedandCRIK IFIED by theseWicked
                                                                *
           Anim alswhobreakak theLawsand ldllBLACK PEOPLE and holdthemselvesnot

           GUILTY bythese CROOKED EW LJUDGESlikeJUDGE VALERIE MANNO SHURRandI
           u ow they arePlotting to KILL merightnow,KJ.V.BIBLE= ZECHARIAH 11:5!!!!!
           Axiom FinancialServices now refered to as(AFS)istheBank the Notew asdo-
                                                                                 ne
                              %
           withand (AFS)soldtheNote withtheMIN.Accountnumber
            .
                                          @




           100176105062733203fM atthebottom ofeachpageoftheadjustablerateNote
        Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 48 of 165




          Exh.(NN)withtheCusipNumber315911873toFidelityStrategicRealRetu-
                                                                        rnFund
          according to the CUSIP search by CUSIPONE EXPERT CUSIP search service as stated

          byTheExpertW itnessAffidavitofFactW esleyJarvis.TrusteeforCUSIPONETrust.
                                 %
          Exh.(00).The(AFS)Notewassoldby (AFS)9/7/2005threemonthsafterLeroy
          W illiamssignedthe(AFS)NoteandiswithFidelityStrategicRealReturnFunduntil
           thisdayaccordingtaTheCUSIPOneExpertW itnessExh.(PP)Sothe(AFS)Note
           neverw entto US BANK NATIONAL ASSOCIATION AS TRUSTEE F0R RASC 2005

           AHL3-n-Ow ref-erre-d toas(USB).So(USB)cannotForecloseonthis(AFSJNOte nor
           any-one-ofthe above stated Defendantsbecause they don'tow n the Note and even

           FidelityStrategicRealReturn Fund cannotForeclosebecause(USB)in2007dida
           PubligationtoForecloseon the(AFS)Noteand FidelityStrategicRealReturnFund

@
           d' not        '   or nt    e ew 't in 30da softhe ublièat'on ftheForeclosureof

           20.
             07 ofFidelity Strategic RealReturn Fund standing to Foreclose according t-O-FL

            Stat.()Exh.(pp)oranylnterestintheNoteandthereforetheyhavenostanding
            AndaccordingtothlSEt-FASBGAAP RulesonceaNoteissoldontheMarketit
                 u---b
                   st .-ebu-rned and Destroyed because a Note cannotexistatthe-sa-
                                                                                 m e tim e thata
            m-

            s-tock-bond orfund existbecausethatisDouble Dippingusing theFund andthe

                VoteILLEGALLY.6.plaintiffhashad exclusive,com plete,actual,open,notorious,
                hostile,and continuous possession ofthe Property adverse to defendants form ore
            .



                than 17years.Plainyiffhasm adeand paid forallrepaisand upkeep,onthe
                                                                    *

    *           property forthepas017 years..




                                  1
            Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 49 of 165
    *                              1


                   JudgeValerieMannoSchurrsaysthatGMACBANKonherform 6fullandpublic
                   disclosureofFinaqcialinterestsisaBank she'sdoingbusinesswith,becauseshe's
                   doingbusinesswithGMAC/U.S.BANK andhelpingthem tomakemoneysothat
                   shecan makem oneyby foreclosingand takingourproperty proof:In herForm 6.
                   from Tallahassee called FULLAND PUBLIC DISCLOSURE 0FFINANCIAL,form
                   6,EXh.A.Sayson line 5and 6:JudgeValerie SchurrisDoing Businesswith
                   GMAC with aM ortgage from GMAC f0r$91,438.00 and $995,000.00,And
                   GM AC BANK is P.S.BANK,Exh. E1.and E2.Becausein her FORM 6 -2019
                                               .


                   and 2020 FinancialDisclosureAffidavitshe hasover 11,192,000.00
                    million,plusonline5 shestatesthatshehasa $400,000.00 Mortgage
                    w ith City NationalBank thatisRoyalBank ofCanM a which isW ells
        *                           1
                    Fargo,Exh.SS.andW ellsFargoisUSBanktheBankJudgeValerie
                    M anno Shurr ishelping to illegally Foreclose on us,Exh.TT.The other
                    conflictisShurk'
                                   s$400,000.00M ortgage Holdert5ty NationalBank
                    thatisRoyalBankofCanadaW hichisMorganStanly/JPMORGM ,Exh.
                    W V,which isUSBANCORP/USBANK,Exh.W.andExh.X.allthisis
                    CIW NATIONAL BANK Exh.SS,W ho M erged with W achovia Bank who
                    adm itted the were SLAVE M M TERS 0F BLACK PEOPLE,EA .UU.to All
                    ofthisisam ajorConflictofInterest Sheand otherJudgeswhohavethesam e
                    conflictofinteresthasruled in favorof,U.S.Bank,EXH.C F.ofthese Conflictof
                    Interestagainstusand there'smore.Ihavefound thatourcasewasdirected to
                    herand otherJudgesinthisPool,So shem ustrecuseherselfand vacateher
                    Order,Exh.F,SoValerieSchurryoumustRecuseYOUR S/LFVACTEALLYOUR
*
                    ORDERSNOW !A#D IPM YTHATYOUDON'TSPACE F0RANNOTHERJUDGE
                    T0 ORDER THA TYOUR ORDER T0 DISMISSW ITHOUT PREJUDICE IS
                    ILLEGALLY BE UPHELD!
                                   %


                                             FACTUAL BACKGROUND
        Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 50 of 165




                   1.JudgeZabelgotveryangrywithU.S.Bankanddecidedto
                   dismissthecasewith Prejudicebetween 2007and2008but
                   JudgeValerieMannoShurrsomeh0w ended up beingtheJudge
                   wh0signed theOrder0nAPKL6,2010JudgeValerieSchurriK.
                                                                     Klle a
                   fm l       o1xlœ Exhibit.A IN FAVOR ofLeroy W illiam s to dism iss
                   theForeclosurecaseagainsthim w ithPrejudicew hoe property is
    *                           1
                   now QuitclaimedtoPlaintiffMauriceSymonette intheformercase
                   no:07-12407CA01whereU.S.BANK couldneverproducethe
                   promissoryMotethoughtheywereaskedbytheJudgeseveraltimes
                   butneverdid bring itforth,Exhibit.1.and then afterthree-m onths-




                   andGMAC doingbusiness(Payoff)IudgeValerieMannoShurrLon
                   ltlre 252010.issuedaIssuedanotherOrderthatchangedZabeland
                   ValerieMannoSchurr'sOrderfrom dismissedwithPrejudicetosuddenly
                   dismissedwithoutPrejudiceinanillegalExPartehearingwithherand
                    herBusinessPartner'sU.S.Bank/GMACandJudgeValerierMannoSchurr
                    isnow thesameJudgewiththesameConflictsofInterestrullingonthe
                   sam e caseand,propertyw ith the same businesspartnersagainstMaurice
                   Symonetteconcerningthesameproperty thisiswideopen Crazy!And
                   Sad!ThatthisCourtisStrongArming,.Bullyingandjustta
                                                                    *
                                                                     kingourhouse
#
                   likegangsterswiththeFullstrengthofthePoliceagainstthehelpless
                   thesegangsterwayshashernow goneandwentfrom afew Million
                   Dollarstonoy over$20millionDollarswiththesamebusinessPartners
                   asaquasi-defense attorney forIJ.S.BANK herpersonalinvestm ent
                   Partnerto m ake m oney together,PlaintiffM AURICE SYM ONETTE
                   hasnow subsequently provided theUnited StatesDepartm entof
                   Justice(DOJ)onspecificnewlydiscoveredwhistleblower
                   inform ation and recordsre'
                                             garding m illionsofdollarsin exposed
                   fraudulentforeclosure claim sm adeby the DefendantsU.S.BANK,
                   ClerksandCourtoë cers.in thisaction.Exhibit,0.GMAC doesnot
                   ow n the Note.



                                        < M ORANDUM OF LAW
                                   $




                               %
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 51 of 165



*                                                                      1
                                                                      $
                                                      The Defendantsmsintninstim ely Constitutionaldue processcivil
                                            rightsforRoridaRule 2.160 (H)andFederalRule60 Reliefto closethis
                                            casewiththeoriginalDismissalwithPrejudiceinourDefendantsfavor
                                            with requirementofVderieSchurrRecusalbased on exposed fm ancial
                                            conflictsofinterestsFla.Stat.112.312 (8)t9).

                                            Rule2.160(H)J?W FRCP kule60,relieffiom .ll/Wg?nenfOrOrderand
                                to Vacate Order .

                                            Thereistobe.
                                                       /z/connictofinterestwiththeJuh eJ??WthePlaintt
                                            tqlïnxçfDEFENDAN IS.u KE


                     (ê).
                        q
                        i         ,'E . ) k!i           %* . . ,            z<. k
                     (2)r
                        ze ;,  4,3:.)
                                    .
                                    -!:(2r
                                         q,:
                                           ,:)Fï,#;ef,
                                                     * w' qz/,
                                                             < witkreaw # .J#/N < ,c- ld- lm e&ez?dkmowredin
                                               ,) !
                     i*eLSG-'èLi:.AJ  Lor,
                                             k :
                                              lk    i'
                                                     t
                                                     l.,
                                                       1
                                                       !''
                                                         '
                                               ze: #W',.?.Ly
                                                           ..
                                                            ,
                                                            *',
                                                            . k:.
                                                               ''
                                                                .'?'eb (b): ''.
                                                                >        ..        '
                                                                      %


                                            3.Fraud whether previously called intrinsic orextrinsic,m isrepresentation
                                              orm ix onductby an Opposing party


                                                       A Judge is expected to Recuse herselfaccording to Fla.Code Jud.
                                            Conduct,Canon 3E (1),Fla.'Rule2.160 (A)(H),Fla.Statute 112.312 (8)
                                            and pursuantto 28 U.S.C:9 455 Under 9455(a).Recusalismandatory
                                            in Wany proceeding in w hich Judge's im partiality m ight reasonably lx
                                            questioneda''UnderFla.CodeJud.Conduct Canon 3E (1)and 9455(b).
                                            a judge is expected to disqualify herself whenever any ofthe five
                                            statutorily prescribed criteria can be shown to exist in fact;even if no
                                            m otion or nfsdavitseeking such relief has been filed.and regardless of
                                                                                                                                       *
                                            whetherareasqnablepersonwouldquestionthejudge'simpm iality.
                                                        Fla.oodeJud.Conduct,Canon 3E(1),Fla.Rule2.160 (A)
                                                       (H),Fla.Statute 112.312 (8)and Section45508 heshall
                                                       also disqualify him selfin the follow ing circum stancess.

      (4)'#)
           'q#
             ,t*'$l
                  :
                  '
                  r
                  &tL
          f( tty))))j
                     )
                     f
                    ,j
                      (h
                       L
                     ,tj
                       k
                        q
                        tj)L
                           i,
                            btd
                              ,(iï
                       tt);2 yk
                                   VL)
                                     ;
                                     k;
                                      qI
                                       ;
                                       I
                                       L$ï
                                         6?,
                                           +,L
                                             q,
                                              $
                                              i,
                                               .
                                               ##(cia
                                 yry);j yltyg , ;,  p
                                                     lyit?rhisJ/?t?#.
                                                                    j'
                                                                     ct?
                                                                       rminorcbildreàW//lg/??bis
     k
     dli
       ë
       'l
        i'
        ' t
          :
          .is
           ; .
             l
             i
             '
             jk.
              .kh
               ti
                ;l)k
                 1j
                  i
                  r
                  &  .
                     - ''
                        k    ..
                                ''

                                       .
                                                  '

                         .k.:-là)-L';bL',-'iqrï?':ï'.d4k,j;b'6
                         '                            .'
                                             -. . --.-..   .  :
                                                              i
                                                              'b
                                                             :;
                                                              -
                                                              ..
                                                               -
                                                               i
                                                               ,
                                                               -p
                                                               -.#-
                                                                 .1
                                                                  i
                                                                  --t,;
                                                                    -i
                                                                     ,
                                                                    --
                                                                      j
                                                                      à
                                                                      L
                                                                      -
                                                                      .
                                                                       q,
                                                                    . ..
                                                                        ô
                                                                        ;
                                                                        :è
                                                                         b
                                                                         .b
                                                                          -
                                                                          )i
                                                                           b
                                                                           .
                                                                       . . .;
                                                                            ip
                                                                            -d
                                                                             :
                                                                             ;l,
                                                                              tL
                                                                               ;
                                                                               é
                                                                               -
                                                                                '4
                                                                                ,
                                                                                .:
                                                                                 -3.
                                                                                  ;
                                                                                  .
                                                                                  1
                                                                                  #3
                                                                                   -
                                                                                   .,
                                                                                    j
                                                                                    ';'
                                                                                    '
                                                                                    '
                                                                                    ;.
                                                                                    ..
                                                                                      (
                                                                                      ;::
                                                                                        à
                                                                                        6
                                                                                        -
                                                                                        à
                                                                                        t
                                                                                        b
                                                                                        ï
                                                                                   . . --
                                                                                        k
                                                                                        ;
                                                                                         à
                                                                                       ' '

                                                                                      'i (
                                                                                         .(
                                                                                          I
                                                                                          ï
                                                                                          -
                                                                                          â
                                                                                          èj'
                                                                                            j
                                                                                            b
                                                                                            i.ï
                                                                                              t
                                                                                              'k àL
                                                                                                  '
                                                                                                 '.

                                                                                                .- ï( â.'t-L.bçb'bE';
                                                                                                   .
                                                                                                   à  ..
                                                                                                            ''
                                                                                                           ..
                                                                                                            -. .-
                                                                                                                 ..
                                                                                                                  ,.
                                                                                                                    i
                                                                                                                    ?
                                                                                                                    t
                                                                                                                    y.-k
                                                                                                                    -'
                                                                                                                       -
                                                                                                                       j
                                                                                                                       b9
                                                                                                                        4
                                                                                                                        ,'
                                                                                                                       '3
                                                                                                                        '
                                                                                                                        bi
                                                                                                                         lf
                                                                                                                          b
                                                                                                                         ..
                                                                                                                           'f
                                                                                                                         .#k
                                                                                                                         ..-
                                                                                                                         - -i
                                                                                                                            q
                                                                                                                            'l
                                                                                                                             ët'
                                                                                                                               i
                                                                                                                               ..
                                                                                                                                :i
                                                                                                                                ' k
                                                                                                                                  '
                                                                                                                                  i
                                                                                                                                  r.yv
                                                                                                                                   '
                                                                                                                                   .
                                                                                                                                     ëogg./jjiotpovvyqy
                                                                                                                                      ..              . ogz
                                                                                                                                                          . gjuoyyyytjv
     ù
     (
     ;
     -
     i)
      r;
       )
       !
       i,
        r
        tk'
          ij(
            '
            -
            k'
             è
             i
             !
             t,
              '
          '''--
               k
               .'
                è
                i
                :
                i
                ,h
                 i!
                  j
                  ,
                  #
                  ,
                  .iC
                   ,r
              -' ''-''
                    ?
                    ,
                    -
                    'à
                     ;7
                      i
                      -7
                       '
                       ï
                      --
                       i
                       !8
                        r
                        ,
                        r
                        #
                        ,
                        pë
                         !
                         ti
                          !$
                           ;
                           .'
                            l
                            yq
                             t
                             )
                             :
                             -;
                              . j
                                , ) ?j
                                     :i
                                      (l
                                       i
                                       '
                                       t
                                       ; :
                                         ,E
                                          -
                                          ? (
                                            ï i
                                              ,-
                                               i
                                               è j
                                                 'i
                                                  !  !
                                                     )
                                                     t)
                                                      E
                                                      j
                                                      )
                                                      -
                                                      ,
                                                      î t
                                                        t
                                                        ' ;-
                                                           à
                                                           ,.
                                                            ' q
                                                              '!
                                                               )
                                                               y
                                                               k kt
                                                                  i
                                                                  g
                                                                  t
                                                                  .jè
                                                                    k
                                                                    '@
                                                                     )
                                                                     '
                                                                     l
                                                                     t
                                                                     r
                                                                     )j
                                                                      ,
                                                                      -
                                                                      Lj
                                                                       !à
                                                                        '
                                                                        t
                                                                        i
                                                                        '
                                                                        y
                                                                        -E
                                                                         è
                                                                         6!
                                                                          '
                                                                          tè
                                                                           '
                                                                           i
                                                                           4'
                                                                            b(
                                                                             à
                                                                             i
                                                                             b
                                                                             '
                                                                             ,
                                                                             L 2
                                                                               )
                                                                               .
                                                                               i
                                                                               ,
                                                                               ê;
                                                                                'ï!
                                                                                 b
                                                                                 , t
                                                                                   (
                                                                                   ql)k
                                                                                      ,/ jjjij#'jjuL                             jyjs-jgj/jayt )
                                                                                                                                               #jwzj/jytg j ajnx :gtg
     :
     j:r
       ir
        li Ei
            lk
             q-!                                                         jj
                                                                          -ë
                                                                           ).
                                                                                yt)
                                                                                  .
                                                                                  L
                                                                                  j
                                                                                  i
                                                                                  -'
                                                                                   ;
                                                                                   ,
                                                                                   )
                                                                                   .
                                                                                   i
                                                                                   -
                                                                                   '
                                                                                   k
                                                                                   b
                                                                                   j-
                                                                                    .
                                                                                    ,î
                                                                                     -
                                                                                     ;
                                                                                     6
                                                                                     .b
                                                                                      !
                                                                                      '
                                                                                      -
                                                                                      (
                                                                                      .)
                                                                                       .:
                                                                                        ,
                                                                                        b
                                                                                        .
                                                                                        -.-
                                                                                          i
                                                                                          ,
                                                                                          .
                                                                                          b
                                                                                          i-.-r
                                                                                              -
                                                                                              (.:-,r
                                                                                                   ?
                                                                                                   :j
                                                                                                    .
                                                                                                    ,
                                                                                                    r-
                                                                                                     .-
                                                                                                      ,-   't:q
                                                                                                              .! .; :
                                                                                                                    ,1-.
                                                                                                                       ,
                                                                                                                       .
                                                                                                                       ,.y  .......
                                                                                                                                  .-..        .            -.
                  '
      .   .          ...-.- .
                     -                                      .
                                                            )
                                                            ; L
                                                              .L
                                                               '
                                                               ,y y
                                                                  -   .     rt
                                                                             y
                                                                             .
                                                                             ;
                                                                             :
                                                                             . )
                                                                               -
                                       q)y )                  jr
                                                               L
                                                               --
                                                               ;        y. .,
                                            .


               Li
                t
                ..:
                  !
                  Ilï
                    ?
                    )
                    b:'i
                       1
                       j)
                        -
                        -(
                         ;è;
                           y,qy                        -                                                   .     .  .
                                                                                                                    . .
     L
     .
     à'.
       ï
       'b'-
          bb3L
             .
             ï  )
              .aaa

             ài :
                à ï
                  q
                biàf
                   ï
                   :,
                    ' 6
                      1?
                       i
                       pt
                        i
                        kl
                         t                      .:
                                                       .       - ..
                                                                      y. ..
                                                                         .         .
                                                                                       . .. .     ..
                                                                                                   ,        .                                  .

          .               i
                          l
                          -i
                           j.à
                             l. !
                                - $. t.
                                     ..,.
                                                  -  ). i. )).
                                                           ,
                                                              :
                                                              .q
                                                               .
                                                               :
                                                               L
                                                               .:':..   --.
                                                                          )....   :...7..... : .. .
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 52 of 165




                                                                                                                                                        CO NCLUSION

                                                              n is M otion for Relief by Vacating Order Judgm ents Florida Rule
                                                2.1* (H) and Recusal is based on new facts,related to a whktle
     ..'
       ...r
          ,.  a.kk ,
     ;..',?''''    1
                   .
                   1.-:. . é
                           :.. ...
                                 @..
                                   ,...-
                                       ..::
                                          ...î;
                                              .!
                                               ...
                                                 ,....;.... . ' .
                                                                ,
                                                                ..........i
                                                                          h... .,..... .E..                                                                                                                                         .#...,                   .. .                             .             .' .
     ,.:      ;.
               :!
                '.
                 :''.,
                 .E
                  .  .'v
                       7.
                       ïf.
                         ?s
                        .,
                          '.
                           '
                           -    . .
                                        .. :'ji               .J
                                                              .?
                                                               .
                                                                                    . ... '        .!'
                                                                                              S.'..j ?:     ,. ..; ', ':è''.j. : .',- '.
                                                                                                       i.>:i'                      . !                .                    .           .,
                                                                                                                                                                                          i'.
                                                                                                                                                                                            .:  t ' -é
                                                                                                                                                                                                   .ë
                                                                                                                                                                                                   :
                                                                                                                                                                                                     4 '-'' )' . .''.. . 'L..,.. . .
                                                                                                                                                                                                        '
                                                                                                                                                                                                    :. . ;  ..                           ,      -6
                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                  6j
                                                                                                                                                                                                                                                   3,
                                                                                                                                                                                                                                                    6I
                                                                                                                                                                                                                                                    .3j
                                                                                                                                                                                                                                                     .-' ,    .j
                                                                                                                                                                                                                                                               1l
                                                                                                                                                                                                                                                               .4r
                                                                                                                                                                                                                                                                 ,' '..ç ' ' . r.:' . . '. ..),..'....!. .'''!. .:.! .1,
                                                                                                                                                                                                                                                                 .                                                        1a4,',:.. .. .-< . , ,' .
                                                                                                                                                                                                                                                                                                                           ;.
                                                                                                                                                                                                                                                                                                                                      '' '
     ' '.
     .
     ''.
       ;
       . '.
       '.,.'
           i
           'r.
           ' i.j.
             :
             '  F.
                 ..':
                    ':
                     '
                     i.
                     ''
                      :
                      '
                      ;
                      :
                      ::'
                       !
                       .'
                        '.J,
                        >
                        i
                        :  '
                           J.'
                           S   .
                             k.7
                               ?
                               .
                               !
                               .
                               ..t
                                 ;
                                 r
                                 !
                                 à
                                 .
                                 . '
                                   .
                                  .:
                                   .'
                                    .
                                    :yE
                                      :
                                      ;
                                      !.g
                                        r.,ç,:jLq.:..:>.,Et!;,
                                         2                   :;
                                                              h ktgj.
                                                              y:;         '.
                                                                         ..
                                                                    :e.;ph !,(lkïjt.  r;.;'
                                                                                    ..h
                                                                                    ï
                                                                                   ..     '
                                                                                          :.'
                                                                                            '..1'
                                                                                                .i
                                                                                                  ;:
                                                                                                   t
                                                                                                   ï:
                                                                                                   .5.;
                                                                                                    . .I
                                                                                                      .
                                                                                                       r
                                                                                                       ')p
                                                                                                       .
                                                                                                       .
                                                                                                          (:
                                                                                                          .I
                                                                                                           '
                                                                                                           .'
                                                                                                            ....rui!,'   :j,1çh,:
                                                                                                                     ;iq,;
                                                                                                                     s             '
                                                                                                                                   :.
                                                                                                                                ....ç'.(
                                                                                                                                       E'
                                                                                                                                        E..f.
                                                                                                                                            .,t
                                                                                                                                            . ..y '.
                                                                                                                                                 .:
                                                                                                                                                .'  h:
                                                                                                                                                   E:. EJ
                                                                                                                                                     :h.
                                                                                                                                                     r  !S
                                                                                                                                                        r.7.b.,;:.k.::.'@
                                                                                                                                                                        :.'''
                                                                                                                                                                          .
                                                                                                                                                                         s..:
                                                                                                                                                                         .  ':'
                                                                                                                                                                              ,. '..:)'
                                                                                                                                                                               .g.    Jr
                                                                                                                                                                                      . @.
                                                                                                                                                                                       :..:
                                                                                                                                                                                          'f'..,*t.
                                                                                                                                                                                                  '
                                                                                                                                                                                                  J
                                                                                                                                                                                                  ..
                                                                                                                                                                                                   !
                                                                                                                                                                                                   i
                                                                                                                                                                                                   ::
                                                                                                                                                                                                    .:   ,:g
                                                                                                                                                                                                     :...; :'
                                                                                                                                                                                                            .ts.q.'
                                                                                                                                                                                                            i      '.
                                                                                                                                                                                                                   #ë'...'.
                                                                                                                                                                                                                  ..'
                                                                                                                                                                                                                          f.'J.r..:ç.';j.
                                                                                                                                                                                                                                        :...''.
                                                                                                                                                                                                                                              t:
                                                                                                                                                                                                                                               'tl
                                                                                                                                                                                                                                                 'l
                                                                                                                                                                                                                                                  'j
                                                                                                                                                                                                                                                   'j
                                                                                                                                                                                                                                                    k'
                                                                                                                                                                                                                                                     ;
                                                                                                                                                                                                                                                    .'rr.k:...:...
                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                     ,...        r:;s
                                                                                                                                                                                                                                                                    ii'
                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                      r'
                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                 '. ...
                                                                                                                                                                                                                                                                                         ::..:.
                                                                                                                                                                                                                                                                       ;.:..C.'.'. ... .:<    ''
                                                                                                                                                                                                                                                                                               ',::
                                                                                                                                                                                                                                                                                                .. (.r.jp.
                                                                                                                                                                                                                                                                                                  .'          ,..,...
                                                                                                                                                                                                                                                                                                             ':     '.....
                                                                                                                                                                                                                                                                                                                         lj
                                                                                                                                                                                                                                                                                                                          .j
                                                                                                                                                                                                                                                                                                                           .j
                                                                                                                                                                                                                                                                                                                            lj
                                                                                                                                                                                                                                                                                                                             .l
                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                              .'.:.J.:     ..:
                                                                                                                                                                                                                                                                                                                                             .. .
*                                                                                                                                                                                                                         .                                         .

                                                blower's in                                               ation, willful blindness, fraud, m isconduct, and
                                                discovered evidence unknown atthe tim e ofthe originalComplaintfiling
                                                Plaintiff could not remsonably know the fm ancial dealings with
                                                Defendantsofayetto lx assignedjudge YforetheoriginalComplaint
                                                ftling A s previously displayed by his Dism issal Order, due to cited
                                                im proper fm ancial conflicts of interest, Judge Valerie Schurr was
                                                incapable ofimpartially and withoutnnim usagainstPro-se Plaintifforto
                                                exerciseunbiasedjudiciald'
                                                                         utiesrequired fordueprocessjusticeinthis
                                                case know ingly Y cause noY dy forgets how and why they get
                                                $995,* .* atthe time thatwe asked TllE ACTUAL JUDGE,JUDGE
                                                ZABEL to DismissourcaseW ith Prejudice.SothatJUDGE VALERIE
                                                M ANN O SHURR w ms paid to and would change the Order to
                                                 DISM ISSAL W ITH OIJT PREJIJDICEII!

                                                                 JudgeMajerieSchurrbaqcreditorloanhistorya;dbusinesswith
                                                 DefendantU.S BAN K M ERS and GM AC thatcaused THIS preferential
                                                 Quid Pro Quo treatmentby her .sua sponte review and FinalJudgment
                                                 Order. Judge Valerie Shurr has significant exposed investor fmancial
                                                 interestsin the subjectmatterin controversy and with Defendants U.S.
                                                 BANK that willlye substantially negatively affected by the outcome of
                                                 thatproceedings when the Plaintiff çiultim ately prevails and promotesin
                                                 paid foraddsin the media.Because people can'twin when the Judge is
                                                 on the side ofthe Brmkstersto stealproperty and m oney offthek Prey!

                                                                 Exnm ple of Judges who already recused them selves from U .S.
                                                  BANK
                                    1.JUDGE D                                                           P.GAYLES Exhibit,P.


                                                                                          $$
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 53 of 165
                        Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 54 of 165
                f
                                                                                                                           ;             .

                                                                                                                                k.     (L
                FO RM 6                         FULL'A                 PUBLIC DISCLO SUR E O F                                                2011
            -.--- .,> #.. - ,
            e - - - .a->--  - ,u'
                               .-..: x
                                     vwwv   -
                                                                             cv--
                                                                               yAL jx TEu x sT s
       X T- E FIRA NAME- MIDDLE NAME:
                            -                                                                             F                ,         aas
      Ruvin     Hafvey                                                                                    UoR
                                                                                                           SEONW
                                                                                                             oe ce
                                                                                                                 :
                                                                                                                               %
    - MAILINGADORESS:                                                                                                          JtlE0 $@t110
            73 W estFIa IerStreet,Room 242
            *                                           A                                                          ID C*

            CIW :                                     ZIP '                COUNW :
a
        .M i
           ami
             ,Flori
                  da
         NAX Y M ENCY
                                                       :3130                  Mi
                                                                               ami-Dade                            oxo.lipg
            M iami-DadeClerkofCourts                                                 cx .- -                       C.od.Cœe
            NAME OF OFFICE œ POSITI
                                  O N HELD OR K UGHT :                                         . x
            Cl
             erkofCi
                   rcui
                      tandCoqn Courts                                             ..   .a
                                                                                                         YU eR..c-
            CHEJK I
                  FTHISISAFILING BYACaANDIDATE Q                                                                                       Su11JEFC'1'o
                                                                                                                                                '




                                                                           M RT A - NET W ORTH
            Pla
            kbl-
               O enfm
                    ter- value d yœ r* - dhal ofDu e er31,2011,orarroreculentdate.INœ :Nete
                                                                                         i
                                                                                         sxtcal* atedbysubeaYrv y- >
                                                                       .
                           m y- -       -- .soyea- - t- M- onsœ page31
                            .
                                      Mynetworthasof    Decem'ber31    . 20 11 was$ 1,567,7V .*         .




                                                                             PART B - AO ETS
         Hous- kia pan oPERX XAUSFFEG'TS:
    '        H--e œ *ri
             #*      g-n%-
                         e*-'>
                             =- '*'u'=@;
                                  :-   y-
                                        *ufe>a i
                                               nalumpsum #tY re gf+ evaœ ex* $41,* .% e      krl
                                                                                               ue anyoft- *l
                                                                                                           e .
             * - Iw '''-R> :ae e o for- onal- ofstamo,gun:,afi numo tt Rems;ade :* '-=-'=mdpe tae Km> Y s:dot% ;
                                                                   .


            'T* e rw atevalœ ofrw M- holdg- and-                       '.-    (rf- '
                                                                                   - dabove)* $ 175,000.*
         Assm INDM OVALKYVAL:EDATO< R :1,- :
*                   D>M 'R1F= OF *- (*- * M de n1*- <M '- ln-                                        '''''-   4)                 VALQE OFAO ET
        V curityInvestmentAtcoonts(See1AttathedUst)                                                                                   47788
                                                                                                                                        ,
        IRA Deferred Com ensation Actounts                                                                                        265 0*
        PersonalResidence                                                                                                        1 5* ,%
                                                                                                                                  ,
                                                                                                                                 1,812.788


                                                 PART C - LIABILITIES
        1IAAIkm O IN Er F** DF$:.
                                + (œ I* *œ - onpao 4j:
                                N-   ANDADM R Q X - DIM                                                                        AO UNTOF UABILITY
     W ells Fargo M ortgage                                                                                                        315
                                                                                                                                         ,000
     M iscellaneousCreditCards                          .                                                                               5=
     BankofAme   erica                                                                                                                1X ,=
                                                                                                                                   420 M
        JG G AND SM M L Y BILO / N0T REO RTED M OW :
                    MA- ANDADM G OF REDO R                                                                                     AO INTOF LIABM W



        .           .                                  %
        ce,- .-,- .. .-              ,.a a a.. *o :..a= (,,. ,.c       (co- nu- ..--..----...)                                                eAoE,
       Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 55 of 165



                                   %               PART p - INCOM E
 YœnI
 O  rMy
     - e* ER-(1A)'
                 0leaf
                     =
                     ate*m - mae oae
                                  fyour2011federal1
                                                  ----laxretumrind> a1M Y.AeAedue .andat1ad- 1.O (2)> .e m so
 ofPA D,- 1- .                        tmtofinco- e ex---=-41#A .i  e udiw e Y afysx o ofi
                                                                                        > , W * % - œn/iker

 Q      l-â--*to* am of> O112-=--1j-           taxe m afk a11m '
                                                               :,**e    l1- . ae at
                                                                                  lch- nts.
     IKwu-=--nth1 * e gWe am ofyœ r2011taxretumq> *                 notce pKtet- re ale rofPadD.1
 PRI
   -   O UR/O IFINCY E(- l ' .''- on- > 5):
     HAHE OF SOURCE OF I
                       NCOME EXCEEDING $1,%                     ADDRESS OFK URCE OF I
                                                                                    NCOME                                 AMOUNT
            M iam i-Dade Clerk'sOffice                                   M iam i, Florida                                171 413.06
            .                                            *
                  SocialSecurity                        .                M iam i,Florida                                  26 986.*



SECONDARYK URCO OFINCR E (Majorcust- fs,di
                                         ents.ett.,ofbœi--'---*               byrepor:ngN fs* -seeIns-Hi
                                                                                                       - œ ;& 5):
            NAME OF               K'***E OF MY oR SOURCES                     ADDRESS                             PRINCIPALBU/NESS
        BUSINESS ENMTY               OF BUSINED 'INCOME                      OF SOURGE                            ACTIW W OF SOURCE


 *




                          PAk'
                             l'E - INTEREm IN SPECIFIED BUSINESSESIl-truee ns@n pmge51
    '                            BUSINESS ENTITY # 1                   BUBINESS ENTIW # 2                        BUSIN   ENTITY# 3
uaue og


PRINCIPAL R KqINESS
POSm ON HEtD
I-     K RE. THAN A 5%
NATURE OFM Y

        IFm    OFPARTSATHROUGH EARECONTINUEDONASEPARATESHEEX PLEASECHECK HKRE Q

                      OATH                                   STAR oFFtomDA
                                                             coum o:
                                                                                           *           e-. x                  -



1,teN neœ n- ap- oatte                                       Sk
                                                              emto(oramrY aesubKnœ WA rYMKZY                              deof
e i
  nnlY of*W * .* 8>         * 4e œ'aërma:on                                                                                       @
ae O ythatte i
             e c e ndi--*---=onW $form
                     strte.aM a te':                                                    20FJJ by                 X                    .
                                                                                    ,
lY anya- Ae       Y oi                                                          >
m? com#ete.                        %
                                                             (S>       ofN          0-sta* ofF* al

                                          *                            //                          - m
                                                             (PKnt,T> ,e StampCommle ---MNa> ofNotal PuNicl
YOATURKOF                * o GLORQANGDATE                    Personal:Kn-      X            OR Aeuœ Ide œon
                                                             Ty> ofl
                                                                   dentl
                                                                       scae G* m-
                                                    .
FILING INSYRUQTIOMS f@rwh*nand wher*to fIl@ thll form ar@ I@eat@datth@top ofpag@ 3.                .   f:p* ..
                                                                                                            >o- .>
I
N/TRUCTION/*f1wb@mu*tfIl@thllflrm*ndh@wt@
ovseReoRMs#oum.yn..dtoll.araa.scrlh.aon fIlIltou'b@glnonpag@3,
                                                     .                                             .
                                                                                                   .
                                                                                                      -..
                                                                                               j:é:jX/@Jx
                                                                                                        '
                                                                                                        a My----..-.#aj.
                                                                                                           > e u.- 4.a
                                                     p.g.:.                                    J.J.:isr ----'> - - ,.----
C.
 EFœ M6-=** '*-    1,*12 Re * RA :
                                 M.8*2(1)
                                        ,FAC                                                                                      PAX 2
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 56 of 165




                                  AU ACHED LIST (FORM 6-2011)


  STOCKS.BONDS. M UTUALFUNDS. M ONEY M ARKET
                                                                VALUE
                                                                  -


        DPRS
                                                                498.*
        BALLARD POW ER SYSTEM S
                                                                324.*
        W ALGREEN
                                                         $ 33460-00
        BANK DEPOSIT PROGRAM S
                                                         S 13.906.00
                                           TOTAL         $ 47,788.00




                       1




June 29,2012



                       1
                       Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 57 of 165
Filing # 143079243 E-Filed 02/01/2022 03:42:18 PM
                                                                                                                                                                      ..
                                                                                                                                                                           **   '   j?# :'   2*
                                                                                                                                                                                             ,
                                                                                                                                                                                                  ;'-
                                                                                                                                                                                             .


                                                                                                                                                                      g)
                                                                                                                                                                       ;;!z),.t
                                                                                                                                                                              / (,
                                                                                                                                                                                 zk
                                                                                                                                                                                  )z.
                                                                                                                                                                                    /



                                                                                                   -                 .                                   *'y+ + 'y
                                                                                                                                                          ,



                                                                                       %                                                      '

                                                                                       * @o                          y
                                                                                                                     . . ,. y
                                                                                                                            .                     Eo   plqa pyjg.
     >>.. .
          ..
           .-          ....
                          --..... .
                                  ,- ..A.. ....... ..w...... u,       ''          '
                                                                                . .L
                                                                                               F)
                                                                                                T*
                                                                                                '.- . *:
                                                                                                       '                 . 1
                                                                                                                           .. U           ..
                                                                                                                                          '
                                                                      '
          '                          .        :                            .'' . .'

     #oye4)jy>,
              ,,
               jjoy
                  j
                  :uzy,
                      yg                                                                       t.
                                                                                               >'y.-..-
                                                                                                      *.'
                                                                                                        +
                                                                                                        v
                                                                                                        .-x
                                                                                                         j'
                                                                                                          ---.
                                                                                                             -'
                                                                                                              .
                                                                                                              -e-
                                                                                                                wws
                                                                                                                  '''
                                                                                                                    -
                                                                                                                    .-
                                                                                                                     .
                                                                                                                     '
                                                                                                                     -''
                                                                                                                       ,
                                                                                                                       ''
                                                                                                                        -
                                                                                                                        y> >
                                                                                                                           o-y
                                                                                                                            ')
?.   fp pcàsu >/
     '.
               .,axJVzs ,.
              UM
               .
                   '     j
                         t
                         ..:/5                                    .
                                                                                               xxw-4/***r-w*w'. sx
                                                                                               -                 .oe cw -u aoc
                                                                                                                            ...-...j
#
J    jG /, 1'
            ,
            )o
             mr
             . p#,
                c p                                                                            - - - .
                                                                                                         G
                                                                                                         - -
                                                                                                           , - * xg e,
                                                                                                                     t1C-$- -*#>k+
                                                                                                                                 x't

                                                                                               *-                        -                ,- .- - s-


                                                                                               --  #*- >'-                                      w-   v-
                                                                                               e *     -                                      > - 4*- *


                                                                                               *> -                               -       -        v - xw 'v .-
                                                                                               O               FO                 .
                                                                                               *- - *-                        -       + *> > -          *-    -

                                                                                               *

                                                                                   '
                                                                                               W Y reN è - - *                            G * '* r> '
                                                                                                                                                    < * *lX#
                                                                                               f*                <         -          -           * u& * e
                                                                                                                     '   ':
                                                                                                                          ''1
                                                                                                                            ''
                                                                                                                             $'
                                                                                                .... . '   :.   ..

                                                                                               i4- e-     * *a -   *- :# *- *C+>A
                                                                                               -     - - > **- - .
                                                                                                                 **> #- *-   -
                                                                                       %       > > :- *-*w> * *- >     -   v


                                                                                               @                                                              .- .;
                                                                                               * e -*' m,* e         -* <




                                                                                           %
     Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 58 of 165
                                                                                                                                                                                       ta
                                                                                                                                                                                        ..
                                                                                                                                                                                         a'
                                                                                                                                                                                         ' a ja

                           4.
                                                            1a G                ,
                                                                                e w>                  --                1- > e              *f.
                                                                                                                                              M>                             AX
      C4* ,F*      .
                                       *). .
                                                 *  .,
                                                     z..'          C >      :
                                                                            .
                                               j% < A        y'y,
                                                                + ,pAkn'àyà
                                                                         q rk
                                                                            Kgprr
                                                                                '7fnH
                                                                                    , Fpm 1ACC .(R'pING D
                                           YW
                                           W,':,
                                           '   .o r,;,j,; L
                                                          k.,,t.g ,
                                                                  u
                                                                  .juy
                                                                     .;,
                                                                       .
                                                                       ysoy.
                                                                           p,y ,
                                                                               sa
                                                                               y,
                                                                                yj w.aw vo
                                                                                         , ,
                                                                                           y
                                                                                           ,. 44 yauksejoy
                                           >, ,W
                                               %'t'Yœ'é*E!:
                                               )
                                                 '
                                                          *FX
                                                          s#r
                                                          E .
                                                            ,o,.,
                                                                fL
                                                               .>2i
                                                                  :'
                                                                   >, oy>  .
                                                                                :/pg ,>;    ,.
                                                                                             à,ùk
                                                                                                ?l
                                                                                                 jbA

         1e ;
            e ,
              >                                g
                                               #(>              #
                                                                <              4%
                                                                                ' ; e e th otxwfue e eee e e cllkve
     .   -                  .e             :
                                           e (
                                             o              p>            > k
                           <.              > ,#e ;-                       )e       yhr*           *           *:
                                                                                                               A> W+> ,ee Q*- e                                                          è*
         * < 4< # # * W                                         * *T*              '
                            t              n4i
                                             -                  -              wae -              N- e M-                   k - z- pe lqe e e
             '                     r
                                   -           Y .W                            'k * #e .  '


                             >'
                                                                                                  MIAA DADE C*                      Fj.. z w a                                                         .   oç
                            '-             eA%
                                            ëv ;- !
                                                  # . ;          .         m'* '
                                                                           **          . .m                                     ,
                                                                                                  K't
                                                                                                  '
                                                                                                  ij1                                   .
                                                                     ;j(1àlt,
                                                                            .             *
                                                                                              .       1       *z                        .

                                                                       %                                  .   t)h
                                                                                                              .
                                                                                                                lq,-
                                                                                                                   )-j/A
                                                                                                                    i
                                                                                                                   ..  (I'
                                                                                                                        .   y .ft


                                   +   F'
                                        Yrt.1'
                                             .3'
                                               .:''                                           9, !
                                                                                                 : W                        .       '
                                                                                              *. !*
                                                                                                  .'
                                                                                                   ,C
                                                                                                    .w ..
         ,;                                    <:
           :t q.u.
                           . . -
                       . j..
                 ,. ..u.ra.
                                     j
                          ;'.uu..',.,..
                                       j.
                                       .

                                      1..
                                         ,
                                         jjj)
                                         . .j
                                            4.
                                             y,;
                                               .' '..,..
                                                   .. .
                                                       jg
                                                        ,t
                                                         .)
                                                          k-,
                                                            .
         Pvvt> zP,J#.                                       k
         T- U i..''.
             .'.       .
                                        '3m L.7xD'1': 4
         A/                        *                        *          ua
         Y                 t#v




                                                                                                                                                  q .w+% W vyy t
                                                                                                                                                  *..y.*.           ut;. .. r:
                                                                                                                                                                                          rz:
                                                                                                                                             /#
                                                                                                                                             â
                                                                                                                                             E                                    .
                                                                                                                                                                                                x,j
                                                                                                                                                                                                j
                                                                                                                                                                                                (
                                                                                                                                                                                                ;i
                                                                                                                                                                                                 r
                                                                                                                                                                                                 j.
                                                                                                                                                                                                 l:
                                                                                                                                                                                                  jq
                                                                                                                                                                                                   .
                                                                                                                                             ..
                                                                                                                                              ,.                                               y.d,u.,j
                                                                                                                                                                                                -;
                                                                                                                                                                                                ,     i
                                                                                                                                                                                                      .,
                                                                                                                                                                                                      !
                                                                                                                                                                                                      ,
                                                                                                                                                                                                      ,
                                                                                                                                             W,
                                                                                                                                              .. .
                                                                                                                                                     *..k-ë
                                                                                                                                             Yoir@$lîk,'
                                                                                                                                                          +.,
                                                                                                                                                            w'..zz ..
                                                                                                                                                                 3.' .
                                                                                                                                                   ipjj.yV'
                                                                                                                                                         .    '.:
                                                                                                                                                                ..  pw.,       dks.'t'  A.! (  ;
                                                                                                                                                                                               '''.'
                                                                                                                                                                                               ,.
                                                                      1                                                                                  ..:
                                                                                                                                                           ...d
                                                                                                                                                              .!
                                                                                                                                                               .,
                                                                                                                                                                .;
                                                                                                                                                                 ;...4..,,,.,.s.:
                                                                                                                                                                                       .ç
                                                                                                                                                                                .....p..
                                                                                                                                                                                         .s
                                                                                                                                                                                         ),fF
                                                                                                                                                                                            k.!'




$27M /:
      % ** W N m 9*                                             1678E
                                                                    t
                                                                    *7* * 1:9 15:32:32 Pp 2Lof3 Miae adp * .FL
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 59 of 165




<
                                     Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 60 of 165
                                                                                                                                                                                                                                                                                                                                               .   .           z;              .:

                 .... :s:
                        jk. .r;. I s.. ..kT%p)kt:ï                                                   .'...1'A ''' '.r '
                                                                                                                      -''f
                                                                                                                         '''                                             ' ''t                  '




                                                                                                                                                                                                                                                                          e
                                                                                                                                                                                                                                                                          +m. - u-.,
                                                                                                                                                                                                                                                                                 r.
                                                                                                                                                                                                                                                                                       ..-                                                    z<
                                                                                                                                                                                                                                                                                                                                          ,$..,
                                                                                                                                                                                                                                                                                                                                          .)uo
                                                                                                                                                                                                                                                                                                                                                a :4g

                                                                                                                                                                                                                                                                                                        .                                  '
                                                                                                                                                                                                                                                                                                                                                 .                    ' ''                   '
                                                 .                                                                                                                                                                                                                                                                                                   .. . '''' . .'. ' .'..N7'
                                                                                                                                                                                                                                                                                                                                                   S;'
                                                                                                                                                                                                                                                                                                                                               .,..:                                              ''
                                                                                                                                                                                                                           ..''..

                                             11                                                                                                                                                        '5..'
                                                                                                                                                                                                           :
                                                                                                                                                                                                           '.'z
                                                                                                                                                                                                           E  '''
                                                                                                                                                                                                                -'
                                                                                                                                                                                                                 , .. '.'
                                                                                                                                                                                                                        .. .                                                                                        .
                                                                  ;               :     . %:
                                                                                           >                                  '
                                                                                                                              ,
                                                                                                                              ' :.                                                                               :       :     1
                                                                                                                                                                                                                               .'' $
                                                                                                                                                                                                                                   k
                                                                                                                                                                                                                                   ''i'.
                                                                                                                                                                                                                                       : .j :

                                                                                            ' .'
        .
                                             .
                                                             ,             . ,u,               ..
                                                                                                     t.
                                                                                                      -..,.,
                                                                                                      4    !)
                                                                                                            .'
                                                                                                             .                                                                                                                                                                                                                                             2$
                                                     .                           ..r                               .           ,v
                                                      .. .           . . .?
                                                                          ) .       ..'                                          ï''v '.h
                                             D W .'                                                       'W j
                                                                                                             ,.                             . '' S                                 ' ' ''                                       98
                                                                                                                                                                                                                                *                                                                       - .c-
                                             <<*
                                                                            & & $&                                                                                                                                                                                                                      p & o.u.
                                                                                                                                                                                                                                                                  '                                                                                                    '
        '              .'        '
                                                                 . .,
                                                                                 .               .              .         .
                                                                                                                       ,, .                 .   ,        .
                                                                                                                                                          .                 ..
                                                                                                                                                                                    .
                                                                                                                                                                                                        ..
                                                                                                                                                                                                                                                                                                                              .                    j;                           R.
                                             ,
                                             .w ....
                                                   jt
                                                    q'                .'.. f
                                                                           ...'.''' .    W
                                                                                        ..
                                                                              ,z ....$rF.
                                                                                        '
                                                                                               ., ':
                                                                                         v .:::$..
                                                                                                 ;Ilvc @..u....:
                                                                                                               ''.
                                                                                                                   . .
                                                                                                                 :'.;. '
                                                                                                                         s'u
                                                                                                                       .':.
                                                                                                                            .
                                                                                                                                                                                                            .. . ' .
                                                                                                                                                                                                                                                                                                                '
        . .. . ..                r ... ..    ''- ;.                   .   w..                                                 .                                                                                                        .
                                                                                                                               .        .           . .....      . .. ;. ' .;''
                                                                                                                                                                              ;'.:: '!..;>
                                                                                                                                                                                         ..
                                                                                                                                                                                          >:'5ff'
                                                                                                                                                                                                frï''' ' Jf!;'
                                                                                                                                                                                                             !'
                                                                                                                                                                                                              ''Yf&J:
                                                                                                                                                                                                                    %(.
                                                                                                                                                                                                                      '                      '7:''           !'''
        .
        .                                .                   .
                                                                      .                     . . ..         .   .. . .. . .
                                                                                                                                 A -..,.. ...'
                                                                                                                                            - --a..
                                                                                                                                                                                            ;           :                                                     .                       ..- .....-    .               ' .'w
                                                                                                                                                                                                                                                                                                                        '.--' .*                               '           '                  '
                                           ,,                                           r s! F ;;  a .4 y ...           .yy & x. ?
                                                                                                                                 a.. j. %                                                                                                                                 %                        WV e                                    @                                   W
                                         - - s
                                         .
                                         .      *                                     .
                                                                                      ,
                                                                                      ..* v. . .
                                                                                      #                       ,, , . .                   .
.        $k                                  .
                                              '
                                              *,                                        r. .    ..
                                                                                                   '*..k.. .-
                                                                                                            ' ,e '
                                                                                                              ..
                                                                                                                              ** '     l.                                                                                                                     .
                                                                                                                                                                                                                                                                                              wv.                         )
                                                                                                                                                                                                                                                                                                                          .       .                        4


                       .!
                                                             'k'-.L':.4g.,.F4.:yF)/$2
                                             2j.,: .. . .j(. .!k
                                                                                       'i
                                                                                       '  -'-
                                                                                          '
                                                                                             .
                                                                                        -'''-$
                                                                                        '    '
                                                                                             ,éj.
                                                                                             '
                                                                                    ... .-. ..  ,.-.
                                                                                                   ,?.:,
                                                                                                       -ï
                                                                                                        ,.
                                                                                                              .
                                                                                                          -.r.-
                                                                                                         ,.
                                                                                                          .   .i-
                                                                                                               ..
                                                                                                                 '
                                                                                                                 --
                                                                                                                j3:-
                                                                                                                 à..:y
                                                                                                                   -
                                                                                                                   , :..
                                                                                                                       j:
                                                                                                                        .
                                                                                                                        .- k
                                                                                                                          :?
                                                                                                                         .6  -.'.-t
                                                                                                                            -?
                                                                                                                            ?
                                                                                                                           .:     k
                                                                                                                                  .g
                                                                                                                                   ir,:
                                                                                                                                      ;
                                                                                                                                      ,,,-?
                                                                                                                                        ( :..?
                                                                                                                                             tE .
                                                                                                                                                W
                                                                                                                                              .--?-
                                                                                                                                                  ,.
                                                                                                                                                   g..
                                                                                                                                                     ,. ..
                                                                                                                                                         .j
                                                                                                                                                          -.'.
                                                                                                                                                          .
                                                                                                                                                                         'k.
                                                                                                                                                             .. . . .. . ..
                                                                                                                                                                           3
                                                                                                                                                                           6
                                                                                                                                                                           .
                                                                                                                                                                           1
                                                                                                                                                                           -
                                                                                                                                                                           31
                                                                                                                                                                            3
                                                                                                                                                                            1.
                                                                                                                                                       ., '''' '' -' - ''''''
                                                                                                                                                      '.
                                                                                                                                                       -'                    33
                                                                                                                                                                              ?
                                                                                                                                                                              '
                                                                                                                                                                              /.1
                                                                                                                                                                              34
                                                                                                                                                                              6
                                                                                                                                                                            . ..
                                                                                                                                                                                ,.p: '
                                                                                                                                                                                     gj x
                                                                                                                                                                                     ' ''''
                                                                                                                                                                                    .. .
                                                                                                                                                                                                  '    .
                                                                                                                                                                                            ......... .. .
                                                                                                                                                                                        . .-.
                                                                                                                                                                                                                                . ''''
                                                                                                                                                                                                                                     .-
                                                                                                                                                                                                                              . .....:..
                                                                                                                                                                                                                                                     ' ''' '-
                                                                                                                                                                                                                                                  . . ..   .-
                                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                                                  . y4         '
                                                                                                                                                                                                                                                                               .      .
                                                                                                                                                                                                                                                                                                        '             ç* ' .u
                                                                                                                                                                                                                                                                                                                          '' ' '
                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                           ''''    ''
                                                                                                                                                                                                                                                                                                                                                    '              '   '

                        !.
                         r;
                          '.E.  .:
                                 .,....
                                                ?.
                                                 '..:
                                                    :p.-              ... ..:
                                                                            l lLJt r..
                                                                                     I
                                                                                     E
                                                                                     .'''
                                                                                        :'                                             ..     .. .
                                                                                                                 .           .          -     ,                           .
        ,.. .. ......::.
                      .:. .
                           ..
                           $j  I:
                             .kj..
                                    :
                                    ..
                                    : :..
                                        '.'..'.
                                              ;<
                                               '.                            .j  lt
                                                                                  .l
                                                                                '9.
                                                                                  9. ..  p       .      :      ;:
                                                                                                                '
                                                                                      é %:.ût.'.w.4y.)ë1''...!g;E.
                                                                                         qak fr .:               : !'''' g
                                                                                                                         . .           .




                                                                                               .'...;.. ...F
                                                                                               '        .
              .            .:.
                            gb)#
                       .'u. .  /
                               .           .''..+..2l..
                                                    l''..  ...
                                                        .:'.
                                                              '
                                                             .. . '' J...:A)A....kt.''.'è.''..û'           *..                                                                                  .'                                                                                                          ''        .
                                                                                                                                                                                                                                                                                                    . . .. .. . .. ..., '                                                                         .. .
                                                                                                                                                                                                                                                        M .M.. ,                             ..                                                        .. . ..                                             .

                                                                                                                                                                                   d **., G'
                                                                                                                                                                                          .* e-
                                                                                                                                                                                              'W. .t* .
        .                                                                                                                                                                                                                                                                                                                                                              . .
         .                .    .        .. . , . ,
                                                        '                        s....,, . .. ., . .. . .. *.
                                                                                 e
                                                                                 .
                                                     . . ,,... ...... ..... ..,...
                                                                                                     .         . .
                                                                                                                 .                      -.. *                                                                        .                       .
                                                                                                                                                                                                                                                            G         '*t
                                                                                                                                                                                                                                                                               .. .
                                                                                                                                                                                                                                                                                              '.    .     . ,          .
                                                                                                                                                                                                                                                                                                                                                       W                        . +
                                                                                                                                                                                                                                                                                                                                                                                    .


                           ' 4.r q :r::..:i.ë .'x$                                 :                .
                                                      ,qët!'.;... ',.'> '!
                                                                         '(.''%':
                                                                                :'' >  '. : .!': k''::
                                                                                                 -    ' '                          e .                            '
                                                                                                                                                                  -                              '      .'
                                s p'; ykI....' 'i ...
                           '.:; ;                            s:$' l'''
                                                                     r ' '' ''
                                                                                            >.... .,
                                                                                                   ,xsr.<t,...'
                                                                                                              .... w.......,.                                                                                . , . e $, j
                                                                                                                                                                                                                        /r.'
                                                                                                                                                                                                                           ..,
                                                                                                                                                                                                                             ! 4ry
                                                                                                                                                                                                                                 )).j(
                                                                                                                                                                                                                                 '   L'
                                                                                                                                                                                                                                      ;
                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                      6
                                                                                                                                                                                                                                      .'.n
                                                                                                                                                                                                                                      >  îej
                                                                                                                                                                                                                                           (.
                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                            k.
                                                                                                                                                                                                                                             '.
    '                                        '                                                         '.
                  ......'..' . '..?u.'
                                     ; ...-.                     .        e
                                                                      . ., . -          e.. ;                                                                                                                                )           .
                                                                                                                                                                                                                                         e
.' . '
                       ! Ji/l.tl ''''                                                                                                                                                                                        '
                    jKlt?t.'.kk .)...
                                    ',')
                                       h'..1.$hJt'.,..'....
                     .
             ' f'.'
                  .i#         6k)
    ,   . /(.:%;.:/i.
                    '...40%.'.''
                               :3;ill.'.
                                       -..'.                                                                    . ;'
                                                                                                                   ..
                                                                                                                   E
    ''
     4 .                                                             . . px .. W
                                                                               . m.
                                                                               '  J,.:
                                                                                  '. .. .;,
                                                                                          ...g... ': . ' ..W                                                                                                       . . v,
                                                                                                                                                                                                                        - .                                            . @4
                                                                                                                                                                                                                                                                          W                                                                                            '
                                                                                                                                                                                                                                                                                                                                                                       . .W                      ,.
             .         4 ''1ï.. ..,:':' ,'..                     ;. .      ,:  .                                                                                                                                                                                                                                                                                                                   .
                 . ...                   .Ayq .81. .                                                                     .. . . . .                       .            v                  *% uy             .         .       k.                  '                                                                                                    .               rN .                            .
        . ... .
                   *''''.'.J
            : ' '''2
        ''' 1              '''iï
                               't
               ,,. . .,.. .......
                                  .:'
                                ':)
                                  '
                                 ..
                                  1!
                                  ,
                                    ' '' ''
                                   11
                                    '.
                                     1:  . ;.
                                         ,
                                       ,.. ..
                                    .. .
                                                     ,'':
                                                     '
                                              :.,.... '  j.. '....,.
                                                        j1
                                                       : ..,è
                                                                                                            .. .
                                                                                                           ..
                                                                                                             , . .,
                                                                                                                  .
                                                                                                                                    '  '' ..'
                                                                                                                                   , . .g.:..            .
                                                                                                                                                                     '
                                                                                                                                                                   '''
                                                                                                                                                                     '
                                                                                                                                                          ,..,: .. .. ...
                                                                                                                                                         ,,  ,               .
                                                                                                                                                                               ,,
                                                                                                                                                                               ..j
                                                                                                                                                                                 ,j
                                                                                                                                                                                  ,4
                                                                                                                                                                                   jj
                                                                                                                                                                                    ,j
                                                                                                                                                                                     .,
                                                                                                                                                                                      .
                                                                                                                                                                                      ;         .,,.,.y,..
                                                                                                                                                                                                         ,       , : ,
                                                                                                                                                                                                                ,.
                                                                                                                                                                                                                         ..   !!
                                                                                                                                                                                                                               1j
                                                                                                                                                                                                                                i1!,
                                                                                                                                                                                                                                   ..'.
                                                                                                                                                                                                                                      :..,  . ..        :.
                                                                                                                                                                                                                                           ,.... ., ... .
                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                         jj
                                                                                                                                                                                                                                                                          .',
                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                          r
                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                       . .. ...
                                                                                                                                                                                                                                                                              '...'                              .                                 :
                                                                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                                                                                                   !; '
                                                                                                                                                                                                                                                                                                                                                      .....,
                                                                                                                                                                                                                                                                                                                                                           ..'
                                                                                                                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                                                                                              .',jj
                                                                                                                                                                                                                                                                                                                                                                  ;
                                                                                                                                                                                                                                                                                                                                                                  ..:
                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                    '
                 L..                 '                       .        . ..4 ,                    ,.' :'..' v'a.',.jj
                                                                                                                   .,
                                                                                                                    ;'                                   .'. ' '.
                                                                                                                                                                ,,'j
                                                                                                                                                                k                                .. .' .                            ...,
                                                                                                                                                                                                                                       4'
                                                                                                                                                                                                                                        4,...>                        .. . .'                 . .                   .             .. . , . ,
                                                                                                                                                                                                                                                                                                                                           . . ;
                                                                                                                                                                                                                                                                                                                                               e
                                                                                                                                                                                                                                                                                                                                               '
                                     #j J. ..'                                  '        . .5.              .. '2(                              . .7:.                                  '              d.'' 'n . . . .                                  ... . . .             ..e      . . . '.. '                            .                                .           !.           .         . .#
             . ....                  x


              ..
               <'(-r1,te
             .,.
             .         v l !. .' ,e
                                  ,                                                                                           ' ke
                                                                                                                                 ..i                                                                                                                                                                                '                                                  .                         -



                  '     .            ,.
                                     .                   .,  e..
                                                             '
                                                                                             , .!
                                                                                                .,                                 .
                                     '
                                                     ,
                                                       lv.<:
                                                              ; ' . t.
                                                                            '
                                                                                        ... j
                                                                                            k, '
                                                                                                      .
                                                                                                            y
                                                                                                          p.'...
                                                                                                                   .:     W.
                                                                                                                       .. j
                                                                                                                        j,j'.t..'.t''
                                                                                                                                    ,:.
                                                                                                                                      ',
                                                                                                                                        ,
                                                                                                                                        ..
                                                                                                                                        :
                                                                                                                                                y
                                                                                                                                                     :
                                                                                                                                            ''t ,'''-.'j . . .,. .'
                                                                                                                                         ' ',
                                                                                                                                                                         !C                 .
                                                                                                                                                                                                  S
                                                                                                                                                                                                . '.
                                                                                                                                                                                                  4.11k4' j'.
                                                                                                                                                                                                        .
                                                                                                                                                                                                              .)
                                                                                                                                                                                                               ,
                                                                                                                                                                                                               yu
                                                                                                                                                                                                                ,'.. . ,                         .
                                                                                                                                                                                                                                                       l.
                                                                                                                                                                                                                                                       ,      . '. .     .
                                                                                                                                                                                                                                                                                                                                                       w*.(qsy
                                                                                                                                                                                                                                                                                                                                                             . .
                                                                                                                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                                                                                                                               ;           .                       .
                                                                                                                                                                                                                                                                                                                                                                                            . # . ..           u
                            .'
                             ,       ;                .. .'>,'....    .

                  .
                   .
                             ..
                                         <
                             . ., ..w.. ..
                                                                 '.
                                                                     u. ..'
                                                                             '
                                                                                                 F'.
                                                                                                   ar
                                                                                                    ',
                                                                                                     ...,'
                                                                                                         .'
                                                                                                          ;j'... ..'v '.,)..                                                                                 .'
                                                                                                                                                                                                              ! 'e
                                                                                                                                                                                                                 .t'e                                   ....(,%                              k                                                     .. .'';
                                                                                                                                                                                                                                                                                                                                                         ..'
                                                                                                                                                                                                                                                                                                                                                           .                                      ..
                                                                                                                                                                                                                                                                                                                                                                                                   ''
                                                                                                                                                                                                                                                                                                                                                                                                    .'.
                                                                                                                                                                            .. ' u. .
                                                                                                                                                                                        $
                                                                                                                                                                                        j(
                                                                                                                                                                                         '' . '.,
                                                                                                                                                                                                '  .
                                                                                                                                                                                                   :'                             s..',';..'                        . .,.. , . ....    ,'','
                                                                                                                                                                                                                                                                                           ,......''' ,
                                                                                                                                                                                                                                                                                                      ..' .,,' ,
                                                                                                                                                                                                                                                                                                               '. .
                                                                                                                                                                                                                                                                                                                  ..; .j;
                                                                                                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                                                                                                        gj ... z
                                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                               mu
                                                                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                                                k.
                                                                                                                                                                                                                                                                                                                                 , '
                                                                                                                                                                                                                                                                                                                                   .
                                                                                                           .1),
                                                                                                              ...,
                                                                                                                 J''.
                                                                                                                    '.
                                                                                                                     '.'
                                                                                                                       q...'
                                                                                                                           ..:'
                                                                                                                              !j
                                                                                                                               .'
                                                                                                                                .''...., .'
                                                                   ' ' .'       :
                                                                                '                              ', '..
                                                                                                           ,' 6.                                                 .. .
                                                                                #j
                                                                                 j,ljj
                                                                                 ;   mj
                                                                                      r:f.
                                                                                         M.
                                                                                          1jkyyj
                                                                                               +k
                                                                                                .
                                                                                                ..''
                                                                                                   jt'jj                                                                                                                                                                           : '.. .
                                  '' '
                                     '           ''                     .'
        .'
          .
                       .         .. '
                                     . .                 '       .    .
                                                                         ..
                                                                          '                            , ..z                              ... , 1.
                                                                                                                                                 <..#+ ...                                      :.                               ,..             . .            . , ;.. . , . y   ,., y    .,           , . ,.     :.. >.
                                                                                                                                                                                                                                                                                                                  .,
                                                                                                                                                                                                                                                                                                                        .:.. ,.w '
                                                                                                                                                                                                                                                                                                                                 ,



                  .                                                   .                    # ,

                   i.                                                                                                                                                       .




              tt k                                       $-G '4* :
                                                                 1                                                                                                                               ,                   .-                                e j                                                                                                                                   p.            ,

e                                                                                                                                                            i
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 61 of 165

                                                                                                                                                                                                                                         ç))yj
                                                                                                                                                                                                                                             yj
                                                                                                                                                                                                                                              y

                                                                                                                                                    #ye j:ce +
                                                                                                                                                    '                                                        .                  1
                      f
                      *
                      '

                      *
                      '  -(
                          )
                          '                                                              1
                                                                                         l
                                                                                         j
                                                                                         I
                                                                                         t
                                                                                         '
                                                                                         (
                                                                                         .
                                                                                         1l
                                                                                          :
                                                                                          2
                                                                                          (j       .-t
                                                                                                     1
                                                                                                     I
                                                                                                     ;
                                                                                                     ::
                                                                                                      1
                                                                                                      I
                                                                                                      .
                                                                                                      (
                                                                                                      1!
                                                                                                      ;5
                                                                                                       E
                                                                                                       11
                                                                                                       24     '
                                                                                                              t                '1::1-
                      *                                                                    ii
                                                                                            )
                                                                                            l
                                                                                            $
                                                                                            :
                                                                                            -
                                                                                            1
                                                                                            !
                                                                                            E
                                                                                            'r
                                                                                             4
                                                                                             1
                                                                                             ;'
                                                                                              !
                                                                                              11
                                                                                               :
                                                                                               2
                                                                                               11
                                                                                                -
                                                                                                !
                                                                                                '
                                                                                                .
                                                                                                !
                                                                                                1
                                                                                                ;.
                                                                                                 ,
                                                                                                 1!
                                                                                                 '5
                                                                                                  2
                                                                                                  :
                                                                                                  .
                                                                                                  1
                                                                                                  !
                                                                                                  :
                                                                                                  ,           .'!
                                                                                                                1t
                                                                                                                 ::
                                                                                                                  2
                                                                                                                  11
                                                                                                                  5:
                                                                                                                   2
                                                                                                                   :
                                                                                                                   1.
                                                                                                                    t
                                                                                                                    1
                                                                                                                    :-
                                                                                                                     1
                                                                                                                     '
                                                                                                                     11
                                                                                                                      -:t
                                                                                                                        11
                                                                                                                         :.
                                                                                                                         W-..
                                                                                                                            11
                                                                                                                            @:
                                                                                                                             -
                                                                                                                             !
                                                                                                                             1-
                                                                                                                              ;
                                                                                                                              1
                                                                                                                              !i
                                                                                                                               j
                                                                                                                               p
                                                                                                                               i
                                                                                                                               4
                                                                                                                               !
                                                                                                                               I    :
                                                                                                                                    '
                                                                                                                                    l
                                                                                                                                    !
                                                                                                                                    I
                                                                                                                                    !
                                                                                                                                    i:
                                                                                                                                     '.
                                                                                                                                      :
                                                                                                                                      -
                                                                                                                                      11
                                                                                                                                       k
                                                                                                                                       -,1
                                                                                                                                         11
                                                                                                                                          !
                                                                                                                                          L j
                                                                                                                                            1
                                                                                                                                            !
                                                                                                                                            li
                                                                                                                                             I
                                                                                                                                             !
                                                                                                                                             E
                                                                                                                                             iI
                                                                                                                                              l
                                                                                                                                              ;
                                                                                                                                              i
                                                                                                                                              '
                                                                                                                                              -
                                                                                                                                              l
                                                                                                                                              .
                                                                                                                                              ,
                                                                                                                                              1-
                               '''''' '                                              E ''
                                                                                     C                      ''                                                                     '                                            -
                                                                                                        :
                                                                                                        p
                                                                                                        '
                                                                                                        I
                                                                                                        1
                                                                                                        !
                                                                                                        r
                                                                                                        'i!
                                                                                                         -IE
                                                                                                           !2
                                                                                                            l
                                                                                                            !
                                                                                                            1
                                                                                                            ;
                                                                                                            (
                                                                                                            I
                                                                                                            !
                                                                                                            1
                                                                                                            lr
                                                                                                             I
                                                                                                             ''
                                                                                                              !
                                                                                                              1
                                                                                                              l                            'i
                                                                                                                                            .
                                                     ''            -'                                                        ' .'
                      ..
                      -
                      .   !;-' '-:
                                ...
                                .    )
                                     :qj
                                     r
                                     . '
                                       d
                                         '. ...
                                   ,- ... ..-
                                  --        ., .-.-.        !(
                                                             ..-
                                                               t..:,.. ,1,1-
                                                                               -'
                                                                               ..
                                                                                              .             -               . ... .
                                                                                                                                    ..
                                                                                                                                       11 ',
                                                                                                                                          ,
                                                                                                                                          2         ..
                                                                                                                                                         .-
                                                                                                                                                          .
                                                                                                                                                          '            ..
                                                                                                                                                                         ,
                                                                                                                                                                                                      '-.
                                                                                                                                                                                                      . ' . .                   .



                                                  g        :            :+:
                           '   , , ..
                               .            1 gy.
                                                '..                     ..;      . ).
                                                                                     y
                                                                                    . . @:..>jxuxyxay
                                                                                                    jyp-a
                                                                                                        j
                                                                                                        -opv #w
                                                                                                          ..  .,-. j
                                                                                                                 ,.. j..,j
                                                                                                                   ...    %....x...x.vj.g.....j
                                                                                                                         .=          - .. . .   %..--v. % .$
                                                                                                                                              -,-             ...


                                                               ? ..                 .                    '                                                                                   rho
                               )
                               E(
                                :'i'
                                   t'
                                    .
                                    '.r;'
                                        L
                                        r..
                                          - . 7t)..L >                                                                                                                                      e0 .

                           m m papypm zde         .
                                                                r ' b ZVeG
                                                                         .
                                                                               I#                                                               '


                           <.''j..'''j. ..'.''.)'....
                               ', .    @f      r ,t'
                                                  ., ,
                                                      nlet ,@nd . ....
                                                                  ..
                                                                     ' ' .'
                                                                     ' . t$** *:                                                                                                                                    '




                           % sk qcjs to indv duatstX SZPSSPS,
                           gW: #m
                               ! + , 1 e ;.tjesjand:oje #> c uj
                           *;           L.2..'.
                                        .                      '                                 .
                                                                                                                 . jj
                                                                                                                    $
                                                                                                                    1jjj%
                                                                                                                    j,  ,
                                                                                                                        -.
                                                                                                                         -.,
                                                                                                                           ;.,
                                                                                                                             ..                                     ,. ....-..,                                  . . ..
              . 5.
                      ..   )
                           j
                           &''''
                               .''
                                 -:t
                                   .'
                                    ;
                                    é.
                                     ''
                                      j
                                      *>....
                                           t
                                           j
                                           g
                                           ;
                                           r
                                           gé.
                                             ,.
                                             .jj
                                               y
                                               !1
                                               .j
                                                g ..
                                                o  (
                                                   :
                                                   y
                                                   j
                                                   .
                                                   !
                                                   1yjy.
                                                    j
                                                    4  y
                                                       yr
                                                        jy
                                                         t
                                                         V'y j:(.'j.).                               t
                                                                                                     ),
                                                                                                      .
                                                                                                      y..
                                                                                                        y
                                                                                                        .k
                                                                                                         ..
                                                                                                          y.. ,.d           .
                                                                                                                                ..
                                                                                                                                     ..
                                                                                                                                              . .
                                                                                                                                              . ,                   ., ,,         ,y                         .       .,,,


                          .<.x. j                      . 114            '1ir'' 41t    .' i/ :.'. . .      . '.
                         'à (
                            'r7t',;'
                                .               jy .,,,.m  ., ,
                                                           '            .,.,  .yn.t%. M', '',.' .
                                                                                          l       st t'
                                                                                                  '                                                                                                    ...

                                  >.                                                                                                                                                                        ' . ''' .:
                               .k
                                '''
                                  f2:g
                                  4  s .                    ' p                ... ' .
                                                                               '              '' '               .              .'        .         .    rdé .                               '.                      ''
                                -' . .. s'                                                    ' . ,''                                                                       ' ' . ' ''
                       .;q'y!!2î:.-i--1.;:li'î'--' -.jr. '.-iIE!.11I)q
                                .. .
                                               b'
                                     ....-.. - -
                                                    .
                                                -.. .                1
                                                                     I
                                                                     r
                                                                     '!
                                                                      1
                                                                      I
                                                                      1
                                                                      k1
                                                                       I
                                                                       :;
                                                                        i
                                                                        :
                                                                        I
                                                                        )      ...... I
                                                                                      1
                                                                                      r'1
                                                                                        '1
                                                                                         :
                                                                                         2
                                                                                         :
                                                                                         .
                                                                                         11
                                                                                          4
                                                                                          :
                                                                                          1
                                                                                    , -.. .
                                                                                          ,!
                                                                                           4
                                                                                           1'
                                                                                            :
                                                                                            )
                                                                                            14
                                                                                             .. ..
                                                                                                         -
                                                                                                         .
                                                                                                         3;
                                                                                                          3.
                                                                                                           6
                                                                                                           3
                                                                                                           -1
                                                                                                            t
                                                                                                            -
                                                                                                            r
                                                                                                            :
                                                                                                            .
                                                                                                            i
                                                                                                            kp
                                                                                                             l
                                                                                                             i
                                                                                                             .
                                                                                                             ë
                                                                                                             r
                                                                                                             gj-
                                                                                                               1
                                                                                                               '
                                                                                                               111
                                                                                                               . ;-
                                                                                                                 k
                                                                                                                 .
                                                                                                              '. .
                                                                                                                  ..
                                                                                                                  ','
                                                                                                                    ?
                                                                                                                    .
                                                                                                                    '  . .
                                                                                                         . . ., .. . . -
                                                                                                                          :
                                                                                                                          '
                                                                                                                        .. .
                                                                                                                                                         ' .
                                                                                                                                                         .
                                                                                                                                                         .. .                .t .. ..--
                                                                                                                                                                                                      .-'
                                                                                                                                                                                                       ....-
                                                                                                                                                                                                      , .



                        , .. ee,                            ss, T% .co                       ny
                                                                                              ' alM ''               ''' ',
                       fM
                        wkà       ,-,--,
                                   r-   .      7''t.
                                                   .-t
                                                     ..
                                                      -.-'')'e       # n:
                                                                       M.* <   ,e it>.r.d tr,.
                                                                                                 - act
                                                                                                 (        .1*' .U.S.
                       ;)
                        j
                        pxV z e V <gg jjgyw t$s yw ugéV W; gt
                        y
                   y% , uoq, +.. pnal)0.arter,originally Charter
                      ,


                 , o   j,grynte fn 1:6:followe thepase of
             ,

                 '-
                  '                 y
                       'jyè 'yjg.,         .Earjjprcharter:r
                                                           hake
                        e#A. èd),
                                ).
                                 a:bane Wereclpsedorac4uired,
                      . ua k% nktsx'dha
                                      ' rternum berfrom #24 to
                  r:
                   *    q
            ('). . ( ' j .             .
                      :))c Thepldeltl(h41,
                      :                  *h# 4* rt*r,Mrigi'
                                                          nRlly
                           ',        . .                  t. '. .                        .
                                                                                                     ..
                                                                                                      ::
                                                                                                       .,       .
                                                                  &                     .

                           '
                                            '-
                                             '                                                                                                                                                                   a .        .       x.
                                                              .-
                                                               .'
                                                                -)t:..-'-;8.-r.. m
                                                                '                 -.
                                                                                   ''

                                                                             p4s# -. ..:
                                                                                      . 11
                                                                                         .
                                                                                         .1
                                                                                          :
                                                                                          1
                                                                                          .
                                                                                          11
                                                                                           -:
                                                                                            1.
                                                                                             I
                                                                                             *d
                                                                                              '>.
                                                                                                ,
                                                                                                '
                                                                                                .'
                                                                                                 ..:
                                                                                                   .'''..                                                                                   -.,
                                                                                                                                                                                              F.,
                                                                                                                                                                                                1
                                                                                                                                                                                                ''
                                                                                                                                                                                                 k
                                                                                                                                                                                                 'j
                                                                                                                                                                                                  .!
                                                                                                                                                                                                   I
                                                                                                                                                                                                   i
                                                                                                                                                                                                   k
                                                                                                                                                                                                   'I
                                                                                                                                                                                                    ..
                                                                                                                                                                                                     r
                                                                                                                                                                                                     ,
                                                                                                                                                                                                     l
                                                                                                                                                                                                     't
                                                                                                                                                                                                      ''
                                                                                                                                                                                                       .l
                                                                                                                                                                                                        'rl
                                                                                                                                                                                                          '1
                                                                                                                                                                                                           -:
                                                                                                                                                                                                            d
                                                                                                                                                                                                            1
                                                                                                                                                                                                            :
                                                                                                                                                                                                            '
                                                                                                                                                                                                            ..
                                                                                                                                                                                                             :
                                                                                                                                                                                                             ;
                                                                                                                                                                                                             :
                                                                                                                                                                                                             '1
                                                                                                                                                                                                              .-,
                                                                                                                                                                                                                '
                                                                                                                                                                                                                .
                                                                                                                                                                                                                1k
                                                                                                                                                                                                                 )1,
                                                                                                                                                                                                                   11
                                                                                                                                                                                                                    :
                           ù
                           'i
                            'r
                             z
                             E
                             -.
                              i
                              j
                              .r
                               f.?
                                 b-
                                  ,,g
                                    &-ï
                                      ',
                                      .'
                                         ''
                                         :
                                       1.:..;
                                            'r
                                             .
                                             ..
                                               ),.:
                                               .  .-.--....
                                              s.('..<:'
                                                      .r
                                                            -.s
                                                       x..'.i:
                                                              ë
                                                             .;1
                                                               h.'
                                                                 r' ''.
                                                                                   . .
                                                                                        @/:   ''
                                                                                               .                                                                                            s     '''       --
                                                                                                                                                                                                  '
                                                            :.
                                                             ,'                  .                   .
                                    ,             +        .       ..
                                                                    .                   ,
                                                                                        '                                   .' o
                                    !                 '           <:
                                                                       E
                                                                       :W r Z jjSjm,                                                                    FW 6U

                                                                                                                    UUS.
                                                                                                                       .**--& &
                                                                                       ç'            ' '
                                                                        :
                                                                        ' j:.;,.'.':'':?
                                                                        . '
                                                                          .      ..
                                                                                 '
                                                                                       t
                                                                                                 .     .
                                                                                                                    ,
                                                                                                                        .       .... .
                                                                                                                                j
                                                                                                                                       :. : ,
                                                                                                                                               r        .:.
                                                                                                                                                               .
                                                                                                                                                                ' . .. ,               ..   àà
                                                                                                                                                                                             jj6
                                                                                                                                                                                            .j
                                                                                                                                                                                            r
                                                                                                                                                                                               4
                                                                                                                                                                                               à
                                                                                                                                                                                               6.
                                                                                                                                                                                                66k
                                                                                                                                                                                                ' ï. ,
                                                                       ':
                                                                        .
                                                                               , ., y
                                                                                    .         , 2 ë
                                                                                                                                 '                                                          g :.
                                    *qki*' .                   r.q .:                                                                                    1jjr11.
                                                                                                                                                               :.!k 1'
                                                                                                                                                                     11j4U
                                                                                                                                                                         )ao
                                                                                                                                                                          . ltj,.
 @
                 Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023
                                                                               'f-''.h ,,. Page 62 of 165                                                                                                .'
                                                                                                                                                                                                     , -.

                                                                                                                                                                               E
                                                                                                                                                                               L
                                                                                                                                                                               *7&:--




'       ..
    .

X                *.' y
        '.'
          1 .; '. '
    .

    ;
    ,,
     ,. . .

                                                                                                                                                              t
                                                                                                                                                              l
                                                            '                                                                                                 t
                                                                                                              '
                                                                                                                                 e zje Fl
                                                                     .
                                                                    :.
                                                                          .
                                                                       ..,,
                                                                                ..
                                                                              ,)r
                                                                                t,j)
                                                                                   r
                                                                                   ;
                                                                                   - E,
                                                                                       '''
                                                                                       .. :,. .                          ,
                                                                                                                                 X                            l
                                                                                                             ..      .
                                                                                                                                                              l
                                                                                                                                                              1
                                                                                                                                                              .

                                                                                                                                                              l
                                                                                                                                                              j
                                                                                                                                                              >o > .
                                                                                                                                                                               x ys..
                                                                                                                                                                             ; ., s.
                                                                                                                                                                                    >
                                                                                                                                                                                   x,
                                                                                                       1                                                                           .     w
                                                                                                                                             :. '
                                                                                                                                                                                          <m-
                                                                                                                                     .          W.'                                         r.
                                                                                                                                                                                             4
                                             .' '
                                             '
                                             Y  , ....<.,..
                                                      ..  '
                                                          y. .
                                                             ' f .. ,. . ,
                                                                         $' ' ' ''' cj
                                                                              .. #
                                                                                     'TY
                                                                                       ,                                                                                                                  e%
                             .         .
                                                            . t
                                                                ,       . hJ
                                                                           -L .'                                                                                                  #E
                                                                                                                                                                                   *
                                                                                                                                                                                   4         JA
                                                                      .
                             W        . . ..        T6
                                                    .t.. ..,p,?.:.
                                                       ;.;                       . .        . .        ,                                                                          ,
                                                                                                                                                                                  '          <.          .
                                                                                                                                                                                                         *<!
                                                                                                                                                                                                          '-
                                                                                                       y                                                                           .             +        o
                                                                                                                                         1                                              .    G
                                                                                                                                                                                        s.,. ..                w

                                             .T     .                                .                 .     ' .             .                                       .   .                   V
                                                                                                                                                                                             '




                                                                                                                                                                                                                   l
                         '
                                                                      .  ). ' ;
                                               > ,i> > -                                               - -*                      ï
                                                                                                                                 - C< a *               -    ** -      - * - > '-'+ -
                             wo                      w                jyo t
                                                                          p- 'ja                                             w o ce o e                     ojyo w jwpy. . kx
                                  '                     .            .            . ........
                                                                              ..:.,        ::
                                                                                            .r '.. .       .. . ..


                                                                                                       yy                n

                                                    e                          ..                                 .,




                                                    ay                   A#xa                      pje W                     e o                fwek% x')LgygyWjjgwjAV ;MAV % %
                             G A%                           D                    T% NAGEMN Lm Y                                                     V   CjT#IFNORTHMjaMj;. % y                                .


                                                  3.



                                                                                                                                                              )IV   RP
                                  FW Yrjs
                                        W                                u1;
                                                                           yaa yya
                                           . .)..               .         . L>

                             .:  )

                                                                                                                                                            =w:
                                                                                                                                                              .j
                                                                                                                                                               % o
                                                                                                                                                                 wc'
                                                                                                                                                                   ;#
% 27* * e W N A $*                                                                                     1'
                                                                                                        $?8Q7N                           10 15:32:32Pg 1+ 3 MiaeDe eG1.FL
             .                                                                                               I
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 63 of 165
                                                                                                                                                                                                                             gy!
                                                                                                                                                                                                                               h,#$
                                                                                                                                                      m TH:CtRCUITCg JRT 0:11p
                                                                                                                                                      11> J'U/ICIAVCIRCIJITY AND
                                                                                                                                                       F4ARkDADEECO4JNW ,FO RIPA
                                                                                                                                                 GENERALIURLYN CTI9N DIW SIDN
                                                                                                                                                                          CKV Y + .t2* 7.c11

                                                                                                                                                           Ae lJû10
                             U$,
                               ,
                               *; ),(:#J?.i
                                   c         ,..
                                                .
                                                         .z:
                                                           :.
                                                             , xy
                              5!k:
                             L* J#,
                                  ;.
                                  ,:j
                                    ,y
                                     ..e,-.
                                         : .,       ,
                                               . . .. .:.
                                Ng (  ..: .*J j                                                               l

                         '
                                                             4ty.
                                                                >, D
                                                                   e
                                                                     Fn1.
                                                                        e ' <'qA!.WITH
                                                                                    . PRtl
                                                                                         tlm ICE
                                                                                                                        '                                            d',
                                                                                                                                                                       ' e                 ja k $ '                          :mnn
                                                                                                                                                                                                                              '*
                                     . ' '*5'ç' ),.kk
                               é . 'q'              '.
                                                     7 4 ..'
                                                           . ' . .'. . ..... ... .                                                                         '         .v .        .       :( .                    :'. .'
                              )
                              - , ,C- <
                              ''
                              :'
                                           :,,.tj,    .11 .zA- :w' ew-,6M *- (t)'      > - Y ,W M:e14* @)                                                                                                                ,, , .
                                                                                           (  p                                                                                                    . ..
                              (**
                               ; q -    ,
                                        ':,
                                   . ..L. ,
                                          ..
                                          :
                                          .,''';
                                               *:
                                                t.  M   ,
                                                     ..',.,,3t
                                                             '
                                                             . .t7
                                                                 e,
                                                                 . .'k', ;
                                                                         t(
                                                                          Q
                                                                          .'-.* .wi > - ,. e > f e th > q l
                               '   J:z;::'..'.'
                                            .
                                        . . .
                                                ( ..'J. . . t#
                                              lF'-'J'7.''       .. .
                                                                      1;. '
                                                                          -1
                                                                         ..
                                                                           .
                                                                           1
                                                                           :
                                                                           .,
                                                                            1
                                                                            ,9
                                                                             7
                                                                             ,
                                                                             6!
                                                                              1
                                                                              $,
                                                                               .
                                                                               1.
                                                                                1
                                                                                4
                                                                                !1
                                                                                 .
                                                                                 ,4
                                                                                  ;
                                                                                  '
                                                                                   '
                                                                                   C
                                                                                   .:
                                                                                    1
                                                                                    (
                                                                                    7
                                                                                    . :
                                                                                      )
                                                                                     81
                                                                                      7i
                                                                                       '
                                                                                       .'
                                                                                        1
                                                                                        :
                                                                                        1.
                                                                                         4
                                                                                         ;
                                                                                         .
                                                                                          xr
                                                                                          1
                                                                                          ,
                                                                                          .è
                                                                                           .
                                                                                           ,
                                                                                           .
                                                                                           12
                                                                                            1
                                                                                            .
                                                                                            11
                                                                                             12
                                                                                             -:
                                                                                              3
                                                                                              1'
                                                                                               -
                                                                                                .
                                                                                                1.
                                                                                                 t
                                                                                                 1
                                                                                                 0
                                                                                                 114
                                                                                                   ,
                                                                                                   11
                                                                                                    k1t.
                                                                                                       ,
                                                                                                       1.
                                                                                                        ,.
                                                                                                         1,.
                                                                                                      ' :'.12.- .
                                                                                                           :1   -..'* .I
                                                                                                                  . .
                                                                                                                       i
                                                                                                                       .
                                                                                                                       IC
                                                                                                                        '
                                                                                                                        II;
                                                                                                                          '.
                                                                                                                           I
                                                                                                                           E
                                                                                                                           C'.
                                                                                                                             :
                                                                                                                             '
                                                                                                                             .
                                                                                                                             '.
                                                                                                                              '
                                                                                                                              i
                                                                                                                              /'.
                                                                                                                               .1
                                                                                                                                ,.
                                                                                                                                 4
                                                                                                                                 1k
                                                                                                                                  ..
                                                                                                                                   11
                                                                                                                                   ':
                                                                                                                                    ,
                                                                                                                                    .
                                                                                                                                    r:1
                                                                                                                                     ..
                                                                                                                                      -t
                                                                                                                                       Ii
                                                                                                                                        lk
                                                                                                                                        .1!
                                                                                                                                          '''-. '
                                                                                                                                             '
                                                                                                                                                                .
                               1
                               :
                               !5
                                1
                                .
                                1
                                ,,
                                 1t
                                 .,.
                                  ;1
                                   ?t
                                    9,
                                     -
                                     .
                                     !
                                     '
                                     .1!4
                                        ,
                                        $
                                        14
                                         :
                                         .
                                       ,.; 4
                                           1.
                                            ,
                                          -..
                                          ;  t
                                             .
                                             y
                                             '*
                                              -
                                              t
                                              1
                                              $-
                                               .
                                               ;
                                               .
                                               '
                                               'b
                                                i
                                                )
                                                '.p
                                                  l'
                                                   y
                                                   e
                                                   &
                                             ; ù..y.
                                            -.      s .:.
                                                        p zc
                                                        ,,j:
                                                        ..  . .
                                                              t
                                                           ,...
                                                               g
                                                               .#
                                                                .
                                                                -
                                                                ..
                                                                 ,
                                                                 ..
                                                                  -
                                                                  ;
                                                                  jt
                                                                   j
                                                                   ..
                                                                    j
                                                                    .
                                                                    j.
                                                                     j
                                                                     y
                                                                     .
                                                                      -
                                                                      '
                                                                      ,
                                                                      j
                                                                      ,j
                                                                       jy
                                                                        j
                                                                        j.
                                                                         j
                                                                         .j.
                                                                           j
                                                                           j
                                                                           .
                                                                           k.
                                                                            j
                                                                            .
                                                                            jr
                                                                             j
                                                                             y.
                                                                              j
                                                                              j
                                                                              .g
                                                                               ,
                                                                               .
                                                                               j
                                                                               aj
                                                                                jt
                                                                                 i
                                                                                 jj
                                                                                  r
                                                                                  ;i
                                                                                   j
                                                                                   t
                                                                                  '.
                                                                                    j
                                                                                    ,
                                                                                    j
                                                                                    ,
                                                                                  ... .
                                                                                      j
                                                                                      q
                                                                                      .
                                                                                      nv
                                                                                       .
                                                                                       j;
                                                                                        j
                                                                                        j
                                                                                        ..
                                                                                         j
                                                                                         !
                                                                                         j,
                                                                                          jj
                                                                                           ,
                                                                                           j,
                                                                                            .
                                                                                            ,4
                                                                                             ,
                                                                                             4
                                                                                             .4
                                                                                              ,
                                                                                              4j
                                                                                               4
                                                                                               .
                                                                                               4j
                                                                                                ,4
                                                                                                 ,
                                                                                                 .
                                                                                                 :g
                                                                                                  j
                                                                                                 ..
                                                                                                   t
                                                                                                   j
                                                                                                   yg
                                                                                                    j
                                                                                                    jj
                                                                                                 . - .j
                                                                                                      ,j
                                                                                                       ...
                                                                                                        jj
                                                                                                         .
                                                                                                           j
                                                                                                           i
                                                                                                           jj
                                                                                                            yj
                                                                                                             .
                                                                                                             j
                                                                                                             42
                                                                                                              ,
                                                                                                              j
                                                                                                              .4r
                                                                                                                ,
                                                                                                                j
                                                                                                                j
                                                                                                                .'
                                                                                                                 .
                                                                                                                 jj
                                                                                                                  j
                                                                                                                  t
                                                                                                                  ,jj
                                                                                                                    y
                                                                                                                    j
                                                                                                                    .;
                                                                                                                     j
                                                                                                                     '(
                                                                                                                      j
                                                                                                                      ,
                                                                                                                    ...g
                                                                                                                       r
                                                                                                                       .
                                                                                                                       ,
                                                                                                                       jr
                                                                                                                        j.
                                                                                                                         j.
                                                                                                                          r
                                                                                                                          j
                                                                                                                          .j
                                                                                                                           j...
                                                                                                                            gj
                                                                                                                             ;
                                                                                                                             '
                                                                                                                             àt
                                                                                                                              j
                                                                                                                              '
                                                                                                                              .
                                                                                                                              :
                                                                                                                              I
                                                                                                                              .
                                                                                                                                g
                                                                                                                                ,
                                                                                                                                .
                                                                                                                                y
                                                                                                                                r
                                                                                                                                .
                                                                                                                                j .... . .
                                                                                                                                    , ..,q  .,   ..
                                                                                                                                                  .   .

                                  :.'.'.)Lj'. (
                               e
                               ...'
                              ..     ':-
                                     .     i-w.
                                            1
                                            7 ;
                                              ,
                                              4
                                              -
                                              ,
                                              r
                                              ?
                                              '>
                                               ..,,
                                             ' ..,
                                                  .,
                                                   .:
                                                    4
                                                    .
                                                    ,
                                                   ..
                                             . .. .-
                                             .       1
                                                     -
                                                     3
                                                     6.
                                                      3
                                                      r
                                                      6
                                                      .
                                                    ,..
                                              k2.jg:g.j
                                                    .
                                                       3
                                                       ,6
                                                        -
                                                        #
                                                        3
                                                        .
                                                        1
                                                        -
                                                        3
                                                        ,
                                                        .$
                                                         y
                                                         6
                                                         .
                                                         3
                                                         .3,
                                                           3'
                                                            -
                                                            t
                                                            -.................,. . ..                 .               .. .
                                    z''p.y:
                                   '.                 ''r.r
                                          .k::':t'....,   j
                                                          oa.
                                                            g.
                                                             :jy
                                                               trg
                                                             '. .
                                                                  (
                                                                  :
                                                                 1i
                                                                 '
                                                                 ./
                                                                  ((
                                                                   '
                                                                   .t,
                                                                     '.:...z
                                                                       ,.. y  .
                                                                              ,
                                                                                w...j
                                                                                    :y
                                                                                     j,
                                                                                      y
                                                                                      j
                                                                                      ,
                                                                                      y
                                                                                      jjj
                                                                                        y
                                                                                        jj
                                                                                         y
                                                                                         jw. w,.,.jg
                                                                                                   y
                                                                                                   jjj
                                                                                                     rg
                                                                                                      jy
                                                                                                       jjj
                                                                                                       , y
                                                                                                         j
                                                                                                         yjy
                                                                                                           jjjjy
                                                                                                               ,
                                                                                                               yjjj
                                                                                                                  .
                                                                                                                  j
                                                                                                                  y
                                                                                                                  .j
                                                                                                                   ,
                                                                                                                   h
                                                                                                                   jg
                                                                                                                    .
                                                                                                                    jyjgj
                                                                                                                        t
                                                                                                                        .yj
                                                                                                                          y
                                                                                                                          jjy
                                                                                                                            jjjjgj
                                                                                                                                 .jjj
                                                                                                                                    .
                                                                                                                                    s
                                                                                                                                    j
                                                                                                                                    yj.
                                                                                                                                     ,j,
                                                                                                                                       j
                                                                                                                                       g
                                                                                                                                       jjj
                                                                                                                                         ,
                                                                                                                                         .
                                                                                                                                         yj,
                                                                                                                                           jj
                                                                                                                                            y
                                                                                                                                            ,
                                                                                                                                            j
                                                                                                                                            ;j
                                                                                                                                             y
                                                                                                                                             ,.
                                                                                                                                             .y
                                                                                                                                              jj
                                        1
                                        T1 # ),
                                        > ?.,,Jt'
                                                .'
                                                 i
                                                 ;
                                                 r:
                                                  '
                                                  .,
                                                   .
                                              Le ::+i
                                                    l;
                                                     ?:
                                                      y
                                                     'F)'
                                                        .
                                                        )
                                                      l.,
                                                    . ,.
                                                         '
                                                         .I
                                                          .>
                                                           7
                                                           .
                                                           ..
                                                            r.
                                                             ..
                                                              à.e
                                                             ::...
                                                                ..
                                                                 y; ;* , :,
                                                                          1:
                                                                          ,
                                                                          w
                                                                          ..
                                                                           ,
                                                                           j;
                                                                            .
                                                                            ,&
                                                                             .
                                                                             .
                                                          h>,yr511;-K-- ( j< .w
                                                                              ,
                                                                              ..
                                                                               ,
                                                                               . -  t
                                                                                    .
                                                                                    .
                                                                                    )      .
                                                                                    W < de 44* .           .gj t. .y.    * 31 de oç.
                                                                                                                             ,   . ..
                                        u - K) .
                                               M ë
                                                 jC
                                                  '
                                                  A                                          1                                                                                            :
                                                                                                                                                                                          4                                  ;y
                                        M e r '**l*'#K                        W 4'           *
                                                                                                                                                                                     l 71) j .
                                                                                             $
                                                                                             y
                                                                                               .i
                                                                                                kj,j--
                                                                                                     ,.                           W
                                                                                                                                  . ,.
                                                                                                                                     C#I
                                                                                                                                     y 6 &,                                          j j y1-
                                                                                                                                                                                           )K  .
                                                                                                                                                                                                                 .



                                                                          Wr.yyy                                                                                                 *j ,y'cG)
                                                                                                                                                                                         .#4.ë
                                                                                                                                                                                             ltIIYV

                                                                                                                                                                                                          W                       cw w
                                    . .:
                                       ::
                                        '19.
                                         . :..kjt
                                                ;z.
                                                  '.
                                                   ..:,
                                                . .è   :j
                                                      '/
                                                        .yjy..' E..
    --                                  . t...            .i:jt,
                                                               .,j(1
                                                                  ,
                                                                 ':7.:
                                                                     ;!
                                                                     , ,,L
                                                                      ',.
                                                                           .
                                                                         .''
                                                                           ' 'y         .,
                                                                                         s
                                                                     ' . -'
                                                                          '.

                                    )tr..(-'j;!kyjr'
                               .
                                                   ;-..--- ..... . . .. .-. ,... .. ,
         . .


               )'
                    .,
                              .
                               (.$,j-              F.5,
                                               -;.,.
                                                                                  .
                                                                                         .



                                                                                                                                             '



                                                                                                                                                                     SV V W F                             FA jNW W '
                                                                                                                                                                                                                   O,KG AW ) js l
                                                                                                                                                                                                                                uy.#. .          .

                                                                                                                                                                     l*          A aï*#N                    y t-
                                                                                                                                                                                                               ,e                                    ,          '
                                                                                                                                                                     + œ k*'
                                                                                                                                                                           '
                                                                                                                                                                           *!                                    '                         tji
                                                                                                                                                                            ,.       >     ,
                                                                                                                                                                                           .       .. .114e w*l> ,
                                                                                                                                                                                                                 : . y-  syoyy.
                                                                                                                                                                                                                      lkjç,
                                                                                                                                                                                                                                o
                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                .
                                                                                                                                                                                                                              yr.
                                                                                                                                                                                                                                   .-.
                                                                                                                                                                                                                                jj Axysx,,
                                                                                                                                                                                                                                         jj..
                                                                                                                                                                                                                                             ,..,.y
                                                                                                                                                                                                                                            o,.,oa ,,
                                                                                                                                                      ;
                                                                                                                                                                                                                                         j!gvv,yu
                                                                                                                                                                                                          .. .
                                                                                                                                                                                                                                                     ' '
                                                                                                                                                                   tijj
                                                                                                                                                                      y,j
                                                                                                                                                                        1
                                                                                                                                                                        d!
                                                                                                                                                                         yj#.
                                                                                                                                                                            W' ,'
                                                                                                                                                                                j1
                                                                                                                                                                                 ;
                                                                                                                                                                                 .
                                                                                                                                                                                 k
                                                                                                                                                                                 j'
                                                                                                                                                                                  y
                                                                                                                                                                                  jl
                                                                                                                                                                                   q
                                                                                                                                                                                   f'
                                                                                                                                                                                   j#
                                                                                                                                                                                    j
                                                                                                                                                                                    i
                                                                                                                                                                                    r.          ,
                                                                                                                                                                                                r....,
                                                                                                                                                                                                     '
                                                                                                                                                                                                     ..*
                                                                                                                                                                                                       ï
                                                                                                                                                                                                       .
                                                                                                                                                                                                       ' .. . .'' ', . x..'       j
                                                                                                                                                                                                                                  ('
                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                   ,k.
                                                                                                                                                                                                                                    .y,y
                                                                                                                                                                                                                                       .,
                                                                                                                                                          . '''
                                                                                                                                                              ''.'
                                                                                                                                                                 Eq
                                                                                                                                                                  ;'   ivuxz
                                                                                                                                                                                                                                                     ,
                                                                                                                                                                     '
                                                                                                                                                                                                            .    .
                                                                                                                                                                                                                     .
                                                                                                                                                                                                                         .        ,   )'   . ,

                                                                                                                                                                                                                                                           '4       .
                                                                                                                                                                                                                                                            1 1:

Bk272G P:41> '
             7FN.
                R e')'' 71:
                          **                                                                                                X $0E12:47:17Pg1< 1Mie e e* ,FL
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 64 of 165
                                                         +


                                                    @
                                                   ,,
                                                                                                                         @
                 .                 '
                             . ,. . . u2..;::...q... .
                                                                                                       *                                                                                            l
        1
        t
        '
        k
        .)
         -
         4
         ;t
          r.
           1
           t
           12r
             j
             ;
             -kls
                pjt
                  i
                  q
                  't4
                    , , ...(..-......,,;.. . .
                                          .


        >;:
          ,if
            4à
             .#,#.jltœ e
                       !Y y1zulA%

                esa ; u
                      mjlizkg scjr y Rlvgg ak
                                           . tt
                                              vrg
                      y:AM. 1.. Flv 33Z6.4
         loa.
            n            .ur
                           'it'
                              k;; 44.
                                    8.3
                                      -C:
                                        4.00


                                                                 .               %          m              & %
@




            yAY '
                f'f X'8ê OFDKA OF .
                                 :
                                 '                       ,       r       .YG
                                                                         :
                                                   j

         Vy2 . hsw.,
                   owyys.
                        p.
                        w    ,
                         l XWN
                     ..' $   j       '        ..
                                     .
                     .               jq j ..
                                     .:




         A*%'w>4
             k . FNQ
                  , s.
                     r <tre
                          . tax.x                            '
        p*gxzoy Tfw
                  nyrpi'4i Sp:
                             r#1=py
                             W




                                                                 V.Z- DY
                                                                      - NM<. .
                                                                     <                 %                           .w
                                                                           '
                                                                         . ' .       . ..
                                                                     .
                                                                           (.. 'D,
                                                                          ;,,    (..1
                                                                                    .''. :, ,
                                                                                                .
                                                                                                    ' . ..
                                                                                                             jc,

                                                                                #> G T>
                                                     $




                                                                                                                    %f*.. t** .        .
                                                                                                                                         g,        * .*r
                                                                                                                                                       .A*                          *w ''''
                                                                                                                                                                                          .'
                                                                                                                                                                                           <*.x
                                                                                                                                                                                              ws.
                                                                                                                            y :p       & >            . *4y!- e '
                                                                                                                                                      :                            & ..K.mo x':p
                                                                                                                                                                                   j              +*.
        <*.> ê 4:
                4*::4:>               4:
                                       ::::%                                      V= '                              :'              .# -      e>                               @                     *
                                                                                 ?.4:
                                                                                   .. : 0.t )                                           *1 . .. .    .,
                                                                                                                                                     j                             :
                                                                                                                                                                                   j                .
                                                                                                                                                                                                    y
        A4: 4z,
              t:.
                t*
                 ?.Ufr                                                                                              .'
                                                                                                                          . .. .       .%
                                                                                                                                   * .A' * .*   - X*e ,*-                     ,
                                                                                                                                                                                                    i
                                                                                                                    i- o '
                                                                                                                         :))rwet      V ARaj:
                                                                                                                                            .   +4/VWf'#.%t$%Xl-V '                   'ye ,...v.z:V .
                                                                                                                                                              <@.
                                                                                                                                                              . 1.
                                                                                                                                                                 éz
                                                                                                                                                                  ''s*
                                                                                                                                                                     ''ir
                                                                                                                                                                        ',;'
                                                                                                                                                                           *azrd
                                                                                                                                                                               l,tirt. ''        .
                                                                                                                                                                                              .t
                                                                                                                                                                                               f'
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 65 of 165
                                                                                            Q
                                                                                            rAx''
                                                                                 .# * X k
                                                                                        ,           -
                                                             # %* 4œ

                                                                                  k
                           ; ,:
                              om'th'g* Ffnm 0,1
                           y . ' .'     '''141
                                             5',    jil
                                                      i. 49E
                                                         .   .:... ...dll
                                                                        F. .
                        ' r4an Inttem atjon    , alflneo l (.      è ;r
                              ..
                           1 .,       x:
                                      ,
                      y 2   ,t


                      mè> ajj4p whlèh o rnsm4jprprofkse
                                                            )(
                      #*
                       ' 4.l
                           4ueh > $2.9 billionin.2004tRegiMeryœ r
                         yj ; mino FlnancjajNejworkComWe
                      Hbe                          +; ngysFinae ia)1Network -Big...
                      -                    lgçl4s- tie .= m/4- ui@ eme e iY qufin...
                                           %


                                                                                  Fe back


*                      F4* k:Aksp M K

                       W%                   jxj'
                                               % è'.Gt.      e no fjne almA gaW        NA
                                                    E. ..
                       .#>
                        ,                      ylv ..)
                                                     ev

                       -     did hp- omingssnpncialgèoulof                             W
                                                                                                        #
                         l        .

                       h'+'h
                           ,- *?

                       : 1h4t4* GM AC Bankfhafptcepl Mortge es?


                       ,
                        A- t
                           #
                           , e on Rv- rtwGM AC Mortgagp,LLC
                           <. *       ,
                                                                           ''.                #,> - *J.
                                                                                                      '
                       W ;( H nm
                              j e .pm
                                   (( jngs ...                                                1rg jjr
                                                                                              '

                        h>
                         ). )//w> .v :> /Am> es/e garjdaW 1383;2...
                  '



                        F@h4vppxe ibe %vhz Modgag4,tLC (t%
                            .     .
                                               '                 .     .
                      ' ' ,
                        ' ( j?    'jy
                                    jfc t
                                        ijselfend it$Affiliated G icing
                                                    ;
                                                    ,


                        è
                        e 'ço ntHe ecomino Finandal,LLC (both
                        411h*
                            ,4
                             ** ney
                                 ' ofRe 'ehtialCat   pltél,LLCI,compjiapçe
                        wIZEjo slwj% g ejjeti4selforjh jn jtem jjzy  ztdj...


                           K M K DM I                                      LC,a
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 66 of 165




                                                                                           %                                                                                                                                      #
                                                                                        %
  *
  '                                    '
                         ..        .. . .              :.
  W AV
     (
     qjw.e r
                         '
      ..
             :.                    ..i
                                     ..    '.       .'..'''ï.''
                                            :111111.1                      '     .
                                                                                      ' .'

                               7 p*                                              E



                                                          %
      Tw                           >                                ..          ,    >  . T*
                                                                                     , .<                                             w cugj
                                                                                                                                           .o s yaxj
                                                                                                                                                  ' ',                                                             .         w .o jaxsj. . . .
                                   .

                                                                                                                                                                           .i
                                                                                                                                                                            'p.-'   . .             . '.'
                                                                                                                                                                                                        .'....-'...'.'v
                                                                                                                                                                                                                      ' .                                              ).,.-
                                                                                                                                                                                                                                                                .. gk--E          j           . ,
                                                                                                                                                                                                                                                                                                ça;k.
                                                                                                              1,''!1111                      1114...1,,.18,$5 . .. ' . .                                                                                              j:,t,p
                                                                                                                                                                                                                                                                           ,,,,
                                                                                                                                                                                                                                                                              k,
                                                                                                                                                                                                                                                                               ,.t
                                                                                                                                                                                                                                                                                 -pzr
                                                                                                                                                                                                                                                                                    jy
                                                                                                                                                                                                                                                                                    .  ,4
                                                                                                                                                                                                                                                                                       -
                                                                                t''1
                                                                                   1111141,-7111.
                                                                                                5p
                                                                                                 11;11.
                                                                                                      1,
                                                                                                       11.
                                                                                                         1.
                                                                                                          11.
                                                                                                            11
                                                                                                             .1        1.1r1.1.9.,. :..,'. .1                                                                                                                                  :r,
                     '
                                                                                                                      .,                                                                                                                                                                ,,
                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                         ,,y
                                                                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                           t
                                                                                                                                                                                                                                                                                           y-,
                               '
          '. ..   L
                  3
                  6
                  .
                  'b
                   q
                   .
                   66
                    3''j1Il.i1IrIi.l1.(1I.pk.'...
                     66
                      3  .
                              ..                                  , ..... ...   . .... .
                                                                                           ..
                                                                                                                                     .
                                                                                                                                            ..                                                                                                              .              :   ,  ,j
                                                                                                                                                                                                                                                                                  g   ,,
                                                                                                                                                                                                                                                                                     ,.      ,,     ,
                                                                                                                                                                                                                                                                                                  .,,
      .
      e           '            ,        - ?     .
                                                -                                                    s
                                                                                                                   ,. *                                                     *
                                                                                                                                                                            th                KW + . % X j.
                                                                                                                                                                                                          '                                                                    k;,
                                                                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                                                                                 .'z'
                                                                                                                                                                                                                                                                                    y
                                                                                                                                                                                                                                                                                    ; W
                                                                                                                                                                                                                                                                                    , v.
                                                                                                                                                                                                                                                                                      .+
  E                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                      ..   -t
                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                                                                             s.yy
                                                                                                                                                                                                                                                                                  . .
                                                                                                                                                                                                                                                                                     .,
                                                                                                                                                                                                                                                                                    .. .
                                                                                                                                                                                                                                                                                              y:. ..;4;2).g
                                                                                                                                                                                                                                                                                              .. . y
                                                                                                                                                                                                                                                                                                          ;
                                                                                                                                                                                                                                                                                                  bi.u.u
                                                                                                                                                                                                                                                                                            . .. . .
                                                                                                                                                                                                                                                                                                  '   .yy
                                                                                                                                                                                                                                                                                                        tAr
                                                                                                                                                                                                                                                                                                          ot?
                                                                                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                                                                                          ,


                             1..                                                                 ... . ..-
                                                                                                         .                                   ..                                .              .
      k* /7*t*Y /:> X - -                                                                                                     -                         -                              M=                       e fme wkke lge                              e


          2. > F- *         .e e - < .)@f> a - of> f- >jm#y.- <o
             *
      *-
       >'
           1 uu
              '
                w + 11..
                &      .
                         w % w aw u& a
                                   w . . ww
                                           pyjpyo a w yx yjuaxgajup
      kO                      G k)AM&.
                             3.                           *                 ,- - re - ev**1'--- ilG mC--tXOTLERGY WILLIAMS.

      FVAN FAAG IANTV YETH * T.

 .s>                                                                                          R
                                                                                              , lyof                                                                                          .1d*Y-t>f- t.
                                                                                                                                                                                                          e,spptlu-
                                           A ly

                                                                                                                                                               AIIR'                                    e-
                                                                                                                                                                                          /
                                                                                                                                                               Fœ W                  I
                                                                                                                                                                                               J V1
                                                                                                                                                                                              Wy .
                                                                                                                                                                                                   S                                                    '
                                                                                                                                                                                     j
                                                                                                                                                                                     %....'u:.                      ...
                                                                                                                                                                                                                      œ64 '              /..     ''',
                                                                                                                                                                                                                                        .)
                                                                                                                                                                                                                                         .
                                                                                                                                                                 .                             .$     .              .                st' .
                                                                                                                                                                                                                                          >&'*
                                                                                                                                                                     ..    .        4
                                                                                                                                                                                    .*<-
                                                                                                                                                                                    1
                                                                                                                                                                                    '
                                                                                                                                                                                    < J- s*- 1'*1*
                                                                                                                                                                                                 ::
                                                                                                                                                                                                  v.
                                                                                                                                                                                                 *' 4:
                                                                                                                                                                                                     .
                                                                                                                                                                                                     j:.:.                            k;
                                                                                                                                                                                                                                       .--
                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                  2'
                                                                                                                                                                                                                                  .7
                                                                                                                                                                                                                             /-
                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                            #



                                                                                                                                                              % > le l
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 67 of 165




                   < .




                     /




                                    w zw z




                                                                                   q*b
                                                                                    #
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 68 of 165
                                             %
                                                                                                                       èky.+
                                                                                                                 42t
                                                                                                                 . $




                                               C
                                               I
                                               !
                                               1
                                            r..:
                                               .
                                               ,
                                               .i!
                                                -l
                                                 I
                                                 fk
                                                  !
                                                  1l
                                                   h'        '
                                                             7'
                                                              7'
                                                               1E'
                                                                 -.
                                                                  7
                                                                  14
                                                                   14
                                                                   '1.1 :
                                                                      .11
                                                                        t.
                                                                         1.-
                                                                           !
                                                                           1.'
                                                                             4
                                                                            .!
                                                                             ,l .
                                                                                11
                                                                              ik(.4
                                                                                12
                                                                                 ,!
                                                                                  181
                                                                                    4
                                                                                    1.
                                                                                     -1
                                                                                      !
                                                                                      1
                                                                                      ,
                                                                                      11
                                                                                       ,
                                                                                       r-7
                                                                                         1
                                                                                         /
                                                                                         rt
                                                                                          :!
                                                                                           '
                                                                                           k
                                                                                           i
                                                                                           'E
                                                                                            !
                                                                                            '
                                                                                            1:
                                                                                             1
                                                                                             .;1.
                                                                                             i  1:
                                                                                                 '
                                                                                                 1'
                                                                                                 -.
                                                                                                  7..
                                                                                                    I
                                                                                                    '
                                                                                                    i
                                                                                                    êl
                                                                                                     !
                                                                                                     1
                                                                                                     .
                                                                                                     i
                                                                                                     !1
                                                                                                      I
                                                                                                      .
                                                                                                      E
                                                                                                      1I
                                                                                                       .
                                                                                                       I
                                                                                                       E
                                                                                                       .
                                                                                                       !r
                                                                                                        !ilt
                                                                                                        '  l('
                                                                                                             )
                                                                                                             k
                                                ..
                                                 ?
                                                 :,.
                                                   .d
                                                    1
                                                    .
                                                    r;
                                                     .
                                                     -
                                                     k
                                                     :!
                                                      1
                                                      ?
                                                      i
                                                      ..
                                                      :2
                                                       -
                                                       41
                                                        E
                                                        .
                                                        '
                                                        ,: 2
                                                           ,7
                                                            11
                                                             :   7
                                                    '. '
                                 -ï
                           '       '                                 . .
     1r-i
    .. -3'
        :.ï
          3M'
          ,
          .
           .
             jp;.
                '7'
                  :
                   :'T
                  t--'
                  .   ?
                      k
                      -
                      t
                      i
                      ji
                       r
                       .
                        7E.'
                        '. .
                           9
                           :
                           l
                           .
                           l1
                            ;
                            .i
                             ?
                             t
                             ;
                             ''
                              7
                              !
                              ;q
                              -
                              '(
                               .
                               (1
                                .!
                                 ';
                                  q,
                                   'q
                                  - ,
                                 ,(
                                  )
                                  :
                                  .
                                  '.)'
                                     .
                                     >
                                     ;
                                     ,.
                                      ;
                                       . '
                                                   .. .
                                                      .L ...
                                                         .           ..
                                                                         (
                                                                                  .. ...
                                                                                 .. .
                                                                                   .
                                                                                                  ..


                                                                                    Fe .
      .                                .-...-
                                       .,
    .. .. ..          ..
                       -
                       .        .  . . .
                                       .
    . ' -
     i    '
      ;.5 :j.):.
               g.
                J'
                 :.
                  :y t.
                      )E
                       .
                         >
                         7
                         '
                         . r.(
                             :.:
                                    '
                                    >
                                    ;(
                                     .  .ë'
                                            '
                                            ,
                                            .' J
                                               '
                                                 ;
                                                 ),.
                                                   .,     :.5
                                                            :
                                                             :
                                                             -
                                                             ..   :
                                                                   't
                                                                    -
                                                                    :  ..'
                                                                         '..
                                                                             .
                                                                             .
                                                                             ;
                                                                              0 . .
     :jt....:'.y
                    .
               r....k.E
                      ':(.. . ..                              .      pp
                                                              ...'J..'.
                                                                        w xr
                                                                      :.;.:..
                                                                            '..t'x
                                                                                 :
                                                                                :.1,':.
                                                                                      '''..:
                                                                                           .. :


                                                               9/7/2* 5
                                                                w w 4ke .œ w of
                                                                jo o zj
                                                                e xjN j. w ysoç
                                                                IXXX ZI



      A #> t-                      ;
                                   > #e
      F>
       'E:;.... '.:: y
             .'
           ..'.      .>
                      ,.xk
                         .l
                          s
                          yrl
                           '  *
                            s.(
                           ''
                         ..'
                            '
                               )R
                              t,
                               r
                               .
                               t '
                                 .+...'x#'
                                 rk     .j> gje e ...;e
                                                '';   ' .-!
                                                          et ( r
                                                           .., 'z
                                                                'wm
                                                                  -
                                                                  .
                                                                  ''' -
                                                                      . (wk'h- '-
                                                                        .;      ''.'hw
                                                                                     '.
                       E:*t ,+7 ' - .e 'h d- mandfqrmo e s- anae mh of
                                  k
                         '
      **- éT   .
                       ;
                   .. .. . . .
                   .



           .
           :
           4
           k)
            ,!
            ..
             ,.k
               .
               :
               y.7
                 ''
                  q
                  .:;
                  y 1
                    5
                    (
                    :G
                     'E
                     .
                      ' è1,#)
                            !
                            ,
                            ..à
                              6
                              .
                              3
                              )
                              à
                              3(
                               ...
                                 )
                                 j
                                 ,
                                 y
                                 ..
                                 :'
                                  :
                                  ,...
                                     ,
                                     )
                                     ..& j% .%
                                             .... . jj
                                                     .
                                                     :
                                                     jjj
                                                       y
                                                       j
                                                       ,
                                                       #
                                                       os:,
                                                          :5j4,% t.j
                                                                   %
                                                                   .u.g.jo ko a,
                                                                               %
      j##*c jyéle y  uy% ye yexkewyuw jkwo o us.




                                             %
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 69 of 165




    W irie V* *ê*
                .!
                 '> k
                    ''VC
                      I q,
                         i
                         e t.Nkà 249l
                                    /ifthAvt.PittsbwA PA 15222AM 0 1297 * 7 14x#* Swil
    èw te cctijyj ,. qsyIwj- tj. jpxyyxaç hmyayywa uujye w z4% jyg55 yexwxjo
                                                                           . cu
         T co .c. %
                 y., zjpo j
                          jj
                           jr
                            y j
                              ,jsy
                                 wjo  w . :4 yx  yxol jjusue %
                                                             . J
                                                               .    tjtpyl  ppxa




N     *- W.2N*'f
      W          AY
                 >' AY
               'M5       R*< 97/
                               2:71
                               %                                               e% &e$:
                                                                                     $$@:
R   Case 0:23-cv-61345
            *          Document 1-4 Entered on FLSD Docket 07/14/2023 Page 70 of 165
                                                                                                                                                ïL
                                                                                                                                                 i... .....                   . ......
                                                                                                                               . . ..ï.,,
                                                                                                                          j.. .,
                                                                                                                                                                  q.L.:. . . .....-  .o
                                                                                                                                                                                      y
                                                                                                                                                                                      -  .. .
         N     ,                                                                                                          :        . . . ..

                                                                                                                                  gvk;:
                                                                                                                                      ,) < ox
                                                                                                                                      qv
                                                                                                                                       j
                                                                                                                                       ;        w joyx ,j
                                                                                                                                            ju jy.
                                                                                                                                        qkz
                                                                                                                                          jsw pjw x  .
                                                                                                                                     (
                                                                                                                                     : > ew
                                                                                                                                          > .
                                                                                                                                    è     * 'a .-
                                                                                                                                                ..                  ktr
                                                                                                                    Exh .R R, pg
                                                                                                                              è .j



                                                                                                                                            u



                   '     :k,.:
                                                                                                                                                     ''
                                                                                                                                       4''. z.L
                                                                                                                                              );..''.
                                                                                                                                                    'r..''2.:.i.:(:,.
                         '-   ;.J.:
                                  ' .*-I,'.
                                                           ', **.,
                                                                 *-   . e-
                                                                         #e -
                                                                            '  - -e e ,t. .:? >
                                                                                              ' < KU
                                                                                                   .,
                                                                                                                              ..
                          è  t:
                              ;
                            œ œr- c
                           (::
                          ..
                       .. .
                              :           .                       ..+
                                                                    .-      % he
                          i
                          ë - :  -           ;J
                                              - e-                                       .< pe > > 2*.>     '
                                                                                                                                                                              .*
                        . *
                          W.+-
                          j
                            '
                             .'
                              .i .
                              -  *w
                                 .
                                 . 'ki '-,
                                     wk .'
                                         :
                                          % . . WV.
                                          :
                                          '.
                                                    %                                                   ,
                                                                                        * u . .yw .
                                .
                         .,                                                                             .       .
                                    ' .)          .
                            .




                            ' e
                              * * V*4 : #,
                                        r
                                        *> )..,.g .>
                                         : ,       :. .u.x-
                                                                         .
                                j+ #4 f.& #&
                                           ; (:,
                                               .
                                               r& +j.> N                                                                                                                      e
                                         *:* .         ' gw . -                                                     . - 4-                                    #e >
                                        , .        .
                                - #. . s.'.. *,..
                                                ,*.'< . %. . ..           ,.
                                >
                                *t
                                '  >
                                   ,
                                   * ,= ,..
                                      ,
                                      .   *,
                                          . .
                                            --   .u .
                                                    -
                                                    -
                                                      *J   ,-
                                                            .    *:
                                                            e tb:* -
                                                                   M  -
                                                                      +'>, ,#-,,
                                                                               ..1*4
                                                                                   -:e
                                 W%x yi : è                          c pàgyij  e
                                                                               E *A ,
                                                                                    $*ég                                                                                             j
                                                                          .

                                 t                                          :C        .                                                     '             '
                                                                              '              '        '''                               .                     .
                                                                                                                                                              f..:..!.. ,.-
                                                                                                                                                              .
                                                 'T
                                                                                                                                   .        ..
                                                      11l;.-
                                                           !
                                                           i
                                                           t
                                                           .::j
                                                              '
                                                              ;
                                                              .q
                                                              'L
                                                               '
                                                               b.k
                                                               ,3
                                                                (
                                                                bi;
                                                                 .i
                                                                  k
                                                                  -
                                                                 ''
                                .
                                -
                                J
                                i1
                                1
                                .d
                                 I
                                 ji1
                                  t4
                                   I
                                   1
                                   '
                                   k.
                                    '.
                                    -'
                                     .'
                                      .i
                                       '
                                       !.
                                        '
                                        ..
                                         ;
                                         '
                                         .'
                                          .!
                                           r
                                           '
                                           .
                                           ''
                                           '
                                            ..
                                             1
                                             i
                                             .i;
                                               '
                                               !
                                               .
                                               i
                                               !'.
                                                 )
                                                 'j.
                                                  'ï-yï
                                                    :r;
                                                      -        :  1
                                                                  .$
                                                                   .1
                                                                    .
                                                                    1
                                                                   ..
                                                                    .
                                                                                  .   ...
                                                                                                                              :;.).
                                                                                                                                  :.(;r:.
                                è ,*
                                *
                                '  '' ;
                                    .      'vu....E:,...,.M
                                         a à
                                        z. .
                                                      '
                                                   .. ..
                                                       .   ,.7
                                                          .;.
                                                            ' 111411<>
                                                              !.     . ;
                                                                    11 y> G - >
                                                                        .
                                                                        . . . . ..
                                                                                                 .                        ... .
                                                                                                                                   * > - =-
                                *)- #e *< e œ < - -                        -,
                                                                            #


                                           %

                                    W                                                 +W . k
                                                                                           .>                                                    +




                                                                                                                                                                                                $
                                                                                            CFx c jjc                                                                              #** 1# t3
                                                                                                 + W*'v t
                                                                                               ' '!                 . .
                                                                                            . .'
                                                                                                 ,

                                               .
                                                                                                 .
                                                                                                 + ;
                                                                                                     ,
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 71 of 165




4
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 72 of 165




*
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 73 of 165




                  Wq . f:* + Eo$:W V W VW kX
                                           :( YW                                                           vXWJX. .W W
                                                                                                                     . W GW       .

                  WG
                   ,*--- -* e*<e**!
                                  *--
                                    * - *t-G* G< .e .%
                  e ti- - w - -, 1-   +-                                                                     -:-  * 0 -
                    x . G #g o <
                               .%   % .e                                                                     (
                                                                                                             o .o a a yyg.
                  * e-* *G
                       r'
                               W*-,Ne<' - *ër=!
                           -- *-   '         e *e- #
                                                   -e .Wm v rr
                  V #**ec V.?g
                          ,
                               *j.
                                 )eo--=u
                                       .    'z)
                                           ,,
                                              ..-*m-w-
                                               .-     W -*
                                                     +.   --
                                                        .*.  c-
                                                           **k
                                                             ;
                                                                             ,


                  *                    *- + -                           *e           * %* %* -                       -       *W *                #
                  - * -'
                  e    -- t
                          - wk
                             - ' e --r e-i
                               # -       -- **e tWe '-
                                                     A- G p-
                                                           G      .     ',
                  - . , .. x,. ',
                  -    t' -
                          :
                          5e,,,,.E
                                 ,.,,.:
                                      *+
                                       -ï
                                        ..e,-
                                            .- #e#--
                                               ** H #* -- -* -
                                                          * W*
                                       , .
                                       (
                  4: 2 / %
                  * * e +- * )                V < e- .  -- )  #> e -
                  - *, ,     #  -,  .e    *<    ** i
                                                   e  '
                                                      * , è-   .
                                                               * - *- - v ,   * - :-
                  - 'eM M .          * , *e.     <   -  e    -   -  ,- -- ë W * * -*
                                                                         #-
                                     , ., , -        G +J - k*v - -
                  ,,.?.,,,.,, .   ,    ,.....,. * * .
                                           ...
                                   e ,, #-.r .      -.  -
                                                 .> * - **  ..
                                                             ..     m
                                                                   -V
                                                                  . .   ,
                                                                        ..   ,,. .
                                                                                 .
                                                                                   +                       . .               .   ,. .       ..
                         ,.ràq e ) '
                   '
                  Mt..';.(......,
                                .
                                ' ''2 ''''
                                 . .1' ''$'
                                         . !'
                                         h '.
                                            ' ..
                  er
                   - *-
                      *
                        *
                        ,-
                         p
                         t
                         -
                         ,'  <
                             -
                             '
                            *) J,
                                -
                                ;
                                L
                                . ,       (T  gc cc c. ë..
                                  *....,. -' '. ..,
                                  *
                             * .,..
                                  '',
                                    .,
                                     .
                                     ,
                                   .',
                                        ;
                                        *                -!*!-Ee
                                                               ...-<
                                                                '** .                        ,::
                  .   ,s ....;..,, ,. ..,,.,.,,
                  ,..,.                                                              .

                  -.           ,
                                       -                          -
                                                                  .
                                                                  -              , -- e %t G* - w- <-- - *
                                                                                              e *
                  - ',. .
                  *                    '          -: - k                 - e it- - ,         -        -
                  -,                       ,.. . ,M  ,.g' -r=
                                                          ' G            *-      *        '. - !-
                           *  .. *  ,    ,  ..
                                             ,. ,
                                                '
                                                t       **k-      -           -    :* -      -     :
                                                                                                   * >
                  *-.,,, ,''.      e; -.           *, *, *'œ- i
                                                     . ,   .                *'- *- - - - - p
                  *
                  ..,............. ,a.,         u ,..,.-
                                       ...,. . (.
                                       .                     ,
                                                             .... a-                    . .. .ui
                                                                    . ..- .. . -.- .- = -,     ;.+
                                                                                                 . e
                                                                                                   w --.-
                  - M W W W. W e *eW W * #**                                                G'''W ''WO
                  ux
                  (
                  e
                  . r..x..u.;
                      ,      xx.W.œ  a..:..
                                   x t      m e. y
                                            >
                                            l
                                            i
                                            :          a '  a wx ox a xo.                       ew .
                                             '
                                             l
                            w y      .;..   #.   . . > . p.. .;                  . .> . .. ...
                  #YY W                     .
                                                           G A XW WWWO                                 G     O :- G                   - -

                          ...          y.
                                                 -                -          -                 4. jy
                                                                                                                         -       - =      =
                                                                                                                 *
                                                 1




              *
              '


              >                                            'O                    * - 1 41*35*      '
                                                                                                                                        P+ '4 d 18
                                                                                         '
                                                                                     .       . .....

                                                                                     e w .
                                                                                         t

                                                                             (
                                                 .
                                                                                                   y.  ,
                                                                                                       z)
                                                 %
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 74 of 165


                                                                                                                                                                         Exh.R R % .5

            *
            '



                                                                           W W V.M         t .h - A e                .
                 e           '...   >...u..x .   % G dt        W . W: W .b ...x>:..x.:
                                                                                     %w : j>
                                                                                     .         ;o                                 +..>
                                                                                                                                                 ..y
                                                                                                                                  .
                   ++ e$       .
                                  >    .j.4!W   .E
                                                 *.:
                                                   Lv g?
                                                       -.
                                                       )
                                                       = X#
                                                       y     -':ç;
                                                                .   e' r+ -)    +  r, (  A,.  v-
                                                                                              .     .p y- ...
                                                                                                  .#e                    - .     +--.=.. .,
                         :
                         (w+     ,:u - .: 'j.     V
                                                  ;   *         :     s.: ,  ,
                                                                             '
                                                                             :=
                                                                              : ! r'  -        e                             . ..u . -       %                                         ..

                    ô'..L :
                          :'.'..$.k(M
                                    y:). J    ,pz'p
                   L
                   r
                    -                 ,     '. ,  .;
                                                   ,;t'
                                                      :4
                                                       '
                                                       .','
                                                          ..
                                                          '
                                                          .*
                                                           '
                                                           :' V.-
                                                           -     '>:G;>.*v, Nk 6      -.
                                                                                       *<,r .
                                                                                          .*
                                                                                           '
                                                                                                .,:.'.., L
                                                                                                    '' '           ' '-   '
                                                                                                                           rr-;A - i#' .L
                                                                                                                             ' ''''        *: E. ., :
                                                                                                                                            11141,./
                                                                                                                                                   1
                                                                                                                                                   '
                                                                                                                                                   1.
                                                                                                                                                    1.1
                                                                                                                                                      .1
                                                                                                                                                       16
                                                                                                                                                        '                    ''                           '
                 jë:i
                ..
                 .  tp
                     '
                     ,i'
                       i'
                        i
                        ;i
                         s
                         '
                         ji
                          '
                          I
                          i
                          kL
                           r-
                            l:   '  '-.'?
                                        :
                                        r'r
                                          ,            !
                                            ..--.. -., .
                                            .           V..
                                                          :-.'  :
                                                                .
                                                                ''r'
                                                                   .
                                                                   ,7
                                                                    à
                                                                    j
                                                                    >
                                                                    6
                                                                    .
                                                                    bb
                                                                     t
                                                                     .
                                                                     à
                                                                     E
                                                                     .
                                                                     6
                                                                     b
                                                                     'q
                                                                      -
                                                                      ,.-
                                                                        k
                                                                        '
                                                                        y
                                                                        ,
                                                                        ' ,
                                                                          '
                                                                          ,(
                                                                           '
                                                                           ,j
                                                                            .
                                                                            ';
                                                                             j
                                                                             .
                                                                             '
                                                                             ,
                                                                             k
                                                                             .-
                                                                              (
                                                                              .
                                                                              j
                                                                              , ,
                                                                                ',r
                                                                                  (
                                                                                  ;
                                                                                  '
                                                                                  ,
                                                                                  *
                                                                                  .j
                                                                                   ,
                                                                                   .j.
                                                                                     j
                                                                                     ,
                                                                                     .j
                                                                                      .
                                                                                      ,j
                                                                                       . j
                                                                                         j
                                                                                         :
                                                                                         'j
                                                                                          'y
                                                                                           y
                                                                                           j
                                                                                           .I
                                                                                            j;j
                                                                                              .j
                                                                                               .
                                                                                               :
                                                                                               j
                                                                                               ,
                                                                                               .Ij
                                                                                                 .
                                                                                                 -3
                                                                                                  '
                                                                                                  I
                                                                                                  .
                                                                                                  ;1
                                                                                                   3 3-
                                                                                                      (
                                                                                                      ,
                                                                                                      6
                                                                                                      3-. .. ' '.. '-'''.
                                                                                                       :              , .
                                                                                                                        , e
                                                                                                                          '.'
                                                                                                                            .'
                                                                                                                             .
                                                                                                                             .
                                                                                                                             , y
                                                                                                                                   ...b
                                                                                                                                      '
                                                                                                                                      é
                                                                                                                                      .
                                                                                                                                 . : y,3
                                                                                                                                       '
                                                                                                                                       i
                                                                                                                                       .6b
                                                                                                                                         '
                                                                                                                                         6
                                                                                                                                         b'
                                                                                                                                          '3
                                                                                                                                           f  ,j j j
                                                                                                                                                   jjjj;
                                                                                                                                                       j
                                                                                                                                                       ;
                                                                                                                                                       ,
                                                                                                                                                        ,
                                                                                                                                                                 '.' ' '''
                                                                                                                                                                               .
                                                                                                                                                                                            '             .       .       .
                   Lkg:..
                        ...r
                           ....   .,:. ! .'.$
                                            .j@wk
                                                1'': W'    :,
                                                            .
                                                         /. '*,
                                                              k
                                                              ,.,
                                                                ,                                       .        .
                                                                                                      , k ,, ,. . :  ,  ,
                                                                                                                        2              j
                                                                                                                                       .jj
                                                                                                                                         y
                                                                                                                                         .
                                                                                                                                         ,j
                                                                                                                                          jjj
                                                             t''  'fO .      ..xg)+:J.::'     : %) ;. W- W o .                       > .e:
                                                                                       ,          -                                           .,
                    F.     F .k:;.
                              ,.k;:r: rL::: ; : ': $.. g               ,';-
                      .xk
                     :-
                      W
                        yk m:                                   ., .      vr.. ?     uAL ;       . ...; .
                                                                                                 :                                .y., w ..
                                                                                                                                                   e
                    ::.so,,      ..w  u-xuf wt:.i'
                                            j           t'' 'w        ''Ee . '
                                                                      :
                         a...Ea.),e&'
                     . .. .,            ...:.
                                            ::
                                             41 p. *.,c.e.;)vk':2                  .'p      w,,r   &,e..) .tW..uv- >, :e e *                                                                 .
                                                                                                                                                                                                  -.
                                                                                                                                                                                                  .                   .Y
                  r'
                  .
                    s,,  '
                         ,n.m,     '
                                   .
                                   ,;
                                    ,,   : r.r .:.
                                                 :(M)
                                                    . v ...r,:
                                                   .-                                           .  :#.'.
                                                                                                    .   .W : .,,    . . >       -. :   . < +o +w=.----
                              '
                              -,
                               ''  ,  ,:     ,   .
                                                 ,
                                                 , .        . .>         .          t  '.    j    -      ...**  ï,
                                                                                                                 :,              .
                                                                                                                                   .
                                                                                                                                   -.> :j-        .              : .                                 .,           !. y
                                                                                                                  ,   . ,
                                 *  ':: i
                                        .I
                                         ii!11
                                            E i6
                                             11i3
                                                L'
                                                 '
                                                 6'
                                                  b
                                                ' '
                                                   6
                                                   b
                                                   '
                                                   6
                                                   .'
                                                    b
                                                    .6
                                                     '
                                                     -b''6
                                                         -61
                                                           -
                                                           ,
                                                           ''
                                                           6
                                                          -;6
                                                            ..'
                                                              ?'
                                                                                                 -        '' '
                                                                                                   ëE. ''''- t-., .-.,. .,
                                                                                            . .. .... '' .. . . .
                                                                                            .                                       ..                                       '.
                                                                                                                                                                             .
                                                                                                                                                                                      t.
                                                                                                                                                                                       '
                                                                                                                                                                                       tr
                                                                                                                                                                                        !rr'
                                                                                                                                                                                          !-!-''
                                                                                                                                                                                        .' .    '
                                                                                                                                                                                               ,i
                                                                                                                                                                                                '.'
                                                                                                                                                                                                  .i
                                                                                                                                                                                                   II
                                                                                                                                                                                                   ..i.I
                                                                                                                                                                                                       .:i
                                                                                                                                                                                                         .I
                                                                                                                                                                                                          ...1
                                                                                                                                                                                                             .'
                                                                                                                                                                                                              ,!!
                                                                                                                                                                                                                1.I
                                 ''
                                                               (..',.;.'.......'..'.-'y
                                                               :  ... . '
                                                               ....
                                                 ..... .. .. ...
                                                                                        -'
                                                                                         .
                                                                                                                                         I.
                                                                                                                                         j
                                                                                                                                         'j.
                                                                                                                                          ,;.
                                                                                                                                           jj1
                                                                                                                                            ijj
                                                                                                                                              i1
                                                                                                                                               ji
                                                                                                                                                jj
                                                                                                                                                 i... . .... ,. .
                                                                                                                                                  j.
                                                                                                                                                  'I)
                                                                                                                                            . . .. .
                                                                                                                                                    jj
                                                                                                                                                     1j1
                                                                                                                                                       jj
                                                                                                                                                        tj
                                                                                                                                                        ;.-
                                                                                                                                                          336
                                                                                                                                                            33
                                                                                                                                                             66
                                                                                                                                                              36 3,
                                                                                                                                                               366-6
                                                                                                                                                                   .6
                                                                                                                                                                    33633
                                                                                                                                                                        6-6
                                                                                                                                                                          36
                                                                                                                                                                           3
                                                                                                                                                                           ;6
                                                                                                                                                                            363
                                                                                                                                                                              66
                                                                                                                                                                               33
                                                                                                                                                                                666
                                                                                                                                                                                  363
                                                                                                                                                                                    63
                                                                                                                                                                                     63                       .       .
                                                                  :.sE.su..,          j
                                                                                      8j
                                                                                       .!j
                                                                                         1
                                                                                         ..j
                                                                                           I
                                                                                           j
                                                                                           ul
                                                                                            ;
                                                                                            'j
                                                                                             I
                                                                                             .1
                                                                                              !
                                                                                              'I
                                                                                               ;j
                                                                                                .p
                                                                                                 I
                                                                                                 1
                                                                                                 'i
                                                                                                  :,                          ..-.r.'..
                                                            j                                                                          ..
                      '''>C  î,-.:                                                                                                                                                                                      ,
                                                                                                                                                                                                                        ;.
                                                                                                                                                                                                                        jj.
                                                                                                                                                                                                                          j
                                                                                                                                                                                                                          -
                                                              -
                                             '.:
                                                                                                             j
                                                                                                             'j.
                                                                                                               jjj
                                                                                                                 i
                                                                                                                 11
                                                                                                                  44  j
                                                                                                                      14
                                                                                                                       14
                                                                                                                        9
                                                                                                                        114!
                                                                                                                           11
                                                                                                                            4,'
                                                                                                                             .
                                                                                                                             1
                                                                                                                             <. . , . ..... .
                                                                                                                                        ' .    .          '   .   ,
                                                                                                                                                                    l
                                                                                                                                                                    xj j  j j  j lj  jljlj  j
                                                                                                                                                                                            ' fi
                                                                                                                                                                                                ..
                                                                                                                                                                                                 i x
                                                                                                                                                                                                      .

                                                                                                                                                                                                                    s '.
                                                                                                                                                                ,
                . . ..'                            . .r.;;:...
                                                        .                                  ' .              lè
                                                                                                             .       '
                                                                                                                               .
                      '
                   : :':
                         j .. .: 3 .
                                   >   ':    '   '     '  '
                                                          * '                                      ..    g:.:
                                                                                                            L.
                                                                                                             ..) r=
                                                                                                                  .   ul%  '
                                                                                                                           ,jkë  H     S               ..      ' : J   .          k      '    h   . -         J-'
                 :J .                          .t;.u:.:.:-.
                                                          u x-.    ...
                                                                    ..   uxk y:: , J                    e  V *  .-     M     *e  -: t  u
                                                                                                                                       w     œ  .                  #        W                L  ' :-           r. '-
                                                                                                                                                                                                                   y(
                                                                                                                                                                                                                    r-wo
                                                                                                                                                                                                                      '
                                                                                                                                                                                                                      .'
                                                                                                                                                                                                                       -w-
                   :'
                    r:E;r.y
                          q
                          . ''.,)'
                            .. .. ...'
                                     :.. :
                                         '
                                         .z'
                                           .yW
                                             t.e ,
                                                 ' L
                                                   l;.''.  '*            -:  ,,       ,<,   . . I.    l!.
                                                                                                        lt . w,+' .G    K ..'e .. >-.            rv.       :.. t                     a(       g. + .
                                                              :, '              ,.,.'::'    !lI
                                                                                              1l  Ii!l
                                                                                                     I  1l
                                                                                                         iI
                                                                                                          '
                                                                                                          .
                                   '                                                                                                                        '    '' ''                        '      ''               '
                           .z      . .. '                                ',                  *                                 jjj
                                                                                                                                 k
                                                                                              . -  '    -4
                        . .                           D                                                                                                ,
                   ,,                            . .: .                                                                                                ,,          .

                       ;a%
                         '.                    ,
                                                   .               .             ..
                                                                                       #> .
                                                                              .... .,: :                                                                                           A            W         AW
                        W:                      ;. ) .. .e - e
                                                e                                                                             e                                                                       e                   .
                       - *< ,-'       * E *'J, ,k           -: w.:+-
                                                                   - ,:!.                   ..,-,,, ,-.             : ; .G                .
                            7: '.' , . .-    d..
                                               -=
                                                ..
                                                 = -
                                                  -w' :       W           ; :
                                                                            .':xà   rnw-.      o-w- .:.. tw . - - -
                                                                                               .
                         *               ,    7
                                              e
                                              .  *,
                                            :t:::r. .. : ç>    .  -' 'è
                                                                      ,>   ,
                                                                           -       ;-
                                                                :'..;e ,GEq            ,.      xo
                                                                                               zu,x .x )e j...e .a . .
                                     ,
                       ,:
                         ' .. s .
                           ;:       iK% '  :e             j ,:
                                                             -'                               .
                         .Y ; .
                              2  ..
                                  :
                                  .
                            è7t1( 'y
                                   s
                                   ..
                                    (
                                    .q
                                     j:
                                      .:
                                       W
                                       .
                                       .,.o..!
                                             .'.
                                               1 '     q  p  .
                                                             v.
                                                              g r
                                                                ..
                                                                 =r
                                                                  ..
                                                                   v
                                                                   :.
                                                                    y
                                                                    u.
                                                                    .
                                                                    .
                                                                    .; <:
                                                                        :
                                                qr . , c o. : ''''7 ' ;..
                                                                         w
                                                                         .
                                                                         :
                                                                         ,:=
                                                                           '&  '
                                                                               ,':
                                                                                 j.
                                                                                  ::1
                                                                                    :.'       .
                                                                                      .'jIjjj.'       jjw
                                                                                              ;jjNjjjy.
                                                                                              j         jjjjjjim
                                                                                                               '' t,      .
                                                                                                                          ... a...,; yr
                                                                                                                                      .',.,.j.jm
                                                                                                                  '.t            e.. .rv',v .jj%I'jvjjjj
                                                                            .
                                                                            ,

                       '.'' 1
                             .; ).o,o J,r.'                -       . ..% QoN - k-              W W =ju         .uN. .iW
                                                                                                                    !
                                                                                                                    : -. (
                                                                                                                         W
                                                                                                                         x. xjkt
                       i#'  E
                            ' ,
                              '    .
                                   d
                          # ;# . .:Vu  e
                                       :
                                       .i
                                        ... .
                                            ,
                                            :..
                                              . ë
                                                .'j
                                                  ?' ' '' '
                                                          ''
                                                           .
                                                           '
                                                     g.r:zb,
                                                s.;,J,      '
                                                            ,.
                                                             -' ,
                                                                'e,
                                                                  ''
                                                                   ,
                                                                   . .
                                                            , + Eue.. e.L
                                                                        P..
                                                                          , -. . , .  .
                                                                                     y ::L.    *'
                                                                                                ...f-
                                                                                                    et    '.
                                                                                                    r.e r .at ..
                                                                                                               '.
                                                                                                                p
                                                                                                                '.
                                                                                                                 ''
                                                                                                                  ' E' '
                                                                                                                       . .
                                                                                                                         ..
                                                                                                                          . '. y
                                                                                                                          ., . .k;   a
                                                                                                                                     .g ..
                                                                                                                                      .  .,    -.
                           '
                          :.
                            .
                            ;
                            ë
                            .
                            ;?
                             <
                             C..
                               h
                               ... f;
                                  j,  .,
                                       :y. . ,,
                                              h:
                                               ,,c..
                                                   xw.J'. ,e'   ..e  '. '
                                                                     .   < e. e  ( ;x..     u:ç . - *2 . . :.o      .                                                                                                         .
                           +>
                           J,
                      .. . . .: ')
                                 . E
                                   ,.
                                    '
                                    gw '
                                       Eë
                                        '...z.,,
                                         .     . .
                                                 ,
                                                 .:
                                                  -.'
                                                    * *='':
                                                          k  x' .
                                                                '
                                                                #.' 'j
                                                                    ;:'
                                                                      +
                                                                      .
                                                                      r'   e
                                                                       y,,, .      .
                                                                              yo.... ..-.
                                                                                   -,:,....
                                                                                         > .-.
                                                                                             -)v  e   .
                                                                                                      .'.
                                                                                                        'A
                                                                                                         .
                                                                                                         t
                                                                                                         ...%
                                                                                                            .
                                                                                                            .'
                                                                                                             .G
                                                                                                              .
                                                                                                              . - -
                                                                                                                  .
                                                                                                                  .'.-
                                                                                                                     >
                           .#+,
                             ' e,?  r..,    L
                                            œ.,,-..,..  ,. ,.,. , .
                                                                  .                       .
                                                                , p
                                                                  k  .-
                                                                      ,
                                                                      .     *               ,
                                                                                            - .
                                                                                              :   .  w   .
                                               .                                          .
                                        '
                                           .r
                                            T: .v,.:: ..: :   *
                                                              ': ;        %:W h: - R >.....    m..
                                                                                                 çz:
                                                                                                   o.
                                                                                                    !
                                                                                                    .
                                                                                                    '
                                                                                                    ju.
                                                                                                      i.:
                                                                                                        t
                                                                                                        œe ; <
                           ''
                            r'
                             ,'
                              >xs
                                e
                                2;:..
                                    y>h
                                      ;'a*
                                         .
                                         : ...
                                         ,      .we.o >v #+
                                             ;y,;         .e                    < .y .. .; ,>..v... . e e
                               >.,
                                 >..C )
                                      < ' :
                                      >   >                                                   n:z , .*k
                                                                                                      .
                                                                                                      r <                                              :
                                                                                                                                                       k% + > .
                                      1-  ', . # :, + .E
                                       .. s                  >gy,y a w. % :>.       uL   .;ux.xj
                                                                                      - .,      . *uu . -:.. -           ..
                               *
                               . . 7 .#
                                       $
                                       .y .  ;
                                          :. 2 ;.
                                                v
                                              ... -
                                                  ..rw'
                                                      '''v
                                                         F'
                                                          cy
                                                           E
                                                           -
                                                           r
                                                           ,
                                                           w,   ;
                                                                -  ,-  -
                                                                      -.   w
                                                                           .t ;...  .-
                                                                                     .    <.        . .;  .  .
                                                                                                             o.. aw
                                                                                                             ,
                                                         ,,:
                               , >.      (,w , ,..a: ue ,t   ; .,,.
                                                                  . :a,
                                                                      e'ei. >e :
                                                                          (    < >E e :..w. y      >.,
                               '
                               S           1
                                           .
                                .;:,...., ..
                                e ;:r.
                                   ,.       ..
                                             .f
                                              '
                                              .
                                              ,
                                             :':
                                              ..
                                              -j,
                                                u
                                               ;,
                                                r
                                                v
                                                !. 'â
                                                 .. :.  '
                                                        :
                                                        -
                                                     < .!.
                                                         M    .. ,
                                                                 .
                                                                 *
                                                                 ..   ,..
                                                                        '.
                                                                         .   ..  ,
                                                                                 -
                                                          . '. '- :''' . y .; . y.  .-. t
                                                                                 evv . >'-;.-. x.-%e..
                                                                                              w.      y>uu.'..,  .,...
                                                                                                                y.
                               ;
                               '                       ..... . .v. ',q .                                                                  .. ,,..                   . .'..--
                                                              ..               y;                <w!rJ::'; 7 :                           j . .;,r               i..axsw
                                                                                                                                                                    L.       u. x%                   W m..
                                                                                                                                                                                                        . .u.
                                                                                                                                                                                                            c
                                                                                                                                                                                                            x
                                        f:j;..W bug
                                      ':h
                                        &        N:u;y.u:l.h.r,.Vx=
                                                                 X.'+
                                                                    .
                                                                      'E5!
                                                                         1
                                                                                                 j. .....g. yy.v
                                                                                                               .e ..g:
                                                                                                                     ...xz,.
                                                                                                                         ,g
                                                                                                                             u+.
                                                                                                                              . .;
                                                                                                                                 vç;et& j y
                                   W..:-t..,....z,q.p'.....r..''.k..-.k:.,''.C''';'''''r';'i'.:.'./':;1'dK:.M.'''''''-'-''--<*'---*'V'
                                                                                            .
                                                                                                                          .ay      .
                                                                                                                                         ,y
                                                                                                                                                                    ,
                               '                                                                                 .
                                                                                                                           .
                                                                                                                            '
                                                                                                                                   . '
                                                                                                                                     e            ''   - ' '' '          '




                                                                                                                                                                                        W U %Sr




                                                       %




                                                                                                                                                                                                                              Pv 5* 13
                                                       j                                                                              ce                         x-

                                                                                                                                              o
                                                                                                                                              rx
                                                                                                                                              .,.
                                                                                                                                              . .
                                                                                                                                                  '
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 75 of 165


                                                                                                                                                                                               Exh.RR pg.:

                                                                                                                                                                                 45




                    1
                    1
                    kp
                     9
                     1.
                      l
                      1
                      ,
                      -
                      41
                       -i!
                         1
                         r
                         4 !
                           l
                           1k        ....,.t.: 1t1.1.:,.1..1..1..,:*'
                                             .11                                           -
                                                                                           ' ..                             . .,-
                                                                                                                                ...
                                                                                                                                  ,.;..
                                                                                                                                      ,
                                                                                                                                      .
                                                                                                                                      ,.
                    2  . ,
                         .t4
                           .
                           ....,5....*
                            ,
                            :     ..
                                  .
                                                      ,e,-
                                                          . .. .
                                                                   e :- ,*.
                                                                                     + + *+ e,:-...jj@jj.jjyj.jjijy;.;:....-.-,..:..;.,
                                                                                    ..                                                .x
                                                                                                                                       #                    .


                                      ,::s,,.# ' .
                                             ,          :.r..g .:;:',,..M
                                                       .M                      :0 . .
                    WWevi.*   2  .; '
                                    *h  -J.(-<;     y(x>%x4'',   Ea .y  x  ... t:x.. '%;::'(% , &' w %. S              )7
                                                                                                                       j                         ,
                    * ', :
                    'J:;'g>.a'.
                              ;'xr:.. +:   ? :?
                                       ï>':2 . '   *
                                                 ''4: 4.'       e             i )  #- , -
                                                                        nL''' '' - ' w             -' - - . *
                    -, , E ,
                    '
                                         -
                                         .,     :e .   G ,*   '
                                                              . . , ,j
                                                                          *r *
                                                                          ., ,
                                                                             ,.,,
                                                                                  4           - - h-          e
                     * * .:         e, .t,
                                         ,:..,,E
                                               #,:
                                                 e.:., ..   -. .:.-o= l            .
                                               Y G F        O                      O      < e **                  W
                     .,. ,,,,,,. .,   . , - . ,-. , - *           .,,+. ,*. , .-,,.',.,,,,
                                                                                         x,
                                                                                          t.,.,
                                                                                              ...
                                                                                                ,.-*, ; ,
                                                                                                        :
                                                                                                        y- , -M,
                       ... .' .....J  . ;..,' ... .:.j.i:''.
                                                           'z'''.t:.!. ''E(;'.
                                                                             i' .'.                               'w
                            e-
                            s            - ' '     . .,.   'ï.    :' w  ,;   .#ï.'ë'.* - '' *;1*.*' )''E #,* -., .-
                                                                             ,                                    ,
                     *t
                     '
                     '
                      .v!
                        ..) '
                            /
                            '... ...... ,.....z
                                              ...:s .
                                                    ,.......,.. ..                '          .. .
                     -:tr'L.*- #e - - *,               *             * * -* , ,         -    - i- e
                     ..'                ..         : (..
                                                  . .'
                                                     '.  'c6..,.'q.*.. ... * -? :'*
                                                                                  ' 9t-
                                                                                      '. tF      .-
                                                                                          e *- * '
                       ,,,.... E .., ,'* ,, -  ,,< * -        .
                     e
                     '' :.,
                     '
                          .. .fcI
                                .-
                                 , s@ . ;'
                                         .F..-
                                          .: 1.'.'..<'j. ...'':?
                                                              ,.
                                                                 *-
                                                               ''f.'          .:.* .'
                                                                   ut;-.àk.diliâ.b'.
                                                                                    .
                                                                                   .i
                                                                                    .ldkJ'.
                                                                                          --    -
                                                                                                .'      ':-.1,.1,!941!4.94*-'
                                                                                                                          14'' -
                                                                                                                            118
                                                                                                                              1
                                                                                                                              '
                                                                                                                              bi'
                                                                                                                                b'b'
                                                                                                                                   6  ,' '
                                                                                                                                    *''
                                                                                 .'
                                                                                  @
                                                                                  ii74
                                                                                     F
                                                                                     '7
                                                                                      1
                                                                                      ji4
                                                                                        1id
                                                                                          1
                                                                                          t
                                                                                          i'
                                                                                           i
                                                                                           l1-i1d
                                                                                                i
                                                                                                )
                             .. .                         '     '
                                                                      F
                                                                      ll
                                                                       i
                                                                       ddi
                                                                         l,
                                                                          i
                                                                          '
                                                                          kd
                                                                           t
                                                                           ldl
                                                                             p
                                                                             ',
                                                                              .' .   'izi i'  '
                                                                                                 k
                                                                                                 e--.. 3.
                                                                                                  .
                    7''.'kCk: .....:-..s....t...
                     e                   -F ':-.q-
                                        yc p
                                                 .
                                                  .....a...--.-..--.,.-,s....-..k)... .,.-.
                                               --.:
                                                 <.
                                                  ?-
                                                   ;..
                                                     ,.
                                                      -..
                                                        ,?
                                                         s
                                                         .-.
                                                         % -
                                                           :
                                                           .r,j
                                                            jjg.
                                                               -
                                                               ..
                                                                ?., - tldiir$)'
                                                                  ..,
                                                                    ;
                                                                    .          -
                                                                               !..
                                                                               . 7
                                                                                 :
                                                                                 1
                                                                                 .-   - y
                                                                                     4e
                                                                                  1.11
                                                                          yw e k . ..;
                                                                                      '
                                                                                          6
                                                                                          .
                                                                                          k
                                                                                          .
                                                                                           .
                                                                                           ,
                                                                                           p
                                                                                           .
                                                                                           à
                                                                                           1
                                                                                           'Sà
                                                                                             ',
                                                                                              .
                                                                                              -
                                                                                                :
                                                                                                '
                                                                                               b'
                                                                                               1q
                                                                                                b
                                                                                                1
                                                                                                i
                                                                                                à
                                                                                                1,
                                                                                                 !
                                                                                                 1,
                                                                                                  '
                                                                                                  à1
                                                                                                  4à
                                                                                                   q
                                                                                                   d
                                                                                                   !
                                                                                                   1  .
                                                                                                    d.d
                                                                                                      1
                                                                                                      t
                                                                                                      1
                                                                                                             ..
                                                                                                             ' :  1
                                                                                                                  1-'
                                                                                                                    k
                                                                                                                    '
                                                                                                                    '1,
                                                                                                                      1
                                                                                                    e . y.+ o .,323636.
                                                                                                    . :
                                                                                                      ..               1
                                                                                                                       1
                                                                                                                       11
                                                                                                                        11
                                                                                                                         1
                                                                                                                         1t7-
                                                                                                       r.1..1.9.,,.. . .. ,jl
                                                                                                                            j'
                                                                                                                              -
                                                                                                                              ''
                                                                                                                             j:
                                                                                                                             .j
                                                                                                                              1
                                                                                                                              .
                                                                                                                              j
                                                                                                                              .:
                                                                                                          ,.. ......,,...-. ....W
                                                                                                                               11.4
                                                                                                                                  ,
                                                                                                                                  1k
                                                                                                                                   11.1
                                                                                                                                      .1
                                                                                                                                       4
                                                                                                                                       11,
                                                                                                                                         1$
                                                                                                                                          k
                     #k..,,..,..,,. *,,,,.. .,  -#i
                                            ... ,
                                            .,    ,,*
                                                    -,#
                                                    .. ,,
                                                        ,1
                                                         -,,*-,
                                                             -,
                                                              -,
                                                               .-*
                                                                 '
                                                                 ***'- .--
                                                                     -.
                                                                      *,,-
                                                                      r   k e G'
                       ,, ,...s ,,, ,
                     F
                     -      -
                     è,. G. >
                     *             -    -      '
                                               *-     -    '
                                                           - *-  -   *''r.'
                                                                         ' ''-
                            .r.,..,.  M .j1 :
                                            @* (
                                            r   W . %.,.,- % .
                                                             %. * . . 7?, ..
                                                                           -, .
                     'L
                      ..:    ).).$..y.r..:.....s.
                                                t.....,.,... a.:,..;ï.j;.....r..5
                                                       ,.                       .)
                                                                                 ,.2,.x,...,.. ,
                                                                                 .                             ....... ............rk
                                                                                               ....,)....:.....ï                            ).       .. .   .
                                                                                                                                                                . . r ,. .            .   ..
                     '
                     j
                     g1(
                       w.,.,4
                            .,,..;y
                                  a j
                                    w
                                                      ;              ..,oy
                                                                         ;
                                                                           *>.-.yo
                                                                           ;    ? k.
                                                                                   >
                                                                                   ,,.jyr ,
                                                                                          *,o.+e ç* ça
                                                                                        e a jj
                                                                                                    G * i-. #* .-
                                                                                                    .
                             '#y
                               - .* ,,,.M-,..r#* %
                               ,                 ,.-'                                                                                        - .'
                                                                                                                                                - - e ,-,.<
                     r
                     '
                     W''-.
                     ;
                     t     *W- ;#
                                S= ,)L-y.-'4k+yj
                                   .
                                               r,
                                               & / .;
                                                 -
                                                 &   :
                                                     #
                                                     , -*
                                                       -
                                                       %..#
                                                          4,e
                                                            &
                                                            G --
                                                              y
                                                              %
                                                              ,
                                                               + *
                                                                 A'
                                                                  :
                                                                  p-
                                                                   .
                                                                   ,
                                                                   .
                                                                   - -er V -
                                                                     '.

                             -,'t
                                ',
                                 &,:
                                 ' 1
                                   - - ''.7,/'-e''-.
                     '                                          .'
                     -
                     .,,,'',
                           *!                      ',
                                                    ,
                                                     ''-'' w-- - 4- y
                                                                .,    - -. -
                                                                 . ., ,
                                                                              ,
                                                                              .
                     e *, #< e,,y(
                     ?                            #* *- .     v> - - e+ - -
                      *
                      -- .> * '
                              e *é
                                 i
                                 -,-, *,:**-- e>: e'
                                   ,
                                                   - -*,-- .*- *e
                                                           ot  4- *-
                         -           ,. ,,,r. ,.* ,*.-.:
                                 *#N .                  *-- -        - , <- - -
                              '<'>.#..'ç-,.,.,.-< , .i-., .,.#>- *-- *-.
                               ,                                      --,- -,.- ---                            .                                                                          ,
                                   ,                      ,    #e -                               *             *-                      /- - -                       - *-             *
                                             1

                                   .                                                          e                     ::# #                                       -            -
                                                                                                                                                     w




                '
                .
                              '
                              j.
                                                 ? ,y
                                         ''.. '.. . .'.)...
                                                                                  yg cgx ,x sjjq.               . ..
                                                                                                                                                                                  pv : lf14
            .            .                                                                                ,
                                                                                                          :




                                             1                                                      '*
                                                                                                     '
                                                                                                      e'' g.                            ;
                                                                                                  . .      '                                 '
                                                                                                  ,
                                                                                                  .        . ...       .                ,
                                                                                                                                  .

                                                                                                              W
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 76 of 165
                                                                                                                                                                                      Exh.RR * 2
                                                    %




            M...,.:
                  M ..
                     <#                                                .: . * .                                      ..                ..
            W
            e ,j%
                <*        *e
                          w  wu' j;OM M *2 * * Ve Ve *8e
                           t,t
                           S                                             .         W
                                      w
                                            *
                                            . W
                                                  ,  -  ,i,
                                                          :
                                                          *,e*>. . -
                                                                   : *e     :  - -  êe
             j ' .
             . .
                   . ,  :   .
                              - *.,*.
                                ,   ,
                                        *''r*'-*
                                        . .
                                                ,,,
                                                  9.-,
                                                     .,*t-- *-  *- ** e#.
                                                                        *,.*.**--*'
             ?
            :r-''
                '
                ,'    ,.
                       ,.
                        , ,
                       , ,.     -;
                                 '
                                 , ..       -    -.    ,
                                                       ..
                                                        '- -, '
                                                              , M
                                                                ;.'
                                                                  -   *+-     ,-   1*
             *-.- '..',i(
                        *
                        ,y,,,,,.,
                                , ,           *      #-                   '''!u .
                                                                          ;      *
                      J.r.
                      '  5,r....,.
                                 J':.'...:..:..., kf;'.r.'
                                                              - ..-t :. , k--
                                                                            .
                                                                              #-                                         '
                                                                                                                         -         '       '
                                                                                                                                               **- .           ..
                                                                                                                                                                         #-
                                                                                                                                                                               .. .
            ..:i .
                                                                                                       l' ...'       .. ..
                   t -,
                           ,, *                 '..,...1k  .,
                                                            .,...,,.,   .......
                                                                              ,.... .........j          ,',
                                                                                                        w      *.-,       ,.'**       ;. .
                 4x       C
                         ,.         '..
            ''       . . '
                 #+-
                   @'à -.    *- -'        ,,*e '                         - -2          -: -*4-   , - *- -- -                           -
                                  1y.:
                                     !.: ...'...'  .x).') '..q'.':ç ';        , .<.. ..           l. *e *                  >e       *- e
                 - .  )
                  -,,..
                       J,
                        .' 't
                        ;'
                         ,.-
                              w,
                             ''
                           ...
                                 .. .,
                                    .  :..',
                                       .   ', 'el; '1.J,
                                            ''.        '.
                                                        . -
                                                        *'  .' L *; ;' - 'tr 2 ' ;'       1   -
                                                                                              :<        *p   '*       1-
                                                                                                                      :M' '- *-
                                                                                                                        - .- - e - -Q-
                              -.       .'      V'   :*,, '         œ,,?  -,    - -, '               -
                       .. .
                       .
                 >       'f','

                   y j.j
                       ' vk.b) .L?..:...>'.. :;''..;.;:!.)L.'. .      ....         AV
                                                                                    ''.!''JV''. .'( AG
                                                                                                     v'
                                                                                                      .'   .!..,..'.V;       .&
                                                                                                                              .'. .' .
                  y
                                           -. ,.;,
                                                 .,
                                                  ',,y. .s,
                                                          t.. #?
                                                               e,.'-                       >'           .>'      -,
                                                                                                                  -.
                                                                                                                  q                            j.
                                                                                                                                               .*,
                                                                                                                                                , . ' ..
                                                                                                                                                       >    i i.. kl'p'iipllp
                                                                                                                                                            11I             ltl;   **
                                                                                                                              '    jj
                                                                                                                                    .
                                                                                                                                    j
                                                                                                                                    :
                                                                                                                                    'jj.
                                                                                                                                     . 4
                                                                                                                                       j4
                                                                                                                                        j
                                                                                                                                        ;....1
                                                                                                                                             .'
                                                                                                                                              .è
                                                                                                                                               .
                                                                                                                                               .1
                                                                                                                                                .,.3
                                                                                                                                                 c ...
                                                                                                                                                     -.-
                                                                                                                                                       b
                                                                                                                                                       6
                                                                                                                                                       .
                                                                                                                                                       .
                                                                                                                                                       .3*
                                                                                                                                                         .
                                                                                                                                                         6
                                                                                                                                                         3t.-
                                                                                                                                                         .  .
                                                                                                                                                                 *
                                                                                                                                                                            ..
                      ;
                     ..
                   ;.-,..
                            '
                        -,... .,p,,.-..-.-.,...-
                                               ...,<s,.,..
                                                         ' :.. ...                  ....e
                                                                                              'd
                                                                                               i1ht1
                                                                                                   pii
                                                                                             .. .. ,.
                                                                                        .. ...       .j
                                                                                                      i
                                                                                                      .j
                                                                                                       .!
                                                                                                        .'
                                                                                                         d
                                                                                                         .i
                                                                                                          ,1
                                                                                                           i
                                                                                                           -i
                                                                                                           ..1
                                                                                                            ,
                                                                                                            .-4
                                                                                                              .i
                                                                                                               -6-
                                                                                                                 ,.
                                                                                                                -.
                                                                                                                . ..
                                                                                                                   ..
                                                                                                                    .
                                                                                                                     ...-:. .
                                                                                                                    ..   .
                                                                                                                            - . .ï
                                                                                                                               .                .

                                                                                   :M    *                                         f               r
                   '
                   .                                                   .....
                                                                                                                                                                               .

                                          q                                                                             j;
                                                                                                                       -, 4
                                                                                                                          jj
                                                                                                                           ,
                                                                                                                           jjj.
                                                                                                                              ;.
                                                                                                                               4,
                                                                                                                                .jj
                                                                                                                                  9
                                                                                                                                  ,
                                                                                                                                  j4j
                                                                                                                                    12:j;ji,
                                                                                                                                    j4
                                                                                                                                     j     ;jjjj
                                          ,.
                                           q,-,, .,, .-
                                                      ,,..
                                                         ;.. .jjjj    i
                                                                      r
                                                                      .j
                                                                       .
                                                                       j
                                                                       .jjjjj
                                                                        :    r
                                                                             j
                                                                             ,.jjy
                                                                                 rjj
                                                                                   sjji
                                                                                      ,
                                                                                      .j.jj,I
                                                                                            .jjjjj.
                                                                                                  ,.
                                                                                                   i
                                                                                                   j.
                                                                                                    j
                                                                                                    y
                                                                                                    ,j.
                                                                                                      jj.
                                                                                                        j
                                                                                                        t
                                                                                                        .y
                                                                                                         j
                                                                                                         pj
                                                                                                         .p
                                                                                                          j.
                                                                                                           jjj-
                                                                                                              j,
                                                                                                               t
                                                                                                               j,
                                                                                                                jjjj,
                                                                                                                    jj
                                                                                                                     jkj
                                                                                                                       t
                                                                                                                       ;                                                      . .

                       . .-   l
                              I
                          .....p,
                                4
                                i,
                                 d
                                 .
                                 iI
                                  d
                                  .
                                  f
                                  .4
                                   -
                                   L,i
                                     k
                                     .a
                                      '
                                      ,
                                      1.
                                      ipI
                                        ,
                                        .
                                        111           .....                                                          .
                                                                                                                     .td
                                                                                                                       1
                                                                                                                       .
                                                                                                                       'i/i
                                                                                                                          kl
                                                                                                                           d
                                                                                                                           '
                                                                                                                           il
                                                                                                                            i
                                                                                                                            l
                                                                                                                            .'l
                                                                                                                              ,
                                                                                                                              1
                                                                                                                              '6
                                                                                                                               '
                                                                                                                               b'
                                                                                                                                t'
                                                                                                                                 *. 1
                                                                                                                                    .
                                                                                                                                    !1
                                                                                                                                     '
                                                                                                                                     .
                                                                                                                                     1.
                                                                                                                                      41,1,1.
                                                                                                                                            $
                                                                                                                                            ,41
                                                                                                                                              ,f
                                                                                                                                               è
                                                                                                                                               -           ,

                                                                                             .'
                                                                                              L
                                                                                              33*% e+ eo e(@> .)
                                                                                              .                  '
                       ,. . .       .
                                                    ë.      ;
                                                                   1
                                                                   '
                                                                   ti11
                                                                      I%
                                                                      1d
                                                                       i
                                                                       ,1
                                                                        id
                                                                         I1
                                                                          i' 1
                                                                             i
                                                                             jp;v
                                                                                e
                                                                                ?'
                                                                                -it1
                                                                                   9
                                                                                   ù
                                                                                   d1i
                                                                                     d1
                                                                                      i111I
                                                       ,q.:-.....-,-. :.-,........;:...: .
                                                                                           .1
                                                                                         ...
                                                                                            .k?                  . .     .               W     .

                   'k -
                   .
                   ....- ,               . .-
                                    . , -.
                                              -,--t: :.
                                         . ..,.....%-..-...,c....
                                                                ..
                                                                   J
                                                                   e-     .         * *y .
                                                                                         '
                                                                                         -               *'>             :
                                                                                                                         * , *- - *- - :
                                                    #- ..,*..., ;7
                                                                 *
                                                                 -,.
                                                                   -.,
                                                                   , ,:,  .,
                                                                       +,,..,.
                                                                            .
                                                                            ,,+
                                                                              .
                                                                              ,.)
                                                                                -#.,.
                                                                                    .,
                                                                                    * ,*'-
                                                                                      :
                                                                                      k  ,, > -;.,> -
                                                                                                    :.
                                                                                                     ' *
                        *,
                        , ..,.
                            '...*
                                .-.,;' ,. .,
                                      ,
                                            ,,, ,
                                            .   ,*
                                                 ,,,...,#*
                                                        r         -, e - * :' ' ',- - ,
                                                           .*:,,,./
                                                              '
                                                                  ..
                                                                                        <                                                              .

                        j
                        #.,,t .      -, K, .'-
                                             ,, ' ,,'r,.- **4œ < * -' *.L
                                                                        - ' %'  W ':*- '-

                                        jàà
                                        , (
                                          L
                                          3
                                          )
                                          .à
                                           b
                                           3
                                           à4
                                            ,
                                            3
                                            ,i
                                             j
                                             .
                                             ,':'   ;-.
                                                .ï''.:t) ',
                                                      k   ;*
                                                           .,A#-                                       .
                                                                                                       -
                                                                                                       '
                                                                                                       .                 - -. :
                                                                                                                              - --'
                                                                                                                                 .-                                       *-,
                                                                                                                                                                            - #
                            ...        .
                              ( .:.r,. .
                                                    s.',                                          . .,-,...-                           .-.** .*-. - .- .
                            - - *e,
                                 -. .,,.lt-,?-, , .' ,.,                                                                                    ,% * :
                                                                                                                                                 <. 'G - ,
                            7
                            -. .
                            '  *.. .
                                    ..     .,,9 ;. . ..                        .
                                                                                         '
                                                                                          - *Ve                       - -                                           --        -       -
                                        . .


                                +
                                ,
                                                                                         '' .                        4: q$




                                                       $




                        '
                                                                                                                                                                                      % 7/ 18
                                     t< t
                                        @)%- +o                                            7j gF.
                                                                                                N@C IIG ;                    ''
                                                                                                                               r..,.
                                                                                                                              ..       J
                                                                                                             (
                                                                                                             .(
                                                                                                             .
                                                                                                              ..
                                                                                                            yV'W Yy
                                                                                                          ('
                                                                                                          ' y: J
                                                                                                               ''  .,D
                                                                                                                     '
                                                                                                                     .(
                                                                                                                     F''.
                                                                                                                ..
                                                                                                                    j. .
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 77 of 165
                                                                                                                                                                                                                                                          Exh.Rl pw :



               ' ,.<.. ..M.a,. .. .....;.. . ..,                                                                            .                 , . :) .                          .             :. :.               *; .s                  E. .i
                                                                                                                                                                                                                                             R' : p. :
               .. .
                                                          ;*- .'+e
                                                            ;   >v..            2 .. .. Gxv;'..v .e'o''r-.. '..:..s.. .:. ,):...:':... .. ..:....y
                                                                           .. . '
                                           ;:.
                                           >                            .. '        orlllrpRl          %R!!i!>1'
                                                                                                               +w.......lllh.
                                                                                                                            '.... . ' '., ..'.....E.g.... ....'
                     y.         .. .;.:,J '.
                                           *.1
                                             ..
                                              1
                                              :.
                                               ,.4
                                               . ;1
                                                  11
                                                   .,
                                                    .:7:
                                                       W
                                                    ..;.t>' 'g . .
                                                                    çt.'.
                                                                        ..  x...'. e
                                                                              .p
                                                                               l   '' 6'..  rR
                                                                                            .qx
                                                                                              'vRqxllRh4
                                                                                             .x a yw ' w o
                                                                                                                      .s
                                                                                                                       '
                                                                                                                                  o
                                                                                                                                               ''
                                                                                                                                                ;

                                                 , ,;,                 .
                                                                                 *
                                                                                 .                             .                     :                     : e . =. .
                                                                                                                                                                    * - * - M .*

                                                              e                        s    *                                                     * *                                      **
                                                           5E
                                                           Y:'                         s
                                                                                       &
                                                                                       ï
                                                                                       %%:': '
                                                                                         9                                                g
                                                                                                                                  e. +: '.: ; .W
                                                                                                                                          .
                                         ,,
                                                         S.
                                                                                                                         - 1 #- w ;                        -.
                                                                                                                                                            ,!,
                                                                                                                                                           -'.
               '
               *.                                                                       .
                                                                                        *e +.             *              *                      ''= t'    ,
                                                                                                                                                          '
                                                                                                                                                          e
                                                                                                  '''''''.'''':.>.....''             '                '..'..':
                                                                                                                                              . ; ,r''.      '.'.'.
                                                                                                                                                                  ''.',
                                                                                                                                                                      n
                                                                                                                                                                                                    . '                             ..     '
               ''. . '! .f . ..    r'bcs.> ,,
                                            . ...
                                                :.:'
                                                   . ?, ;.T'',.' .y-:..', , .E...':..:'..:. .                      ...   , :
                                                                                                                           . ..... .            .                                          .                                                      .
                                                                        *                  *                          '      * .               '* *>
                                                                                                                                               *
                  ..
                  k         '
                                          f           *e .. . *                 ;M 3* ' ',*.e .*,.'-.i. . .'e. .'.'''='W>
                                                                                '                                                      ..*' ''*.-  ' '- . '
                                                                                                                                        . . . , . ...
                                                                                                                                                                                                                                                      '
                  .
                  -,k,..':.. ' ,:r.
                                  v., .w.....0 ..,. o,- ..,.    *.,. ,,...,,.,,e...- .
                                                                ,
                                                                '                    -..., .  :$..,.., .. w.,                      .

                    .
                                  :>(.H z !'E .'
                                              .
                                                          >t.. ' n. Y'
                                                                           % ..'%' .'C x.
                                                                                           #w     #>
                                                                                            ''''+'' '' ' '' ;''''
                                                                                               . .u.,a. u . .ww
                                                                                                                                   >
                                                                                                                                  ' ' ' '
                                                                                                                                         .w        . ;.'
                      .
                                             '* , e -     .    ,    .e  ., -        e.
                                                                                    , .  .
                                                                                         < .   e - , ,             -      Y.                 -.  - . -
                                                                                                                                                   >
                        , ,..
                       s4k.4;x..;w....? <.''k' F.'r ;y                                    .;? ':t         :. 2 ..ç .' . v ).;
                                                                                                ,p... . ..:                                                                  e *, *; . .+,
                                                                                                                                                                               . .'      .
                                                                                                                                                                                         *' v.                                                 .. ' .. :
                                                                                                                                                                                                                                                       'J       * '.
                ''
                 .    zi  4. .,.. ., . t
                       .$.,            -....,,,. ... z, ,..,.                                                   .        '!         . , ,... .,...,        * *. .,                     .
                                                                                                                                                                                         ''
                                                                                                                                                                                                    .,
                                                                                                                                                                                                        .'            -
                                                                                                                                                                                                                  . . .       -,
                                                                                                                                                                                                                               * . ''
                                                                                                                                                                                                                                    *E*,

                                                                                 *               EF<,-        *
                                                                                                              .r
                                                                                                               e* *e - **
                                                                                           & 4* ++     e +e <         #+ e
                  .                                            Akî
                                                                 e                        àc' ''                      i
                      .ï             '# .,                                                 . .-.
                                                                                               - -.= - .
                                                                                                       -       -,- >a ,
                                                                                                                      -.
                                                                                                                      't ,                                                    .'*                           *.
                                                                                                                                                                                                            .                                              ..
                                                                                                                                                                                                                                                            - .
                                                                             x                                                                                                >
                          .#'
                            ,
                            '
                            N                                                                                                                                               '< .#+ '
                                                                                                                                                                                   ,                                   .'A
                                                                                                                                                                                                                                            >:
                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                        ..
                                                                                                                                                                                                                         ..RIIIP'.
                                                                                                                                                                                                                                 '''...
                                                                                                                                                                                                                                      ':W ,.
                                                                                                                                                                                                                                           : . '.
                                                                                                                                                                 '                                '*''....4.....
                                                                                                                                                                                                               q:::.:.:.
                 '.
                  à......L..'
                  ;         ;)s..?.....:'......,.-f.'..:......,
                                                              .r..,.,...,
                                                                        .y,ï:.....
                                                                                                              '
                                                                                 '.).'..,...:ts,;.. ...'.. ....;...,.                                       t
                                                                                                                                                     .. . ...
                                                                                                                                                            ,J.
                                                                                                                                                              ....        44'..:.....**.''
                                                                                                                                                                          1               ''''.''!.
                                                                                                                                                                                         ,. :.:
                 Fk                                         r                              r
                                                                                           *W                         + .
                                                                                                                        %                                                           +k
                                                                                                                                                                                     0 (q                                      -            :
                                                                                                                                                                                                                                            .rw .
                                                                                                                        7
                                                                                                                        ;
                                                                                                                        .
                                                                                                                        * *                                                  '        '
                                                                                                                                                                                      #                                                   '' '''' ''
                                                                                                                                                                                                                                                                     '
                                                                                                                                       'Y' .              ''' '                                                                      W
                                                                                                                                                                                                                              .. . . .m..
                                                                                                                                                                                                                                        -'.
                                                                                                                                                                                                                                        ' ''''N             G.
                                                                                                                                                                                                                                                  .. ......
                                                                                                                                                                                                              .
                          1''''M x
                                 %>.
                                   !'.
                                     )a:...> ...:,,....x'..9.0;y...........,
                                                                           .:..'...
                                                                                  .. ..,.+ .                                                        ..::,.'''m-.,. .. .. ,....,
                                                                                                                                                .. .:                                               . ..
                  v . . '!                  ..                .                    x
                              * ,     > - *-                                              k                                                                                                                                                                              v
                 +.. ..;. . .                             .
                                                         *'
                                                                                                :. ' :u                                     .. ,.).....x     I.
                                                                                                                                                           '.i 'b.'..
                                                                                                                                                              1;    66,3
                                                                                                                                                                    2         $.d3''':
                                                                                                                                                                       6.63.366      'uu
                                                                                                                                                                                      ï.''..'.',','.;'s''.,'.',''.            M.....
                                                                                                                                                                                                                 ''.''.ï.,'.'.''.   ..j
                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                      u
                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                      3
                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                      . .
                                                                                                                                                                                                                                       '.
                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                        b
                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                        :.
                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                         j.
                                                                                                                                                                                                                                          .ï'
                                                                                                                                                                                                                                            .3
                                                                                                                                                                                                                                             ''6 ':'
                                                                                                                                                                                                                                                   b'.b
                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                       :t
                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                         1
                                                                                                                                                                                                                                                         '11111111157
                                                                                                                                                                                                                                                          ...            . .
                                                                                                              .71
                                                                                                                .!
                                                                                                                 11.!.!
                                                                                                                      191C1E.1'7                              .                                                                                    .   :         .
                  ''''
                     .'
                      ''..
                      ..?                     ...'..,/
                         :J.;:....;..........,'      '.
                                                      4...j
                                                         .  .....;.J''
                                                                     ; ,;., .'. ... .:;J.:
                                                                                     ..   ....'. .',..:
                                                                                                  . ;' F.. ;::.  .             .. .... .'.z...
                                                                                                                                    . . ..    . .  :... ..                                                       .                                        ,
                  '.                                    '4
                                                         ,
                                                                     ..,
                                                                        .
                                                                                         .
                                                                                               - '
                                                                                                 *,'
                                                                                                   + ,
                                                                                                     *',
                                                                                                       * ,
                                                                                                         < '                                                                            ----
                                                                                                                                                                                                                             -. +  -
                                                                                                                                                                                                                                   '  -  -       7 -         -
                                           '                                            ..:. . . .. .. .A      %''.'.''''%b1..- .. ;'    ''.''.'''k' .. . .A1i1r.
                                                                                                                                       ..'
                                                                                                                                       . .                                    . N                    , ';'..              p.$     .u .!**K*r*.
                                                                                                                                                                                                                                             **.
                                                                                                                                                                                                                                               *****77--''14111111'.
                  $. ...   'D.ta '.f y...;.,......A''           .%
                                                                 .'
                                                                  .'
                                                                   .'
                                                                   '.'
                                                                    '..%
                                                                       .:...u. ..:. :
                                                                                                                                                                                                                              hw<
                                                                                                                                    :



                                                                                                                                                                                                                        *''-r r O
                                                                                      :                                                                      .                                                                            >




                                                                                                                                                                                                                                                          P+ :* 48
                                                                                                               .                     .. <ï.'
                                                                                                                                    .:.'
                                                                                                                                       (....
                                                                                                                                           i... 7''' '
                                                                                                                         ' :
                                                                                                                           . .        y' t(.. .' ..
                                                                                                                               1.. E               '                       .


                                                                                                                                     ''
                                                                                                                               . . '. ' ' i
                                                                                                                                              '''
                                                                                                                                                             lW
                                                                                                                                                              '
                                                                                                                                                              ..
                                                                                                                                                                 V
                                                                                                                                  .   . ......
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 78 of 165
                    %

                                             Fyh.YR pg.11
                                                        2
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 79 of 165




                                                                                                                                                                                                                                 F'h.R R * 3 2
                                                                                                                                                                                                                                      #

          d
          *
          '
              *?
               *,., '
                    )
                    .
                    <'-                               < -,..*
                                                      .                .. *...*'.              *.,.. , >*'                                    Y t- e - -                                                         .
                .. F                  qr;..:.            :ëk:.. 'y'i!u' ..y'(p . .            . .
              *t*,   -. .       - ,.              >                           t *i        1, ' , :
                                                                                                ,..-).....ï
                                                                                                    -+    1
                                                                                                          i    .
                                                                                                              -1
                                                                                                            1:'j
                                                                                                               1-.
                                                                                                                 1
                                                                                                                 .1.
                                                                                                                   1,
                                                                                                                    1
                                                                                                                    41F
                                                                                                                      j
                                                                                                                      -I
                                                                                                                         .
                                                                                                                       ip!
                                                                                                                         i
                                                                                                                         -,
                                                                                                                          .            '-..r:..., wi
                                                                                                                          4.11.t1.414.,-           .1
                                                                                                                                                    ii1,
                                                                                                                                                       :4
                                                                                                                                                        iI
                                                                                                                                                         .1
                                                                                                                                                          1i1'Ii*....i
                                                                                                                                                          .'... .
                                                                                                                                                                     1.1i).?
                                                                                                                                                                         '
                                                                                                                                                                         . ,1
                                                                                                                                                                            j1
                                                                                                                                                                             ki
                                                                                                                                                                              ,d
                                                                                                                                                                               ,.1
                                                                                                                                                                                 ,,
                                                                                                                                                                                  j1
                                                                                                                                                                                   ,l
                                                                                                                                                                                    j!
                                                                                                                                                                                       11111,1. .. .
                                                                                                                                                                                     j,,,,,,-
                                                                                                                                                                                            j-.,
                                                                                                                                                                                            .  jj
                                                                                                                                                                                                ---j.-           .
                                                                                                                                                                                                                       '

                    @.....'
                        ,:k,...4
                               ,c-.;.s.......-...!$?
                                     .y            .i
                                                   x.p
                                                    dz.
                                                      41
                                                       Elt#:t
                                                        .t  .1
                                                             l
                                                             k
                                                             ./
                                                              -1
                                                               ..1
                                                                 :1
                                                                 ;.!
                                                                  :.1
                                                                   ,
                                                               . ....I
                                                                     $i
                                                                      1
                                                                      .4I
                                                                        .r
                                                                        :
                                                                         J'
                                                                          .
                                                                          :
                                                                          N
                                                                          s.,
                                                                            i
                                                                            .
                                                                            ;.
                                                                             .
                                                                             :.
                                                                              .
                                                                              t
                                                                              .-
                                                                               !
                                                                               ;.
                                                                                z
                                                                                 '
                                                                                 ,.
                                                                                  ,.
                                                                                   ,
                                                                                   ..,
                                                                                     .
                                                                                     ..-
                                                                                       .
                                                                                       q
                                                                                       '
                                                                                       :-
                                                                                        ..:
                                                                                          .
                                                                                          ; .-
                                                                                           .ë  ..
                                                                                                  .
                                                                                                  #;   .
                                                                                                          ;
                                                                                                          .
                                                                                                           :
                                                                                                           .
                                                                                                            -
                                                                                                              :s
                                                                                                                 :.,
                                                                                                                   ;
                                                                                                                   -.
                                                                                                                   '
                                                                                                                   .
                                                                                                                    .
                                                                                                                    y
                                                                                                                    '
                                                                                                                     ..
                                                                                                                     :     .        .
                                                                                                                                      .
                                                                                                                                          .
                                                                                                                                              ..
                                                                                                                                              ,
                                                                                                                                               .
                                                                                                                                                .
                                                                                                                                                                .
                                                                                                                                                                '       :
                               .            .
                                            .                               ..
                                                                         ; .. à:..<:. . .>                /. .. .
                                                                                                          .                             . .                             '( ' .-               ': ' .
                                                                                                                                                                                              ,.
                                                                                                                 .
                                                                                                                 *..
                                                                                                                   .   -               *      -        *     *      -,  .
              . . .. . . :...
               ..      . . ..
                         ...   -
                                            .. . .' .
                                        -,v..?.,.,,
                                                          ,....-
                                                          -       .   .
                                                                                *.,.-.,.......,.,#,.
                                                                                '
                                                                    x.,,...-...,.
                                                                   ,,
                                                                                                    '**
                                                                                                      .,,. ,.. ..,.t .. .ë:.
                                                                                                                                    .      ,
                                                                                                                           k. .....r..'...pv
                                                                                                                                                 .
                                                                                                                                           ...:.. '',
                                                                                                                                                    '.
                                                                                                                                                      ,
                                                                                                                                                     'g
                                                                                                                                                      '',
                                                                                                                                                        '.
                                                                                                                                                         ',
                                                                                                                                                           :
                                                                                                                                                           ,
                                                                                                                                                          '.
                                                                                                                                                          .
                                                                                                                                                            .
                                                                                                                                                           ''.
                                                                                                                                                             '.
                                                                                                                                                                ,
                                                                                                                                                                .
                                                                                                                                                                  .
                                                                                                                                                                  , .
                                                                                                                                                              ',é.!...
                                                                                                                                                                     ',.
                                                                                                                                                                       <..,
                                                                                                                                                                             .. .
                                                                                                                                                                                  .., ,
                                                                                                                                                                          ..y....'''..
                                                                                                                                                                            .. p     !,
                                                                                                                                                                                           t    ,...:..#........
                                                                                                                                                                                                .   .
                                                                                                                                                                                                    .        . . . . ..
                                                                                                                                                                                                             . .                ' . ' '
                                                                                                                                                                                                                           ,.:',. .
                                                                                                                                                                                                                      ,. ,..
                    ,$ t                          '.. ,
                                                      ..
                        6. ,...
                              :p...                                                                                                                                                                                   .
                                    -
                                    ,
                                    .,..,-.,..,.
                                               #,,.
                                                  -
                                                  ,
                                                  . ....*
                                                        ...
                                                          ,.-,..'
                                                          ..
                                                           '    -.
                                                                . ,.,.*
                                                                      ..
                                                                       ,
                                                                       -
                                                                       ,,....
                                                             .x..,.) ...!   ,...,-,..*...,
                                                                                         .,
                                                                                         *..
                                                                                           -,....**
                                                                        .y..;.?.....;...'............
                                                                                                :..
               .,.........,.*.4*
                              ,
                              ,.
                               ,,,.. M ,,  '*.,,,.,z- ,,,..   #-.*,
                                                                  -.',
                                                                     *. *, .,#-..
                                                                                *,:+,,
                                                                                   L .d*
                                                                                       . ., -     '
                                                                                                  -#
               ..                       ..         ..., .
               - ,.*... ., .                                                                >   -
               -:.,
                  *
                  .u
                   ,,
                    -
                    r
                    .
                    ..,
                      v...
                         .js..;F..)
                          .'
                           *      *.
                                  r:J,
                                       *..
                                        . ,,L
                                            *.
                                             ;
                                     ;:r. )*+:
                                     .
                                              ,,'
                                                .
                                                P,:
                                                  *.
                                             ...;.,
                                                    ,-
                                                  . *.=,
                                                        '
                                                        *. .
                                                       )?
                                                        k  ..
                                                            '
                                                            *
                                                           #.
                                                            ,..;:,. ,.
                                                            .-9 i.:,;. .e-'. R. -.' -.i
                                                                                      -
                                                                                      :
                                                                                      d '.*ë
                                                                                            , ,,
                                                                                           : - . p .- ..E
                                                                                                                                                   '

               #                  .             , ,,*,-
                                                      ;.;,h                          ,'
                                                                                      *'e       *- + - - -                                                      w- '* '         +
                                        > >                        +                                            k',,.
                                                                                                                    '   -. ..k.?r,>'i''ï',
                                                                                                                       >.                '.t
                                                                                                                                         t ''
                                                                                                                                           k-'
                                                                                                                                             -'-.'
                                                                                                                                                 b.'
                                                                                                                                               ' . ib
                                                                                                                                                    ï'
                                                                                                                                                     --
                                                                                                                                                      bt
                                                                                                                                                       'ï
                                                                                                                                                        -''
                                                                                                                                                          --
                                                                                                                                                           ïq
                                                                                                                                                            '''
                                                                                                                                                              -'-
                                                                                                                                                                'i
                                                                                                                                                                 '-
                                                                                                                                                                  ï-
                                                                                                                                                                   'ï
                                                                                                                                                                    ''     ï
                                                                                                                                                                     i:':'.-'
                                                                                                                                                                            3
                                                                                                                                                                            b
                                                                                                                                                                            '
                                                                                                                                                                            ''
                                                                                                                                                                             '
                                                                                                                                                                             6
                                                                                                                                                                             '
                                                                                                                                                                             b
                                                                                                                                                                           ' -b
                                                                                                                                                                              '
                                                                                                                                                                              ï
                                                                                                                                                                              6                                             '             .
                                                                                                    - . .-ï
                                                                                                    . 1l1IIt;,F:
                                                                                                             1I''   .1
                                                                                                                     .
                                                                                                                     11
                                                                                                                      1;                                                                            ... .        . ..
                                   - ,.-
                                       .----.E    ( :
                                               r. -        .-i
                                                             Il
                                                             '
                                                       . .. ..
                                                    ,. ....-  ii:1
                                                                 II
                                                                  l1
                                                                   i.,i14
                                                                       .
                                                                        I1
                                                                         I'
                                                                          1
                                                                          i.
                                                                          1
                                                                          -11
                                                                            ii
                                                                             .1
                                                                              iI
                                                                               1I
                                                                                il
                                                                                 .1
                                                                                  iI
                                                                                   li
                                                                                    1I
                                                                                     !pk.!
                                                                                      Ii 11111
                                                                                     . .. '
                                                                                          .. 4
                                                                                             .-.r
                                                                                                @.--.
                                                                                                    -
                                                                                                   .. ..,
                                                                                                                   . .
                                                                                                                     :
                                                                                                        . ....... ....:.              .. .
                                                                                                                                         ,
                                                                                                                                       . ... .. .,
                                                                                                                                                 .
                                                                                                                                                 ....
                                                                                                                                                   -;*
                                                                                                                                                   .           . - -,. .   ....
                                                                                                                                                                         ...  . .
                                                                                                                                                                                  ,
                                                                                                                                                                                             . .... .
                                                                                                                                                                                           ...

                                      ..
                                      i                                     . ,

                    '                                                                                          '                                                                  .                         :
                                                           '                    ..
                :                       .                               wo o e e . .                     .                                        o         j
                 *' r                                       - - + - - * '- - *- *
                                                  > ê
                                                    - *- .              r              . - .:* - - - - i''> *.*
                                  , ,.

                                                                           .- '-6b6b3''b.6.b.b'''.$'b-,1401.1911111,.41'-;.*,'
                                                                               -à                                            'b
                                                                                                                              6b$b6b'b'b# * . ....'
                                                                                                                                       .t         .!
                                                                                                                                                   i
                                                                                                                                                   z'i.
                                                                                                                                                      r
                                                                                                                                                      z
                                                                                                                                                      .-.-.z
                                                                                                                                                           -:.
                     +';
                       .''
                         % T
                           =
                           %
                              '

                                                k.,
                                                           c!,1
                                                              i
                                                              ...
                                                              .
                                                              ;
                                                              . q
                                                                t
                                                                ,!
                                                                 ..
                                                                  q
                                                                  '
                                                                 ,.
                                                                  ..
                                                                   .i
                                                                    ,.
                                                                  :.;
                                                                     i
                                                                     .
                                                                     r
                                                                     ...K
                                                                      :
                                                                       e
                                                                        '
                                                                        ...-
                                                                        .
                    eC,'.;.ïi.-.--..?--;--!,.... ....--.,...-.:.,-,,..,,.,:,..... ... e œ *. . . . .: .-''. ,'
                    ë.                                                        #.  #:m ':, êv>          . t.''.'.,,.j.kj.'j.,
                                                                                                                             ' -E ..
                                                                                                                                                       ..
                                                                                                                                                            .        .               ..
                                                                                                                                                                                          M!,-..
                                                                                                                                                                                               Q
                                                                                                                                                                                               g
                                                                                                                                                                                                .
                                                                                                                                                                                                 +'eoy .
                                                                                                                                                                                               . .;
                                                                                                                                                                                                       >>:.+.;
                                                                                                                                                                                                             y
                                                                                                                                                                                                            ..


                                                                                                                                                                                                             .
#                          :
                    '.'' .r r.                 ''
                                                 *,*1.,
                                                      1111
                                                         <111i111'1ëe.;
                             .k,. ,.....u..'. .. k'p.'. . .
                                                          .'.
                                                                       ;
                                                             . : .*.'r.. ',7
                                                                       .:2
                                                                          *t ; ..g.#..:,..'''.
                                                                              e     -          .
                                                                                               .
                                                                                                  )- ' ) ,...:.
                                                                                                      .*.M ,
                                                                                                           .
                                                                                                             '
                                                                                                             .
                                                                                                              .E           sy
                                                                                                                           .j(
                                                                                                                            :y.
                                                                                                                              j;
                                                                                                                               j
                                                                                                                               .
                                                                                                                               k
                                                                                                                               :
                                                                                                                               ,.
                                                                                                                                j.,
                                                                                                                                  ;
                                                                                                                                  '
                                                                                                                                  .N.jI
                                                                                                                                      j
                                                                                                                                      .,
                                                                                                                                       'jy
                                                                                                                                         Njy
                                                                                                                                         ,  .
                                                                                                                                            q
                                                                                                                                            ,
                                                                                                                                            j
                                                                                                                                            4
                                                                                                                                            jj
                                                                                                                                            '
                                                                                                                                             ,C:.
                                                                                                                                              . 4j
                                                                                                                                                ..
                                                                                                                                                 :
                                                                                                                                                 4
                                                                                                                                                 'j
                                                                                                                                                  i
                                                                                                                                                  ,,.
                                                                                                                                                    :.,
                                                                                                                                                    ,
                                                                                                                                                    .,:
                                                                                                                                                      ,j.. . jj
                                                                                                                                                     '' .                        ,


                        '... .,,.,z-
                                   -    e =,  ,.-
                                           ...o  ,
                                                w:
                                                            ,
                                                 .K',. -.,,*, :,'%
                                                                       '
                                                                       *
                                                                     *.K'' '
                                                                           ,
                                                                           -    '
                                                                                .-
                                                                         -.::..;lj5,
                                                                                   . ,  g   ,
                                                                                  -I4....p..1:4ql:
                                                                                  .               -,
                                                                                                 A*.' .
                                                                                                      -
                                                                                                      '
                                                                                                    ;- œ =.        -         -.     ,
                                                                                                                                 =''%'kz# -      -
                                                                                                                                        -*#qk . ;.t  -
                                                                                                                                                     .   ..,
                                                                                                                                                       .R> =:!,
                                                                                                                                                              *,' -
                    :.
                                   .-,..'
                                   I    ,.,
                                        .
                                        -
                                        F'r
                                          *     d           ..           4
                                                                         .           .                          -7---77.7---7--;.%                         *  Ip**.*.F
                                  .


                    ),..... >.j.k
                                >:v t
                                            .              .
                                                               g
                                                               .0. .;.o..,
                                                                         v..v..
                                                                        ;!    v;q....
                                                                                    x.t. . . .. .
                                                                                    :                                                         a         .                                   xx.a. x.                    o                 x .
                                                                                                                                                                                                                                  z ........
                                                   f
                                                   .
                                                   ,
                                                   .......;
                                                          :...:
                                                              .2
                                                               6
                                                               . 6
                                                                 3 66                                      :       .z.e .: :   .                                                  '
                                                                    ,3
                                                                     1                             - : E - r....:'.y
                                                                                  '
                                                ''zp
                                                   .             .
                                                                ..'x
                                                                   7;J    ;.:.t....: ....
                                                                      y?(:.          .. ..7....., ..  ..           u            . .. ....      .. ..
                                                                                                                                                 , .
                                                                                                                                                                    ..       ..
                                                                                                                                                                                                                                      '
                                                                                                                                    t,.,.: .,.,'.. ,-
                                                                                                                                                                                                                                              '
                                                                                                       '*
                                                                                                        .
                                                                                                        '
                                                                                                          .,
                                                                                                           .
                                                                                                           -    '   ,:.. . .,.
                                                                                                                             .*
                                                                                                                              '.-                  '                                                                   ..
                                                                                                                                                                                                    .. .             ..
                    <..
                      : ,'
                         ,
                         ,.,
                           .t
                            .*
                             :,.
                               .,,
                                 .;...
                                 '
                              .,... ...
                                     ,..ë, -
                                           , ,,
                                              .         *.'
                                                          .,-..,-.E, .,......'...:.-.... .
                                                                           ..                        .     ,
                                                                                                           - *.
                                                                                                           .  e. ,
                                                                                                                 #- .#
                                                                                                                     ,'
                                                                                                                      - *,.
                                                                                                                          , ',
                                                                                                                             > ..#- *
                                                                                                                                    .,-.
                    .
                                                                                                                                                                                      -. !-- * ,,- .-
                                                                                                                                                   >* , >
                                                                                                                            '
                                        43 . .,..,., .:,,:;<
                                                           ,.,
                                                             !
                                                             i.,
                                                               <.* r.y
                                                                     ,..*..
                                                                          *. ., ,.;.,.. , ..
                                                                          $                                                                                              ,    .
                               ., .             +# )                                 #                                                                                                   wo g      .
                    .
                                                                                                                                                                                      Y .- - - - -
                                  - ,
                                    g : ,: . - - 1- - - - * >.-.
                                  * ,, -    * '- # * '%- * -     -
                                                                                                                                      x                 .                                                   .. :.
                                                                                                                                                                                                                ... .
                        :.. .           ,:.. k ,               .: .
                                                                  ;-




                                                                                                                                                                                      -   -                                                   v
                                                                                                                                 .            +                                                                       -




               '
                                                                                                                                                                                                                                      Pv 12 of$:
                        >                                                            (
                                                                                     :% *- q I
                                                                                             .
                                                                                              ,935*                                                 .
                                                                                                                                                        '



                                                                                                                                                            '
                                                                                                                   '        -           '                       ' ''
                                                                                                                            '                      .
                                                                                                                       ..        ..
                                                                                                                                     . ..
                                                                                                                                                                .            )

                                                                                                                       .., '.    .
                                                                                                                                 , ,,
                                                                                                                                             :.:.'.':
                                                                                                                                          tk'q      ''''.' ...
                                                                                                                                                    .
                                                                                                                                                                '

                                                                                                                                .'  .          .  .. kk .
                                                                                                                                                                                                                                                                                                                        .-..m. . ......
                                                                                                                          .... , . T2
                                                                                                                                    (J::
                                    Case 0:23-cv-61345' Document
                                                         ...     1-4 Entered .on   FLSD ...Docket
                                                                              .. . .
                                                                                   ,.....- .... .....:
                                                                                                     . .. wxwyw. .
                                                                                                                   07/14/2023
                                                                                                                     .. .
                                                                                                                                         Page 80 of 165                                 . .. . ...... .

                                                                       .;   :                                 %
                                                                                                                                                                                                                                                                                                                                                       :
                                                                 J                                                                                                                                                                                                                                                                        .:'?
                                                                                                                                                                                                                                                                                                                                             A'.
                                                    '.   :tèM.                                                      ldk                                                                                                                                                                                                                   ' . ' 1:'s
                                                   <ï
                                                    2;
                                                   .'
                                               4
                                               .

                                          1:                                                                                                                                                                                                                                                  ,. 'a                                   xj '
                                    J:'
                                    '
                                   it.:
                               k#
                                (.
                             . :'

                     '.!.:....f
                              $'
                ' Xl   ':'
               .:y'
        j'(r..I
           y( '
              (.
               ::':'.?,.
                 :                                                         . .J
                                                                              '':. .                 :' . ..-'.'' -,.                          '. ' '
    :i
     tta,i
        ô
      ''''-
         .'
          .-
           ,
           '                                                           ,--
                                                                         .-
                                                                          ..k.- ...-
                                                                                   ?''' b'b                  t.'1.'.';.......,; -...>
                                                                                            '.. - .# '1.d-i.1i
                                                                                          ':*                                        ..'.-..*
                                                                                                                                            -    .... ..1
                                                                                                                                            . .-..      ..11-1
                                                                                                                                                        .. ...,
                                                                                                                                                              .1
                                                                                                                                                               ..1 *' '.::'>-
                                                                                                                                                                   .
                                                                                                                                                                  ..... .... -.
                                                                                                                                                                 ..             ..
                                                                                                                                                                                -
                                                                                                                                                                                   . ' :
                                                                                                                                                                                  ..-
                                                                                                                                                                                 .. .-
                                                                                                                                                                                                   '...1.!'
                                                                                                                                                                                                          ....  ''.....1'.....,.
                                                                                                                                                                                                             '91,              !''L''b'''.'1
                                                                                                                                                                                                                                  -'
                                                                                                                                                                                                                                  '.
                                                                                                                                                                                       >'.....:..j.:..<...4...'.....;.:..,..'......-œ. w
                                                                                                                                                                                     ...
                                                                                                                                                                                                                                           '..
                                                                                                                                                                                                                                            11
                                                                                                                                                                                                                                             .'
                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                             1.
                                                                                                                                                                                                                                              '.i
                                                                                                                                                                                                                                                '''
                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                     111    i 1l''
                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                               '   1. t1., ' i .
                                                                                                                                                                                                                                                                               '-'   l '-1'
                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                    -.'.:*.'.:*!!x..q.'....'t>.t-'.%?'.''è-
                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                           ''
                                                                                                                                                                                                                                                                                           i   ir
                                                                                                                                                                                                                                                                                               .  1'i-
                                                                                                                                                                                                                                                                                          ,...4.!.1.4'
                                                                                                                                                                                                                                                                                                      .-
                                                                                                                                                                                                                                                                                                     r-
                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                       .*...'
   2..7.
       Q.r'..
        k.  ''
             .''                                                     ?'h'
                                                                     .           . ,.-..-..- . ,.. .'. t,..........9.
                                                                                                 4'y .s ' . . i m.>..ht$:''      141111'. ... . . . . . .. !9:..,
                                                                                                                                 .                                  ç 5..                                     '''             '           '   J!!,
                                                                                                                                                                                                                                              '  '''
                                                                                                                                                                                                                                                   .*'
                                                                                                                                                                                                                                                   o   '1i           :.                        ).
                                                                                                                                                                                                                                                                                                       q.''
                                                                                                                                                                                                                                                                                                          '.
                                                                                                                                                                                                                                                                                                           ..!
                                                                                                                                                                                                                                                                                                             .'
                                                                                                                                                                                                                                                                                                              *..'q.
                                                                                                                                                                                                                                                                                                                   '
Jq
 ' .
 p''
                                                                                        ..           .. ...y.r
                                                                                                             ...,... ......x.:r:. s.. .. .( '. ,.
                                                                                                                                                -., .- - .:-
                                                                                                                                                           . ..-..                                                                                                       . ;- .: :                      ;.
                                                                                                   .* ,.#*                                     - L'
                                                                                                                                               '  ., ,'
                                                                                                                                                      ..                                                 '
                                                                                                                                                                                                         . ,*e *'
                                                                                                                                                                                                                *-, $
                                                                                                                                                                                                                    -                                                        * ,. ;
                                                                      :. >..           K ; 'a..''.t)'tt:rjli:!
                                                                                                             f''...'
                                                                                                                   ..k.
                                                                                                                      ''Lr;.'.''.'J .
                                                                                                                                    '1')
                                                                                                                                       ..:.'!?'!I
                                                                                                                                        ..      t.'t':' '.<'.w
                                                                                                                                                             .$'. ' ' '    YL'!.' ''' ''' '''''.*
                                                                                                                                                                      ..'';:                                                                                '':'''''''''
                                                                                                                                                                                                                                                                       ''''.' ' ''                           ''
                                                                     '., ; : '.1: .. '
                                                                              4:     .
                                                                       e
                                                                       .                                ë                                     .                k
                                                                                                                                                               - ,< . ,, ,..j .r                                                                                           ....,.
                                                                           k,     î
                                                                                  +Jk                         j4e o                           e                                            ei
                                                                                                                                                                                            e                                                 K'œ 'e
                                                                            >7x.!4'ç.: '
                                                                                       .!.r
                                                                        .  s,       ,,,
                                                                                          #- *'.**
                                                                                                 'r''. n::
                                                                                                         .q '')'' ' <
                                                                                                        *.  - -                   .
                                                                                                                                      - e' e' .#*
                                                                                                                                                ' .' )'
                                                                                                                                                      h .
                                                                          ,Y                     'N::  .' .
                                                                                                       ** ..E !...')..-: ..
                                                                                                                          ).'
                                                                                                                            .u.'.
                                                                                                                             M,',*:.'-. .*,
                                                                                                                                         ...  4 '     .. . .
                                                                           :, ; .
                                                                             r,. .E..
                                                                                    t '..',
                                                                                          # .. *7.
                                                                                                 '   ,5                   ,       .     .. .   - e '*,   .-
                                                                        < ..                - !                - %            <
                                                                                                 >. j,, . .,., ., , -.'       +..**,- *.- ,*e.- .                     '
                                                                           ;
                                                                           * .. , . .i    -,,. '..
                                                                                         *. , *  '                                                                e< '
                                                                                                                                                                     ,
                                                                                                                                                                      '
                                                                                                                                                                     *.,
                                                                                                                                                                       * <*- .-                                                          - #* *
                                                                                                                                                                                                                                              .- .
                                                                                                                                                                                                                                                 M                                                  *. .
                                                                         -
                                                                         .., 7#a,..o ,
                                                                                     ...
                                                                                                                  +




                                                                                                                                                                                                                                                                                                                       13 W W
             Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 81 of 165

                               q1'




                        :'
                        .1:'
              .!
               .:p
             .$'
                   yj
                                                                                                                                          '..g #.
                                                                                                                                                DR
                                                                                                                                                m.
                                                                                                                                                .:...
                                                                                                                                                .'  ;
                                                                                                                                                    . ,.*44
      .J
      %;,'
     :;                                      .,.    .   ... v
 '                                        rW f ., .>       .v ?
                                                              O '
                                                                *,:W:
                                                                    n *'*-.ïM*
                                                                            &, :
                                                                               (
                                                                               -                                            -             e- W
;'
 k
 ;                                    ...)
                                         ..(
                                           :' Lî
                                               :: .
                                                  :'f%.'
                                                       f k
                                                         'c
                                                          r.y
                                                            ke    e. .. + <




                                     ;         % o awm a0,                   e


                                           :;               <r      g      W i .4                           '.: .   ,
                                                                                                                    .   .   ;
                                                                                                                            7'      A'
                                                                                                                    ,               )e&

                                     * ?                                                  * *#1y                                -    --     -




                                                        $
                                     .. .. 1 .' '           '        ' '
                                                        .       . . . ?'
                                                                            r-        lsp e                                                Pv        14 of18
                                                                                  e< #

                                                                             ,    .
                                                                                   1 %
                                                                                 .'. .
                                                                                      e                    ' .'
                                                    1                                 '          %          . .
                                                                                          . .         .
                                                                                   ,'                 ''
                                                                                  .             ...
                                                                                                 .)
                                                                                                  '
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 82 of 165




                                                         4:
                                                          *   Exh.RR * ,15
                          1


         ,
         p'.:
            .
            ?L': W
              ..        ;
                        ..;. . ' ' .


                   * #.
                      y.,,wv
                          ,.
                           ,.
                            ,,
                             ou x sjojt.      * * f7*<        Ao=
                                  Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 83 of 165



                                                     t
                                         >i
                                          /
                                                 :
                                                                                                                                                                  . '
                                                                                                                                                                  -            5$
                                                                                                                                                                             , .
                                   1.(..                                                                  ' . # *' .. ' '.
                                  r.
                                    t.                                                                Ex ; jA                                                     #
                            k
                          .''   à f
                            W..7.''
                          .5                                                                                                                                            ..
                       7i'i''                          k'',y' x
               ;
               ?v.
                 ''
                  1a'
                    '/J'
                   . .'
                   p
                                     >.
                                      , 1%  ,, ','w.
                                         ; . . ? .
                                                   )'
                                                    k: , .      . :,
                                                                   .
                                                                     '.>.
                                                                   G ,
                                                                     A.
                                                                          ' . .
                                                                                  .   .
                                                                                                      '.. . .. ,
                                                                                                               *... . ..k
                                                                                                                              te,-,..'.- .. -'
                                                                                                                             e'             .. .    e
                                                                                                                                                 . .- -' .- G .*..'
                                                                                                                                                                  : .
                                                                                                                                                                  *d
                                         .
              ..
             t).. t
                  l
                  ''                .
                                    1j
                                    '1j
                                      1
                                      4
                                      1j
                                       9
                                       i
                                       2W. . ....,
                                                 .,. .
                                                     ,
                                                     g....,....
                                                              ,,
                                                               .;
                                                                ..
                                                                 ;..,.
                                                                     )
                                                                     ,
                                                                     q....,.,.'.                            .
          4$ )r
           '.:...                                                                         .
ht#:
  !:'#jj
  $    ,.%'                                  .           .      '. . . .t'x'..'.f.x...        z   '
:>!:
'  .y.                                                       .. ..




                                                                                          %




                                                                                          %




                                                                                                      '
                                                                                                                                                                         P*g* 16 of18
                                                                                                           G:
                                                                                                            (
                                                                                                            F&&,M : t193'
                                                                                                                        500
                                                                                                                                    '
                                                                                                                        .       , .         ' ''
                                                                                                                                                     ''
                                                                                                                            '   '
                                                                                                                    .   ''' '. '
                                                                                                                               '.       .'         g,
                                                                                                                              . -
                                                                                                                            ,L,
                                                                                                                .
                                                                                                                                        '
                                                                                                             ;5 '
                                                                                                                .. '
                                                                                                                   '                        y             .
                                                                                                                                                   '.
                                                                                                               ..y .. (
                                                                                                               g      ..                    !- .. .
                                                                                                                                                     .
                                                                                                             .
                                                                                                                '. :. '          q              ''        '
                                                                                                                 .    ...
                                                                                                                        ;. ..           ,. ,,, .              .


                                                                                                                                         y.,
                                                                                                                                           #
                                                                                                                .
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 84 of 165




                                                                                                                                                                 EA .RR % .t;


         - >. y4ia.
         %   ! .:
             .' yyyy
                   +;
                    va.
              . .. ..             .



                       > % +'1 o
                       ;                                                  w.
                                                                           !
                                                                           sl
                                                                            e .# ,% lêtk;e # e>,) *                                                                #
          *4:.                              ,                        :# #;-
                                                                          t.....
                                                                               , .*
                                                                                  .,..
                                                                                     -;l
                                                                                       M..- w #w- w- -
                                                                                                                            :.' .''..
                                                                                                                                    ,..O.,,U;...
                                                                                                                                               Z(
                                                                                                                                                S:
                                                                                                                                                 .,;S.:,a.
                                                                                                                                                         js:j.
                                                                                                                                                         D
                                                                                                                                                     ,,s.. xs.
                                                                                          /z'Lg'''
          r;;.'
                                  : '.:b' I.
                    :.a,. .'à,a.rL.
              ...S...
                    I             :r:'.'
                                       ..
                                           q;.
                                             kjj:
                                         1'e'e'
                                                ...
                                                  ?f.t.
                                                      '.
                                                       ,,
                                                        f'..
                                                           ',..
                                                              '''
                                                                .'..
                                                                   ''.
                                                                   J ''<
                                                                       '.').:'    t.<...<r.A.
                                                                             ..!,.2           ,1:
                                                                                                r.
                                                                                                ..'.' ...'..=.....
                                                                                                 *
                                                                                                 '               tw.'
                                                                                                                 .y
                                                                                                                    r.
                                                                                                                     AV.et
                                                                                                                      :
                                                                                                                     ., ..
                                                                                                                           G.
                                        .; .                     ;                 u
                                                                                   .
          .

          C$
           -                 +- -                                        .-                * e- - ?
                                                                                                  -                                  = ****-
          -o                *-é% * %
                              .
                   'r# e ) ,                          :          çu
                                                                  .y
                                                                   ,xwx &'
                                                                         G 0*                                      yyw . m'
                                                                                                                          - vnx ay
                                                                                                                                 .N#:
                                                      %                - -
                                                                                       -          .              ..
                                                                                                                      =-                      - *
                       '* ,. z                  .(w,v> ï>xe- ew- e*e- uc
              W. . . g/,r7:':::'l;)g.':.trygy'.,:jy:g).y,
               .
                                        '
                              .. ...... . ,
                                      . .... ,
                                              ''
                                                 .       ; s.
                                                              .y .'' '(,(
                                                          'C:';
                                                                 , .,.    .
                                                            jrW wy
                                                                j   . . a#
               .
              ' : '
              +       .,      y..r.
                                                :                                    ,.           > >?     >
                          # .r ::; (e                                        :- umve        - je
                                                                                          uw-        u. -W - :        < eG
                                      '
                                                4G l         V + #*        .. : j ue      *'
                                                                                           -é','
                                                                                               m%'*'
                                                                                                   ='Ne:
                                                                                                       '%'
                                                                                                         >'
                                                                                                          e te èe                     ,
                    kj
                     ,1
                      ii
                       .t                .
                                                  '       : , ,. .-..,
                                                      ...,.s
                                                      . ,   ..
                                                              s.,j    %.r
                                                                        .F
                                                                         .
                                                                         ,r
                                                                          ..hl
                                                                             j
                                                                             rj jjj
                                                                                  j
                                                                               .: ,
                                                                                   j
                                                                                   .
                                                                                    j
                                                                                    j
                                                                                    i
                                                                                    ;
                                                                                    tj
                                                                                     :
                                                                                     jj
                                                                                      -j
                                                                                       'j
                                                                                        t
                                                                                        ;j
                                                                                         .
                                                                                         j jj
                                                                                            ij
                                                                                             tj
                                                                                              .à
                                                                                               3
                                                                                               q4
                                                                                                3
                                                                                                qà
                                                                                                 à3
                                                                                                  q
                                                                                                  (I
                                                                                                   jj
                                                                                                   ...1
                                                                                                     k
                                                                                                     ; 1w                      :
                   1
                   W . . ;t;,;
                                   ... . .. ..
                                   ,
                                                                 ,        ,.       .      ,.,.     .
                                                                                                   .... . yx-..-r
                                                                                                                -
                                                                                                                .
                                                                                                                r
                                                                                                                =r-rj
                                                                                                                    ys
                                                                                                                     .j
                                                                                                                     jh
                                                                                                                      .j
                                                                                                                      j.jj-.j.jjj
                                                                                                                                ks.              j
                                                                                                                                                      .

                                                                                          , q: ,e. ;      .=rv-     .(
                                                                                                                    ,
                                                                                                 :                                            sj
                                                                                                                                               ayj
                             ' '                       ..ë#    a'.w'     .7::'%.'. t#> +
                                                                                    '      .
                                                       ,,
                                                        > .-,.
                                                        .
                                                                       x;s
                                                                    ,,...y          :
                                                                                    .:
                                                                               = -,w !e - r.     :
                                                                                                 e
                                                                                              - - +.' + -        :. ., *....
                                                                                                                       ,           .,.,
                                                                                                                                      .
                     ï;,e ..        . <   t e     :' .'   e     'W       j
                                                                         e, #+      %
                                                                                    .-
                                                                                     j. :
                                                                                        =
                                                                                        j;  '
                                                                                            w 'U
                                                                                               e'
                                                                                                '
                                                                                                xr
                                                                                                 z
                                                                                                 zs
                                                                                                  i
                                                                                                  <t
                                                                                                   '
                                                                                                   x
                                                                                                   ,''
                                                                                                     '
                                                                                                    ex-
                                                                                                      '   , e
                                                                                                            .        e..- +w
                      * ,.rvu,:,                    .). z :vj
                                                        -,=wusy       w.'z=x'   y '  .x xj
                                                                                     .       -. v-m --x,
                                                                                             :                -.x,.*....
                                                                                                                       ,* u
                      1   .
                      % <We      %
                                 .'
                                  . .  , 4  .   .      1
                                                       .#    '
                                                             R. ; )
                                                                  -.
                                                                   h
                                                               e;e:L
                                                               l    :
                                                                    .
                                                                    :,
                                                                     (:*
                                                                       ( t    -
                                                                          ' *.a   N  M;      R' e
                                                                                                -r=' '
                                                                                    r .-. :. > .. -3       .- ;
                                                                                                              .e  - :w< u +
                      ,

                       *               *         7
                                                 #,    -'
                                                       : .   ..  m=     .
                                                                        :r.
                                                                          -.   !  ::
                                                                                  '                        ..
                      l.                                           : > :' ',> '.     > '      -r W* = :     x ,.=
                                                                                                            ç          . =a       .
                                      ;A2
                                        >
                                        ., >
                                           .,:.>)R K
                                                   *-
                                                    ' >ve
                                                        '..'' w
                                                              ;&
                                                               y-e ee.
                                                                     M,X*.
                                     t .
                                         a.ay L'o''')e ..e
                                                         #W * x#E'
                                                               .cx l.
                                                                    -W . yo ww r.
                                  *. u.,fZ
                                  y..    :: : ;
                                             M X
                                                :k    ' g
                                                       +
                                                       j
                                                       .'   % we
                                                               ;    :  .
                                          :
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 85 of 165

                                                                                                                          œ T
                                                                                                                          LM 11>-
                                                                                                                                1
                                                                                                                                pA%<t+ pw pçaa


                                                                                                                                                        Exh.RR x .1:
                                                            #*        * W                        112                                            W
                                             .                   .                                               1*      Y r
                                                                                                                           ** * *
                                           /% %                                 ry o x  weço     o se o je            y
                                                                                                                      .
                                        1 #.'  .'    .                .
                                                                                            .% & % % . %
                                                                                                         .


                                                                - ..!+' .* 4* :** . e
                                                            .
                                             ** #:,         .                                                        .
                                                                                                                    - #
                                               :.). $@'.'':
                                                          '.<D9.               :.E. .:J .;;
                                                                , , :j                .      - ,'  V- -. -;. % -g
                                             gj
                                             f y
                                               'C
                                                q''a;'.-  j kg
                                                          ..!;.'.-'.'.  L
                                                                     *î.:a
                                                                        1s..       .
                                                                           r->*-no''
                                                                              ..
                                                                                             %
                                                                                          .. '
                                                                                                y ç%
                                                                                                  ''''.'
                                                                                                       .. .. .'...                   ' ''
                                            '*     è    ;
                                             ** *# > * #- -   ,  ,    ,. ,   -,     ,.
                                                                                     ,
                                                                                      , k +,-  <
                                                                                               .     ,. ; ..   :
                                                                                                             ,Y ee*   -
                                                                                                                         ......         ,   .

                                             % )   m k.* ;'                    - - - #. * , - ,                      rw
                                             e # . .* 1
                                            :*                               ,- .         e kie e * -#-
                                                                                          .
                                                                                                  ,               -
                                                                                                                  , œ
                                                                                                                 * e*
                                             V:EJ.#we%;
                                                      .-=-..yJ,*:
                                                         ,, ,,
                                                         :
                                                                - * * ' eV*#
                                                                 ,


                                * .t                                  .

            '
                        '                  ' '
                                .
                                --.      '. '. : è
                .           .               :.. ...-.....             . ... ...    ..


            'è
             .. 1
                W:
                 )  :       .

                                                                                    -- v                                                            e
                                                                                                         . . . -                  .- - >            -




                            ,       .
                                                                 j:       .                                                                 -




                                             %


                e                   >:
                                    2                r
                                                     o A                          c FG j: jjc                                                   P+ 18# 18
                                ke w eWe- * -
                                *                                                         .>                               +%
                                    .,-
                                      .. h.
                                          - <+*#k
                                                '
                                                )*W /
                                                    ,. ,
                                                       W ,)
                                                       .
                                <
                                p             7
                                              e                                           ;  %               :*
                                              q                                   . ...    '   a' '' '    ' .'
                                                                                          ,
                                                                                                   M6;i.,
                                                                                                               ;. .
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 86 of 165




              '

              .                 % o y.x. u .yjjw W w w                &   uw ga yw &    jw
                       ''                                             ,

              1 :.* (é )         ;.
                                 r    .,   , ,..
                  .
                       s*'
                       .EF- :*-
                            ,
                              q           o* * -   - 's*>**t.> i'u++'  -
                  .             l>
                                 : Ko  y .ijo W e W ljsuj
                                                        / o/kmmmwyK kjotmw Y
                                                        ,

              W                 o W fwc W o pww sa e o sa uo o a x. a y
                  %. . A .
                         y(                         . . g. a u
                                gjpyj
                                  q juy            il   G yo e xajjym wvwxo jk
                                                                             . yyo . jjujaytwe mxy
                                * *
                                * :(> 4$%te Y 1V *          W l3** '#'
                                                                     WW




                                               %
                      tir.agk-

   7j

                                                                                                     NY eY *e..e.
     *
     p+rtY4*f5
             imYDAY               A#<97Q*:
                                         1
                                           1
                            Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 87 of 165




                                                                            '     - *, -> + e - #- *- 4M >-'Y -Il1g> -
                                                                                                  .. .            x .                     .
                                                                                                                                               ibr> * *        .
                                                                            - -        o tmtl -:) -(t$- ,.
                                                                                         ,
                                                                                                           ) %-           .
                                                                                                                          gW'> m x  g;
                                                                                                                                     -    >G Q*S*?S2e                   . ..



                                                                            *+ *
                                                                               L> .tY
                                                                                   .
                                                                                    ( #e t< 2
                                                                                            %-.  .jw
                                                                                                   y ;,:. ,,j
                                                                                                            yy)y..., ( yy okjjvg. o    oçagyymspjuyyyxysy
                                                                                                         .           .#F' #: .                                     'i
                                                                            G 7WY
                                                                                è: .-j
                                                                                     xjw uyyjfwj
                                                                                   . .
                                                                                       . k;
                                                                                          .,
                                                                                               aW: Wjwko uwajsws.
                                                                                                       . .a=

                                                                                         jx : w
                                                                                              ' V mjj
                                                                                                    vSk:w u%':qvx                                                                             tx > jtlmxie lntl m'ort                                                                  , 'e Ntxlmust
                                                                                                  -               o . jjm                                        .            ;svaj. :
                                                                                                                                                                                     jyt
                                                                                                                                                                                       xjow Np
                                                                                                                                                                                             çxgc                                                      jt
                                                                                                                                                                                                                                                        w                             g5W                             mjjy%k
                                                                                         vouttAztjmpkteaf?> >
                                                                                                            .*'1 .* 'retwhj
                                                                                                                          '
                                                                                                                          $2
                                                                                                                           + mm l'
                                                                                                                                 equktyaharz
                                                                                                                                           uW#.let,
                                                                                                                                                  terjm
                                                                                                                                                      '                                                                                                                                                  ,ttl2.
                                                                                                                                                                                                                                                                                                              *'
                                                                                                                                                                                                                                                                                                               a1V <
 q':' . :.              .       a                 ' . .       ':..è'.xuù'..
                                                                                         y-.                     ltx
                                                                                                                   .to N Y * , 1'
                                                                                                                         ,.
                                                                                                                           L
                                                                                                                                k
                                                                                                                                                     . '.
                                                                                                                                                                                               muu tuvû
                                                                                                                                                                                                       ' '                            * ''' '
                                                                                                                                                                                                                                                     wtl amal
                                                                                                                                                                                                                                                                *'*W'..                '/       '                    . . V. *'t*a .***. '
. ''
j:
 '.:.::
 >:
  ;   $':
        .'' ..:.
        ':       :..:.....:
               :z.        ..'.t
                            ..'''':.
                                ..  .;:
                                   :'          .:          CE
                                                ' ....,..i.. L.
                                                              L.
                                                               i;
                                                                L,
                                                                '':9
                                                                 ê T.
                                                                    . 9.:..'
                                                                    24.    i' J,2
                                                                            ).: :9
                                                                                 ,$
                                                                                 '
                                                                                 t
                                                                                  ;f
                                                                                  j:
                                                                                   #  .
                                                                                      5
                                                                                      .k
                                                                                       j
                                                                                       :
                                                                                       j!të
                                                                                          .
                                                                                          ;
                                                                                          #yj
                                                                                            ;,
                                                                                             ..   .    .
                                                                                                       ....    ..
                                                                                                                ,,.t.y
                                                                                                                     y;
                                                                                                                      .:
                                                                                                                       .
                                                                                                                       g.
                                                                                                                        .
                                                                                                                        .j),
                                                                                                                         . .
                                                                                                                           y'
                                                                                                                            y...(s
                                                                                                                                 j.g,p
                                                                                                                                     );.
                                                                                                                                     . (;. iyjg.pljirë
                                                                                                                                                     s:ziyçy.y.
                                                                                                                                                      .r      :.:
                                                                                                                                                                .. '.;z#.;,
                                                                                                                                                                 .:,      ss..
                                                                                                                                                                             ,r.,jxa.
                                                                                                                                                                                    jjë
                                                                                                                                                                                      j.j$
                                                                                                                                                                                         :.,.    :.
                                                                                                                                                                                            y;rj).t(k?z.
                                                                                                                                                                                                       :.
                                                                                                                                                                                                        ,,
                                                                                                                                                                                                         ..,jkr<.'
                                                                                                                                                                                                               4j('
                                                                                                                                                                                                                 ;j,ygj.
                                                                                                                                                                                                                       j,
                                                                                                                                                                                                                        zrj,
                                                                                                                                                                                                                           l,
                                                                                                                                                                                                                            jj,
                                                                                                                                                                                                                              j,ygj.
                                                                                                                                                                                                                               g.
                                                                                                                                                                                                                                g  ,;y.
                                                                                                                                                                                                                                      ::
                                                                                                                                                                                                                                       y.
                                                                                                                                                                                                                                        ty(jyg
                                                                                                                                                                                                                                             ttjj;.
                                                                                                                                                                                                                                               ;. y.u
                                                                                                                                                                                                                                                    ,s
                                                                                                                                                                                                                                                     :j
                                                                                                                                                                                                                                                      ,.....:;k'
                                                                                                                                                                                                                                                       .j..;,,y
                                                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                                                t
                                                                                                                                                                                                                                                                ?1
                                                                                                                                                                                                                                                                 .;.
                                                                                                                                                                                                                                                                  ci.I.1<1:i.1.T1p1:l.)'1::... :.. ' . .... 11h.lti'rldklk11H !101.:)',!1.
                                                                                                                                                                                                                                                                                       s
                                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                       ,
                             i. ,
                       r.. ;jL        .   ..               ë.:  <           ..r
                                                                              :.
                                                                               t.;,,                                                                                                                                               ,p                            k,, ,,
                                                                                                                                                                                                                                                                ,,                    ç.j,...................,.....jjy.
                                                                                                                                                                                                                                                                                      t
                                                                                                                                                                                                                                                                                             .. . . .j                  ;
                                                                                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                        'j
                                                                                                                                                                                                                                                                                                                         y
                                                                                                                                                                                                                                                                                                                         jr
                                                                                                                                                                                                                                                                                                                          jy...,.,,s,.
                                                                                                                                                                                                                                                                                                                                     v. .
                 ..

                             ..th.                 ..'.. '. ...'.' ..k             ...:.
                                                                                       .:y .
                                                                                        ..:
                                                                                            xr x r
                                                                                              :g9.'...yv.
                                                                                               ;.
                                                                                                        )è
                                                                                                         ):(....ti.
                                                                                                                  ...
                                                                                                                    y.:. l.z........s .:.... .t..k...  j.. k ?..           t,..l...;s .           ;1..  :.. u...h:.lE.k...: .' .                      ''.:. . ..'                                                             . .. . ' .
                                                                                         e g'
                                                                                            )k
                                                                                             $
                                                                                             .
                                                                                             r
                                                                                          .<b.
                                                                                              .'
                                                                                               i
                                                                                               .C.h:.
                                                                                                    '.
                                                                                                     '. a .jo.N
                                                                                                              ë'
                                                                                                               t
                                                                                                               q;, ,, .
                                                                                                                      6
                                                                                                                      .
                                                                                                                      2.: G
                                                                                                                          ..'
                                                                                                                            ....
                                                                                                                               ..
                                                                                                                               >:.0
                                                                                                                                  l
                                                                                                                                  k'
                                                                                                                                   z.,.y:'
                                                                                                                                       tf.:...
                                                                                                                                             :
                                                                                                                                             .
                                                                                                                                             E
                                                                                                                                             iF
                                                                                                                                              .LL
                                                                                                                                                .''
                                                                                                                                                E .. ypuj.    .yw,tjx.
                                                                                                                                                         jjw gk      :.                                                                                                                                          .  sxr
                                                                                                                                                                                                                                                                                                                 wyvw
                                                                                             .:
                                                                                              .
                                                                                                  .: VE
                                                                                                  :  .. J. ..e .sfhjjjEo ' ,                                                        w
                                                                           '

                                                                               *        - - - '- k- /- '       sz- -o4lidf-         t e a - - f- - e te
                                                                                                                                       '                                                                              '                     ' ''

                                                                               œ ; - j-   .;....
                                                                                         .. .
                                                                                                 ol* -> - fe .
                                                                                                               è*          Y l-   > '
                                                                                                                                    * G :e * * . 1O
                                                                                                                                   . .
                                                                               .
                                                                                *....oj% .aW /V        ,(
                                                                                                        jU
                                                                                                         .SXjS/
                                                                                                              ,
                                                                                                              ISW                     .
                                                                                                         '' '                                                                                                                                                     .                                     .
                                                                                        ''helity . .. . ie e yt.uri* :lltytopo 11*Atx.Yoa* * >
                                                                                      Vl+              ,
                                                                                                        ..                                          . .
                                                                                                                                                  oummkk
                                                                                                  #.
                                                                                                   flaqwAe
                                                                                                         olg- '
                                                                                                   .y ,. ..
                                                                                                              zr
                                                                                                               .
                                                                                                                -eaA
                                                                                                                   ' tw% e j+ 1 alG       Wtxvj,jxt
                                                                                                                                                  wiœ e of- *v- xtvvy
                                                                                                  pfyoure e- '1
                                                                                                              + Aj>zqA kwtw fe o - oihemt-      ontlepxv o ,e - 'lwxdhz
                                                                                   - 1* + 1*.a.
                                                                                              ...
                                                                                                j.
                                                                                                ''.
                                                                                                  ''.
                                                                                                  .
                                                                                                    ..-1't- ' tA- ishputds.#'
                                                                                                                            hlk
                                                                                                                              %.A1Ie - '' ev
                                                                                                                                          . - > *wï
                                                                                                                                               .; . ''
                                                                                                                                              ..
                                                                                                                                                                                                                                                                                                   '

                                                                                   .
                                                                                   >, tèaaj.C &u, .
                                                                               1+ - - *4- :,e by             L
                                                                                                             ' > att'v : 7l6#Me f*m+  ' F- .#1**- -
                                                                               h- xT4Y:>- - ,kr- w* #t:        jèlll-- st- * #- kz- rcl .Nz47- 'vt

                                                                               ê- '* # k< e +1sktte iw tbtume pleatxbmmitv txx- 1*tRywt
                                                                                                                                      e                                                                                                                                                                      plam
                                                                                                                           %
                                                                                                                           %


                                                                               zlp:ge




                                          *':t:FP1 G AY                                            R*v.* /N 21
                                          K w *AQ
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 88 of 165




     Caljqvq
           t4e ?tpe - e yye o n%aM ino tic forhewteappY,
      the                               1
      ty;
      u
        j. .y -::y
                 ,(,ryyya
                      yy; y..s,m a w p
      241..
          * 4.** 3
      M- ye                  F% y8+ AM .KcAp4 Fr
      F< -       ipf> iG vixR
                            'o '
                               kf4Ao#ll#> 1i,com pro gMsptDtxtv
                                                              u:
                                                               l- slMtfmnkliv e o-

                                        um<andahstoflmsnée tkm'pre anw forwh'lcbyf'
      lfyœ * e ,- ke aTeapplic.- ia- lct'                                         m nny
      &e j
         ptjW j#ykyuy'jjj
                        y)à,
                           j
                           A ypyovàtjy
          se        1
                    uo
                    :... .     .
                                    yu w w jw o .
                                    '   . .. .
                                        .        .   .
                                                     ..   r.


      'V- typl- - wi- - fe /Ayx- - vl% ,@1-e 44- - 4- * ve G t*
       * î- )
            - #
              - yr
                 ( i- e vle -  tw - wye ly- -e -ïw w- we te la
          G - -            r- r -- - ty- - - - v- lf- - e - -     - twee
          &'.''
          '   *'' y Y yx.ytQ j. e x . az. a ajuo s:. o jyw xoyy. ,e jo  or

               jyrjyypxv
          w /cva                   Rev,(172421                                       H VOSH t.:
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 89 of 165



                                                                                                                                                .   k.11
                        %



   d
   '




                              '
                                        ,.:(..'(. ''
                                        y,
                                         w.
                                                                                                                          w '':
                                                                                                                              #.' , ''
                             'ï:: :. ;.
                                :
                              ..'       . ..;r.')
                                                .1. :.
                                                  :.:
                                                    .f.
                                                     :
                                                     .;;
                                                       ..        '. ..p
                                                         :'. y ...    Et .
                                                                         .:'(.' : ,            .. .         i.     ..(:                     .
                           è:' .:;..:è
                          ''         E.!
                                       ''
                                        '::
                                        :  ... ' . :.
                                                                        '
                                                                     ' ''
                                                                        ::.......:.(.. . . .... '..' :..    ' '
                                                                                                            .     ''k
                      . .': '' ;i      ''i''
                                                        '.. ..:.:   ..
                                                                     '. ..                         :.q  .
                               g:. .... t.J   E:
                                              .                                                        '

       :
       .         :
                 '. ...
                      / :
                        j# g .                                         .                    s.                    y.. sW y@
   C,# &#
        ...
          ,'
           ,).z :
                ,
                ) .. . .
                '                                                                                                  .
J'
 V @   ell KL
            P.P              te t>C - *
                             .                                                                . . % 4@y
                                                                                                      o                                 t
           s :               j . w . O. . wo
                                           W W
                                               y-
                                                -                                                                         -
                                                                                                                          W
                                                                                                                            -
                                                                                                                            = '*'* 1
                                                                                                                                   t
                             !
                             j                   - *
                                                ..
                                                                   >                  .. ..
                                                                                          ,                                            .y
                             p                                                                                                    o- p.y,
                                           ..        r         ;        = ''               , .2

                                     .     -                                                       .-                     h- < +
                                    -                               -                           -                   .
                                    *                                    -                       - .-                     *
                           % -                       -                     * .-                               -           -
                                     -                              - -                              *-                   -    -*


                                        *G                                                           me            s-               :
                                                                                                                                    x

                                        O             W
                                        -                  -                  -                      - -                   *- *




                                           '7a.è
                                               . ''L                #

                                        *-
                                         -               >               t
                                                                         .-                           -            ce -
                                    .
                                        e                              *-

                             $7                                ..                             .                           .. e.




                                    %
                          Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 90 of 165
=             ê
                                                                                                                                                                                                                                                                                                                                                                        r




                                                                                                                Gjkg /Pm %                                                                         Ju*                        $+                   .ne e Mfo- e'
*
'

                     W                                                                                                                      %                                                                     AG <                 *
                                                                                                                    .- -- e--w GLe eW !4M.- g*-                                                                                                                      e#w w -                                  *
                                   - O *- - Yer Ekrr tze 'm e                                                                                                                                                                     *            * - * .-*:4:                                               Rlie -                   t-                          ;
                                   - )  * '* ,!  l''T(  '
                                                        Yl' * e '>'*1N -,',. ' . !

                     .             '.     r
                                          .        ...k
                                                   j  .+     , .             .
                                                                                 .
                                                                                                      , ,                                                                                              .                  .
                                                                                                                                                                                                                                                                                           X'-ME,-l*--
                                                                                                                                                                                                                                                                                                  .                                :A
                       %         >.
                       '''''''%T%ï
                                  '
                                  'R  é'œ
                                        '' .
                                            ïl'rL:s..:r       o :.m.. ....q' o
                                                                    '        '
                                                                             '%'''''''   .
                                                                                     k'%''.      .......... '
                                                                                          %%.iLj26'ï'.                                                 ....' .. . .
                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                   o        .    .
                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                              .
                              ..                                             .                   ..   l...q: . . .                                    .                                                                                        .                                       .
                                                                                                                                                                                                                                                                                           ' .
                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                              ..
                                                                                                                                                                                                                                                                                                                                       .

                e 7/& 1                                                                                                             d* W                                                                                                                                                                                                                            .


                '        .        .            .     .       ...                         .
                                                                                                                '                eoe ? ! - =
                                                                                                                                   ''
                                                                                                                                    '''''''.'.'''''.''''
                                                                                                                                                       .'
                                                                                                                                                        '''.'''''';
                                                                                                                                                                  ''''.'.''
                                                                                                                                                                   ..     .'
                                                                                                                                                                           '1
                                                                                                                                                                           .'.'i
                                                                                                                                                                               '''i                                                                                FRœ e G twetts
                     -
                     d
                     :
                     jl
                      ;
                      :
                      4
                      ,
                      .
                      !p
                       %
                       :              ,.       .     ys
                                                    ..
                                                                                                                ,
                                                                                                                      * qe    .>                                     ..               . ..             .
                                                                                                                                                                                                                                    Au Ryu ow x                                        #o o > m AY ha e
                    L-
                             .'.: . ..'.'
                                      uL-),
                                                              '.                     .           ,
                                                                                                       .            l
                                                                                                                    .
                                                                                                                          kù%
                                                                                                                         ..         .       .
                                                                                                                                                                              '                '
                                                                                                                                                                                                                              .''
                                                                                                                                                                                                                                                                                       -
                                                    jé                                                                   e %:                                                                                                          m vAc a w ym                                             o 1 r Aw A                             '
                                                                                                                                                                                                                                                                                                                                               o           a
                    y, )
                       .
                                                   (w                                                               E *- r m:#% ,% k
                '   1
                    .r..,:.(
                             -.   .
                           ).p;:;;... F.... . s... ..
                           .                                                                 ' '' .                                 S                      ...... .           -. .            .... . .
                                      .                                                                                 ..    ..                             .         l' lE'.'                                               .                                                                       .




                             jk)j 4. +7+y /e4                                                                                                pa,
                                                                                                                                               -..
                                                                                                                                             vv' wx.
                                                                                                                                                 :                                                                                         W Wx%gPIG
                                                                                                                                                                                                                                                 q < o VW
                                                                                                                                                                                                                                                        : V DYO    ,W
                                       ..''
                                          .' ...                                                                                                                                                                                               . :A . w a . ys,ic o
            ..     w                                                                                                                                        ..-                                                                        AS :a yjyy a w m W &                                                            %               Cgr k
              k                                                                                                                                                                                                                                 F* G                                                                                   . .
          .k' )'L
                ky   .
                              '                     ' '. .                                                  '
                                                                                                                .
                                                                                                                                 FG -k. *
                                                                                                                                        :' 'I*
                                                                                                                                             djI1.7E
                                                                                                                                                   j1t'1i'
                                                                                                                                                         ,,g..
                                                                                                                                                             âdè    >
                                                                                                                                                               kuxji.jidi..
                .        .   '
                                                    .    .'                                                     ,                            .* .* 0* . 'c*' q 'N j
       .
       .      .j. .,.,1. >
               .'                                       :.' .tx . ' ' ,.
                                                                                                 ,. '.
                                                                                                 L                                          .
                k1                    >                   r                                                                                 w um w          .. o                                                                                                ,
                                                                                                                                                                                                                                                                %
                                                                                                                                                                                                                                                                  X yXSW W M.HVWA
                                                                                                                                                                                                                                                                                .
                                                                                                                                                            s


                          o
                                                                    VW 5                                                                                                                      u n                                                            R$Q.                I
                .        :(
                          ,                                  .e e                                                                                                                                               ujy           r                                          . .;,= x
                                                                                                                                                                                                                                                                                           u
> ,,t, , l JVJ e.'t
                '
                     gy é pwro a I.Nvev-.
                  t ' ' R7F..IA M ,N 'N .K
                  '                                ..
                                                                                     '' '
                                                                                        -               .       ' '''''' .
                                                                                                                         111
                                                                                                                           tf. r
                                                                                                                               -
                                                                                                                               ..
                                                                                                                                                            -                                 .
                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                  y.
                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                             : Fœ :
                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                  tAo
                                                                                                                                                                                                                                                                    > <; = w
                                                                                                                                                                                                                                                                              R.
                                                                                                                                                                                                                                                                                 (....w.v
                                                                                                                                                                                                                                                                                ..                                    ..                                            Py
                                                                                                                                                                                                                                                                                                                                                                     n
                                                                                                                                                                                                                                                                                                                                                                     s


              )r,,r
                  yr.;,
                      ).      '        ''
                                                                                                                7                                * ,ye> .                                                                           ào w*ix N                         ' >.                                        *                r
                                                                                                                                                                                                                                                                                                                                   e * ..et
                             . .       . .         )'.                                       .              ..           .
                                                                                                                                                     '
                                                                                                                                                          W V't .
                                                                                                                                                                                                                                           .           ...                .        .       ..

     '. ..F
    J:
    'F    r).#                                                                                                                                     keo Agœ                                    .                                            e                 e cKwsasm .                                                   FR-                     Y...
                      ;                                                                                                      -                                  -                                                                                                    RM EO M
                                                                                                                                                  j/e . N                                                                              o                uxa w gwg m . . u 6% o
                                                                                                                             X                                y
                                                                                                                                                              .
                                                                                                                                                              o
                                                                                                                                                              j                           j                                                                          a        a .                                                          . >
                         ' ''. '                         E '. <...:.. -.. .' L                                                                                                                                                                                       y se w w m
                                                       :
                                                       >1 (/'% g(
                                                                        .. . .           ..   ':'
                                                                                                :(.
                                                                                                . '.
                                                                                                   L?. .                                                               i l
                                                                                                                                                                         .                                                                                    '                                   .

              *
              r
                $
                .
                  '                                 .
                                                      '
                                                      '  s=
                                                         re-
                                                             ,
                                                         . . '
                                                             )     ''                                                                    *                                    Y                                                     BK:2>                FG:e 2Y                           tY FA œ . x ,a.
              :....., . 1.                 . ..                             . '
                                                                            L. .. .
                                                                            '                          ' ..
                                                                                                       ..                                                                                                                     .
          j.
           t;j.
              q
              k.j.                                                                                                  W ... yr
                                                                                                                           . ay
                                                                                                                             ...
                                                                                                                               ,
                                                                                                                               ajrwa
                                                                                                                                   yy                                                     ,   .            v..        .                                                   pw y a ;                                                                     .




          :    'è
          .;. .!'        .
                                                                                                      ...
                                                                                                                    e yy
                                                                                                                       : & > & p%%
                                                                                                                              ..                                       '              '            '
                                                                                                                                                                                                                                                                   u yyc m ;y ))w
          j,
          ,(' .
              ;.
               '
               u..'
                  tL,
                    W
                    T
                    ....
                       ...q. .                                                                   ..     i   .
                                                                                                                                                       u%) .. ; . .
                                                                                                                                                                                                                              .                    .
                                                                                                                                                                                                                                                       mw      .
                                                                                                                                                                                                                                                                      kga :r
                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                   a &         .


              W) W                                                                                                                                     c %                                    ;
              l                                                                                                                                                                                                                                                    . .                     o a sxgy
W
k   . .,, . , .q.                                                                .           .                               :            %                                                                                   '
                                                    g ,      ,          ,
     $Y                                                                                                                                                                                                                                                                                                                                                        4&
      t
      .                                                                                                                                                                                                                                                               .            .       .     .            -            .       .       .       .       .   -
*
'



                          Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 91 of 165
<
J
  x .,                    è .
                                                                                                                                                                                                                                                                                                                                                                                       )..K' #
                         .
                                                             . ...                                                                                             *- < eaH                                                          >% #e                              %           e                                                                                                     -
                                                                                                                                                                                                                                                                                                                                                                                      !
                                                                                                                                                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                                                                                                                                                      ,-
                                                                                                                                                                                                                                                                                                                                                                                       ,----.,'
                                                                                                                                                                                                                                                                                                                                                                                              7Er'
                                                                                                                                                                                                                                                                                                                                                                                                 r
                                                                                                                                                                                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                                                                                                                                                                                 '-
                                                                                                                                                                                                                                                                                                                                                                                                  ' ) -.-'--:jj
                                                                                                                                                                                                                                                                                                                                                                                                  k
                                                                                                                                                                                                                                                                                                                                                                                                  i      '                       <'

                         2.
             *# '... .. . .. :'.'.
                                     j                           )
                                                                 .
                                                                                                                  ,..          @

                                                                                                                          '. . V' tv('%r
                                                                                                                                                                                                .           ..
                                                                                                                                                                                                                                           .       .
                                                                                                                                                                                                                                                                                         W gc V
                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                 >    %             '' ' '
                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                             joya
                                                                                                                                                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                                                                                                                                                      -..     jj
                                                                                                                                                                                                                                                                                                                                                                                              ---. .- ...-.'
                                                                                                                                                                                                                                                                                                                                                                                                ,-      ---,
                                                                                                                                                                                                                                                                                                                                                                                                           -.    -
                                                                                                                                                                                                                                                                                                                                                                                                                         1
                                                                                                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                                                                                                         (
                                                                                                                                                                                                                                                                                                                                                                                                                         4
                                                                                                                                                                                                                                                                                                                                                                                                                         (
                                                                                                                                                                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                          ,jt!:),
                                                                                                                                                                                                                                                                                                                                                                                                                             ,   ,


                                                                                                                              ..
                                                                                                                              (
                                                                                                                                       œ yW E     *'''''''- ' '
                                                                                                                                                              c.';'''= -
                                                                                                                                                                          . .
                                                                                                                                                                                                                     .



                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                           (wc xc c sx e W vAA
                         * # (@                                                                                                    -H'* H
                                                                                                                                       .
                                                                                                                                                                         *#W - l
                                                                                                                                                                               kzî
                                                                                                                                                                                 x.'-                                                                                                                                       k-                                                yœ >                           œp
                                                                                                                                  - <** W
                                                                                                                                        '
                                                                                                                                        '                                    ''
                                                                                                                                                                             W L
                                                                                                                                                  ka                     xm w r                                              ,

                     * 1m 7                                                                                                                                                                                 ky
                                                                                                                                >@ W F>                                                                                                                     *
                     > $(% 1.                        '
                                                                                                       '
                                                                                                                              : e %                                                                                                                          : * 1G  e e -      1Y V
                                                                                                                                   qy o gx ,                                                                                                                é#olv#e
                                                                  .                                               . .''
                     '           j% #    '
                                                                                                                                   L               .           .
                                                                                                                                                                         '



                                                                                                                                                                                                                                                                 #G ao wm1 e ye o
                                                                                                                                                                                                                             .


                   . '       '   '
                                                                 ..           .
                                                                                                           ) ;,. . .             % V
                                                                                                                              .. . '          '
                                                                                                                                                          ... .'
                                                                                                                                                                                                                                     '    ''
                                                                                                                                                                                                                                                                                .                             '
                                                                                                                                                                                                                                                                                                                                , , .,                   .                                  '                '
                             .
                                                 (                                L        ..
                                                                                                '
                                                                                                                  s . .. ' '
                                                                                                                                                               ..
                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                         ..
                                                                                                                                                                                                                                                                    > 1 ; gA             '            ' ' '         '
                                                                                                                                                                                                                                                                                                                                                         '                '
                              .,                         ;                                                                                                                                              .
                                                                                                                                                                                                                                     .                                                                                                                                                                               '


                                                                                                   # y'                                    F<           #-7 <                                                                             :$49$
                                                                                                              .
                     ''                                      :*  . .
                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                                                                              .

                    ée
                    . .. '                   '
                                                                                      .        . . ...                              .
                                                                                                                                                  .... #
                                                                                                                                                      &  ( .                                                                                   + 11> '-: qM 44* *                                                                                                     *                             .            '

                                         .       .       1'.
                                                         '
                                                                                                    ..
                                                                                                     .                    '
                                                                                                                          . ' . . . .'
                                                                                                                              q  .   .                                   l% y
                                                                                                                                                                                                                             . .
                                                                                                                                                                                                                                                                        .                                                                                                                  -                >
                   qy                                                                                                         >( ; W X FAW T<
                                                                                                                                                  .
                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                        >
              #/je                   y. o                                                                                                                                                                                                                                                             x jx                                       :
                        .. )
                           è -w % & G. .                                                                                                                                                                                                                                    u>
               .
                   )
                   .(
              #?- ).                                         . .                                       ..z... .
                                                                                                                  y                ,
                                                                                                                                       . ..
                                                                                                                                                   ...
                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                            -                                    je e
                   .o'          t,(lt % * FAèULT                                                                                    ,,
                                                                                                                                                                                                    .
                                                                                                                                                                                                                                          . .
                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                            .

             .6%%
               . '':'
                    J'j    .
                           7'%'
                             =.
                              1?'
                                !E
                                 ..t.Ke'
                                       Mq.Xè .
                                       G                                                                                                                            ,
             #a7F L. (                                                                                  g vè i .g.t -,
                                                                                                                    () .                          .

             ...: )
                  :
                  -
                  è
                  t) E'è . ...                                                                         ' .276*t' ' 'y
                                                                                                               > GA LAo :1
                                                                                                                    -
                                                                                                                    ;
                                                                                                       ''             ' '

              e j                                                                                      . ....       '                                                ' ''' '                                     ,'
                                                                                                                                                                                                                 '               '

          . .t
             .
             .;
              ...$.,
                   .(. :
                       ,
                       ;.                                                                              .E
                                                                                                        .'. E    ' y m:
                                                                                                             ej::*    e'
                                                                                                                       % :                                                                                                                                          BAx èjjw po o yx
                                                                                                                                                                                                                                                                            '

         .*.Ll 'tè'-,
                    '' t
                                                                                                                               .:
                                                                                                                                                                    . ë .,
                                                                                                                                                                         ., .
                .        .,                              '            '
                                                     .                .               . .'             M'          '          -'-             '' '
                                                                                                                                                 '             ''                 :'  -                                                                             BA-
          A je                                                                                                                                             N     .                                  '
                                                                                                                                                                                                            ..                                 '
                                                                                                                                                                                                                                                                                         # 4= F * 1m  '''
                                                                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                                                                            -    '       '''''' ''
                                                                                                                                                                                                                                                                                                                                                             ?* 1
                                                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                                                 .


                                                                                                                                                                                                                                                                                                                                                                                  .

         X j+                                                                                                                                                                                                                y
                                                                                                                                                                                                                                                                                                      wa x s
                                                                                       ' . G                                                          > e ey
                                                                                           t
         ..
         '
         '
         ;' '   .                    .
                                                 )                                                          . ..
                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                    >                    #4jéF e q#< >
                                                                                                       . ..                                                                                                                  '
                                                                                                                      .       .                            .
     '
                                                                                                                              )                                                                                                                                                                                             ! .                                  '
           (            )                                         .               .        ''                '                                                                                                           :                                                           .
    ' ..
    . ,,.. 7
    '
    è .(.;.
           1.
                '
                   4+
        (k.:.'... . . )      '.                                                                         '
                                                                                                           y                  yxe
                                                                                                                             )'
                                                                                                                              ) . ' ''                     e                                                                                                                                                    .       .       ... .
                                                                                                                                                                                                                                                                                                                                                                                                .
                  @ ).Lt, .(.:
                                                                                                                                                                                                                                          #4. p>.
                                                                                                             ''
                                                                                                              ., L,.-
                                                                                                                    .l..
                                                                                                                       ,'
                                                                                                                        ...f
                                                                                                                           .' l--... '.. ..'. . '. . '.
                                                                                                        '.  . ..
                                                                                                                 .             yt '.                                              -t p                                             %                                                                                                                 .

                                                                                                                                                   %:                                                                        %              (  .   >:..... %)
                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                    ''
                                                                                                                                                                                                                                                                                                                        .            . ..


    '
      f. t
     ...,.. .. . :.L..:.è..
        ...-
        L
         '
                                                                          '            '
                                                                                                   .
                                                                                                                               .
                                                                                                                                                  Lm v '
                                                                                                                                                                                                                              we m# ete G FA A . o> > yEm                                                                                    ,                       . . .. , .        .




                                                                                                                                           AG                            R
                                                                                                                                                                                            .                    .                  eAY*.F* A:
                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                              e< e,Ear >k-. > )Em
    E'
     .y'
       1
       .:. .. é;
               :.......',
                        ..
                         ,.
                          r,                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                 ,'
       k                                                                                                                          .' .
    .' : .           )( J             .                                                                                                                                  .                                                                                                                                                                                                                              .

               .                                         -        : f57x
                                                                       1:
                                                                       !:
                                                                   - ....
                                                                        '     '
                                                                                                            .     1.'..            L* ysa O                                                                                                                 '       .


                   )                                                                                                                                                                                                                                                            BKj
j.
 ?.'(.....-.(r.j
               y
               ..
                ..
                   )                 .u:                 .    .
                                                                                               .            .                      >>..!rk
                                                                                                                                                                                                                                                                                  o                             w iyym
r                     è                                                                                                                  .?
                                                                                                                                          ,v..
                                                                                                                                             .!x!r'.q.aw
                                                                                                                                                       .' M!!..!r'cqy:B.,rp@'
                                                                      . ,,                               .,
                                                                                                         .
                                                                                                                          .                                                            ,.

    y? ;                                                                                                                           W KG R                                                           .

    MLJ.                                                                                                              1
                                                                                                                      ogo (j % w g            :
                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                    .


A AH-                         .'
                               .-            . :
                                                         -   .
                                                                                      AL   '                                                          '
                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                            a ja                            A &
                                                                                                                                                                                            G
                                                                                                                                                                                            - pm
                                                                                                                                                                                              - ''
                                                                                                                                                                                                 - e
                                                                                                                                                                                                   - '
                                                                                                                                                                                                                 '


                                                                                                                                                                                                                              STG AA -
                                                                                                                                                                                                 cdle > jo'   W1Pxud-
                                                                                                                                                                                                                , m..j% * j%
                                                                                                                                                                                                * 1At. A. ..G..jDe         jvjV1*jW t)'',
                                                                                                                                                                                                                                        y.;'
                                                                                                                                                                                                                                           J(                                                                                        .                                .           .

                                                                                                                                                                                                                                                       a- dewd- - kAt*4hd-
                                                                                                                                                                                                                                                                                                                                                                 .




                                                                                                                                                   1
                          Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 92 of 165


                                                                                                                                                                                                                                                    F-
                                                                                                                                                                                                                                                    -xv
                                                                                                                                                                                                                                                      'j##                                    m




              UkK FM
              =
                & &                                                                                                                                                                                                                                                        * -                      # E/t
                     * - *-                                t
                                                           < ##:
                                                               e                           - - * e - t* >                                                              o
              ** -                     .        fe                 -T
                                                                    --                                           *- -                               - h- -                                      -               1-                          ,   -               <- -                                  *
                                                            )

              G                  w - y
                                     -                                        -                                  qe xo -                                             e 4w -                            e w m-                               -                   w- w                            e
'
              -                    '
                                           -
                                           *
                                                          -              P:
                                                                          '
                                                                          .i-                                      >> - - -                                          < >'- k*-                                            a-                * ;>                    - - *- -
                                                        ... :
                                                            .... ... .,..:. ..                 ;.:
                                                                                                 ' ..
                                 v #-                                               e -                           -                 *                           *-            - ''' ''''''fe                                                    .-          >       . ,
                                                                                                                                                                                                                                                                         '- w*-                        .
                    .                                               .       . ,p
                                               .v...,.u-....7-.,
                                                               .4.<t$;tLkw,:w. ,.k'oi:2....j..-...,,... ...,.,.,..,.,,..... - .. . ..- ....>. -
                                                                                    :'                                                                                                      .,
                                                                                                                                                                                            .w
                                                                                                                                                                                                                                                            4
                                                                                                                                                                                                        ,
                                                                                                                                                                                                        ,.,..
              .. -
                 .                                                          :                                                                                                                                     -*w%.

             *' <                                             *:
                                                               #>
                                                                '.
                                                                 '
                                                                 -'
                                                                  Uj-                                       -i
                                                                                                             - 'r'
                                                                                                                 =--
                                                                                                                  e- -7--U- <:j                                                                                          1
                                                                                                                                                                                                                         )
             *         .  >> ;   *
                              - ':*  #                        ..    ... .
                                                                                                                                                    .   e % < *                                                    /
             *.. .O. G X c W e . O ; O                                                                                                    y *A                                   W #e W                           Jf                            .
                                                                                                                                                                                                                                                        .       '
                                                                                                                                                                                                                                                                                          .


                                                                                                                                                                                                                ?y
                                                                                               '
                                           .                              .     .
                                                                                    :g ,.. .       ..              %
                                                                                                                ....            .                   .. .                                                         '                                  '
             '''             '
                                 > #                                                #e W w+ #+                              .
                                                                                                                                              N               > >                    . % /
             -               E   e '                    ..'-
                                                           ..'.>.. .%**
                                                                      '
                                                                      .
                                                                      *''
                                                                        .
                                                                        œ..
                                                                          ,
                                                                          s.
                                                                           -.
                                                                            ,.M.>.,
                                                                                  ...%.
                                                                                      ... ..
                                                                                           ... ....
                                                                                                  - ......+.....,-... ...,.,  .
                                                                                                                           .:.,
                                                                                                                                    .                                        -
                                                                                                                                                                             .
                                                                                                                                                                                  - .h.s--.- ''t''*'
                                                                                                                                                                                                       .

             ?
             '
             ..
              )'
               t'
               ..
                :
                v;
                 .
                ' '
                ''
                                                                         ..
                                                                          r
                                                                          ?
                                                                          '
                                                                          b
                                                                          .
                                                                          :
                                                                          t'
                                                                           :
                                                                           .'
                                                                            j
                                                                            s  &
                                                                               L .:
                                                                                  C.t
                                                                                    ...
                                                                                      '
                                                                                      Fav/
                                                                                       ... j'
                                                                                       v
                                                                                                   .i
                                                                                                                                                            (
                                                                                                                                                            .;.
                                                                                                                                                              j-JVut
                                                                                                                                                                   rlv
                                                                                                                                                                     -
                                                                                                                                                                     &zz
                                                                                                                                                                       ,
                                                                                                                                                                       .'
                                                                                                                                                                        >
                                                                                                                                                              ''bbb'''''ï
                 .. ..
                         (j'.
                            , ..........
                                       5
                                       . '
                     y.-. '': '..' ' ' '  ''''
                                             .,
                                              j
                                              3 1:.i
                                               ;.
                                                '                           (Cè;'
                                                                                jr..
                                                                                :
                                                                                ...
                                                                                . ..
                                                                                           .
                                                                                           ,                ,      .y
                                                                                                                    .      ,jf 'v'i
                                                                                                                                . .z
                                                                                                                                   ,'.
                                                                                                                                   r          ,,.,..,-'è'
                                                                                                                                              r jj
                                                                                                                                              ,                  .                  /                                                   '                   ''
                                         2                      4
                                                                à
                                                                j
                                                                f
                                                                -
                                                                ?
                                                                ô
                                                                .q
                                                                 '
                                                                 3
                                                                 '
                                                                 ,
                                                                 .4
                                                                  ?
                                                                  '
                                                                  ;
                                                                  ,
                                                                  ï
                                                                  -
                                                                  j4
                                                                   (
                                                                   '
                                                                   è
                                                                   .
                                                                   ,
                                                                   à
                                                                   ';
                                                                    '
                                                                    -
                                                                    4
                                                                    b
                                                                    i
                                                                    ';
                                                                     t
                                                                     :
                                                                     L,
                                                                      .
                                                                      -
                                                                      ;t
                                                                      .,
                                                                       4
                                                                       .
                                                                       '
                                                                       :
                                                                       é
                                                                       -
                                                                       6b
                                                                        .
                                                                        '
                                                                        à
                                                                        ,
                                                                        b
                                                                        :   ;.2j'.' !.-!,;.,:;$à63j.-.'');r,i!î''$j,ek:j,':-j
                                                                         ,''.
                                                                         r                     .    -.                      .
                                                                                                                            :
                                                                                                                            )
                                                                                                                            ;
                                                                                                                            f.
                                                                                                                             ,j
                                                                                                                              .
                                                                                                                              j,
                                                                                                                               ?
                                                                                                                               -.p,
                                                                                                                                  .,
                                                                                                                                  y
                                                                                                                                  ,:
                                                                                                                                   (-
                                                                                                                                   ',
                                                                                                                                   ,k
                                                                                                                                    ;
                                                                                                                                    ,
                                                                                                                                    j
                                                                                                                                    y
                                                                                                                                    ,j.
                                                                                                                                      ,
                                                                                                                                      t
                                                                                                                                      r
                                                                                                                                      :,
                                                                                                                                       j '
                                                                                                                                         ,
                                                                                                                                         .
                                                                                                                                         r
                                                                                                                                         p
                                                                                                                                         ;
                                                                                                                                         '
                                                                                                                                         -4.,
                                                                                                                                            ?
                                                                                                                                            f
                                                                                                                                            'h
                                                                                                                                             k
                                                                                                                                             .;
                                                                                                                                              q
                                                                                                                                              :
                                                                                                                                              ï-
                                                                                                                                               :.
                                                                                                                                                -               ,.
                                                                                                                                                                                                                                        ,                           .,.-. .k
                                                                                                                                                                                                                                                                                ,,. .
                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                           k.. .-.        ',:
                                                                                                                                                                                                                                                                                           g
                                                                                       .                J                                                   z'*'
                                                                                                                                                            .                                                                                                        '           ,
                                                                                                                                                                                                                                                                                 u         s.
                                                                                                                                                                                                                                                                                            q
                                                                                                                                                                                                                                                                                            '              .
                                                                        4'.                                                                                                                                                                                         !'         .
                         . .                   .              )v
                                                               .'.
                                                                 ç.f$.#':  't
                                                                        #.:.
                                                                        .
                                                                        .    hc'
                                                                               z
                                                                               x
                                                                               'j'
                                                                                 :
                                                                                 '
                                                                                 z&                                                                                                                                                                         w .'.
                                                                                                                                                                                                                                                                '.   .   ..
                                                                                                                                                                                                                                                                          u.' '''       .. J..
             G                       ,
                                                             è                                                                                                                                               #                                                                                             ,




            %; M e                             -           H                                   - ê*                             - ' n '* '-                                 e
                  @'$
                    *.
                     ..
                      =
                      -..
                        =.'
                          -x:%.'p àE
                                   *>é
                                     'i & * 1<7 .- ' e ', . - s                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                    i
                                                                                                                                                                                                                                                                    (                     '
            - #'
               -.     e * ,.   - '
                                 %
                                 .''-., , - - .1* .,,     e t- - -                                                                                                                                                                                              . ...?..
                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                       >
                                                                                                                                                                                                                                                                       j'::
                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                          'Fp
                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                            .
                            *              -                    -             +            .                *>                  #                                                                                                                                      .
           +**
             u .% .x. a>u : u
                            < *a
                               *:- *                                        e.         =                    =              %
                                                                                                                                        .-x       w ..w x,
                                                                                                                                                         .=                 .u u
                                                                                                                                                                             W PO u= ..u .u u                                          J
                                                                                                                                        ..
                                                                                       ''=                  R          .   *                      K* ''r''-                                                                                                                                            c

           -, # . .. ., * >
              ;    . .                                                                 - -                             -                * e -                               -         #'
                                                                                                                                                                                       * .-
         ..A.?:.:;,.)..)
                       t
                       :'
                       .:t
                        .'
                         .
                         )
                         .T
                          t)
                           ;
                           j
                           4
                           '( 3 .' ,
                           9                 '.......  :(. '  .è,
                                                                ..(2 $..
                                                                       ''(( j
                                                                            ,
                                                                            ';
                                                                             .
                                                                             )!
                                                                              ..*.
                                                                                 ''  ..'
                                                                                       .. ':.s ' - .'                '''''' '. . '.'''                                                                                                 .
               .. . ..
     t.j.j                             . '    .s,.,;,- ....'-.. ...                                                                                    ' ' ''    ''': '' '.
                                                                                                                                                                                                      11'r     '
    .v                                                                       ,

                                                                                                       ,.1
                                                                                                         l
                                                                                                         2
                                                                                                         ..
                                                                                                          !
                                                                                                          l
                                                                                                          1!!  l1
                                                                                                                !
                                                                                                                ..q1
                                                                                                                   -l
                                                                                                                    1.1
                                                                                                                      -l
                                                                                                                       -1i
                                                                                                                         -1
                                                                                                                          .i
                                                                                                                           t'      ï.,y,-..,r,..;-,:(1
                                                                                                                                                     .1
                                ùr;,..-..,,.. i            -
                                                           .,                                                                                         ..1
                                                                                                                                                        .1..
                                                                                                                                                           '
                                                                                                                                                           ,!
                                                                                                                                                            1
                                                                                                                                                            k
                                                                                                                                                            :,
                                                                                                                                                             .. 1
                                                                                                                                                                ..                   ,.t..-..i
                                                                                                                                                                                             .'
                                                                                                                                                                                              l
                                                                                                                                                                                              I
                                                                                                                                                                                              .l
                                                                                                                                                                                               2!ij
                                                                                                                                                                                                  .l
                                                                                                                                                                                                   tI
                                                                                                                                                                                                    1
                                             .
  .';,'.
 .J                                                                                             ,....;                      ..t.                                 -1
                                                                                                                                                                  .1
                                                                                                                                                                   111. -..JL;,....;*
                                                                                                                                                                                    -
                                                                                                     j-
                                                                                                      :'                                                                                                 :.e
                                                                                                                                                                                                           :.
                                                                                                                                                                                                            '
                                                                                                                                                                                                            r.
                                                                                                                                                                                                            y
                                                                                                               '             '
                                                                                                                                                                                                                                ...-:
,b                           :.'
                             . ..                                 ... -. t
                                                                         .... .
                                                                              , ..$,..;,                                                                                                                                        .
                                                                  .                 .-  ..
                                                                                         -,-,,...         ...,..- .:.-         :--é-                    .
                                                                                                                                                           .-
                                                                                                                                                                   .
                                                                                                                                                              .E.: ..-....--.       t.          .
                                                                                                                                                                                               ':.. ,.. .    .. - t
                                                                                                                                                                                                                  .. .       .2
                                                                                                                                                                                                                             : .
                                                                                                                                                                                                                               ..   ,.
                                                                                                                                                                                                                                     kE,-
                                                                                                                                                                                                                                        ,                                                                  ., ,,...;k.       ..,
                                                        l'
                                                    t ' )
                                                         t
                                                         1!j
                                                             k
                                                             yr
                                                              jy
                                                               @
                                                               k .)
                                                           )1)1.
                                                                   .
                                                                   '
                                                                   i
                                                                   ,1
                                                                  h),;                             . '                              ... q
                                                                                                                                        S.'
                                                                                                                                          1:.j;: $
                                                                                                                                            <.   .
                                                                                                                                                 ),,
                                                                                                                                                                                                                                                                                                '. 1.11,'
                                                                                                                                                                                                                                                                                                        J..:è:)' ë .
                                                                                                                                                                                                                                                                                                                         .   I


                                                                                                                       1
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 93 of 165


                       %


                            %                                                                    xjr
                                                                                                       Lh/c,py


                                                                                    u + *


                    + *




                                                       .
                     T'
                      < )>f
                          ...                     .    #.
                                                        j
                                                        '
                                                        xk
                                                        .,. j#,
                                                              .x 4# 7
                                                                    1 + ps
                                                                         vxxl.yi,
                                                                                jz
                                                                                 k'
                                                                                  ,k
                                                                                   .
                                                                                   y jzx.
                                                                                   '    x.
                                                                                         nr
                                                                                          j.tt
                    P'
                     rM,E , e 4-, t,>41*-'
                                         -41-.tt
                                               kxer 4%ekrt4tzk,
                                                              ahMv-x,
                    *.
                     e                        I            .-1x..
                                                                e # .-x.
                                                                       @.s
                                                                         xst,4xx:
                                                                                t?<'x f?
                                                                                       (:
                                                                                        .@'oa
                                                                                            ;k
                                                                                             :


                     + a                          #7
                                                  .   hH tl'.s' y* ;
                                                                   'txwW . ss
                                     ,       $t
                                              <, ., .
                                                    >:Kep '
                                                          1w '4> < sa'l ojt,t,
                     - -  T1. $)* + . < . tlxvkiw
                                                #rtk.w w;di
                     a- %        4). > wxjy
                                          .!'
                                            j
                                            .< jjw j   y:
                                                        yp
                                                         jjw ug.
                                                               j.
                       .                 '
                     4    #- < ë      ,* 2:.>.;y.t* f,ye
                                ',
                                 !
                            :                                                            . E.,
                     .. .




                     1
           Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 94 of 165



                                                                                                                                f-
                                                                                                                                 .'
                                                                                                                                  .
                                                                                                                                  x').UU /


                                              - V ...
                                             .:
                                              r.    k''               .    . ,:                       '. .
                                                                                                                 .yd+ e >
                                                                         . . ..
                                                  i               A
                                    &,       '.'.                '* ''.. ,      ' . ...
                                                                                      '.
                                                                                       '.

                                         *-                  - - .-                          .-              -    < z.
                                                                                                                     %L
  . ,= ,..=   - ... ........-   -        -              .0            4-
   /?wY
      :,4t.
          (- Ldéy> w                %- .
                                       -...
                                          *
                                          ..*
                                            u-ree-
                                                 -'-r--*
                                                       lo--
                                                          --
;< fp popp
       od
       -
          )W p:
              k;jeyy ,j
                      '                  -xw-<*-uw +e
                                         x         w xa-e cw- aL-
                                                              w  w                      ,,


!;'J /;li
;         tkjL
             pp                              . . - . we w xy               .   . ....
                                                                                        '    .                     ..   . . '



                                              -                  -                '-             ''- - ':- -




                                         @> .
                                            u
                                            4-                                 .- .wow swv- 4w
                                         E                            -

                                    %

                                         %
                                     j              .
                                         V1i*                e        -        .+ ,
                                                                                  x- .> > .
                                                                                          e                        .<L
                                                                                                                     :
                                                                                                                     ;
                                                                                                                     fA;

                                         -                       ..
                                         1- -                *    w> -                   <-           +-          *ç* >'%

                                         + A '-          .*e - * - +                              -          v


                                         %.
                                         G w w*'<..lj& .
                                                       '.w.. ak.+à
                                                                 ..




                                    1
       Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 95 of 165

                                                                                                                                                                                .7
                                                                                                                                                                                 '.

                                                                                                                                                                         .
                                                                                                                                                                             ',y jj
                                                                                                                                                                                  !y j
                                                                                                                                                                             -m ( .
                                                                                                                                                                                     -
                                                                                                                                                                                     j,
                                                                                                                                                                                     'j
                                                                                                                                                                                      ;
                                                                                                                                                                                      ... .


                                     $


                                             .       ,. :.
                                                 .   (''..
                                                     !   (': ,                            .';       . ,                                             .
                                                                    j:                                                         <jj+ + k
                                                                              A

                                     ;           ..      .                            ., ,     $.. ,u. .y yw,. .....w x.x.                                  'sx
                                                 k< < -                    -                  * e t-                        *               '


       i6:'
          :
          ;' .
             t-
             k
             .
             . z
              I.
               p
               -
               -:14
                , 1t
                   3
                   '
                   ,-
                    ?-
                     '
                     k
                     -
                     '
                     .2
                     .
                        ,
                      tLq
                        :
                        .
                        j
                        :'-
                          /4.
                          . :
                            !
                            1/
                             .t; .
                              p'
                               k
                               -
                               .
                               -                 -
                                                 .
                                                 ..
                                                  -,.-.)
                                                     .
                                                     .
                                                          *(
                                                           ... '- .';,',,$k';r,,-
                                                               ''''

                                                       ..---..-.-.,----
                                                         . . . ..
                                                                                ,,yk,,           -,j,1p,,-
                                                                                     !,q,,.,,f$,,.
                                                                                                 ,       ,
                                                                                                         j
                                                                                                         .,,,,
                                                                                                             t-
                                                                                                             ,j
                                                                                                              ,d
                                                                                                               ,j,,i%-
                                                                                                                   h.
                                                                                                                    $
                                                                                                                    ,,,,
                                                                                                                       k-,
                                                                                                                         -
                                                                                                                         . -.I.'---
                                                                                                                         ,,,
                                                                                                                           '
                                                                                                                           ;    .
                                                                                                                                        .
                                                                                                                                  --.-...--'-,.--
                                                                                                                                                .                 ,,
                                                                                                                                                                     '



 .         .. 4'$          . :                   O * *> ,>                        *      * Ce >                       *             *           W                 /,
Jh.' t,
      zj. t   il44céc#
                   .                     .-                    . ;. . >                                    - . )w..t                                            fy
 .
                 .
                                                 e            k- -                -          - -                        -           -                         y..
                                     !1k.                     (.. . . .                 . ,...       ,.
                                                                                                      -.   ..                                       .
                                                                                                                                                        .




                                                 ë + >.                                             Axzw
                                                                                                       >t
                                                                                                        - vr
                                                                                                           kw.- .
                                                                                                                4'
                                                                                                                :% .,
                                                                                                                    -.$
                                                 %                        w            wo                   o m yj


                                         %

                                                 *                    - -          ?
                                                                                   v>
                                                                                   q                ##e - +                -


                                                 * >                       G           - à.
                                                                                          + ,ctalag
                                                                                                  pwttq
                                                                                                      +t
                                                 Ae                           %        o o                   j%            e                o
                                         ' *-                       -                 *- -                      -         - -
                                                                                                                          '                 *




                                                 > *                  *'%


                                                 @ ,+ p
                                                      > ' ' ' ''*- .vykzs W# t
                                                                             k:>
                                                 K- % -                         >                   'M          =              - -                  l
                                                 *-                   lG ....
        a
        Case 0:23-cv-61345
                 +
                           Document 1-4 Entered on FLSD Docket 07/14/2023
                                                                      G YYYPage
                                                                            ' W96 of 165

@                                                                                                                                    c R H 2 o ** a o + * 7 + a a
                                                                                                                      .       -
                                                                                                                                     œ * >       P@* a ? - - 1 4- *)
                                                                                                                                       -        axm zo j4o yyj
                                                                                                                                       :EE: 9:: TAx 4.44
                            *                  @                               '*
                                                                                                .
                                                                                                    ...- . --                          e      o gy: a - > o y
                                                                               .    ..
                                                                                            WW .p ...-: s                         * **)Nx j.e o w yy yo y.
                       u                 *1                           jj4
                                                                      . .%w.
                                                                           6                                          .
                                                                                                                          @           ..
                                                                          #@*@***we*G**@*@@#***peme*ee '
                                                                                                       >          -               .*-          -    *-



                *- -- --                               - -        -        Z#             *
                                                                                                    '    '
                                                                                                                                                             xr
                                                                                                                                                             .         .
                O        O O W                     V         ** *                          *                 e

                *-          - -                                             '
                - -* * -                           .1* 1 A e - Y                                       -
                                                                                         y œ-' 'R - f'zl                                                                   *V.
        *                                                     .
                                                                                    .
                                                                                                        u*
                                                                                                                  .
            N
                                                .
                                                                                                                                                                  '
    #

                           -               -
                                               - --- - .- -
                                               - . -
                                                                                              -... .-w. w > -     -               -
                                                                                                                                           G       W V& -# * )

                - *< - -                                --            - ** - g> - e'-'r*
                11111111,i
                         lI1
                           F,
                            1'
                             i
                             1!
                              11
                               l11
                                 i'1l
                                *.
                                    111d
                                     .
                                       Id
                                        !1
                                         Ip1
                                           ' !1111:7     .                                     .-
                                                                                                             --
                                                                                                                                                                  .-
                                                                                                                                                                       .
                                                                  #                                                                                                    .

                    . K                                               f
                                                                                          <-                                                                           '

                                                                      .                     >y                        >



                                                                                               *g




                                                                                                                                                         #




                                                                                                                                                    *-
                                                                                                                                                     *           *-

            o A - h o n o n o #o - - - o l o c                    m c ke m n d W n z z v z o o                                                           0
                                                                                                                                                             -- - 4 a# o
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket- 07/14/2023
                                                         *> - @>  - <Page
                                                                      - v w97 of 165
                                                      UASY RAGC
                                             %
                                                                                                            Ye




           *      - -              *-                   *
   '   WW             YW
   t,
    %, *                      #

               . '
                      # **                  '                                                                    '
               #* d                         #       *                                  ' e     *
                . # v *.*
                     -
                  -           #%                            .                                 #
                                                                      .>                            A

           -          œ                                                    .W     *.
            >             G'
                                              - W                                            zw > -          .>
                                                                     -                         ,*            '
           - #                                      .           ,
       .
           - ko - z'- r )i                                                                    .#        w            - w .> vup
           Ie * I* ee -                                     -              -       .
                                                                                                                 H w


       >         >            < #
       -                                                                                                                     *-



                      /-N. -D 4p

                                  . .
                              F * .w
                              *+ **#                            '           @>           >
                          w         - *                 +
                                                '
                                   e-
                                        .
                                              'z#
                                            > e*$>
                                                    .

                              w.
                               ** q F>#
                                   *        %k'*




                                                                                                                       -   @- -

 o - - b o n o n o #n - - - n o o o                                 m c hM e n ë z n z z v W o o                       & --- o -# o
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 98 of 165
                                                                                                                    --,   j
                                                                                                                          zn /Lo'S

                                                                '
                                                                r'
                                                                 yC
                                                                  ê.:.!aqî1ç.'
                                                                             ;h:'-' - 'R... r/a
                                                                                              #k/-'ty
                                                                                                    -,
                                                         .   .  i        .'                          JE
                                               Setect ear. ê
                                                           z
                                                           ,
                                                           ;
                                                           :
                                                           ;#Y''
                                                               WQ>7
                                                                 .'C!%$' 'X'ê
                                                                            :
                                                                            p
                                                                            fz
                                                                            ,
                                                                            7
                                                                            :
                                                                            '
                                                                              ,z '
                                                                              .u .:$
                                                                                  z1
                                                                                   ,
                                                                                   )


    The 2022 Florida Statutes (including 2022 SpecialSession A and 2023 Special
    Session B)
                           Title VI                                        chapter65                      View Entire Chapter
           CIVIL PRACTICE AND PROCEDURE            QUIETING TITLE
      65.021 Realestate;removing clouds.-chancerycourtshavejurisdictionofactionsbroughtbyany
    person orcorporation,whetherin actuatpossession ornot,daiming tegatorequitabte titte to tand againstany
                                  $
    person orcorporation notin actui possession,who has,appearsto have orctaimsan adverse tegatorequitabte
    estate,in-
             terest,orclaim therein to determine such estate,interest,orctaim and quietorremove ctouds from
    tpetitletothetand.ltisnobartoretiefthatthetittehasnotbeentitigatedattaw orthatthereisontyone
    titigantto each side ofthe controversy orthatthe adverse ctaim ,estate,orinterestisvoid upon itsface,or
    though notvoid on itsface,requiresextrinsic evidence to estabtish itsvatidity.
      History.-s.1,ch.4739,18999GS 1950;RGS 3213;s.1,ch.10223,1925;CGL5005;s.2,ch.29737,1955;s.20,ch.67-254.
      Note.-Formers.66.11.

                         Copyright((
                                   71995-2023Thç Ftorida Legistature .M vacyStatement.ContactUs




*
                                      %
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 99 of 165
                                                                                                  fxf
                                                                                                    o /(t(
                                                                                                         i/
                                                            t.;..'
                                                            g    !   Jf
                                                                      E?
                                                                       q$
                                                                       ïi'
                                                                         4q;$
                                                                         j  't
                                                                            )'.   .:
                                                                                   i;.
                                                                                     jG
                                                                                      1,h
                                                                                        q.
                                                                                         ufi
                                                                                           .'i
                                              SetectYear:            t,.
                                                                       *,- !
                                                                           . '


    The 2022 Florida Statutes(including 2022 SpecialSession A and 2023 Special
    Session B)
                        Titte Vl                          çyppter65            View EntireChao
                                                                                             -t.
                                                                                               c
           CIVIL PRACTICE AND PROCEDURE                QLJIE-r'ING 7-I-r1.E
      65.041 Realestate;remoWngclouds;defendants.-Noperson nota partytotheaction isbound byany
    judgmentrendered adverse tohisorherinterest,butanyjudgmentfavorabte to the personinurestothat
    person's benefitto the extentofhisorhertegatorequitabte titte.
      Hfstory-s.2,ch.10221,1925;CGL5007;s.20,ch.67-2549s.345,ch.95-147.
      Note.-Formers.66.13.

                        Copyri
                             ght(7 1995-2023The Florida Legistature .PrivacyStatement.ContactUs




                                  1




*
                                      %
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 100 .of 165
                                                                                                                                             Y 74.
                                                                                                                                                 -
                                                                                                                                                 /.1
                                                                                                                                                   .tr/
'




         w:




         q                                           A> PW
                                                         ;yk W N W T CQO T W TR                                         :1> X W CIXL
                                                uye y
                                                    jy .
                                                       xx ,xun soa gyax
                                                                     y r.oap: go m.
                                                                                  y. ysokypa
                                                                       t7A
                                                                         y:Ap NQ .j 2:1;.6:9:@ CA Ql
                  . :
                     w1tw ):
                    #.     .......;..:.!G
                           >   t.  M%.   ,g
                                          xxTlo.,xAL:a'
                                                     :ggpc
                                                         ,.zAr:og, Ag                                                                                         #
                                                                                                                                                              r
                                                                                                                                                              j
                     V gWk (FjJyR VrW âX qW yy
                                             gt
                                              LYly
                                       Yl*'
                                          iyh'ti)'
                                                 ffz                                                                                                          '


                     V RW W LSTAe .
                                  y W d1py
         E                             J
                                       (,
                                       %;'L
                                          +
                                          ,y>',( t
                                                 p.
                                                  X)yr.                                                                                                    y
             :-
                    u....
                                         ,
                            q. .q........)...r. ).. .!!..... ... ..
                                                                  .           '   '   '   '   .'       '' ' '''''   .
                                                                                                                         /


                                       'kè
                                         ::m-- di
                                                'p@@ hld' * 4 tlken plaR bedore the                                                    #'>                    #
                    1-
                     ),wtaYA# yppppi
                                  ,(la Dipgp pnp of the CuYl@:
                                                             y pf aL
                                                                   yid Court,
    ..                                                         .   .   .' .                   .   ..                                                        .?


                    W <W éix
                           y 4+DàW Cov xy CW xthDqypy 7$ W lt W lgic
         .                                                                                                                                                    ',


     1   '
                    Rtt- t, #F
                             :r
                              e-i
                                :, Elo'
                                      riO : ozt Tueaday. th+ 19th AE # on
                                                                                                                                                              4
                                                                                                                                                              '
                   >A#'
                    q'* :) y.è izq
                                . .z:y u-,.-()
                                   .         aqks4 lt the km ux of tc;s4 i .m.. v 4                                                                           r
                   bpia @ A xxilg .
         .                                              1                                                                                                   k
     .
                                                                                                                                                              !
                                                                                                                                                           i


     j                                                                                                                                                      .
    t                                                                                                                                                     '
     )
     1
                                                                                                                                                          q
    è                                                                                                                                                       .




    ..                                                                                                                                                        r




                                                                                                                               *#
                                                                                                                                '- -    M e Aœaw - = - -x-x > . -.
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 101 of 165                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                            .



                                                                                                                                                             '                                ''                   '   .. .                    .           ..       .
                                                                                                                                                                                                                                                                        ,   .

                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                j.
                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                 yg
                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                  g
                                                                                                                                                                                                                                                                                  jjj
                                                                                                                                                                                                                                                                                    y
                                                                                                                                                                                                                                                                                    gy
                                                                                                                                                                                                                                                                                     j
                                                                                                                                                                                                                                                                                     y
                                                                                                                                                                                                                                                                                     j
                                                                                                                                                                                                                                                                                     x
                                                                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                                                                     .y
                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                      w
                                                                                                      ..                                                                                                      ..                   .




 è                                                                                                                                                                                                                                                                              Z
                                                                                                                                                                                                                                                                                j.kr3 .q
 '
 y                                                                                    j
 (                                                       xwvez bztuuvht t'
                                                                         h: nötp # S4, I #Rnt M ' fQr the
                 yy
                  g
                  ;                                       % gpxX ->
- g.                                                                                                                                                                                                                          j'                          ss                          jj
                 3                                                                    TLXX X URT;                                            W % yx RX* ZQV R VRXYY Y? QHV
                                                                                                                    .
                                                                                                                                                                                                                                                                                       (

  ;;
                  4                                        '
                                                           tï.eA-
                                                                kI.                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                       .

                  5                                                                   MY y $.XX&
                                                                                      ; )é
                                                                                               .'
                                                                                                ;::
                                                                                                  KW Y t RW V@4 ; SRy
                                                                                                                    ,
                                                                                                                      Yhi# QX* G.iQ;'
     '
 .


                   ,g                                      1:':
                                                              h= R Dk,
                                                             .. ;.... r.:k..
                                                                             .r Lpà
                                                                              qj2.
                                                                                 :
                                                                                   7% *b v-                                                                                                                                                                                            .
                                                                                                                                                                                            t a parxy to G e QXSV .
                    g                                                                   Sg'
                                                                                          y & :URS y Ypjj @W W
 jE
                     g                                                                  % yx g>rro% :,% y; #pj
                                                                                                             )1yr I#11 say this yqaih:
     i' #                                                    p#
                                                              . . w, w xr,
                                                                         xo .
                                                                            :p,
                                                                              :y
                                                                               >. lpl, -..                                                                                                                                                                                             è
                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                       .

                 1.:         *
                                                                                        TAR c.
                                                                                             0,>,T ) So 1.':
                                                                                                           M hlp
                                                                                                               ,py tp h+lr f40 apmeonp                                                                                                                                                 t
          '
         ,. .
     !
             5,
              j
              1.::                                           G'tt 4
                                                             :    i#,a ).;.y,
                                                                            .'yy '
                                                                                 t..
                                                                                   pyAY# .
                                                                                         <y2* x                                                                                                                                                                                        .
     ).;
     .

     ;t0':.                                                                             or ss                                         L
                                                                                                                                      > 4, ypa, :
                                                                                                                                                ml.0 . z xav. :,.+s a                                                                                                                      y
                 1:
                  .:                                         r rxy to the c@,py
                                                             pu               g. D4 yop wln.
                                                                                           t mp to G >W y1u --
         j X:4                                                                          J
                                                                                        V g qc. kx::t y dpp %t pp. ypp .-
         )
         ''                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                           v
                 I4
                  ,,.)                                                                   % .q
                                                                                            .:)
                                                                                              :L; ïTT
                                                                                                    .2 z ..v, p,
                                                                                                               , Ll o gave ,
                                                                                                                           me t.hp v-
       q.'
     àL
         / 1r
            $.               .
                                                                                         .
                                                                                         N,
                                                                                          %;..t ..1
                                                                                                  ...,
                                                                                                     r-.-..:
                                                                                                           .k..y
                                                                                                               x y .t.. 4
                                                                                                                        -.,y
                                                                                                                           ..jp 4t.. ape youz m)
                                                                                                                                               ,xow
                                                                                                                                                 .. . pl the                                                                                                                               j
     .   è                                                                                                                                                                                                                                                                                 l
         E17                                                  4W
                                                              '                 .lJ>L ztr
                                                                                i       yx.j xixy y.
                                                                                        ,          p ypu ar. w t,@ yàxty to th
                                                                                                              v
                                                                                                                             :.e                                                                                   .                                                                       '
         '                                                                                                                                                                                                                                                                                 t.
     .
         ;zé                                                  pass .                                                                                                                                                                                                                       C
                                                                                                                                                                                                                                                                                           :
                 :9'
                  èE    .,                                                                :*4
                                                                                            . v p, 'af
                                                                                                     ix: so qood) mornipg . If you wovld                                                                                                                                                   i


                 2:                                           u o yo e pup yw x,m xioa. pa ase staxt . you hw p
                                                                  t,                          .
                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                            '
                                 .

         Ek
          ,t                                                   ,l
                                                               #iv. <
                                                                    . àt
                                                                       vt.
                                                                         i,s? ypp >. y. a1
                                                                                         )rpaay takes up toux of                                                                                                                                                                           ,
                                                                                       $
                  k
                  '2                                           t'
                                                                H-'' . Taoy you hlvà e ppt a mih
                                                                                               puxp pp m
                                                                                                       :@.'
                                                                                                          k* your                                                                                                                                                                          ;
         rE
                 2.
                  '-
                   3:-                                        ,
                                                              (..
                                                                ::
                                                                 ....',.      ..-        .)..-
                                                                                             ..
                                                                                             t
                    .        k                                                                                                                                                                                                                                                              i
                         ,
         .
                  j4                                                                         o y+ G LLSr
                                                                                                       :. okayf.
                 yé$                                                                         w.ktg m. pyTL
                                                                                                         q
                                                                                                         j gp yptjs Np#r it.                            ''                                                                                                                                  ).

             '
                 .. ....v.7.!.....
                                 '.'..r.'...              s<E:..g.,
                                           :...r...;.v...k:       3r..:.,.:....t,r.
                                                                                  :t.;,..r....,r,...yà,:....:
                                                                                                            '...d.:.:........'
                                                                                                                             r,...,..r.,, :..
                                                                                                                                            -...,..<........v..........>........'.. . . ..t ,.....-..... k.        . .-       .'           .       '.           '   .
                                                                                                                                                                     ;

                                                                                                                                                                                                                                                        1- .œ .M œœr -..- *.- A#z
          '

              Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 102 of 165
                                                                                                                                                                                                                                  à.: ' r
                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                        .'-
                                                                                                                                                                                                                                       .'
                                                                                                                                                                                                                                          ;'
                                                                                                                                                                                                                                           ZX       '


                          .         .      .(
                                            L.   . .   .............;.
                                                                    JèLq(,           .
                                                                                          .                                                                                               ,
                                                                                                                                                                                                                                           o
                                                                                                                                                                                                                                      y@ XD-
                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                >u..
                                                                                                                                                                                                                                                    .   .
*
          .               :
                          t        .
                                                                                          %                                                                                                                                                     t'
                                                                                                                                                                                                                                                 ?9
                          ï: t                                         % )# % LLL
                                                                                :;: %E1).s we would 1iw tq> #kt th,p
     .
     #.
     f
                  yy, y
                      :                                        f
                                                               %
                                                               : x;y
                                                                   jsyx ix Dx , Llx(ylyp /g1:g px >.
                      .:j'
                          r :          ,                                                  % x : :', E.
                                                                                          q          :
                                                                                                     DEy
                                                                                                       ,.; Fai'oxapes --
                          ;4                                                              :
                                                                                          % w #kc ;
                                                                                                  ,é: >m of Stakbuûks -m                                                                                                                                    )
                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                            ?
                                       5                                                  M œ:
                                                                                             g.o
                                                                                               ',
                                                                                                LptNyo
                                                                                                    y.
                                                                                                     'q%(,) .. qy gtaxbucxe P.A x
                                                                                                       i

                                                                                         1.
                                                                                                                                                                                                                                                            (:
          ,(                           K                                            2è T%
                                                                                        jyEg,o> T t okay,t sir, you a>e n1t a VATKYL
                                                                                                                                   II
                       y                                  'l.
                                                          j                                                                                                                                                                                                     r
                                       y.                  ,   #'aygy
                                                                    ny1.
                                                                   . ..
                                                                   .   t r
                                                                         % px t.o n> r x:
                                                                                     .
                                                                                        tpv & u x ww ywU S..wwo W RW :
                                                                                                   .
                                                                                                                     y
                       2                                    .                                                                                                                                                                                               #
                                                                                                                                                                                                                                                            ,
                                                            j .'                                                                                                                                                                                            x
                  , j,:8                                           T 4> :.
                                                                         0ynç, to as: you ykev Qvfsidp .
                          j                                                                                                                                                                                                                                 '
                                       9                                                  % . ZL
                                                                                               W ML YTZ : QXay.
                      :!
                       15
                       .
                       1.
                        '
                        *!1!1!* . . ..
                                .                                                         V z Wzj
                                                                                                Lssk W ld $1 SRt % 15-WiNVfR Wifh QXe
                                                                                          r''''''''
                                                                                                  .'
                                                                                                   '
                                                                                                   .'
                                                                                                    %'''''''
                                                                                                     .'        ''''
                                                                                                                 . '''''''''''''
                                                                                                                               .'''
                                                                                                                                  .'''''''''' '   ' ''
                                                                                                                                                     ':'''
                                                                                                                                                         '''        '     '           '       ' '   ' ''                  '   '
                                                                                              i                                                                                                                                                             .



                               ij.                                 w-' (
                                                                   E   @w,
                                                                         4,.>                                                                                                                                                                               ?
     #                    è:
                           .
                           ,.::
                              ....                                                        o .j
                                                                                          .  ts gyg
                                                                                                  j axgm.g j géw yxypm py s                                                                                                                                 l
                                                                                                                             ..              ..                ..   . .

                  :..:
                     .. .;                                                                                                               .                                                                                                                  '

                      : 1:
                         :                                                                w (. r
                                                                                               w yt,ytxyj4 .. p spg axtorx y# xnd T'
                                                                                                                                   or judg..                                                                                                                t
                      t ié                                         r.
                                                                    , g$#.
                                                                         #rj,
                                                                            e :y t:
                                                                                  +
                                                                                  (
                                                                                  *:
                                                                                   mi@
                                                                                     ' tp yxovp ,
                                                                                                é).% .pnt -- pviéep<ilry                                                      .
                   '


                               i
                               :%                                  u
                                                                   . wriagy axd they xpvex oamp through gitx the nbte .                                                                                                                                 y
                   '
                   (j 1A.
                       .'
                        J<                                                               $>:
                                                                                           ...y
                                                                                              j. .)
                                                                                              .   C.>    .>'=Et 4
                                                                                                    :q<'N'       2p vo
                                                                                                                 ,        .
                                                                                                                          nu '
                                                                                                                    4;p.'>'   rp requeltilg & 15-WiNXf* .                                                      .

                   1
                   '                                                                          .                                                                                                                                                         <

                              17.                                  .,; 'ï
                                                                        ')
                                                                         1,
                                                                          *1 '
                                                                             pit
                                                                               '' hk4lt.
                                                                              ...      ''4i*'
                                                                                       n                                                                                                                                                                6
                                                                                                                                                                                                                                                        ,


                   7
                              1,
                               :'                                                         >t . % LLS't Yàah, .
                                                                                                  .            .    ..               .
                                                                                                                                                                                                                                                        '


                   !'                                                                                                                                                                                                                                   j
                   ';
                    .E:
                      #
                      .        .:                                                        e e.HVRXK: tE '
                                                                                         F.            N uI* llo br: it ,S Plailti,
                                                                                                                         .
                                                                                                                               . f.f I*                                                                                                                 '
                  (            ,                                                                                                                                                                                                                        @
                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                            '



                  :
                    ::                                         l
                                                               p.x iy
                                                                    tioa thyr
                                                                            pt ty
                                                                                herpyis np colprable eptitlem>nt,tQg                                                                                                                                    i
                                                                                                                                                                                                                                                        'r
              *   1                                                                           $                                                                                                                                                         .
                      !,      '1
                              k :                              ',> A.A''
                                                                       ppp rtk):rf@,
                                                                                   pp m o estilg al t(Y't' '
                                                                                                           E;
                                                                                                            t1:.
                                                                                                               ,Iï
                      ;                                                                                                                            .                              .                        .       .. .       y                         .
                  -
                  /'                                               .                                                                                                                                                                                    u
                              2:.                              w              xo y
                                                                                 g . a xy . ,uxj
                                                                                               os ue.wx mpzm zon a. .                                                                                                                                   .

    'yK                                                                                                                                                                                                    ,4g w ) ana a
                  i                                                .      .
                  : , , .     k:                               t
                                                               <,
                                                               .
                                                                ...).
                                                                '   t,
                                                                     :
                                                                     .,
                                                                      ..
                                                                       pp ,
                                                                          ti
                                                                           ,o '
                                                                              kà,
                                                                                cate.
                                                                                    .


                          4$,                                  jjy
                                                                 s.. r,
                                                                      (kx pgp ugxppe :yiu xyr,is pasu iu zjgzgg gu
                                                                                                  .                                                                                                                                                     j
                  .
                      '                                                                                                                                                                                                                                 â
                              .... . *                                                                                                                                                                                                          *
     '
                                                                                                                                    '
                                                                             c-
     Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 103-yof
                                                                                 /x.p165
                                                                                     tjtp/zg                                                           -

         ' 'g
         ,(
                                                                                                                                            c.             jt
                                                                                                                                                            4
                          i            t#)J:
                                           r
                                           l
                                           elyk x.
                                                 e.tL
                                                    .)>. ,
                                                         i
                                                         .s ip hj
                                                                wgkly rllat.d t> t
                                                                                 .htprmption .
         yy :                          >)yL
                                          k
                                          .
                                           y)lye
                                              ,j p xlypxvp/ ruio g at the trial:
                                                                              '
                                                                                #>4 alked
             )j
              y                        :h. p
                                           :ypxipy:tp bti
                                                        yyf g oprtaia isy
                                                                        aup. I *as npt
                          :
                          4            itp
                                         ypW yldrW .W aas. xt t% :ig. .
                                                    r .                                                                                                         '
                                                                                                                                                                ,


                                                             z su ievp t:p cudqe gave W dt
                                                                                         ihtiff ten dly'                                                        l
          .
          .
                             5:
                              k
                                                                                                                                                                ,
                             F         W XiW c y
                                               iy pgmyqrRRXV W ih XW                                   CQQXV YXY W VV                                           )
                                                                                                                                                                l
                                                                                                                                                                .j
          '

          1 V                          W L% ( qc y :ig4 yàyp tp filye a rpapoay/ W tlx tW t
                                         L : ;, :
                                                                                                                                                                r
                             é         wxs zfzu . I >< tpve the Rlathtiff heed*d a two-                                                                         '
                                                                                                                                                                ,

                                       > y w<
                                       )    .
                                            : >..azon, so thpy!filed'a Motion for 'ltenliçn
         *
             ,               #           )
             l':
               1.s4.
                  t.
                   :
                   )p                  -6
                                       ';,
                                         '
                                         t
                                         L
                                         3'
                                          6
                                          .
                                          ,.F
                                           3
                                           (
                                           - !r'tl,
                                             $l   4
                                                  ..!11'.
                                                   ..
                                                    1.   4F
                                                        1!
                                                        .,..,,,
                                                          . .-....                                                                                                  .

         '               ;z:                                       Txo, uztf
                                                                           qmpvily fia d thett xewprendvxw
                          j'
                         ïy
                          à
                          ,            #y .At,
                                       .     s'
                                              ,,
                                               *1.i
                                                  ,m                            t.
                                                                                ..%. y s
                                                                                       fcii
                                                                                         r #d..a ,
                                                                                                 rey
                                                                                                   &.#..
                                                                                                       ns#. $X*?CVW *
              /,
                         ïq            .a#
                                         :. Hj .):
                                          e ;    5>u      ,            t . YW
                                                   f!qrrh.. .y,. .:. .' @-r5''-''     .-'.--',
                                                                                  N.,--      '--- J
                                                                                                  i
                                                                                                  -= lz
                                                                                                  '  w''lup
                                                                                                         '' h@@' W X@@dY
                                                                                                                    ' ' *--' W @N                               u
                         )44!11'%.'%
                                   ,   -.q!!FdSI'X'I''.a ...'.v.       +:
                         i.
                          4             he
                                         '
                                         yg,
                                           q
                                           ##, Wg <.#p Cpuxt.# @pzj I gyp gre,apt tg ty::g .
                                                                                           C7j7W y                                                                  )
                                                                                                                                                                ' '
                  '               .
              .
                         :$             h:)
                                        ' l
                                          hwow;wxy . ppw,y
                                                         xvyypv xppzéw ppuvéx syy . a ss
                  .1
                   '
              ,
              )
              (:1'6*     '
                                       .
                                       -           ,
                                                    ;lè. x *'.rf
                                                      tbe.     #t ,
                                                                  1 '> .,
                                                                        > :
                                                                          1aih:
                                                                              t(
                                                                               H odçurre , @pd the
                                                                                         .
                     .



                         17             4 ..' E,
                                               #.enrr
                                                    itwd O mt,r m t
                                                                  'iqn >n; tk'
                                                                             en rellh*dui*d tDe                                                                     .
                                                                                '
              .
                         I$;           .
                                       f###
                                          '<A:4<a yl).à#
                         :#                  gusyyqu.
                                                  .: yjt w thaxy tjhpa hw . b
                                                                            ,ppjj oq
                                                                                   x ntlpay                                                                         ,
W.
                                                                   1                 '                                                                              q
                 '

                         24                       ..r11. yqu knov. c'
                                                                    àlae v al atrteçàl tp th*                                                                       '
              f(                             .
                                             jr;,
                                                .                           .        t
          :'
                  'R'1                 3,)'
                                        ..
                                          .,.,
                                             ', ...
                                                  ,tt.k ,>,
                                                          ..,
                                                            '
                                                            nr''.
                                                                r'. rj7,
                                                                       ç'
                                                                        à
                                                                        )(p'
                                                                           4. I h'
                                                                                 *vp A
                                                                                     .n qrdpx R E
                                                                                     .
                                                                                                AY                                                                  .
                  '  (                                                                                                                                          ,.

                         j
                         â
                         ,
                           ;
                           ,
                           :            jtsyx ypgpptAy gpt & % G e FAp)
                                                                      #m)ptGy CX TXt                                                                            y
              :
                         :3             14;
                                          >#j% :xh,x: th
                                                       ,iy
                                                         # 14 j44t @ ;
                                                                     $.
                                                                      r!hyqPqLt: Xy p#,Eï V ûy                                                                       .
              '
                          14            > xly :o=.=io:> tp . ,rhprp
                                                                s.
                                                                    Aa ppvxxas paa. gozav pn                                                                         :
                                  p
             '            ,,

                 ; ;$                   Nyyyy y. p ypxpsx                                                                                                            ,
                 '
                 )


                                                                                                                            '   '       .          .
                                                                                                                            M*                   M w.
                                                                                                                                                    œA.
                                                                                                                                                      ,..œ>a -.
                                                                                                                                                              A.
                                                                                                                                                               xœ$*
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 104 of 165
                                                                                   (s
                                                                                    -z'/.
'

                               '
                                                                                                                                      a./p,
                                                                                                                                          )
                               )               E       ' l;k 'E
                                                              :''!
                                                                 ( '               '
                                                                                                                                  '




                                                                                                                                      !
                                                                                                                                      jyzz
                                                                                                                                      x
                          :.                                               *># erqx durxlly , 4 Mottqn to p'ismiysr at                y
         f :                                         es
                                                     .w
                                                      .....4
                                                           s'!
                                                             ,i
                                                              ,éty
         r7 ''                                       (     .    .,x<r
                                                                    é 6j
                                                                       t o p iztw wtion, is >ot pto> v/ so we     .
             è(                                                                                                                                         ..

             )g           y                          ayk rka
                                                           ,: ,
                                                              yout aqpgp dppies the motiln.                                                             )
                                                                           j                                                                            .

         E
                          4                                            % . wp
                                                                            ,
                                                                            g;.1.,: Ju/gpz thpy havp bemn ,
                                                                                                          th* onp:
         ki                                          ..:.              .
                                                                                   '
                                                                                   '
                                                                                   r.   ..                                                          #
         ( 5
         ..
                                                     !%
                                                      j) t ((7 ? Y ïh dlG *#X
                                                                           :,pg th@ (
                                                                                    .gope4sw belause they
                                                                                    p           ,-                .                                     .



                                                                                                                                                    J
                                                                                                                                                    $
                          6                          A:#er r,
                                                            ïxt
                                                              -                        up wàth *h>fnote. AmH' ouœ eea. was                              .


         é.
         :E                                                                                                                                             )'
         j'
                                                   <,,
                                                   r
                                                     >
                                                     ,..4
                                                        2tr
                                                          44#4, pit
                                                                  .h pwpj,ud,$.çp2.                                                                     r
                          @                                Tgp ggusy ; Ri' vhx . so j upfo#tkhltplwy, the                                               '

                                                                                                                                                        x
                          #                        m to
                                                      ,'p that yoq Nlvp fi> d ,lnd u e aau nq.:t:e court
         l
             l14                                   tà h-r
                                                        xr'+lo:
                                                             r pr
                                                                v ,ia v#4# ugtsry
                                                                                moty . >),xt wjp a;
                                                                                                  - # to
         (.                                            .
                                                                                                                              t                     ..
                                                                                                                                                     .

         1 1'
            l                                      * èi* r
                                                         yoq
                                                           hq ppmd, to '
                                                                       retaip th# serviopa of an                                                    '
              l
              j;                                   rattqwtln:L
                                                             yy
                                                              è to be e lpjtp re tplept ybp y
                                                                                            pm perlye and
         (j                                 'ï(.E'
                                           ..
         I                                                                                                                                     ''
         yr   i
              yy                               y y/
                                                  % x gxxom wy yxuua giw gppmigic moxippa xp
         .                                 '
                                               j                                                                                                    !
                                                                                                                                                    (
. ( 14                                     ; :
                                           : (
                                             > 'y,:pw%eE
                                                       y
                                                       E
                                                       j.Ny r
                                                            ahouâx éi),p gpypific lpppalyy but thiy
         t                              '. '
              :$                        j + i)i,lx to pit
                                                        yc ga ag tkhis tisp iy a.t i
                                                                                   y tisp)
         t                                 '
                                                                                                                          y
                                                                                                                          .
                                       .                        .      1                                                                            T
         ? t,
            $                              j o xioù
                                                  ,.,.                                                                                              .

                                         '.
                                       . ,'

                                       ' yrs
                      .

              ï&                                                       > , t:t > po h
                                                                                    , e,r thia. it 'm 4è
                                                                                                       .
                                                                                                       iyp
                                                                                                          .

                                                                                                         .ly going to .

         ).                        è
              :.
               :
               $                   (o g$.#
                                   '
                                         ;j($p, é.
                                                 g a %.pg
                                                        ia1 s
                                                           ..
                                   . ...
     (                                 '                                                                                                        r
              1#  ,                                                    > . Nè,: '
                                                                               .ë 'Tz: ou'y .
         J'


     q.X(
       .. q                                                            % . yg
                                                                           tpyyzg: Ty                                                           .
     L                                                                             yyypak you o Yt
                                                                                                 sur Xolor. W W X
       %                                           i
                                                   ye j:ityp m. xo yylpyyy ap Sxgpxy
                                                   l
     tr
              %..                                                      mgx o,.vsx j pywxmw.
                                                                                                     *

              23
               ,,                                                   % . HPR'TK.
                                                                              : t 1%
                                                                                   : pn : 'y,
                                                                                            ou .
                                                                                                                                                :

     r :4,                                                 (,
                                                            + .a upoa, <hEp,p,xx pe4tngs verp px ç:&lrlod a:
     i é:
        ,                                          y::yr : p(
                                                            4plpuy ajo +)
     '
         ï

                                                                                                                                          4,
                      Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 105 of 165
                                                                                                                                                                                                                                        (-
                                                                                                                                                                                                                                        .-z'qp;
'
                                                (.((...(
                                                                                                                                                                                                                                                     1î2
                                                       ..: ...... ... .;..c;.,t... . . ,( .                     ..,..          ...       .   .. . . .   .   .. ... ... ..                          .                             . ..       .

                           E                                                                                à
                                                                                                                %                                                                                                                                : 12 ;
                               ,1           .                                                                                                    cgy
                                                                                                                                                   pTl
                                                                                                                                                     zyzrx
                                                                                                                                                         rwr                                oy p;
                                                                                                                                                                                                gN R r
                                                                                                                                                                                                     yr (                                        k,
                                                                                                                                                                                                                                                  9.'t
                       g'

                               #g
                                Z'                            .   !.yJ
                                                                     l
                                                                    jj
                                                                     :
                                                                       :
                                                                       t      ''.' lE
                                                                       h ;::.ï:
                                                                              W     A/
                                                                                     ,;
                                                                                     ka
                                                                                      znpe
                                                                                        y:
                                                                                         t
                                                                                         :!
                                                                                          (
                                                                                          5y:
                                            ''                1.'.. .... ':''. ..
                                                              !                         .    ''        '' '' 'G.. z. .               ....4 .
                       :                    3
                                            ,                r ).,t
                                                                  ,Y ,
                                                                     X,
                                                                      '. ,
                                                                         M'T@
                                                                           ,.MT
                                                                            A ,.
                                                                               i.k
                                                                                 '
                                                                                 Vp'
                                                                                   A'
                                                                                    c                                                                                                                                                                         t;
                       2' '
                       .


                       j
                               '            4,
                       J,                                                                                                                                       '
                                                                                                                       .                        .                                                                    .

                       t( 5
                       '  ,
                          ''-  .
                                                                                                           '>,t*>
                                                                                                        'k ,
                                                                                                           *    .' Ar<'*1
                                                                                                                        )14 # Am port
                                                                                                                           .       ''mr4 o@rtt
                                                                                                                                             i:
                                                                                                                                              f'
                                                                                                                                               y t:lt '1        . ,.                                                               ,
                                                                                                                                                                                                                                                              .



                           ) 6                                                      %,
                                                                                    ? #:i
                                                                                        xuth
                                                                                           'orir
                                                                                               zm.
                                                                                                 d, 0. T
                                                                                                       APX did TpN rt thW f92*4>Qin;
                      TL
                       ' 7                                                          gxoo--
                                                                                    .
                                                                                            ..
                                                                                       :.... . j .a 4. AwdrtY:At $hè txnrpW. .l
                                                                                                                              t
                                                                                                                              . iit il R YXO                                                   ,                                        SXd
                                            :
                                            $                                       p@AI#ç%
                                                                                          , X*X Xd p;
                                                                                                    g
                                                                                                    ! sy ,
                                                                                                         uoxu'a.
                               f
                               :

                               ( Q                                                                          $ Fu'rv yx xs W i
                                                                                                                            jTy XYpt $ o                                                                   yyp; y m iyc ygy
                        ..
                       ,.
                               '


                               :
                               ..'
                                       q
                                       1.7
                                         '.                                         .;....
                                                                                         1'oye
                                                                                            r',.ei
                                                                                             ..
                                                                                                .. ,@t.tEr
                                                                                                         otadyy qx( opqh
                                                                                                                     , ,g;
                                                                                                                         .:
                                                                                                                          l pr' lay of the                                                                                                                    '
                                                                                                                jjl
                                                                                                                  jj                                            )..                                                                                           j;
                                                                                                                                                                                                                                                               ,
                                       ;
                                       1,,t
                                          1
                                          ')                                        ,
                                                                                    N   ,.'tjv'z > kaqx'@p.I i
                                                                                    .. ktw        .,         a relative ot ,
                                                                                                                           emeloype of 7
                                                                                                                           ,           @n',y pf                                                                                                               '
                       *
                       !
                       ''1:
                         '.                                                         '
                                                                                    )
                                                                                    r,
                                                                                     #eg
                                                                                       ); ,
                                                                                        . .....!
                                                                                          q    . .(
                                                                                                  u
                                                                                                  j
                                                                                                  q
                                                                                                  ,ë
                                                                                                   :.
                                                                                                    e> t pxtqxnpy
                                                                                                    .      .    ys qx cpunaml col
                                                                                                                                ,nettod With
                                                                                                                                         . ..               .. ,, .         .
                                                                                                                                                                                                                                                              i.
                                                                                                                                                                                                                                                              t
                                                                                                                                                                                                                                                              ,

                 '     ; :.
             (:tjft.
            :j
            (l ...
                 .
                   k
                   :
                   :
                   r:
                   ï                                                            :#.iè
                                                                                    '...y.
                                                                                    r
                                                                                    %
                                                                                    .    >>:î. ,'.7'..' ' '. .
                                                                                : '.Cjj.-...;'X..!' .,?
                                                                                                      >
                                                                                                      .. j
                                                                                                         i
                                                                                                         ,
                                                                                                         : $h
                                                                                                           .,;..<r
                                                                                                                 ,
                                                                                                                 .j i
                                                                                                                    à.p.x. 2
                                                                                                                           x.m. ;të ftixlpcilxky.. i
                                                                                                                                                   !lkr
                                                                                                                                                            '
                                                                                                                                                            .
                                                                                                                                                      pxpltpd. i,
                                                                                                                                                                n X$+
                                                                                                                                                                                .                  .
                                                                                                                                                                                                                                                              t
                  4:
                   jt
                    é;                                                              s (
                                                                                    y% :g
                                                                                       6&w
                                                                                         (; s           .

                           (                                                                                                                                                                                                                                  .

                                       15
                                       . .,                                                                 >( t.
                                                                                                                md 'th
                                                                                                                     ,,is >'th r+
                                                                                                                                ,
                                                                                                                                :xy o.
                                                                                                                                     f D+> mhov ,zû'l9 s
                                                                                                                                     .                                                                 .                                                      y
                                       e,;
                                         -.
                           .
                                                                                                                                                                                                                                                              t
                       ' 4  fr;''
                         ,A:'
                         .
                         ;                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                              h
                      '
                       (i
                       .

                                       lg                                                                                                                                                                                                                     !
                                                                                                                                                                                                                                                              j
                       t
                       p(:                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                              .

                       jrE
                       .:
                        '
                         ::y.:
                             ,
                             j
                             t
                             .
                             s:
                              rN
                               ...,
                               .: .
                        y.
             v.
              eJ;
              : (';
                  è;                                                                                                                                                                                                                                          (
                                                                                                                                                                                                                                                              :
*
                       .
                                   ,   :4
                                        '
                                                                                                                                                                                                                                                              j
                       '
                       .
                                       gz   .
                                                                                                            ::

                       E'
                        ++ê'
                                                                                                            wp4
                                                                                                              o.p t
                                                                                                              ,   x:q
                                                                                                                    .;
                                                                                                                    ;p.
                                                                                                                     'g.)s1'ày
                                                                                                                             s %:p6y,
                                                                                                                                    r.tlx,
    !(
    .
     j5j
    '. d
       9j
        q
        j
        S
        r
        .i
         t
         j
         :
         t
         4
        /:
         .
         r
         E
         E
         .;
          .
          j
          ;
          :
          'q.
            . e
              '
              ..'
                '
                i'
                 k.                    ..
                                                                                                                                                                                                                                                              .
                       .:      y
                               ..
                               .

                             ?:F'
                                y
                                .
                                .A..
                       :i
                       ..   i:
                             .'''
                             q                   .... .

                     .5:c      ,/
                            (j.,
                               ;..
                                 !.r. k
                                      y
                                       ,4.L
                                       :
                       ! :5t
                         .                                                                                                                                                                                                                                    '
                       ;
                       y'
             ...       :ï.                  .       @                                             'j.       ,
                                                                                                                  . ..               .
                                                                                                                                                                                                                                                         yy
                                                                                                                                                                                                                                                              f
                       :..
                            ;
                            i
                            j1
                             i
                             j
                             )t
                              jt,
                              jr,y,(.
                                .,. ):fj.jy-j-
                                           ,y
                                             .
                                             (
                                             ..
                                              )j.
                                              .)
                                               'rj
                                                 l'
                                                  .y.
                                                    j
                                                    '
                                                    j'
                                                     j
                                                     :.
                                                      :y
                                                       g;
                                                       '.'
                                                         7
                                                         .
                                                         :;
                                                          j
                                                          '
                                                          k.
                                                           <
                                                           .'..
                                                            :.
                                                             !.:
                                                               '.p
                                                                 s
                                                                 '
                                                                 è
                                                                 's'
                                                                   ....T
                                                                       j
                                                                       .'
                                                                        $.
                                                                        .,:
                                                                          ;.,!
                                                                             '
                                                                             ...
                                                                               .
                                                                               '
                                                                               ..
                                                                                .
                                                                                .
                                                                                .;. '.
                                                                                  ...
                                                                                  ' : ..  : '..
                                                                                       ...z
                                                                                          ,
                                                                                          .   ; '.
                                                                                              ,'F''.....  j'.'..
                                                                                                       '...            '' .
                                                                                                               '.çk''''.   ''
                                                                                                                           !
                                                                                                                              ''k.
                                                                                                                                 '' . ''P'.'''                                      .   '
                                                                                                                                                                                        .
                                                                                                                                                                                                       '..  .
                                                                                                                                                                                                                '.       .   .
                                                                                                                                                                                                                                        '       .. . .   (jj .
            ..                              ..:tli:r.t.. .F2k.: ii   '
                                                                 ... .:.                                                                                         ),,
         j yl'                                            (t)y(
                                                              :jT :
                                                                                                                                                                                                                                   -     -                        *-
       Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 106 of 165
                                                                                             E ktz.)JJ
     2022 Florida Stahztes
     < Back to Statute Search
                Title XL REA L A N D PERSO N A L PRO PERW
            Chapter702 FORECLOSUREOFMORTGAGESAND STATUTORY LIENS
           SECTION 015 Elem entsofcom plaint;lost,destroyed,orstolen note
                       ao davit.
      702.015 Elements ofcom plai.t'
                                   ,Iost,destroyed,orstolen note affidavit.-
      (1)The Legislature intendsthatthissection expeditetheforeclosureprocessbyensuring initial
      disclosure ofa plaintiff's statusand the facts suppoding thatstatus,thereby ensuring the availability of
      documents necessary to the prosecution ofthe case.
      (2)A complaintthatseeksto foreclosea modgage orotherlienonresidentialrealproperty,including
      individualuni
                  tsofcondom inium sand cooperatives,designed principally foroccupation byfrom one to
      fourfamilieswhich secures a promissory note must:
     -(a)Containaffirmative allegati6nsexpresslymade bytheplaintiffatthe timetheproceeding is
      comm enced thatthe plainti# isthe holderofthe originalnote secured bythe modgage;or
      (b)Allegewithspecificitythe factualbasisbywhichtheplaintiffisa personentitledto enforcethe note
      u3n)jl
      (    er
           fas.6
              pl73
               aint-3f01
                   if   1.been delegated the aulhority to institute a mortgage foreclosure action on behalfof
                      has
      the person entitled to enforce the note,the complaintshalldescribe the authority ofthe plainti  ffand
      identify,with specificity,the documentthatgrants the plaintiffthe authori  tyto acton behalfofthe person
      entitled to enforce the note.This subsection is intended to require initialdisclosure ofstatus and
      pedinentfads and notto modify Iaw regarding standing orrealparties in interest.R e term ''original
      notenor''originalpromissory notenmeans the signed orexecuted promissory note ratherthan a copy
      thereof.The term includes any renewal,replacement,consolidation,oramended and restated note or
      instrumentgiven in renewal,replacement,brsubstitution fora previous promissory note.The term also
      includesatransferablerecord,asdefinedbythe Uni   form ElectronicTransactionActins.668.50(16). .-m
      (4)Ifthe plainti# isinpossessionoftheoriginalpromissorynote,the plaintiffmustfile underpenaltyof ,
                                                                                                       r
-     perjuryqcedificationwiththeéourt,contemporaneouslywiththefilingofthecomplaintforforeclosure,t
      thatthe plainti# is in possession ofthe originalpromissory note.The certification mustsetfodh the          N
,.    Iocationofthenote,thenameandtitleoftheindividualgivingthecertification,thenameoftheperson )
      who personally verified such possession,and the time and date on which the possession was verified. k'
      Correctcopiesofthe note and alIallongesto the note m ustbe attached to the cedification.The original
      note and the allongesmustbefiled withthe coud beforetheentryofanyjudgmentofforeclosureor
      j
      (e
       5)gme ntpl
         Ifthe  on thi
                 aintefseeks
                     f note.toenforce alost,destroyed,orstolen instrument,anaflidavitexecutedunder
     .penaltypfperjury mustbe attm hedtothecomplaint.Theaffidavitmust:
      (a)Detalla cler chainofaIIendorsements,transfers,orassignmentsofthepromissorynotethatisthe
      subjectofthe action.
      (b)Setfodhfadsshowingthatthe plaintiffisentitledto enforce aIost,destroyed,orstoleninstrument
      pu(suanttos.673.3091.Adequate protectionasrequired unders.673.3091(2)shallbe provided before
      the entryoffinaljudgment.              .
      (c)Includeasexhibitsto theaffidavitsuch copiesofthe noteand the allongestothenote,auditrepods
      showing receiptofthe originalnote,orotherevidence ofthe acquisition,ownership,and possession of
      the note as may be available to the plainti#.
      (6)Thé courtm ay sandion the plainti
                                         ffforfailure to comply with this section.
      (7)Thissectiondoesnotapplyto anyforeclosureproceedlng involvlngtlmeshare interests underpart
       IIIofchapter721.
       History.u s.3,ch.2013-137.
                                      ''
       .



     pelvaey PoIIey1VI*w FullSlte
     Cv yrlght@2nM-2023Sot.ofFlorld..
                                                                                                                                                                                                                                                             N ..
        Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 .-Page 107
                                                                                  r ofj'.
                                                                                        165
                                                                                        g,,,.
                                                                                            a                                                                                                                                                       .

                                                                                                                                                                                                                                                  ;&. p   fy w tu
                                                                                                                                                                                                                                                                .yy
                                                                                                                                                                                                                                                                 >
                                                                                                                                                                                                                                                                   s
                                                                                                        1
    + casetext                                                                                                                                                                                                      Signln GetaDemo FreeTrial
                                                                                                                                                                                                                                                                'N
                                                                                                                                                                                                                                                            ax l
             '   A arch altca- sand e ntutes.w-                                                                                                                                                                                                               y
                                                                                                                                                                                                                                                               !
            *
                               7)..............-...................-........-.........-.......-..........................................-... ........-   .-.. -7r--qqr-r:7:7 -qr---TT-T:------TE-   . ....... -q--:777- -----72-- . .   .T---'
    .......... .. .. ...... .. .

                                                         Statutes,codes,and regutations / FtoridaCourtRutes
                                                            Ftorida RutesofCivit... / Rutes / Rute1.115 -PLEADI...


                                                          F la.R .C iv.P.1.115
                                                                       f DowntoadPDF

                                                            As amended through Aprit28,2023

                                                                                                             j
                                                             Rute1.115-ILEADINGMORTGAGEFORECLOSURES

                                                                     (a)ClAlm forRelief.A claim forreliefthatseekstoforeclosea
                                                                     m ortgage orotherlien wlaich securesa prom issory note on
                                                                     residentialrealproperty,including individualunitsof
                                                                     condom inium sand cooperativesdesigned principally for
                                                                     occupation by oneto fk
                                                                                          ourfam ilies,m ust:
                                                                              (1)contaih lmrmativeallegationsexpresslymadebythe
                                                                              claim antatthetim etheproceeding iscom m enced thatthe
                                                                              claim antisthe holderofthe originalnote secured by the
                                                                               m ortgage;or

#                                                                               (z)allegewith speciflcitythefacualbasisbywhich the
                                                                                                                 %
                                                                                claim alq isa person entitled to enforce the noteundersection
                                                                                673.3011,Florida Statutes.

                                                                         (b)oelcgated clalm forRelief.Ifaclaimanthasbeen delegated
                                                                         the authorityto instim te am ortgageforeclosure action on behalf
                                                                         ofthe person entitled to enforcethe note,the claim forreliefshall
                                                                         describethe authorityofthe claim antand identifyw ith speciflcity
                                                                         the docllm entthatgrantsthe claim antthe authorityto acton
                                                                         behalfofthçperson entitled to enforce the note.Theterm
     Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 108 of 165
                                                                                      z-, .   /?Dp,s
                                                                                                   .
    + casetext                                                     SignIn GetaDemo FreeTriat

.                                                                                     -
                                                                                               JxJl
                  substitution fora previousprom issol note.Theterm also
                  includesa tm nsferrable record,asdefm ed by the Urliform
                  ElectronicTransaction Actin section 668.so(16),FloridaStam tes.
                  (c)Possesston ofOriginalPromissoryNote.Iftheclaimantisin
                  possession oftheoriginalprolnissorynote,the claim antm ustâle
                  underpenaltyofperjuryacertiflcationcontemporaneouslywith
                  the Eling ofthe claim forreliefforforeclosure thattheclaim antis
                  in possession ofthe originalprolnissory note.The certihcation
                  m ustsetforth the location ofthenote,the nam e and titleofthe
                  individualgiving the cehiEcation,the nam e ofthe person who
                  Personallyverifledsucbpossession,andthetimeanddateon
                  which the possession w asverihed.Correctcopiesofthe note and
                  a11allongesto thenote m ustbe attached to the certiflcation.'l'he
                  originalnote and theallongesm ustbe flled w ith thecourtbefore
                  theentryofanyjudm entofforeclosureorjudgmentonthenote.
                  (d)LostyDestroyed,orStolenInstrument.Iftheclaimantseeks
                  to enforce alost,destroyed,orstolen instrum ent,an nm davit
                  executedH derpenaltyofperjurymustbeattachedtotheclaim
                  forrelief.The nm davitm ust:
                    (1)detailaclearchainofa11endorsements,transfers,or
                    assignmentsofthepromissorynotethatisthesubjectofthe
                    action;

                    (z)setforthfactsshowingthattheclaimantisentitled to
                    enforce alost,destroyed,orstolen instrum entpursuantto
                    section 673.3091,Florida Stam tes;and

                    (3)includeasexhibitstotheaëdavitsuchcopiesofthenote
                    and the allongesto thenote,auditreportsshowing receiptof
                    the originalnote,orotherevidenceofthe acquisition,
                    ownerslzip,and possession ofthenoteasm ay be availableto the
                    claim ant.%Adequate protection asrequired and identifled under
                    sections* 3.3o91(z)and7oz.11(z),FloridaStamtes,shallbe
                    provided beforetheentryoffmaljudgm ent.
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023
                                                              .,,,'-- '
                                                                        Page 109 of 165
                                                                 z1 v,j, '
                                                                         :
                                                                         j,.
                                                                           t'
                                                                    $
                                                                    ) rë t(k' .
                                                                  ...,.....-



                                                                                    i',-       /
                                                             :
                                                                                    f'(-
                                                                                    .
                                                                                    '
                                                                                       ,
                                                                                       /
                                                                                       :.1
                                                                                       )   -


                                     A FFIDA V IT



   IM aurice Sym onel e Heard The lpdge Valerie
   M anno SthurrSaying in a Coul H earing aR er
   she w as on the phone in a Zoom callIdon't
   believe you juyssigned my nam e form e.I
   don't believe thatl,Ineversigned that!



                                                      *                        >*
                                                                               .




                                         M A U RICE SYM O N EU E
                                          15020 S.RIV ER D R.
                                           M IA M IFL.33167


                          k




         Y                     v;-
                       6'
                        # 9J V*WW
                          *%     <   G
                           X -   - '- *-
                      # ># - ,
                             -. >-..-->.-
                      X G
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 110 of 165                             '



                                                                                                          ..
                                                                                                           ;jz. jj
                                                                                                              .
                                                                                                                 -'    x
                                                                                                                       ,
                                                                                                                                    .
                                                                                                          .   xw   .           s.
                                                                                                                               ''           m
                                                                                                                           ,
                      1                                                                                                        )
                                                                                                                               -/
                                                                                                                                $).y
                                                                                                                                .
                                                                                                                                    .
                                                                                                                                        ,       .



                                  AFFIDAVIT                                  %


                                                    '
  jJA M ES BU CKM A,
                   N.H ,
                       ';,.),
                            >r,'7y,:,j ),yt
                                          ', ),     ,

                                      j,  ,
  M anno SthurrSaying '
                      W .@ ,
                           %q!
                             , !#,,),
                             1 '  .
                                    y,
                                     ' .' ,: k              ,                             , ,


  she wason tk* , , :
                    1*.@$'i
                          - . )e7#,r
                                   lë
                                    ),
                                     e'n't                                        ,
                                                                                      '




  believe you guys sige : ,m.y,pp-
                                 è,y ,,
                                      G. .
                                         ;
                                         -
                                         ,t                                   '             '.   ..   .   I
  don't G ljeve thatj
                    jj% > : t èo e (
                          '
                                   ''t
                                   jr '''                       ,,




                     y        ,
                                                )i
                                                '



                                            6', o
                                                -1J xpoa
                                                                             %

                                                 e e
                                               M M T.                :
                                                -*                       r
                                                . g     '




                                                                             91
                                                                              4
                                                                              -
                                                                              .
            Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 111 of 165

;9>*
   e'
                                                                                                                                                                                                                                                                                                             é'
                                                                                                                                                                                                                                                                                                              kts'/                     .




                                                                                                                                                                                                  HAND DELIV,
                                                                                                                                                                                                            F MF,
                                                                                                                                                                                                                D//J,/- ,
                                                                                                                                                                                                                        e
                                                                                                                                                                                                                        wr,
                                                                                                                                                                                                                          sy,
                FORM 6 FULL AND PUBLIC DISCLOSURE OF
                                         .
                                                                             2012 -   )              r


                me
                 srq'zra r,wm, zt
                                .>..s.,' FINAN CIAL INTERESTS 2 )
                                                                t-
                                                                   :oao-tc:useowuv:R!
        .
                a                     *9*
                uAs'rNAME- F'ks't-                                                                  - oootk NAMC:
                                                                                                                                                                                                                                                                -        - y co
                                                                                                                                                                                                                                                                        xs s cx
                BAILiNGADDRESS:                                                                                                 ,
                     2t                                           C #                                                                       Yqv                                                                                                                          Jtjl:2111
                                                                                                                                                                                                                                                           ':

                .

                cl1'K.
                                                                   .            .
                                                                                                                            Xpt                                      COUN'
                                                                                                                                                                         tY :
                                                                                                                                                                                          D            %
                                                                                                                                                                                                       *                          ,
                                                                                                                                                                                                                                      -.                                 $ ''
                                                                                                                                                                              . (.:5
                  t( .. ''                            ' .
                                                 ' g '' ' .
                                                        ..
                                                                                                                                v ..
                                                                                                                                                .. '                                                                      .4.x
                    mucoyACW v:
                    NAM: o:OFFt
                              CEOR u fttoN H/t.
                                              o öR stltl
                                                       è./fth
                                     (). '                         '.                   ..                '.                                                                                                                       ),. .
                                 kArAçAœ g hp. A                                                                                                                    ..    .                       .                               ,.
                         .
                               J
                    ceckei- :A'
                              qoù                     .                         . . ... .
                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                      6
                                                               PART A - 5ET W ORTII
                    Pi
                     eae #.
                          n> Ihev.
                                 %ueofy- * 1wo% asofDeM lx.
                                                          r3ï.% 12.otarro ecvrrentdate.fNole' Ntv!worthisnotcasculated bysublfac'
                                                                                                                                !ing youfrcm rled
                .'
                    li
                     zbi
                       miesfrom yourwpo- dn> :,soplemsesee'
                                                          lheirp-
                                                                ttrudi
                                                                     onyohpaqe3.
                                                                               1
                                                                                                                                                                                                                                                                 N                   x
                                                                                    Mynptwoe asof                                                    DC ent'.
                                                                                                                                                            Yl% 7
                                                                                                                                                                ., '
                                                                                                                                                                   q 1-.20 IZ was$ .                                                                   '
                                                                                                                                                                                                                                                                .. .    ..   .
                                                                                                                                                                                                                                                                                         '.             -
                                                                                                                                                                                                                                                                                                  . . ' .'   .   '     '     ' '.                   ..

                                                                    :
                                                                   ..          ..
                                                                                ,           .... '14r ... . .. ...              . .l.
                                                                                                                                    ..               .          .                 .                                   .
                                                      .


                                             :                     PART B - AssE'   rs
                     G SEY 4-GDQp$AO
                                - - PERK
                                      1 eeNAL
                                          ctsmay
                                              EFFbKqrT
                                                     s-S:
                                                       potte i
                                                             naltl
                                                                 mpst> iftheiraagregatevafueexc- s$1.
                                                                                                    txf.lhisualtw ryi
                                                                                                                    oaudesanyoft
                                                                                                                               hef
                                                                                                                                 ogowing.
                                                  l
                                                  dfori
                                                      nms- pt'
                                                             pe oses.
                                                                    'jewery;xG m'
                                                                                of:sefsh-
                                                                                        mms,guos.andcumimaticzetnsr
                                                                                                                  .arlcbiect
                                                                                                                           s;househoi
                                                                                                                                    dmuipmentapdfumt*i
                                                                                                                                                     nqs;cke mg
                             êm/-

                                                                                                                                                                                                                                                   #

                     >s>                         fNPY X $
                                                        LE
                                                         'f'
                                                           kAtx
                                                            ' mnYATAM
                                                                    OVER
                                                                      ET l
                                                                         $
                                                                         ll
                                                                          1-
                                                                           .e iftcdeq-l
                                                                                      ptioai
                                                                                           laquired -seebnstruetlonspa> 4)                                                                                                                                                                                           VALU/ DFM SCT
                                                                                    '           '                  ..
                                                                                                                                    k.'                  ;;jr            ,.           ' a.
                                                                                                                                                                                         '.,
                                                                                                                                                                                         ,
                                                                                                                                                                                              '
                                                                                                                                                                                                      j
                                                                                                                                                                                                      :
                                                                                                                                                                                                      ..,                 .j ,
                                                                                                                                                                                                                             .
                                                                                                                                                                                                                             ;j.<                                      . ,. ,                                x ',j
                                                                                                                                                                                                                                                                                                                 ;'.' . ''..'.,. .
                                                          .A
                                                           ,                   ..               .: .
                                 N :                       .      o- ... .. .                                                                   ..
                                             . : .- kk., y
                                                         : ., ''j:  .      :)..                                    .                    .                                .        .
                                                                                                                                                                                              ' . .q                                  p .      ,
                                                                                                                                                                                                                                                            oe                   . '                                         x û G.Cj.G L
                                                                       *                        .r                      i:<                                                   N <j                                        o jJ                     % u, j,                               V                                     ; G G > X.           '
                                                                                                                                                                                                                                                                                                                                                         .
                     '                                                                                                                                                                            .
                                             :            ;                                               .                                                                                                     ' :
                                                                                                                                                                                                                  '       -           *                                          .
                                     '                                     .                                                        '
                         '
                             :
                                                          '
                                                              ,
                                                                   :   .        .           ,        wp; y.
                                                                                                          -                                 ,
                                                                                                                                                                x                      oz -Zttty V tG('/1                                                               .                                        ,                              .
                                              .                                                 :     '            i
                                                                                                                            1
                                                                                                                            .
                                 .                .


                                                                                                                                                                          PART C .,
                                                                                                                                                                                  -t,lAB1I.l*D ES
            '

                      LI
                       AX tTiEStN exfe.O IF4:4
                                             - (*eqInm lctl
                                                          qnsanpage4);                                                                                                                                                                                                                                               AMW NT QF tlhRILIl3*
                                   NAG AWDADDRG Sff f.Re.5t<@R
                                             .                '
                                                               :                .. .. ... .t g<'                                                                                  *       *
                                                                                                                                                                                                            g
                                                                                                                                                                                                            '
                                                                                                                                                                                                           ..                 .
                                                                                                                                                                                                                                              jsx               jljj                                             . k$7%44
                                                                                                                                                                                                                                                                                                                 x      ..          '           q            y
                                                                                                                                                                                                                                                                                                                                                             ''
                                 ..                                                                                                                                                               '
                                     ..
                                     J' 'Jé ,.
                                           '
                                      .. . .
                                                                       '                            , , ; > ..
                                                                                                    . .            . :.
                                                                                                                                                                                          y                                                            .                                      U                                 x o ,W ;
                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                        x
@                            m                w
                                                      Q.           . . ..                                          ) . '.x.
                                                                                                                   '                                       *:.. . ..- . ''
                                                                                                                                                                         *;..: .                                          '
                                                                                                                                                                                                                          .,          .
                                                                                                                                                                                                                                          '9
                                                                                                                                                                                                                                          ,                 ,
                                                                                                                                                                                                                                                                  *.                 .        eg# <
                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                  .,                         ,,.. .,...
                                                                                                                                                                                                                                                                                                                                      C.
                                                                                                                                                                                                                                                                                                                                       L
                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                       * V  '

                                 :             . .
                                             . .                                                               l                    '                           '                                     ..                                                                         .
                                                                                                                                                                                                                                                                                         .x            w;
                             .
                                                 '                         .            .            .                                                                        .       .                                                                                                                                                             j
                                                              .                                                                                                               :                             .                 .
                                                                                                                        -
                             .               N                    '. . . . t                                  J                         ...                     . ... .                   .
                         ZXW Akù%                                                       .
                                                                                        ujlm ao xyova#mol ssxsovs:                                                                                                                                                                                           I AM-                      oFKe œrry
                     *                                                     N#- **5'
                                                                                  >ppREs: (> cAepn'
                                                                                                  oR
 Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 112 of 165
                                                                                                                                                                                                                                                       p,
                                                                                                                                                                                                                                                                         ..     .          .
                                                                                                                                                                                                                                                       .             v,.      ,,
                                                                                                                                                                                                                                                                              .       ,

                                                                                                                                                                                                                                                                 g/ w
                                                                                                                                                                                                                                                                    f.-
                                                                                                                                                                                                                                                                      Y
                                                                                                                                                                                                                                                                      .,
                                                                                                                                                                                                                                                                       .-g
                                                                                                                                                                                                                                                                         x',
                                                                                                                                                                                                                                                                                                       /




                                                                                                                                                          PART 1)- INO M E
Yœ l> &T'
        e (1)Qea+                                                                           > /> Ai
                                                                                                  12- a#+>                                                  t>xt- .e > > % '    s,scb-A s.w a#-        a., 621f:easw pswtemee
                                                                                                               ofk-                     e               ex- :4.  tm lrke/ secondarysourxpeae ifw ne.* > nçe gt- reoeoderofpa#
- #Y e >        - e -
D.
u > l.- lowe,('
              w yafmtanzo ral#'co- lm relum arè aewztsysche- ,andato mmls
          tg- - - - - -                                                                               kA y-- zntz- r- .- - * - - the- ie ofPM OI
+ N- Y@WM%4
          G :WW **i>       > je= e jo$
                   t--***,4%          1.
                                       M g. 5)t
                                     pyoa                                                                                                                                  A RESSOFSOURCEOFINCOG                                                                           AMOO T
                                                                                                                                                                                        * j v. :V           .
                                                                                                                                                                                                                                                     ., .                jj .  .  lZ
                                                                 ..                                        ..                                                :                                                  .
 . .           .                           . ,.         .                                                                                                    .
                                                            ,r          :,                             r
                                                                                                                           1 '                                        .-           w          l                     .'+'
                                                                                                                                                                                                                       '                                                                               U
   p%              '
                                                    '
                                                        .'
                                                                 .
                                                                            .                j
                                                                                              ::
                                                                                                   .                                                     W           . ç'. ..                     ql #A                  &s
                                                                        .


                                                                                                                                                                                                                                                                                               .

                                                                                                                                                         '
                                                                        .
                               .

                           A#* &                                        We+ .
                                                                            j+                                             cu>              s.ce y,e x.d buO W 5** W rO                                                    gpM A 'speWsWx nGORXW $2
 **        > .A. tu%mej
                      W                                                                                      . % c yN oa.
                                                                                                                        yG myyg                                                                             AolREss                                         G c jW @U5jN:$%
               G W #V IW.
                                                                                                                       oym#> Aq'j<.oœ                                                                       ()F9+ %                                         AWNSTYOFM                                  C


                                                                                                      l '.                     ... . . . . .                                   ë                   .                               .                        .. .                                           .
                                                                                        '
                       .
                                            .
                                             .            . . . .. !.
                                                        ...         ' ..
                                                                       :.';. ...
                                                                         ..                 .. .' '
  .
                                       .                                        ..
                                                                                     FA'
                                                                                       RT E --INTERG'TS IN SPECI#'
                                                                                                                 tEP A WINES:ES ll- r-tk- *ape e61
                                                                                                             >                     s$ENTITY# $                                              Glswfss NTITY#2                                                 BW IY SSENII
                                                                                                                                                                                                                                                                       R #3

  %                +
    ( .i    Q
. . ' .'' L. .                                               .
                                                                                                               $                                                                                                                                 j
                                       w ao


  ï- >. -                                                        Ae                                                                                                                                                                              y
                                                                                                                                                                                                                                                            .                  ,,          .       ,

  GW . W
                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                           ,
      '            .                                 ..
                                                                   ''
                                                                                .. .. . ..
                                                                                            J1.'.;.' , . :             .           ..       .
                                                                                                                                                    .
           .                       .

                        œA,
                          x&'* *#m
                                 ,, wvklm x;a eAREc'
                                                   om Nto ùhxsepAu z'Eslltexeur.uxtclltcx ila E u                                                                                                                                                      '     .

                           '
                           J
                           .
                                       .                    r                        'ir:     q            .                   '

                                                                                 I)
                                                                                  ,:A'
                                                                                     E
                                                                                     TTl.
                                                                                        I.
                                                                                         L:
                                                                                         H                                                                                 <w
                                                                                                                                                                           CM>T.YWaoe A.
                                                                                                                                                                                       M .um
                                                                                                                                                                                          . .l                                                              E
                                                                                                                                                                           SWOOto(WYZW )W Q1=..wuu% ypg.yj    sW $ ...% oj     .



                                                                                                                                                                                     2          .    ' * p. -    *  *

      w    > e tnf- (*' >
                        ) . œ +* fm>
                                                                                                                                                                                  nG. -......,20 t,y-t.A'nM ..Gîto'   een- .
      e 3N FO       Y WG ,G v de.                                                                                                                                                                                    .
                                                                                                                                                                                                                                   .   .     *
                                                                                                                                                                                                                                                                 .   .   -          .- -       -
                                                                                                                                                                           e...x...xex.ow...,.n....-o.-'.
                                                                                                                                                                                                                    rPt
                                                                                                                                                                                                                     rK-
                                                                                                                                                                                                                       At
                                                                                                                                                                                                                        bjt.. .                      ' '                 '             '
                                                                                                                                                                           tsi
                                                                                                                                                                             re œ
                                                                                                                                                                                .of                                                    r              - @> > #> -
                                                                                                                                                                                                                                                     # zo
                                                                                                                                                                                                                                                       *.: eu-' > 1œ
                                                                                                                           #                                                                                                       . '
                                                                            z
                                                                            .                                      z.                                                                                                                  :.
                                                                                                                                                                           .
                                       .                                F                              !                                                                    (PY 1. T> .srYVFY CX                                                         '      N et. ;'
                                                                                                               .
                                                                                                            j .
                                                                       , '.                  -.        .. ..GG '' '                 '               ..           '                                                                     t)a '
                                                                                                                                                                                                                                           produe kteeefeuati
                                                                                                                                                                                                                                                            X -.- - -. -
                                                  4,,é.s.v..
                                                           -...<..-m        . . '                      '    '              .
                                                                                                                                                                            ptrlofte KY                             - , -.-
                       . ..                                  R'                      -.
                                                                                             . .               .                    .
                                                                                                                                            j
                                                                                                                                            r:
                                                                                                                                             jjj:
                                                                                                                                                js
                                                                                                                                                 jp
                                                                                                                                                  k
                                                                                                                                                  .l
                                                                                                                                                   r
                                                                                                                                                   li
                                                                                                                                                    lg

                                                                                                                                                                            1* of'=-u ..
                                                                                                                                                                                       xww
                                                                                                                                                                                        ' emww.e                                            ,.-,
                                                                                                                                                                                                                                               -v                    -                         ;
                           .                .                                                      (                                            ,
          #lk- '*$*#44* V *k*l-4eh- tp,til.thw fo- -*fouted.tth#topofpagez.
          $#*T< '#*#:
                    . *:*#*G tiil*0* #*> *e 1- toli111,Ate vin@e>*> 1.
          >TM A -                                                *** - < Ene o NG - #4*ed*H
                                                                                        pr
                                                                                            *A 4*g*4.              '       '            '
                                                                 *'.
'
                                                                                                                              I
            Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 113 of 165                                                                                                                                                                                    . .
                                                                                                                                                                                                                                                                                             .   ..  #.
                                                                                                                                                                                                                                                                      .. :        ët X '' U'
                                                                                                                                                                                                                                                                                    'x ''
                                                                                                                                                                                                                                                                                  .* .

                                                                                                                                                                                                                                                                                       '              .'
                                                                                                                               .
                                                                                                                                           '                                      '.
                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                            ...
                                                                                                                                                                                                                                                                                              mj . ' -
             Foi
               RM 6   .           *
                                                                                                                     FULLAND PUBLIC BISCLOSURE                                                                                                                          2W 0 /7;y,
                                                                                                                                                                                                                                                                                 ?
    e- - s- - - -                                                                                                                  O F FINA NC IA L INTE R ESTS                                                                              Foh- nce- oem                                            '
                          +                        .#e %                                            > j> #NAc .
                                                                                                                                                                                                                '
                                               '                                                                                       .                  '                  .'
                                           .       .           2 :.
                                                               .                             .

                          < A-
                                               a :QL
                                                   âjq ' ..I> wuc
                                                              & x.my
                                                                 c&                                                                                                                                                            Y                y(&
                          '.# (                                                                             tv                  aa)1
                                                                                                                                 ev -
                                                                                                                                      b   Bt:vf-                                                                               m
                                                                                                                                                                                                                               w
                                                                                                                                                                                                                                 ,           xwv a e .
            co                                                                                                                 DP       cM n :                                                                                 m             wI<aœ 1
                                                                                                                                                                                                                               M             we
    ye                      o&                                                ;                                                    ,                                                                                           >             ND
                  M j u ;e 1 /tN #YH                                                                                                                                                                                           *
                            k                                                                                                                                                                                                  X
            N-'wu
            H   œ $m ),*, :
                          *:' A,
                              ,
                              8*
                               %. *; - 81#<
                                          :&e A X ' 15                                                .
                                                                                                                                                                                                                               W. .
                                                                                                                                       ... '
                                                                                                                                           ''''''' '''
                                                                                                                                                    . ''      .!11:'*.,.F'
                                                                                                                                                       '' ''.''
             ..'.81 ..'''..''''' '' .''.'.                 '       . .'. ...                . .'    J . ''5
                                                                                                        , .;1
                                                                                                          '  .:' '
                                                                                                            .:   q''
                                                                                                                                                                        ;''''
                                                                                                                                                                            . ''                                           :o '             '                     '.
             YM M #M WA- F
                         #YF
                           A                                                                                                               E D                                                         .
        .                                                                        P.
                                                                                  kav..- xsv woavq
            %N e                                               % o d > < we r
                                                                            axd M '- =-'aj D & ora mcecurred date (e qNete h2 not*
            -*Y W                                  .
                                                                 '* lje o
                                                                   . .
                                                                          e o jyom yx yye
                                                                                       .
                                                                                              - .é.NNopo . je 1+ ''M*-( > p. y. 1
                                                                               '
                                       .4
                                                                                                                 '

                                  W****>#)V,cj
                                             ysyyaj
                                                  t,
                                                   x,
                                                    sju
                                                      s>,j.
                                                          )g;j
                                                             .,t!wasy                                                                                                                                                                  y                                     .
                                                                                                                                                                                  FAR'
                                                                                                                                                                                     rg - a> p:'rs
                       --
                      -(e- nM
                            e W*e LM Me o M wVo; mao so yo e vo ..-.$jv w oo w.
                                                                              ye o aa
                      o    y
                           j. e w .... .ao ye j.     y. .. % a. e a oj. w xx a.     a
    .                 . > -                                                            ,. ,
                                                                                          ..(- ... ,..,- .,0 -                                                                                 . -          .. ...
                      1M- * W> -,e,.- -                                                                                                        . -                            ..           (. . .... . a,.                         >'
                                                                                                                                                                                                                                    $              .- -                          -
               Aeeee e                .'                             .
                                                                     :. 4l..#.vœ,.: A   ASW D 44+            '


                 +
                          . ..                     .
                                                                        :. .
                                                                          .
                                                                                   ': .
                                                                                       r
                                                                                              '
                                                                                             .'
                                                                                                             *!
                                                                                                              r r )t                                               r ) r)*                             .- - * - -                                                 VAkW * *+ 4
                                                       .'
                                                        N I.)',,.;,,.f :'                                              ,. A
                                                                                                                      , . #
                                                                                                                                             .
                                                                                                                                                  + ,.,.' ,. j.
                                                                                                                                                              ,
                                                                                                                                                               j ,)g                                        '   zy ;. >
                                                                                                                                                                                                                      ''
                                                                                                                                                                                                                                        *
                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                        .'..'j.;c, ,
                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                        '                   ' .   .., )....
                                                                                                                                                                                                                                                                          .. .
                                                                                                                                                                                                                                                                             '
        .                        , .., .-.. .
                                 .,                                                                 ,                     ,
                                                                                                                              ..   .
                                                                                                                                           . .
                                                                                                                                                    ..          .                 ..               .   .

                  4.,                                  r                           . ; A.
                                                                                        z )..                                                                 x . r g i y.a :,jwkj                                         *       ,r+ t               ,
                                                                                                                                                                                                                                                       ),
                 .. .                                                                       .       .   .
                 <.
                      t .,''ï
                            ,                                                  ,
                                                                               .
                                                                               ,. . J< .7't. ,
                                                                                             ..
                                                                                              '' N,..ek-.n '
                                                                                                           4.2,.
                                                                                                               $vlwj
                                                                                                                   u) .c-n.j+e CB I*:                                                                                                                                        V ,
                                                                                                                                                                                                                               .,>>.).
                                                                                                                                                                                                                                     j                  . ..4...
                                                                                                                                                                                                                                                               ..F. y  g:: .
                                                                                                                 ''                î'               '              '                   . 2      , .                 ' .'
                      '
                          j : '; .' . j...'f
                                  .' .(
                                             h :., .yq...,,
                                                  ))..? E... .'<   . ,'..
                                                               '. '.
                                                                   .
                                                                   ::
                                                                    ,, ::...î .. ,.. '. ) ,...'t..:,                                                                                       ' .;. ,.
                                                                                                                                                                                                  #        j..: ':ç ...., .... :                                    ....
    '
        ..
                                           '       ...E. .. . .                    .


                                      '                                                                                                                                      #Axvc.jzjxmum gs                                      x    jj
               'uo e
                 ..               ''                   lf>-
                                                       '                               ..
                                                                                            alœ s
                                                                                                .e> ja .o .- .-.
                                                                                                E
                                                                                                ,
                                                                                                    '
                                                                                                               , -o o py
                                                                                                                                   ..      . . .. .        .....
                                                                                                                                                                                                                                                             Ao - o to uw
                 .
               m                           s                              .                 .
                                                                                            g                .                                                                             .   x       .. .
                                                                                                                                                                                                                                                  '-
                                                                                                                                                                                                                                                . .
                                                                                                                                                                              -        -   .
                             tle
                          ( L:
                                    ,.
                             1: E y. k
                             .              .                                                                                     yy
                                                                                                                                   ke :
                                                                                                                              ; j gv,y . # k
                                                                                                                                                                                                g
                                                                                                                                                                                                Z
                                                                                                                                                                                                J4
                                                                                                                                                                                                  #'f # j
                                                                                                                                                                                                  .. :&y
                                                                                                                                                                                                                               -           jç .r N
                                                                                                                                                                                                                                           y.. .                  y
                                                                                                                                                                                                                                                                      ' ,y             ,
            E :. J                                 'X .'
                                                   ..  .
                                                         ' .(
                                                            : .'.,u..2 J,# )(();
                                                                     ... . .
                                                                               ..M
                                                                                 X*L . + 1
                                                                                         .
                                                                                           %j' 'yjjc j)
                                                                                                      . j! v
                                                                                                           'W                                                                                                                              *#X'.
                                                                                                                                                                                                                                               .j;
                                                                                                                                                                                                                                                 >                                               '


            j'

                 Y                e - e .)!k4
                                           * :>> :
                                              ,  ;
                                                 <..- e-                                                                                                      .                                                                                               Ao v x uAmusy
    *                 #  t' '
                      .. .                  ..                                                  .        .            .
                                                                                                                                    :

                                                                                                                                                                                                                                                                                            *'   ,




                 eev e w                                                               y
                                                                                       kipem,,- llxexc
                                                                                                    IJ K /
                Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 114 of 165
                                                                                               .. .
                                                                                                            '..o,v
                                                                                                    1 . . ...                                                                                                                                                                        .            .
t
;                                 .                                                                                                                      -                                                                                                                                   C.       ..   tr ...
                                                                                                                                                                                                                                                                                                                W r,j
                                                                                                                                                                                                                                                                                                                 ,..-
                                                                                                                                                                                                                                                                                                                    ,,
                                                                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                                                        '-
                                                                                                                                                                                                                                                                                                                        e..
                                                                                                                                                                                                                                                                                         .        '        mk   , 'j .#''
(
.

                                                                                                                    *
        .
                                                                                                                                                                 PART 1)- INCOM E
                                                                                                                                                                                                                                                                                                                      ()..
        *

                    -                    - -                            .-- - -                                     - --                                     -*         *- -                             's-                            z
                    U le **
                      .> - .---#*
                                -y>
                                  - *.-
                                     -*-.- >*
                                           ,- -n-
                                                e *M
                                                  ,- '
                                                     *
                                                     =* - œ
                                                          - ***
                                                              - **
                                                                - % ,e'-o.
                                                                         I
            *                                                                                                      .                             .                               o             s% ugc                      g& j                               '             '.
                                                                                                                                                                                                                                                                                    A%            $
                                                                                                                                                                                                    .                 ''
                                                                                                                                                     .                       .
                             ''                 '                       .                    .        .

                                       v'.    .         '           '                                             . .                                    .
                                             (                                                                                     tl ' t
                                                                                                                                        .''
                                                                                                                                          z.       : :
                                          :
                              -M    M ML e.
                                          > >                                                                      -         ,- ,< #--' *- - W r-   - - e-œ*' * 4+ %:
                                      *                                                                              NAW OFMAXA M ES          AW SY          PFM IPM WvWxx YS
                                                                                                                                                                            p
                                 --   .                                                                                . >- , w< >           oFstm           K fM !f (f
                                                    -                                                                                                                                                                                               :

                                   h .. .. .                                                                                                                                         5         .
                                                                                                                                 .   .       .
                                  '. ..'
                                       .: '.        '                           .
                         .
                                       .'
                                                            .
                                                                                                              ;                                                                  '                                .            .            .       i
                                                                                                                                                                                                                                                    '.            . '
                                                                                                                                                             '                                     ..


                                                                                                   ylèf
                                                                                                      :t-ikrl-                                               ,#s#E:nn:* <:S#NESW 11-                                                - - - ui
                                                                                                                    >                    > * 111'
                                                                                                                                                Y #1                                           -              % 'NTHY:2                                      BO W SSSNN'Y#3
                                                                                                                                                 ' .         .                           . .
                                                                                                          J
                         e
                    1 ....... ......a
                                    rq
                                        c
                                     '''.'''''>
                                              '''''
                                                                    .               .         .

                                                                                             ..
                                                                                                      :s r.

                                                                                                         .' .E
                                                                                                         '   ,
                                                                                                                  ,. .           .

                                                                                                                                         .
                                                                                                                                                                                 (                            .                                          .
                                    M                                                                     S
    '
                    :
                    q                     , # IG                                                      )

                                                                                                                                                                                                                                                '            ''
                                                                                                                                                                                     '                                                      .   .

                         p*                         ' W %>
                                               ... '.           , ..        .                     .           .
                                                                                                                             '                   .
                                                                                                                                                                                                                                                    C
                                                                                                                                                                                                                                                    .

                             '
                                  g                 .           :               .            ..i      ,
                         :                         *F*T
                                                     < Y T                                                ;         1
                                                                                                                                                                   yAm -y x'
                                                                                                                                                                           yxwjxjxc
            .                 N -                                   *                   - *:
                                                                                           * 0-
                                                                                              ,                                                  *-                 -            -             -                  -                *-           $123142.65 (> > -                                          p6)
    .
                    e.
                                                                                        Q 14>
                                                                                        '' . '
                                                                                                                                         N T1% vgo-
                                                                                                                                         .
                                                                                                                                                                             .
                                                                                                                                                                                               EN T+ e uje > j> .          .




                                                                                                                                                                        éu/ e xe                                      .
                                                                                             1 ATH
                                                                                                 j(,, r                                                                 ooum .                                    gtIy
                                                                                                                                                                                                                     .t p< -.
                                                                                                                                                                                                                            .-..- .- -
                                  e
                                  - k-
                                     > -W#
                                         -*'
                                           **
                                           - .* >> *Ne> -* e*
                                           Z                                                                                                                            ' V                                                        âj                                             z'gK
                         .
                                                                            '
                                                                                ,
                                                                                         '    '           ' ' '
                                                                                                                                                                         W.
                                                                                                                                                                        ..'.
                                                                                                                                                                           '' . ... ' ......,
                                                                                                                                                                                            .... ...
                                                                                                                                                                                                   ,,...
                                                                                                                                                                                                       ,,,.
                                                                                                                                                                                                          ,. , . ... .
                                                                                                                                                                                                        :..                '
                                  e            ,
                                                        >:  '       .
                                                                            ( -                           *- .m -                                                        W                              W                           W W *
                                                                                                                                                         )                   FëA.
                                                                                                                                                                                -iW 1 W                                             '''>            + he'''
                                                                                                                                                                                                                                                          G .

                                                                                                                                                                             T> * * :                         G' F<* me

                                  SyV                               W ; .                                     xw                     go go                       gm wsa
                                                                                                                                                                      o                    ma o w ayjo $. gapo                                                                   ja o yywujy..
                                  A  m>,
                                  t.--  e- - e <.. -,.w . .;
                                       .-.                   .pr- q- CEFoçm 6+ a= e a e .< xn - :.F- co- e
                                  - f*4$-.- k+ - a - twut- v- kpm u- myr- .h+- - - W - 4- u--e lt-
                                  4- - -                                                                                 j                                                                                                                              -
    *
                @
                                                                        f< * q
                                                                             e                                     :
                                                                                                                   #VM <                                          - p. +                       4t* :*:* t- -                                                 !* î e fo e                                    - tt
                                   '
                                                   j#A##. exkyérào k4jkydkjjlklcdxm xtr
                                                            .
                                                                                      tpoxAjkewxm sllt
                                                                                                     èA x #i.tAjkèktèkliku D *
                                  (                '                    .                                      .                                                                                                                                                        '                                       PG   2
                                   f'* 4k*u *+Q wvu lj#w c                                                               ,
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 115 of 165
                                                 y!
                                                  r
                                                  ,
                                                  rg
                                                   s
                                                   r..,
                                                      j.:
                                                        ,
                                                        p
                                                        ,
                                                        yry
                              Case 0:23-cv-61345 Document a
                                                          vj& 1-4
                                                              & > yEntered
                                                                   g.
                                                                    (
                                                                    jyjy'
                                                                        t
                                                                        5j.
                                                                          yjg
                                                                            j
                                                                            y.
                                                                             j
                                                                             g
                                                                             jq
                                                                              j
                                                                              s
                                                                              yr
                                                                               j
                                                                               ,
                                                                               yo FLSD
                                                                              on   j
                                                                                   (
                                                                                   ;
                                                                                   j
                                                                                   yj
                                                                                    .
                                                                                    yyy,
                                                                                       t
                                                                                       g
                                                                                       ;
                                                                                       y
                                                                                       :y
                                                                                        .(
                                                                                         ;
                                                                                         ,
                                                                                         :
                                                                                         y,
                                                                                          r
                                                                                          y
                                                                                          .r
                                                                                           .
                                                                                           :
                                                                                           ty:
                                                                                            ,y;
                                                                                             gy
                                                                                              jyz
                                                                                          Dockety
                                                                                                jy
                                                                                                 j
                                                                                                 y;
                                                                                                  j
                                                                                                  (
                                                                                                  j,
                                                                                                   ;,
                                                                                                    ;
                                                                                                    .r
                                                                                                     ky07/14/2023
                                                                                                       yj,
                                                                                                         yy
                                                                                                          r
                                                                                                          y
                                                                                                          ty
                                                                                                           ,
                                                                                                           r
                                                                                                           y
                                                                                                           jyy.
                                                                                                              yr
                                                                                                               yjy
                                                                                                               ; j
                                                                                                                 y
                                                                                                                 jy
                                                                                                                  j(
                                                                                                                   j
                                                                                                                   y
                                                                                                                   .(
                                                                                                                    jyyyyj
                                                                                                                    .
                                                                                                                    g    $
                                                                                                                         ,
                                                                                                                         y
                                                                                                                         j
                                                                                                                         tyyyj
                                                                                                                             y
                                                                                                                             k
                                                                                                                             ,
                                                                                                                             yjj
                                                                                                                               ;y
                                                                                                                               .,
                                                                                                                                .
                                                                                                                                y.
                                                                                                                                 y
                                                                                                                                 j
                                                                                                                                 yj
                                                                                                                              Pageyyy)
                                                                                                                                     g
                                                                                                                                     :
                                                                                                                                     j
                                                                                                                                     y;
                                                                                                                                      j
                                                                                                                                      y
                                                                                                                                      .
                                                                                                                                      s116
                                                                                                                                        ;
                                                                                                                                        y
                                                                                                                                        .
                                                                                                                                        yyyj
                                                                                                                                           y
                                                                                                                                           j
                                                                                                                                           ys
                                                                                                                                            aof
                                                                                                                                              sy,
                                                                                                                                                y
                                                                                                                                                .
                                                                                                                                                ys165
                                                                                                                                                  yj
                                                                                                                                                   wj
                                                                                                                                                   a
                                                                                                                                                   y.
                                                                                                                                                    ,y
                                                                                                                                                     ,y
                                                                                                                                                      j
                                                                                                                                                      yyyy
                                                                                                                                                         j
                                                                                                                                                         pf
                                                                                                                                                          .
                                                                                                                                                          ayy,
                                                                                                                                                             gg
                                                                                                                                                              y
                                                                                                                                                              j
                                                                                                                                                              y
                                                                                                                                                              ,
':    . .:
         .;...,
                     j....4'......,
              .,..f...
                                  j..y
                                     .,j
                                       yyg
                                       , .:
                                          o.,..,
                                               ï,
                                                .j;
                                                  ..,,
                                                     ..s(.z:(.:
                                                              ...
                                                                ,,
                                                                 ...;..y..:;$,,yrf.
                                                                                  L,(:,
                                                                                  ,   c.:,    :g.:
                                                                                         )xx...  tyoss.ssj
                                                                                                         y,,.
 ..

                                                                                                                                                                                           '        .
                                                                                                                                                                                                           ..      w
                                                                                                                                                                                                                qjjé
                                                                                                                                                                                                '
                                                                                                                                                                                               ..
                                                                                                                                                                     .                      '       '' '        l  j1
           44,
             %$.y
             +
             :
           < ,3 . .                      .
                                        ..                                                                                                                           .
                                                                                                                                                                     .
                                                                                                                                                                              .
                                                                                                                                                                              .
  '    .
            jv %t$'                     .                                                                                                                                                  !..;m
 #                  y.r            .                                                                                         ,.
                              :
                                  ,,
                                       .
                                                                                                                                                                                          )/'
                                                                                                                                                                                            .
                                                                                                                                                                                            ,
                                                                                                                                                                                            ?-
                              .
                                                                                                                              FLO RIDA PEFAULT LAW GRO UP,P.L.
                                                                                                                                      ATTORNEYS AT LAW '
                          $                                                                                                       9l19CORPORATE LAKE oRjvc.
                .c??                                                                                                                      3gp FLOOR
               ;                                                                                                                     TAM PA.FLORIDA 33634
            ,
            #                                                                                                                                                                     Telepbone(813)25l-4766
                                                                                                                                                                                     Telefax(813)251-1541
           tè                                            P'
                                                          ,.%ervptyto:.
                                                         P* om çt 80.x.2541: 1
           q
           r
           )
           !
           r
           t
           ;y
            )
            k
            ;
           .-                                            T- iFL 7M22-5913
           :,                                                                                                                            July2t).20l()
       -.
        -
        j
        y)ky.

           j i.
           (!t
           '
              ,
              ;

       j,
        '
       #t
        ,
        .                                                 IZOY
                                                           lr0N SGWIL1L1IA
                                                                   JT     MS
                                                                         RI
                                                                          VER DKIVE
        j                                                  MIAMI.Ft 33l67
           ),
           ;                                                                                                                                                                                                            :
             ;2                                                                 qr:
           i
           y
           Lj
            lL
           %) '                                                                     .                 Len
                                                                                                      p Numb
                                                                                                           wervke
                                                                                                              : r 6MAC MORTGAGE,LLC
           j)
           -
                                                                                                                .'.
                                                                                                                  I          um u.s,BANKNATjONALAssX lATIONASTRLJSTEEFOR
                                                                                                                      )/ W
           )(
            tt                                                                                         4t
                                                                                                        w.u     uAd
                                                                                                                  qsa : Rxsc
                                                                                                                   dl*%:      v jayltR
                                                                                                                         15020SCUTB  .a
                                                                                                                                      W ER DRIVE,MIAM I.FL 35167
           .

           )
           )t
            :r                                                                                          ()m.F1t1No.:     FI0051160
           1(i
             :
             !è
           t
           :
           $!
            - )
              :
              '
            ),.
            . )
              .
              ,                                               x
                                                              G...a...>.'''..
                                                                            .' ''u
                                                                            .
              7
              ?
              %                                                      Tik'k
                                                                         hw ftrm efFe o D'
                                                                                         ef*ultLaw Gmup.P.I..thereinafterrererredtoas''law srme)has-enretaipedto
           ièb
           7                                                   rtpr- ttl.
                                                                        3.FANK NAN ONAL ASSX IATION ASIXUSTEE FORyRASC 2X 5AHL3wkhTtgaTdsto ks
                                                                                                                  .
                                                                                                                                           .     .       .


            kj
             :k
              :t
               .'                                             iste * iwdleprmmise Nmeae Mm gygè4xttutedbyLEROY WILLIAMS onJun43(L2905. Pm uântlo
             $9                                               tbr- # - - 1      '- e,Noye-rMortgaad,aurvlientbasacctleraledallsumsdueApdawinw whiehme.
                                                                                                                                                     am
                C                                              fa xtht- #4pti )' jbzlanceandaflotlsersutnsrecovecabl
                                                                                                                   eunderthetermsoftilepromissoryNoteand
            :
                                                                M                  eAs
                                                                                     .4jo
                                                                                      pf wtdue
                                                                                        tN dxte.of +'
                                                                                                    ,&1** .- amountowedtoovrcliex i
                                                                                                                                  s* 61,
                                                                                                                                       289.
                                                                                                                                          01,whkhit/cludestl)eunp#id
                                                                                                 1
                                                                     itei
                                                                        # lhl.
                                                                             1xc4,rVe intermttlprovghtoday.l<echargvs,andolherdefauR-relatedcqm remverabletmderthe
                ;
                C
                j
                '
                :.                                              t.rmseftw py- ismz'
                                                                                  yNotfan:Mozl-    Additlonélimerestwillaecruem erthedateofthlsI- er.
                                                                W
                .                                                       '
                                                                        fhisv (. ,. isbe1% sereto comply whh theFairDebtcollectionp- ti cesActande':ol
                                                                                                                                                     zldnotbe
           ,.   jyg.iyq
                      t
                      '
                      ,g                                         ton-'- aa- oe.ktter.ourcli-tm,ymakeauv.ancesaldineurfeesandexpensesahertlw dap oftltisletter
                 ttt
                r'
                                                                 wj:e .xm w     ahpsytjjdtrtlx tvrmsorte pmmisxryNoteAV Mortgage. T* tfpte.ifyouwishtoreceive
                                                                                                                                              u     ta. ryu uw j)an
                 '(
                  :)
                   :
                   t
                   ,
                    1                                            fi#o' $*P#****        ;& *KlpanCIIFIX1It)GePXyW YOQV1OWnX mlgb 1b'
                                                                                                                                  W tificde yP = COn
                 k'
                 ',                                                 :13)2!1?.,
                                                                             4:46orzlilts'
                                                                                         et'
                                                                                           vi
                                                                                            r
                                                                                            ce<fldofasllîlawflx
                                                                                                              com.
                    2'                                           M ( tl   p lzssypqpg t
                                                                                      i:.l
                                                                                         lï
                                                                                          is1
                                                                                            4w tirm wi *i n t
                                                                                                            h i
                                                                                                              rty(30)daysaAeryou creceiptoîthisleterthatthevalidttyof
                                                                 thi:aeh.otwv 'rïtherrotismspupdsthistawfi        rm witlassumetl
                                                                                                                                za!tbtdebtisvalid. Ifymu40notiN îhis
                                                                   uw firm kiwritit,
                                                                                   : wilinwirty'(3c)4aysaaetreceiptofthisIetterthattbedtbtoranyporti. tltereoftis.
                                                                                                                                                                 uispuud.



                                                                         F*E...&ktM:'
                                                                                    CR:F10054160                                                             HELLOLETFER
                                                                                                                                                             .
                                                                                                                                                             :   '       (    2                y
                                                                                                                                                             '   '
                                                                                                                                                             ,                                 (
                                                                                                                                                                             C
                                                                                                                                                                             llE
                                                                                                                                                                               âk
                                                                                                                                                                                TWII
                                                                                                                                                                                I  EC
                                                                                                                                                                                    Iïq
                                                                                                                                                                                      'Ai
                                                                                                                                                                                        llI
                                                                                                                                                                                          tY
                                                                                                                                                                                           l>IW
                                                                                                                                                                                              N?LVTpwjr
                                                                                                                                                                                                CLERE
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 117 of 165

                  12:24 #1
                                                    : bing.o m



                   EX-10.11.-SEC
                   https://-          -see.gpv/Archives/edgar/data/l33z8l...

                   HOMECOMINGSGMAC MURTGAGE,LLC
                   1992/05/28 Registered 1792907 :1993/09/14:
                   76494788 PREM IER SERVICE GMAC RESIDENTIAL'
                   HOLDING COMPANY,LLC 2003/03/06 Registered
                   *2914178 :2004/12/28:78855608 PACIFIC UNION...


                    Tim othy King;M BA -Licensed RealEst&te
                    M lesperson ...
                    h/ps://- w.linkedin.cpm/in/timothy-king-mba-bzl..
                    Feb 22,2018 .Homedomingq FinancialJuI2001-                 .4

                    Oct 2008 7 years 4 m onths.Irvine,CA Sales Lea'
                                                                  d#r *
                                                                      .

                    CitiFinanciàlMortgage Company,lnc....Celebrate
                     Leadership award and the prestigious GM AC ...
                     Title:M ortgage BrokeratHom etown FinancialG rou...
                    .


                        Connections:500+
                        Location:Buckeye,Arizona,United States
                                  *
                           .>




t
l
                        Somer
                            e
                            %
                             s
                             ul
                              t
                              sh
                               a
                               ve
                                be
                                 e
                                 nr
                                  em
                                   ov
                                    e
                                    d
                                W 2 >
                                                  r:
                                                   ?, Try the Bing app
                                              '
                                          .




                                Privaçy            Legal         Adverti
                                                                       se   Adi
                                                                              'Q
                                                        Feedback

                                                    / 2021Microsoft
              Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 118 of 165

    Q,
     hA                                                                                                                                                                                             ##/s f
q
,         .
        F
                                                                                                                                                I1* * * œ * * *     .*                                /16
                                                                                                                                                                                                        1  1*
                                                                                                                                                                                                            12
                                                                                                                                                                                                        w .J. .
                                                                                                                                                                                                      lr 1    ,-' )
                                                                                                                                                   CF%'
                                                                                                                                                   >  - Qpqal
                                                                                                                                                          Tgy&kosji e
                                                                                                                                                                    kla                                  i'7
                                                                                                                                                                                                           ',........,
                                                                                                                                                                  J!
                                                                                                                                                                   .
                                                                                                                                                                   t
                                                                                                                                                        A. , . ...s.j
                                                                                                                                                                   +

    ;

                            ASSIGNM P T OFM ORTGAOE                                                                                                   OAMY YFY
                       O                         > G                             -                    A> M -                           M M                               W
                       uc e-                                         .<                      >            W%
                                                                                                                < -                        + -                   e mm -           Nm
                       r                     .< .
                                                G                        l1j)
                                                                            pv                       <         - -                    AAS- --                           - -        21
                       D* < <- -%, :e*V- - *W 5- - -- -
                       e
                                            m #1> -#M e -
                                            *                                                        m-:uT -:#Ae< k*
                                                                                                                   :à-
                                                                                                                     G <-:
                                                                                                                         e N- I=exM T
                                                                                                                                    c
                                           >                         *                   A* >                  W                                              '


                                  '    ..    :        . . :
                                                          :.'.)..... .   .

                                      1    r                       .:X; '                :W.
                                                                    :'
                              '.'                                                    .
                                  q : . ..                          '



                                       G         ,                 :                         .                      N
                                            ; :              L k(                            $
                                                                                             '                                                               .
                            . .:   :.
                                                       :1@) r(
                                                      . .:,      :r.. ) ,
                                                                                                                    W
                                                                                                                    .                * )
                                                                                                                                       M.x 0:
                                                            . #L   ..w. , .                                                                '.
                                                                                                                                           .' ..... ..
                                       . . . . : ..: . .. .
                                                                                                                                                                  .
                            ,:                                                                                                                               .,
                      W                                     J:                           ) :t
                                                                                                                             N-                          :


                      Am *                                      ':T. ,.
                                                                ..           .   .                                   (
                                       W , % yy
                                              ) .) 1.
                                                 .                               .               .
                                                                                                          &
                                                                                                          ..   .. ... .. . ;
                                                                                                                                 W    ..
                                                                                                                                            V
                                                                                                                                           (. %
                      G . .. )
                      '
                             +
                             ..                             t...
                                                                     r . .., . l.:.                                            %'' ..
                                                                                                                                    '.                   e'e              ''.
                      :'           -
                                  ;.                    : . .. :,m.;.,,;..! k.m.. :.,..k,.j,...,.. . ...-,. '- . , j .:.- . .,
                                                     . ..                                                                    - : -..
                                                                                                                                  , . .v-
                                                                                                                                       .                          = -   - -
                +
              .3 . j                        y; ;
                                                                     : gy) 1
                                                                           Me w .y % x x                                                          Y .M
                                                                                                                                                  g  a
                                                                                                                                                       .                      .
                                !
                                     .,..., *
                                                                                                      '
                .''          . ::i*
                       .....:.    ;  k
                                  . .:      . .,
                                                                                                                 .      '
                                                                                                                             ).      .      .
                                   L.. ..
                                   .                        . i. .... .... ''' .                     .. ....         .
                                                                                                                                     ' .
                      qs. .:..- . N.) .w.                                                                       -
                                                                                                                :


                            -                    -              --                   +                                      ::
                            m
                            '   g,
                                >,
                            YA W W
                                   .j
                                    uwWWW
                                          p. .                                                                                        .
                             -
                           .- A             -:.....q-
                                            ,                            w w


                       - u-     :>
                           *F:7g.j214g*                                                                                        W RO IW
                                                                                                                                 *M 0011X *
                                                                                                                                                                              'r R -
                                                                                                                                                                                   r**r
                                                                                                                                                                                    1  --
                                                                                                                                                                                       ..-*
                                                                                                                                                                                        'e
                                                                                                                                                                                           .a#*e?*
                                                                                                                                                                                                 .
                                                                                                                                                                                                 e
                                                                                                                                                                                                                         5
                                                                                                                                                                                       M   1* W   dCG W YW
                                                                                                                                                                                                        284ê9871
                                                                                                 %
                      W                                     &W                                       1F+ 2-                            1616                                   Page 1 of1
                                                             (y,yj
                                                             . .
                                                                       ...
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 119 of 165


                             @ @                             *                       @
                        1n> )x œ lyO JUSTABIX'RA'I'ENOTE
                              (LlM A--- Ghe (AsPvbiiM ll
                                w W:IIS= Iz.- '- R<4Cv )
            IG Y C- AIO VAfNI#N ALtPV GFORACHAY EfNMYFIXED
            G  A (M,YP.AIDA
            * -.           NAtNTalT
                         Yka      sA
                                   >N E-     TMR
                                              y4< G
                                       t-l'fsnf   41* FMY
                                                       OCAGX
                                                          mtm GINE
                                                               m,
             G - /U A <- CV SG ATANV- E> E- M - O A U R I
            o ya .
                               1
                                                                            Ft
       Jgpe >4.z4A6                       *1M )                            jm<...j
                                           K*)
                                    194a $œ !:.AI9fRAAI'C
                                        g!A.l ft 331$:
                                        tG    w- sl

        1a O M K- Y >   4V TO YAY
          1- *; :e '
                   * 1* .
                        <    I> oN ç& $$4*$.*4':4(*W**- Wç4te
        Y         ,
                  e(<        .
                             ** ,
                                + ;
                                  <*      t- /lxfn Fjl#ltfêl%*r#1tA$ IwiBe tG

            A>        -W - - (
                             > % 4t* -- w-* *u* e*- *e *ei:
        a        .% -        . - Nxpp. . .x- s- .
        K !>
        **>e * #$.t2W m -             - il*ly- d- m='''=          we Nde 4ef*HN*r
            >-        >-
                       '      h *h-    z- s- #dfkl- swxr- lwill- - -                 - z-
        -e        *     *-      v 1d*1-                                      .
        ). eAfe m
            4*1*t.4- - *f+y--
             iwl - *-    - - 1:1* eeNe - .< - - - Au:#xt 1.2*6 Bef- - hlft
        -'       e-      -     - - -- ' .-          z#&- N-.- -            e -       *â*-
        *        N - E
                     -V *Y
                         'G '


                                                                               lrltf'
                                                                                    .1$r .
                                                                             k@#l #
         Y1##1*#à+ O */XWXê                   * ale         #>* --*îTte< #.111*#** :::.1 (1)#41h
                                             #+ :@# ;
         jrlNj.
              +4                y.w




                                                                     f'oqotpïtlz


                                %
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 120 of 165
Filing # 65341895E-Filed 12/13/2017 01:30:51PM
                                                                                                                                                                    Ykk
                                                                                                                                                                    '                             ''
                                                                                                                                                                                 .     . . .

               t
               1
               -!
                *('
                  )R'
                  . rI#. 9
                         4
                         ,r
                          .:
                           8f
                            .j.E.7:
                                  'z
                                   f                                                                                                                                              1*
                                                                                                                                                                                   f'ft),
                                                                                                                                                                                        U'..
                                                                                                                                                                                           A.
                                                                                                                                                                                            %'1
                                                                                                                                                                                              2.B'
                                                                                                                                                                                                 Kit
                                                                                                                                                                                                   X
                                                                                                                                                                                                   ..'
                                                                                                                                                                                                     sK'
                                                                                                                                                                                                     . .
               Jdq)lklbidlt.
               .           p'f.
                              tj.
                                '
                                 .
                                t-
                                 :ri',,.,.
                                 '       1)).
                                            1!1:
                                               ..à.
                                                  çL,
                                                    d.
                                                     1.
                                                        ..
                                                      4;tC'1L;.
                                                              b%                                                                                                        At5MIT.T.fE(ê.C4&1)R7
                                                                                                                                                                        .                   .$N QAR.
                                                                                                                                                                                                   (t<$Nw'
                                                                                                                                                                                                         .5


               J1-
                 xs*'K.
                     ',
                      'A 112Au
                             ''b'%4                                                                                                                                             .
                                                                                                                                                                                e'
                                                                                                                                                                                ke.
                                                                                                                                                                                 1*K
                                                                                                                                                                                  mta
                                                                                                                                                                                    :4
                                                                                                                                                                                    .z
                                                                                                                                                                                     C
                                                                                                                                                                                     .xR
                                                                                                                                                                                       .
                                                                                                                                                                                       N
                                                                                                                                                                                       *.'
                                                                                                                                                                                       , .
                                                                                                                                                                                         ArUl.xI.
                                                                                                                                                                                         <
                                                                                                                                                                                         .      *4>
                                                                                                                                                                                                  N..W
                                                                                                                                                                                                    '%N,'.%
                                                                                                                                                                                                     *F    f.%*
                                                                                                                                                                                                          .12 .4
                                                                                                                                                                                                               (*
                                                                                                                                                                                                              ''j'
               At'!!g'tf5X'. ..fX
               '
                                , 6
                                  .N l
                                     m>. A..                                                                                                                             *3:
                                                                                                                                                                        ..
                                                                                                                                                                         . 1KYIIED ,N'N(:QTIIf-
                                                                                                                                                                                              .L.
                                                                                                                                                                                                e .k'12NA
                                                                               'Ji'r
                                                                                   g l'..N
                                                                                         'K?4
                                                                                         .     :4.à. h:.
                                                                                                       S.
                                                                                                        %':
                                                                                                          ..'tIk:'';-
                                                                                                                    êt-,.
                                                                                                                        s.l
                                                                                                                          -.'..
                                                                                                                              1'
                                                                                                                               ;'
                                                                                                          'I     E  .
                                                                                                                    '   v  /f  .f
                                                                                                                                .
                                                                                                                                :2t*.
                                                                                                                                                                                     :
                                                                                                                                                                                     .
                                                                                                                                                                                     '
                                                                                                                                                                                     b
                                                                                                                                                                                     k1kt
                                                                                                                                                                                        ht
                                                                                                                                                                                         8
                                                                                                                                                                                         .'
                                                                                                                                                                                         (11'
                                                                                                                                                                                            :
                                                                                                                                                                                            -
                                                                                                                                                                                            ï':
                                                                                                                                                                                              jJrt
                                                                                                                                                                                                 lj
                                                                                                                                                                                                  fT
                                                                                                                                                                                                   jdb
                                                                                                                                                                                                     m
                                                                                                                                                                                                     ë
                                                                                                                                                                                                     lhlj
                                                                                                                                                                                                        kl.
                                                                                                                                                                                                          i
                                                                                                                                                                                                          ?
                                                                                                                                                                                                          k
                                                                                   .6 :.. f...
                                                                                    *.
                                                                                             At.f.$.)t!R1)Al   .ei; '
                                                                                                                    -,i'j
                                                                                                                        u
                                                                                                                        iu33.   /
                                                                                                                                .*,''
                                                                                                                               12                                        zwj'
                                                                                                                                                                            /Ml'
                                                                                                                                                                               lliît:i?1.
                                                                                                                                                                               .        %t> '114(.4):
                                                                                                                                                                                                    .Jt1t()I.!?9:%..
                                                                                                  954.  *1 $*Kf. *- 55
                                                                                             yx'.x.7.454f,    '.t.'
                                                                                                                  &(. ;953.




        I%d mt!et1g ,2017                 .




        TheC l'
              lonorablèJtybn Skhlesingd '
        M iàm.i.
               wD4d4Cotinty: ctkl
                               : rthtïttstt

             .'.3ankqNatitmalAxstwiatios:asTruste:qforIL'NSC'20.05.
        Rc;UkS                        .
                                                                  A HL3 itHokttW illiams-

        Cask,N.o.:.201(J-6.
                          I.
                           #)2'
                              8-(N
                                 zAè01
        Flk No.-
        !. .   .13>f-02:6'
                    .    t
        Th:Ilgmorab.leJudR.< Schlvsilmec.
                             '
                              Pttrxf.
                                    azmttoyokz'Iltjzkif'sltitrucl
                                                                tions,from tlttNtkl-xpurj'7-
                                                                                           rialtbzttttyxklpllacet9?)
        N'lwdmbzr29.2:17,enclosez
                                'please.'
                                        ftndazop.yiyf-pj-
                                                        alnti11*:'rritlMçmprapdum.
                                                              .

                                                                       % '
        Tbhrvk y.oufi
                    7:jpûu.rtime.utmsidtxatitm t
                                               m tt'
                                                   ctmperation11.
                                                                1t lSnlaKt.
                                                                          f'
                                                                           s
                                                                                                                                        q7
                                                                                                                                        !
                                                                                                                                        ,
                                                                                                                                        l
                                                                                                                      Rv
                                                                                                                       +K
                                                                                                                        d
                                                                                                                        k
                                                                                                                        ,.  )
                                                                                                                         - ct'.15
                                                                                                                            b 1
                                                                                                                             .  .,.,
                                                                                                                                  .
                                                                                                                                        .
                                                                                                                                   *rh i%
                                                                                                                                        !         ,.'
                                                                                                                                        tE
                                                                                                                                         :               !
                                                                                                                                        !                 ;'
                                                                                                                                        t'                :
                                                                                                                                        t.
                                                                                                                                        .               t:!
                                                                                                                                        !               :.
                                                                                                                                            jt
                                                                                                                                             .:
                                                                                                                                                        f
                                                                                                                                                        *.
                                                                                                                                                        .
                                                                                                                                                        f
                                                                                                                      %%
                                                                                                                      '  .à.jjyjag':y*Cy' % Fgq.             <
                                                                                                                      FL    ç.s
                                                                                                                              ,o u .'.k.  wy ,
                                                                                                                                             .- )
                                                                                                                                                .   oc
                                                                                                                                                    *
                                                                                                                                                    k* o
                                                                                                                                                       ! >ka
                                                                                                                                                          o   ll.
                                                                                                                                                                t4
                                                                                                                                                                 .M.otrtaucr
                                                                                                                                                                           /a-
                                                                                                                                                                            '
                                                                                                                                                                            m    .
                                                                                                                      -''.
                                                                                                                       .                ..-ww
                                                                                                                      1.
                                                                                                                       , 1
                                                                                                                         t
                                                                                                                         j;
                                                                                                                          )
                                                                                                                          jt
                                                                                                                           h
                                                                                                                           1r
                                                                                                                           .
                                                                                                                           v;
                                                                                                                            q'
                                                                                                                             ,
                                                                                                                             -
                                                                                                                             .
                                                                                                                             ,
                                                                                                                             :!
                                                                                                                              .
                                                                                                                              j
                                                                                                                              .'
                                                                                                                               j
                                                                                                                               l
                                                                                                                               .
                                                                                                                               r.$
                                                                                                                                 :
                                                                                                                                 1
                                                                                                                                 j1
                                                                                                                                  ;
                                                                                                                                  .4
                                                                                                                                  )j
                                                                                                                                   .''
                                                                                                                                   )
                                                                                                                                   1  L
                                                                                                                                      ?
                                                                                                                                      L
                                                                                                                                      t
                                                                                                                                      1:.
                                                                                                                                       j4
                                                                                                                                        j
                                                                                                                                        ,
                                                                                                                                        -
                                                                                                                                        '!
                                                                                                                                         tj
                                                                                                                                          ;
                                                                                                                                          ji
                                                                                                                                           r:
                                                                                                                                            j
                                                                                                                                            54
                                                                                                                                             ;.
                                                                                                                                              I
                                                                                                                                              ,
                                                                                                                                              1
                                                                                                                                              .
                                                                                                                                              .:L
                                                                                                                                               r
                                                                                                                                               e.o 1(5
                                                                                                                                                     j
                                                                                                                                                     4*(
                                                                                                                                                      .I
                                                                                                                                                       jl':
                                                                                                                                                          !
                                                                                                                                                          '
                                                                                                                                                          .d
                                                                                                                                                           .
                                                                                                                                                           !
                                                                                                                                                           -
                                                                                                                                                           -;,
                                                                                                                                                            ':
                                                                                                                                                             1
                                                                                                                                                             k,
                                                                       %                                               '                                       ;:



         Enclostt=




                                                                       1


          s-lR'
         t'   t.QTteic > . M 3k
                              O FXX:+ 363.@+*:#'                         x:$ak17zsc.wIbMlt
                                                                                         qoT> .< '
                                                                                               . :ï> =e sFu :'- s:-77%
         .
         at< x> , > ,è.
                      M,42':%.> .
                                '
                                ie '   > ,:
                                   :> ,'       29
                                                %*$
                                                f ..
                                                   Q
                                                   aR
                                                   yrAt.K
                                                       fs
                                                        ' 91
                                                           :c.
                                                        iizk
                                                           s $725*5
                                                              11d  .
                                                                     kF@Ai
                                                                  rk<,
                                                                     '   jb
                                                                          r,Ax-:!
                                                                          E.     4tw3.1-FRAN<*t'4N:1#.
                                                                                                     77ï4.$44Fàx'
                                                                                                      ..        :,5.pa.
                                                                                                                      :
                                                                                                                      '
                                                                                                                      *-'
                                                                                                                        -
            Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 121 of 165




                            W '
                              1H Cm CUIT COURT OF T11E ELEVM   JUDICIAL CIRCUIT
                                  IN AND FOR W AM I.DADE COUNTY,FLOD A
                                                                  GBNERAL JUW SDIW ION DIW SION
               U.S.BG NatioM M sx iation,% Tmsteefor
               RM C 2005AY ,3,                                    CaseNo.2910-61928-CA-01
                            PlazliW,
               W .

                           'xmA;n e UnG own Spouse of Leroy
                M roy W illî
                w illj
                     'smA;Liiejolm W a Ja es L Jo% Ja es;
                UnknnwnSpo- ofJe esLittldohnAKA JamesL.
                JoliniHoke W ille s; Ue own Spoux of Hoke
                W illiams;M nek W ells)Unknown Sm use of M ack
                W ells; Ce s M cNeil;jn e Unknown Spoc e of
                CY s M oNeil; Symöneœ Lhnite PA ership;
                n-
                 'lfkne Be NahoM
                               ' T* Com- 'y.asTmstee
                for F- klin Cmdit Tm st Series 19 V H -DA
                County, Floridai State of Floddw DepaM ent of
                Re'venue; Unlemd CCR Pa ers, e.P.; Sunfntqt
                Rxnk;cityofNo% Miami(C1ty),
                              Defendants.
                                                       /
                                             PLATNTIFP S TRIAI.M EM ORANDUM
                 Plnintlë U.S.Bank NationalAssociu ow asTrusteeforM SC 2005A111.3,byO dthmugbthe
                 undeY gned c0* 1,h- by m es il TM M em ox dum ,p= uantto * CoM 's TrialOrder
                 date November29,2017 and fue ere t- asfollows;
                                                                                           '
                                    tX--s Prier Fo- b gure C- e Nm 2* 7-12487+ A œ 1 w >-D *= -*
                       W ketker Ple -                                             -   - -   -
                                                                                               '-*M -        -



                 w-i* Prd ldi
                            -m And W!heo er thete coutaine ax Oe erM eludl e Ple tx frem re e' >
                 a Forecl- areAeuen œ thezubied Noteand M ort- o
                         1. Plnlndœ sfledthlscu= ntFov los= actiononD= mber06,2010onies'ubjœtNote
                            u d M ortgage.
                     '
                         2* On said K tion,aE m fendantswerepropedyserved.
                         3. AttheTHa1that:occure onN ovember29,2017,Defendants,bm ughtfori an alleN don
                            tbatO Courton a prior foreclosm e actiow case No.2007-12407-CA-01,entered an
                            Oe rDinmlssing the Fov losu Action w101Pxjudix and prxluding Plainif from
*
        '                   ftlinganyotheractiononthesubjx tNoteandMoc agt.


    #
                                                           1of9                                 File# 13-F02:6:
                  C> 4No.20lG6l92:-CA-Q1
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 122 of 165


                             1

          4. Defe snts allee on is withoutmG t Defendanl = coaect in O tth= was a
             ple ous foreclos= acuon 51ed on April 26, 2007, case N o. 2007-12407-CA-01.
             However, Defendants ax incorv t ln their G egaûons that an Order was enfeeM
             precludhg Plainûf
                            ! from i
                                   nstihlting Ft-be.rForeclosuree on on thesubl- Noteand
             Mo>     e.
             1n = - tto CaàeNo.2* 7-12407-CA-01,on August9,2* 7,thisCourten*red FM
             Judn ent in Plaiqe s favor. The sale of the prom rty was x hedule to x cur on
              Se- ber14,2* i.Ae hd heretoasExhl
                                              'bit'W''ieFM Judo ent.
           6. n eOriginalNoteandM oa ag:wmsYIIH onAugust13,2007.
           7. Subm uentto lee11% oft:e FY Judn entofFo= los= ,a Motton wasGled on
              September12,2* 7,to Canceli eForeclosc M e1 atwasscheduled forSeptem* l7,
              2* 7.An Order wmq enterd on September 17,20X ,canceling the Fov lnsux SG .

              A/nebedhextoP ExbibitGB'',OzdzrCancelingSale.
           8. A* the cancelaEon of ie Fov los= Sale,Defene t M M k W ells'on August 15,
              2008 SIH aM otion to Dlnmlcqthe action dueto Lack ofPx secufom The CourtDocket
              M ecl that on September 9, 2* 2, a Notice was fled by Plaintif = m nding to
              Defendsnt,M ack W gllsM ooon toDismissforLaok ofPro-raxtion.
            9. Nevee elœ s,on April*1,2010,* Courtentered an OrderDie ssing fu- No.2007-
               12407-CA*1,W ii PmjudiceTorLack ofPm secution.AttanbeZ hemto asEe bitRC'',
               OrderDiAmlAsingCa forLack ofPros- -'on.
            10.'
               1henl- lsœ thatwx œ texd on Apdl07,2010,op C.- No.2007-124W -CA-01was
               onlydueY Lack ofM seoution.
            11.On June 20,2010.Plaintr s cotmAel the time,Gled a M otion to Dismiss Qw C>e,
               Cm= l Fov losux Sale, Cancel Nofce of Lis Pendens, M d Settmg  ' Aside Final
               Summary JM n ent On June 25, 2010,this CoM enteru an Ordœ fH nting the
*              T11- 1* of tlze Ca . n e Orderl-her sœ v'sthatPle tx s AcGon was dlmmlq. e
               W ithoutM judice= dO tPlaintiF- znmtn- ril tstobdngmzae ontofov loR the
               mort- eawhlch ls the sublectofthe lne nt%aotiom Attached hexto asEe bitY ''>
                OrderofDism issaln--.dJ= e25,2010.
             12.On Oœ ber 14,2010,a M oion wasSIH toVacatethe LastOrderofDisml       '- l,entered
                on J= e25,201j.
                              0 and retzne ie initlalDiKm issalOrderentered on April07,2010. On



          rA-No.2û1G6192:XA-0l.                 2 of9                             File# 13-F02868
        Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 123 of 165




                      November 4, 2010.the Clerk's dncket indicatew Y o Fllrtlter Judioial Acfon'',w
                      ne M ,> s'uch % DinmiKsalOrdtrO tw O tered on June 25.2010 * dimmx           'mxd
                      Ca No.2007-124X -CA-01.Wio utM ludice and > ' Ple tiTs rigbtto xek
                      Rlehe fo= losureaotion on lesameNoteand M ortgagexmained in efect.
                  13.'IheDiRml'ssd w11 PxludlceOderthatwasente on April4,2010 thatDefendanl
                      kœp refem too,wasno longerin efx tyonce * CoM ente the June25.2010
                      Dl- 1- lOrder:k'rhat0rde took pe      o tand no othœ OrderofDismie isinpl=
                     forC- No.2007-12407-CA-01.'
                  14.Defenœ tw alleN don that= Oe r was O tertd baM ng Plaine 9om filing further
                     actionson thesm eN oteand M ortgageb= use Plaintif failed to comply with aRequest
                     by O COM for Plainuf * Fzl: the N ote = d M ortgage,is inczo ct.It ls cleartbat
                     Def= d= l misinter- ted whatx cllrre,lin the priormattœ . n ex existno Dismisœ
                     Orderthatpv lnd- Plaine from flinganew acGononthesubjectNot:andM odgage,
                  15.Ple tispxe yGle tbisindnntactionsassuchDefendanl allegationhasnomeritsand
                     note precluda P.lalnufâom pmceedingwithœ ssubjed Foreclosœeacuon.

            W àdherpkintiœ :CurrextAetion isBarred bv StatuteqfLimitse m

            œ f= dRa G egellxstPls'
                                  lntiœ sm- nlFov losureactionisM Y bythe5ve(5)yearsktute
             of limie om Defendants allv fon is m islnterpreing.Defendants alltgation is based on a

             dismlRqalofapdoractiontofov losetltesublectMort- eLo< CaseNo.2007-12407-CA-01,
             ln tu clmuitcoud ofle 11* JudicialCH uitin and forM ie -Dade Co= ty,Florida (the
             % orFolclos. Adiokn.wu e,Dofenaxn..arocorv ttlzattheprioracuonwasdimmlxqe.
                  .
                                                                                      d.
             Thepriorav onw dîsmisse withoutpë udice.Fe ermore,theDlAmlssalOrderenteeedon
             June 25.2010,in Cax No.2007-120 7-CA-01.not only retained Plaine s future right, *
                                                   *
              .
             f- lox on the sameNote and M ortx e,Plaintif also fIIH thiscurmntacuon wellwilhin tbe
             (5)y- timeM me ofboi ie defaultof* 1- con% ctwhichwasJanuary 1,2001andthe
                             -




-




    1T
    .


     N
     -
     N
     o.
      2
      0
      1
      -6
       1
       9
       2
       :
       -
       6A
        .
        4
        1
        %3o
          f
          9 H
            l
            e
            #
            1
            3-
             F
             0
             2
             8
             6
        Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 124 of 165




           dim i- lofthepdoracdow which wason June 25s2010.Plainti& scxlre         Forœ los= acdon
                                  1
           wassledonJ= e25,2010.
                                  1
           Defendu tsallegatio- lncorrectlystatesO tPlaine scurrentforeclos= actionisbn- z.

             In Bartram v. US Bank M .211 So.3d 1e ,1019 Cla.2016),e 'gdnnied â'e nom.
            H frR v. US BA NJf$/AK: %,42 Fla.L.W xkly 5326 (FW M se. l6,117),O Florida
                          decidd the e> tofe mptd - butnotcompleted- açceleratioa 2 A
            Supame CoM
            mortgageis > e allmentconkact ad Bartram held thata new       ..
            ca> tf aY on accrues with each del ult on an lnstallm ent as itcomes dqe. scrfrm 2l1
            So.34 at 1019)see alao Singleton v. Gram- Assocs., 882 So.2d 1004,1008 (FIm
            2000;Isaacs v. Deutsch,80 So.2d 657 (Fla. 1955).Because Florida has a sv-year
            limitation on the rlght te - V fcm closure,e m in. qe.d pam enloom m ences a new ,sve-
            yearperiod in which i e lendermay seek to fcreclosehn* on thatdefault
            h e Y rrower in Bartram argxe# tlA b- ''- the lender attempted to acoeltratt the
            borrower's lom a h the flrst foreclosure e q a11 the h xrower*s future instnllment
            cblige'ons        into one,p-œ tly due lump mzm.n erefarw % bo= werargued,&
            sve-ye sfnhvf- oflim itationsm e on allthe paymen? at* tim e,and Zelender Iost its
*
            abilityto G-nlose aherhve years. 'lYecrlticalissuein Bartram,thus,was whetherthe
            afempted acceleration'change the cone uing '
                                                       lne llm ent obligation to a one-tlme lumm
            sum obligu on.       j
             n eslr/r- Courtde ided thatthe a/empted- butmwompleted- accelem tion in the srst
            action dop notnhnnge,the installment nsf''- of a borrower's obli> tion. & e!q.
                                                                                         , Bartram.
             211 So.3d at1022 Cn ereftre,theBnnk's attempted prlor accelerafon in aforeolosure
             acuon O tw> involuntarily diam issed did notZ ggertl:e statuteof llm/
                                                                                 'ationsto bar1111:1-
             Rreclosuree onsbaSeIIon xpamte defgull.nllemphais adde ;:ee also &agleêol 882
             Sp.24 at1006trelectlg V e view O tmlelection o accelerate puts11futua -
                                                                                   'e llment
             m ymO tsin=
                       ' >....n,> held by Stalerv. Cherry JWl/DeveloperzM ,150% .M 468 (Fla.
             24 X A 1963)))Olympla M ortgage* 'mpugk 774 So. 2d 863.866 (Fla.41 DCA
             2œ )(*W e disasree txat tlw eleotlon to accelerate placed future insfnllmentsat
             issue.l). AccoMlngly.itissettled 1aw +atboaowerscontinue to om monx y 1-ym*ts
             even O eran attempte butMcom plete nr- lemlionyand thateach monthly defvultgivesrism
             tbanew acnmxsldateV thesve-yearstaeteofEmiladonsfcrfnreclosure.
              Accordingly,the sta- o ofIimitaqonsdoes notbartbis aoûon orany amotml soul tln
             1 is actiow a11 of which became due witbln ?ve ytum of the iling of the Complaint.
    *             us.Defend- sallegativnfailsnndPlaintie isenutledtoproceedwith thesublectaction.
             n.




              caseNo.2clM 192:-cA-ùl                 4 of9                              File# 13-F02863
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 125 of 165




    W ke* erPhintx a d Soxdihz:
    Defendnnts at Trial cgued O t PIG tX lacked Standing to p= uo Y s acuon, (lue to an
                           :
    Assigun= tofMoo e.If% sCourtwm lls,Plaintifpresentedevidence,suchastG Od>
                                                                            -. .
   Nete contm'nlng a spx isb endomementto Plaintif,PlaintiT s X S repol The Pooling O d
    Servlcing'sagreement,aswellasteeiponyby PlaintiT switnessthatPlaintlf wasinpoa ssion
    oft:e spxiôcily endore Origma' lNote,prior* the51% .oflesubjxtforeclo= action.
    'rh:evidence and te mony PX'SO M wereAdm- 'M withoutobjecuon. Plaino atTHal,aak
    theCourttotakeJudioialNboceofie RecoM ed Assi-       entofM ortgage.butO x do= ents
    wc notplnlntlœ sreline - to e hlish standing.
    QçIn itsbroadest- Ae,se dingisno moretbsnhavlg.orrepresendngonewho has,ea se cient
    s* oin = otherwisejoticiable x nttoversyto obte judicialM olution oflbnlcone versy.'''
    Kumc Corp.#o> Linez,ff2 462 So.2d 117% 1182(Fla.3rdDCA 1985)(quoe gSierra Club
    M Morto% 405U.S.727,731 (1972:.Inamohgagefoaoloml- contex: 'tenndingishnuder
    tbsn just nzh
                .
                l'ml ownership of the benescial interest in te nok.'' M ortgage flgc/r/nic
   '

    Res tratlonh
       g
                sylfe- ,Inc.v.A ae,965So.
                                        e
                                          2d 151,153(F1a.2M DCA 2007).
       Florida O lxd.
                    qnnzlslmtes have 1oe pmvidd forthe holderofthe note ashaving s   ' to
    se enfov m= tofthenote.(S= generally:MortgagnN er/ro-cRegistradon,9.m/4- ,Inc.#.
    Atizf 965 So.2d 151(F1a.2* DCA 200X)Rlkgsv.Aurora fo- S- ices,M G 36 So.3d932
    (F1a.4*X A 2010);Sxtion673.2011,673.2051(2),673.3011and671.201(21)(a)sFla.Stat)
               n eFloridaSum emeCourthaslong recognia dtbnt:
        GAn action on abm ornotepayableto* c,orendorsed in blnnkcm aybem nin-lned
       in the nxme ofthe nom innlholderwho isnotthe o> rby the awner'sconsent;and
       tkat- ss= lon â.y,- k :/-1,1kolderlxp- llel sup lent'    evldenzeoyâlvrWkt
       '@ sue.lzzë = nn- âq M * d & proof /H /âe kqs - bendldqlza/e- t or é#
       -z* # eWeâ* #m @/@T- #,> > *(emphasisadded)Mocallxun v.Driggs,35Fla.
       277,17So.407(F1a.1t95)
             Cou- havee - tlyand consisfendyheld:ultlhe1* th2 holdsleno* andmo- eln
       q'e 'on1- sœ ding toie g R dm aintaln afoe oa
                                            .
                                                       e on.''Deutclw - 1N/:'
                                                                            /W ustCo.v.
       Lèpl,78So3d81,84(F1a.5*DCA 2012);W eFloridaSupremeCourthaslongmcoe M % t:
       = ae on on a Nll or note payable.0 hea- ,or endo- z in blnnkzmay be
       mainte e in tbenlme oft% x mînxl'holderwhoisnottheownerby the ou er's
       con- t;and thatpo*- oion by such nomlnslholderisprima facie se cient
                           .

       evldmne- ofhis IV tto '
                             sue,and emnnntbe rebee.
                                                   d by proof thathe has no
       heneicialinl- ,orbyanytEngelsebutproofofmalafdes.


       CaseNo.20lM 1A 8-CA-0l                   5of9                        Fil:#13-F9285:

                               k
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 126 of 165




   Cit
     koflAkwly dv.SelecsFe- ew,fv.,176So-274,276-77(Fla.1937).
    Plsine isa holdœ ofie noteby virtue ofm %ession. Fla.Stat.j 671Q01(21)(a)deGnes
    'holde/ as'n em rson ln pos- cqion ofanegotim e in- mentthatW - yableeilerz/ & - ror

    lo an ldentised pev n lhnlis*ep= on ln po- -e on? F1a Stat 9 671.201(21)(a)(emphasis
    addd ).Asaholderofthenote,Plnie f isentitle toenfoxelt.Fla.Stat.9673.3011defmœ a
    '
    personendtledtoenfome'= inAfnxmeztas.
                                        (1)n elmlderoftheinstmment-
    ShcePline isin-           i> ofienù< itisaholdœ and isenitledto enforcetbeno* = derO

    Unifx C- memialCode= dC# o/iwldz-zl.abovw 176So.at276-77.
    Flnllly,itisY sputablein Flode tlA 'themo+ ge followsthenote'. First#e > lB@ kof
    X > #.CY /OG 72So.460(Flm 1916);Jo# v.Gilliy ,184So.140(Flm 1938).
    An assi- O tofmortgage ksnotrequiM Fm mntto ieFlolida Supm eCou * 1* i: O
                          %
    œna a n'W%f.* on* l- teintbeoyn.ofJJ Joe v.S= G@im 134Fk 575(Fla.1938),
    5ev0 )ifienote ...seoumdby am>          e% A-nqftv-.
                                                       dwiioutanyfoe      assi- entofthe
    moe     ,oreven:delivee ofit....GS= % .WM p ide Mortgage,LLC v.M omo% 874 So.
    2d620(F1a.41 DCA 2*4)(upholdingaxtmspe 'veAxi- Y ofMo>                * chrcitM *
    le e gmnenttook plv pe ou tp the Assiglx tdocument11* si>               and no- 'œM ).
    Conseque yyDemnHnotsalle- 'onas'to standing should lx M cken = d De ndlnts> uestfora
    De tedVeM d + ould G appmpriatelyde ed.
    Lastly,Ple til inkoduced into evidence,which wmqndmitted wiloutoblecuow tM Payment
    Hiso assodae with'thesubjectIoan.A pam entM-oryshowingpam entsreceived ornon-
    m ived,is xnxm cienk to e nhlish tàat the Plaintil h% the right to enfox e the Note and
    M oa age.Peuguero v.BenkofAmerica.169So.3d 1198 (4* bCA 2015)('1Yeloanpayment
    history xdmltted into bwdetzce,reneds taxes and otber fees associated with tlle moo age
    pm pu y in Qm Qme priorto ie 51ing ofthe originalcomplaintis a u...noteworthy factor in




     r.
      - No.2û10-61A 8-CA-01                6 of9                            File# 13-F07M 8
Case 0:23-cv-61345 Document
                     %      1-4 Entered on FLSD Docket 07/14/2023 Page 127 of 165




   dçlxqninipg xtanding,4s fhw'
                              znoiàl iilstitutions ar* '
                                                       notkntjwll!ö ilttlrkxp4te s pn '
                                                                                      bdptfof
   prpptvt
         .itsforWhitll+.qy:dopgsliptdanintgmst''l:
   F.
    urttye.
          trt4àm :là'
                    gskbzfugde tsx,:
                                   rvqutst'
                                          tbtdiwued verdiqs'yh4
                                                              Agl.
                                                                 d be xynie and Plaindp s
   rzqttezttorùntzyà'
                    tr-inal.tkxl#nentiùèlzitxlft: f4qthrsllotlld.1.g,amkd-

   CONt'IIalJJ
             SIt'
                1N;
   lqà
     .inttf.iézùtitltd to Eétn'.bft'tnklii
                                         tld#liktitù.î'fbreclosure bùkause itllasdçmpngtrattxltbst
   therc wasnoipriordiàmxsxl+atbar- lnttintft-ffreih t5lipg attd pftjtwkdidg    , with th: subjkct
    bmçlklsuteattlpn-1:
   'f
                        F
                        ùlr
                          tber1Plaiptit'
                                       fhasdtmonstmttd.itsstandtngastl1:1:1.
                                                        .
                                                                              01d
                                                                                .eftyf0$eNltt,'
                                                                                              tiityl
                        .                       .



   vvzngsa Nùh-H.
                v14er+$
                .
                    . 11
                       , tbe.
                            111:tstpvè
                                     qfpvcetheNptv,PlAitltîfr:pn.itionis'supp.orted'
                                                                                   bà'tbe
    e$''
       ,
       ilxt.e thàtw'
                   as.adttliued intè qvtdznce .t Tliklk ilwlqdipg:'  tl:e Orig.in# Noty,O/,iginal)
    Mortagà M Ls 1 .?oohingqatid.Stqt
                                    vioie ..Bro th '
                                                   LtttttrrkPaytùntttstotyygpdJudgmentf'igprtx,
    R dth:çrtrm beratvd çpmptttntto timtmy of'tlleikiuwksyiliûh attdal.


              1lw.
                 .R'E.sv cL..
                            R'rIF'
                                 Y tbatà
                                       .teueand.corred cnpyherytzwttàkrtttd.tletxroùicylfy:tjrvià
          r .                !..'
      .
          .
    U .S.Nfàilon --         -.   -
                                     #.c-sçj. ..;..7
                                            x..
                                              +    ..2,-0 1',...                     ,:.201.7,tb41.
                                                                                                  1p.çrsopys)bowm .tm tb:.tbllopipg
    semkeli
          ls'
            ;
            t,
                                                                   Reàp-
                                                                      tïctthllj'sqbmittkds
                                                                    BNRE(
                                                                        .JCK &.e.gctjej-
                                                                      ...        *     1'j*9 '
                                                                                         ..'
                                                                                             j>'j$LC#
                                                                                             '          .* . '                  .


                                            1
                                                                    *NttenmzyftvPlm-nt
                                                                                     .  :i ff
                                                                     jgj,
                                                                        j)x.*pv* 4#ttlg .y.    >
                                                                                                 sujte.'
                                                                                                       jp(
                                                                                                       . ;)                          .

                                                                     R .tzue nt ,<e
                                                                                 . , L.33:399
                                                                    '
                                                                    pjuyuk:Qtj5.4;:
                                                                            %...
                                                                                  ) 6 .6% 5> rxt. 6j5:j
                                                                                  .'. y:.
                                                                                               '   ..         . .
                                                                                                                .
                                                                                                                  ..
                                                                                                                                    ..


                                                                    Fax:.@ b
                                                                           .4)61:. 54 ,
                                                                    f*L(-'$
                                                                          J8krtD t
                                                                                 n
                                                                                 .cs.
                                                                                    r. rooka l
                                                                                             seott-txym
                                                                                                               I ':
                                                                                                              t.
                                                                                                                                         f.
                                                                                                              j        .
                                                                                                                       .
                                                                                                                                ,
                                                                                                                                         j.
                                                                                                                                         j
                                                                    jjy
                                                                      v                                     . ..
                                                                                                                   '
                                                                                                                           ''
                                                                                                                                              . '
                                                                                                                                                    ******e***'-***'
                                                                                                                                                                   **

                                                                      Avy
                                                                       '
                                                                        -ltnat.:
                                                                            ..
                                                                               La (h. .:x;
                                                                                         : E!. .
                                                                                         .              ,     .

                                                                      FloridèBte '
                                                                                 .0.-.' 7.    7




      CaskNo.'
             2.
              ttlG6'
                   1'
                    #2*-CA.0l                                      1 01*9                                                                                  Filé# 13-94786*
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 128 of 165




                                             SERW CE LIST
                             1
       n efollowin:-     %were S- H bv e-mnik

       M1'sm1-D2 eCounty,Flprida
       JoM tanex Phc elusyEsq.
       111NW 1stS-            k
       M lxml' FL 33128
          ald      ' 'dade.gov

        CityofNo% Mia i(C1ty)
        JeY ferL.W s- n
        776N.E 1251 S% t
        No% Mi= k FL 33161
        cityae rney@norihmlnmlll.gov
        n efollowe oe- nswea sere bvU.S.mn1l:

        Hok:W illimns        .
        LX A 15020 Soui W verDrive
        V G ,FL 33167
        Unl
          m mdcCR Ps> ea G.P.
        WoCT Corporv on Sys<         RegisteredAgent
        1200South Pi> Isle RoH
        Plantatiom FL 33324
                                 $                                    *
        œ utscheBankNaoonalTM          Company,asTm sta forFranklin ne itTM   Sedes1
        &oLegalm paM ent
        1761E.St.M dxw Place
        Sa> Ana,CA 92705
        Unkmown SpouseofHoke W illiams
        15020 South RiverDrive
        M ismi.FL 33167

         Ue own Spo- ofJa esLittlelohnAKA Jnm- L,Jolin
         8152NW 15th M xnor.AptFCZR
         Plu tation,FL 33322

         Littlejohnœ aJa esL.Jolim James
         LX A 15020 SouthRiveçDrive
         M iam i,FL 33167




    j-c
      >
      p
      N
      o.
       2
       Q
       l
       Ml
        9
        2
        8
        -
        CA
         -
         0
         l
         %8O
           f
           9                                                                     F
                                                                                 i
                                                                                 l
                                                                                 q
                                                                                 #
                                                                                 1
                                                                                 3-
                                                                                  F
                                                                                  *8
                                                                                   6
-
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 129 of 165




       S= % tRnnk
       WoAlisu Smith R.A.
       40Tœ hnolor Prkway South,Suite300
       Nm oss,GA 30* 2

       stateofFloridw D-  entofReveaue
       c/oExecuuveDiA or,aregie- ,lagentoranyotherpezsonauthon'vM toac- tserviceof
       JAXNXR):S                       '
       2450Shl'me fhkBcttlevard
       Tallnbnmqee,FL 32399
       Leroy W illlams
       8152NW 151 M snor,Apt FCZR
       Plantation,FL 33322
       Unknou spouseofA ackw ells
                              .

       15020 Soe RiverDrive
       M iamiyFL 33167     %
       TheUe own SpouseofLeroy W illiams
       U K/A 15020South RiverDrive
       M ie ,FL 33167
        TheUA own Spo- qfC* sM cNeil
        IJK/A 15020 Soe W verDdve
        M iamiyR 33167

        M sek W ells
        LX A 15020 Souà RiverDrive
        M lamt
             'FL 33167
          *                       j
        (7nll
            'xM cNoil
        L/K/A 15020 South RiverDrive
        M laml,FL 33167
        Sm onee Limite Pn- ership
        IJK/A 15020 South RioerDrive
        M iami,FL 33167       :



1




         r.
          *- NO.2û1M 192FCA*1 '            9 Of9                          File#13-F* :68
                                  1
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 130 of 165




                                                                                                                                 '




             œè
              G        *ls
                                         %                                                                                             .:' .
                                                                                                                                                    kE p                         :
                                                                                                                                        .;.'        .

                                                     4'                                                                                  @
                                                                                                                                        -'
                                                                                                                                           ''
                                                                                                                                            1
                                                                                                                                            j
                                                                                                                                            I
                                                                                                                                         : ,*!
                                                                                                                                             1
                                                                                                                                            .'kI
                                                                                                                                               l
                                                                                                                                               1
                                                                                                                                              ''
                                                                                                                                               *:
                                                                                                                                                p
                                                                                                                                                1*'
                                                                                                                                                  r
                                                                                                                                                  !
                                                                                                                                                  1
                                                                                                                                                  p
                                                                                                                                                  I
                                                                                                                                                  *
                                                                                                                                                  ':
                                                                                                                                                   I
                                                                                                                                                   '!
                                                                                                                                                    q
                                                                                                                                                    '.12
                                                                                                                                                       .
                                                                                                                                                       1
                                                                                                                                                       :
                                                                                                                                                      ''
                                                                                                                                                       '';
                                                                                                                                                         :)
                                                                                                                                                          (
                                                                                                                                                          :
                                                                                                                                                          !F1':
                                                                                                                                                          .
                                                                                                                                                          '
                                                                                                                                                          *   )!I
                                                                                                                                                              'R;!
                                                                                                                                                                 1
                                                                                                                                                                 I
                                                                                                                                                                 1
                                                                                                                                                                 I
                                                                                                                                                                 !1
                                                                                                                                                                  '
                                                                                                                                                                  .
                                                                                                                                                                  r
                                                                                                                                                                  t
                                                                                                                                                                  I
                                                                                                                                                                  l
                                                                                                                                                                  *t
                                                                                                                                                                   .
                                                                                                                                                                   'd
                                                                                                                                                                    ;
                                                                                                                                                                    !
                                                                                                                                                                   -*L
                                                                                                                                                                     l
                                                                                                                                                                     .       '''
                                                                                                                                         tJ                      . ''

                                                                                * .*
                                                                                                                                     e >             4




         '

                                                               > u.        aw> . *e*- - .
                                                               -    * zx .. ... w .o j
                                             . '                                          '
                                                                                                     .
                                                                                                                        '
                                                                                                                            .                            .                   .
                  .      .           .                                                    ..   ..         .                                                              .


                                                 '             '                         '
                                                     ..   ..       ..


                       . . . ' ...       '                '                                                       .

                  l*:An#,
                        !Y& :
                            e



                      1. w .
                           W                          g
                                                      o wo                             xo ua                                o ao w . . .
                                                                                                    '         ''                   '
             '                                                                   ''     ' '         .''        ''.'''           ''
                                                                                                                                 '
                                                                                                                                 .
             .'                              .                              .

             >        > j0+ / + . 0                                             ).
                                                                        '
                                                                        .
                             .




             M +- * :0 * 42$4:                                                                      M. .11 sO
                                                                                                            . w


                                                                                                          .
                                                                                                          (                     :
                                                                                                                                %.                                                   +
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 131 of 165




        '
                     .                        ,.,                                     g
            e        @fe                      e -                       ' e .o,                                -.,-                              0,
                                                                                                                                                  -             ,        - x.
        *                          *    *.                                                .                             .           1                       .
        1        #
                     ''                q. 4                  .:
                                                                        j.        p       @' œ'                                                  *    '     -   '.
            ';lKl16 >                     %, ek.'-.h- *                       .'               ,        '
                                                                                                        -              *.
                                                                                                                        'pe E'          p-                e . ''         .
                              X jMN>N
                                    KF
                                     'RIW -4*::31**FnA*m % . *k*APT .   :2Am,
                                                                            ' nc m > '
                              M T T-. *.- .'M . ** **. m ,M  .
                                                             T4*-*
                                                                 1#
                                                                  FR:
                                                                 BM qp
                                                                     q*
                                                                      .bJ
                                                                        w.
                                                                         < ,P> . .
                                                                                 < œ 1c
                              W m #.AA*m
                                    .
                                                         n *Y
                                                        .-   -. œ. Au m - ..en ym .. #.
                                                            ''                        > m .> A . ,                                  'J                          e
                                  x                                     .                     -. . .           y            <.

        '
                      -'          *.
                                   Ja.          Ll= -               - -                       .' '
                                                                                              Me a z31*
                                                                                                    .                        .


                      5.. #.
                           &. œ... -. w%
                                       .''
                                         .%..'-' .'
                                         ,        .c ,e .
                                                        -
                                                        *
                                                          '                               -            .
                                                                                                        '          *! - '
                                                                                                                   .      ''.'',e e-''- . - z'. @' ' '
                                                                                                                        ., .. :.
                                                                                                                                                       ' *
                                                                                                                                                     ... . w
             :                                                *                                                                             .*       . zl
                                         z                          .        .*                                    *                    è    ..
            œ
             * J'                - a-xI .- * .
                                             - -
                                               .
                                                        .
                                                                             e - -*                 ,
                                                                                                           -           xg.- '* z'                            - '. * . @.*
                                                                                                                                                            ..
             Te . > J.
                     %ê.                 ..                   ,   :<. .   ll< m .> *'
                                                                      ,.e .           .                                      - *.
                                                                                                                                .-
                                                                                                                                 *. < . .
                                                                                                                                        -                       >
                                                                                                                                                                               .
                                                                                                                                                                             .:w ':
                          .                                   .        .            ..
                                                    ?


                                                                                                   .                             WG              WA Y W              '       ' M*
                                                                                                                                    .                       . . m o                   ..q
                                                                                                                                                                             . .g     .




                                                                                                                                                                                 œ - *e - #* #* œ -
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 132 of 165




         '
                                                                                                '
         œ Yœ m 'A.      R                                      Am œ   D >                  ' . .*
         =
         *. < ,Yœ -, . > A œ. .=                .. .
                                                >  ,
                                                   œ    '
                                                       ..   m .u. >
                                                            .
                                                                       >           = . . (e. M.
                                                                                              .> '
                                                                                                 *. ...
            <   > w v@= w ,=m A-            *    #œ * - . - t>                       w - .
         >                  .                     .                        .
             . .M . .m . M
             œ            > >W -
                             .           Yœ
                                          . ;
                                            MA.Y-. . - - , Y*.   .Y* m = . .                   ..
         < *           D % u 'A
                              ' > - 'oA'm -      ' ' 'AM- AO YOUM M M W Y'
                                                   .                           <    G <              &
                                                                           @'             œ m e D:*- A       + e..




                                 * *$ + *                                          a a - - #@$#* G        œ * #*œ e- ehœ -
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 133 of 165




l




                                                                .
                            $            ..                 .           %.   * .          .
                                                                                               &   *
                                              w   *     *           *        ''--W   'p       ''
                                                                                          * ..4     .




-




    1
    ,                    e*
                          %* +
                             --*
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 134 of 165




                                                          '-
                                                                   >       '    *          ..
                                                                                jj




                                                               -   e #% #* .a        a * .4œ @ #- - œ -
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 135 of 165




I




4
/




                            1


                                                                          œ * #+ œ #* .- œ *
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 136 of 165
                                              1%


       -

     *j1;).
          1
          4$




l#
 m
 >
 W
 M
 L
 A
 %
 G
 r.
  >
  e
  v
  D
  '
  =
  M
  *
  -
  A
  r
  *
  '
  D
  ->m
    '
    T
    ,
    œ
    >
    M=
     m
     '
     MY
      .
      M
      R
      .1
       MO
        =.
         B
         U
         Y
         R
         N
         *
         eY'
           MD
            A
            D
            B
            .
            m=.
              ,
              m
              ;
              >m
               A
                                                                                  A ' ' NO..eNl                        '              '
                                                                                                                                      32
                                                                                                                               =I@!k e
                                                                                                                               p:                      -1
                                                                                                                                >. u       *
                                                                                                                                                        rr
                                                                                                                           U'',
                                                                                                                              .#
                                                                                                                               *
                                                                                                                            *
                                                                                                                            ./
                                                                                                                             >&>.. +p<GO . W..r..
                                                                                                                                                L'
l                                                       #
                                                                                                                          ,
                                                                                                                          0
                                                                                                                          Qo mq
                                                                                                                             .    .     '
                                                                                                                                        o
                                                                                                                             *-.*.J.'.. .0
                                                                                                                                              .
                                                                                                                                         . > ..
                                                                                                                                               .-;
                                                                                                                               '
                                                                                                                                     ç.
                                                                                                                        .. ,,   ,*r
                                                                                                                            ,,j;f .,,..@,;:.;.-, ,::::1,j:;
                   T
                   ..
                    '
                    .=. f
                        c u ..
                        w     #.#Am :
                                    . d.m.v                                                                                         RTS..
                   w ......(,)y .         N)                                                                                         ..oo           ev '
                                                                                                                                          e* &
                                                                                                                                          $
                                                                                                                                           +.
               '

                                              '                           '   *         '. '                *    *             '                   .

                                    œ' .*' 'o,- .x>' '*, (*;.. 1* - e .r* t..4:-.. - l-'.< ..-
                              ..     .p.                                                       .
                   r- -'
                       rw.e . - - .1.                                             . .
                                                                                                   -- - .
                                                                                                                                          '< h>                       .
                   x c-' .-'= '. ll:* 'e'- m  ' -.   -         ,1*- * -        . ....
               '

                          las- A-      nA*'n> .
                                              -                 Fpu T I Am . - nm.'
                                                                                  >J .
                                                                                     ,
                                                                                     = ,> m pg.Ask
                                                                                                 oa pn=
                   W. M.'T - . < M œ.'e iœ Y .
                                             M'N m                       . OF    - . .   ,.. . .
                                                  w                   *

                   %       qa... jye %                gw a    w ..y& m r

                   ***.    W o-        M œ > DAV œ .> us
                                                       '.
                                                        ?R M O . .> à
                                                                    ' > .*M %                                                      * DAo
           .       O       >    M
                   :A> - AMM. X 3z* 7
                   .




                   >       ,
                           -    ,c-

                   (- . -' Se
                   *:* oR D- çG.
                   AW       W       G C'
                                       MjW X W W Y
                            poix zs?
                            T- E :
                                 'm* - ,j3œ
                                                  %                               N bll- o l/p
                                                  j
                                                              -A '.
                                                              . g
                                                                .


                                                            /e-ç'
                                                                -
                                                                *.
                                                                 wy
                                                                  o%.
                                                             %- #                                                     @  ;.,


                                                                                                            <
                                                                                                                **




                                                                                                      *> e- -        +- e #$# * #*                            e - '@ * 1* **œ *
    Case 0:23-cv-61345
          :
          .   .   .
                       Document 1-4 Entered on FLSD Docket 07/14/2023 Page 137 of 165
     M iE
        xmiybàdéOhkiglRdçbrdà-li
                               'tintbtitumd.ht




                                                        1*TeIEL*IACUC pwm'
                                                                   tN4N:m kmpAp:
                                                                             'N :m4t>xt+ l#p blmAletlmctA
                                                                                                                                         ,n xu m A
                                                                                                          VIG ACXO E
                             t* PAX
                                  NK N.-
                                         %

                             #!A                                                                                              cAsKNoa;- +y14<7*
                                                                                                                                              .A
                         '
                                                                                                                              I)I>% 1> iâl
                             '
                             1.F.
                                *#+. W ttxlxlAM s.u ak
                                        '- o t<4).                                     -                                                                                                              g
                                                                                                                                                                                                      '
                                                                                                                                                                                                      Yl
                                                                                                                                                                                                       .
                                                                                       /                                                                                                              *'
                                                                                                                                                                                                       j
                                                                                                                                                                                                 1.   y-
                                                                               ..
                                                                                   .   .
                                                                                       . . j.
                                                                                                 .        . . .           . .
                                                                                                                          .     .        .
                                                                                                                                             .
                                                                                                                                                  .
                                                                                                                                                            '. '
                                                                                                                                                            . . .                           z.?
                                                                                                                                                                                                 .     **hzL
                                                                                                                                                       ..           .
                                                                                                                                                                        .                               ...
                                                                                                                                                                                            /
                                                                                                                                                                                            k         *2
                                       TO CAU%Eo- â!tt&v- M- 'z
                                                              '
                                                              e -' txïfh Modt-$:C0 1Foe kw- s:w:w (by.pl>' 'ftu'
                                                                                                                                                                                             w*          'Y' '       *

                                                                                       .                                            .             ..                            .           ..                   ,
                                                                          .
                             ktle f
                                  G                                                                                                                                                                     o
                                                                                                                                                                                                        &
                                        RDFX ED AND ADJUDCD I M ewi;
                                           *                  '.'Mœi.4**m*  ., *l.F* ..i>>
                                                                                         .. @k*.
                                                                                               à* e -,-'  'â&e #
                                                ZZ
                                                 '
                                       2. k             .
                                                            .
                                                            -,. vjj
                                                                  wa.-s
                                                                      .g
                                                                       k..eo.G zj -lkxa pume j4$
                                                                                           . . .
                                                                                                 y ,gjyjj. byqa a
                                                                                                                o %y                               .                                        e*W
                                            .       .                   w;                           ''
                                       'y B             D            E G D kp Clte e                         i
                                                                                                             a DAPE
                                                                                                                 '' j;4ue . > idw *: > 'h
                                                                                                                  g                          ..                             .

                                                    . :.             .                                                                                                                  .
                                                       .              ..                                                                 .
                                                                                                                                        .'                                          .                 oy', oj
                                                       '
                                   q/....
                         n...--....)            ,
                                                .   :
                                                                              ..
                                                                , %..k.....w.k1 ;% y;                                              .                                                        ê'
                                                                                                                                                                                            .

                                         q
                                         xl...                                                                                 g.4
                                                                                                                                 p./              ,          yj
                                                                                                                                                              t
                                                                                                                   Xz *j
                                                                                                                       '.
                                                                                                                       4 *     Yp'.
                                                                                                                /     .    ..t.-                        .
                                                                                                                                                                    .
                                                                                                          $M : t?' '
                              '2 ,          ,                                                             ckxtfkt:te ze.
                        xa- lrr'       aœ ï ,* w wl- ki
                        Pho
                        .  .:.t.Boxà* '
                                   .    tg
                        Te .Fl      .::
                                    e
                                   .. k.
                                      . *..336. . 1,:
                                              2>D
                        Alfpe phl - hF e li            <
                        ylihirshze- .     ctkktxé.
                                                 le p &lji
                                                         pt
                                                          e




                        F1L4z.
                             #uMe% :Fpp ïzlp                                                                                    <            .M
                                                                                                                                                  jjx . 4:.




              Bk25944 P4 - 2 CFN 2(1()7093* 109/21/2* 7 14t57:
                                                             41Pg 1pf2 KW+ DadPECY FL


*                                               I


     àltp.s-
           -//ww wo-m i-ni-dAd
                            . ecl
                                'erkmomfW
                                        . tblic-R:ecordsAlrI
                                                           -tzr ocumtnt.aspxz
                                                                            7
                                                                            .... !2/13/2017
        Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 138 of 165
        M iam i-DadeO cialReeords-PHntDœ um ent                                    Page2 of2

                               %
-




q   ,
                             LEKOY R LIAMS
                             IM QSOA RIVœ DdA
                             Me i.FL 33,67
                             FRANKLKeO FJMTN NABK-
                             Wlc-       e e e-
                                                         H lo L*t




                                                        X RPOM TION
                             1D llIY R.e lM
                             Y.11% e- FL 3r m m r
                             CIIV'OFNORTH MIAMI
                             YOV.LYO WW'*
                                        -**-X GQ
                             D d'
                                v 125* *-
                             N* u1- 1.#L :1ld1
                             U AR/ wgtLs
                             IM Q-'-AK- DWA
                             * l.FL 33167




                                   %




                Bk25< Pg< CFj* 70935+6109/212*714:57:41Pg2of2Mia-DadeCty,FL




           ho s://-    .m ia i-dndeclerk.x o        blic-Reo rde rlr x = ent.> px?... 12/13/2017
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 139 of 165




                                                                                                      1N.
                                                                                                        .
                                                                                                        34,
                                                                                                          tEè'lRctn'
                                                                                                                   g
                                                                                                                   rCUUR'
                                                                                                                        ,1*OFTHE
                                                                                                      11'ffJI-I
                                                                                                            . ,mclv trmct
                                                                                                                        .iI
                                                                                                                          .TI
                                                                                                                            .N AND
                                                                                                                               :
                                                                                                         FtlR IM DECIILfNITY'!F1
                                                                                                                              ..# kmA

                                                                                                     (I'
                                                                                                       ;II.
                                                                                                          N:RALJDRISDITJHON blvjslfàN
                                                                                                                fMstNot**7,9:4e7+ 1
                             t1sl .N.X                                                                 April1,2Q14
                                 #:%1,tlAj)
                                        .


                              'l
                               iri
                                 !
                                 ;'
                                  #:
                             teovWgllams
                                        I
                                        jg
                                         jjjy j j
                                                y
                                                jj.
                                                                                     /
                                                                                .'
                                                    ' IAKxA!..W'
                                                               ,.        .
                                                                  '                      .
                                     fM DER fJ#.!7!%u            ITH; 'Rt 7lUDl(>.
                                TNsz-:'.@we le * :     t& A êxvesA'.ntqmvojûn* dl<ml. fœ
                                                                                       .
                                                                                         backofp.lpwxnxi
                                                                                                 .        .(
                                                                                                            od
                              >
                              . ed: :t
                                     xlApri
                                          'l.114*
                                            ..
                                               k..
                                                   ,.
                                                    't>   t
                                                          umr if j&
                                                                  x tq.
                                                                      .
                                                                      ei.
                                                                        -  #t
                                                                    . ' ' ..
                                                                            ) l
                                                                              wtiee.
                                                                                   .
                                                                                       '
                                                                                       <    by
                                                                                             '
                                                                                               >te )e 4Q   4)
                                                                                                    ....... '
                              *'-:
                              ''
                                  '
                                  e .e on+ 1llzpQgk
                                        v    '       .  'fzl- tkwx - - rdxzewityfore j+à
                                                              .       .
                                                                                                ,          ie
                              el ivmù'  fi/ fowxe g> i-;t3)n4sfwy,
                                                                 uqh'w '!v.
                                                                          -- -O lW ts'1:.Alrt
                              àptt((4j.no1+* > lewx #- t-w wj4y)ss
                                                 .                 Elwjjyxkujij
                                                                              k
                                                                              :ljvmal V .
                               Arao
                                 lA1Sr:u ie '.'
                                             'E,RED '
                                                    lâaîtkikimti- '
                                                                  igDi
                                                                     :e t
                                                                        - dfore kofPm- wjolwitljG jpdice
                                *'#E   .0R5
                                          ei'
                                            .
                                            ND olt.oeRtD ino.ia- .bewat.Me
                                                                        .- e
                                                                           k'àa. eiu.taty.F'
                                                                                           lodaatlgs;t? &:
                                                                                                         yqf
                               .   m -11,.;:I'
                                             ûe                                                                         î
                                                                                                                        taj                 p '
                                                                                                                                            7

                                                                                                                   1 t.l/,
                                                                                                                         p.. , ..
                                                 '   .
                                                          .
                                                                  1:z9:-
                                                                       . .
                                                                         ,. .
                                                                            ,
                                                                            :6'.
                                                                            .  ,.
                                                                                '                       .          .
                                                                                                                       i
                                                                                                                       :f
                                                                                                                        l
                                                                                                                        ..
                                                                                                                         .
                                                                                                                          i'
                                                                                                                         )y
                                                                                                                          . f
                                                                                                                            '
                                                                                                                            /
                                                                                                                            .
                                                                                                                            .
                                                                                                                             (,
                                                                                                                              ).f
                                                                                                                             ....
                                                                                                                                 1
                                                                                                                                 -
                                                                                                                                ;f
                                                                                                                                  '
                                                                                                                                  S
                                                                                                                                  ti
                                                                                                                                   .
                                                                                                                                   f
                                                                                                                                   t/-.a..
                                                                                                                                      .

                                                                                                                                 .j. ... ....-
                                                                                                                                      - .
                                                                                                                 f1.
                                                                                                                   *'VTCIXJW XiVI
                                                                                                                                J
                                                                                                                                  Y
                                                                                                                                  '
                                                                                                                                  *



                                                                                                                                  'a
                                                                                                                                   >  .Je.I
                                                                                                                                   ...(
                                                                                                                                      ,   :
                                                                                                                                          Z
                                                                                                                                          I
                                                                                                                                          :
                                                                                                                                          ;
                                                                                                                                          C
                                                                                                                                          'I
                                                                                                                                           :I
                                                                                                                                           ..
                                                                                                                                            C
                                                                                                                                            j
                                                                                                                                            I-
                                                                                                                                             ;
                                                                                                                                             ;
                                                                                                                                             I:
                                                                                                                                              .
                                                                                                                                              I
                                                                                                                                              P
                                                                                                                                              .
                                                                                                                                              ;I
                                                                                                                                               :
                                                                                                                                               -
                                                                                                                                               r
                                                                                                                                                *
                                                                                                                                                :
                                                                                                                                                j
                                                                                                                                                I
                                                                                                                                                T
                                                                                                                                                r.$
                                                                                                                                                 -,
                                                                                                                                                  1
                                                                                                                                                  .:
                                                                                                                                                   1
                                                                                                                                                   .
                                                                                                                                                   ;
                                                                                                                                                   -;
                                                                                                                                                    ,
                                                                                                                                                    1
                                                                                                                                                    .1
                                                                                                                                                     2
                                                                                                                                                     ::
                                                                                                                                                      ,,
                                                                                                                                                      -j
                                                                                                                                                       1
                                                                                                                                                       :,
                                                                                                                                                        1,
                                                                                                                                                         j
                                                                                                                                                         I
                                                                                                                                                         :
                                                                                                                                                         j
                                                                                                                                                         4
                                                                                                                                                         !
                                                                                                                                                         I.
                                                                                                                                                          :
                                                                                                                                                          !
                                                                                                                                                          -
                                                                                                                                                          ;,
                                                                                                                                                          --
                                                                                                                                                           ,-




             '!j
               <j:jxwhz'y   .. . *j                  '.           '
             . ..
                                  .y..''
                               .x : r  jj.
                                         ,
                                         -
                                         'y
                                          j
                                          .
                                          ,
                                          '
                                          jj(
                                            ..
                                             ,,
                                              .
                                              j
                                              '
                                              C!
                                               1
                                               ,
                                               '
                                               :'
                                                .,
                                                 y...'
                                                 '
                 V.                 .                             h
                                                                          < x,. .




       Y#àNe N i#1b3%FN)91Q* 3Y169*                                                          95Q12:47;17% 1pf1VW-DAd#.GY FL




  https-
       -//
         'wwWz.tnl
                 q
                  amiidk
                      ,     : et-
                        -,t1ecl          yicrRecord'
                                k-com/ ubl           fprl
                                                   s/z  .nt:
                                                           Document.aspxj?.-- jz,yjayagjy.
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 140 of 165
                                              t
    M. lAtïûzDadé02m tialk#ctirtls -'
                                    PtihtDöcament

          G           -- '



              X*r      6 >
               .
                   J
                   jm', .
                        ;1
                         .
               + .( r
                    ''             W:
                                    Tt'tèiAçml'rc'qbhrrWF'G :QIPSVSN1'# JQ*K3*Lt7mtY 1'r
                                          .
                                          t# A* :'
                                                 tm MIAM/X AA@tG >TY.Ft.
                                                                       pRm A
                                                      c> .tLAtqi
                                                               ttm
                                 NaK,%:
                             ys:AZ   pt
                                      gff,
                                      &?                                    .
                                                                            l
                                                                                                                     I
                                                                                                                     I
                                                              <)&XENG    'O X'IM X:A                                 I
                             0.                               ptW 9#9N   3:                                          1
                                                                                                                     '
                                                                                                                     j
                                                                                                                     l
                                                                                                                     1.
                                                                                                                     j'
                                                                                                                     W pe- m ; .</Qk.SK
                                                                                                                                     7>.->
                                                                                                                                                       w     :.'
                                                                              . .                                                                k v.y ....1
                                  o#W.  tl;t.,tAM. *;< kkwtL.'u 9FRANKLI Np.                                                                 :>+ , <
                                                                                                                                                 .  .>     t
                             1
                             O,Qpmpc
                                 ..   >. . &AG**..    > coAI*kA. T'*N't3yIY                                                                       . G/ .x. ,.
                                                                                                                                                           p .s
                                    .            :                                                                                           q
                             fJ#wo.RA't . Y A  'Mt1
                                               M   u;e -ppt                                                                                  ,
                                                                                                                                             .
                                                                                                                                             .
                                                                                                                                             ;             ul .k
                                                                                                                                                               tï
                                                                                                                                                                t
                                                                .                                                                            t       ,+ r.?
                                                                                                                                             *. . .*     o
                                                                             ?.                                                                ''.  - .o
                                                                                                     .           .      ..     *
                                                                                                                                         .         !;. .. . '
                                                                                                                                                   .
                                      .           .                  .                  A.               .


                                     ..                                           .   . . .. .   :


                                    'rtllscktstylsttvlr.
                                                       myh mxyolib#ua,  iiwf:.
                                                                             t
                                                                             s)urts'
                                                                                   v.pe',,A.-..utptlkkxtç4itm filetfk''htPlài
                                                                                                                            rptit
                                                                                                                                r.@f--'at
                              ttqlor
                                   ti
                                    uq;*'.*.:'t
                                              vuiu:. :.
                                                      ,,
                                                       *.1** t21'
                                                                *;)<>p<i.* Cj 'aeefhg.'$+
                                                                                        ...- ij4fidiy4t1*,
                                                                                                         1* là'
                                                                                                              tl'*G mf- ,1,i%
                                     oRï.
                                        $G r'
                                            ,
                                            p ANo AbAy
                                                     x lp. fohlo- t
                                            htt- - - l& -         iidlie < t?udwitlma!/ë*lw loupfmu* Tig:txti
                                                                                                            fkhepe ,it'hA
                              :,f
                                t.:*'e - mlees- fbemx  '
                                                       kl
                                                        e *I,k+ isth ietw-!'- tdtu ke.'  ,-'''''''
                                                                                                 ,
                                          A,lCJY
                                                 ptvift
                                                      l
                                                      $4G# .
                                                           ,pl
                                                             :i
                                                              a tM# . >.f-.ix'
                                                                             1.
                                                                              w: VEROY  *l I-
                                                                                            'l
                                                                                             .f
                                                                                              AM$  ;.
                                                                                                    MAAk WELiX.
                                                      .   .

                              ekz NNKtm cl lilT Nià.
                                                   &Af.
                                                      )t*fek'
                                                            rtntvRfK> 4* E Cl'  l3'tAFNtlk'rhlMIAMI;ahh4*b#Avpi- k

                                      3.          An/
                                                    +it
                                                      :fe ldèkjfe        >)k.j
                                                                         '   ie kç&
                                                                                  ..k
                                                                                    .I
                                                                                     .


                                                                                                             . % jjg   % gjà
                                                                                                             t:
                                                                                                              hi:'t
                                                                                                                  :l11:
                                                                                                                      /)1
                                                                                                                        ;
                                                                                                                        kj4$'
                                                                                                                            t!
                                                                                                                             .
                                                                                                                             t)I$()::'
                                Fft.
                                   2uNt&VR:FW*1214$
                                                              1                                              i                  ,.




*




               Bk27343N M :CFN 20t0ô45167807*6/201215t32)32Pp14f3M14+*:7N.FL:




       hlp s.V/lxwwz-m iam iudadèkclerkrkq
                                         çom/Xtzbl'
                                                  icmRecqçds/pHntDàetlmentkàép.x.
                                                                                o..
                                                                                  . 'jj
                                                                                      y
                                                                                      :
                                                                                      g
                                                                                      t:
                                                                                       g
                                                                                       j
                                                                                       lj
                                                                                       !.
                                                                                        r
                                                                                        /
                                                                                        rjj'
                                                                                           (
                                                                                           4!
                                                                                           .j
                                                                                            k
                                                                                            à
                                                                                            '
                                                                                            4
                                                                                            .q
                                                                                             3
                                                                                             g
                                                                                             (;
                                                                                              .
                                                                                              k
                                                                                              !jj
                                                                                                :
                                                                                                y
                                                                                                ;
                                                                                                j.'
                                                                                                 'jr
                                                                                                   '
                                                                                                   b
                                                                                                   '
                                                                                                   :;
                                                                                                    )
                                                                                                    '
                                                                                                    .
                                                                                                    b
         Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 141 of 165
          M ie -DH eOl cialRecords-PrintDocument                                                          Page2 of3

                R




                                 4.     TK/NA ortixeene fl
                                                         kdk Ple dtTe re d l
                                                                           xe pelklee ofMlAMlec
                           W 86866:6W W O W            S'''G O G
                                         LX IQJ.BLV YNBGARDO R              ON FPART 1.ACC0D W O m
                                         TRE.
                                            N AT'
                                                ISmRPOF.ASQO M . m R ATBOOKK PAGE4GSF
                                         '
                                         nIEPUBUCKFD G OFW AMI.DADBCOUNR R œ DA.

                           * e - :*       1- -- ,*- * ,A'-uxu e +<l& efx,
                                                                        e               f- ore< e ie- %e
                           diaœ dlore   tM:oe t:r-     - .
*'
                                        TM KV SQ-      M-     - G       ' '= A> QK> .b**d* - .
                                                                                             e            b*
                           - - 1:1% ofx ru- f- are- .
                                                                                               .
                              6. n epH'   e * req+l- th.t*@*r'
                                                             lFl
                                                               'lalNe mt
                                                                       duneexêeH * .- > * Fl-'
                                                                                             xM' e
                           ph-    k çoyieslaga e l- e l e pàx
                                        A=     oRp> eo ia .v.'nh- !. MIAMI-DADE co- . rleudw *is      .    AT @f
                                                                       .'
                                                                       -
                                                                       --1
                                                                        .k
                                                    .2:10.              *     .

                                                                                  )'
                                                                                   )h- fk .
                                        gz31112                    v           x.       o- -k
                                                                   ce        rxr ld y
                            c. j. mo .
                                     ,ou jo:
                            wl-'.>* Law œxw p.u
                            P.o.- 2a* $
                            T- w FIO X .33= -JQ1$
                            Ml e - tm 1x- H *- ' lix.
                            > lz,xa-- l-




                    Bk27343Pgq.
                              ën CFN 201> 5167807m /7f1101522:32Pg2d 3Mia-DadeCY FL
                                        %.




            he s://-      Y a i-dndK lertcom* ublic-Reœ rdsa                            e mlment.a px?... 12/13/2017
     *
                                   j
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 142 of 165
 M i= i-D* Om cialRecords-PrintDocument                                   Page 3of3




             '

                                   %

                 LX Y *ILLIAMS
                 1= :.5x* kiverDxlve
                 uuau'7FL 3314,
                               F
                 FRANKI.
                       N CA TMANAIP-         K m M MON
                 l= !H- A sulw le
                 w llm -   .   #;.laxl-xzs
                 cln O'NOAWIMTAMI
                 çloM.Lyx Fhltfelqaq.
                 r 6% 125* :t-
                 Ne m -i.FL 33161
                            1
                 Mm wBLts
                 1* %* Pv< Dria
                 MIa $FL 33167




                                   $




                                   j




       Bk27% 3Pg951CFN * 1418451678Q7m6Q01015:32:32Pg3of3MimDadeCY FL




 he s://-   z.m lam ie declex coe ubûc-Reœ rdA           o oc= entae x?... 12/13/2017
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Pagezr 143Aof 165 -.- 7
 e    - >                                                             A,/ %Ve/% ' zD'
 *-        4*                                                          >   ;

 eè - & 1
 <FILEN.Me>#à1*:@1 txt
 e- m-                Flm u - =
 .m                                %

                                                                   Fïted Pursuant to qute 424:5
                                                             Regïstr4tàon Fïte No.l 333-121***
  Prospectus Svpple-ent d.ted N@*'--M-r 16# 2::5 (To Prospectus dated gay 2. 2::5)
                                              ****.75:.:::
                           RESIRFMT'
                                   ;AI ASSET SECURITIES CûRPQRATI:N

                                        M SC SERIES 2- * :3 M      T
                                                  IS*
                                       G IDY IAL FO M C-          TIO
                                             Y TER O lfG
             -        ER       -           Asr -    e    'M s--     rœ CG TIFIEATES:

 - *        œ H FIM        S
       Th* truxt *i11 conktst prœ rn y @# a v t @# - to fx r-fe ly fdxe
  rate ae e juste le rate, first ue m r.tg- te ns. T% trv:t w1.11 1*se tKre
  <1*:R : @# e à@r meetificatel, te Cu ss A Certà#icates, and nlpe cu ssel of
 '
  sue rdïe e certl#icates, t:e Ctass : Certïficates. t% t are offered under thïs
  p- - ctus se pl- t. j


       Credit enh-------t #@r the @ffered certï#irates t/nsïst: oft
       @     exeels tash #%>@ and lvertoltateratizattoll
       @        yleld matntenalce aqr-----t; and
       o
       '
                sub@r4in.tiqn 'pr@vïded tl the C1a*: k Certtfàtate: by t:e Elaf: R
                t*rtàfiiltelz and lublr#lnattpn provàded to the Ctals M çertificltes
                by eac: class o' Clals M Certifàcates wàth * l@*er plyment pràlrtty.

  Yœ -           œ I- A                  Y Te M > F-         - >         œ pe > u > > zs
  *              M             .

       œO            > ' QFO -W TES e       G C-     C* IO Iœ G         e    STATE R CM   ES
  *   *1* * A-                 n * 91* -œ M* QF N W FO CM FICATES * O  INO
  Y T THI: O R        ** -                   - * m IS M f- v > C* > . e
  O        Y ATIœ D Y C* e                  1: A CRIWM    X FY     .
       R E AY         EY - -W QF M A AV QF* Y- * < PASA œ * *- QE:
  W   *          QF TBH N FRM . M Y ne-            - m œ ;TQ M          C>      IS lM Am K .
       The *e        - riterl f#-ntàfïed below *à11 o'4er the o#feeed tertifïcates to
 'tbe pubtic. at vlrylng priies tl :e det*rKàned at t:e tïme of s*te. The prlteeds
  t@ the Aer-.lt*r Tro. the lale @# the lffered certi#itates wttt be *ppea%'œ*t*1#
  99.74* 0# tbe tertlfïcate pràntàpél batance @# t:e offered certlfïcates. be#lre
  de#-+ïng *xp@n:*:.
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 144 of 165
                                                                                                                    é-vk.>s
                                                                                                                          .-/
                                                                                                                            .
                                                                                                                            ,.
   FO          6             FU L L    D PUBLIC D ISC LO SU RE                                                         2018
 ew- p- ortypeyourna-,maigng    O F FIN A NC IA L IN TER ESTS                                              FoROFFICEUsEONLY:
mdd- -.ag-      pa- ,lnd v ltlon * 1- :

BaLi
   A
   l
   ST
   eyNA
      JME-fF
       enni
          ,
            I
            RSDTN
           er   .A
                 ME-MI
                     DDLENRe;                                                                                jj tyQ
  MAI
    LINGADDRESS:                                                                                                E SE
                                                                                                            Ft.0RI%
73W .FlaglerSt.,Room 635                                                                           C       I/ IONONF HICS
  CIW :                                    ZIP :          COUNR :
     iami                                 33130           Miam i
                                                               -Dade                                       Jtlj û7 11ï
     NAME OFAGENCY :
     diciary,11thJudicialcircuit                                                                           RECEIVED
     NAME OFOFFICEOR POSITION HELD OR SOUGHT :
  ircuitCourtJudge,Group 28
   CBECK IFTHISISAFILING BYACM DIDATE Q

                                                       PART A --NET W ORTH
     PleaseenterthevalueofyournetwodhasofDecember31,2018oramorecurrentdate.INote:Netwodhisnotca1-
     culatejbysubtradingyourreportedliabili
                                          tiesfrom yourreportedassets,sopleaseseetheinstructionsonpage3.!
              My networth as ofDecem ber31,                     1
                                                                    20 .1
                                                                        .
                                                                          8   was $ 1,639,
                                                                                       ...
                                                                                           637         .
                                                                                                                            *




                                                           PART B - ASSETS
     HOUSEHOLD    GOODS AND  PERS ONAL  EFFECT  S:
       Household gte sandpersonalefects may be reported i
                                                        n a lurnp sum iftheiraggregatevalue exr>pd:$1.
                                                                                                     X 0.This.category i
                                                                                                                       ndudesan# ofthe
       folowing,/nntheldfori
                           n- tmentpumoses:je- lry;cokedionsofstamps,guns,and numi
                                                                                 smati
                                                                                     citems;adobjects;househok equi
                                                                                                                  pmentand
       Yrnishings;cl
                   othi
                      ng;otherhoœehol
                                    dkerns;and vehi
                                                  desforpersonaluse,whemer0w1
                                                                            %$dorIeased.
       TheaggregateValtleufmyhousehddgoodsandpersonalefeds(describedabove)is$
                                                                                     150,000
     ASSET: INDM DUALLY VALUED AT OVER Sf,* 0:
 *                  DEK RIPTION OFM SET(s- 1cdecriptionisrequire -*eeinstnmtionsp.4)                                VALUEOFASSET
 16182 SW 73rd Place,Palmetto Bay,FL                                                                             940,000




                                                         PART C .- LIABILITIES
     LIABILITIES IN EXCESS  OF $
                     NAM E AND  1.e (**--
                               ADDRER     insCREDI
                                        .OF  truçtioTOR
                                                    nlon paqe 4):                                                 AMOUNT OF LIABILITY
     odgâge,W ells Fargo,P.O .Box 14411 Des M oines,IA 50306                                   '                  222,000
     BT Homè Equity Loan,Box 580048,Charlotte,NC                                                                  6033


     JOINTAND SEVERAL
                 NAMEUABI
                      ANDLI
                          TIES NOTOF
                         ADDRESS   RECREDI
                                     PORTED
                                         TORABOVE:                                                                AMOUNT OF LIABILIW

                                          %



  . cs Fo      Ew:
                 )r vmurz.t
                          /40
                            .)g                                 (
                                                                conda- ()
                                                                        nrever
                                                                             seskw                                               PAGE1
          JCC-by
      IIw P     y rer..       .
                              tm(1),ç'
                                     A.c.
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 145 of 165
                                                                                                                    *'t./
                                                                                                                        )t
                                                                                                                         V-/
                                                                                                                           '. l
                                                   PART D - INCOM E
  l
  denti
      N ea& separateseufceandamountofi
                                     noomewhie exceede $1,000duri
                                                                ngtheyear,indudingseœndaryKurcesofincome.Oraqadlacemplete
 *copyofymlr2018e Ofinxme taxretumyi ndudi
                                         ng aIM s.ftnlwduKs,andatta& ments.Pl
                                                                            eav redad anyse alR JI
                                                                                                 A Jrar.rAmtnumbersbefore
     attacbing xourreturns,asthe 1- Y uiresthese documentsbepos'ted tothe Commiuion'swebsite.

     Q      t etwd to:l
                      eacopyofmy2018Vderali nœmetaxfetufnandaIIY 's,sdledules,anda:achments.
            I1fyx checkthisboxandattachacopyofyouf2018taxretum,youIzeednotcompletethefemainderofPadD.
                                                                                                    1
     PRIMARY SOURCES OF INCR E P a
                                 *,
                                  *instructionson page 5):
       NAME OFSOURCE OF INCOME EXCEEDING $1.000                           ADDRESS OFSOURCE OF INCOME                         AMOUNT
 State ofFlorida                                          . 0 E.Gaines St.,Tallahassee,FL32399                           160,688

     SECONDARYSOURCES OFINCOMEIMajorcustomers.di
                                               ents,etc..ofbusinessesownedbyreportingperson-seeinstructionsonpage5):
             ' NAME OF                     NAMQ OFMAJOR SOURCES                        ADDRESS                    PRINCIPALBUSINESS
             MUSI
                NESS ENTI
                        TY                   OF BUSINESS'INCOME                       OF SOURCE                   ACTM W OF SOURCE

 n/a

                                 PAm 'E - INTERESTS IN SPECIFIED BUSINESSES (Instructionsonpxge61
                                          BUSINESS ENNR # 1                   BUS#NESS ENTIR # 2              BUSINESS ENNW #3

      NUSI
      BAME
         NES
           OFSENTIW                 /3    j
       ADDRESS QF
       BUSINESS ENTITY
      'PRINCIPALBUSINESS
       ACTM TY
     . POSITION FIELD
       N TH ENTITY
       l0% MORE THAN A5%
       INTEREST IN THE BUSINESS
       NAD RE OF MY
       OM ERSHIP IG EREST
                                                              PART F -TRAINING
 '
                         Foromcersrequired to compl
                                                  ete annualethicstraining pursuantto sedion 112.3142.F.S.
            '               Q lCERTIFY THATIH'AVECOMPLETED THE REQUIRED TRAINING.
                              OATH            .
                                                                     svxux
                                                                     co wwo,oF
                                                                             ,uomo. -     ./% , 'B . - (    j.jo(.
         1,t- X soneosenameapNarsafthe                               swomto(ora/mxxd)andsubscribedbeforernethis Y  dayof
         oioni
             ,xofthisform,doxpor.eonoat:oramrma,on                       t)of<,
                                                                              -            pnG tv xle.nfx$
                                                                                                         .fec 0, 1: cvl
         and saythattl
                     ei nformationdi sdosed on,thisfcnn   .                                   R        .. .
         andarl attaGhfx     kilsefz%kv. .       INYAM.tA.
                                                 .       A%1          Si
                                                                       gna        l       i
                                                                                          c--staleQfFlori
                                                                                                        da)
         andcom- . L          'r z% L'YCOMMKV C       ON#GG:18141      ;x        à   jaw.                          y..
                   I-
                    '
                    è
                    5
                    V.-'' .
                          kJ E
                             xp
                       ;ytP 2-'
                              l l
                                q Es:n
                               'K-usrk
                                     - -
                                     i..
                                       '  x ra,
                                              2:
                                               s
                                       vpubktl- a Pri
                                                    nt,làpe,orstampcommj
                                                                       ss
                                                                        joo
                                                                          edxa
                                                                             meo
                                                                               fko
                                                                                 ta
                                                                                  -
                                                                                  o
                                                                                  ' P
                                                                                    uxc)
             NATURZ REPORM G OFFIQAL R ANDIDATE            'W X OfIdenGfi           ed f-
                                                                        cationProduc,    t-h i tlûo '.y.-7'p/ô
         fa certified publ
                         ic accountantl
                                      iœ ne rChapter473.orattorney i
                                                                   n good standing wi
                                                                                    thme Florida Barpreparedthisform foryou.he or
         she mustcompkte mefoll- ing s*tement:
         1,                                                         prepared the cE Form s j
                                                                                           n accordanca wi
                                                                                                         thM .11 sec.8,Flori
                                                                                                                           daconsti
                                                                                                                                  tution,
         section112.
                   3144,Flori
                            dastatutes,andtheinstructi
                                                     onstoéeform.uponmyreasonableknowe geand-liei,thedisaosureheœinI
                                                                                                                   strue
         and x rrect.                     &


                          si
                           gnature                                                            Date
 -
         Preparstltm oftvisform bya cPA orattorneyd---notrelievetbesleroftKerespoltsibilitytosigntheform undeeoath.
                IFANYOFPARTSATHROUGH EARECONTINUED ON A SEPARATE SIIEET,PLEASECHECK HERE Q
                                                                                                                                      PAGE 2
         c
         ne
         ltoF
            foRM6.
             >qtedWE-
                    refefc.
                      er  l>m Ru*
                                1.
                                 :m4
                                  *'69
                                     X 2(1).F.A.
                                     .         .
                                               C.
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 146 of 165
                                                                            l               E$k'lU
                                                                                                 -.ple5
                                                                             q ufpo Foqlm
                                                    PRO C ESSED                      X-I
                                                                                       /ONDNFHCS
       Form 6A.DisclosureofGifts,ExpenseReimbursementsorPayments,andW ajjjrjpajj
                                           ofFees and C harges
                                                                                    RECEIW D
              A1ljudicialoffkersmustfilewith the FloridaCommission on Ethics alistofa11
       reportablegiftsaccepted,andreimbursementsordirectpaymentsofexpenses,andwaivers
       offeesorthargesaccepted from sourcesotherthanthesmteorajudicialbranchentity as
       defined in Florida Rule of Judicial Administration 2.420(b)(2)sdtring the preceding
       calendaryear asprovided in Canons5D(5)(a)and 5D(5)(h),Canon 6A(3),and Canon
       6B(2)ofthe Code ofJudicialConduct,by date received,description (including dates,
       location, and ptrpow of event or activity for which expenses,fees,or charges were
       reimbursed,paid,orwaived),source'snnme,andsmountforgiftsonly.
       N am e:lenniferD.Bbiley                       -
                                                         W ork Telephone:305-349-7152   -




       W ork Address:73 W .FlaqlerSt.,Room 635            JudicialO ffice H eld:Cir.Ct.Judge

           1. Pleaseidentify al1reportable gifts.bequests,favors,orloansyou received during
               theprecedingcalendaryear,asrequiredbyCanons5D(5Xa),5D(5)(h).and6B(2)
               ofthe Code ofJudicialCopductz
           DA TE               D ESCRIPTION                  SO UR CE              AM O UN T
                       n/a
                                -
                                          .                                      $
                                                                                 $
                                                                                 $
                                                                                 $

                               U1 Checkhereifcontinuedonseparatesheet
                               %
               Ple%eidentifya1lreportablereimbursementsordirectpaïmentsofexpenses,and
               waiversoffeesorchargesyoureceiveddtzring thepreceding calendaryear,as
               requiredby qanons6A(3)and6B(2)oftheCodeofJudicialConduct.
            DATE                         DESCRIPTION                           SOLTRCE
                         (lncludedates,location,andpurposeofeventor
                          activity forw hich expenses,fees,orcharges
                                werereimbursed, aid orwaived
                        see attached




                               Z      Checkhereifcontinuedonseparatesheet
                                    C O N TIN U E TO PA G E 2 FO R O A TH

        Fbrm JA 3/19                             Page 1 of2 ,
        AsAmendedby.W 18-648    :
                                                                                                  5   f
                                                                                                      j '6
                                                                                                         :
                                                                                                         .
                                                                                                         p<
                                                                                                          '''
                                                                                                            -
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 147 of 16551
                                                                                  05
                                                                                   :
                                                                                   0
                                                                                   1k/X* l'
                                                                                          '
                                                                                          -
                                                                                          S--'
                                                                                             *-'

                                                                                                        flq
                               %

                               $
                                               M
       State ofFlorida

       County ofMiami-Dade
       1,JenniferD.Bailey              ,thepublicofscialfiling thisdisclosurestatem ent,
       being firstduly sworn,do deposeon oath and say thatthe factssetforth in the above
       statementaretrue,c ecq       com pletetothebestofmy knowledgeand belief.
                       +                   .




        (S' atureo Reportiag Oftkial)

        (SignatureofOftkerAuthorizedtoAdministerO           Ls?i
                                                               s.
                                                                'b
                                                                 Tt       LXDAM.twuAul
                                                                                      .
                                                        /i- --
                                                        v    3
                                                             ,: MycovveaoN#coa:s!4:
        M yCommissionexpires                            ..
                                                        1o
                                                         :, ' .
                                                              k)I upass:rw.
                                                                          wmxrz,zczc
                                                        IYo'
                                                        !
                                                        .
                                                           tjyyjte seriezIhrusczar
                                                                                 ypuxzuxterwri
                                                                                             ea
        Sworn to and subscribed beforemethis
                                   1
                  &                dayor x)oh.      ,2(,Iç




                                       %

                                   %




        Fotm 4X 3/19                           Page 2 of2
        g1>Amendedây5C18-648
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 148 of 165
                                                                                       > t4
                                                                                           (/.5
         Reim bu- m ent/Direu Pavm ent Disclosure.2018             Jennifer D.Bailev
     '
         bate: Janual 17-19,2018
         Doe ription: Faculk ,NationalCenterforState CouA : CivilJustice Initiative
         lm plem enu ton w orkshop,Phoenix,M
         Yravelreimbursementordired payment:airfare/meals/hotel$1096
         Source: NationalCenterforState Courts


         Date:Aqrll18-20,2018
         Dex rie lon: Boar# ofAdvisorsMeeting,InstitutefortheAdvancementofthe
         Am erican LegalSyqtem : Denver,Colorado
         Travelreimbursementordired payment: airfare/ground
         transpoda:on/meals/Rebuilding Justice Dinner: $795
         Source: lnstitute forthe Advancementofthe American LegalSystem

         Da
         Dete: Aqril24-
             ripton:  27,2d01
                      Boar   8Advisors,InA itute forCou/ M anagem ent;Board of
                            of
         Diree na M eeting,NationalCenterforState CouA Boad of Di- no
         W illiam sbuo ,VA
         Travelreim bursem entordired pàym entinduding airfare,hotel,transportation
         'registration,meals and events: $*
                                          1467.38
         R uc e: NationalCenterforState Courts


         D>*o: May 2-4.2018
         De dpuon: Facull ,Ine*hern CivilJustice Sum m it: CivilJustice Initiative,
         LM le Rx h AR
         Travelreimbursementordired payment:airfare,ground transpooation,hotel,m eals
         and events                                          $791.80
         Source:NationalCékterforStateCouA /stateJusticelnstitute

             Da
             net
               e: Jpt
                 ri ujlon:
                        16-2Boae
                            2,20d18ofDio e no M eeting,NationalCenterforState CouA
             Board of Dire nO Meeting held w ith Conference of ChiefJue ices and
             Conference ofSo te Cou/ Adm inistratorsAnnualMeeting,New N G Rhode
             Island
         Travelrelmbursemeqtordired payment:airfare,ground transportation,hotel,
         conference registration,mealsand evenY: $2276.62
             Source: NationalCenterforState CouA

             Date: August29-30,2018
         .
             De ription: IAAts.NaturalDiscovea Disaster Protocols Com m iu ee
             Travelreimbursementordired payment:airfare,ground transportation,meals:$748
             O ux e: Institute forthe Advancem entofthe Am erican LegalSystem




                                œ
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 149 of 165
                                                                                   y:.t
                                                                                      j.
                                                                                       (
                                                                                       j
                                                                                       g
                                                                                       i
                                                                                       )
                                                                                       j
                                                                                       r
                                                                                       :.
                                                                                        ;
                                                                                        j
                                                                                        (
                                                                                        -
                                                                                        ,
                                                                                        4.
                                                                                        .j
                                                                                         )
                                                                                         '
                                                                                         ,
                                                                                         à
                                                                                         f
                                                                                         q
                                                                                         :
                                                                                         k
                                                                                         ï-
                                                                                          ..
                                                                                           .




                                                                                        ft.k

     Date: A ptem ber27-2* 2Q18
     DeR ription: Publk True and Confidence in the Judiciaa W orkshop,
     InA itute forthe AA ancem entofthe Am erican LegalSyeom ,Denver,CO
     Travelreimbursementordired payment: airfare/ground transportation/meals: $664
     Sourcm Institute forthe Advancementofthe American LegalSystem

     Date: Odober18-19,2018
     DeR ription: Board ofAdvisors M eeting,lnstitute forthe Advancem entofthe
     Am erican LegalSystem : Denver,Colorado
     Travelreimbuc mentordlred payment: alrfare/ground transportation/meals: $861
     Source: lnstitute fo4the Advancementofthe American LegalSystem


      Daa : November13-17,2018
      Description: o--rd of Dire oO M eeting,NationalCenterforSo te Coue
      Boae ofDire no M eeting held w ith Conference ofChiefJue ces and
     Conference ofState Coud Adm inistrators Meeting,W ashington,D.C.: Yravel
      reimbursem entordirectpaymentIncluding airfare,hotel,conference registration,meals
      and RehnqulstDinne:and evenl: $2685
      O urce: NationalCenterforState Coue

      Date: November27-!8,2018
      Description: Ncsc/Tennessee Adm inie rative Om ce ofthe CouA Curriculum
      Developm entW orkshop: im plem eno tion and m anagem entof business
      couA ,paœ cipant;Nashville,TN Travelreimbursementordired payment:
      aie re/ground transm rtation/meals $621.49
      R urce: SoteJustice lnstltutes ennessee Administrative Office ofthe Courts
      Date: Decem ber 12,2018
      e dpb-on. . Florida Assoclation ofW om en Lawyers,Miam iChapter,35* Annual
      JudtlalReception,Miâml,Florida:. Complimental tlcket: $95 advance,$85
      government,$150 atdoor
      Source: Florlda M soçiation ofW omen Lawyers,Miamichapter

      Date: Decem ber 15,2018
      D- ription: American Board ofTrialAdvocates AnnualBoard Investiture and Holiday
      Event,Miami,Florida: ccmplimental ticketsforjudge and spouse: $350
      source:AmericanBbardofTrialAdvocates,MiamiChapter
                          %
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 150 kof
                                                                            j.. 165


                                1::2                          .111LTE * '
                                                                                    ,j.w.4,
                                                                                       .

                                                                                          s
                                                                                          O
                                                                                          j
                                                                                          .
                                                                                          s
                                                                                          y.;
                                                                                           .




                    ,.-,...,
                  .-.      ..
                            ,                                               @
                           ,
                           .
                           -j::y
                             ; ;
                               kjr
                                 ,
                                 jj
                                  ,
                                  t,
                                   j
                                   !E
                                    j,j                                     @
                                                                            @
              E
              (
              j
              .
              p)
              .
                  ;
                  j
                  ! ''
                  -  -                                  j
                s>' https:/jfintel.io >us >uSb >blackroc j
              :.:                           .            ;
                                                         :
                                                         y

              BlackRock Inc.ow nership in USB /
              U.S.Bàncorp.-13F,13D,13G Filings
              (US:USB).This represents6.6 percent
              ow nership ofthe com pany.In theirprevious filing
              dated 2022-02-01 ,BlackRock Inc.had repode...
                                   %
                  M issing:n--'+--n- lM ustinclude:Deutsche
                                                                            *
                                                                            *
                  https://fintel.io >us >blackrock                          *

                  BlackRock lnc.ow nership in D B /
                  Deutsche Bank AG - Registered
                  Shares
                  2021-0:-29 -BlackRock Inc.has filed an SC
                  13G/A form withthe Securitiesand Exchange...

                     ... .                                                      +
                   ,
                   p
                   ;
                   ) :t  yahoo Finance                                          *
                                                                                @
                      ;.
                       xi
                        swq
                                htt> :j/finance.yahoo.com >neWs

                   BlackRock's Laurence D.Fink to
                   Present at the 2023 D eutsche Bank
                   G lobalFinancial...
                    M ay 17,2023 - NEW YORK,May 1% 2023--
                     BlackRock Inc.(MYSE:BLK)today announced
                    that Laurençe D.Fink,C hairm an and Chief...
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 151 of 165
                                                                                                                                                                                       ?F g
                                   2:94                                                                                               .111Bœ              - '




                 iyy,
                    r
                    :.
                     ,
                     '
                     ?t,y,)
                          ti Busjness W ire                                                                                                                             *
                                                                                                                                                                        *
                  :
                  '
                  kx;:
                     ,
                     .
                     7' https://www.businessWire.com >home

                 J.P.M organ Selected by BlackRock
                 asCustodian f:rOver$1Trillion of
                 A ssets
                 Jan 25,2017 - J.P.M organ's Corporate &
                 Investm ent Bank today announced thatithas
                 * en selected by BlackRock,a globalIeader in...


                 '
                 rJ'ty
                     r $ % *                              .
                                                              D*                                                                                                        *
                                                                                                                                                                        *.
                                                                                                                                                                        *
                          qL?
                   '4:
                     v
                     .
                     z
                     gi. ww w .bankingdive.com

                  O klahom a restricts BlackRock,
                  JpM organ,BofA ,W ells,State Street
                  May 8,2023 - BlackRock the world'sIargest
                  assetm anager,has found itselfa com m on target
                  in the EM fight.O klahom a's Iistshow s State...
            tî.l
               r'f
                 ;t
                  k
                  (
                  .
                  êi
                   'i
                    ï
                    l
                    rt
                     i
                     tl
                     s)
                      l1
                      .(
                       2;
                        .î
                         'f
                          'ëh
                            /
                            q
                            ti
                            ltb
                              ltl
                                #1
                                 .l
                                 ':
                                  r
                                  .J
                                   :
                                   ;k
                                   ,'î
                                    tj
                                     f-,
                                     q
                                     l ..
                                        )(
                                         .,'..
                                             (
                                             ï;
                                              q
                                              .
                                              !
                                              - y:.
                                               r: ïl'
                                                    fj'!.
                                                      .'',
                                                        (r:
                                                          ..
                                                           yr.
                                                             :'.è...
                                                                   t.
                                                                    f,
                                                                     y.
                                                                      '),jj,
                                                                      :    (..:r. ..
                                                                                   :).:.>..:
                                                                                           .
                                                                                           ().'7(.
                                                                                             tl  ;.
                                                                                                  :
                                                                                                  .
                                                                                                  'C
                                                                                                   .
                                                                                                   ë
                                                                                                   (q(..y.
                                                                                                         ).!j(.'t;.).E... ' .
                                                                                                            ;'              ''''''.
                                                                                                                                  '...
                                                                                                                                     ''-',
                                                                                                                                         '..'''.   ''.
                                                                                                                                                     '''..
                                                                                                                                                         '.
                                                                                                                                                          r'.
                                                                                                                                                            '
                                                                                                                                                            :
                                                                                                                                                            ''
                                                                                                                                                             ..
                                                                                                                                                              ').
                                                                                                                                                                :..g';(
                                                                                                                                                                      ?
                                                                                                                                                                      .
                                                                                                                                                                      t'.
                                                                                                                                                                        ''.
                                                                                                                                                                          ')
                                                                                                                                                                           ''.
                                                                                                                                                                             ';
                                                                                                                                                                              1'''
                                                                                                                                                                                 :''
                                                                                                                                                                                   ;


                       .
                       ,
                       c,t a  p.M oroan
                           v ''     u   & co.
                                   h/ps://am lpmorgan-com >a:v yujos

                   JenniferW u lJ.P.M organ A sset
                   M anagem ent
                   Priortojpining J.P.Morgan,Jenniferwas
                   resm nsible forleading the effod ofcreating
                   innovative investm entsolutions and analytics a...


                   .
                   #
                   /.,,:,
                        4.
                         ,
                         .
                         )) u nkedln                                           -

                      :0:;.J httqs://www.linkedin.com >hope-m...
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 152 of 165

                                                        3:68                                                                                                                                                                                                                               .11jl
                                                                                                                                                                                                                                                                                               p LTE                                                            $'
         '



                                                                 j '' .                                                         ..                                                                                                                              '.
                                                                 E.                                                            .:((
                                                                                                                             . .
                                                                                                                                  ëE
                                                                                                                                  .(j
                                                                                                                                   tEJ
                                                                                                                                     'i                                                            ''                                                        ï:
                                                                                                                                                                                                                                                             r
                                                                                                                                                                                                                                                             EE:
                                                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                                                i..                                                           .




                                         G'> ,, :i     4
                                                       .4:
                                                         tm p4#. 4'
                                                                  ''IEWS'
                                         Il,1
                                            l1
                                             p11'
                                                Jp1
                                                  ;' . .
                                                       !! ' .'11.
                                                                tt
                                                                 1p
                                                                  .
                                                                  k
                                                                  '
                                                                  *'/jt
                                                                      !
                                                                      i11)
                                                                         p
                                                                         .
                                                                         1p
                                                                          4'11t
                                         Y1 !' tV lm
                                          '.:% w. G ç>*.- >                  ,
                                                                                             U +e*                                                                             a Qp j#   .
                                                                                                                                                                                                                                                                                                                pe. caa ;wxj
                                                                                                                                                                                                                                                                                                                ,
                                                                                %                                                                                                                                                                                                                                   .' 4 v;
                                     #                                       ,A                                                                                                                                                                                                                                    .,                        W                  w
                                                                                                                                                                                                                                                                                                                                                                )#
                                    ' .:                            z: .
                                                                    :                                                                                                                                                                                                                                           '
                                                                    '                                                               '.         .
                                                                                                                                               :
                                                                                                                   G .*                                                                                                                                                                                       ..
                                                                                                                                                                                                                                                                                                               .. .
                                                                                                                                                                                                                                                                                                                    ''
                                                                                                                                                                                                                                                                                                                    ..,: 4 #
                                                                                                                                                                                                                                                                                                                     qJt
                                                                                                                                                                                                                                                                                                                       jk, *2 <o
                                                                  *                                                                                                                                                                                                     0. *
                                                                                                                                                                                                                                                                           *Y$                                      -*.> os *:f 'V
                                                                                                                                                                                                                                                                                                                              * %
                                                                                                                                                                                                                                                                                                                                ,':
                                                                                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                            ww.                                                                #                     's
                                    .
                                                j(
                                                 q
                                                 :
                                                 j
                                                 1j
                                                  ,
                                                  1
                                                  jrr
                                                   '
                                                   ,'
                                                    @
                                                    ;
                                                    1
                                                    j;
                                                     7
                                                     :
                                                     :      'j
                                                      ., .... jç jpjt.
                                                                 ,
                                                                     i,
                                                                      >.v
                                                                        v                    .            . .                        ajj,
                                                                                                                                        4wk$jjr so-.jx.r1dj1jr>
                                                                                                                                                              l11.
                                                                                                                                                              .    (. -'...'.
                                                                                                                                                                 ?'.         w1
                                                                                                                                                                            ..
                                                                                                                                                            .

                                                                                                                            *-->.
                                                                                                                                *-#
                                                                                                                                  ,
                                                                                                                                  .ïjoa'j.           .              j




                                                      .. .. :;.     - #* ' >'.' 'k,s.                                                                                                                                                   ' t.. . ........
                                                                                                                                                                                                                                                       :.
                                                                                                                                                                                                                                                        :.
                                                                                                                                                                                                                                                         :.
                                                                                                                                                                                                                                                          :.
                                                                                                                                                                                                                                                           :.
                                                                                                                                                                                                                                                            '.:
                                                                                                                                                                                                                                                              .Fn-z.-::-srve44.sz,
                                                                                                                                                                                                                                                                                 >.
                                                                                                                                                                                                                                                                                  ,>.
                                                                                                                                                                                                                                                                                    .
                                            4t4#A##'
                                                   1 .. ...' :, 44'
                                                                :.
                                                                   *4    1. z.' :   .                                                                                                                                                                           * ,                                    .
                                                            ... ..                         N                 j. .' .                                                            -,.                                                                         '. .                                         #.                                                                         ..
                                                                                                                                                                                                                                                                                                                                                                                     ''*' :.
                                            e #* >*rt+
                                                     . *4!   e ..  #.
                                                                    -*.#'
                                                                        *:#**,
                                                                             :i4i
                                                                             i  *)*)*#.:*t
                                                                                         '
                                                                                         W *k.- #'
                                                                                         .          #**4*--
                                                                                                          ' ?#%:- **
                                                     . #'''-*A**œ G #% j*j8u8#. +? L,
                                                                                    #WA:u ##4.+34* %w#jljW +
                                                                            jy
                                                                             .
                                        j  .
                                                                                                             . .                                                      ''-                                                         K#.
                                                                                                                                                                                                                                    ,.   :. : .,j
                                                                                                                                                                                                                                     t.eX b . /:, * y
                                                                                                                                                                                                                                            4 ,
                                                     #                                    jo                                                                          .                                                         xm .El        rj y .
                                            lpE
                                              j                                 V h :;                                                                '


                                            .
                                                   :                       '.                                .        .
                                                                                                                             mE                                           ' .'
                                                                                                                                                                          .  '
                                                                                                                                                                              j$ y
                                                                                                                                                                             em
                                                                                                                                                                                 ,x ' j
                                                                                                                                                                                      e.wves              '               ''                                                                      .                                     y> .
                                                                                                                                                                                                                                                                                                                                      yszw
                                                                                                                                                                                                                                                                                                                                         ,b
                                                                                                                                                                                                                                                                                                                                          -j,j,Fjs.
                                                                                                                                                                                                                                                                                                                                                  k.s.às..
                                                                                                                                                                                                                                                                                                                                                         4..:.
                                                                                                                                                                                                                                                                                                                                                             :..                  o
                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                      jj                                 yy                     &                                               Akj
                                                                                                                                                                                                                                                                                  .                                           .,                   ',E
                                                                                                                                                                                                                                                                                                                                                     ,:
                                                                                                                                                                                                                                                                                                                                                      .                                .
                                             ..
                                              y                          7....                                                                                    ...
                                    ;à             .                * *     .:                              .hhz. 'z.:
                                                                                                                hhz  ''           >+#+ .6.
                                                                                                                                         >+- :'                                                                                  &u                                  j/                              o.                                 h?pe . ,
                                                                                                                                                                                                                                                                                                                                      Qjà      .
                                                                                     jSAJ ,
                                                                                          $**
                                                                                           3                                                                    KN.
                                                                                                                                                                  .v*
                                                                                                                                                                    .
                                                                                                                                                                    A+*'.
                                                                                                                                                                        t
                                                                                                                                                                        m.* . **- m**,
                                                                                                                                                                                     ++.
                                               4:> ej
                                                                                                                                    *                                          .44.1
                                                                                                                                                                                   55                  '*
                                                                                                                                                                                                                                                                                                    sj

                                                                                                                                                                                                                                                        :             :
                                                                                                                                                                                                                                                                      #:#                           ..
                                                                                                                                                                                                                            1 * -/.
                                                                                                                                                                                                                            4
                                                                                                                                                                                                                                 '.h *#'
                                                                                                                                                                                                                                       .-t .
                                                                                                                                                                                                                                                  '                 ,, .                                                                                   je
                                                                                                                                                                                                                                                                                                                                                            j
                                                                                                                                                                                                                                                                                                                                                            a
                                                tYea!'- -*E*'##*1.
                                                                 ** - tl*trk'!p4rt
                                                   e.,
                                                     ,,
                                                      i:w ..                                                                                                                                                                                                                                                                      < # *.
                                                                                                                                                                                                                                                                                                                                ejae




                                              2:;.'k ''
                                                      g':.
                                                         ::
                                                          J.
                                                           J:'
                                                           :  j.
                                                               J:
                                                               :
                                                               ')q''
                                                                   ('
                                                                   )f;ïj g.
                                                                          !.
                                                                           r.
                                                                           t
                                                                           J)ï
                                                                             'j:
                                                                             t J..y
                                                                                  g:):
                                                                                     (:j
                                                                                     )    :j
                                                                                           .;
                                                                                           , :'
                                                                                             ,.',''.'
                                                                                                    J''
                                                                                                      ë:
                                                                                                      :J:
                                                                                                        ë:
                                                                                                         ë:
                                                                                                          g:
                                                                                                           jq.
                                                                                                             jg(r.
                                                                                                             (     )t
                                                                                                                    .é
                                                                                                                     ;$
                                                                                                                      ï'
                                                                                                                       5'
                                                                                                                       j
                                                                                                                       .Elj
                                                                                                                          )'
                                                                                                                           j(L;â
                                                                                                                               j:
                                                                                                                               .(J
                                                                                                                                 k.(!Jj;j
                                                                                                                                 u       (j
                                                                                                                                          4'j
                                                                                                                                            L'.,
                                                                                                                                               ..'s:  jy):
                                                                                                                                                         jJj;:.:
                                                                                                                                                               'y.4:E:
                                                                                                                                                                     Et
                                                                                                                                                                      :t
                                                                                                                                                                       EJ
                                                                                                                                                                        .pj(Jj
                                                                                                                                                                          .  ..'
                                                                                                                                                                               ::::j
                                                                                                                                                                                   Eq
                                                                                                                                                                                    (E
                                                                                                                                                                                     j:
                                                                                                                                                                                      j:
                                                                                                                                                                                       j àt
                                                                                                                                                                                          .::':
                                                                                                                                                                                           .  '':'jE
                                                                                                                                                                                                   ëE
                                                                                                                                                                                                    j
                                                                                                                                                                                                    iE
                                                                                                                                                                                                     :
                                                                                                                                                                                                     i:j
                                                                                                                                                                                                       iE
                                                                                                                                                                                                        j
                                                                                                                                                                                                        ::
                                                                                                                                                                                                         j
                                                                                                                                                                                                         E:
                                                                                                                                                                                                          i;:
                                                                                                                                                                                                            h;  :J
                                                                                                                                                                                                                 ''
                                                                                                                                                                                                                  :
                                                                                                                                                                                                                  .'
                                                                                                                                                                                                                   q'
                                                                                                                                                                                                                    ::
                                                                                                                                                                                                                     E
                                                                                                                                                                                                                     ë:
                                                                                                                                                                                                                      li
                                                                                                                                                                                                                       :
                                                                                                                                                                                                                       :i
                                                                                                                                                                                                                        E
                                                                                                                                                                                                                        i:E
                                                                                                                                                                                                                          ë:
                                                                                                                                                                                                                           i.
                                                                                                                                                                                                                            J
                                                                                                                                                                                                                            ë.c.
                                                                                                                                                                                                                               '
                                                                                                                                                                                                                               '.
                                                                                                                                                                                                                                ''
                                                                                                                                                                                                                                 ''
                                                                                                                                                                                                                                  .: ..
                                                                                                                                                                                                                                      4
                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                      i1
                                                                                                                                                                                                                                       i:
                                                                                                                                                                                                                                        i);
                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                          i:
                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                           ''
                                                                                                                                                                                                                                            ':J
                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                              ''
                                                                                                                                                                                                                                               $
                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                               ';)F
                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                  .:
                                                                                                                                                                                                                                                   é7'
                                                                                                                                                                                                                                                     ê'
                                                                                                                                                                                                                                                      5:
                                                                                                                                                                                                                                                       >
                                                                                                                                                                                                                                                       ;j-4
                                                                                                                                                                                                                                                          t
                                                                                                                                                                                                                                                          .:
                                                                                                                                                                                                                                                           r.
                                                                                                                                                                                                                                                           Et
                                                                                                                                                                                                                                                            .l
                                                                                                                                                                                                                                                             q
                                                                                                                                                                                                                                                             .:l
                                                                                                                                                                                                                                                               fti'
                                                                                                                                                                                                                                                                  i''tit k
                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                         .'
                                                                                                                                                                                                                                                                          1'
                                                                                                                                                                                                                                                                           I8: !'
                                                                                                                                                                                                                                                                                t'
                                                                                                                                                                                                                                                                                 èt
                                                                                                                                                                                                                                                                                  '(
                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                   J:
                                                                                                                                                                                                                                                                                    q
                                                                                                                                                                                                                                                                                    -;
                                                                                                                                                                                                                                                                                     sL
                                                                                                                                                                                                                                                                                      :k
                                                                                                                                                                                                                                                                                      .($9
                                                                                                                                                                                                                                                                                         3
                                                                                                                                                                                                                                                                                         ?.
                                                                                                                                                                                                                                                                                          i7
                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                           !'
                                                                                                                                                                                                                                                                                            t'
                                                                                                                                                                                                                                                                                             ijè:
                                                                                                                                                                                                                                                                                                $
                                                                                                                                                                                                                                                                                                $6
                                                                                                                                                                                                                                                                                                 i1
                                                                                                                                                                                                                                                                                                  sL
                                                                                                                                                                                                                                                                                                   ':
                                                                                                                                                                                                                                                                                                    -7
                                                                                                                                                                                                                                                                                                     -,
                                                                                                                                                                                                                                                                                                      4
                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                      /
                                                                                                                                                                                                                                                                                                      $
                                                                                                                                                                                                                                                                                                      -J
                                                                                                                                                                                                                                                                                                       r'
                                                                                                                                                                                                                                                                                                        )
                                                                                                                                                                                                                                                                                                        f:
                                                                                                                                                                                                                                                                                                         ):
                                                                                                                                                                                                                                                                                                          (
                                                                                                                                                                                                                                                                                                          ,â
                                                                                                                                                                                                                                                                                                           -:
                                                                                                                                                                                                                                                                                                            E:(
                                                                                                                                                                                                                                                                                                              ;'
                                                                                                                                                                                                                                                                                                               1
                                                                                                                                                                                                                                                                                                               ,(
                                                                                                                                                                                                                                                                                                                l
                                                                                                                                                                                                                                                                                                                '(
                                                                                                                                                                                                                                                                                                                 7
                                                                                                                                                                                                                                                                                                                 Eô
                                                                                                                                                                                                                                                                                                                  2'
                                                                                                                                                                                                                                                                                                                   t)
                                                                                                                                                                                                                                                                                                                    ;i
                                                                                                                                                                                                                                                                                                                     'ëè
                                                                                                                                                                                                                                                                                                                       i.
                                                                                                                                                                                                                                                                                                                        (
                                                                                                                                                                                                                                                                                                                        q: (
                                                                                                                                                                                                                                                                                                                           :$'
                                                                                                                                                                                                                                                                                                                             E
                                                                                                                                                                                                                                                                                                                             l(
                                                                                                                                                                                                                                                                                                                              E
                                                                                                                                                                                                                                                                                                                              :.E.
                                                                                                                                                                                                                                                                                                                                 E
                                                                                                                                                                                                                                                                                                                                 ':)j
                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                    'J;i@
                                                                                                                                                                                                                                                                                                                                       S
                                                                                                                                                                                                                                                                                                                                       tëS
                                                                                                                                                                                                                                                                                                                                        Ii,
                                                                                                                                                                                                                                                                                                                                          iE
                                                                                                                                                                                                                                                                                                                                          I
                                                                                                                                                                                                                                                                                                                                          j  iE
                                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                                             l:E
                                                                                                                                                                                                                                                                                                                                              S
                                                                                                                                                                                                                                                                                                                                              ë !E
                                                                                                                                                                                                                                                                                                                                                : iE
                                                                                                                                                                                                                                                                                                                                                  '   ':
                                                                                                                                                                                                                                                                                                                                                      E
                                                                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                                                      . J''''
                                                                                                                                                                                                                                                                                                                                                            ï;ë
                                                                                                                                                                                                                                                                                                                                                              (i
                                                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                                                              ''i
                                                                                                                                                                                                                                                                                                                                                               1':
                                                                                                                                                                                                                                                                                                                                                                f
                                                                                                                                                                                                                                                                                                                                                                ';i
                                                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                                 f
                                                                                                                                                                                                                                                                                                                                                                 ' jf
                                                                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                                                                   f
                                                                                                                                                                                                                                                                                                                                                                   '':
                                                                                                                                                                                                                                                                                                                                                                    E
                                                                                                                                                                                                                                                                                                                                                                    ; ::
                                                                                                                                                                                                                                                                                                                                                                      E
                                                                                                                                                                                                                                                                                                                                                                      ;E.
                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                       ' E'
                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                         '(i
                                                                                                                                                                                                                                                                                                                                                                          :.' t:
                                                                                                                                                                                                                                                                                                                                                                              y
                                                                                                                                                                                                                                                                                                                                                                              'lE
                                                                                                                                                                                                                                                                                                                                                                               'j(
                                                                                                                                                                                                                                                                                                                                                                                l
                                                                                                                                                                                                                                                                                                                                                                                :q'
                                                                                                                                                                                                                                                                                                                                                                                 ïli
                                                                                                                                                                                                                                                                                                                                                                                   '.
                                                                                                                                                                                                                                                                                                                                                                                   jïl
                                                                                                                                                                                                                                                                                                                                                                                     b:
                                                                                                                                                                                                                                                                                                                                                                                     .':
                                                                                                                                                                                                                                                                                                                                                                                      i1L
                                                                                                                                                                                                                                                                                                                                                                                       ..'
                                                                                                                                                                                                                                                                                                                                                                                         :'
                                                                                                                                                                                                                                                                                                                                                                                          !j:
                                                                                                                                                                                                                                                                                                                                                                                            k
                                                                                                                                                                                                                                                                                                                                                                                            jj
                                                                                                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                                                                                             s(
                                                                                                                                                                                                                                                                                                                                                                                              j'
                                                                                                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                                                                                               ëy
                                                                                                                                                                                                                                                                                                                                                                                                @f
                                                                                                                                                                                                                                                                                                                                                                                                 ij
                                                                                                                                                                                                                                                                                                                                                                                                  $
                                                                                                                                                                                                                                                                                                                                                                                                  ,Ej
                                                                                                                                                                                                                                                                                                                                                                                                    Ej''
                                                                                                                                                                                                                                                                                                                                                                                                      :.'::
                                                                                                                                                                                                                                                                                                                                                                                                         E: j
                                                                                                                                                                                                                                                                                                                                                                                                            .  lq
                                                                                                                                                                                                                                                                                                                                                                                                                j;
                                                                                                                                                                                                                                                                                                                                                                                                                 jq
                                                                                                                                                                                                                                                                                                                                                                                                                  jL'
                                                                                                                                                                                                                                                                                                                                                                                                                    ji
                                                                                                                                                                                                                                                                                                                                                                                                                     jL'
                                                                                                                                                                                                                                                                                                                                                                                                                       j:
                                                                                                                                                                                                                                                                                                                                                                                                                        4r
                                                                                                                                                                                                                                                                                                                                                                                                                         )'
                                                                                                                                                                                                                                                                                                                                                                                                                          ))
                                                                                                                                                                                                                                                                                                                                                                                                                           :'
                                                                                                                                                                                                                                                                                                                                                                                                                            jç
                                                                                                                                                                                                                                                                                                                                                                                                                            :('
                                                                                                                                                                                                                                                                                                                                                                                                                              Ei
                                                                                                                                                                                                                                                                                                                                                                                                                              ':'
                                                                                                                                                                                                                                                                                                                                                                                                                                ::..'
             'Lç
             $
             L 'b
                ''
                k îïi
                   i'-'
                    i;
                     j7
                      p;
                       q
                       '
                       t'     E1
                               :
                               .!
                                          .....                                                                                                                                           jk.::i
                                                                                                                                                                                         .:          k  E:f E       . :i'  ë iE
                                                                                                                                                                                                                             :'    .( : :  :       'i
                                                                                                                                                                                                                                                    ; ''            .      ,.
                                                                                                                                                                                                                                                                           ( :9
                                                                                                                                                                                                                                                                             16@.5 !i  .
                                                                                                                                                                                                                                                                                       ' p '.
                                                                                                                                                                                                                                                                                            'C  lE.7   è (-   h  .      ë                                                      .'
                                                                                                                                                                                                                                                                                                                                                                                (i
                                                                                                                                                                                                                                                                                                                                                                                 l
                                                                                                                                                                                                                                                                                                                                                                                 .(
                                                                                                                                                                                                                                                                                                                                                                                  )l
                                                                                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                                                                                   .i
                                                                                                                                                                                                                                                                                                                                                                                    l
                                                                                                                                                                                                                                                                                                                                                                                    :'
                                                                                                                                                                                                                                                                                                                                                                                     -t
                                                                                                                                                                                                                                                                                                                                                                                      h
                                                                                                                                                                                                                                                                                                                                                                                      ..'.:
                                                                                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                                                                                            .'
                                                                                                                                                                                                                                                                                                                                                                                            : i'
                                                                                                                                                                                                                                                                                                                                                                                              :il'
                                                                                                                                                                                                                                                                                                                                                                                                E
                                                                                                                                                                                                                                                                                                                                                                                                ë :'
                                                                                                                                                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                                                                                                                                                                  Er'
                                                                                                                                                                                                                                                                                                                                                                                                   i:'
                                                                                                                                                                                                                                                                                                                                                                                                     :'
                                                                                                                                                                                                                                                                                                                                                                                                     ':.  k7
                                                                                                                                                                                                                                                                                                                                                                                                           :.
                                                                                                                                                                                                                                                                                                                                                                                                            .1
                                                                                                                                                                                                                                                                                                                                                                                                             5
                                                                                                                                                                                                                                                                                                                                                                                                             i:ëë
                                                                                                                                                                                                                                                                                                                                                                                                                fi
                                                                                                                                                                                                                                                                                                                                                                                                                irE
                                                                                                                                                                                                                                                                                                                                                                                                                  i:
                                                                                                                                                                                                                                                                                                                                                                                                                  ffï
                                                                                                                                                                                                                                                                                                                                                                                                                    ë'
                                                                                                                                                                                                                                                                                                                                                                                                                    : i.':
                                                                                                                                                                                                                                                                                                                                                                                                                     i'    '-':
                                                                                                                                                                                                                                                                                                                                                                                                                              'i   .
                                '9
                                 '
                                 h.
                                  !
                                  :6
                                   ë'
                                    /
                                    i*
                                     :
                                     E-
                                      p
                                      Ef
                                       :i
                                        r'
                                         i
                                         f
                                         lf
                                          i
                                          if
                                           i
                                           rf
                                            E
                                            .i
                                             :
                                             '.y:
                                                f
                                                .
                                                L.
                                                 i;:
                                                   h
                                                   Ei
                                                    ;i
                                                     ji
                                                      Ei
                                                       ô
                                                       -t
                                                        '
                                                        :
                                                        ..
                                                         j
                                                         '
                                                         d
                                                         :.
                                                          ;@:    ),
                                                                  i.
                                                                   ;: êy
                                                                       p
                                                                       :?
                                                                        .ï
                                                                         E.
                                                                          ..  :.
                                                                               :
                                                                               :ë
                                                                                :(
                                                                                 iEfsEëi.Er
                                                                                          i
                                                                                          .: #? ::
                                                                                                 .E
                                                                                                  (:
                                                                                                   .
                                                                                                   )E
                                                                                                    !
                                                                                                    jE
                                                                                                     jë
                                                                                                      !
                                                                                                      j:
                                                                                                       iL
                                                                                                        '
                                                                                                        .
                                                                                                        j'
                                                                                                         j
                                                                                                         k
                                                                                                         --
                                                                                                          .pjë
                                                                                                             -t  i
                                                                                                                 -
                                                                                                                 rj
                                                                                                                  ië
                                                                                                                   l
                                                                                                                   E
                                                                                                                   :t
                                                                                                                    j
                                                                                                                    .!
                                                                                                                     .E
                                                                                                                      (!
                                                                                                                       k
                                                                                                                       :r
                                                                                                                        ,
                                                                                                                        j;
                                                                                                                         j:
                                                                                                                          E.
                                                                                                                           ,
                                                                                                                           l
                                                                                                                           E.
                                                                                                                            :
                                                                                                                            ,...
                                                                                                                               ;.
                                                                                                                                ..
                                                                                                                                 :;
                                                                                                                                  E:
                                                                                                                                   j
                                                                                                                                   .ë
                                                                                                                                    :g
                                                                                                                                     :
                                                                                                                                     ,@
                                                                                                                                      r
                                                                                                                                      :
                                                                                                                                      :'
                                                                                                                                       ë
                                                                                                                                       E
                                                                                                                                       :E
                                                                                                                                        (
                                                                                                                                        (ë
                                                                                                                                         ;(
                                                                                                                                          ë
                                                                                                                                          ..
                                                                                                                                           i
                                                                                                                                           ..
                                                                                                                                            '
                                                                                                                                            .:
                                                                                                                                             .
                                                                                                                                             .:.(
                                                                                                                                                :g
                                                                                                                                                 të
                                                                                                                                                  :
                                                                                                                                                  k:ë
                                                                                                                                                    ,ig
                                                                                                                                                      :i
                                                                                                                                                       g
                                                                                                                                                       ;i
                                                                                                                                                        ë
                                                                                                                                                        ,i
                                                                                                                                                         E
                                                                                                                                                         ./
                                                                                                                                                          E
                                                                                                                                                          Ei
                                                                                                                                                           ë
                                                                                                                                                           g:
                                                                                                                                                            -:
                                                                                                                                                             i:
                                                                                                                                                              .
                                                                                                                                                              k;
                                                                                                                                                               .
                                                                                                                                                               :.
                                                                                                                                                                ':i
                                                                                                                                                                  .:
                                                                                                                                                                   :i
                                                                                                                                                                    yi
                                                                                                                                                                     E
                                                                                                                                                                     ti
                                                                                                                                                                      ë
                                                                                                                                                                      .i
                                                                                                                                                                       j
                                                                                                                                                                       .E
                                                                                                                                                                        ë
                                                                                                                                                                        :i:
                                                                                                                                                                          .i
                                                                                                                                                                           :
                                                                                                                                                                           hE
                                                                                                                                                                            :
                                                                                                                                                                            7.
                                                                                                                                                                             :
                                                                                                                                                                             )!
                                                                                                                                                                              .:
                                                                                                                                                                               '
                                                                                                                                                                               ;.
                                                                                                                                                                                ):
                                                                                                                                                                                 t:
                                                                                                                                                                                  ë
                                                                                                                                                                                  sE
                                                                                                                                                                                   '
                                                                                                                                                                                   gë
                                                                                                                                                                                    të
                                                                                                                                                                                     i
                                                                                                                                                                                     )i
                                                                                                                                                                                      :
                                                                                                                                                                                      ki
                                                                                                                                                                                       g                                                                                                                                                                                                                     '
                ..
                -  è  r fi
                        s
                        :Fi
                          ë;
                           :j
                            q:
                             h:     E  ii.':  'ë
                                              .  yj
                                                 :2'.
                                                    '.:jy   $.l
                                                            (
                                                            '  (.
                                                               .k.1 C@
                                                                     kë
                                                                      s  .--:
                                                                            r:
                                                                             p'
                                                                             :ë  ë'
                                                                                 :ëi
                                                                                   :ë
                                                                                   .          .)      .
                                                                                                      - k t.
                                                                                                           r i                                                                         .
                                                                                                                                                                                       j..          g..:.        (t
                                                                                                                                                                                                          --,-.--.
                                                                                                                                                                                                         y:
                                                                                                                                                                                                          j
                                                                                                                                                                                                          .       .;
                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                   :r
                                                                                                                                                                                                                    jk
                                                                                                                                                                                                                     i;j
                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                       j.
                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                        :.)
                                                                                                                                                                                                                          .4
                                                                                                                                                                                                                           y
                                                                                                                                                                                                                           .k
                                                                                                                                                                                                                            y
                                                                                                                                                                                                                            ;:ï-E.
                                                                                                                                                                                                                                 è..
                                                                                                                                                                                                                                   :)k
                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                     (.
                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                      .E
                                                                                                                                                                                                                                       $:
                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                        :i
                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                         .y
                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                          .y
                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                            ..E  .(
                                                                                                                                                                                                                                                  E:
                                                                                                                                                                                                                                                   ë.i
                                                                                                                                                                                                                                                     :i
                                                                                                                                                                                                                                                      E:
                                                                                                                                                                                                                                                       i
                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                       .:.
                                                                                                                                                                                                                                                         (.
                                                                                                                                                                                                                                                          t..
                                                                                                                                                                                                                                                            .:-  E:
                                                                                                                                                                                                                                                                  :.-::  i
                                                                                                                                                                                                                                                                         (
                                                                                                                                                                                                                                                                         :L
                                                                                                                                                                                                                                                                          E:
                                                                                                                                                                                                                                                                           ::
                                                                                                                                                                                                                                                                            .7
                                                                                                                                                                                                                                                                             :.(-
                                                                                                                                                                                                                                                                                .i
                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                 !i
                                                                                                                                                                                                                                                                                  -1(
                                                                                                                                                                                                                                                                                    if
                                                                                                                                                                                                                                                                                     :E
                                                                                                                                                                                                                                                                                      t
                                                                                                                                                                                                                                                                                      :à:ë
                                                                                                                                                                                                                                                                                         E,:
                                                                                                                                                                                                                                                                                           E.-
                                                                                                                                                                                                                                                                                             :.-
                                                                                                                                                                                                                                                                                               '.CE
                                                                                                                                                                                                                                                                                                  .ï
                                                                                                                                                                                                                                                                                                   E-
                                                                                                                                                                                                                                                                                                    (
                                                                                                                                                                                                                                                                                                    :(
                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                     .ë
                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                      ::
                                                                                                                                                                                                                                                                                                       .:
                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                        .,
                                                                                                                                                                                                                                                                                                         ..
                                                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                                                          :,I
                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                            ,..:..:
                                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                                   E
                                                                                                                                                                                                                                                                                                                   .;
                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                    :.
                                                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                                                     ::E
                                                                                                                                                                                                                                                                                                                       E,
                                                                                                                                                                                                                                                                                                                        :: .:..,.   .:
                                                                                                                                                                                                                                                                                                                                     .:
                                                                                                                                                                                                                                                                                                                                     ::(
                                                                                                                                                                                                                                                                                                                                       :g
                                                                                                                                                                                                                                                                                                                                       .E
                                                                                                                                                                                                                                                                                                                                        .E
                                                                                                                                                                                                                                                                                                                                         ,:. .: .
                                                                                                                                                                                                                                                                                                                                                ,,...   .y: :.
                                                                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                                                             :.
                                                                                                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                                                                                              E:
                                                                                                                                                                                                                                                                                                                                                               iE
                                                                                                                                                                                                                                                                                                                                                                ë
                                                                                                                                                                                                                                                                                                                                                                yE ....-..:
                                                                                                                                                                                                                                                                                                                                                                   E              .
                                                                                                                                                                                                                                                                                                                                                                                  :  E:
                                                                                                                                                                                                                                                                                                                                                                              j::j ..hr
                                                                                                                                                                                                                                                                                                                                                                                        .:     .E
                                                                                                                                                                                                                                                                                                                                                                                                :.
                                                                                                                                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                                                                                                                                 E:
                                                                                                                                                                                                                                                                                                                                                                                                  '.ë
                                                                                                                                                                                                                                                                                                                                                                                                    '..     .. 'E
                                                                                                                                                                                                                                                                                                                                                                                                                :  E :      ':
                                                                                                                                                                                                                                                                                                                                                                                                                            E :
                                                                                                                                                                                                                                                                                                                                                                                                                              ëë:d''
             iE
              :'',:
               i    ëiiiië ' i.
                              ':
                               ':i   iiE   ' y
                                             7# l-(rëg
                                                     jà
                                                      .g
                                                       ï(;
                                                         :
                                                         .k1
                                                          7
                                                          '
                                                          : i
             '..5
                :  :                            .             .ë  (h   . .
                                                                         :..   :
                                                                               'j Eq      (
                                                                                          ;  (.
                                                                                              E !Eà
                                                                                                  l. j
                                                                                                     ij: (i,F   ... (::j         . :.
                                                                                                                                    E:EE;
                                                                                                                                        .
                                                                                                                                        E : g:.:.:.
                                                                                                                                                  j .
                                                                                                                                                    r EE:
                                                                                                                                                        kj
                                                                                                                                                         :j
                                                                                                                                                          ;
                                                                                                                                                          !ë
                                                                                                                                                           ..  ,  : . t
                                                                                                                                                                      L
                                                                                                                                                                      , ( y
                                                                                                                                                                          ;;:
                                                                                                                                                                            EE:.:
                                                                                                                                                                                .: ;
                                                                                                                                                                                   .:-
                                                                                                                                                                                     ((
                                                                                                                                                                                      .
                                                                                                                                                                                      ,  ;.
                                                                                                                                                                                          (:
                                                                                                                                                                                           ;,
                                                                                                                                                                                           L-:
                                                                                                                                                                                             kE
                                                                                                                                                                                             -::
                                                                                                                                                                                               -,
                                                                                                                                                                                               d
                                                                                                                                                                                               ssL-L
                                                                                                                                                                                                   r.
                                                                                                                                                                                                   ë
                                                                                                                                                                                                   ..   (c
                                                                                                                                                                                                        .                  :     )   :  .          :E .        :.
                                                                                                                                                                                                                                                               .  .        E      :.
                                                                                                                                                                                                                                                                                  . :.            !:E E
                                                                                                                                                                                                                                                                                                      .   . E   .: E   :(        .:  ,g
                                                                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                                                                     ..:j                    y:  .:,:.j                      ..
             '
             j
             x
             lj
              ù
              :
              t
              .
              ;
              E
             .:
              E.:
               :
              :.
                j
                g
                ..
                j;
                 k
                 j
                 ?
                 q
                 .
                 ;
                 )3
                  k
                  L
                  b
                  '
                  â
                  L
                  .
                  1
                  t
                  ï
                  '
               Ei.:
               s
               j   b
                   L
                   .
                   ,
                   :
                   ï
                   é
                   p
                   j
                   à
                   '
                   i
                   qï
                    i
                    L
                    :
                    Ei
                    .
                    .f
                     E
                     q
                     k
                     l
                     Ey
                    ::
                    ..
                     L
                     ;g
                      .
                      ,
                      )
                      j
                      (
                      .
                      d.
                       (
                       ,
                       E
                       7
                       i
                       .;
                       L
                      7:C
                        :j
                        1
                        '
                       ,::
                         i
                         j
                         i
                         j...
                          î
                          j
                        hkl
                        4   j
                            :k
                           j,..
                            àï,
                              k
                              :j
                              (
                              ë
                             àï.(
                               ,
                               .
                              f:.
                                g;g
                                ;
                                .
                               t.j)(
                                  j
                                  ;::
                                   j
                                   (
                                   r
                                   ...
                                    jE
                                     (
                                     :
                                     j
                                     E
                                     ë
                                     j
                                     g
                                     py
                                      E.:
                                      gt4 ..,j
                                        t:IJ
                                           ëE.:(yj
                                            E:
                                             Ei
                                          :.û:
                                          . ..C:
                                               .j
                                              ?:
                                              .d:.
                                                 y
                                                 q
                                                 j
                                                 ,g
                                                @:
                                                E
                                                .i(
                                                 : y,jj:
                                                  ë:
                                                   ë.
                                                   ijj
                                                    :
                                                    i  y
                                                       .
                                                       j
                                                       g
                                                       jj,
                                                       .
                                                      ;. j,:
                                                           jj
                                                           .y
                                                            j
                                                            g
                                                            ;
                                                            ,j
                                                             y
                                                             ,
                                                             jf
                                                          à::yjk
                                                              g
                                                              .
                                                              ,
                                                  :jLé. .::.::lj
                                                               .
                                                               g
                                                               jj
                                                              ..,g
                                                               ::iy
                                                                j;g
                                                                  jj
                                                                  i
                                                                 (g..
                                                                   :
                                                                  ë'
                                                                  . :
                                                                    .
                                                                    j..
                                                                     i
                                                                     E,..(
                                                                      .
                                                                      j
                                                                     'jj
                                                                      ï;
                                                                      )
                                                                      . j
                                                                       .,
                                                                       : .,
                                                                         #
                                                                         :
                                                                         :
                                                                        .,
                                                                        . .
                                                                          :
                                                                          .g:,E
                                                                          !
                                                                          r
                                                                         E.
                                                                         . :
                                                                           E
                                                                          ..
                                                                          : j.
                                                                             F
                                                                           ii:
                                                                           L  ..'
                                                                              t
                                                                              :L:
                                                                                '
                                                                                .
                                                                                :
                                                                                :
                                                                                j
                                                                                r
                                                                                .
                                                                                ,
                                                                                j
                                                                                :
                                                                               ?:
                                                                               : y
                                                                                !.
                                                                                 ;,
                                                                                  ...;.1!jj!rb:E(i.:.
                                                                                 ..
                                                                                  :
                                                                                  y
                                                                                  r$
                                                                                   .j
                                                                                   .:,
                                                                                     E
                                                                                     ::.k2      .
                                                                                                .ç2
                                                                                                  j.
                                                                                                  . (
                                                                                                    .
                                                                                                    :
                                                                                                    .
                                                                                                    <
                                                                                                    F
                                                                                                    :
                                                                                                   i;,
                                                                                                     .
                                                                                                     j
                                                                                                     .
                                                                                                     .
                                                                                                     :
                                                                                                     y
                                                                                                     E
                                                                                                     .
                                                                                                     j
                                                                                                    i.
                                                                                                    . j
                                                                                                      t
                                                                                                      :
                                                                                                      j
                                                                                                      :
                                                                                                      j
                                                                                                      y
                                                                                                      :
                                                                                                      j
                                                                                                      ,
                                                                                                      j
                                                                                                     (E(.y
                                                                                                       E
                                                                                                       .
                                                                                                       E
                                                                                                      .tE
                                                                                                        ,y
                                                                                                         $
                                                                                                         j
                                                                                                         .
                                                                                                         :
                                                                                                         ,
                                                                                                         .
                                                                                                         k
                                                                                                         :
                                                                                                         Ej
                                                                                                          ,
                                                                                                          :
                                                                                                          k
                                                                                                          j
                                                                                                          ;
                                                                                                          (
                                                                                                          :
                                                                                                          y
                                                                                                          r
                                                                                                          g:
                                                                                                           :
                                                                                                           .
                                                                                                           (
                                                                                                           :
                                                                                                           j
                                                                                                           t
                                                                                                           ,
                                                                                                           E(
                                                                                                            .
                                                                                                            :
                                                                                                            .::
                                                                                                            i
                                                                                                            .
                                                                                                            L (
                                                                                                              .y..
                                                                                                              :
                                                                                                              k
                                                                                                              ,  (
                                                                                                                 :
                                                                                                                 g
                                                                                                                 J
                                                                                                                 .
                                                                                                                 E
                                                                                                                 .
                                                                                                                 r
                                                                                                                 y
                                                                                                                 .
                                                                                                                 ,
                                                                                                                 :(
                                                                                                                  :..
                                                                                                                  .
                                                                                                                  .
                                                                                                                  ,
                                                                                                                  E t
                                                                                                                    j
                                                                                                                    :
                                                                                                                    ::E.
                                                                                                                    .
                                                                                                                    :
                                                                                                                    ;
                                                                                                                    .
                                                                                                                    j
                                                                                                                    k.:q
                                                                                                                       j
                                                                                                                       ;
                                                                                                                       f
                                                                                                                       y
                                                                                                                       j
                                                                                                                       :
                                                                                                                       y
                                                                                                                       .
                                                                                                                       g
                                                                                                                       :
                                                                                                                     )(:;
                                                                                                                        j
                                                                                                                        E
                                                                                                                        g
                                                                                                                        y
                                                                                                                        E
                                                                                                                        E
                                                                                                                        r
                                                                                                                        ,
                                                                                                                        .
                                                                                                                        y
                                                                                                                        .
                                                                                                                        E
                                                                                                                       j:,
                                                                                                                         :
                                                                                                                         (
                                                                                                                         .
                                                                                                                         )
                                                                                                                         h
                                                                                                                         ,
                                                                                                                         ;
                                                                                                                         .
                                                                                                                         J
                                                                                                                         j
                                                                                                                         ::
                                                                                                                          )
                                                                                                                          S
                                                                                                                          r
                                                                                                                          .
                                                                                                                          ,
                                                                                                                          é
                                                                                                                          ;
                                                                                                                          :
                                                                                                                          j
                                                                                                                          .
                                                                                                                          :
                                                                                                                          E;
                                                                                                                           :
                                                                                                                           t
                                                                                                                           g
                                                                                                                           (
                                                                                                                           y
                                                                                                                           .
                                                                                                                           L
                                                                                                                        ryër.
                                                                                                                            :
                                                                                                                            E
                                                                                                                            .
                                                                                                                            L
                                                                                                                            y
                                                                                                                            ,E
                                                                                                                             :
                                                                                                                             .
                                                                                                                             :
                                                                                                                             :
                                                                                                                             :
                                                                                                                             E
                                                                                                                             .:
                                                                                                                              ç
                                                                                                                              '       r
                                                                                                                                     p::.:  ..  :.
                                                                                                                                                (gb    g,
                                                                                                                                                       k
                                                                                                                                                       y
                                                                                                                                                       ,gj
                                                                                                                                                        y :ë
                                                                                                                                                          k
                                                                                                                                                          .
                                                                                                                                                            j
                                                                                                                                                            .
                                                                                                                                                             qt
                                                                                                                                                              i
                                                                                                                                                             jr
                                                                                                                                                             .
                                                                                                                                                               .
                                                                                                                                                              y:.
                                                                                                                                                              t ),
                                                                                                                                                                   ,,
                                                                                                                                                                  t:
                                                                                                                                                                  rg.
                                                                                                                                                                   j ,,
                                                                                                                                                                    j;gk
                                                                                                                                                                      j
                                                                                                                                                                      ;4.
                                                                                                                                                                       j
                                                                                                                                                                       yjy
                                                                                                                                                                        q
                                                                                                                                                                        : .p
                                                                                                                                                                          ;
                                                                                                                                                                          i:à
                                                                                                                                                                           )  .;
                                                                                                                                                                              ,:r
                                                                                                                                                                               p   :j              k.  ;i
                                                                                                                                                                                                        ,t      ,j
                                                                                                                                                                                                                 :yy.y
                                                                                                                                                                                                                    :  j;,,L     ,,  ,  ,
                                                                                                                                                                                                                                        :::,  ,
                                                                                                                                                                                                                                              : y
                                                                                                                                                                                                                                                ,::
                                                                                                                                                                                                                                                  , ,
                                                                                                                                                                                                                                                    :,ry
                                                                                                                                                                                                                                                       : :)
                                                                                                                                                                                                                                                          ,,,,   )
                                                                                                                                                                                                                                                                 ,j
                                                                                                                                                                                                                                                                  . )
                                                                                                                                                                                                                                                                    L , ;:
                                                                                                                                                                                                                                                                         ,g
                                                                                                                                                                                                                                                                          yr.
                                                                                                                                                                                                                                                                            : :fj
                                                                                                                                                                                                                                                                                )yy.:
                                                                                                                                                                                                                                                                                    (    yt:jy  .
                                                                                                                                                                                                                                                                                                , , ,     ,ë. .
                                                                                                                                                                                                                                                                                                              , y.:
                                                                                                                                                                                                                                                                                                                  ,j
                                                                                                                                                                                                                                                                                                                   ;
                                                                                                                                                                                                                                                                                                                   :!
                                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                                    j:
                                                                                                                                                                                                                                                                                                                     g y:
                                                                                                                                                                                                                                                                                                                        r    (
                                                                                                                                                                                                                                                                                                                       jj,yjyy
                                                                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                                                              , ..,,
                                                                                                                                                                                                                                                                                                                                     ,r:
                                                                                                                                                                                                                                                                                                                                       g,
                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                        ,:
                                                                                                                                                                                                                                                                                                                                         ,j
                                                                                                                                                                                                                                                                                                                                          yy j(
                                                                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                              .,y,
                                                                                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                                                                                            ,:
                                                                                                                                                                                                                                                                                                                                                            ,y,
                                                                                                                                                                                                                                                                                                                                                              :y
                                                                                                                                                                                                                                                                                                                                                               g
                                                                                                                                                                                                                                                                                                                                                             ,,:y
                                                                                                                                                                                                                                                                                                                                                                :,
                                                                                                                                                                                                                                                                                                                                                                 j ,   : .
                                                                                                                                                                                                                                                                                                                                                                         ,.
                                                                                                                                                                                                                                                                                                                                                                    y,,. rr  :,,,
                                                                                                                                                                                                                                                                                                                                                                                :y
                                                                                                                                                                                                                                                                                                                                                                                 :y
                                                                                                                                                                                                                                                                                                                                                                                  :y
                                                                                                                                                                                                                                                                                                                                                                                   :4
                                                                                                                                                                                                                                                                                                                                                                                    ,4
                                                                                                                                                                                                                                                                                                                                                                                     ,:
                                                                                                                                                                                                                                                                                                                                                                                      ,.
                                                                                                                                                                                                                                                                                                                                                                                      .:
                                                                                                                                                                                                                                                                                                                                                                                       .,     ,
                                                                                                                                                                                                                                                                                                                                                                                              ::
                                                                                                                                                                                                                                                                                                                                                                                               ,y
                                                                                                                                                                                                                                                                                                                                                                                                r,y
                                                                                                                                                                                                                                                                                                                                                                                                  rl
                                                                                                                                                                                                                                                                                                                                                                                                   j,
                                                                                                                                                                                                                                                                                                                                                                                                    j
                                                                                                                                                                                                                                                                                                                                                                                                    ,,
                                                                                                                                                                                                                                                                                                                                                                                                    ,:
                                                                                                                                                                                                                                                                                                                                                                                                         : ,,,j
                                                                                                                                                                                                                                                                                                                                                                                                      ,,:,,,    ,,
                                                                                                                                                                                                                                                                                                                                                                                                                ,:k,j
                                                                                                                                                                                                                                                                                                                                                                                                                  (
                                                                                                                                                                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                                                                                                                                                                  ,y
                                                                                                                                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                                                                                                                                   . ,
                                                                                                                                                                                                                                                                                                                                                                                                                     E
                                                                                                                                                                                                                                                                                                                                                                                                                     .r,.
                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                                                                                                                                                                                      :  :..   ,
                                                                                                                                                                                                                                                                                                                                                                                                                               (
                                                                                                                                                                                                                                                                                                                                                                                                                               .:;.
                                                                                                                                                                            ry(
                                                                                                                                                                              rj
                                                                                                                                                                               .gjg
                                                                                                                                                                                  s
                                                                                                                                                                                  j
                                                                                                                                                                                  :j jr
                                                                                                                                                                                     r                                      , . ,, ,.
             .ë
              r::iyï:
                  .L
                    t
                    :
                    .q
                    j:
                     r#
                     j.
                      ;
                      :
                      jf
                       ii
                        fi
                         ft
                          2
                          .i
                           I.
                            tk
                             ;'
                              .
                              !p
                               .E:
                                 .tE
                                   :
                                   jL
                                    t
                                    ë
                                    j.
                                    C
                                    Lt
                                     j:
                                      t
                                      jE
                                       t
                                       j.
                                       IZ.
                                        :LI
                                          .  .t é     ë
                                                      @ r
                                                        't
                                                         .         t:
                                                                    li
                                                                     j  ; ;L: .
                                                                              :p
                                                                               :t:t
                                                                                  E:'L        L:ïë
                                                                                                 E:
                                                                                                   ,
                                                                                                    :;
                                                                                                     $.
                                                                                                      t('
                                                                                                        :
                                                                                                        ;
                                                                                                        gj
                                                                                                         .
                                                                                                         i
                                                                                                         (7
                                                                                                          k
                                                                                                          :.
                                                                                                           : .ri,.
                                                                                                            ..    ,
                                                                                                                  ,.
                                                                                                                   :.
                                                                                                                    I;
                                                                                                                    fëj
                                                                                                                     ,ë:
                                                                                                                      jëj
                                                                                                                       g:yj.
                                                                                                                         ëE
                                                                                                                         g:..
                                                                                                                            x..
                                                                                                                                .
                                                                                                                                .:
                                                                                                                                ë:
                                                                                                                                 t,
                                                                                                                                  .
                                                                                                                                 (,
                                                                                                                                  ë.
                                                                                                                                  .j
                                                                                                                                   ï.
                                                                                                                                   l(
                                                                                                                                    i
                                                                                                                                    ..
                                                                                                                                     :
                                                                                                                                    ;j
                                                                                                                                      p
                                                                                                                                     y:
                                                                                                                                      j
                                                                                                                                      ;g
                                                                                                                                       l
                                                                                                                                       :
                                                                                                                                       tj
                                                                                                                                        gh
                                                                                                                                         j;
                                                                                                                                          ây
                                                                                                                                           ï.
                                                                                                                                              ?.
                                                                                                                                              ::f
                                                                                                                                               ;
                                                                                                                                               , j..)k
                                                                                                                                                      .r  jE
                                                                                                                                                           .(
                                                                                                                                                            .
                                                                                                                                                            t. ë(                     rj
                                                                                                                                                                                       às t
                                                                                                                                                                                          .r
                                                                                                                                                                                           gg
                                                                                                                                                                                            j
                                                                                                                                                                                            .(;à
                                                                                                                                                                                              :L? yj
                                                                                                                                                                                                ..y ,r
                                                                                                                                                                                                     .
                                                                                                                                                                                                     ,l:,s
                                                                                                                                                                                                         lj j
                                                                                                                                                                                                            jg  :
                                                                                                                                                                                                                y
                                                                                                                                                                                                                ,r :
                                                                                                                                                                                                                   ï.
                                                                                                                                                                                                                    t
                                                                                                                                                                                                                    y
                                                                                                                                                                                                                    .g
                                                                                                                                                                                                                     r..
                                                                                                                                                                                                                      g
                                                                                                                                                                                                                      ;      .
                                                                                                                                                                                                                             j
                                                                                                                                                                                                                             :
                                                                                                                                                                                                                             ;ç
                                                                                                                                                                                                                              E(
                                                                                                                                                                                                                               :k
                                                                                                                                                                                                                                ).
                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                 ,.
                                                                                                                                                                                                                                 jyk
                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                   ?)
                                                                                                                                                                                                                                   y.
                                                                                                                                                                                                                                    g,
                                                                                                                                                                                                                                    ::
                                                                                                                                                                                                                                     (,
                                                                                                                                                                                                                                     .t
                                                                                                                                                                                                                                      j:
                                                                                                                                                                                                                                      ,:j,
                                                                                                                                                                                                                                       , :,
                                                                                                                                                                                                                                          :,g  t
                                                                                                                                                                                                                                               ..j
                                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                                                 j,,
                                                                                                                                                                                                                                                   t
                                                                                                                                                                                                                                                   .,
                                                                                                                                                                                                                                                   ygj
                                                                                                                                                                                                                                                    r  E,j:
                                                                                                                                                                                                                                                     gy(  ::
                                                                                                                                                                                                                                                           (;,,  ,gj, jj   rj:
                                                                                                                                                                                                                                                                           j  ,gg  ,
                                                                                                                                                                                                                                                                                   ,.
                                                                                                                                                                                                                                                                                    ,j
                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                     ,3kajjjg
                                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                       j    jky,j ,:,r
                                                                                                                                                                                                                                                                                                   ,,,
                                                                                                                                                                                                                                                                                                     ,r
                                                                                                                                                                                                                                                                                                      rjj
                                                                                                                                                                                                                                                                                                        yr
                                                                                                                                                                                                                                                                                                         jy j,
                                                                                                                                                                                                                                                                                                          ,kj
                                                                                                                                                                                                                                                                                                          r ,
                                                                                                                                                                                                                                                                                                                ,,
                                                                                                                                                                                                                                                                                                                ,    ri
                                                                                                                                                                                                                                                                                                                 rrrrj       :j,.
                                                                                                                                                                                                                                                                                                                              :  ,.yj
                                                                                                                                                                                                                                                                                                                                    , ,
                                                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                                      y y
                                                                                                                                                                                                                                                                                                                                        .g   (
                                                                                                                                                                                                                                                                                                                                             ;,
                                                                                                                                                                                                                                                                                                                                              g   tr  j
                                                                                                                                                                                                                                                                                                                                                      .yj
                                                                                                                                                                                                                                                                                                                                                          ,,
                                                                                                                                                                                                                                                                                                                                                             .,,$
                                                                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                                                                j:.;
                                                                                                                                                                                                                                                                                                                                                                   ,,y:r,j       rj:
                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                  .,
                                                                                                                                                                                                                                                                                                                                                                                    :,,   j
                                                                                                                                                                                                                                                                                                                                                                                       ,...:
                                                                                                                                                                                                                                                                                                                                                                                           .:
                                                                                                                                                                                                                                                                                                                                                                                            yy
                                                                                                                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                                                                                                                             jy
                                                                                                                                                                                                                                                                                                                                                                                              r
                                                                                                                                                                                                                                                                                                                                                                                              jy
                                                                                                                                                                                                                                                                                                                                                                                               gs
                                                                                                                                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                                                                                                                                :j.:
                                                                                                                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                                                                                                                   r.
                                                                                                                                                                                                                                                                                                                                                                                                             :.:,        ,y,; j,
                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                                               ,:
                                                                                                                                                                                                                                                                                                                                                                                                                                y ,
                                                                                                                                                                                                                                                                                                                                                                                                                                  y
                                                                                                                                                                                                                                                                                                                                                                                                                                  :y
                                                                                                                                                                                                                                                                                                                                                                                                                                   ,;
                                                                                                                                                                                                                                                                                                                                                                                                                                    ,
                                          ï4
                                           Sg
                                            .: i
                                               :.;
                                                 sj
                                                  :lh
                                                    .' ?t
                                                        .
                                                        :
                                                        E:
                                                         r
                                                         (
                                                         gj
                                                          .)
                                                           :E
                                                            i
                                                            '? E.
                                                               i ; ëj
                                                                    ;(:     . .
                                                                              g
                                                                              )E
                                                                               .y;.
                                                                                  :
                                                                                  jj
                                                                                   l .
                                                                                     s(L  ,L.L
                                                                                             ;,   ,@
                                                                                                   :igg:
                                                                                                      : :EEë                                                                                                                                                                                                                                            ..: j:  :        gj,
                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                          j                                                                   :                                                                                                                        ,t
             :4
              y(
               8ë j                                                                                                                               q..
                                                                                                                                                    .,.                                                   ,.,    j
                                                                                                                                                                                                                 ,g
                                                                                                                                                                                                                  y
                                                                                                                                                                                                                  ,y r
                                                                                                                                                                                                                     ,g;,
                                                                                                                                                                                                                       ,;.4j
                                                                                                                                                                                                                           $L                                                                                                                                              :.j..
                                                                                                                                                                                                                                                                                                                                                                               jj
                                                                                                                                                                                                                                                                                                                                                                                y                            .:y..
                                                                                                                                                                                                                                                                                                                                                                                                                y4,y
                                                                                                                                                                                                                                                                                                                                                                                                                   ,j
                                                                                                                                                                                                                                                                                                                                                                                                                    s:
                                                                                                                                                                                                                                                                                                                                                                                                                     (
                                                                                                                                                                                                                                                                                                                                                                                                                     ,j
                                                                                                                                                                                                                                                                                                                                                                                                                      g
                                                                                                                                                                                                                                                                                                                                                                                                                      jy
                                                                                                                                                                                                                                                                                                                                                                                                                       rj
                                                                                                                                                                                                                                                                                                                                                                                                                        ,,
                                                                                                                                                                                                                                                                                                                                                                                                                         :,
                                                                                                                                                                                                                                                                                                                                                                                                                          ,;,,  ,,
                                                                                                                                                                                                                                                                                                                                                                                                                                y:
                                                                                                                                                                                                                                                                                                                                                                                                                                 g,g
                                                                                                                                                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                                                                                                                                                   ,j
                                                                                                                                                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                                                                                                   .,:
                                                                                                                                                                        y..                                                                                                                                                                                                        y,,.).yg
                                                                                                                                                                                                                                                                                                                                                                                          .y.
                                                                                                                                                                                                                                                                                                                                                                                            :.. y
                                                                                                                                                                                                                                                                                                                                                                                                j :
                                                                                                                                                                                                                                                                                                                                                                                                  y
                                                                                                                                                                                                                                                                                                                                                                                                  jy.yy
                                                                                                                                                                                                                                                                                                                                                                                                      .g
                                                                                                                                                                                                                                                                                                                                                                                                       j yr
                                                                                                                                                                                                                                                                                                                                      .
             @:
              '(
               E:
                i .
                  i
                  :j
                   .
                   .g
                    .  2
                       j
                       )
                       ,
                       .
                       :L
                        .
                        @
                        pk
                         i
                         j?
                          g
                          j)
                           )
                           jj
                            ï
                            Ej
                             jL
                              (
                              <
                              j
                              .
                               :
                               L
                               )
                               :
                               .E
                                .
                                l
                                #
                                 ëE
                                 :
                                 E
                                 '
                                  '
                                  :: ,
                                  ''
                                   E@
                                    :
                                    !h
                                     !
                                     .;r
                                       . ?
                                         3
                                         E .
                                           3
                                           j
                                            .
                                            .
                                             1
                                             .
                                             .
                                             '.
                                              )i.
                                                E
                                                k
                                                që
                                                 .f
                                                  (;
                                                   )(
                                                    p:
                                                     ii
                                                      yi
                                                       E . E
                                                           .
                                                           :. .
                                                              i'
                                                               E'
                                                                )'
                                                                 :
                                                                 L:
                                                                  E
                                                                  '
                                                                  L:
                                                                   '
                                                                   $(
                                                                    j'
                                                                     l
                                                                     ji;
                                                                       .
                                                                       :r;
                                                                        :.
                                                                         :k
                                                                          .k
                                                                           .E
                                                                            I
                                                                            t;
                                                                             ë.L
                                                                               ,
                                                                               :
                                                                               .)
                                                                                k
                                                                                j
                                                                                ..
                                                                                 L d.
                                                                                   (
                                                                                   ,'
                                                                                    (J
                                                                                     ;
                                                                                     .    !
                                                                                          E  E   .EEI
                                                                                                    /:E
                                                                                                     E
                                                                                                     .IkE
                                                                                                        :.ë:ë
                                                                                                           .,:
                                                                                                            y
                                                                                                            .,g  ..
                                                                                                                 ,,
                                                                                                                  ,
                                                                                                                  :
                                                                                                                   ,,
                                                                                                                   :
                                                                                                                   '
                                                                                                                   .
                                                                                                                    ,
                                                                                                                    j$E
                                                                                                                      j.ë
                                                                                                                        .
                                                                                                                        r.
                                                                                                                         .h
                                                                                                                          i
                                                                                                                          t
                                                                                                                          .i
                                                                                                                           :
                                                                                                                           ;j
                                                                                                                            : ..
                                                                                                                              p;
                                                                                                                               :
                                                                                                                               Et
                                                                                                                                .E
                                                                                                                                 k
                                                                                                                                 .h
                                                                                                                                  J
                                                                                                                                  .2
                                                                                                                                   .q
                                                                                                                                    li
                                                                                                                                     !g
                                                                                                                                      .
                                                                                                                                      :j
                                                                                                                                       :;
                                                                                                                                        $.
                                                                                                                                         :
                                                                                                                                        .E
                                                                                                                                        @ j
                                                                                                                                          :?
                                                                                                                                           ..:
                                                                                                                                            ?
                                                                                                                                            .3L
                                                                                                                                             LL.
                                                                                                                                              I
                                                                                                                                              .1'
                                                                                                                                               LL,
                                                                                                                                                 .'
                                                                                                                                                  L
                                                                                                                                                  E ,
                                                                                                                                                    E !jy
                                                                                                                                                       çE;
                                                                                                                                                         y.:
                                                                                                                                                           (.k:
                                                                                                                                                             ':c
                                                                                                                                                              . :.E
                                                                                                                                                                :
                                                                                                                                                                l  .:
                                                                                                                                                                   1
                                                                                                                                                                   k:.
                                                                                                                                                                    ig.
                                                                                                                                                                     (:(
                                                                                                                                                                       .F
                                                                                                                                                                        :
                                                                                                                                                                        .  (i
                                                                                                                                                                          ('
                                                                                                                                                                          .: :
                                                                                                                                                                             (:
                                                                                                                                                                             ..(
                                                                                                                                                                               .
                                                                                                                                                                               :(
                                                                                                                                                                               .
                                                                                                                                                                               .kt
                                                                                                                                                                                :.ë
                                                                                                                                                                                 . (,
                                                                                                                                                                                  :.
                                                                                                                                                                                  . (:
                                                                                                                                                                                    :
                                                                                                                                                                                    . (g
                                                                                                                                                                                      :
                                                                                                                                                                                     :..j:(
                                                                                                                                                                                         .
                                                                                                                                                                                          :
                                                                                                                                                                                          :,,
                                                                                                                                                                                            g
                                                                                                                                                                                           ..
                                                                                                                                                                                             E
                                                                                                                                                                                             g
                                                                                                                                                                                             ..
                                                                                                                                                                                              .y
                                                                                                                                                                                               .g.:
                                                                                                                                                                                                   ,
                                                                                                                                                                                                   :E
                                                                                                                                                                                                    ::
                                                                                                                                                                                                    :
                                                                                                                                                                                                       .
                                                                                                                                                                                                     :,:,,:         ..:r, .E,(,
                                                                                                                                                                                                                            : kk.
                                                                                                                                                                                                                                r:
                                                                                                                                                                                                                                 .:..,,    r...:.
                                                                                                                                                                                                                                        kyq.
                                                                                                                                                                                                                                           ;    :.:,
                                                                                                                                                                                                                                                   ..
                                                                                                                                                                                                                                                    ,.qs(E:
                                                                                                                                                                                                                                                          g:        .,,,j
                                                                                                                                                                                                                                                            ..,j..,,,   ::
                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                                         ,E
                                                                                                                                                                                                                                                                          g
                                                                                                                                                                                                                                                                          ,,
                                                                                                                                                                                                                                                                           EEy
                                                                                                                                                                                                                                                                             kg,k,,,,,E
                                                                                                                                                                                                                                                                               :,     g
                                                                                                                                                                                                                                                                                      y::
                                                                                                                                                                                                                                                                                      ,  ,Eëj
                                                                                                                                                                                                                                                                                          :E4.
                                                                                                                                                                                                                                                                                            ,gg
                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                             h E4
                                                                                                                                                                                                                                                                                                ,,
                                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                                ((
                                                                                                                                                                                                                                                                                                 ë)
                                                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                                                                  .Iy
                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                     y
                                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                                     ë
                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                      jj
                                                                                                                                                                                                                                                                                                      E
                                                                                                                                                                                                                                                                                                      j(.
                                                                                                                                                                                                                                                                                                       ,,E
                                                                                                                                                                                                                                                                                                        rj.
                                                                                                                                                                                                                                                                                                          ,r
                                                                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                                                                          t jy2
                                                                                                                                                                                                                                                                                                           E.
                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                               y
                                                                                                                                                                                                                                                                                                               j:
                                                                                                                                                                                                                                                                                                              5.
                                                                                                                                                                                                                                                                                                               : .y
                                                                                                                                                                                                                                                                                                                .#
                                                                                                                                                                                                                                                                                                                   jjy
                                                                                                                                                                                                                                                                                                                        j.j
                                                                                                                                                                                                                                                                                                                       yE
                                                                                                                                                                                                                                                                                                                   :;.,Iy    .
                                                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                                                                                             .,
                                                                                                                                                                                                                                                                                                                              .,
                                                                                                                                                                                                                                                                                                                              ( j.
                                                                                                                                                                                                                                                                                                                                 :y
                                                                                                                                                                                                                                                                                                                                ..  ..
                                                                                                                                                                                                                                                                                                                                    ..(
                                                                                                                                                                                                                                                                                                                                      .y
                                                                                                                                                                                                                                                                                                                                      .:
                                                                                                                                                                                                                                                                                                                                       ',
                                                                                                                                                                                                                                                                                                                                       ..:
                                                                                                                                                                                                                                                                                                                                         '.
                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                              .   j   .
                                                                                                                                                                                                                                                                                                                                          :.t.2...:.:..,g...  1.ë:...4
                                                                                                                                                                                                                                                                                                                                                                :.         (    ..
                                                                                                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                                                                                                .         ... y
                                                                                                                                                                                                                                                                                                                                                                                                       :y:
                                                                                                                                                                                                                                                                                                                                                                                                          yj
                                                                                                                                                                                                                                                                                                                                                                                                           yj
                                                                                                                                                                                                                                                                                                                                                                                                            yy
                                                                                                                                                                                                                                                                                                                                                                                                             y        :  E:         ,
               i.j
                i l
                  ë
                  j::'            :
                                  EE:
                                    EE
                                     i'
                                      ::i
                                        Eii
                                          .
                                          tië
                                            i
                                            :::
                                             r
                                             .E
                                              ::
                                              :
                                              )
                                              . .
                                                j
                                                .
                                                k'
                                                 :
                                                 :E
                                                  :
                                                  .i
                                                   E
                                                   E
                                                   .i
                                                    :
                                                    :i
                                                     i
                                                     :i
                                                      i
                                                      :ë
                                                       E
                                                       '2
                                                        :
                                                        (k
                                                         ë
                                                         q:
                                                          ;
                                                          '.
                                                           ..
                                                           ij
                                                            :
                                                            . :
                                                              .j2
                                                                :g
                                                                 E.
                                                                  ::
                                                                   k
                                                                   (:
                                                                    ùk
                                                                     jj:
                                                                       d
                                                                       (!
                                                                        1
                                                                        ';
                                                                         E
                                                                         jï
                                                                          'j
                                                                           )(
                                                                            @
                                                                            j::.::ë
                                                                                  :
                                                                                  .E
                                                                                   ë
                                                                                   'i
                                                                                    '(
                                                                                     ë
                                                                                     :   k
                                                                                         ë:   (
                                                                                             ,y
                                                                                             :  ..
                                                                                                )y.(
                                                                                                   :E;j
                                                                                                      (
                                                                                                      .E
                                                                                                       (
                                                                                                       .
                                                                                                       :yg
                                                                                                         :
                                                                                                         ir.
                                                                                                           '
                                                                                                           2:
                                                                                                            x
                                                                                                            .
                                                                                                            jE  t
                                                                                                                ;2
                                                                                                                 E:
                                                                                                                  E
                                                                                                                  .)
                                                                                                                   :E
                                                                                                                    .(
                                                                                                                     ..pj1
                                                                                                                         22
                                                                                                                          5
                                                                                                                          (è
                                                                                                                           :.  ï
                                                                                                                               : ::
                                                                                                                                  ..'''
                                                                                                                                      .:
                                                                                                                                       'E
                                                                                                                                        '                               .                    .            .       . .   .  . ..        ...           ... .. .             .   .           ;     .:ë
                                                                                                                                                                                                                                                                                                  :(
                                                                                                                                                                                                                                                                                                   :IE
                                                                                                                                                                                                                                                                                                     'E:
                                                                                                                                                                                                                                                                                                       'j6
                                                                                                                                                                                                                                                                                                         ;'..  .   1
                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                   .:
                                                                                                                                                                                                                                                                                                                    .' ..
                                                                                                                                                                                                                                                                                                                        :  l
                                                                                                                                                                                                                                                                                                                           : ï
                                                                                                                                                                                                                                                                                                                             :  .  :    ..:  :j
                                                                                                                                                                                                                                                                                                                                              i : :  .: '     . ..  ë
                                                                                                                                                                                                                                                                                                                                                                    . ((j
                                                                                                                                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                                                                                                                       ë  ''
                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                          :  .yyq:
                                                                                                                                                                                                                                                                                                                                                                                 E(
                                                                                                                                                                                                                                                                                                                                                                                  .'
                                                                                                                                                                                                                                                                                                                                                                                   :l
                                                                                                                                                                                                                                                                                                                                                                                   ii:
                                                                                                                                                                                                                                                                                                                                                                                     .ii
                                                                                                                                                                                                                                                                                                                                                                                       j::
                                                                                                                                                                                                                                                                                                                                                                                        : ë
                                                                                                                                                                                                                                                                                                                                                                                          :':.
                                                                                                                                                                                                                                                                                                                                                                                            ::gE:E:
                                                                                                                                                                                                                                                                                                                                                                                                  q(
                                                                                                                                                                                                                                                                                                                                                                                                   j,:
                                                                                                                                                                                                                                                                                                                                                                                                     :(
                                                                                                                                                                                                                                                                                                                                                                                                      ij (.r..p,.:
                                                                                                                                                                                                                                                                                                                                                                                                                 ï;E
                                                                                                                                                                                                                                                                                                                                                                                                                   y:
                                                                                                                                                                                                                                                                                                                                                                                                                    gj.
                                                                                                                                                                                                                                                                                                                                                                                                                      k;
                                                                                                                                                                                                                                                                                                                                                                                                                       r.:E'..
                                                                                                                                                                                                                                                                                                                                                                                                                             :.
                                                                                                                                                                                                                                                                                                                                                                                                                              E.
                                                                                                                                                                                                                                                                                                                                                                                                                               ë..  j:
              L
              :   i'@@
                     :E
                      i:
                       ..
                        :..
                          ::
                           .j
                            Ej
                             g:
                              y
                              jgj
                                E
                                gj  . :   :                       .    .             '
                                                                                     L   E'k .. E
                                                                                                :E.
                                                                                                  ...
                                                                                                    E
                                                                                                    .ë
                                                                                                     (
                                                                                                     .E.
                                                                                                       r?t E:
                                                                                                            j'  ) ..
                                                                                                                   .E.i.f
                                                                                                                        .i:(
                                                                                                                           jë
                                                                                                                            (
                                                                                                                            ; E
                                                                                                                              t :
                                                                                                                                g,., . :.j
                                                                                                                                         :E
                                                                                                                                          :ëj
                                                                                                                                            Ej
                                                                                                                                             :E'::E
                                                                                                                                                  '    ...
                                                                                                                                                         y::
                                                                                                                                                           jë
                                                                                                                                                            jL
                                                                                                                                                             jër
                                                                                                                                                               E:
                                                                                                                                                                . :
                                                                                                                                                                  ':'  kg .
                                                                                                                                                                          gE
                                                                                                                                                                           )?
                                                                                                                                                                            :E
                                                                                                                                                                             'r
                                                                                                                                                                              E:
                                                                                                                                                                               i;
                                                                                                                                                                                yEE :
                                                                                                                                                                                    ')
                                                                                                                                                                                     ((E
                                                                                                                                                                                       ( .
                                                                                                                                                                                         'j :
                                                                                                                                                                                            f'yj
                                                                                                                                                                                               '
                                                                                                                                                                                               .y
                                                                                                                                                                                                : g.
                                                                                                                                                                                                   :?E E
                                                                                                                                                                                                       ::.
                                                                                                                                                                                                         ,: :   .
                                                                                                                                                                                                                :)
                                                                                                                                                                                                                 :::
                                                                                                                                                                                                                   ' (
                                                                                                                                                                                                                     'ë.  '  :jj
                                                                                                                                                                                                                               :'
                                                                                                                                                                                                                                E:h'''  ' ë
                                                                                                                                                                                                                                          Eë
                                                                                                                                                                                                                                           ::
                                                                                                                                                                                                                                            ' i
                                                                                                                                                                                                                                              ëE
                                                                                                                                                                                                                                               :'
                                                                                                                                                                                                                                                :::
                                                                                                                                                                                                                                                  ...    ''h:: q
                                                                                                                                                                                                                                                               ' ;
                                                                                                                                                                                                                                                                 :; é : .
                                                                                                                                                                                                                                                                        : :.
                                                                                                                                                                                                                                                                           :(
                                                                                                                                                                                                                                                                            J$:
                                                                                                                                                                                                                                                                              i(jjk
                                                                                                                                                                                                                                                                                  ::.:
                                                                                                                                                                                                                                                                                     ..L
                                                                                                                                                                                                                                                                                       . .
                                                                                                                                                                                                                                                                                         L.tq
                                                                                                                                                                                                                                                                                            z
                                                                                                                                                                                                                                                                                            ië j:CL
                                                                                                                                                                                                                                                                                                  ..:.'..' '
                                                                                                                                                                                                                                                                                                           'j
                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                            : (
                                                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                                              'E
                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                               .:.
                                                                                                                                                                                                                                                                                                                 : .       '
                                                                                                                                                                                                                                                                                                                           . .
                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                             .E
                                                                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                                                                              . .
                                                                                                                                                                                                                                                                                                                                .:
                                                                                                                                                                                                                                                                                                                                 ' .
                                                                                                                                                                                                                                                                                                                                   r:
                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                                                                                     ::.      . :
                                                                                                                                                                                                                                                                                                                                                . (
                                                                                                                                                                                                                                                                                                                                                  1  :
                                                                                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                                                                                     'E
                                                                                                                                                                                                                                                                                                                                                      i E .
                                                                                                                                                                                                                                                                                                                                                          E :
                                                                                                                                                                                                                                                                                                                                                            .E
                                                                                                                                                                                                                                                                                                                                                             :.::  E
                                                                                                                                                                                                                                                                                                                                                                   '. :' :
                                                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                                                         .:
                                                                                                                                                                                                                                                                                                                                                                          Ij
                                                                                                                                                                                                                                                                                                                                                                           ë
                                                                                                                                                                                                                                                                                                                                                                           : E.
                                                                                                                                                                                                                                                                                                                                                                              i.1
                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                :''
                                                                                                                                                                                                                                                                                                                                                                                  .ë '
                                                                                                                                                                                                                                                                                                                                                                                     E:
                                                                                                                                                                                                                                                                                                                                                                                      .'.
                                                                                                                                                                                                                                                                                                                                                                                        .:(
                                                                                                                                                                                                                                                                                                                                                                                          :;
                                                                                                                                                                                                                                                                                                                                                                                           .::
                                                                                                                                                                                                                                                                                                                                                                                             ..:
                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                               '.
                                                                                                                                                                                                                                                                                                                                                                                                ::.
                                                                                                                                                                                                                                                                                                                                                                                                  :'.
                                                                                                                                                                                                                                                                                                                                                                                                    EE
                                                                                                                                                                                                                                                                                                                                                                                                     .:
                                                                                                                                                                                                                                                                                                                                                                                                      .i
                                                                                                                                                                                                                                                                                                                                                                                                       . ë
                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                                                                                         .i
                                                                                                                                                                                                                                                                                                                                                                                                          E
                                                                                                                                                                                                                                                                                                                                                                                                          ':
                                                                                                                                                                                                                                                                                                                                                                                                           E
                                                                                                                                                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                                                                                                                                            ::
                                                                                                                                                                                                                                                                                                                                                                                                             E .
                                                                                                                                                                                                                                                                                                                                                                                                               ::
                                                                                                                                                                                                                                                                                                                                                                                                                2
                                                                                                                                                                                                                                                                                                                                                                                                                . (''.(
                                                                                                                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                                                                                                                      .Li
                                                                                                                                                                                                                                                                                                                                                                                                                        ïè
                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                         ..
                                                                                                                                                                                                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                                                                                                                                                                                                          ..'::
                                                                                                                                                                                                                                                                                                                                                                                                                              ..J:!
                          ,:
                           t.
                            kjj
                            : tg.r
                                jt.
                                  ïj::
                                    py.
                                      #L
                                      )..
                                       )j:
                                        :g.
                                         .,i
                                          t,/
                                           :
                                           . x:
                                              ?àt;'é:
                                                    'j
                                                     Ep
                                                      tt.
                                                      . (,:
                                                          1.
                                                           :'
                                                            1@
                                                            t
                                                            : ./
                                                              ::'
                                                                .E
                                                                 .E
                                                                  .E
                                                                   .:f
                                                                     t:
                                                                      '1
                                                                      j7tj
                                                                         EE
                                                                          j;
                                                                           .::..
                                                                               J,' t
              ft                                                                    ::
              '
              ijg
                ::..()'.
                  y
                  )     ':
                         E(
                          .      ..    ,    !(
                                            i  ï'
                                                1 .(
                                                  ( .     q          : : (         y:.)l..i.i.E(... ..                   ::
                                                                                                                          ...: .;          ..:
                                                                                                                                             ......L      ..:ï1:  ëE
                                                                                                                                                                   .:(:
                                                                                                                                                                      .è:
                                                                                                                                                                        ..:.r.jE   :...: .rs.Jj E:                  '..:::l.k..!.:;
                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                   ;':' ..::.::.:.. .'..   :.
                                                                                                                                                                                                                                                            :.
                                                                                                                                                                                                                                                             1..    :'      ...1.:
                                                                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                                                                                  .  ..   ''.:
                                                                                                                                                                                                                                                                                             ' :
                                                                                                                                                                                                                                                                                               .:
                                                                                                                                                                                                                                                                                                .
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 153 of 165

                                                                              '(
                                                                               '
                                                                               (
                                                                                  .
                                                                                  .




                * x                                                            y
                x s7
                *
                * *
                   o
                                                          X
                                                                                  #
                                                                                  t
                                                                                  :
                                                                                                   t
                                                                                                   i
                                         *                *
                ':e                                       <                                        Q
             )œ
              >m>-
                 *                       e                         *                  Q
                                                                                      *
                                         W                                            !
                                                                                      X            1
              l:<
              j @tS
                  o)y
                    %                    P                *                           yE
                                                                                      =
              i> w x
              )                                                                       *            b
              !
              ro o >
                                                          M Y
                                                          * *                *
                                                                             M        $            1
              '
                                                                                       y           !
              (:
               e m
                 * o
                   x                                      < >
                                                                             *-       .:           <
                                         >                                   <        t
                x > *                    *                > *                                      t
                Q a *                                                        I        œ            Q



                                                     @9   +.                                       *
                                                                                                   <
                                                     u.   r                           *            t
                *
                >                        *                             *                           )
                                         >           *    >
                                                          -            >              >
                m                        m           I    œ            ul             m            u



                                                                                      m
                                                                                      *
                                                                                      E
                                         %                                            *
                                         *1::                                         c
                                         = m
                                         >           X        #*        *+            e                #
                                         3 *         .:                                   Q            t
                    U                    D *
                                           >         -w       Q                       ..
                 *                                        '>
                                                                       ..
                                                                        1
                                                                        ;:;
                                                                        . )            .  1
                                                                                          ;:1      $
                 =                       Q .G
                                         o           D
                                                     -        Q         Q                              t
                 O                       z >         z                 >              >

                              %




                                                     N        N                                        P
                    o                    o           o        o         o                 o            C

                    *                        m        m       N                                        P
                                                                                          n            C
                    >                        >        >       >         >                              V
                                                      e       e




                '
                                     E
                                                              o                           %            P
                    *                        :                                             e           t
                    .
                                     (
                                     i
                                     :

                        11111111 ,
                                 l
                                 j
                                 -               4
                                                 .                           *                 œ
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 154 of 165

                                                                    3:44                                                                                                                                                                                                                                                                          jj'k
                                                                                                                                                                                                                                                                                                                                                     )kTE                                                                                    '
         '




                                                                .                                                                   il.
                                                                                                                                      l
                                                                                                                                      .k
                                                                                                                                       '
                                                                                                                                       .''o?
                                                                                                                                        .'                                                                           '                                                                       '
                                                                                                                                                                                                                                                                                             .'
                                                                                                                                                                                                                                                                                              :..
                                                                                                                                                                                                                                                                                                E
                                                                                                                                                                                                                                                                                                '. .                                                                      .




                        l4+ A G % u & +:#> o @NI4
                        * *#e,f-                                                 G                                   .#MAYYM                                                                                                                                                                        * W lK%
                                                                                                                                                                                                                                                                                                          .-                                                                       t
                                                                                                                                                                                                                                                                                                                                                                                   1v*.
                                                                                                                                                                                                                                                                                                                                                                                     '7.W>w.
                                                                                                                                                                                                                                                                                                                                                                                           W:* .
                                                                                                                                                                                                                                                                                                                                                                                               Y.                                                                          4

                        4'*+ - *

                                    #.vw <                                                                       t4yy- $                                                                            .<-a--.
                                                                                                                                    .:                 .

                                                                                                                                                                                                                                                                                                                                                                                      N
                                                                                                                                                                                                                                                                                                                                                                                      .,, .
                                                       w                                                                                                                                                                                                                                                    4j
                                                                                                                                                                                                                                                                                                             5                                                  :                                    * :X
                                                                                                                                                                                                                                                                                                                                                                                                                      &%
                                                                                                                                                                                                                                                                                                                                  : :                                       4
                                                                                                                                                                                                                                                                                                                                                            ...'
                                                                                                                                                                                                                                                                                                                                                           # .-:.
                                                                                                                                                                                                                                                                                                                                                               k                                     a <dp1
                                                                                                                                                                                                                                                                                                                                                              . .                                         ,9
                                                                                                                                                                                                                                                                                                                                                                                                          s                                                                   ,
                                                                                                                      . .                                ..
                                                                                                                                                          -  4
                                                                                                                                                             d
                                                                                                                                                             t
                                                                                                                                                             !                                                                                                                                                                                              r
                                                                                                                                                                                                                                                                                                                                                            -@
                                                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                                             , 4. .
                                                                                                                                                                                                                                                                                                                                                             4    ,
                                                                                                                                                                                                                                                                                                                                                                  ::
                                                                                                                                                                                                                                                                                                                                                                  .)
                                                                                                                                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                                                                                                                                   j,
                                                                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                                                                    ( :y
                                                                                                                                                                                                                                                                                                                                                                    :  k
                                                                                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                                                       s
                                                                                                                                                                                                                                                                                                                                                                       1
                                                                                                                                                                                                                                                                                                                                                                       .'
                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                        1
                                                                                                                                                                                                                                                                                                                                                                        td
                                                                                                                                                                                                                                                                                                                                                                         4
                                                                                                                                                                                                                                                                                                                                                                         t
             Y< :
             .
                                                                                      #                                                                                                 4
                                                                                                                                                                                                                                                                                                                                             *X,.j
                                                                                                                                                                                                                                                                                                                                             a   y;
                                                                                                                                                                                                                                                                                                                                                           w.   *J' q #
                                                                                                                                                                                                                                                                                                                                                  k, #:
                                                                                                                                                                                                                                                                                                                                                      E 'w
                                                                                                                                                                                                                                                                                                                                                         g
                                                                                                                                           - 4- ow#N #- .4*  .
                                                                                                                                                                                                                                                                               'i' *                                                      ç1#**'
                                                                                                                                                                                                                                                                                                                                               * y* ,..P
                           +%y *     +. .+.. ky
                             .> . .. .       ..
                                                jxpy
                                                  . j.xy                                                                                                                                                                                                                                                                                                                                       .                      %


                           e m e- -:>*,
                                     'i.,
                                       * *                                                                                                    '                      4                                        e:*:
                                                                                                                                                                                                                 i
                                                                                                                                                                                                                 *:- ,
                                                                                                                                                                                                                 :                                                                                                t*#*                                                     :*h> -
                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                           E *+ Ku                                                                          e :.4#> K.ye '4vjo . .
                                                                                                V *s.2z
                                                                                                      ;
                                                                                                               -                                                                                               +   4pjyl 4kjw &#vo w jj
                                                                                                                                                                                                                                      sx

                                                                                                                                                                                                                              .                                                                                                                             .
                                                                             .                                                                                                       ,          ,                                                                                                ,,                      ,,
                                                 e                                                       ,                          :                                                           :                        h '                                                                                ... L
                                                                                                                                                                                                                                                                                                                ..* ze:> u: a.
                                                                                                                                                                                                                                                                                                                       ....k2z'.'....                                 edp
                                                                                                                                                                                                                                                                                                             :>
                                                                #                    : w                              Mhe $>4Aww    : a.: r
                                                                                                                                *,V4:$. $.*,X:       gj E'N$'                                                                                         *'                        x
                                       :                                                                                                                                                                                                        ..
                                                                         y.e te.+'.â t.k:.>               C u 4de n...%< t.*.* <t%- E :                   #t=
                                                                                                                                                '
                                                                                                                                                         -
                                                                                                                                                         '
                                                                                                                                                         '                                                                                                                                                                                                        ''                                                      '

                                                                                            'dr'-?
                                                                                                 l
                                                                                                 .
                                                                                                 i
                                                                                                 d
                                                                                                 '
                                                                                                 .
                                                                                                 t'
                                                                                                  ,-.
                                                                                                  - -..''. .-'
                                                                                                             -
                                                                                                             .,
                                                                                                              .-
                                                                                                               .....
                                                                                                                   ,
                                                                                                                   <.
                                                                                                                    ''
                                                                                                                     --)1
                                                                                                                        .
                                                                                                                        2
                                                                                                                        k
                                                                                                                        ,
                                                                                                                        .'
                                                                                                                         ,.'.
                                                                                                                         .  '...
                                                                                                                               -
                                                                                                                               ,,4
                                                                                                                                 -..
                                                                                                                                 . w.
                                                                                                                                    --
                                                                                                                                     3
                                                                                                                                     '
                                                                                                                                     tî
                                                                                                                                      '' , - '.----....-.- '-''':'''i-.:                                                                                                                                                                                                                                    '                           ''
                                                                                                                                                  A
                                                                                                                                     ;-..-.. -- -.#
                                                                          '    . '                                                          ' -
                                                                                                                                              -*                                              '                                                                                                                                                                                                      ''                              ' . '
                                                 -                                     .                                        .
                                                                                                                                                           '
                                                                                                                                                           '
                                                                                                                                                                                             ...                                                                                                                                                                                  .                  .                                  .

                        l* tj                                                                                                                                                                                                                                                                                                                                                     ,b-'
                                                                                          M +'
                                                                                             ei
                                                                                             -G                                                                         G Wj#>
                                                                                                                                                                             W$*..e
                                                                                                                                                                               .:. sykW >
                                                                                                                                                                                        (#O.&>Cr41'
                                                                                                                                                                                                t,*y&;:     '
                                                                                                                                                                                                      rxéW @4e                                                                                                                                                                       -         >                                     .e
             *< +*t G :
                      #o R c%%y,,
                                y < .< y. xya4< 4:,:.) r %.- o   ' +.<$ w .
                WY      4.
                         szN//     .<. < z/,y-: ,4       o4:X. wk
                                                        Y'      :r k , :
                                                                                                     %                                                                                                                                                                                                                                                            e*
                                                                                                                                                                                                                                                                                                                                                                                                                         ..                                gy
                                                                                                                                                  #T. 11 N                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                    'eEh                                                                       *;                                                                                ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ''.
                                                                                                                                                                                                                                                                                 :                                                                  .e
                                                                                                                                                                                                                                                                                                                                               .ND ..

                                                                                                                                                                                                                                                                                                         w m
                                                                                                                                                                                                                                                                         .                                                                                  :
                                                                                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                                                                                              w yaj. ;..P'
                                #h'
                                  #+ V & Ayy<#J/+
                                  k             . yj
                                                   CFV xg                                                                                                                                                                                                                                                                                                     PAyW O
                                Am '*â4 y':




                 tEs
                 1 :x
                    >:''..           jJj
                                       4l!. ; Fi    qt:rëp :ë
                                                            Ll
                                                             j
                                                             i ëë
                                                                i
                                                                :i
                                                                 ij
                                                                  i
                                                                  j
                                                                  r
                                                                  .i
                                                                   :r
                                                                    E
                                                                    i
                                                                    )q
                                                                     '
                                                                     t) :
                                                                        jt
                                                                         ëù
                                                                          t
                                                                          (
                                                                          j'
                                                                           4t
                                                                            ï
                                                                            t
                                                                            i.
                                                                             '
                                                                             s
                                                                             1'
                                                                              (L
                                                                               '
                                                                               $
                                                                               j
                                                                               . i
                                                                                 F9
                                                                                  j
                                                                                  ;
                                                                                  r.
                                                                                   .
                                                                                   Sjkë
                                                                                      iji  '.
                                                                                            j
                                                                                            f
                                                                                            i  p
                                                                                               r     ;.
                                                                                                     t  r
                                                                                                        :L
                                                                                                         '
                                                                                                         p
                                                                                                         g
                                                                                                         ë
                                                                                                         Ejl
                                                                                                          ig
                                                                                                           ëp
                                                                                                            E
                                                                                                            Eig:
                                                                                                               :
                                                                                                               .(:
                                                                                                                :@
                                                                                                                 E
                                                                                                                 .E:
                                                                                                                   .ë:
                                                                                                                    :'
                                                                                                                     :
                                                                                                                     ''
                                                                                                                      :
                                                                                                                      q'
                                                                                                                       :
                                                                                                                       :  '
                                                                                                                          :
                                                                                                                          i  '
                                                                                                                             i
                                                                                                                             .
                                                                                                                             j
                                                                                                                             :
                                                                                                                             ë  :
                                                                                                                                i
                                                                                                                                i  /
                                                                                                                                   :
                                                                                                                                   i
                                                                                                                                   à
                                                                                                                                   .c
                                                                                                                                    !
                                                                                                                                    C
                                                                                                                                    ,'
                                                                                                                                     t'
                                                                                                                                      :
                                                                                                                                      )l
                                                                                                                                       '
                                                                                                                                       E
                                                                                                                                       (ë
                                                                                                                                        E
                                                                                                                                        @y
                                                                                                                                         j
                                                                                                                                         :
                                                                                                                                         (#
                                                                                                                                          p
                                                                                                                                          E
                                                                                                                                          jj
                                                                                                                                           :t
                                                                                                                                            2k
                                                                                                                                             (
                                                                                                                                             @
                                                                                                                                             r:
                                                                                                                                              t
                                                                                                                                              .
                                                                                                                                              j;
                                                                                                                                               .
                                                                                                                                               2
                                                                                                                                               (
                                                                                                                                               :.
                                                                                                                                                jt
                                                                                                                                                 I
                                                                                                                                                 :fi
                                                                                                                                                   ,E
                                                                                                                                                    1'
                                                                                                                                                     L :'
                                                                                                                                                        ëh
                                                                                                                                                         :
                                                                                                                                                         .
                                                                                                                                                         :CL
                                                                                                                                                           .
                                                                                                                                                           :'r:
                                                                                                                                                            E
                                                                                                                                                            I  ë !
                                                                                                                                                                 ' i
                                                                                                                                                                   l;j'i
                                                                                                                                                                       rq
                                                                                                                                                                        ë
                                                                                                                                                                        ::
                                                                                                                                                                         i
                                                                                                                                                                         gë
                                                                                                                                                                          i
                                                                                                                                                                          :
                                                                                                                                                                          j
                                                                                                                                                                          ri
                                                                                                                                                                           ëq
                                                                                                                                                                            E
                                                                                                                                                                            r
                                                                                                                                                                            i
                                                                                                                                                                            gE
                                                                                                                                                                             ë
                                                                                                                                                                             j
                                                                                                                                                                             .E
                                                                                                                                                                              k'
                                                                                                                                                                               E
                                                                                                                                                                               Er
                                                                                                                                                                                '
                                                                                                                                                                                .!
                                                                                                                                                                                 ::
                                                                                                                                                                                  j
                                                                                                                                                                                  i
                                                                                                                                                                                  (j
                                                                                                                                                                                   i
                                                                                                                                                                                   j
                                                                                                                                                                                   ':
                                                                                                                                                                                    ëL:.
                                                                                                                                                                                       jj
                                                                                                                                                                                        t
                                                                                                                                                                                        ijjîp)
                                                                                                                                                                                            i
                                                                                                                                                                                            E E:
                                                                                                                                                                                               ï'b'
                                                                                                                                                                                                 ,s::
                                                                                                                                                                                                    ii:
                                                                                                                                                                                                      iii:
                                                                                                                                                                                                       : yiyL!E
                                                                                                                                                                                                            @
                                                                                                                                                                                                            :   g
                                                                                                                                                                                                                i
                                                                                                                                                                                                                .r'i
                                                                                                                                                                                                                   ';
                                                                                                                                                                                                                    E  j(( i
                                                                                                                                                                                                                           :iE
                                                                                                                                                                                                                            : E
                                                                                                                                                                                                                              i
                                                                                                                                                                                                                              ëi:  ë
                                                                                                                                                                                                                                   :  !
                                                                                                                                                                                                                                      E  'g
                                                                                                                                                                                                                                         .     : :
                                                                                                                                                                                                                                                 '   C
                                                                                                                                                                                                                                                     E::  iE
                                                                                                                                                                                                                                                          E  ii
                                                                                                                                                                                                                                                             E LL
                                                                                                                                                                                                                                                               i L
                                                                                                                                                                                                                                                                 :!L
                                                                                                                                                                                                                                                                  E ::
                                                                                                                                                                                                                                                                     CE.g
                                                                                                                                                                                                                                                                       : E
                                                                                                                                                                                                                                                                         ië
                                                                                                                                                                                                                                                                          EEi
                                                                                                                                                                                                                                                                           ë     'i
                                                                                                                                                                                                                                                                                 q ':
                                                                                                                                                                                                                                                                                   ë?:rE
                                                                                                                                                                                                                                                                                      ? :I
                                                                                                                                                                                                                                                                                        E r
                                                                                                                                                                                                                                                                                          ,.      '(jE
                                                                                                                                                                                                                                                                                                    i1@j
                                                                                                                                                                                                                                                                                                       I:'
                                                                                                                                                                                                                                                                                                         r'
                                                                                                                                                                                                                                                                                                          ..ë    'L.
                                                                                                                                                                                                                                                                                                                  q
                                                                                                                                                                                                                                                                                                                  $jL
                                                                                                                                                                                                                                                                                                                    31
                                                                                                                                                                                                                                                                                                                     t
                                                                                                                                                                                                                                                                                                                     ::j
                                                                                                                                                                                                                                                                                                                      . !L
                                                                                                                                                                                                                                                                                                                        L', 'q        x  @,
                                                                                                                                                                                                                                                                                                                                          h;
                                                                                                                                                                                                                                                                                                                                           f.
                                                                                                                                                                                                                                                                                                                                           k ).
                                                                                                                                                                                                                                                                                                                                             :(.
                                                                                                                                                                                                                                                                                                                                              :kr
                                                                                                                                                                                                                                                                                                                                               p   '     ' 'ti
                                                                                                                                                                                                                                                                                                                                                            'Ei:
                                                                                                                                                                                                                                                                                                                                                               EEi
                                                                                                                                                                                                                                                                                                                                                                i  :F,'
                                                                                                                                                                                                                                                                                                                                                                      ,él
                                                                                                                                                                                                                                                                                                                                                                        :Ftgjé  p! p  .J E:é E :L
                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                               '  gr
                                                                                                                                                                                                                                                                                                                                                                                                   gti
                                                                                                                                                                                                                                                                                                                                                                                                     p  j! i  @
                                                                                                                                                                                                                                                                                                                                                                                                              ! ::
                                                                                                                                                                                                                                                                                                                                                                                                                '  ;k   :::TIg
                                                                                                                                                                                                                                                                                                                                                                                                                             di
                                                                                                                                                                                                                                                                                                                                                                                                                              'i
                                                                                                                                                                                                                                                                                                                                                                                                                               td
                                                                                                                                                                                                                                                                                                                                                                                                                                id
                                                                                                                                                                                                                                                                                                                                                                                                                                 pd
                                                                                                                                                                                                                                                                                                                                                                                                                                  iiï  :!
                                                                                                                                                                                                                                                                                                                                                                                                                                        ï .    :   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                   ; ï
                                                                                                                                                                                                                                                                                                                                                                                                                                                     :@1
                                                                                                                                                                                                                                                                                                                                                                                                                                                       41'
                                                                                                                                                                                                                                                                                                                                                                                                                                                         L;':
                                                                                                                                                                                                                                                                                                                                                                                                                                                           :;::  . :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   '  F
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      :   ::
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           i2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            iiL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              tj1i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ï
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I:    E''
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .::
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            i:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             qEj
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               @'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                @i!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 11:E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ('
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     é'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      EE:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       :..'
                 !.
                 :4@1! ''
                  :
                 ': ':i liE
                          tpq
                            ipl
                              s
                               1i  ë,
                                   :
                               t.'''ë
                                     .j
                                      C.
                                      'i'
                                       :
                                       k
                                       ji'
                                        .
                                        E i'
                                          . l
                                            ql
                                            i:
                                            .
                                            ë
                                              '
                                              p
                                              j
                                             l4
                                             i
                                               E
                                               h
                                               j
                                              f4
                                              E
                                                (
                                                é
                                               j:
                                               :
                                               i
                                                 '
                                                 1
                                                j.
                                                y
                                                i
                                                  i
                                                  :
                                                 g.
                                                 ;k
                                                  j
                                                  ;
                                                   :
                                                   j:
                                                   '
                                                   g,.
                                                    r
                                                    :
                                                    .
                                                  y ..
                                                       q:
                                                      )r
                                                      ;
                                                      , .t
                                                        .)
                                                        ( ':
                                                          y
                                                          j
                                                          ëj(C
                                                             $
                                                             ,.r2.
                                                               E  4d
                                                                  :
                                                                 ë,
                                                                 j (;
                                                                    :.
                                                                    j
                                                                    .
                                                                    yL:
                                                                      ):
                                                                      k yt
                                                                         /:(
                                                                           'L
                                                                           à ,g
                                                                             . Fq
                                                                               9
                                                                              .z  kjj
                                                                                    qjlt
                                                                                     iïfs
                                                                                        ;'
                                                                                        E
                                                                                        :  ë'
                                                                                            (.
                                                                                            .  Fq    !   ..
                                                                                                        ;k
                                                                                                        . ëk
                                                                                                           ..
                                                                                                            ;E
                                                                                                             :E
                                                                                                             j .t
                                                                                                              i:::..
                                                                                                                  pyl
                                                                                                                    )L
                                                                                                                     ::
                                                                                                                      ut
                                                                                                                      l@. y. t.
                                                                                                                             r  k, .;y.g
                                                                                                                                   j
                                                                                                                                   p    .::,t
                                                                                                                                       .;     .j
                                                                                                                                               r,
                                                                                                                                               .tr
                                                                                                                                                 tit.
                                                                                                                                                  t:
                                                                                                                                                   .t.
                                                                                                                                                    itE
                                                                                                                                                     i l.
                                                                                                                                                        j.
                                                                                                                                                        E kr:
                                                                                                                                                         :. '.''
                                                                                                                                                               .,i
                                                                                                                                                               :   .E
                                                                                                                                                                 ë.t
                                                                                                                                                                 '  ti ië
                                                                                                                                                                     yy' ..
                                                                                                                                                                        jt i1
                                                                                                                                                                            bï
                                                                                                                                                                            ïf1(ïï)
                                                                                                                                                                                qi
                                                                                                                                                                                . qï'
                                                                                                                                                                                  :  .,:
                                                                                                                                                                                    2i  jë
                                                                                                                                                                                       Ei.g
                                                                                                                                                                                         ,
                                                                                                                                                                                         L
                                                                                                                                                                                          .:
                                                                                                                                                                                           ;.
                                                                                                                                                                                          1!
                                                                                                                                                                                          i .:
                                                                                                                                                                                             :s
                                                                                                                                                                                              C.'
                                                                                                                                                                                                L
                                                                                                                                                                                                .):
                                                                                                                                                                                                .'
                                                                                                                                                                                                E:i
                                                                                                                                                                                                  tE
                                                                                                                                                                                                  g9i
                                                                                                                                                                                                   .ëLi
                                                                                                                                                                                                    gt
                                                                                                                                                                                                    kig
                                                                                                                                                                                                      .:j
                                                                                                                                                                                                      l
                                                                                                                                                                                                      q ii
                                                                                                                                                                                                        . :.
                                                                                                                                                                                                         ë'
                                                                                                                                                                                                         :
                                                                                                                                                                                                         ..r.
                                                                                                                                                                                                           J
                                                                                                                                                                                                           y
                                                                                                                                                                                                           kèy
                                                                                                                                                                                                            :
                                                                                                                                                                                                               :4
                                                                                                                                                                                                               :.
                                                                                                                                                                                                               .
                                                                                                                                                                                                                 (
                                                                                                                                                                                                                 :
                                                                                                                                                                                                                )(
                                                                                                                                                                                                                t
                                                                                                                                                                                                                  ë
                                                                                                                                                                                                                  i:
                                                                                                                                                                                                                  kë
                                                                                                                                                                                                                 y.
                                                                                                                                                                                                                  )
                                                                                                                                                                                                                  .
                                                                                                                                                                                                                    g
                                                                                                                                                                                                                    i  :
                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                   jj.r.
                                                                                                                                                                                                                        g
                                                                                                                                                                                                                        i
                                                                                                                                                                                                                        jë
                                                                                                                                                                                                                         (
                                                                                                                                                                                                                         ,iE
                                                                                                                                                                                                                           .:
                                                                                                                                                                                                                           k;E
                                                                                                                                                                                                                            f
                                                                                                                                                                                                                            .ï.
                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                              :E.
                                                                                                                                                                                                                              9t
                                                                                                                                                                                                                              . ::
                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                   Ef
                                                                                                                                                                                                                                   J
                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                      q: ..
                                                                                                                                                                                                                                         k  :j
                                                                                                                                                                                                                                            t
                                                                                                                                                                                                                                               k
                                                                                                                                                                                                                                               :k
                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                                 ,. .
                                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                                     ë
                                                                                                                                                                                                                                                     j:
                                                                                                                                                                                                                                                      ti :E
                                                                                                                                                                                                                                                          :r:
                                                                                                                                                                                                                                                            .i
                                                                                                                                                                                                                                                             .r
                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                              .ë)
                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                L'
                                                                                                                                                                                                                                                                )
                                                                                                                                                                                                                                                                ..
                                                                                                                                                                                                                                                                 ::
                                                                                                                                                                                                                                                                  jk
                                                                                                                                                                                                                                                                  .:.
                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                   t
                                                                                                                                                                                                                                                                   sty:
                                                                                                                                                                                                                                                                    k
                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                      t:g
                                                                                                                                                                                                                                                                      ..:
                                                                                                                                                                                                                                                                        (i
                                                                                                                                                                                                                                                                        .E
                                                                                                                                                                                                                                                                         tq
                                                                                                                                                                                                                                                                          g
                                                                                                                                                                                                                                                                          y:
                                                                                                                                                                                                                                                                          c
                                                                                                                                                                                                                                                                          rjE
                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                           )
                                                                                                                                                                                                                                                                           .  .i
                                                                                                                                                                                                                                                                              (  t:
                                                                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                  (
                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                  t'
                                                                                                                                                                                                                                                                                   .:
                                                                                                                                                                                                                                                                                   y
                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                    !
                                                                                                                                                                                                                                                                                    :'
                                                                                                                                                                                                                                                                                    ë
                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                     7 ::.
                                                                                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                                                                                     :s:
                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                         .'
                                                                                                                                                                                                                                                                                         :ë
                                                                                                                                                                                                                                                                                          .g
                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                           .ë
                                                                                                                                                                                                                                                                                            Ei
                                                                                                                                                                                                                                                                                            i
                                                                                                                                                                                                                                                                                            k
                                                                                                                                                                                                                                                                                            .ië
                                                                                                                                                                                                                                                                                             t
                                                                                                                                                                                                                                                                                             .ii
                                                                                                                                                                                                                                                                                              s
                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                E
                                                                                                                                                                                                                                                                                                't
                                                                                                                                                                                                                                                                                                i
                                                                                                                                                                                                                                                                                                b ëi
                                                                                                                                                                                                                                                                                                  i'
                                                                                                                                                                                                                                                                                                   ::
                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                   b''
                                                                                                                                                                                                                                                                                                     )
                                                                                                                                                                                                                                                                                                     :.
                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                       . .'
                                                                                                                                                                                                                                                                                                       ..:
                                                                                                                                                                                                                                                                                                       .  @.
                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                          : /?
                                                                                                                                                                                                                                                                                                           ëf
                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                                                                                             El
                                                                                                                                                                                                                                                                                                              ï
                                                                                                                                                                                                                                                                                                              E
                                                                                                                                                                                                                                                                                                              :f
                                                                                                                                                                                                                                                                                                              Ei.
                                                                                                                                                                                                                                                                                                               Ei
                                                                                                                                                                                                                                                                                                                :t
                                                                                                                                                                                                                                                                                                                ë
                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                 )
                                                                                                                                                                                                                                                                                                                 i.
                                                                                                                                                                                                                                                                                                                 ë
                                                                                                                                                                                                                                                                                                                 .@L
                                                                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                                                                                  ;
                                                                                                                                                                                                                                                                                                                  ::r
                                                                                                                                                                                                                                                                                                                   ;
                                                                                                                                                                                                                                                                                                                   E
                                                                                                                                                                                                                                                                                                                    :.
                                                                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                                                                    ' .:
                                                                                                                                                                                                                                                                                                                      :(
                                                                                                                                                                                                                                                                                                                       .ë
                                                                                                                                                                                                                                                                                                                        ..g
                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                          ël
                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                         p.
                                                                                                                                                                                                                                                                                                                           t
                                                                                                                                                                                                                                                                                                                           //
                                                                                                                                                                                                                                                                                                                           .ëy
                                                                                                                                                                                                                                                                                                                            .  Eë
                                                                                                                                                                                                                                                                                                                               ë j
                                                                                                                                                                                                                                                                                                                                 :f
                                                                                                                                                                                                                                                                                                                                  E.
                                                                                                                                                                                                                                                                                                                                  .   è
                                                                                                                                                                                                                                                                                                                                      2:
                                                                                                                                                                                                                                                                                                                                      ë
                                                                                                                                                                                                                                                                                                                                      .  @p
                                                                                                                                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                                                                                                                         b
                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                         ?::
                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                          ....
                                                                                                                                                                                                                                                                                                                                           .   .,
                                                                                                                                                                                                                                                                                                                                                ..
                                                                                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                                                                                 1î
                                                                                                                                                                                                                                                                                                                                                 .ië
                                                                                                                                                                                                                                                                                                                                                  E
                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                   p
                                                                                                                                                                                                                                                                                                                                                   :t
                                                                                                                                                                                                                                                                                                                                                   . ëg
                                                                                                                                                                                                                                                                                                                                                     :  i
                                                                                                                                                                                                                                                                                                                                                        !
                                                                                                                                                                                                                                                                                                                                                        të
                                                                                                                                                                                                                                                                                                                                                        ë
                                                                                                                                                                                                                                                                                                                                                        t
                                                                                                                                                                                                                                                                                                                                                         f
                                                                                                                                                                                                                                                                                                                                                         i1
                                                                                                                                                                                                                                                                                                                                                         k
                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                                                                                                                                          t:
                                                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                                                           t
                                                                                                                                                                                                                                                                                                                                                           ër
                                                                                                                                                                                                                                                                                                                                                           i
                                                                                                                                                                                                                                                                                                                                                           )
                                                                                                                                                                                                                                                                                                                                                           :':
                                                                                                                                                                                                                                                                                                                                                            i
                                                                                                                                                                                                                                                                                                                                                            t
                                                                                                                                                                                                                                                                                                                                                            )
                                                                                                                                                                                                                                                                                                                                                             t''
                                                                                                                                                                                                                                                                                                                                                             t.
                                                                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                                                                                               'ë' ..
                                                                                                                                                                                                                                                                                                                                                                   ' .:
                                                                                                                                                                                                                                                                                                                                                                     ':.
                                                                                                                                                                                                                                                                                                                                                                       i:
                                                                                                                                                                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                                                                                        p
                                                                                                                                                                                                                                                                                                                                                                        i'
                                                                                                                                                                                                                                                                                                                                                                        ë
                                                                                                                                                                                                                                                                                                                                                                        .:ë
                                                                                                                                                                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                          (
                                                                                                                                                                                                                                                                                                                                                                          ëi
                                                                                                                                                                                                                                                                                                                                                                          ;
                                                                                                                                                                                                                                                                                                                                                                          .i:
                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                             ë
                                                                                                                                                                                                                                                                                                                                                                             'E
                                                                                                                                                                                                                                                                                                                                                                             E
                                                                                                                                                                                                                                                                                                                                                                             ;  :ë
                                                                                                                                                                                                                                                                                                                                                                                i  :
                                                                                                                                                                                                                                                                                                                                                                                   EE
                                                                                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                                                                                   .  ': :'.
                                                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                                                                             ::
                                                                                                                                                                                                                                                                                                                                                                                             ' '.i!(
                                                                                                                                                                                                                                                                                                                                                                                                 :)
                                                                                                                                                                                                                                                                                                                                                                                                 ë
                                                                                                                                                                                                                                                                                                                                                                                                :;
                                                                                                                                                                                                                                                                                                                                                                                                 T).I(
                                                                                                                                                                                                                                                                                                                                                                                                   Ip
                                                                                                                                                                                                                                                                                                                                                                                                   (
                                                                                                                                                                                                                                                                                                                                                                                                     ë
                                                                                                                                                                                                                                                                                                                                                                                                     ë:
                                                                                                                                                                                                                                                                                                                                                                                                     :  E(
                                                                                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                                           ë
                                                                                                                                                                                                                                                                                                                                                                                                           yE
                                                                                                                                                                                                                                                                                                                                                                                                           '  i
                                                                                                                                                                                                                                                                                                                                                                                                              ':'E
                                                                                                                                                                                                                                                                                                                                                                                                                ë  ': Lp
                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                      @ '.
                                                                                                                                                                                                                                                                                                                                                                                                                        r
                                                                                                                                                                                                                                                                                                                                                                                                                           .!.
                                                                                                                                                                                                                                                                                                                                                                                                                           '.
                                                                                                                                                                                                                                                                                                                                                                                                                         it:
                                                                                                                                                                                                                                                                                                                                                                                                                           )II:
                                                                                                                                                                                                                                                                                                                                                                                                                             :I(
                                                                                                                                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                                                                                                                                                               i
                                                                                                                                                                                                                                                                                                                                                                                                                               t
                                                                                                                                                                                                                                                                                                                                                                                                                              :j
                                                                                                                                                                                                                                                                                                                                                                                                                                ë
                                                                                                                                                                                                                                                                                                                                                                                                                                i
                                                                                                                                                                                                                                                                                                                                                                                                                                E(
                                                                                                                                                                                                                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                                                                                                                                                                                                                 i
                                                                                                                                                                                                                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                                                                                                                                                                                                 .:
                                                                                                                                                                                                                                                                                                                                                                                                                                  s
                                                                                                                                                                                                                                                                                                                                                                                                                                  )
                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                                                                                                                                   ë
                                                                                                                                                                                                                                                                                                                                                                                                                                   :E
                                                                                                                                                                                                                                                                                                                                                                                                                                   :'
                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                    ;'
                                                                                                                                                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                                                                                                                                                       hë
                                                                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                                                                                                                                        ()ë g;.
                                                                                                                                                                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                                                                                                                                                                               1
                                                                                                                                                                                                                                                                                                                                                                                                                                               :  !
                                                                                                                                                                                                                                                                                                                                                                                                                                                  .i
                                                                                                                                                                                                                                                                                                                                                                                                                                                  .:
                                                                                                                                                                                                                                                                                                                                                                                                                                                   (:
                                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                                                                                                                                                                                    .;
                                                                                                                                                                                                                                                                                                                                                                                                                                                     .'
                                                                                                                                                                                                                                                                                                                                                                                                                                                      (
                                                                                                                                                                                                                                                                                                                                                                                                                                                     :k
                                                                                                                                                                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                                                                                                                                                                       i
                                                                                                                                                                                                                                                                                                                                                                                                                                                       i
                                                                                                                                                                                                                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                                                                                                                                                                                                        (
                                                                                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,l
                                                                                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                                                                                                                                        k:
                                                                                                                                                                                                                                                                                                                                                                                                                                                         2
                                                                                                                                                                                                                                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                                                                                                                                                                                                                                          ë
                                                                                                                                                                                                                                                                                                                                                                                                                                                         .)
                                                                                                                                                                                                                                                                                                                                                                                                                                                          s:
                                                                                                                                                                                                                                                                                                                                                                                                                                                           /:
                                                                                                                                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                                                                                                                                           .('
                                                                                                                                                                                                                                                                                                                                                                                                                                                             !
                                                                                                                                                                                                                                                                                                                                                                                                                                                               !
                                                                                                                                                                                                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                                                                                                                                                                                             j.f
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 , :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   '  )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ï
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ;L
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          (
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          jl
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ':
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           rl
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            'k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             t:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ùi
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              k;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ,J
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                'I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ;.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 q
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  /
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ;:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   (
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      : ë
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        '1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ;d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ;!'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           p
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           E'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               :d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .ë
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ëi
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Ji
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ù
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ë
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  p
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ).
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      :.'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ..
                                                                        ,E
                                                                         @
                                                                         ,r
                                                                          j?
                                                                           ;
                                                                           g.
                                                                            !kë
                                                                              tj (:
                                                                                  Eyi
                                                                                    iE
                                                                                     ii
                                                                                      ::
                                                                                       $i
                                                                                        .  :!
                                                                                            )i:;.ié:'.E!.;L:
                                                                                                           .
                                                                                                           ,
                                                                                                           !(
                                                                                                            g:
                                                                                                             y;
                                                                                                              .E$;
                                                                                                                 #k
                                                                                                                  i;
                                                                                                                   .'
                                                                                                                    f.
                                                                                                                     !:
                                                                                                                      ë.
                                                                                                                       @  :  .  :  .: E
                                                                                                                                      i:: h.   L IE
                                                                                                                                                  j!             .  .5
                                                                                                                                                                     : .       .'  .E  .'
                                                                                                                                                                                        :.       LàL.
                                                                                                                                                                                                    ?,
                                                                                                                                                                                                     ' .
                                                                                                                                                                                                       d         .     .:      .            :             ,.   j.
                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                gl!j
                                                                                                                                                                                                                                                                   :i
                                                                                                                                                                                                                                                                    ,jlj'
                                                                                                                                                                                                                                                                        t.             j
                                                                                                                                                                                                                                                                                       r.::,g,yjy,y'.   .,'
                                                                                                                                                                                                                                                                                                          . '
                                                                                                                                                                                                                                                                                                            (  fEC
                                                                                                                                                                                                                                                                                                                 :' :; j
                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                       : j',
                                                                                                                                                                                                                                                                                                                           I(
                                                                                                                                                                                                                                                                                                                            '     :   f    ' (
                                                                                                                                                                                                                                                                                                                                             :'
                                                                                                                                                                                                                                                                                                                                              tj
                                                                                                                                                                                                                                                                                                                                               ;
                                                                                                                                                                                                                                                                                                                                               : jj! r  j
                                                                                                                                                                                                                                                                                                                                                        !
                                                                                                                                                                                                                                                                                                                                                        '.j.   ..        (..j   (  :
                                                                                                                                                                                                                                                                                                                                                                                   ë  y  j ( $ :
                                                                                                                                                                                                                                                                                                                                                                                               iE:.
                                                                                                                                                                                                                                                                                                                                                                                                  ErE
                                                                                                                                                                                                                                                                                                                                                                                                    7t
                                                                                                                                                                                                                                                                                                                                                                                                     (  :  L
                                                                                                                                                                                                                                                                                                                                                                                                           .  ï :
                                                                                                                                                                                                                                                                                                                                                                                                                ;  p  .
                                                                                                                                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                                                                                                                      l rg(
                                                                                                                                                                                                                                                                                                                                                                                                                          .j
                                                                                                                                                                                                                                                                                                                                                                                                                           ,ë
                                                                                                                                                                                                                                                                                                                                                                                                                            :.
                                                                                                                                                                                                                                                                                                                                                                                                                             t
                                                                                                                                                                                                                                                                                                                                                                                                                             2p
                                                                                                                                                                                                                                                                                                                                                                                                                              r.
                                                                                                                                                                                                                                                                                                                                                                                                                               ë
                                                                                                                                                                                                                                                                                                                                                                                                                               : .,.   .
                                                                                                                                                                                                                                                                                                                                                                                                                                       E
                                                                                                                                                                                                                                                                                                                                                                                                                                       yt
                                                                                                                                                                                                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                                                                                                                                                                                                        gyj,y,Eï
                                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                               EE:i.,Lj;
                                                                                                                                                                                                                                                                                                                                                                                                                                                      . . t5
                                                                                                                                                                                                                                                                                                                                                                                                                                                           6
                                                                                                                                                                                                                                                                                                                                                                                                                                                           g.
                                                                                                                                                                                                                                                                                                                                                                                                                                                            (
                                                                                                                                                                                                                                                                                                                                                                                                                                                            gj
                                                                                                                                                                                                                                                                                                                                                                                                                                                             g()
                                                                                                                                                                                                                                                                                                                                                                                                                                                               ë;  :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   p
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   gyE:::,.,.   ,(:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ,9  L .g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         :E,:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            (:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .yà
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                (j:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  (gt
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .  ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       :.,.
                             . .
                      (.E
                        ;:
                         .::
                           EEë
                             :Eë
                               :  '
                                  ,
                                  y
                                  :j z
                                     k,       c
                                              xE  fjj
                                                    ;:(ji(:
                                                          Et
                                                           ù:
                                                           E))
                                                            .:(
                                                             . :.
                                                               yt.
                                                                 Lrp
                                                                   :r
                                                                    g
                                                                    (k                                                                                                                                                                                                                                                                       '. .
                                                                     j@
                                                                      y:L
                 Ei
                 ëEE
                   ::
                    ..:      .#
                              ji'  r.iE yjtyyE
                                            rj:
                                              tt
                                               l                                               y     j                                           (                                                                                                                                                                         :              ''                   .                             ï F@    :     .    .     :           .                                       E :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            6.   .
                                               Ej
                                                gj
                                                 rs                                                                                                                                                                                                                                   .                                    y
                                                                                                                                                                                                                                                                                                                           .                         :                                         :.                                                  yE    ,:           :    .
                                                                                                                                                                                                                                                                                                                           g'
                                                                                                                                                                                                                                                                                                                            g
                                                                                                                                                   .
                                                                                                                                                   '                                                                                                                                                     ..
                 !
                 '
                 'i
                  E
                 i'
                  .
                  k
                  7i
                  :'
                   ji
                   i(
                    :
                    ëi
                      '
                      i
                      E
                      :
                      :ë
                        i
                        f
                        '
                        ,
                        (l
                        E.
                         é
                         (à'
                          '
                         E!
                           l
                           î
                           !2
                            i
                            '
                            :
                           't
                            ?
                             ;
                             r
                             '
                            'S
                              i
                              )îù
                              f   j'
                                   E
                                   @@k
                                   E  ïf
                                      ëi
                                       @i
                                       ët
                                        @tt:>ij
                                             r..tg
                                                 :E
                                                  g,
                                                   g)
                                                  .lgE+
                                                      ;
                                                      gy'j
                                                        :  kyg
                                                             E
                                                             ë ji
                                                                jg
                                                                 ly
                                                                  jg
                                                                   :
                                                                   ëy
                                                                    :
                                                                   k(
                                                                     :j
                                                                      1 4
                                                                        k;
                                                                         k
                                                                         'g
                                                                          t
                                                                          '
                                                                          :
                                                                          .à
                                                                           .
                                                                           'y
                                                                            j
                                                                            g
                                                                            tjgy
                                                                               r z
                                                                                 Ej
                                                                                  y
                                                                                  ii
                                                                                   'l
                                                                                    '
                                                                                  r:r
                                                                                    ik
                                                                                     g
                                                                                     ik
                                                                                      1
                                                                                      j
                                                                                      ..ëëLè
                                                                                        t   i            :
                                                                                                         i
                                                                                                         '@
                                                                                                         h:g j
                                                                                                             ((i
                                                                                                               @
                                                                                                               gi
                                                                                                                E
                                                                                                                kE
                                                                                                               :ë
                                                                                                                 :
                                                                                                                 i7
                                                                                                                 ,
                                                                                                                 :?.
                                                                                                                  .?.E@'
                                                                                                                    k.
                                                                                                                    :i
                                                                                                                     y 7.
                                                                                                                       !  E.
                                                                                                                          !  k
                                                                                                                             :.
                                                                                                                             !
                                                                                                                                :
                                                                                                                                .2
                                                                                                                                :
                                                                                                                                   .
                                                                                                                                   g:
                                                                                                                                    Es.
                                                                                                                                     '
                                                                                                                                   :.:
                                                                                                                                     q:ë gg
                                                                                                                                          jë.
                                                                                                                                          ë kj
                                                                                                                                               t
                                                                                                                                             t:r
                                                                                                                                             .
                                                                                                                                                rr
                                                                                                                                               1(
                                                                                                                                               : E4
                                                                                                                                                 :
                                                                                                                                                E;
                                                                                                                                                '
                                                                                                                                                  i
                                                                                                                                                  Eg
                                                                                                                                                   E'
                                                                                                                                                    g:
                                                                                                                                                    E
                                                                                                                                                    (g.y
                                                                                                                                                     j
                                                                                                                                                     .
                                                                                                                                                     x;:
                                                                                                                                                       ,tjj
                                                                                                                                                         !
                                                                                                                                                         y.;
                                                                                                                                                          ,
                                                                                                                                                          j
                                                                                                                                                          yyryy
                                                                                                                                                           ,   k.
                                                                                                                                                               , yyzy
                                                                                                                                                                   g,,
                                                                                                                                                                     y
                                                                                                                                                                     rg yj
                                                                                                                                                                       rt
                                                                                                                                                                        :
                                                                                                                                                                        kryyy
                                                                                                                                                                         (  ,g
                                                                                                                                                                            t2j
                                                                                                                                                                              ,,
                                                                                                                                                                               ,;
                                                                                                                                                                                ,,,
                                                                                                                                                                                  yj
                                                                                                                                                                                  j:j
                                                                                                                                                                                    g,
                                                                                                                                                                                     yyg
                                                                                                                                                                                         g
                                                                                                                                                                                        ,:
                                                                                                                                                                                         ,
                                                                                                                                                                                         y
                                                                                                                                                                                          ',..
                                                                                                                                                                                          ï
                                                                                                                                                                                          gty:k
                                                                                                                                                                                            (
                                                                                                                                                                                            : .
                                                                                                                                                                                              çg
                                                                                                                                                                                               y
                                                                                                                                                                                                :ï
                                                                                                                                                                                                 ,/
                                                                                                                                                                                                ir
                                                                                                                                                                                                tt
                                                                                                                                                                                                  :
                                                                                                                                                                                                  r
                                                                                                                                                                                                  t
                                                                                                                                                                                                  i
                                                                                                                                                                                                   .
                                                                                                                                                                                                   i:
                                                                                                                                                                                                    Ej;
                                                                                                                                                                                                    ,,
                                                                                                                                                                                                     .
                                                                                                                                                                                                     l:,tj,
                                                                                                                                                                                                        (C j
                                                                                                                                                                                                           y
                                                                                                                                                                                                           i r
                                                                                                                                                                                                             j kj,
                                                                                                                                                                                                                 rj,   :
                                                                                                                                                                                                                       j,:
                                                                                                                                                                                                                         j .
                                                                                                                                                                                                                           ,:y ,
                                                                                                                                                                                                                               y4
                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                .     ,
                                                                                                                                                                                                                                      j  r  ,
                                                                                                                                                                                                                                            j    y
                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                 j   ëE
                                                                                                                                                                                                                                                      ,g
                                                                                                                                                                                                                                                      y     yg
                                                                                                                                                                                                                                                            :yj
                                                                                                                                                                                                                                                              ,yu
                                                                                                                                                                                                                                                                yj4
                                                                                                                                                                                                                                                                 y .
                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                  ,j,jj
                                                                                                                                                                                                                                                                    y
                                                                                                                                                                                                                                                                    j y,
                                                                                                                                                                                                                                                                       yy
                                                                                                                                                                                                                                                                        ,g
                                                                                                                                                                                                                                                                         ,,
                                                                                                                                                                                                                                                                         yy,
                                                                                                                                                                                                                                                                           :.:,.,y,
                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                           j      jy
                                                                                                                                                                                                                                                                                  yjj
                                                                                                                                                                                                                                                                                    4
                                                                                                                                                                                                                                                                                    y
                                                                                                                                                                                                                                                                                    ,j
                                                                                                                                                                                                                                                                                     4j
                                                                                                                                                                                                                                                                                      ,,jy  ,,,.,   4,
                                                                                                                                                                                                                                                                                                    ,k
                                                                                                                                                                                                                                                                                                     jj
                                                                                                                                                                                                                                                                                                      ,j
                                                                                                                                                                                                                                                                                                       gj
                                                                                                                                                                                                                                                                                                        gjjj
                                                                                                                                                                                                                                                                                                           ,y
                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                            g,
                                                                                                                                                                                                                                                                                                             ,,
                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                              ,,j
                                                                                                                                                                                                                                                                                                               .,,
                                                                                                                                                                                                                                                                                                                .jkyj
                                                                                                                                                                                                                                                                                                                   , yg.
                                                                                                                                                                                                                                                                                                                       k
                                                                                                                                                                                                                                                                                                                       g;;
                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                                                                                        ëg
                                                                                                                                                                                                                                                                                                                         (
                                                                                                                                                                                                                                                                                                                          l
                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                                                                                         gg
                                                                                                                                                                                                                                                                                                                          j @.,.:,,j.,à
                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                           :E         .,,.)kj
                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                             :j
                                                                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                                                                               %
                                                                                                                                                                                                                                                                                                                                               j.
                                                                                                                                                                                                                                                                                                                                              :.
                                                                                                                                                                                                                                                                                                                                               jjuj        r,
                                                                                                                                                                                                                                                                                                                                                            r ,r,arj,jx
                                                                                                                                                                                                                                                                                                                                                             y;       j
                                                                                                                                                                                                                                                                                                                                                                      ,r
                                                                                                                                                                                                                                                                                                                                                                       rj,
                                                                                                                                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                                                                                                                      r j
                                                                                                                                                                                                                                                                                                                                                                         ryy,.  j
                                                                                                                                                                                                                                                                                                                                                                                ..
                                                                                                                                                                                                                                                                                                                                                                                   .  @
                                                                                                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                                                                                      ;i
                                                                                                                                                                                                                                                                                                                                                                                         g j
                                                                                                                                                                                                                                                                                                                                                                                           EE
                                                                                                                                                                                                                                                                                                                                                                                             y
                                                                                                                                                                                                                                                                                                                                                                                             E
                                                                                                                                                                                                                                                                                                                                                                                             ,j:E
                                                                                                                                                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                                                                                                                                                               ë:
                                                                                                                                                                                                                                                                                                                                                                                                E
                                                                                                                                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                                                                                                                                  ,,j
                                                                                                                                                                                                                                                                                                                                                                                                  :..
                                                                                                                                                                                                                                                                                                                                                                                                   , :.y
                                                                                                                                                                                                                                                                                                                                                                                                    ,,
                                                                                                                                                                                                                                                                                                                                                                                                     .  ,(
                                                                                                                                                                                                                                                                                                                                                                                                        (  ,j
                                                                                                                                                                                                                                                                                                                                                                                                           ,  @
                                                                                                                                                                                                                                                                                                                                                                                                              (
                                                                                                                                                                                                                                                                                                                                                                                                              ,,
                                                                                                                                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                                                                                                                                (
                                                                                                                                                                                                                                                                                                                                                                                                                ,.
                                                                                                                                                                                                                                                                                                                                                                                                                   @
                                                                                                                                                                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                                                                                                                                                                   jg
                                                                                                                                                                                                                                                                                                                                                                                                                      E
                                                                                                                                                                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                                                                                                                                                                                      g
                                                                                                                                                                                                                                                                                                                                                                                                                        g
                                                                                                                                                                                                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                                                                                                                                                                        ë
                                                                                                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                                                                                         (
                                                                                                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                                                                                                         E
                                                                                                                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                                                                                                                          k
                                                                                                                                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                                                                                                                                                            g
                                                                                                                                                                                                                                                                                                                                                                                                                             @
                                                                                                                                                                                                                                                                                                                                                                                                                             E
                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                                                                                                                                                             r:
                                                                                                                                                                                                                                                                                                                                                                                                                              .:
                                                                                                                                                                                                                                                                                                                                                                                                                                .y
                                                                                                                                                                                                                                                                                                                                                                                                                                (
                                                                                                                                                                                                                                                                                                                                                                                                                               .:
                                                                                                                                                                                                                                                                                                                                                                                                                                .,(
                                                                                                                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                   r
                                                                                                                                                                                                                                                                                                                                                                                                                                  ,g
                                                                                                                                                                                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                                                                                                                                                                                    :(
                                                                                                                                                                                                                                                                                                                                                                                                                                    j
                                                                                                                                                                                                                                                                                                                                                                                                                                    (
                                                                                                                                                                                                                                                                                                                                                                                                                                   yg
                                                                                                                                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                                                                                                                                   (:
                                                                                                                                                                                                                                                                                                                                                                                                                                       (
                                                                                                                                                                                                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                                                                                                                                                                                       ::.
                                                                                                                                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                                                                                                                                          (
                                                                                                                                                                                                                                                                                                                                                                                                                                          E
                                                                                                                                                                                                                                                                                                                                                                                                                                          yg
                                                                                                                                                                                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                                                                                                                                                                                            (
                                                                                                                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                                                                                                                            j: g
                                                                                                                                                                                                                                                                                                                                                                                                                                                      ,  ,:
                                                                                                                                                                                                                                                                                                                                                                                                                                                        ,, jjj
                                                                                                                                                                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                                                                                                                                                             , :
                                                                                                                                                                                                                                                                                                                                                                                                                                                               ( y,ë
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ë
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ( :       ,     :4   :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      j ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        (gE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          jg
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           (,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            :.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             , .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ï (
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .E.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   :g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     :g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                                                                                                               y: jT:
                                                                                                                                                                                                                                                                                                                                                                                                                                                    ,:
                                                                                                                                                                                                                                                                                                                                                                                                                                                     .gj
                                                                                                                                                                                                                                                                                                                                                                                                                                                       . :.
                                                                                                                                                                                                                                                                                                                                                                                                                                                          ,y
                                                                                                                                                                                                                                                                                                                                                                                                                                                           jy: g
                                                                                                                                                                                                                                                                                                                                                                                                                                                               ..,j   r   j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          yrj
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             yj
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               y:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ...:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   :    E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ig
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ë
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           E:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            g:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             gEg
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               j::
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                jE,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                       '
                                                                                       gë
                                                                                        i   ï                y:                                                                                                                                                                       y  ,,
                                                                                                                                                                                                                                                                                          yj
                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                           :y
                                                                                                                                                                                                                                                                                            ,                 ,y                          ,              .r                                                                                                                                          :
                                                    , j   ,.
                                                           , y,             .ë g:;.
                                                                                  (                     ..':   .                                                        .                                                                            ,,       yE
                                                                                                                                                                                                                                                              j(t
                                                                                                                                                                                                                                                                jg                                       g
                                                                                                                                                                                                                                                                                                         j           Eg
                                                                                                                                                                                                                                                                                                                      EE
                                                                                                                                                                                                                                                                                                                       ggë:i
                                                                                                                                                                                                                                                                                                                          g               :j
                                                                                                                                                                                                                                                                                                                                          ,:   g  ,: y,,:
                                                                                                                                                                                                                                                                                                                                                   ,,y
                                                                                                                                                                                                                                                                                                                                                   y     , ,,r
                                                                                                                                                                                                                                                                                                                                                                                         g:j   g:
                                                                                                                                                                                                                                                                                                                                                                                                ,r
                                                                                                                                                                                                                                                                                                                                                                                                     ,                                                                                             ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ,, :,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .,
                                                                                                                                                                                                                                                                                                                                                                                                   ë.
                                                                                                                                                                                                                                                                                                                                                                                                    :y
                                                                                                                                                                                                                                                                                                                                                                                                     (  g  g  ; ,
                                                                                                                                                                                                                                                                                                                                                                                                                j  )  g
                                                                                                                                                                                                                                                                                                                                                                                                                      : ry
                                                                                                                                                                                                                                                                                                                                                                                                                         j,.
                                                                                                                                                                                                                                                                                                                                                                                                                           t,
                                                                    .
                                                                    :
                                                                    ë.                                                                                                                   y
                                                                                                                                                                                         jj;                                                     .
                                                                                                                                                                                                                                                 ,   k
                                                                                                                                                                                                                                                     t;
                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                      ,  y
                                                                                                                                                                                                                                                         .k
                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                          4 (((          .jg                                                                                                    j  ty
                                                                                                                                                                                                                                                                                                                                                                                   .
                  i E    ::                   jtj
                                                :
                                                E àr
                                                   :(
                                                    s ,
                                                      )$
                                                       1;
                                                        k
                                                        j .ë
                                                           t;
                                                            .:
                                                             à EL L.  # yît@
                                                                           :;61
                                                                              j,
                                                                               L    .1
                                                                                     :E :
                                                                                        r
                                                                                        E  g:
                                                                                            j  E     :
                                                                                                     k  r;
                                                                                                         ( r(yt
                                                                                                              ëy
                                                                                                               ;r .?
                                                                                                                   s
                                                                                                                   :E@
                                                                                                                     gï
                                                                                                                      EI  ï
                                                                                                                          :
                                                                                                                          '     .
                                                                                                                                :   : E
                                                                                                                                      :i.
                                                                                                                                        è: :   ;kj
                                                                                                                                                 .g
                                                                                                                                                  E;
                                                                                                                                                   (
                                                                                                                                                   :p:      j pk
                                                                                                                                                               . y
                                                                                                                                                                 ë kgr
                                                                                                                                                                     2
                                                                                                                                                                     . j
                                                                                                                                                                       ;(pj
                                                                                                                                                                          (<
                                                                                                                                                                           g
                                                                                                                                                                           :;
                                                                                                                                                                            k!;
                                                                                                                                                                              2k
                                                                                                                                                                               E!g
                                                                                                                                                                                 @;
                                                                                                                                                                                  . q
                                                                                                                                                                                    Lk
                                                                                                                                                                                     j .
                                                                                                                                                                                       Lj
                                                                                                                                                                                        :;,
                                                                                                                                                                                          .;L
                                                                                                                                                                                            ,;
                                                                                                                                                                                             )
                                                                                                                                                                                             é,,
                                                                                                                                                                                               .
                                                                                                                                                                                               ) .
                                                                                                                                                                                                 ,
                                                                                                                                                                                                 ),,y
                                                                                                                                                                                                    jkj
                                                                                                                                                                                                      :;y
                                                                                                                                                                                                        ;;y
                                                                                                                                                                                                          :j
                                                                                                                                                                                                           :
                                                                                                                                                                                                           .jg.y
                                                                                                                                                                                                             ;  p
                                                                                                                                                                                                                .y
                                                                                                                                                                                                                 )jj
                                                                                                                                                                                                                   :;  :ky k
                                                                                                                                                                                                                           j
                                                                                                                                                                                                                           .:
                                                                                                                                                                                                                            j
                                                                                                                                                                                                                            yk
                                                                                                                                                                                                                             ::yg
                                                                                                                                                                                                                               j;y :  y
                                                                                                                                                                                                                                      g  ,
                                                                                                                                                                                                                                         ;
                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                         :  y
                                                                                                                                                                                                                                            :  y
                                                                                                                                                                                                                                               r :
                                                                                                                                                                                                                                                 .                         :: .y
                                                                                                                                                                                                                                                                              .  j:
                                                                                                                                                                                                                                                                                  yg
                                                                                                                                                                                                                                                                                   y.
                                                                                                                                                                                                                                                                                    gE
                                                                                                                                                                                                                                                                                     j     j                        E
                                                                                                                                                                                                                                                                                                                    :                                                                                                           y.
                                                                                                                                                                                                                                                                                                                                                                                                                                 :(g      : :     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                  .j.:
                                                                                                                                                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                     .,y
                                                                                                                                                                                                                                                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                       .r
                                                                                                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                                                                                        ,Ej
                                                                                                                                                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                          ,(
                                                                                                                                                                                                                                                                                                                                                                                                                                                           y :
                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                             g     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   j  ,   .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           j ,rr
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ,y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                E
                           .:                                                                                                                                                                                                                                                                                        ,                          ggg
                                                                                                                                                                                                                                                                                                                                                  jy ;   ,. .,
                                                                                                                                                                                                                                                                                                                                                             :.
                                                                                                                                                                                                                                                                                                                                                              E:
                 tt'p     .:
                          y
                          tt
                           yëEt
                             :
                             ;
                             ëik
                              :
                              ;:.
                               E  .t
                                  ;
                                  E
                                  ;
                                  pE;j.
                                     ë.x
                                      :
                                      )::
                                       jEk
                                        k
                                        t k.)
                                          r 4j
                                            jq
                                             yp
                                              (
                                              .,
                                               (
                                               .)(
                                                 ij4y
                                                    : j
                                                      .
                                                      qà
                                                       ..
                                                        Egj(
                                                          .:ë
                                                           ;
                                                           k E
                                                             ;
                                                            y.
                                                            .!:!
                                                               ...
                                                                 ,
                                                                 .J
                                                                  ..
                                                                   J.
                                                                    J.
                                                                     Ji .  hh :
                                                                              .  :
                                                                                 ëq
                                                                                  .;
                                                                                   ëë
                                                                                    J
                                                                                    :t:
                                                                                      .
                                                                                      r:
                                                                                       .
                                                                                       i.  '.  k     :
                                                                                                     .  ïi
                                                                                                         .l
                                                                                                          k;l
                                                                                                            .k.
                                                                                                              ):
                                                                                                               fq
                                                                                                                .
                                                                                                                :@
                                                                                                                 ..;
                                                                                                                   .: .   k
                                                                                                                          ;
                                                                                                                          .  j  (
                                                                                                                                q  (îç
                                                                                                                                     p
                                                                                                                                     që
                                                                                                                                      ï
                                                                                                                                      npr
                                                                                                                                        k,
                                                                                                                                         ï
                                                                                                                                         ëk()
                                                                                                                                            .k
                                                                                                                                             î
                                                                                                                                             '.
                                                                                                                                              !ë
                                                                                                                                               '
                                                                                                                                               k.:
                                                                                                                                                 ït
                                                                                                                                                  ë.E
                                                                                                                                                    tt
                                                                                                                                                     E
                                                                                                                                                     y Lù
                                                                                                                                                        rô
                                                                                                                                                         gE
                                                                                                                                                          g:s c
                                                                                                                                                              .
                                                                                                                                                              :     .c  :
                                                                                                                                                                        .
                                                                                                                                                                        .i
                                                                                                                                                                         3:
                                                                                                                                                                          .:
                                                                                                                                                                           .4
                                                                                                                                                                            j
                                                                                                                                                                            .j
                                                                                                                                                                             4
                                                                                                                                                                             .4
                                                                                                                                                                              ,
                                                                                                                                                                              .)
                                                                                                                                                                               .:
                                                                                                                                                                                ç;, .   ë.    ..  k
                                                                                                                                                                                                  .
                                                                                                                                                                                                  .4
                                                                                                                                                                                                   kz
                                                                                                                                                                                                    L.k
                                                                                                                                                                                                      (.
                                                                                                                                                                                                       :.x
                                                                                                                                                                                                         ..
                                                                                                                                                                                                          :T.
                                                                                                                                                                                                            .  .s
                                                                                                                                                                                                                .kg
                                                                                                                                                                                                                  z
                                                                                                                                                                                                                  .:o
                                                                                                                                                                                                                    s  t:
                                                                                                                                                                                                                        ys .gJ.
                                                                                                                                                                                                                              p    .
                                                                                                                                                                                                                                   x  (  .  .  . .   :
                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                     k:  .: .
                                                                                                                                                                                                                                                            Ey.:y
                                                                                                                                                                                                                                                                .Eg
                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                  y.
                                                                                                                                                                                                                                                                   t
                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                   4y
                                                                                                                                                                                                                                                                    j
                                                                                                                                                                                                                                                                    .j
                                                                                                                                                                                                                                                                     .,
                                                                                                                                                                                                                                                                      t
                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                                      .j
                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                       .;
                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                        ..    g
                                                                                                                                                                                                                                                                                    T;L
                                                                                                                                                                                                                                                                                      .j
                                                                                                                                                                                                                                                                                       )!
                                                                                                                                                                                                                                                                                        .E
                                                                                                                                                                                                                                                                                         k
                                                                                                                                                                                                                                                                                         .y
                                                                                                                                                                                                                                                                                          ;
                                                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                                           z
                                                                                                                                                                                                                                                                                           .L
                                                                                                                                                                                                                                                                                            .;
                                                                                                                                                                                                                                                                                             f:
                                                                                                                                                                                                                                                                                              , ; :
                                                                                                                                                                                                                                                                                                  s
                                                                                                                                                                                                                                                                                                  .:
                                                                                                                                                                                                                                                                                                   .j
                                                                                                                                                                                                                                                                                                    :,
                                                                                                                                                                                                                                                                                                     EE
                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                      .g
                                                                                                                                                                                                                                                                                                       E
                                                                                                                                                                                                                                                                                                       t
                                                                                                                                                                                                                                                                                                       .g:
                                                                                                                                                                                                                                                                                                         jE
                                                                                                                                                                                                                                                                                                          g
                                                                                                                                                                                                                                                                                                          .E
                                                                                                                                                                                                                                                                                                           g
                                                                                                                                                                                                                                                                                                           .j
                                                                                                                                                                                                                                                                                                            (
                                                                                                                                                                                                                                                                                                            .;
                                                                                                                                                                                                                                                                                                             .:
                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                              .y:
                                                                                                                                                                                                                                                                                                                ,:
                                                                                                                                                                                                                                                                                                                 s.
                                                                                                                                                                                                                                                                                                                  ,:
                                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                                   ,,..::s
                                                                                                                                                                                                                                                                                                                         .:
                                                                                                                                                                                                                                                                                                                          )y:
                                                                                                                                                                                                                                                                                                                            k  : :
                                                                                                                                                                                                                                                                                                                                 E:   :  ,
                                                                                                                                                                                                                                                                                                                                         s
                                                                                                                                                                                                                                                                                                                                         .r  ..:
                                                                                                                                                                                                                                                                                                                                               ..             j
                                                                                                                                                                                                                                                                                                                                                              (y
                                                                                                                                                                                                                                                                                                                                                               ;E
                                                                                                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                                                                                                :  :
                                                                                                                                                                                                                                                                                                                                                                   E
                                                                                                                                                                                                                                                                                                                                                                   , :
                                                                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                                                                     ;:
                                                                                                                                                                                                                                                                                                                                                                      ;:
                                                                                                                                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                                                                                                                       :ï
                                                                                                                                                                                                                                                                                                                                                                        3Ly
                                                                                                                                                                                                                                                                                                                                                                          .j
                                                                                                                                                                                                                                                                                                                                                                           .:         .  y i
                                                                                                                                                                                                                                                                                                                                                                                           t k r
                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                               g
                                                                                                                                                                                                                                                                                                                                                                                               j:s,
                                                                                                                                                                                                                                                                                                                                                                                                  t
                                                                                                                                                                                                                                                                                                                                                                                                  ,.yE  ;  ;
                                                                                                                                                                                                                                                                                                                                                                                                           (  y
                                                                                                                                                                                                                                                                                                                                                                                                              ; g
                                                                                                                                                                                                                                                                                                                                                                                                                ,  ,
                                                                                                                                                                                                                                                                                                                                                                                                                   y  .
                                                                                                                                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                                                                                                                      j k;i
                                                                                                                                                                                                                                                                                                                                                                                                                          ...,.
                                                                                                                                                                                                                                                                                                                                                                                                                              tg
                                                                                                                                                                                                                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                                                                                                                                                                                                                ::.
                                                                                                                                                                                                                                                                                                                                                                                                                                  y
                                                                                                                                                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                                                                                                                                                   ,E
                                                                                                                                                                                                                                                                                                                                                                                                                                    j  tq
                                                                                                                                                                                                                                                                                                                                                                                                                                        .      :
                                                                                                                                                                                                                                                                                                                                                                                                                                               .     r       y     .  ,   ., .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .,,:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 (
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Ey
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   j  y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      j t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        :jy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          yg
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           :E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            , y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              j,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,,,,,,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ,,,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ,,,,
                 t
                 '
                  S
                  jq
                   JI
                    L 3 '
                        L
                        é   j
                           j'@
                             .
                            ibj
                              kà  q
                                  b
                                  ,j
                                   .
                               :iCië )kq.
                                        ï
                                       .(
                                        ;.L':
                                          :j
                                             .
                                             .:
                                             E ;
                                               1
                                              1.
                                               :4
                                                ,!
                                                 .
                                                 :/
                                                 jë
                                                   j
                                                  ir
                                                    :
                                                   i:
                                                    y yg
                                                       ië
                                                           :,
                                                           k:
                                                             E
                                                             ,
                                                            i.
                                                                . :L
                                                                   E:
                                                                    i i :
                                                                        yl
                                                                         iE:
                                                                           iqj
                                                                             k:
                                                                              g'
                                                                               ë g
                                                                                 rq,
                                                                                   (4ji
                                                                                      ;r7
                                                                                        t
                                                                                        j  i   ,
                                                                                               '
                                                                                               k     j
                                                                                                     :
                                                                                                     .   :
                                                                                                         '   '.E
                                                                                                               ë
                                                                                                               :if:ë
                                                                                                                   i l
                                                                                                                     qyr
                                                                                                                       ë
                                                                                                                       ;           E
                                                                                                                                   ëkt
                                                                                                                                     .
                                                                                                                                     ;jJ
                                                                                                                                       .4
                                                                                                                                        Lr
                                                                                                                                         IiL
                                                                                                                                           g:
                                                                                                                                            ;
                                                                                                                                            'i
                                                                                                                                             (
                                                                                                                                             gE
                                                                                                                                              ti
                                                                                                                                               :
                                                                                                                                               ù
                                                                                                                                               j . ,
                                                                                                                                                   E'
                                                                                                                                                    .
                                                                                                                                                    ëi
                                                                                                                                                     :
                                                                                                                                                     ,  i i
                                                                                                                                                          ë i  i
                                                                                                                                                               E r :l:
                                                                                                                                                                     r
                                                                                                                                                                     i ' '  '           '                                                .:.:j:.r.r:q,:.,4::y,j
                                                                                                                                                                                                                                                              :,
                                                                                                                                                                                                                                                               (g:
                                                                                                                                                                                                                                                                 g
                                                                                                                                                                                                                                                                 :E
                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                  .:
                                                                                                                                                                                                                                                                   (:
                                                                                                                                                                                                                                                                    k
                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                    ,k:
                                                                                                                                                                                                                                                                      ,,
                                                                                                                                                                                                                                                                       :,.,:  .
                                                                                                                                                                                                                                                                              :: (
                                                                                                                                                                                                                                                                                 .g
                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                  .(
                                                                                                                                                                                                                                                                                   g
                                                                                                                                                                                                                                                                                   .g
                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                    .:
                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                     :g
                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                      :E
                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                       .:
                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                        .E
                                                                                                                                                                                                                                                                                         ::
                                                                                                                                                                                                                                                                                          ,,,
                                                                                                                                                                                                                                                                                            .,
                                                                                                                                                                                                                                                                                             .:.,
                                                                                                                                                                                                                                                                                                :.g
                                                                                                                                                                                                                                                                                                  Ey
                                                                                                                                                                                                                                                                                                   .g
                                                                                                                                                                                                                                                                                                    kg
                                                                                                                                                                                                                                                                                                     (E
                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                      ::
                                                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                                       :E
                                                                                                                                                                                                                                                                                                        y
                                                                                                                                                                                                                                                                                                        .T
                                                                                                                                                                                                                                                                                                         ,,,
                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                                            ..:
                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                              :.
                                                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                                               .:
                                                                                                                                                                                                                                                                                                                g.
                                                                                                                                                                                                                                                                                                                 :t
                                                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                                                                  :g
                                                                                                                                                                                                                                                                                                                   .!
                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                    :j
                                                                                                                                                                                                                                                                                                                     ër
                                                                                                                                                                                                                                                                                                                      E,
                                                                                                                                                                                                                                                                                                                       r
                                                                                                                                                                                                                                                                                                                       E
                                                                                                                                                                                                                                                                                                                       .:.r
                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                          ,.
                                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                                           .:
                                                                                                                                                                                                                                                                                                                            .: .
                                                                                                                                                                                                                                                                                                                               ....
                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                  :t  Eg (5
                                                                                                                                                                                                                                                                                                                                         ,.;
                                                                                                                                                                                                                                                                                                                                          .j
                                                                                                                                                                                                                                                                                                                                           ! tr
                                                                                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                                                                              ;.
                                                                                                                                                                                                                                                                                                                                               t
                                                                                                                                                                                                                                                                                                                                               y
                                                                                                                                                                                                                                                                                                                                               ::
                                                                                                                                                                                                                                                                                                                                                é
                                                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                                                .h
                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                 .ë
                                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                                  .E
                                                                                                                                                                                                                                                                                                                                                   . ë
                                                                                                                                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                                                                                                                                     E  ,
                                                                                                                                                                                                                                                                                                                                                        L
                                                                                                                                                                                                                                                                                                                                                        .q
                                                                                                                                                                                                                                                                                                                                                         :L
                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                          .$
                                                                                                                                                                                                                                                                                                                                                           .;
                                                                                                                                                                                                                                                                                                                                                            :(
                                                                                                                                                                                                                                                                                                                                                             it
                                                                                                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                                                                                              ë
                                                                                                                                                                                                                                                                                                                                                              g(
                                                                                                                                                                                                                                                                                                                                                               :.
                                                                                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                                                                                :  @
                                                                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                                                                   . ,;
                                                                                                                                                                                                                                                                                                                                                                      :. . 2
                                                                                                                                                                                                                                                                                                                                                                           .    g
                                                                                                                                                                                                                                                                                                                                                                                t  @
                                                                                                                                                                                                                                                                                                                                                                                   :  .  g E @
                                                                                                                                                                                                                                                                                                                                                                                             : ,.
                                                                                                                                                                                                                                                                                                                                                                                                g:  :      .          (
                                                                                                                                                                                                                                                                                                                                                                                                                      g  g
                                                                                                                                                                                                                                                                                                                                                                                                                         E:,.,
                                                                                                                                                                                                                                                                                                                                                                                                                             :     :.
                                                                                                                                                                                                                                                                                                                                                                                                                                    E  Lg : E  g  E
                                                                                                                                                                                                                                                                                                                                                                                                                                                  ,: :.,
                                                                                                                                                                                                                                                                                                                                                                                                                                                       :.,
                                                                                                                                                                                                                                                                                                                                                                                                                                                         :E:
                                                                                                                                                                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                                                                                                                                                                           (E
                                                                                                                                                                                                                                                                                                                                                                                                                                                            E
                                                                                                                                                                                                                                                                                                                                                                                                                                                            j:
                                                                                                                                                                                                                                                                                                                                                                                                                                                             ë
                                                                                                                                                                                                                                                                                                                                                                                                                                                             g
                                                                                                                                                                                                                                                                                                                                                                                                                                                             ë
                                                                                                                                                                                                                                                                                                                                                                                                                                                             E g
                                                                                                                                                                                                                                                                                                                                                                                                                                                               E   g      :E:,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .    y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  :4  ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ( y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        :(
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         j.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          yy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           r(
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            tiE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ;:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .(
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                LE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 jy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ;g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Lk
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    2,E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ::
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       (.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ;
                                                                   t:
                                                                    (
                                                                    g.
                                                                     r
                                                                     g:
                                                                      ë
                                                                      ,
                                                                      tgy
                                                                        j.
                                                                         )
                                                                         ëy
                                                                          g.
                                                                           l
                                                                           ç
                                                                           's
                                                                            ë,y
                                                                              Ej
                                                                               ;:y
                                                                                                                                                                                                                                                                                                                                                        .
                 p
                 .!!
                   )t'.
                  'L':
                 'i
                      k
                      ;
                      ':
                        :.
                        E
                        .l
                         :.i
                         Ei.
                        .q'E:i
                             :i
                              Ei
                              :!
                               .i
                               i  jEi ii
                                       k.
                                       (
                                       .::  .'''.
                                               E
                                               :
                                               'E:
                                                '
                                                E..E
                                                   :q:
                                                    :
                                                    . i:
                                                      E ::
                                                        i
                                                        '
                                                        : ë.
                                                          E .
                                                            ...tE
                                                             .  è::
                                                                  ).ë2   :j
                                                                          .g
                                                                           .J
                                                                            :
                                                                               ..
                                                                               E Ek
                                                                                  j
                                                                                  ;
                                                                                  rj
                                                                                  )
                                                                                  .
                                                                                  ,
                                                                                   E
                                                                                   ï(
                                                                                    k
                                                                                    E:
                                                                                     E:
                                                                                       tl
                                                                                       r
                                                                                      E:);
                                                                                        :
                                                                                       ë:
                                                                                        ,  ë@
                                                                                           r
                                                                                            E
                                                                                            ::
                                                                                            i  ;
                                                                                               .:
                                                                                               :
                                                                                               .     :E
                                                                                                     .  :
                                                                                                        ::
                                                                                                         k:
                                                                                                          .1:
                                                                                                           E
                                                                                                           .
                                                                                                           :,
                                                                                                          .:1
                                                                                                            .k1
                                                                                                              ,
                                                                                                               .
                                                                                                               j:
                                                                                                                4
                                                                                                                .
                                                                                                                 E
                                                                                                                 :
                                                                                                                 )
                                                                                                                 !
                                                                                                                 :
                                                                                                                  t
                                                                                                                  9
                                                                                                                  .
                                                                                                                  :
                                                                                                                  .
                                                                                                                   k
                                                                                                                   .
                                                                                                                   s
                                                                                                                   .
                                                                                                                    )
                                                                                                                    b
                                                                                                                    .
                                                                                                                    r
                                                                                                                    ,
                                                                                                                     .
                                                                                                                     2
                                                                                                                     ;q
                                                                                                                     ,
                                                                                                                     .ï1E!L:'L':L::L
                                                                                                                      .L
                                                                                                                      .
                                                                                                                                    .ë
                                                                                                                                    1
                                                                                                                                    :
                                                                                                                                   ,:
                                                                                                                                     .ë
                                                                                                                                     .F
                                                                                                                                     : pi
                                                                                                                                      E:
                                                                                                                                       E
                                                                                                                                          ë:
                                                                                                                                         ii
                                                                                                                                        :E
                                                                                                                                        E EëE
                                                                                                                                           :
                                                                                                                                          E.
                                                                                                                                          : ::,:
                                                                                                                                              E
                                                                                                                                             .:
                                                                                                                                             '
                                                                                                                                             .  :.
                                                                                                                                               ..
                                                                                                                                               ..::
                                                                                                                                                  ù.
                                                                                                                                                  :
                                                                                                                                                  . që
                                                                                                                                                   g.
                                                                                                                                                   .r;y
                                                                                                                                                     : .
                                                                                                                                                       C.
                                                                                                                                                        E
                                                                                                                                                        ë:
                                                                                                                                                        ;y
                                                                                                                                                         k.
                                                                                                                                                         .
                                                                                                                                                          r
                                                                                                                                                          ë
                                                                                                                                                          jë
                                                                                                                                                          ;E
                                                                                                                                                           këë
                                                                                                                                                           .)
                                                                                                                                                            !)
                                                                                                                                                               ë
                                                                                                                                                              .;
                                                                                                                                                               E:
                                                                                                                                                               .
                                                                                                                                                                 k jy
                                                                                                                                                                    iEE
                                                                                                                                                                    ?
                                                                                                                                                                 (EEj.t
                                                                                                                                                                        .
                                                                                                                                                                        ;
                                                                                                                                                                        .qt
                                                                                                                                                                        ..
                                                                                                                                                                           ...
                                                                                                                                                                           y
                                                                                                                                                                          a.
                                                                                                                                                                              j
                                                                                                                                                                              ..
                                                                                                                                                                               (.
                                                                                                                                                                                j:
                                                                                                                                                                                 ;
                                                                                                                                                                                 .q
                                                                                                                                                                                  .
                                                                                                                                                                                  :
                                                                                                                                                                                  j
                                                                                                                                                                                  ..
                                                                                                                                                                                   f:
                                                                                                                                                                                   :.
                                                                                                                                                                                    d
                                                                                                                                                                                    :y
                                                                                                                                                                                     @
                                                                                                                                                                                     :j
                                                                                                                                                                                     s
                                                                                                                                                                                        ,r
                                                                                                                                                                                        j
                                                                                                                                                                                        E.
                                                                                                                                                                                         ë
                                                                                                                                                                                         çy
                                                                                                                                                                                          .
                                                                                                                                                                                          1
                                                                                                                                                                                          :i
                                                                                                                                                                                          ..ë
                                                                                                                                                                                            i
                                                                                                                                                                                            :ë
                                                                                                                                                                                             l
                                                                                                                                                                                             .i
                                                                                                                                                                                              .i
                                                                                                                                                                                              ::i
                                                                                                                                                                                                 k:
                                                                                                                                                                                                 ::,
                                                                                                                                                                                                :C.
                                                                                                                                                                                                   :.
                                                                                                                                                                                                    F,
                                                                                                                                                                                                     ::
                                                                                                                                                                                                     .
                                                                                                                                                                                                      :::
                                                                                                                                                                                                     '..
                                                                                                                                                                                                        4jj
                                                                                                                                                                                                       ..E
                                                                                                                                                                                                          lj
                                                                                                                                                                                                           lg
                                                                                                                                                                                                         ::.
                                                                                                                                                                                                            jg
                                                                                                                                                                                                             j.
                                                                                                                                                                                                           ::.
                                                                                                                                                                                                               j:
                                                                                                                                                                                                               g
                                                                                                                                                                                                             :..
                                                                                                                                                                                                                r.
                                                                                                                                                                                                                g::
                                                                                                                                                                                                                ..
                                                                                                                                                                                                                  r.
                                                                                                                                                                                                                  E::
                                                                                                                                                                                                                    ,,,::,,,yy
                                                                                                                                                                                                                  .: g.       :.:
                                                                                                                                                                                                                             lg
                                                                                                                                                                                                                              yjkjg,
                                                                                                                                                                                                                               gr
                                                                                                                                                                                                                                g  :rl:
                                                                                                                                                                                                                                      .j:,                    .. .:..   :
                                                                                                                                                                                                                                                                        ..
                                                                                                                                                                                                                                                                         ..          ..           . g ,,,     . E. :. ,,         i       : ,:g:..:.
                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                           :         .
                                                                                                                                                                                                                                                                                                                                                        :.
                                                                                                                                                                                                                                                                                                                                                         p.
                                                                                                                                                                                                                                                                                                                                                          :ë
                                                                                                                                                                                                                                                                                                                                                           ::
                                                                                                                                                                                                                                                                                                                                                            Ei
                                                                                                                                                                                                                                                                                                                                                             :::
                                                                                                                                                                                                                                                                                                                                                             , .
                                                                                                                                                                                                                                                                                                                                                               .:  :.,...: .:.g::
                                                                                                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                                                                                                                rE(.g(::g,E:g(,:,E.:,..,k,..(g:
                                                                                                                                                                                                                                                                                                                                                                                                              .E:gE:g:rg,:::, 4.grgE.
                                                                                                                                                                                                                                                                                                                                                                                                                                    ,Eg.g,g:y,:y,::.j.,:: ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                           .:ë:yEyy;,y.,,..,E,    :,jg,j, :     ...:
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 155 of 165


                                                                                       /'/
                                                                                         '
                                                                                         ,'z.
                    IN THE% CIRCU IT COURT OF THE v
                    ELEVENTH JU DIC IAL 'C IRCU IT IN AN D
                    FOR M IAM I-DA DE COUNTY, FLORIDA

                    CASE NO . 2021-CA-910826

                    MAURICE SYMONETTE ,
                    JAMES BUCKMAN ,
*
                                              Plaintiff ls),
               6

                    U .S . BANK NAT IONAL ASSOCIATION
               8    FRANKLYN M ANAGEMENT CORPORATION ,
                                              pefendant ts).            u



              11           1                            N ov ember          2022

              12                                         9 :34 a om .         $




              14    Motion to Recon sider Proceeding , held v ia Zoom ,
                                                                                   f


                    taken by MADEL INE 'TAVAN I, a Notary Public               behalf
                                                              *

              16     of the State of New




              19                                                               t




               24

               25
                                                               .
                                                               j.
                                          .

                                         MGR RE PORTING, INC .
                                           1-844-MGR-RPTG
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 156 of 165
                                                                      y
                                                                      )
                                                                      .
                                                                      ---
                                                                        'qlktry,-
                                                                      f ..
                                                                          .......




                A P P E% A R A N C E S :
                @




                HONORABLE V IV IANNE DEL RIO

          4                                                           t

                    JE SSICA WA TTS , ESQ.: ATTORNEY FOR FRANKLYN 'CREDIT

          6     M NAGEMENT A SSOCIATION

          7

          8         MAC WELL

          9
         10         JAMES BUCKMAN , PLA INTIFF



         12




          15




          18



          20



          22

          23


                                                                              t
           25

                                       MGR REPORTING, Igc.
                                         1-844-M GR-RPTG
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 157 of 165




                         1   MR . WELL :     Tuis            we 're here w ith the

                  . motion         reconsider reverted Judge 's Zaybar 's

                      orders of dismissal with prejudice on                      case.
                      And we 're asking               the             Judge 'valerie
          4                                                              k

                      to recuse yourself for your past judgmeats

                      and
                              MR . BUCFMAN :    Excu se m e, m a pam , he 's

                      he 's sick right now and he can 't really talk.

                                           the w itness,         was his w itness
                  '


                      the case but he 's            he 's very sic k right 1now .
         10
                      Andlwe might have to take                       the Aospital.
                      Like we were supposed to take him already'but
         12                                                                        f

                      he 's v ery sick; and this                   guy that 's in
          13                                                            J
                                                                        '



                      th e                                              rase .

                                    So       can 't         we need to know if we

                      can ask for another date b ecause we gotta get
          16
                      him .a lawyer          talk because he can 't evea talk

                       i ht           He's          a wheelchai'r and lhe 's sick.
          18          r g
                               MR . WELL :    Yes .     Hello?

          20
                               CLERK: Une second, one second.                The Judge
                        witl be right with you .             Okay .
                               THE COURT:                   audio working?
          22

           23                  CLERK :     Yes, Judge.
                               THE COURT : The one               my      the one' in m y
           24

           25           office stopped working .

                                         MçR REPORTJNG, INC .
                                           1-844-MGR-RPTG
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 158 of 165



                                                                                    t.
                                                                                     '
                                                                                     $'-
                                                                                       bt'
                                                                                         /
                      1 CLERK :        Ju st sit the re . Stick this in your

                   ea r .

                            THE COURT :      Can 9ou just .
                                                          --
                            MR . WELL :     Did you hear           Your Honor?
          4
                            CLERK :     They have       like that, Judge .
          5

          6                      CUURT: Okay. Noz but               mean we're
                                 WELL :     Can you hear us , You r Honor?

                                 BON INI : Gentlemen
                                 WELL :     Th is         witness , M s
          9
                                 BONINI :     Gentlem en , o'
                                                            n e mom ent p lease,
         10
                    on# moment .        Thank you .

         12                 MR . WELL i A l1 right .
                            THE COURT :             right .   Sorry 'about that .

          14        A l1 right . This is              I called        case
                     U .S. National Bank Association versus Leroy

                     W illiam s .
                                                               #

                             CLERK :     Excuse me ,          judge h:s
                             THE COURT :      Can they hear me ?
          18
                             CLERK :      Yes .
                                  WA TTS :    Yes, Judge , we can hear yOu .
          20
                        %    MS. BONINI: Your Honor, we can hear you .

           22        Yes, Judge .
                              THE COURT : Okay great .
                              CLERK :     That's the case that I called and

                              the Pla intiff 's motion to reset the


                                        MGR REPORTJNG, Iûc.
                                            1-844-MGR -R PTG
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 159 of 165




                   foteclo sure sale .
                                                                            '    .

                                BUCKMAN :     Xou
                                               e  r Honor ,' he 's very sick .

                   W e need       we need to           him a lawyer be cause

          4         he can 't even 'talk right now .

                          THE COURT : Who                who        hee ?

                          MR . WELL : Mac W ell .

                          MR . BUCKMAN :       Mac W ell .

                          THE COURT : Okay . And --

                                 WELL :     I 'm in                pain right now .

                            THE COURT ; Okay . And                 Sorry , are
         10
                    thp person who            residing at th at residence

          12        right now ?

                            M R . WELL :    Yes, yes .
                                 COURT :     Okay .          right .
                                        yOu 're asking The Court                Pét the
          15

          16        sale out --' you need 60 days, w ould that

                    wou ld th at b e su fficient?
                                  WELL :    No .   W e 're asking a- we lre
          18
                     we 're going against the sale because U .S . Bank

                     does         own        ab solutely don 't own the note
           20
                      an/ we just found this out.
                             THE COURT :      Ckay . A 11 right .           Liôten ,

           23         listen, listen .
                             MR . BUCKMAN : Let me finish first, 1et m e
           24
                      finish .
                                        .                     j'
                                        MGR RE PORTING , INC .
                                          1-844-MGR-R PTG
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 160 of 165
                                                                                         r-t
                                                                                           .,.y.
                                                                                           y   -.q-,
                                                                                                   ))


                      I         The judge that.did that judgment,
                   Valerie Manno Schurr recused herself from' that
                                                                 f
                       .


                   and reverted ekerything back                the original

          4        judge's order, which was Judge Bell
                   dismissed       with prejudice. And when she --
                   she said she never even signed that dismissal
          6
                   without prejudice that gives them the right to

                   do the foreclosu re .
                                                                                 '
                                                                             ,
                                 So she didn 't sign                so I got hqr

                   on video and you can                   got the 'zùdeo right
                                                                       e

                   her/ where you can hear the judge herself say --
                           THE COURT :       Okay . I 'm           I 'm so sorry ?
          12
                     have to cut            o ff .
                                             the middle              trial and

                    today all I'm going              do                              a
                    date far                                               to get
          16
                    representation and to                   you'd lif e to bring
                    a motion and have           hearing , we can do that .
          18
                                  But         bu t right now ,             not

                    not, unfortunately, the time to do that.

                            MR . WELL : Wel?
                            THE COURT : You will be heard, you yill be

                      heard,       -- but not right now . So
           23
                            MR . BUCKMAN:        But he 's here and
                                                                  e
                                                                    coherent
           24
                      can you not ma ke          sale date until we get an
              25
                                    '   .
                                                               i
                                        MGR REPORT.ING , INC .
                                          1-844-MGR-R PTG
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 161 of 165




                        attorney       represent him?
                                THE COURI: Yes, that 's what I 'm going


                                                    going        give a (audio
                       disruption) 12O days, which will be March 20th
*
                       of 2023 and that will give you plenty of Uime to
               6
                                                                      #
                       create a -- to get an attorney and to b ring

                       whatever               that you want                   say           The

               9       Court z you can do that w ith your a lte rney .

              10       O kay?
                           1    MR . BUCKMAN : A1l right . Thank you .

                                THE COURT :         Than k you .
                                     All right . Moving along then .
                                                                          #


              14                      (Whereupon, at 9:40                               the

              15                 above matter was concluded.)


                                    MA DELINE TAVAN I, a Notary Pub lic for

                         and W ith in the State o f New York, do hereby
              18
                         certify that the above                     correct
              19                                                                                  $

               20        transcription of my stenograph/c notesk
                            %



                                                             .        -        -
                                                                                    @   -
                                      -   -    -
               23                                  -ISkLINE TAVANI
                                                   M


               25

                                          MGR REPORT-ING , IN C .
                                                   1-944-MGR -R PTG
                       '
Case 0:23-cv-61345
             -
             '
             @ï)E-
                 y
                 i
                 E
                 l
                 é'
                  .
                  4
                  :4j
                    l
                    à
                    k'
                     );
                      -
                      r
                      ï
                      j
                      t)
                       ky
                        ))
                        -
                        .(
                         ;
                         .(
                          )
                          y
                          :
                          i
                          .t
                           )
                           -t
                            )
                            p
                            l
                            i
                            t
                            ë
                            y.
                             )
                             !
                             #
                             që
                              yDocument
                               è
                               h
                               t
                               jig
                                 l
                                 Ej'
                                   -
                                   y
                                   )L
                                    -
                                    ):ï
                                      'q t
                                         .'kt
                                            p
                                            h).
                                              t
                                              i
                                              'y
                                               .
                                               tp
                                                .t
                                                 r..-'.
                                                      '
                                                      .E
                                                       tè
                                                        )y
                                                         '
                                                         -
                                                         .)
                                                          Liy
                                                            '
                                                            tï)1-4
                                                               (
                                                               :
                                                               .;r
                                                                k  ..ytiï
                                                                        .
                                                                        't
                                                                         ..'
                                                                           -'
                                                                            ) Entered
                                                                             ':
                                                                              -
                                                                              '
                                                                              $
                                                                              .
                                                                              )-(
                                                                                . .'-'..
                                                                                       !
                                                                                       .,
                                                                                        -
                                                                                        .'
                                                                                        '  .' --'-        on        èFLSD .;( Docket 07/14/2023              '. Page 162 of 165
                                                                                                 :'
                                                                                                  .ë '
                                                                                                     @-:'
                                                                                                        è
                                                                                                        '
                                                                                                        '-
                                                                                                         ' '.;.''.  .j).-
                                .
              ï               ..                                                                          '-
                                                                                                          '
                                                                                                          - '    ' '

                                                                                                       ;p
                                                                                                        '
                            ...                                                                                                              '               -
                            @
                            j
                            .
                            ;
                            ,t
                             q
                             y
                             )
                             ( )
                               -j
                                -è
                                 ,
                                 q
                                 t
                                 )-
                                  tè
                                   7
                                   ;
                                   ,
                                   )p
                                    t
                                    #.
                                     q)
                                      i
                                      tl ,q
                                          :
                                          h.
                                           lë
                                            -
                                            !y
                                             .?
                                              j
                                              r
                                              '-
                                               -(
                                                .
                                                p
                                                '.
                                                 g
                                                 ;
                                                 ,j
                                                  r
                                                  -
                                                  t
                                                  .-
                                                   ;
                                                   k,
                                                    .
                                                    ;k
                                                     (j
                                                      t
                                                      ,
                                                      è
                                                      @t
                                                       r
                                                       i
                                                       -
                                                       !(
                                                        .
                                                        #('          .;j
                                                                      .- -
                                                                         .
                                                                         ë:
                                                                          '
                                                                          y):
                                                                            '  -..
                                                                                :.---.j''
                                                                                       ,
                                                                                       .
                                                                                       ;
                                                                                       :
                                                                                       )
                                                                                        .
                                                                                        -
                                                                                        .;
                                                                                         .(;
                                                                                           .-
                                                                                            j.
                                                                                             '
                                                                                             L
                                                                                             -
                                                                                                          . '
                                                                                                            '              .'          .                  -.                             .    . ....
                                                                                                                                                                                                       . .

             -
             i(
             ' è
               )'
                i
                l
                ,'
                 (
                 #
                 i
                 )
                 l
                 è
                 i)
                  '
                  i
                  è
                  :-
                   1ï
                    l
                    t!l
                      T
                      t't
                       )
                       .g:
                         1
                         '
                         E
                         lf
                          è
                          p
                          rl
                           è.
                            i
                            @
                            )
                            -
                            t
                            )
                            /-   y
                                 t,
                                                    .    . )
                                                          ')
                                                          )
                                                            (
                                                            .
                                                            .-
                                                             .  ,
                                                                . .,-
                                                                       ;
                                                                        . .. .
                                                                               ..

                                                                                 -.-)
                                                                                      . .
                                                                                      . ,, . L
                                                                                           -       ,  .,,,-
                                                                                                           .
                                                                                                         ... .... .
                                                                                                      , , ..
                                                                                                                 .        ..
                                                                                                                 . . . .. .
                                                                                                                   -jë
                                                                                                                   )     --'         '' .
                                                                                                                                              ,  ..  .    .
                                                                                                                                                                      jt.-y'
                                                                                                                                                                       ..
                                                                                                                                                                        .                               .



             .
             -r'
               ?
               l
               (;
                .
                )
                '
                -ë
                 -
                 !
                 t-
                 /1
                  t
                  )1
                  -q
                    - t
                   -t
                    !
                    ri
                     l1
                      #
                      ù
                      i1
                       è8
                        t
                        -q g
                         '
                         )
                         :
                         q
                         (
                         )-
                          r
                          )L
                           l
                           i
                           y
                           '
                           tè
                            1
                            )
                            -
                            t
                            .
                            y
                            -
                            è
                             j
                             )
                             y
                             -tj.
                              j  t
                                 y
                                 -
                                 -
                                 1
                                 'j
                                  /g
                                   j
                                   y
                                   ë
                                   ,
                                   .!
                                    -
                                    r
                                    .
                                    j
                                    -.jj y
                                         @$,:
                                            ,
                                            .
                                            .
                                              t
                                              ;
                                              .
                                              (
                                              (
                                              )-
                                               .
                                               g
                                               -
                                               rë
                                                -
                                                r
                                                .
                                                t
                                                 -
                                                 .
                                                 F
                                                 -
                                                 y
                                                 --
                                                  )
                                                  ;
                                                  )q
                                                   --
                                                    i.
                                                     .
                                                     --
                                                      k
                                                      )
                                                      g
                                                      b
                                                      )
                                                      3
                                                      q-
                                                       )
                                                       j
                                                       :
                                                       j
                                                       !
                                                       y
                                                       -
                                                       ;
                                                       t
                                                       .
                                                       )
                                                       -
                                                       .)
                                                        j
                                                        ,
                                                        .y,;jy
                                                             gj:r -
                                                                 ,,g-.t
                                                                  .
                                                                      -
                                                                      r.
                                                                        q
                                                                        ,
                                                                        ,
                                                                        .
                                                                        -
                                                                         j
                                                                         i
                                                                         r
                                                                         y
                                                                         g
                                                                         ,
                                                                         q
                                                                         ,
                                                                         -
                                                                          ;
                                                                          t
                                                                          -
                                                                          p
                                                                          q
                                                                          .
                                                                          . ..


                                                                          t
                                                                          (
                                                                          ),
                                                                           .
                                                                           ,
                                                                              y...
                                                                           r)y-
                                                                           .  .
                                                                            - - -
                                                                            -
                                                                            .
                                                                            r
                                                                                    y
                                                                                 , ,.
                                                                                     -
                                                                                     j.
                                                                                      .
                                                                                      .-
                                                                                       !
                                                                                       t
                                                                                       y.
                                                                                        )
                                                                                        ;y.Ey
                                                                                        y.y-;.
                                                                                             y
                                                                                             s
                                                                                             -
                                                                                             .
                                                                                             y)
                                                                                              .
                                                                                              g
                                                                                               ;:.y(.
                                                                                                          . ..
                                                                                                           j.y
                                                                                                             j
                                                                                                             .
                                                                                                        , .,,.
                                                                                                         --
                                                                                                          .--
                                                                                                               ,,.,-
                                                                                                                .
                                                                                                              , .
                                                                                                                 y
                                                                                                                 t
                                                                                                                 y
                                                                                                                     (
                                                                                                                     -
                                                                                                                     .
                                                                                                                     ,,
                                                                                                                     y.
                                                                                                                      -
                                                                                                                   . ,,..- t
                                                                                                                       ,      .
                                                                                                                              '
                                                                                                                              ,
                                                                                                                              '
                                                                                                                              y
                                                                                                                              .
                                                                                                                              -
                                                                                                                              ;
                                                                                                                              ,.
                                                                                                                               y
                                                                                                                               i.
                                                                                                                                -..
                                                                                                                                  . ,
                                                                                                                                    y
                                                                                                                                    ,..
                                                                                                                                      .
                                                                                                                                      y
                                                                                                                                      .
                                                                                                                                      ;,
                                                                                                                                       j
                                                                                                                                       ,
                                                                                                                                       .
                                                                                                                                        .
                                                                                                                                        y
                                                                                                                                        j
                                                                                                                                        -
                                                                                                                                        ,
                                                                                                                                        .j
                                                                                                                                         .
                                                                                                                                         r
                                                                                                                                         j
                                                                                                                                         l
                                                                                                                                         jyjj
                                                                                                                                            '
                                                                                                                                     ,,, ,, .j
                                                                                                                                             ;-
                                                                                                                                              .
                                                                                                                                              y
                                                                                                                                              j
                                                                                                                                              1
                                                                                                                                              -jk
                                                                                                                                                l
                                                                                                                                                ;
                                                                                                                                                ,
                                                                                                                                                .
                                                                                                                                                -
                                                                                                                                                .--
                                                                                                                                                  y.
                                                                                                                                                   (
                                                                                                                                                   ,
                                                                                                                                                   .
                                                                                                                                                   y
                                                                                                                                                   .
                                                                                                                                                   )(
                                                                                                                                                    y.
                                                                                                                                                     - -
                                                                                                                                                       .,    .,.
                                                                                                                                                               ,,
                                                                                                                                                                .
                                                                                                                                                                ,.
                                                                                                                                                                 .         z ,vz
                                                                                                                                                                               ,î ?
             '
             '.i@
               -

               t
               -i
                )
                tt
                 t
                 ï
                 )
                 .
                 ;
                 'f
                  y
                  -rk
                    i
                    )k
                     :
                     -)
                      )
                      '
                      t-
                       ;
                       'l
                        L$,-
                         ;
                         ' ë
                           ly
                            -
                            b
                            ,
                            ï
                            ,
                             1
                             '
                             L
                             .
                             ;
                             që?
                               -yq
                                (h
                                 t
                                   -.
                                   ' r
                                  yy
                                   3,
                                    ;    i
                                     îy:-,)
                                     .
                                     :qj
                                    :j
                                    );
                                     ? :
                                       ..
                                            tè)
                                           9.3 q
                                          --
                                          y..., k
                                         )..
                                       t..
                                         !
                                         ,
                                         ) ,
                                                .
                                           .). ;.
                                                  -
                                                  t
                                                 ,y
                                                  .-y
                                                E..-
                                                     .

                                                     .i
                                                      y
                                                      ï
                                                      -r
                                                      .:
                                                       .
                                                       (-.
                                                        .-
                                                        E  l
                                                          ..
                                                           ,.
                                                            ..
                                                    . . , .....
                                                   ..... .
                                                         -. .j
                                                               .
                                                               (-
                                                                ),.t
                                                                   r
                                                                   ,  ...
                                                                            -j-
                                                                              .
                                                                            . .

                                                            jE.g,. .-.q-...y, .
                                                                            ,.
                                                                               (
                                                                               ,-
                                                                                .
                                                                                .
                                                                                  .  -.-
                                                                                       .
                                                                                       k.
                                                                                        .
                                                                                        ,
                                                                                      .,, .
                                                                                           . .
                                                                                             .
                                                                                             - -.  L
                                                                                                   .
                                                                                                   ,,(;,
                                                                                                      ,,
                                                                                                   . .,
                                                                                                         y  .
                                                                                                          ... ..
                                                                                                                 ,
                                                                                                                   , ,,
                                                                                                            .. .. ..,..,,
                                                                                                                   ..r
                                                                                                                     y
                                                                                                                     (
                                                                                                                     .-
                                                                                                                      .j.j
                                                                                                                         ,
                                                                                                                         -
                                                                                                                         ,,
                                                                                                                          .
                                                                                                                          y
                                                                                                                          -
                                                                                                                        , y
                                                                                                                           )
                                                                                                                           .y
                                                                                                                            -
                                                                                                                            ,  y,
                                                                                                                                ,
                                                                                                                                .
                                                                                                                                 ...-
                                                                                                                                  ) .
                                                                                                                                    j
                                                                                                                                    :
                                                                                                                                    .
                                                                                                                                    -..
                                                                                                                                      ,
                                                                                                                                      .,
                                                                                                                                      -.r
                                                                                                                                        .(
                                                                                                                                         .
                                                                                                                                         ,
                                                                                                                                         -
                                                                                                                                         ,
                                                                                                                                         ,

                                                                                                           j,.. ....,j.....--.-,.j..--....
                                                                                                                                          ....
                                                                                                                                          ..

                                                                                                                                          ,
                                                                                                                                           .

                                                                                                                                             .-
                                                                                                                                              )
                                                                                                                                              t
                                                                                                                                              .
                                                                                                                                              .....,
                                                                                                                                              .
                                                                                                                                              r    (
                                                                                                                                                   -
                                                                                                                                                   ,
                                                                                                                                                   j
                                                                                                                                                   .
                                                                                                                                                   y
                                                                                                                                                   -
                                                                                                                                                   .y
                                                                                                                                                    ,
                                                                                                                                                    --
                                                                                                                                                    .,
                                                                                                                                                     .?
                                                                                                                                                      .
                                                                                                                                                      .
                                                                                                                                                       h
                                                                                                                                                       ,
                                                                                                                                                       -,.
                                                                                                                                                         y
                                                                                                                                                         .,
                                                                                                                                                      .. ,
                                                                                                                                                       .
                                                                                                                                                  ...... . j
                                                                                                                                                           .,.,,.
                                                                                                                                                              ..).
                                                                                                                                                                 -.,     .
                                                                                                                                                       L...z. ...........- ,..,..-y-yj..,---.--,.,..-k).-
                                                             ..L
                                                               ....-.:... ...-
                                    . ..



                                                                                                                                                                                                             l
                                            WhatIsAneao ntofaflreign                                                                                             *                           a l
                                            pdO pat''?                                                                                                                                         l
                                                                                                                                                                                               '
                                                                                                                                                                                                             l
                                                                                                                                                                                                             t
                                            Aneagentofaforeignprincipateisany                                                                                                                                1
                                                                                                                                                                                                             t
                                            person w ho acts as an agent,                                                                                                                                    j
                                            representative.em ptoyee,orservant,or
                                            otherw ise açtsatthe order,request,or
                                            underthe diretlion orcontrolofa
                                            eforeign principateand does any ofthe                                                                                                                            f
                                                foltoWing:
                                                                                                                                                                                                             l
                                                * Engageswithinthe United Statesin
                                                    .                                               .
                                                                                                                                                                                                             j
                                                         potiticatactivities,such as intending to                                                                                                            l
                                                                                                                                                                                                             j
                                                         inftuence any U.S.Governm entofficial                                                                                                               !
                                                                                                                                                                                                             '
                                                          orthe Am erirmn pubticregardiny U.S.                                                                                                               (
                                                          m mesticorforeignpolicyorthe                                                                                                                       l
                                                                                                                                                                                                             j
                                                          potiticatorpubtic interestsofa foreign                                                                                                             y
                                                                                                                                                                                                             1
                                                          governm entorforeign potiticalparty.                                                                                                               f

                                                    * Actsw ithin the United Statesas a                                                                                                                      t
                                                             pubticretationscounsel.publicity                                                                                                                )
                                                                                                                                                                                                             f
                                                             agent inform ation service em ployee,                                                                                                               l
                                                             orpolitio-nlconsultant.         - -
                                                                                                                                                                                                                 (
                                                                                                                                                                                                                 j
                                                    * Solicits.coltects,disburses,or                                                                                                                             t
                                                      dispenses contributionm loans'm oney,                                                                                                                      t
                                                             orotherthings ofvatue w ithin the
                                                             United States.                                                                                                                                      j
                                       .                                                                                                                                                                         )
                                                                                                                                                                                                                 f
                                                                                                                                                                                                                 t
                                                    * Representswithin the United States                                                                                                                         t
                                                             1* intere:ts ofa foreign principal                                                                                                                  ,
                                                                                                                                                                                                                 1
                                                             beforeU.S.Governmentofficiatsor                                                                                                                     l
                                                                                                                                                                                                                 (
                                                             agencies.                                                                                                                                           t



                                                                                                        : just'
                                                                                                              - gov
    Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 163 of 165
                                               12:34                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                      A-v/
                                                                                                                                                                                                                                                                                        xy 7 l--3 '
                                                                                                                                                                                                     :.11 LTE                                                   '                     -. y.u w..y j j- x-
                                                                                                                                                                                                                                                                                     '.       g
                                                                                                                                                                                                                                                                                                    ,




                         '                           ,.   h
                                                          J                                        q) ;
                                                                                                      .                                                      : j                                                ck                                                      . t'
                                                                                                                                                                                                                                                                        q
                        '
                        t
                        i
                        1
                          e s z)1i
                          1:
                                 kh a S ri?)t
                                            f
                                            t I a eS J'
                                            .
                                            '
                                            x
                                                      'i
                                                      t
                                                    ..'
                                                        k
                                                        .u
                                                        '
                                                           o
                                                          &.
                                                          '                                      r                                                                   '
                                                                                                                                                                                                     s .J'
                                                                                                                                                                                                         f'
                                                                                                                                                                                                          E;
                                                                                                                                                                                                           ..
                                                                                                                                                                                                              I
                                                                                                                                                                                                              .         '.
                                                                                                                                                                                                                                                            S x/. '
                                                                                                                                                                                                                                                                  th i
                                                                                                                                                                                                                                                                   q   .         '
                                                              w                                z            ,.                                           V           '*.                                     ,'           x
                                                                                                                                                                                                                          '                                         .             '.
                 :'7rITTIICI/ItCt;CM MO        /FX rq.    ..<z:
                                                              ?>'
                                                                * m.
                                                                   h4r'(
                                                                       e:
                                                                        Mr$6't;i
                                                                               TJtt'
                                                                                   k:6J
                                                                                      't>9$:$g'b'k
                                                                                                 rj'l>d>:
                                                                                                        'bSrJ,
                                                                                                             ''>)
                                                                                                                /ïfh
                                                                                                                   ;:Fji
                                                                                                                       v os-':k::$7
                                                                                                                                  ;::
                                                                                                                                    bht'+mer,
                                                                                                                                            T+YrTrT141odzTc
                                                                                                                                                          jh:E
                                                                                                                                                             ':
                                                                                                                                                              J'>ê:.''
                                                                                                                                                                     <.
                                                                                                                                                                      p11*>sR*+x';;
                                                                                                                                                                                  ::
                                                                                                                                                                                   c''
                                                                                                                                                                                     1>!'
                                                                                                                                                                                        !'
                                                                                                                                                                                         >r4
                                                                                                                                                                                           J%ï7k;4:0::0,s>''3'.'.
                                                                                                                                                                                                                '''':k';D'''$:>%>
                                                                                                                                                                                                                                t->.
                                                                                                                                                                                                                                   tFT'
                                                                                                                                                                                                                                      xyA>>J
                                                                                                                                                                                                                                           d'@:
                                                                                                                                                                                                                                              $$':
                                                                                                                                                                                                                                                 $;)q$t
                                                                                                                                                                                                                                                      p:r;;;rô;!rlo1<*'
                                                                                                                                                                                                                                                                      N>5'
                                                                                                                                                                                                                                                                         r;L7'
                                                                                                                                                                                                                                                                             hx'
                                                                                                                                                                                                                                                                               r''d':
                                                                                                                                                                                                                                                                                    r.'':''
                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                           *
                                 ?L.''
                                     ,)tj..                                                                       d'                                                                                                                                                       41,
                         .'. , ,'r'
                         s:
                         .q
                          l
                                  :.
                                  ,l
                                  (.                 or    tjon                                                                                                                                                                                                            .
                          d' .
                           .h ..t...;;..'
                              ,         ;.
                                         )u
                                          '
                                          '.
                                           '
                             .
                                    ,'         h s.// w-ran .org >2012/05 >q...
                                                          ,j




                         Q uestions Aoerthe First U.S.Bank
                         Takeoverby a C hinese State-
*
                         C ontro lled Cpm pany
                          M ay 15,2012 - This transaction prom pts m any
                          questions.Did orshould the Com m ittee on Foreign
                          Investm entin the United States play a role in the...


                             People also ask                                                                                                                                                                                                                                 3

                             ls U.S.Bank am -liated w ith C hina?                                                                                                                                                                                                      a

                             Fed
                             )
                                 Approves First-EverC hinese Purchase
                             of US Bank
                                                                                                                                                                                                             *




                                 C hinese NnancialNrm s. May 9.2012

                                 a https'
                                        -#www-cnbc-com '...
                                  Fed C lears W ay forC hinese Firm s to Buy US
                                   Banks - C N BC


                                                 . q u.s.banknaacAineseforeigqcompan
                                                          1
Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 164 t),      -/4
                                                                          ',
                                                                           of 165     -
                                                                                      /


             '


                    )4E: 1r
                    ' 't
                    . :. :E  p :/ Finance / E1: us % nkowned byGhina?
                                  '
                                  i
                           '. .'- .. . .
                          ..;
                                                   '   '   '

              (.,'(
             '      :              .
                                                   .       :,
              .    ''
                 '... .         ..'':' .
                                      '
             ( 'tCt,,y,,
                   ..,.




                                               4
                                              ' j
                                             . . :.;
                                           .h.'7i:.
            Case 0:23-cv-61345 Document 1-4 Entered on FLSD Docket 07/14/2023 Page 165 of 165
                                                                                    -
                                                                                          ja /)y
    @


                          '

                              j-.. .)
                                    ..
                                     '!
                                      -(
                                       Lj
                                        .(
                                         y
                                         -
                                         .
                          '):
                          , Q'yV '/'#tpapuq :
                              .:
                               ' .
                               .
                                            1 Is US lEbankpe pd byChinr
                                j:
                                 q
                                 (.
                                 .t(
                                   '
                                   j
                                   ..
                                    )y
                                     yy
                                     .
                                              .




        *




#
